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                                                                    Trustee
                                                                  8
                                                                                            UNITED STATES BANKRUPTCY COURT
                                                                  9
                                                                                             CENTRAL DISTRICT OF CALIFORNIA
                                                                 10
                                                                                                     LOS ANGELES DIVISION
                                                                 11
SMILEY WANG-EKVALL, LLP




                                                                    In re                                      Case No. 2:20-bk-21022-BR
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                                                                 12
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                                                                    GIRARDI KEESE,                             Chapter 7
                                                                 13

                                                                 14
                                                                                                                GLOBAL NOTES TO SCHEDULES OF
                                                                 15                                             ASSETS AND LIABILITIES AND
                                                                                                                STATEMENT OF FINANCIAL AFFAIRS
                                                                 16

                                                                 17                           Debtor.

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                                         In re GIRARDI KEESE
                                        Case No. 2:20-bk-21022-BR


                     GLOBAL NOTES, METHODOLOGY AND SPECIFIC
                 DISCLOSURES REGARDING THE DEBTOR’S SCHEDULES OF
             ASSETS AND LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS



     IF YOU BELIEVE THE DEBTOR GIRARDI KEESE OWES YOU MONEY, YOU MUST
     FILE A PROOF OF CLAIM EVEN IF YOU ARE LISTED IN THE DEBTOR'S
     SCHEDULES ATTACHED.

     INFORMATION REGARDING THE PROOF OF CLAIM FILING PROCEDURES AND
     DEADLINE WILL BE PROVIDED TO ALL CREDITORS IN THE NEAR FUTURE.
     PLEASE ALSO NOTE THAT FILING A PROOF OF CLAIM DOES NOT GUARANTEE A
     DISTRIBUTION IN THIS CHAPTER 7 CASE.

                                                Introduction

             Elissa D. Miller, the chapter 7 trustee of the bankruptcy estate of Girardi Keese (the
     "Trustee"), with the assistance of h e r advisors, has filed t h e Schedules of Assets and
     Liabilities (the “Schedules”) and Statement of Financial Affairs (the “Statements,” and together
     with the Schedules, the “Schedules and Statements”) on behalf of Girardi Keese (the "Debtor").
     Pursuant to the Court's order entered February 24, 2021, Docket No. 220, the Trustee filed the
     Schedules and Statements with the United States Bankruptcy Court for the Central District of
     California (the “Bankruptcy Court”), pursuant to the United States Bankruptcy Code (the
     “Bankruptcy Code”) and Rule 1007(k) of the Federal Rules of Bankruptcy Procedure (the
     “Bankruptcy Rules”).
            These Global Notes, Methodology, and Specific Disclosures Regarding the Debtor’s
      Schedules of Assets and Liabilities and Statement of Financial Affairs (the “Global Notes”)
      pertain to, are incorporated by reference in, and comprise an integral part of t h e Debtor’s
      Schedules and Statements. The Global Notes should be referred to, considered, and reviewed in
      connection with any review of the Schedules and Statements.
            In preparing the Schedules and Statements, the Trustee relied upon information derived
      from the Debtor's books and records that were available at the time of such preparation.
      Suffice it to say that the Debtor's accounting offices were not well maintained. Financial records
      (bank statements, invoices, tax returns, and other financial records) and other mail and papers
      were piled high on each and every flat surface and in no discernable order. Much of what the
      Trustee found upon her appointment was very dated. With the assistance of certain of the Debtor's
      former employees and her professionals, the Trustee was able to access the Debtor's accounting
      program(s) although these too have proved to be unreliable. Although the Trustee has made
      reasonable efforts to ensure the accuracy and completeness of the Debtor's financial information
      where possible, inadvertent errors or omissions, as well as the discovery of conflicting, revised,
      or subsequent information, may cause a material change to the Schedules and Statements.



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             The Trustee and her employees, agents, attorneys, and financial advisors do not guarantee
      or warrant the accuracy or completeness of the data that is provided in the Schedules and
      Statements and shall not be liable for any loss or injury arising out of or caused in whole or in
      part by the acts, omissions, whether negligent or otherwise, in procuring, compiling, collecting,
      interpreting, reporting, communicating or delivering the information contained in the Schedules
      and Statements. Except as expressly required by the Bankruptcy Code, the Trustee and her
      employees, agents, attorneys and financial advisors expressly do not undertake any obligation to
      update, modify, revise, or re-categorize the information provided in the Schedules and
      Statements or to notify any third party should the information be updated, modified, revised, or
      re-categorized. The Trustee, on behalf of herself, her employees, agents, attorneys, and advisors
      disclaim any liability to any third party arising out of or related to the information contained in
      the Schedules and Statements and reserve all rights with respect thereto.
            The Schedules and Statements have been signed by the Trustee. In reviewing and
      signing the Schedules and Statements, the Trustee relied upon the Debtor's books and records
      and on the efforts of her agents and professionals. The Trustee has not (and could not have)
      personally verified the accuracy of the Debtor's books and records, including, for example, the
      amounts owed to creditors and their addresses.

                               Global Notes and Overview of Methodology
      1. Basis of Presentation. The Schedules and Statements do not purport to represent financial
         statements prepared in accordance with Generally Accepted Accounting Principles in the
         United States (“GAAP”), nor are they intended to be fully reconciled with the Debtor's
         financial statements (whether publicly filed or otherwise). Additionally, the Schedules and
         Statements contain unaudited information that is subject to further review and potential
         adjustment.
      2. Reservation of Rights. Reasonable efforts have been made to prepare and file complete and
         accurate Schedules and Statements; however, inadvertent errors or omissions may exist. The
         Trustee reserves all rights to amend or supplement the Schedules and Statements from time
         to time, in all respects, as may be necessary or appropriate, including, without limitation,
         the right to amend the Schedules and Statements with respect to a n y claim (“Claim”)
         description, designation, dispute or otherwise assert offsets or defenses to any Claim reflected
         in the Schedules and Statements as to amount, liability, priority, status, or classification;
         subsequently designate any Claim as “disputed,” “contingent,” or “unliquidated;” or object
         to the extent, validity, enforceability, priority, or avoidability of any Claim. Any failure to
         designate a Claim in the Schedules and Statements as “disputed,” “contingent,” or
         “unliquidated” does not constitute an admission by the Trustee that such Claim or amount is
         not “disputed,” “contingent,” or “unliquidated.” Listing a Claim does not constitute an
         admission of liability by the Trustee. Furthermore, nothing contained in the Schedules and
         Statements shall constitute a waiver of rights with respect to the Debtor’s chapter 7 case,
         including, without limitation, issues involving Claims, substantive consolidation, defenses,
         equitable subordination, recharacterization, and/or causes of action arising under the
         provisions of chapter 5 of the Bankruptcy Code, and any other relevant non- bankruptcy laws
         to recover assets or avoid transfers. Any specific reservation of rights contained elsewhere
         in the Global Notes does not limit in any respect the general reservation of rights contained
         in this paragraph. Notwithstanding the foregoing, the Trustee shall not be required to update
         the Schedules and Statements.


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      3. Global Notes. These Global Notes are in addition to any specific notes set forth in the
         Schedules and Statements. The fact that the Trustee has prepared a Global Note with respect
         to a particular Schedule or Statement and not as to others does not reflect and should not be
         interpreted as a decision by the Trustee to exclude the applicability of such Global Note to
         any or all of the Debtor’s remaining Schedules or Statements, as appropriate. Disclosure of
         information in one Schedule, one Statement, or an exhibit or attachment to a Schedule or
         Statement, even if incorrectly placed, shall be deemed to be disclosed in the correct Schedule,
         Statement, exhibit, or attachment.
      4. Description of Case and “as of” Information Date. On December 18, 2020, petitioning
         creditors Jill O'Callahan, as successor in interest to James O'Callahan, Robert M. Keese, John
         Abassian, Erika Saldana, Virginia Antonio, and Kimberly Archie filed an involuntary chapter
         7 bankruptcy petition against the Debtor (the “Petition Date”). On January 13, 2021, the
         Clerk of the Court entered an order for relief against the Debtor.
          The asset a n d l i a b i l i t y information provided in the Schedules and Statements,
          except as otherwise noted, represents the data of the Debtor as of the Petition Date.
      5. Net Book Value of Assets. Except as otherwise noted, each asset and liability is shown on
         the basis of net book value of the asset or liability in accordance with the Debtor’s accounting
         books and records. Therefore, unless otherwise noted, the Schedules and Statements are not
         based upon any estimate of the current market values of the Debtor’s assets and liabilities,
         which may not correspond to book values. It would be cost prohibitive and unduly
         burdensome to obtain current market valuations of the Debtor’s property interests.
         Additionally, because the book values of certain assets may materially differ from their fair
         market values, they may be listed as undetermined o r u n k n o w n amounts as of the Petition
         Date. Furthermore, as applicable, assets that have fully depreciated or were expensed for
         accounting purposes may not appear in the Schedules and Statements if they have no net
         book value.
      6. Recharacterization.       Notwithstanding the Trustee's reasonable efforts to properly
         characterize, classify, categorize, or designate certain Claims, assets, executory contracts,
         unexpired leases, and other items reported in the Schedules and Statements, the Trustee may,
         nevertheless, have improperly characterized, classified, categorized, designated, or omitted
         certain items due to the complexity and size of the Debtor’s business. Accordingly, the
         Trustee reserves all rights to recharacterize, reclassify, recategorize, redesignate, add, or
         delete items reported in the Schedules and Statements at a later time as is necessary or
         appropriate as additional information becomes available, including, without limitation,
         whether contracts or leases listed herein were deemed executory or unexpired as of the
         Petition Date and remain executory and unexpired postpetition.
      7. Real Property and Personal Property–Leased. In the ordinary course of its business, the
         Debtor leased real property and various articles of personal property, including, fixtures,
         and equipment, from certain third-party lessors. The Trustee has made reasonable efforts to
         list all such leases in the Schedules and Statements. The Trustee has made reasonable
         efforts to include lease obligations on Schedule D (secured debt) to the extent applicable and
         to the extent the lessor filed a UCC-1. However, nothing in the Schedules or Statements is or
         shall be construed as an admission or determination as to the legal status of any lease
         (including whether to assume and assign or reject such lease or whether it is a true lease or
         a financing arrangement).



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      8. Insiders. For purposes of the Schedules and Statements, “insider” shall have the applicable
         meaning as set forth in Bankruptcy Code Section 101(31).
      9. Intellectual Property Rights. The exclusion of any intellectual property shall not be
         construed as an admission that such intellectual property rights have been abandoned,
         terminated, assigned, expired by their terms, or otherwise transferred pursuant to a sale,
         acquisition, or other transaction. Conversely, inclusion of certain intellectual property shall
         not be construed to be an admission that such intellectual property rights have not been
         abandoned, terminated, assigned, expired by their terms, or otherwise transferred pursuant to
         a sale, acquisition, or other transaction.
      10. Executory Contracts and Unexpired Leases. The Trustee has not necessarily set forth
          executory contracts and unexpired leases as assets in the Schedules and Statements, even
          though these contracts and leases may have some value to the Debtor’s estate. To the
          extent known, the Debtor’s executory contracts and unexpired leases have been set forth in
          Schedule G.
      11. Classifications. Listing a Claim or contract on (a) Schedule D as “secured,” (b) Schedule
          E/F part 1 as “priority,” (c) Schedule E/F part 2 as “unsecured,” or (d) Schedule G as
          “executory” or “unexpired,” does not constitute an admission by the Trustee of the legal
          rights of the claimant, or a waiver of the Trustee's rights to recharacterize or reclassify such
          Claims or contracts or leases or to exercise her rights to set off against such Claims.
      12. Claims Description. Schedules D and E/F permit t h e Trustee to designate a Claim as
          “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a Claim on the
          Debtor’s Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not
          constitute an admission by the Trustee that such amount is not “disputed,” “contingent,” or
          “unliquidated,” or that such Claim is not subject to objection. Moreover, listing a Claim does
          not constitute an admission of liability by the Debtor.
      13. Causes of Action. Despite the Trustee's reasonable efforts to identify all known assets,
          the Trustee may not have listed all of the Debtor's causes of action or potential causes of
          action against third-parties as assets in the Schedules and Statements, including, without
          limitation, causes of action arising under the provisions of chapter 5 of the Bankruptcy
          Code and any other relevant non-bankruptcy laws to recover assets or avoid transfers. The
          Trustee reserves all rights with respect to any cause of action (including avoidance actions),
          controversy, right of setoff, cross-Claim, counter-Claim, or recoupment and any Claim on
          contracts or for breaches of duties imposed by law or in equity, demand, right, action,
          lien, indemnity, guaranty, suit, obligation, liability, damage, judgment, account, defense,
          power, privilege, license, and franchise of any kind or character whatsoever, known,
          unknown, fixed or contingent, matured or unmatured, suspected or unsuspected, liquidated
          or unliquidated, disputed or undisputed, secured or unsecured, assertable directly or
          derivatively, whether arising before, on, or after the Petition Date, in contract or in tort,
          in law, or in equity, or pursuant to any other theory of law (collectively, “Causes of
          Action”) it may have, and neither these Global Notes nor the Schedules and Statements shall
          be deemed a waiver of any Claims or Causes of Action or in any way prejudice or impair the
          assertion of such Claims or Causes of Action.
      14. Litigation. The Trustee has made reasonable efforts to accurately record litigation actions
          (collectively, the “Litigation Actions”) in the Schedules and Statements to which the Debtor
          is party. The inclusion of any Litigation Action in the Schedules and Statements does not


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          constitute an admission by the Trustee of liability, the validity of any Litigation Action or the
          amount of any potential claim that may result from any claims with respect to any Litigation
          Action, or the amount and treatment of any potential claim resulting from any Litigation
          Action currently pending or that may arise in the future.
      15. Summary of Significant Reporting Policies. The following is a summary of significant
          reporting policies:
                     a.       Undetermined or Unknown Amounts. The description
                              of an amount as “unknown,” “TBD” or “undetermined”
                              is not intended to reflect upon the materiality of such
                              amount.

                     b.       Totals. All totals that are included in the Schedules and
                              Statements represent totals of all known amounts. To the
                              extent there are unknown or undetermined amounts, the
                              actual total may be different than the listed total.
                     c.       Liens. Property and equipment listed in the Schedules and
                              Statements are presented without consideration of any liens
                              that may attach (or have attached) to such property and
                              equipment.

      16. Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.
      17. Confidentiality. There may be instances where certain information was not included or
          redacted due to the nature of an agreement between the Debtor and a third party, concerns
          about the confidential or commercially sensitive nature of certain information, or to protect
          the privacy of an individual, including minors. The omissions and redactions are limited to
          only what is provided under the Bankruptcy Code and/or Bankruptcy Rules and is necessary
          to protect the third party and individual, including minors, and will provide interested parties
          with sufficient information to discern the nature of the listing. The Trustee has made
          reasonable efforts to ensure that confidential information is protected. To the extent that
          confidential information was inadvertently disclosed, the affected party should contact the
          Trustee or her counsel immediately. The contact information for the Trustee and her counsel
          can be found on the Home page at www.donlinrecano.com/gk.
      18. Global Notes Control. If the Schedules and Statements differ from these Global Notes, the
          Global Notes shall control.


                          Specific Disclosures with Respect to the Debtor’s Schedules
      Schedule A/B. All values set forth in Schedule A/B, to the extent known, reflect the book value
      of the Debtor’s assets as of the Petition Date, unless otherwise noted. However, in most
      circumstances, the values are listed as unknown. The Trustee has attempted to ensure that the
      scheduled information is accurate and complete based upon available information at the time of
      preparation.




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      Schedule D.
      Nothing in Schedule D shall be construed as an admission by the Trustee of the legal rights of the
      claimant or a waiver of the Trustee's right to recharacterize or reclassify such Claim or contract.
      The Trustee has not included on Schedule D parties that may believe their Claims are secured
      through setoff rights, letters of credit, surety bonds, or inchoate statutory lien rights.
      Finally, any description of any lien or of the Debtor’s property that is subject to a lien that is
      included in Schedule D is not an admission by the Trustee of the validity or the enforceability of
      the lien. The descriptions included in Schedule D are derived from the various filings that record
      a creditor’s alleged interest in the Debtor’s property. The Trustee reserves all rights to challenge
      these interests in connection with the Chapter 7 Case.
      Schedule E/F. The Debtor has used reasonable efforts to report all general unsecured Claims
      against the Debtor on Schedule E/F, based upon the Debtor’s books and records as of the Petition
      Date. There may be instances where certain information was not included or redacted to protect
      the privacy of an individual, including minors. The omissions and redactions are limited to only
      what is provided under the Bankruptcy Code and/or Bankruptcy Rules and is necessary to protect
      the individual, including minors. The Trustee has used her best effort to redact the names
      necessary to protect certain individuals and minors. To the extent that the Trustee inadvertently
      disclosed such information, that person or minor (or their representative) should contact the
      Trustee.
      Schedule G. The Trustee hereby reserves all rights to (i) dispute the validity, status or
      enforceability of any contracts, agreements or leases set forth in Schedule G and (ii) amend or
      supplement such Schedule as necessary. Furthermore, the Trustee reserves all of its rights, claims
      and causes of action with respect to the contracts and agreements listed on the Schedules,
      including the right to dispute or challenge the characterization or the structure of any transaction,
      document or instrument. The presence of a contract or agreement on Schedule G does not
      constitute an admission that such contract or agreement is an executory contract or an unexpired
      lease.


                       Specific Disclosures with Respect to the Trustee's Statements
      Statement 3. Statement 3 includes any disbursement or other transfer made by the Debtor
      within 90 days before the Petition Date except for those made to insiders (which payments
      appear in response to Statement question 4), employees, and bankruptcy professionals (which
      appear in Statement 11 and include, if known, any retainers paid to bankruptcy professionals).
      Statement 7. A ny information contained in Statement 7 shall not be a binding representation
      of the Debtor’s liabilities with respect to any of the suits and proceedings identified therein.
      The Trustee used reasonable efforts to identify all pending litigation and assign appropriate
      descriptions thereto. In the event that the Trustee discovers additional information pertaining to
      these legal actions identified in response to Question 7, the Trustee will use reasonable efforts to
      supplement the Statements in light thereof.
      Statement 30. Unless otherwise indicated in the Trustee's specific response to Statement 30,
      the Trustee has included a comprehensive response to Statement 30 in Statement 4.




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Fill in this information to identify the case:

Debtor name: Girardi Keese
United States Bankruptcy Court for the: Central District of California
Case number (if known): 20-21022

                                                                                                                                                                   ¨ Check if this is an
                                                                                                                                                                         amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                               12/15

 Part 1:     Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)




     1a. Real property:
         Copy line 88 from Schedule A/B ......................................................................................................                       UNKNOWN



     1b. Total personal property:
         Copy line 91A from Schedule A/B ....................................................................................................                       $4,130,773.59



     1c. Total of all property:
         Copy line 92 from Schedule A/B ......................................................................................................                      $4,130,773.59

 Part 2:     Summary of Liabilities



2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D .................                                                 $49,345,121.12



3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)




     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F .........................................................                                    $182,890.79



     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F ............................                                              + $51,479,640.55




4.   Total liabilities
     Lines 2 + 3a + 3b .........................................................................................................................................   $101,007,652.46




Official Form 206Sum                                  Summary of Assets and Liabilities for Non-Individuals                                                                 Page 1 of 1
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Fill in this information to identify the case:

Debtor name: Girardi Keese
United States Bankruptcy Court for the: Central District of California
Case number (if known): 20-21022

                                                                                                                        ¨ Check if this is an
                                                                                                                               amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                         12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and
properties which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any
executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added,
write the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If
an additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.
For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

 Part 1:      Cash and cash equivalents

1.      Does the debtor have any cash or cash equivalents?
        ¨ No. Go to Part 2.
        þ Yes. Fill in the information below
        All cash or cash equivalents owned or controlled by the debtor                                                Current value of
                                                                                                                      debtor’s interest

2.      Cash on hand
2.1.    NONE                                                                                                          $0.00

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)   Type of account              Last 4 digits of account       Current value of
                                                                                       number                         debtor’s interest
3.1.       CITZENS BUSINESS BANK                          CHECKING                    0290                            $41,484.89
3.2.       CITZENS BUSINESS BANK                          CHECKING                    0312                            $2,416.17
3.3.       CITZENS BUSINESS BANK                          SAVINGS                     0049                            UNKNOWN
3.4.       COMERICA BANK                                  CHECKING                     9277                           $0.00
3.5.       COMERICA BANK                                  SAVINGS                      5280                           UNKNOWN
3.6.       COMERICA BANK                                  CLIENT TRUST                 6674                           $0.00
3.7.       COMERICA BANK                                  UNKNOWN                      6098                           UNKNOWN
3.8.       COMERICA BANK                                  UNKNOWN                      7744                           UNKNOWN
3.9.       COMERICA BANK                                  UNKNOWN                      7801                           UNKNOWN
3.10.      COMERICA BANK                                  UNKNOWN                      5173                           UNKNOWN
3.11.      COMERICA BANK                                  UNKNOWN                      7724                           UNKNOWN
3.12.      COMERICA BANK                                  UNKNOWN                      6712                           UNKNOWN
3.13.      COMERICA BANK                                  UNKNOWN                      6902                           UNKNOWN
3.14.      COMERICA BANK                                  UNKNOWN                      7082                           UNKNOWN
3.15.      COMERICA BANK                                  UNKNOWN                      0927                           UNKNOWN
Official Form 206A/B                           Schedule A/B: Assets — Real and Personal Property                                  Page 1 of 13
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Debtor   Girardi Keese                                                                                 Case number (if known) 20-21022

3.       Checking, savings, money market, or financial brokerage accounts (Identify all)
         Name of institution (bank or brokerage firm)   Type of account          Last 4 digits of account        Current value of
                                                                                 number                          debtor’s interest
3.16.    COMERICA BANK                                  UNKNOWN                  9269                            UNKNOWN
3.17.    COMERICA BANK                                  UNKNOWN                  5655                            UNKNOWN
3.18.    COMERICA BANK                                  UNKNOWN                  5264                            UNKNOWN
3.19.    COMERICA BANK                                  UNKNOWN                  0986                            UNKNOWN
3.20.    COMERICA BANK                                  UNKNOWN                  1174                            UNKNOWN
3.21.    COMERICA BANK                                  UNKNOWN                  1323                            UNKNOWN
3.22.    COMERICA BANK                                  UNKNOWN                  7317                            UNKNOWN
3.23.    COMERICA BANK                                  UNKNOWN                  7366                            UNKNOWN
3.24.    COMERICA BANK                                  UNKNOWN                  3938                            UNKNOWN
3.25.    COMERICA BANK                                  UNKNOWN                  8612                            UNKNOWN
3.26.    COMERICA BANK                                  UNKNOWN                  9016                            UNKNOWN
3.27.    COMERICA BANK                                  UNKNOWN                  2181                            UNKNOWN
3.28.    COMERICA BANK                                  UNKNOWN                  2249                            UNKNOWN
3.29.    COMERICA BANK                                  UNKNOWN                  38-7                            UNKNOWN
3.30.    COMERICA BANK                                  UNKNOWN                  8631                            UNKNOWN
3.31.    COMERICA BANK                                  UNKNOWN                  7522                            UNKNOWN
3.32.    COMERICA BANK                                  UNKNOWN                  5150                            UNKNOWN
3.33.    COMERICA BANK                                  UNKNOWN                  0934                            UNKNOWN
3.34.    COMERICA BANK                                  CLIENT TRUST             7899                            UNKNOWN
3.35.    COMERICA BANK                                  CLIENT TRUST             4831                            UNKNOWN
3.36.    COMERICA BANK                                  CLIENT TRUST             3310                            UNKNOWN
3.37.    COMERICA BANK                                  CLIENT TRUST             8145                            UNKNOWN
3.38.    NANO BANC                                      CHECKING                 0096                            $4,541.45
3.39.    NANO BANC                                      SAVINGS                  0114                            UNKNOWN
3.40.    NANO BANC                                      CLIENT TRUST             0567                            $104,062.26
3.41.    NANO BANC                                      CLIENT TRUST             1052                            $0.00
3.42.    PREFERRED BANK                                 SAVINGS                  6467                            $247.11
3.43.    PREFERRED BANK                                 CLIENT TRUST             3251                            $179,110.37
3.44.    PREFERRED BANK                                 UNKNOWN                  8757                            UNKNOWN
3.45.    PREFERRED BANK                                 UNKNOWN                  8821                            UNKNOWN
3.46.    PREFERRED BANK                                 UNKNOWN                  8998                            UNKNOWN
3.47.    PREFERRED BANK                                 UNKNOWN                  0080                            UNKNOWN
3.48.    PREFERRED BANK                                 UNKNOWN                  7317                            UNKNOWN
3.49.    PREFERRED BANK                                 UNKNOWN                  1613                            UNKNOWN
3.50.    PREFERRED BANK                                 CLIENT TRUST             8561                            UNKNOWN
3.51.    PREFERRED BANK                                 CLIENT TRUST             3472                            UNKNOWN
3.52.    TORREY PINES BANK                              CHECKING                 2847                            $0.00
3.53.    TORREY PINES BANK                              CHECKING                 9660                            $0.00


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3.       Checking, savings, money market, or financial brokerage accounts (Identify all)
         Name of institution (bank or brokerage firm)   Type of account            Last 4 digits of account        Current value of
                                                                                   number                          debtor’s interest
3.54.    TORREY PINES BANK                              CHECKING                   9821                            $12,748.96
3.55.    TORREY PINES BANK                              CLIENT TRUST               7043                            $1,097.26
3.56.    TORREY PINES BANK                              CLIENT TRUST               7078                            $1,097.26
3.57.    TORREY PINES BANK                              CLIENT TRUST               5859                            $496,134.85
3.58.    TORREY PINES BANK                              UNKNOWN                    0004                            UNKNOWN
3.59.    TORREY PINES BANK                              UNKNOWN                    5824                            UNKNOWN
3.60.    TORREY PINES BANK                              UNKNOWN                    6171                            UNKNOWN
3.61.    TORREY PINES BANK                              UNKNOWN                    9826                            UNKNOWN
3.62.    TORREY PINES BANK                              UNKNOWN                    2169                            UNKNOWN
3.63.    TORREY PINES BANK                              UNKNOWN                    6027                            UNKNOWN
3.64.    TORREY PINES BANK                              UNKNOWN                    5827                            UNKNOWN
3.65.    TORREY PINES BANK                              UNKNOWN                    3635                            UNKNOWN
3.66.    TORREY PINES BANK                              UNKNOWN                    2193                            UNKNOWN
3.67.    TORREY PINES BANK                              UNKNOWN                    2010                            UNKNOWN
3.68.    TORREY PINES BANK                              UNKNOWN                    0037                            UNKNOWN
3.69.    TORREY PINES BANK                              UNKNOWN                    9121                            UNKNOWN
3.70.    TORREY PINES BANK                              CLIENT TRUST               7814                            UNKNOWN
3.71.    TORREY PINES BANK                              CLIENT TRUST               8273                            UNKNOWN
3.72.    CITI                                           CLIENT TRUST               3768                            UNKNOWN
3.73.    CITIZENS BUSINESS BANK                         CLIENT TRUST               0037                            $24,826.58
3.74.    CITIZENS BUSINESS BANK                         CLIENT TRUST               0282                            $365,753.76
3.75.    CITIZENS BUSINESS BANK                         CLIENT TRUST               1696                            $45,029.82
3.76.    CITIZENS BUSINESS BANK                         100 TRUST ACCOUNTS FOR     VARIOUS                         $2,699,693.29
                                                        CLIENTS WHO ARE MINORS
                                                        (BALANCE REPRESENTS
                                                        THE TOTAL ACCOUNT
                                                        BALANCES AS OF 12/31/20)
3.77.    US BANK                                        CLIENT TRUST               2645                            UNKNOWN
3.78.    US BANK                                        UNKNOWN                    7298                            UNKNOWN
3.79.    WELLS FARGO                                    CLIENT TRUST               7310                            $80,305.39
3.80.    WELLS FARGO                                    CLIENT TRUST               8389                            $72,224.17
3.81.    WELLS FARGO                                    UNKNOWN                    2564                            UNKNOWN
3.82.    WELLS FARGO                                    UNKNOWN                    6098                            UNKNOWN
3.83.    WELLS FARGO                                    UNKNOWN                    3938                            UNKNOWN
3.84.    WELLS FARGO                                    UNKNOWN                    9553                            UNKNOWN
3.85.    WELLS FARGO                                    UNKNOWN                    7856                            UNKNOWN
3.86.    WELLS FARGO                                    CLIENT TRUST               1433                            UNKNOWN
3.87.    ALLIANCE BANK                                  UNKNOWN                    0734                            UNKNOWN
3.88.    ALLIANCE BANK                                  UNKNOWN                    3989                            UNKNOWN
3.89.    ALLIANCE BANK                                  UNKNOWN                    2247                            UNKNOWN

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3.       Checking, savings, money market, or financial brokerage accounts (Identify all)
         Name of institution (bank or brokerage firm)   Type of account          Last 4 digits of account        Current value of
                                                                                 number                          debtor’s interest
3.90.    BANK OF INDUSTRY                               UNKNOWN                  0504                            UNKNOWN
3.91.    BANK OF INDUSTRY                               UNKNOWN                  1409                            UNKNOWN
3.92.    BUSINESS BANK                                  UNKNOWN                  5901                            UNKNOWN
3.93.    BUSINESS BANK                                  UNKNOWN                  2148                            UNKNOWN
3.94.    BUSINESS BANK                                  UNKNOWN                  2193                            UNKNOWN
3.95.    BUSINESS BANK                                  UNKNOWN                  3648                            UNKNOWN
3.96.    CHASE BANK                                     UNKNOWN                  8970                            UNKNOWN
3.97.    CITI BANK                                      UNKNOWN                  7334                            UNKNOWN
3.98.    CITI BANK                                      UNKNOWN                  0768                            UNKNOWN
3.99.    CITIZENS BANK                                  UNKNOWN                  3986                            UNKNOWN
3.100.   CITIZENS BANK                                  UNKNOWN                  0045                            UNKNOWN
3.101.   CITIZENS BANK                                  UNKNOWN                  2394                            UNKNOWN
3.102.   CITIZENS BANK                                  CLIENT TRUST             0118                            UNKNOWN
3.103.   CITY NATIONAL BANK                             UNKNOWN                  2709                            UNKNOWN
3.104.   CITY NATIONAL BANK                             UNKNOWN                  2911                            UNKNOWN
3.105.   CITY NATIONAL BANK                             UNKNOWN                  2946                            UNKNOWN
3.106.   CITY NATIONAL BANK                             UNKNOWN                  2954                            UNKNOWN
3.107.   CITY NATIONAL BANK                             UNKNOWN                  6171                            UNKNOWN
3.108.   CITY NATIONAL BANK                             UNKNOWN                  4126                            UNKNOWN
3.109.   NANO BANK                                      UNKNOWN                  2209                            UNKNOWN
3.110.   NANO BANK                                      UNKNOWN                  3082                            UNKNOWN
3.111.   NANO BANK                                      UNKNOWN                  3400                            UNKNOWN
3.112.   NANO BANK                                      CLIENT TRUST             0567                            UNKNOWN
3.113.   SANTA MONICA BANK                              UNKNOWN                  6649                            UNKNOWN
3.114.   SANTA MONICA BANK                              UNKNOWN                  3477                            UNKNOWN
3.115.   SANTA MONICA BANK                              UNKNOWN                  8438                            UNKNOWN
3.116.   UNION BANK OF CALIFORNIA                       UNKNOWN                  2863                            UNKNOWN
3.117.   UNION BANK OF CALIFORNIA                       UNKNOWN                  6607                            UNKNOWN
3.118.   UNION BANK OF CALIFORNIA                       CLIENT TRUST             2871                            UNKNOWN
3.119.   WESTERN ALLIANCE BANK                          UNKNOWN                  5859                            UNKNOWN
3.120.   WESTERN ALLIANCE BANK                          UNKNOWN                  2847                            UNKNOWN
3.121.   WESTERN ALLIANCE BANK                          UNKNOWN                  0618                            UNKNOWN
3.122.   WESTERN ALLIANCE BANK                          CLIENT TRUST             8362                            UNKNOWN
3.123.   WESTERN ALLIANCE BANK                          CLIENT TRUST             0672                            UNKNOWN
3.124.   WESTERN ALLIANCE BANK                          CLIENT TRUST             3701                            UNKNOWN
3.125.   WESTERN ALLIANCE BANK                          CLIENT TRUST             2010                            UNKNOWN
3.126.   1ST CENTENNIAL BANK                            CLIENT TRUST             4120                            UNKNOWN
3.127.   BANK OF SB                                     CLIENT TRUST             2156                            UNKNOWN


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4.         Other cash equivalents (Identify all)
           Description                Name of institution              Type of account            Last 4 digits of account   Current value of
                                                                                                  number                     debtor’s interest
4.1.       UNKNOWN                    ________________________ _____________________ _____________________ UNKNOWN

5.     Total of part 1
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.                           $4,130,773.59

 Part 2:      Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?
       ¨ No. Go to Part 3.
       þ Yes. Fill in the information below
7.         Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit                                                                  Current value of
                                                                                                                             debtor’s interest

7.1.       UNKNOWN                                                                                                           UNKNOWN
           _______________________________________________________________________________________

8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment                                                               Current value of
                                                                                                                             debtor’s interest
8.1.       UNKNOWN                                                                                                           UNKNOWN
           _______________________________________________________________________________________

9.     Total of part 2
       Add lines 7 through 8. Copy the total to line 81.                                                                         UNKNOWN

 Part 3:      Accounts receivable

10.    Does the debtor have any accounts receivable?
       ¨ No. Go to Part 4.
       þ Yes. Fill in the information below.
                                                                                                                             Current value of
                                                                                                                             debtor’s interest

11.        Accounts receivable
                               Face amount          Doubtful or uncollectible
                                                    accounts

11a.       90 days old or      UNKNOWN           - $_____________________          = ........ →                              UNKNOWN
           less:

                               Face amount          Doubtful or uncollectible
                                                    accounts

11b.       Over 90 days old:   UNKNOWN           - $_____________________          = ........ →                              UNKNOWN

12.    Total of part 3
       Current value on lines 11a + 11b = line 12. Copy the total to line 82.                                                    UNKNOWN

 Part 4:      Investments

13.    Does the debtor own any investments?
       ¨ No. Go to Part 5.
       þ Yes. Fill in the information below.
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                                                                                          Valuation method used   Current value of
                                                                                          for current value       debtor’s interest

14.     Mutual funds or publicly traded stocks not included in Part 1
        Name of fund or stock

14.1. UNKNOWN                                                                             _____________________ UNKNOWN

15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses,
           including any interest in an LLC, partnership, or joint venture
           Name of entity                                                % of ownership
15.1.      INVESTMENT IN PACTEN PARTNERS, LLC                            UNKNOWN          Unknown                 UNKNOWN

16.        Government bonds, corporate bonds, and other negotiable and non-negotiable
           instruments not included in Part 1
           Describe
16.1.      UNKNOWN                                                                        _____________________ UNKNOWN

17.     Total of part 4
        Add lines 14 through 16. Copy the total to line 83.                                                           UNKNOWN

 Part 5:      Inventory, excluding agriculture assets

18.     Does the debtor own any inventory (excluding agriculture assets)?
        þ No. Go to Part 6.
        ¨ Yes. Fill in the information below.
           General description             Date of the last       Net book value of       Valuation method used   Current value of
                                           physical inventory     debtor's interest       for current value       debtor’s interest
                                                                  (Where available)
19.        Raw materials
19.1.      ________________________ _____________________ $___________________            _____________________ $_______________

20.        Work in progress
20.1.      ________________________ _____________________ $___________________            _____________________ $_______________

21.        Finished goods, including goods held for resale
21.1.      ________________________ _____________________ $___________________            _____________________ $_______________

22.        Other inventory or supplies
22.1.      ________________________ _____________________ $___________________            _____________________ $_______________

23.     Total of part 5
        Add lines 19 through 22. Copy the total to line 84.                                                              $0.00

24.     Is any of the property listed in Part 5 perishable?
        ¨ No
        ¨ Yes
25.     Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
        ¨ No
        ¨ Yes Book value: $______________ Valuation method: ____________________ Current value: $_____________
26.     Has any of the property listed in Part 5 been appraised by a professional within the last year?
        ¨ No
        ¨ Yes

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 Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)

27.     Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
        þ No. Go to Part 7.
        ¨ Yes. Fill in the information below.
           General description                                              Net book value of   Valuation method    Current value of
                                                                            debtor's interest   used for current    debtor’s interest
                                                                            (Where available)   value

28.        Crops—either planted or harvested
28.1.      ___________________________________________________              $_______________    _________________ $_______________

29.        Farm animals. Examples: Livestock, poultry, farm-raised fish
29.1.      ___________________________________________________              $_______________    _________________ $_______________

30.        Farm machinery and equipment (Other than titled motor vehicles)
30.1.      ___________________________________________________              $_______________    _________________ $_______________

31.        Farm and fishing supplies, chemicals, and feed
31.1.      ___________________________________________________              $_______________    _________________ $_______________

32.        Other farming and fishing-related property not already listed in Part 6
32.1.      ___________________________________________________              $_______________    _________________ $_______________

33.     Total of part 6
        Add lines 28 through 32. Copy the total to line 85.                                                                $0.00

34.     Is the debtor a member of an agricultural cooperative?
        ¨ No
        ¨ Yes. Is any of the debtor’s property stored at the cooperative?
         ¨ No
         ¨ Yes
35.     Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
        ¨ No
        ¨ Yes Book value: $______________ Valuation method: ____________________ Current value: $_____________
36.     Is a depreciation schedule available for any of the property listed in Part 6?
        ¨ No
        ¨ Yes
37.     Has any of the property listed in Part 6 been appraised by a professional within the last year?
        ¨ No
        ¨ Yes
 Part 7:      Office furniture, fixtures, and equipment; and collectibles

38.     Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
        ¨ No. Go to Part 8.
        þ Yes. Fill in the information below.
           General description                                              Net book value of   Valuation method    Current value of
                                                                            debtor's interest   used for current    debtor’s interest
                                                                            (Where available)   value

39.        Office furniture
39.1.      MISCELLANEOUS OFFICE FURNITURE                                   $0.00               N/A                 UNKNOWN

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40.        Office fixtures
40.1.      MISCELLANEOUS OFFICE FIXTURES                                       $0.00               N/A                 UNKNOWN

41.        Office equipment, including all computer equipment and
           communication systems equipment and software

                                                                               Net book value of   Valuation method    Current value of
                                                                               debtor's interest   used for current    debtor’s interest
                                                                                                   value

41.1.      MISCELLANEOUS OFFICE EQUIPMENT                                      $59,888.59          N/A                 UNKNOWN

42.        Collectibles. Examples: Antiques and figurines; paintings, prints, or other
           artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
           or baseball card collections; other collections, memorabilia, or collectibles
42.1.      ARTWORK AND COLLECTIBLES                                            $324,116.25         N/A                 UNKNOWN

43.     Total of part 7
        Add lines 39 through 42. Copy the total to line 86.                                                                UNKNOWN

44.     Is a depreciation schedule available for any of the property listed in Part 7?
        þ No
        ¨ Yes
45.     Has any of the property listed in Part 7 been appraised by a professional within the last year?
        þ No
        ¨ Yes
 Part 8:      Machinery, equipment, and vehicles

46.     Does the debtor own or lease any machinery, equipment, or vehicles?
        ¨ No. Go to Part 9.
        þ Yes. Fill in the information below.
           General description                                                 Net book value of   Valuation method    Current value of
           Include year, make, model, and identification numbers (i.e., VIN,   debtor's interest   used for current    debtor’s interest
           HIN, or N-number)                                                   (Where available)   value
                                                                               (Where available)
47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
47.1.      2011 CADILLAC (VIN 1G6KH5E62BU123535)                               $0.00               N/A                 UNKNOWN

47.2.      LEASE OF 2018 MERCEDEZ BENZ S560V, VIN 8128                         $0.00               N/A                 ABANDONED BY
                                                                                                                       CHAPTER 7
                                                                                                                       TRUSTEE &
                                                                                                                       RETURNED TO
                                                                                                                       LESSOR 1/19/2021

48.        Watercraft, trailers, motors, and related accessories. Examples: Boats,
           trailers, motors, floating homes, personal watercraft, and fishing vessels
48.1.      UNKNOWN                                                             UNKNOWN             _________________ UNKNOWN

49.        Aircraft and accessories
49.1.      UNKNOWN                                                             UNKNOWN             _________________ UNKNOWN

50.        Other machinery, fixtures, and equipment (excluding farm machinery and equipment)
50.1.      UNKNOWN                                                             UNKNOWN             _________________ UNKNOWN

51.     Total of part 8
        Add lines 47 through 50. Copy the total to line 87.                                                                UNKNOWN




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52.     Is a depreciation schedule available for any of the property listed in Part 8?
        þ No
        ¨ Yes
53.     Has any of the property listed in Part 8 been appraised by a professional within the last year?
        þ No
        ¨ Yes
 Part 9:         Real property

54.     Does the debtor own or lease any real property?
        ¨ No. Go to Part 10.
        þ Yes. Fill in the information below.
           Description and location of property                     Nature and          Net book value      Valuation           Current value of
           Include street address or other description such as      extent of           of debtor's         method used for     debtor’s interest
           Assessor Parcel Number (APN), and type of property       debtor’s interest   interest            current value
           (for example, acreage, factory, warehouse,               in property         (Where available)
           apartment or office building), if available.
55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.1.      UNKNOWN                                                  UNKNOWN             UNKNOWN             _______________ UNKNOWN
           .
           .

56.     Total of part 9
        Add the current value on lines 55. Copy the total to line 88.                                                             UNKNOWN

57.     Is a depreciation schedule available for any of the property listed in Part 9?
        þ No
        ¨ Yes
58.     Has any of the property listed in Part 9 been appraised by a professional within the last year?
        þ No
        ¨ Yes
 Part 10: Intangibles and intellectual property

59.     Does the debtor have any interests in intangibles or intellectual property?
        ¨ No. Go to Part 11.
        þ Yes. Fill in the information below.
           General description                                                  Net book value of     Valuation method        Current value of
                                                                                debtor's interest     used for current        debtor’s interest
                                                                                (Where available)     value

60.        Patents, copyrights, trademarks, and trade secrets
60.1.      UNKNOWN                                                              UNKNOWN               _________________ UNKNOWN

61.        Internet domain names and websites
                                                                                Net book value of     Valuation method        Current value of
                                                                                debtor's interest                             debtor’s interest
61.1.      UNKNOWN                                                              UNKNOWN               _________________ UNKNOWN

62.        Licenses, franchises, and royalties
62.1.      UNKNOWN                                                              UNKNOWN               _________________ UNKNOWN




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63.       Customer lists, mailing lists, or other compilations
63.1.     UNKNOWN                                                               UNKNOWN                 _________________ UNKNOWN

64.       Other intangibles, or intellectual property
64.1.     UNKNOWN                                                               UNKNOWN                 _________________ UNKNOWN

65.       Goodwill
65.1.     NONE                                                                  $0.00                   _________________ $0.00

66.     Total of part 10
        Add lines 60 through 65. Copy the total to line 89.                                                                          UNKNOWN

67.     Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A)
        and 107)?
        þ No
        ¨ Yes
68.     Is there an amortization or other similar schedule available for any of the property listed in Part 10?
        þ No
        ¨ Yes
69.     Has any of the property listed in Part 10 been appraised by a professional within the last year?
        þ No
        ¨ Yes
 Part 11: All other assets

70.     Does the debtor own any other assets that have not yet been reported on this form?
        Include all interests in executory contracts and unexpired leases not previously reported on this form.

        ¨ No. Go to Part 12.
        þ Yes. Fill in the information below.
                                                                                                                                 Current value of
                                                                                                                                 debtor’s interest

71.       Notes receivable
          Description (include name of obligor)                Total face amount          Doubtful or                            Current value of
                                                                                          uncollectible amount                   debtor’s interest

71.1.     VARIOUS LOANS RECEIVEBLE                             $4,942,043.84            - UNKNOWN                 = ........ →   UNKNOWN
          VARIOUS OBLIGORS

71.2.     VARIOUS EMPLOYEE ADVANCES                            $341,829.50              - UNKNOWN                 = ........ →   UNKNOWN
          VARIOUS EMPLOYEES

71.3.     RECEIVABLE DUE FROM EJ GLOBAL LLC                    $25,592,261.26           - UNKNOWN                 = ........ →   UNKNOWN
          EJ GLOBAL LLC
          EVAN C. BORGES, ESQ.
          650 TOWN CENTER DRIVE
          SUITE 1700
          COSTA MESA CA 92626

71.4.     RECEIVABLE DUE FROM 1150 WILSHIRE                    $3,490,998.84            - UNKNOWN                 = ........ →   UNKNOWN
          PARTNERS, LLC
          1150 WILSHIRE PARTNERS, LLC
          10100 SANTA MONICA BLVD
          12TH FLOOR
          LOS ANGELES CA 90067



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71.5.      RECEIVABLE DUE FROM G&L AVIATION                      $4,025,976.74         - UNKNOWN                   = ........ →   UNKNOWN
           G&L AVIATION
           10100 SANTA MONICA BLVD
           12TH FLOOR
           LOS ANGELES CA 90067

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state,     Tax refund amount       NOL amount             Tax year                  Current value of
           local)                                                                                                                 debtor’s interest
72.1.      UNKNOWN                                       UNKNOWN                 UNKNOWN                _________________ UNKNOWN

73.        Interests in insurance policies or annuities
           Insurance company             Insurance policy       Annuity issuer name   Annuity account     Annuity account         Current value of
                                         No.                                          type                No.                     debtor’s interest
73.1.      UNKNOWN                       _______________ UNKNOWN                      _______________ _______________ UNKNOWN

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)
                                                            Nature of claim                             Amount requested          Current value of
                                                                                                                                  debtor’s interest
74.1.      UNKNOWN                                          __________________________________          $_______________          UNKNOWN

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims
                                                            Nature of claim                             Amount requested          Current value of
                                                                                                                                  debtor’s interest
75.1.1     ERIKA N. GIRARDI, AN INDIVIDUAL; EJ              1) DECLARATORY RELIEF; 2)           $25,000,000.00                    UNDETERMINED
           GLOBAL, LLC, A LIMITED LIABILITY                 TURNOVER OF PROPERTY OF THE
           COMPANY;                                         ESTATE PURSUANT TO 11 U.S.C. § 542;
           AND PRETTY MESS, INC., A                         (3) AVOIDANCE AND RECOVERY OF
           CORPORATION,                                     FRAUDULENT TRANSFER; (4)
                                                            CONVERSION; (5) CONSTRUCTIVE
                                                            TRUST; (6) ACCOUNT STATED; (7) OPEN
                                                            BOOK ACCOUNT; (8) MONEY HAD AND
                                                            RECEIVED; (9) UNJUST ENRICHMENT;
                                                            AND (10) ACCOUNTING
75.2.      THOMAS GIRARDI                                   DEFICIENCY CLAIM UNDER 11 U.S.C. §          UNDETERMINED              UNDETERMINED
                                                            723 AND OTHER CLAIMS CURRENTLY
                                                            UNDETERMINED
75.3.      ROBERT KEESE                                     DEFICIENCY CLAIM UNDER 11 U.S.C. §          UNDETERMINED              UNDETERMINED
                                                            723


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76.          Trusts, equitable or future interests in property
76.1.        UNKNOWN                                                                                                              UNKNOWN

77.        Other property of any kind not already listed
           Examples: Season tickets, country club membership
77.1.      UNREIMBURSED COST ADVANCES AND INTERESTS IN ONGOING LITIGATION MATTERS IN WHICH THE                                    UNKNOWN
           DEBTOR WAS PLAINTIFFS' COUNSEL

78.      Total of part 11
         Add lines 71 through 77. Copy the total to line 90.                                                                       UNDETERMINED




Official Form 206A/B                           Schedule A/B: Assets — Real and Personal Property                                            Page 11 of 13
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79.   Has any of the property listed in Part 11 been appraised by a professional within the last year?
      þ No
      ¨ Yes




Official Form 206A/B                  Schedule A/B: Assets — Real and Personal Property                             Page 12 of 13
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 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.
      Type of property                                                                  Current value of                   Current value of
                                                                                        personal                           real property
                                                                                        property

80.   Cash, cash equivalents, and financial assets. Copy line 5,                           $4,130,773.59
      Part 1.

81.   Deposits and prepayments. Copy line 9, Part 2.                                         UNKNOWN


82.   Accounts receivable. Copy line 12, Part 3.                                             UNKNOWN


83.   Investments. Copy line 17, Part 4.                                                     UNKNOWN


84.   Inventory. Copy line 23, Part 5.                                                          $0.00


85.   Farming and fishing-related assets. Copy line 33, Part 6.                                 $0.00


86.   Office furniture, fixtures, and equipment; and                                         UNKNOWN
      collectibles. Copy line 43, Part 7.

87.   Machinery, equipment, and vehicles. Copy line 51, Part 8.                              UNKNOWN



88.   Real property. Copy line 56, Part 9. ...................................................................... →           UNKNOWN

89.   Intangibles and intellectual property. Copy line 66, Part 10.                          UNKNOWN


90.   All other assets. Copy line 78, Part 11.                                     +     UNDETERMINED



91.   Total. Add lines 80 through 90 for each column. ..........91a.                       $4,130,773.59          + 91b.      UNKNOWN




92.   Total of all property on Schedule A/B. Lines 91a + 91b = 92. ......................................................................      $4,130,773.59




Official Form 206A/B                              Schedule A/B: Assets — Real and Personal Property                                                Page 13 of 13
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Fill in this information to identify the case:

Debtor name: Girardi Keese
United States Bankruptcy Court for the: Central District of California
Case number (if known): 20-21022

                                                                                                                             ¨ Check if this is an
                                                                                                                                    amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                    12/15

Be as complete and accurate as possible.

1.    Do any creditors have claims secured by debtor’s property?
      ¨ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this
      form.
      þ Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims

2.    List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured claim, list the
      creditor separately for each claim.




Official Form 206D                    Schedule D: Creditors Who Have Claims Secured by Property                                       Page 1 of 12
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                                                                                                            Column A        Column B
                                                                                                            Amount of       Value of
                                                                                                            Claim           collateral that
                                                                                                            Do not deduct   supports this
                                                                                                            the value of    claim
                                                                                                            collateral.


2.1.1    Creditor's name and address                        Describe debtor’s property that is subject
                                                            to a lien

         CALIFORNIA ATTONEY LENDING II, INC.                UNKNOWN                                         $6,668,484.21   UNKNOWN
         6400 MAIN STREET, SUITE 120
         WILLIAMSVILLE NY 14221                             Describe the lien

         Creditor’s email address, if known            UCC-1 RECORDED 7/6/2011 IN STATE OF
                                                       CALIFORNIA AS DOCUMENT #
         _____________________________________ 117275806299, AND AS AMENDED
                                                       8/18/2011, DOCUMENT # 1172814762 AND
         Date debt was incurred: 7/6/2011              8/28/2013, DOCUMENT # 1373755925,
                                                       CONTINUED 6/10/2016, DOCUMENT #
         Last 4 digits of account number:
                                                       1675306737 AND AMENDED 7/19/2017,
         Do multiple creditors have an interest in the DOCUMENT # 1775969950
         same property?
                                                       Is the creditor an insider or related party?
         ¨ No                                               ¨ No
         ¨ Yes. Have you already specified the              ¨ Yes
         relative priority?
                                                            Is anyone else liable on this claim?
             ¨ No. Specify each creditor, including
             this creditor, and its relative priority.      ¨ No
             _________________________________
             _________________________________              þ Yes. Fill out Schedule H: Codebtors
                                                            (Official Form 206H).
             ¨ Yes. The relative priority of creditors is
             specified on lines: ______                     As of the petition filing date, the claim is:
                                                            Check all that apply.

                                                            þ Contingent
                                                            þ Unliquidated
                                                            þ Disputed




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2.2.2    Creditor's name and address                        Describe debtor’s property that is subject
                                                            to a lien

         CORPORATE ADVISORY SERVICES, INC.                  UNKNOWN                                         UNKNOWN        UNKNOWN
         C/O ABIR COHEN TRYZON SALO, LLP
         16001 VENTURA BLVD., STE 200                       Describe the lien
         ENCINO CA 91436
                                                            UNKNOWN
         Creditor’s email address, if known
                                                            Is the creditor an insider or related party?
         _____________________________________
                                                            ¨ No
         Date debt was incurred: Unknown
                                                            ¨ Yes
         Last 4 digits of account number:                   Is anyone else liable on this claim?
         Do multiple creditors have an interest in the
         same property?
                                                            ¨ No
                                                            ¨ Yes. Fill out Schedule H: Codebtors
         ¨ No                                               (Official Form 206H).
         ¨ Yes. Have you already specified the              As of the petition filing date, the claim is:
         relative priority?                                 Check all that apply.
             ¨ No. Specify each creditor, including         þ Contingent
             this creditor, and its relative priority.
             _________________________________              þ Unliquidated
             _________________________________              þ Disputed
             ¨ Yes. The relative priority of creditors is
             specified on lines: ______

2.3.2    Creditor's name and address                        Describe debtor’s property that is subject
                                                            to a lien

         CORPORATION SERVICE COMPANY                        ALL RIGHT, TITLE, AND INTEREST OF THE           UNKNOWN        UNKNOWN
         801 ADLAI STEVENSON DR                             DEBTOR, WHETHER NOW OWNED OR
         SPRINGFIELD IL 62703-4261                          EXISTING OF HEREAFTER CREATED,
                                                            ACQUIRED, OR ARISING, IN AND TO ALL
         Creditor’s email address, if known                 OF THE FOLLOWING:, ETC.
         _____________________________________              Describe the lien
         Date debt was incurred: 6/16/2017                  UCC-1 RECORDED 6/16/2017 IN STATE OF
                                                            CALIFORNIA AS DOCUMENT # 17-
         Last 4 digits of account number:
                                                            76001785042
         Do multiple creditors have an interest in the
                                                       Is the creditor an insider or related party?
         same property?

         ¨ No                                               ¨ No
         ¨ Yes. Have you already specified the              ¨ Yes
         relative priority?                                 Is anyone else liable on this claim?
             ¨ No. Specify each creditor, including         ¨ No
             this creditor, and its relative priority.
             _________________________________              ¨ Yes. Fill out Schedule H: Codebtors
             _________________________________              (Official Form 206H).
             ¨ Yes. The relative priority of creditors is   As of the petition filing date, the claim is:
             specified on lines: ______                     Check all that apply.

                                                            þ Contingent
                                                            þ Unliquidated
                                                            þ Disputed




Official Form 206D                    Schedule D: Creditors Who Have Claims Secured by Property                                   Page 3 of 12
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2.4.2    Creditor's name and address                        Describe debtor’s property that is subject
                                                            to a lien

         CORPORATION SERVICE COMPANY                        ALL RIGHT, TITLE, AND INTEREST OF THE           UNKNOWN        UNKNOWN
         801 ADLAI STEVENSON DR                             DEBTOR, WHETHER NOW OWNED OR
         SPRINGFIELD IL 62703-4261                          EXISTING OF HEREAFTER CREATED,
                                                            ACQUIRED, OR ARISING, IN AND TO ALL
         Creditor’s email address, if known                 OF THE FOLLOWING:, ETC.
         _____________________________________              Describe the lien
         Date debt was incurred: 11/6/2017                  UCC-1 RECORDED 11/6/2017 IN STATE OF
                                                            CALIFORNIA AS DOCUMENT # 17-
         Last 4 digits of account number:
                                                            7614819640
         Do multiple creditors have an interest in the
                                                       Is the creditor an insider or related party?
         same property?

         ¨ No                                               ¨ No
         ¨ Yes. Have you already specified the              ¨ Yes
         relative priority?                                 Is anyone else liable on this claim?
             ¨ No. Specify each creditor, including         ¨ No
             this creditor, and its relative priority.
             _________________________________              ¨ Yes. Fill out Schedule H: Codebtors
             _________________________________              (Official Form 206H).
             ¨ Yes. The relative priority of creditors is   As of the petition filing date, the claim is:
             specified on lines: ______                     Check all that apply.

                                                            þ Contingent
                                                            þ Unliquidated
                                                            þ Disputed
2.5.2    Creditor's name and address                        Describe debtor’s property that is subject
                                                            to a lien

         CORPORATION SERVICE COMPANY                        ALL OF THE DEBTOR'S PRESENT AND                 UNKNOWN        UNKNOWN
         801 ADLAI STEVENSON DR                             FUTURE PROPERTY, INCLUDING ALL
         SPRINGFIELD IL 62703-4261                          CASH, ACCOUNTS, CHATTEL PAPER,
                                                            DEPOSIT ACCOUNTS, EQUIPMENT,
         Creditor’s email address, if known                 INSURANCE, ETC.
         _____________________________________              Describe the lien
         Date debt was incurred: 1/31/2016             UCC-1 RECORRDED 1/31/2016 IN STATE
                                                       OF CALIFORNIA AS DOCUMENT # 16-
         Last 4 digits of account number:
                                                       7631301555; AND DOCUMENT # 16-
         Do multiple creditors have an interest in the 76683265 RECORDED 12/19/2016
         same property?
                                                       Is the creditor an insider or related party?
         ¨ No                                               ¨ No
         ¨ Yes. Have you already specified the              ¨ Yes
         relative priority?
                                                            Is anyone else liable on this claim?
             ¨ No. Specify each creditor, including
             this creditor, and its relative priority.      ¨ No
             _________________________________
             _________________________________              ¨ Yes. Fill out Schedule H: Codebtors
                                                            (Official Form 206H).
             ¨ Yes. The relative priority of creditors is
             specified on lines: ______                     As of the petition filing date, the claim is:
                                                            Check all that apply.

                                                            þ Contingent
                                                            þ Unliquidated
                                                            þ Disputed


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2.6.2    Creditor's name and address                        Describe debtor’s property that is subject
                                                            to a lien

         CORPORATION SERVICE COMPANY                        ALL RIGHT, TITLE, AND INTEREST OF THE           UNKNOWN        UNKNOWN
         801 ADLAI STEVENSON DR                             DEBTOR, WHETHER NOW OWNED OR
         SPRINGFIELD IL 62703-4261                          EXISTING OF HEREAFTER CREATED,
                                                            ACQUIRED, OR ARISING, IN AND TO ALL
         Creditor’s email address, if known                 OF THE FOLLOWING:, ETC.
         _____________________________________              Describe the lien
         Date debt was incurred: 3/1/2016                   UCC-1 RECORDED 3/1/2016 IN STATE OF
                                                            CALIFORNAI AS DOCUMENT # 16-
         Last 4 digits of account number:
                                                            7635620656
         Do multiple creditors have an interest in the
                                                       Is the creditor an insider or related party?
         same property?

         ¨ No                                               ¨ No
         ¨ Yes. Have you already specified the              ¨ Yes
         relative priority?                                 Is anyone else liable on this claim?
             ¨ No. Specify each creditor, including         ¨ No
             this creditor, and its relative priority.
             _________________________________              ¨ Yes. Fill out Schedule H: Codebtors
             _________________________________              (Official Form 206H).
             ¨ Yes. The relative priority of creditors is   As of the petition filing date, the claim is:
             specified on lines: ______                     Check all that apply.

                                                            þ Contingent
                                                            þ Unliquidated
                                                            þ Disputed
2.7.2    Creditor's name and address                        Describe debtor’s property that is subject
                                                            to a lien

         CORPORATION SERVICE COMPANY                        ALL RIGHT, TITLE, AND INTEREST OF THE           UNKNOWN        UNKNOWN
         801 ADLAI STEVENSON DR                             DEBTOR, WHETHER NOW OWNED OR
         SPRINGFIELD IL 62703-4261                          EXISTING OF HEREAFTER CREATED,
                                                            ACQUIRED, OR ARISING, IN AND TO ALL
         Creditor’s email address, if known                 OF THE FOLLOWING:, ETC.
         _____________________________________              Describe the lien
         Date debt was incurred: 3/1/2018              UCC-1 RECORDED 3/1/2018 IN STATE OF
                                                       CALIFORNIA AS DOCUMENT #
         Last 4 digits of account number:
                                                       187635620856 AND AS AMENDED 7/10/2018
         Do multiple creditors have an interest in the AND 9/4/2018 BY DOCUMENT #S
         same property?                                1977226167 AND 1977234000

         ¨ No                                               Is the creditor an insider or related party?

         ¨ Yes. Have you already specified the              ¨ No
         relative priority?                                 ¨ Yes
             ¨ No. Specify each creditor, including         Is anyone else liable on this claim?
             this creditor, and its relative priority.
             _________________________________              ¨ No
             _________________________________
                                                            ¨ Yes. Fill out Schedule H: Codebtors
             ¨ Yes. The relative priority of creditors is   (Official Form 206H).
             specified on lines: ______
                                                            As of the petition filing date, the claim is:
                                                            Check all that apply.

                                                            þ Contingent
                                                            þ Unliquidated
                                                            þ Disputed


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2.8.1    Creditor's name and address                        Describe debtor’s property that is subject
                                                            to a lien

         IKON FINANCIAL SERVICES                            EQUIPMENT                                       UNKNOWN         UNKNOWN
         1738 BASS ROAD
         MACON GA 31210-1043                                Describe the lien

         Creditor’s email address, if known                 UCC-1 RECORD IN STATE OF CALIFORNIA
                                                            1/26/2016 AS DOCUMENT # 167506300290
         _____________________________________
                                                            Is the creditor an insider or related party?
         Date debt was incurred: 1/26/2016
                                                            ¨ No
         Last 4 digits of account number:
                                                            ¨ Yes
         Do multiple creditors have an interest in the
                                                       Is anyone else liable on this claim?
         same property?

         ¨ No                                               þ No
         ¨ Yes. Have you already specified the              ¨ Yes. Fill out Schedule H: Codebtors
                                                            (Official Form 206H).
         relative priority?
                                                            As of the petition filing date, the claim is:
             ¨ No. Specify each creditor, including         Check all that apply.
             this creditor, and its relative priority.
             _________________________________              þ Contingent
             _________________________________
             ¨ Yes. The relative priority of creditors is   þ Unliquidated
             specified on lines: ______                     þ Disputed
2.9.2    Creditor's name and address                        Describe debtor’s property that is subject
                                                            to a lien

         KCC CLASS ACTION SERVICES LLC                      UNKNOWN                                         $7,888,356.16   UNKNOWN
         C/O VEDDER PRICE P.C.
         275 BATTERY STREET                                 Describe the lien
         SAN FRANCISCO CA 94111
                                                            _____________________________________
         Creditor’s email address, if known
                                                            Is the creditor an insider or related party?
         _____________________________________
                                                            ¨ No
         Date debt was incurred: Unknown
                                                            ¨ Yes
         Last 4 digits of account number:                   Is anyone else liable on this claim?
         Do multiple creditors have an interest in the
         same property?
                                                            ¨ No
                                                            ¨ Yes. Fill out Schedule H: Codebtors
         ¨ No                                               (Official Form 206H).
         ¨ Yes. Have you already specified the              As of the petition filing date, the claim is:
         relative priority?                                 Check all that apply.
             ¨ No. Specify each creditor, including         þ Contingent
             this creditor, and its relative priority.
             _________________________________              þ Unliquidated
             _________________________________              þ Disputed
             ¨ Yes. The relative priority of creditors is
             specified on lines: ______




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2.10.1   Creditor's name and address                     Describe debtor’s property that is subject
                                                         to a lien

         LAW FINANCE GROUP, LLC                          ALL OF THE DEBTOR'S PRESENT AND                 UNKNOWN        UNKNOWN
         591 REDWOOD HWY, SUITE 1200                     FUTURE PROPERTY, ETC.
         MILL VALLEY CA 94941
                                                         Describe the lien
         Creditor’s email address, if known
                                                         UCC-1 RECORDED 11/5/2015 IN STATE OF
         _____________________________________           CALIFORNIA AS DOCUMENT #
                                                         157493869981; DOCUMENT # 187666977168
         Date debt was incurred: 11/5/2015               RECORDED 9/4/2018
         Last 4 digits of account number:                Is the creditor an insider or related party?
         Do multiple creditors have an interest in the
         same property?
                                                         ¨ No
                                                         ¨ Yes
         ¨ No                                            Is anyone else liable on this claim?
         ¨ Yes. Have you already specified the
         relative priority?                              ¨ No
             ¨ No. Specify each creditor, including      þ Yes. Fill out Schedule H: Codebtors
             this creditor, and its relative priority.   (Official Form 206H).
             _________________________________           As of the petition filing date, the claim is:
             _________________________________           Check all that apply.
             ¨ Yes. The relative priority of creditors is þ Contingent
             specified on lines: ______
                                                          þ Unliquidated
                                                          þ Disputed
2.11.1   Creditor's name and address                     Describe debtor’s property that is subject
                                                         to a lien

         LAW FINANCE GROUP, LLC                          ALL OF THE DEBTOR'S PRESENT AND                 UNKNOWN        UNKNOWN
         591 REDWOOD HWY, SUITE 1200                     FUTURE PROPERTY, ETC.
         MILL VALLEY CA 94941
                                                         Describe the lien
         Creditor’s email address, if known
                                                         UCC-1 RECORDED 2/28/2017 IN STATE OF
         _____________________________________           CALIFORNIA AS DOCUMENT #
                                                         177573163878
         Date debt was incurred: 2/28/2017
                                                         Is the creditor an insider or related party?
         Last 4 digits of account number:
         Do multiple creditors have an interest in the
                                                         ¨ No
         same property?                                  ¨ Yes
         ¨ No                                            Is anyone else liable on this claim?

         ¨ Yes. Have you already specified the           ¨ No
         relative priority?                              þ Yes. Fill out Schedule H: Codebtors
             ¨ No. Specify each creditor, including      (Official Form 206H).
             this creditor, and its relative priority.   As of the petition filing date, the claim is:
             _________________________________           Check all that apply.
             _________________________________
             ¨ Yes. The relative priority of creditors is þ Contingent
             specified on lines: ______                   þ Unliquidated
                                                          þ Disputed




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2.12.1   Creditor's name and address                     Describe debtor’s property that is subject
                                                         to a lien

         LFG SPECIAL INVESTOR GROUP, LLC                 ALL OF THE DEBTOR'S PRESENT AND                 UNKNOWN        UNKNOWN
         SERIES LAW FINANCE GROUP FUND III               FUTURE PROPERTY, ETC.
         200 SOUTH VIRGINIA STREET, 8TH FL
         RENO NV 89501                                   Describe the lien

         Creditor’s email address, if known              UCC-1 RECORDED 11/5/2015 IN STATE OF
                                                         CALIFORNIA AS DOCUMENT #
         _____________________________________           157493869981; DOCUMENT # 187666977168
                                                         RECORDED 9/4/2018
         Date debt was incurred: 11/5/2015
                                                         Is the creditor an insider or related party?
         Last 4 digits of account number:
         Do multiple creditors have an interest in the
                                                         ¨ No
         same property?                                  ¨ Yes
         ¨ No                                            Is anyone else liable on this claim?

         ¨ Yes. Have you already specified the           ¨ No
         relative priority?                              þ Yes. Fill out Schedule H: Codebtors
             ¨ No. Specify each creditor, including      (Official Form 206H).
             this creditor, and its relative priority.   As of the petition filing date, the claim is:
             _________________________________           Check all that apply.
             _________________________________
             ¨ Yes. The relative priority of creditors is þ Contingent
             specified on lines: ______                   þ Unliquidated
                                                          þ Disputed
2.13.1   Creditor's name and address                     Describe debtor’s property that is subject
                                                         to a lien

         LFG SPECIAL INVESTOR GROUP, LLC                 ALL OF THE DEBTOR'S PRESENT AND                 UNKNOWN        UNKNOWN
         SERIES LAW FINANCE GROUP FUND III               FUTURE PROPERTY, ETC.
         200 SOUTH VIRGINIA STREET, 8TH FL
         RENO NV 89501                                   Describe the lien

         Creditor’s email address, if known              UCC-1 RECORDED 2/28/2017 IN STATE OF
                                                         CALIFORNIA AS DOCUMENT #
         _____________________________________           177573163878
         Date debt was incurred: 2/28/2017               Is the creditor an insider or related party?
         Last 4 digits of account number:                ¨ No
         Do multiple creditors have an interest in the   ¨ Yes
         same property?
                                                         Is anyone else liable on this claim?
         ¨ No                                            ¨ No
         ¨ Yes. Have you already specified the           þ Yes. Fill out Schedule H: Codebtors
         relative priority?
                                                         (Official Form 206H).
             ¨ No. Specify each creditor, including      As of the petition filing date, the claim is:
             this creditor, and its relative priority.   Check all that apply.
             _________________________________
             _________________________________            þ Contingent
             ¨ Yes. The relative priority of creditors is þ Unliquidated
             specified on lines: ______
                                                          þ Disputed




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2.14.2   Creditor's name and address                        Describe debtor’s property that is subject
                                                            to a lien

         NANO BANC                                          ALL INVENTORY, EQUIPMENT, ACCOUNTS              $4,281,638.89    UNKNOWN
         25220 HANCOCK AVENUE, STE 140                      (INCLUDING BUT NOT LIMITED TO ALL
         MURRIETA CA 92562                                  HEALTH-CARE--INSURANCE
                                                            RECEIVABLES), CHATTEL PAPER,
         Creditor’s email address, if known                 INSTRUMENTS (INCLUDING BUT NOT
                                                            LIMITED TO ALL PROMISSORY NOTES),
         _____________________________________
                                                            LETTERS OF CREDIT, DOCUMENTS,
         Date debt was incurred: 8/31/2018                  DEPOSIT ACCOUNTS, INVESTMENT
                                                            PROPERTY, ETC.
         Last 4 digits of account number:
                                                       Describe the lien
         Do multiple creditors have an interest in the
         same property?                                UCC-1 RECORDED 8/31/2018 IN STATE OF
                                                       CALIFORNIA AS DOCUMENT #
         ¨  No                                         187666662169
         ¨ Yes. Have you already specified the              Is the creditor an insider or related party?
         relative priority?
                                                            ¨ No
             ¨ No. Specify each creditor, including
             this creditor, and its relative priority.      ¨ Yes
             _________________________________              Is anyone else liable on this claim?
             _________________________________
             ¨ Yes. The relative priority of creditors is ¨ No
             specified on lines: ______                   ¨ Yes. Fill out Schedule H: Codebtors
                                                            (Official Form 206H).
                                                            As of the petition filing date, the claim is:
                                                            Check all that apply.

                                                            þ Contingent
                                                            þ Unliquidated
                                                            þ Disputed
2.15.1   Creditor's name and address                        Describe debtor’s property that is subject
                                                            to a lien

         RUIGOMEZ, JAMIE, JOSEPH AND                        UNKNOWN                                         $11,747,245.95   UNKNOWN
         KATHLEEN
         C/O MARGUILES FAITH, LLP                           Describe the lien
         16030 VENTURA BLVD, STE 470
                                                            JUDGMENT LIEN RECORDED IN STATE OF
         ENCINO CA 91436
                                                            CALIFORNIA 10/6/2020 AS DOCUMENT #
         Creditor’s email address, if known                 U200027063225

         _____________________________________              Is the creditor an insider or related party?

         Date debt was incurred: 10/6/2020                  ¨ No
         Last 4 digits of account number:                   ¨ Yes
                                                            Is anyone else liable on this claim?
         Do multiple creditors have an interest in the
         same property?                                     ¨ No
         ¨ No                                               þ Yes. Fill out Schedule H: Codebtors
         ¨ Yes. Have you already specified the              (Official Form 206H).
         relative priority?                                 As of the petition filing date, the claim is:
                                                            Check all that apply.
             ¨ No. Specify each creditor, including
             this creditor, and its relative priority.      þ Contingent
             _________________________________
             _________________________________              þ Unliquidated
             ¨ Yes. The relative priority of creditors is   þ Disputed
             specified on lines: ______




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2.16.1   Creditor's name and address                     Describe debtor’s property that is subject
                                                         to a lien

         STILLWELL MADISON, LLC                          ALL ACCOUNTS, ACCOUNTS RECEIVABLE,              $7,456,773.04   UNKNOWN
         PO BOX 832                                      CONTROLLED ACCOUNTS, THINGS IN
         CAREFREE AZ 85377                               ACTION, PROCEEDS, (WHETHER ARISING
                                                         THROUGH JUDGMENT OR SETILEMENT),
         Creditor’s email address, if known              AND GENERAL OR PAYMENT
                                                         INTANGIBLES ARISING FROM ALL CLAIMS
         _____________________________________
                                                         OF DEBTOR TO RECEIVE ATTORNEY'S
         Date debt was incurred: 4/11/2016               FEES AND COSTS FROM CLIENTS

         Last 4 digits of account number:                Describe the lien

         Do multiple creditors have an interest in the UCC-1 RECORDED 4/11/2016 IN STATE OF
         same property?                                CALIFORNIA AS DOCUMENT #
                                                       167519369916
         ¨   No
                                                       Is the creditor an insider or related party?
         ¨   Yes. Have you already specified the
         relative priority?                              ¨  No

             ¨ No. Specify each creditor, including      ¨ Yes
             this creditor, and its relative priority.   Is anyone else liable on this claim?
             _________________________________
             _________________________________            þ No
             ¨ Yes. The relative priority of creditors is ¨ Yes. Fill out Schedule H: Codebtors
             specified on lines: ______                  (Official Form 206H).
                                                         As of the petition filing date, the claim is:
                                                         Check all that apply.

                                                         þ Contingent
                                                         þ Unliquidated
                                                         þ Disputed
2.17.1   Creditor's name and address                     Describe debtor’s property that is subject
                                                         to a lien

         TSO LFG HOLDCO, LLP                             ALL OF THE DEBTOR'S PRESENT AND                 UNKNOWN         UNKNOWN
         65 EAST 55TH STREET, 27TH FLOOR                 FUTURE PROPERTY, ETC.
         NEW YORK NY 10022
                                                         Describe the lien
         Creditor’s email address, if known
                                                         UCC-1 RECORDED 2/28/2017 IN STATE OF
         _____________________________________           CALIFORNIA AS DOCUMENT #
                                                         177573163878
         Date debt was incurred: 2/28/2017
                                                         Is the creditor an insider or related party?
         Last 4 digits of account number:
         Do multiple creditors have an interest in the
                                                         ¨ No
         same property?                                  ¨ Yes
         ¨ No                                            Is anyone else liable on this claim?

         ¨ Yes. Have you already specified the           ¨ No
         relative priority?                              þ Yes. Fill out Schedule H: Codebtors
             ¨ No. Specify each creditor, including      (Official Form 206H).
             this creditor, and its relative priority.   As of the petition filing date, the claim is:
             _________________________________           Check all that apply.
             _________________________________
             ¨ Yes. The relative priority of creditors is þ Contingent
             specified on lines: ______                   þ Unliquidated
                                                          þ Disputed



Official Form 206D                   Schedule D: Creditors Who Have Claims Secured by Property                                 Page 10 of 12
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Debtor        Girardi Keese                                                                                                  Case number (if known) 20-21022

2.18.2        Creditor's name and address                        Describe debtor’s property that is subject
                                                                 to a lien

              VIRAGE SPV 1, LLC                                  UNKNOWN                                             $11,302,622.87      UNKNOWN
              C/O CORPORATION SERVICE COMPANY
              251 LITTLE FALLS DRIVE                             Describe the lien
              WILMINGTON DE 19808
                                                                 _____________________________________
              Creditor’s email address, if known
                                                                 Is the creditor an insider or related party?
              _____________________________________
                                                                 ¨ No
              Date debt was incurred: Unknown
                                                                 ¨ Yes
              Last 4 digits of account number:                   Is anyone else liable on this claim?
              Do multiple creditors have an interest in the
              same property?
                                                                 ¨ No
                                                                 ¨ Yes. Fill out Schedule H: Codebtors
              ¨ No                                               (Official Form 206H).
              ¨ Yes. Have you already specified the              As of the petition filing date, the claim is:
              relative priority?                                 Check all that apply.
                  ¨ No. Specify each creditor, including         þ Contingent
                  this creditor, and its relative priority.
                  _________________________________              þ Unliquidated
                  _________________________________              þ Disputed
                  ¨ Yes. The relative priority of creditors is
                  specified on lines: ______



1
 IT IS UNKNOWN WHETHER (I) MULTIPLE CREDITORS HAVE AN INTEREST IN THE SAME PROPERTY; AND (II) THE CREDITOR IS AN
INSIDER OR RELATED PARTY.
2
IT IS UNKNOWN WHETHER (I) MULTIPLE CREDITORS HAVE AN INTEREST IN THE SAME PROPERTY; (II) THE CREDITOR IS AN INSIDER
OR RELATED PARTY; AND (III) ANYONE ELSE IS LIABLE ON THE CLAIM.




       Total of the dollar amounts from Part 1, Column A, including the amounts
3.                                                                                                         $49,345,121.12
       from the Additional Page, if any.



    Part 2:       List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be
listed are collection agencies, assignees of claims listed above, and attorneys for secured creditors.
If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed,
copy this page.
              Name and address                                                                                   On which line in        Last 4 digits of
                                                                                                                 Part 1 did you enter    account number
                                                                                                                 the related             for this entity
                                                                                                                 creditor?

3.1.          CORPORATION SERVICE COMPANY                                                                        Line 2.10               _______________
              801 ADLAI STEVENSON DR
              SPRINGFIELD IL 62703-4261

3.2.          CORPORATION SERVICE COMPANY                                                                        Line 2.12               _______________
              801 ADLAI STEVENSON DR
              SPRINGFIELD IL 62703-4261




Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                           Page 11 of 12
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Debtor   Girardi Keese                                                                           Case number (if known) 20-21022

3.3.     DLA PIPER LLP (US)                                                          Line 2.16               _______________
         ERIC D GOLDBERG
         2000 AVE OF THE STARS
         STE 400 NORTH TOWER
         LOS ANGELES CA 90067-4704

3.4.     LAW FINANCE GROUP, LLC                                                      Line 2.12               _______________
         591 REDWOOD HWY, SUITE 1200
         MILL VALLEY CA 94941

3.5.     LAW FINANCE GROUP, LLC                                                      Line 2.17               _______________
         591 REDWOOD HWY, SUITE 1200
         MILL VALLEY CA 94941

3.6.     LAW FINANCE GROUP, LLC                                                      Line 2.13               _______________
         591 REDWOOD HWY, SUITE 1200
         MILL VALLEY CA 94941

3.7.     LFG SPECIAL INVESTOR GROUP, LLC                                             Line 2.10               _______________
         SERIES LAW FINANCE GROUP FUND III
         200 SOUTH VIRGINIA STREET
         8TH FL
         RENO NV 89501

3.8.     LFG SPECIAL INVESTOR GROUP, LLC                                             Line 2.17               _______________
         SERIES LAW FINANCE GROUP FUND III
         200 SOUTH VIRGINIA STREET
         8TH FL
         RENO NV 89501

3.9.     LFG SPECIAL INVESTOR GROUP, LLC                                             Line 2.11               _______________
         SERIES LAW FINANCE GROUP FUND III
         200 SOUTH VIRGINIA STREET
         8TH FL
         RENO NV 89501

3.10.    SNELL AND WILMER LLP                                                        Line 2.1                _______________
         CLIFFORD S DAVIDSON KEITH M GREGORY
         350 SOUTH GRAND AVE
         STE 3100 CITY NATIONAL 2CAL
         LOS ANGELES CA 90071

3.11.    SNELL AND WILMER LLP                                                        Line 2.1                _______________
         MARSHALL J HOGAN
         600 ANTON BLVD
         STE 1400
         COSTA MESA CA 92626-7689

3.12.    TSO LFG HOLDCO, LLP                                                         Line 2.11               _______________
         65 EAST 55TH STREET, 27TH FLOOR
         NEW YORK NY 10022

3.13.    TSO LFG HOLDCO, LLP                                                         Line 2.13               _______________
         65 EAST 55TH STREET, 27TH FLOOR
         NEW YORK NY 10022

3.14.    VEDDER PRICE (CA), LLP                                                      Line 2.9                _______________
         MARIE E CHRISTIANSEN ESQ
         1925 CENTURY PK EAST
         STE 1900
         LOS ANGELES CA 90067

3.15.    VEDDER PRICE (CA), LLP                                                      Line 2.9                _______________
         MICHAEL J QUINN ESQ
         1925 CENTURY PK EAST
         STE 1900
         LOS ANGELES CA 90067

3.16.    VEDDER PRICE (CA), LLP                                                      Line 2.9                _______________
         SCOTT H OLSON
         275 BATTERY ST
         STE 2464
         SAN FRANCISCO CA 94111

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Fill in this information to identify the case:

Debtor name: Girardi Keese
United States Bankruptcy Court for the: Central District of California
Case number (if known): 20-21022

                                                                                                                               ¨ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                              12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
(Official Form 206G) .Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
       ¨ No. Go to Part 2.
       þ Yes. Go to line 2.
2.         List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If
           the debtor has more than 3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.


2.1.       Priority creditor’s name and mailing        As of the petition filing date, the claim     Total claim             Priority amount
           address                                     is:
                                                       Check all that apply.                         $0.00                   $0.00
           ALWAYS, MICHELLE
           172 SONOMA LANE                             þ Contingent
           CARMEL CA 93923
                                                       þ Unliquidated                                                        Nonpriority amount

                                                       þ Disputed                                                            $0.00

           Date or dates debt was incurred             Basis for the claim:
           VARIOUS                                     WAGES

           Last 4 digits of account                    Is the claim subject to offset?
           number:
                                                       þ No
           Specify Code subsection of PRIORITY
           unsecured claim:11 U.S.C. § 507(a) (4)      ¨ Yes

2.2.       Priority creditor’s name and mailing        As of the petition filing date, the claim     Total claim             Priority amount
           address                                     is:
                                                       Check all that apply.                         $0.00                   $0.00
           AUMAIS, CHRISTOPHER T
           865 1/2 SOUTH BUNDY DR                      þ Contingent
           LOS ANGELES CA 90049
                                                       þ Unliquidated                                                        Nonpriority amount

                                                       þ Disputed                                                            $0.00

           Date or dates debt was incurred             Basis for the claim:
           VARIOUS                                     WAGES

           Last 4 digits of account                    Is the claim subject to offset?
           number:
                                                       þ No
           Specify Code subsection of PRIORITY
           unsecured claim:11 U.S.C. § 507(a) (4)      ¨ Yes

Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1 of 160
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2.3.     Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         BIGELOW, DAVID N
         364 N HIGHLAND AVE                        þ Contingent
         LOS ANGELES CA 90036
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.4.     Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         BOWMAN, NEREIDA
         17472 CHERVIL LANE                        þ Contingent
         SAN BERNARDINO CA 92407
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.5.     Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         CARDENAS, ICXEN
         14930 BROXTON AVE                         þ Contingent
         GARDENA CA 90249
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes




Official Form 206E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 2 of 160
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2.6.     Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         CARLOS, MARIA L
         13109 FAUST AVE                           þ Contingent
         DOWNEY CA 90242
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.7.     Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         CARLTON, OLGA A
         11895 BRIAR ROSE LN                       þ Contingent
         CHINO CA 91710
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.8.     Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         CASTRO, LINDA
         908 FINEGROVE AVE                         þ Contingent
         HACIENDA HEIGHTS CA 91745
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes




Official Form 206E/F                    Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 3 of 160
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2.9.     Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $156,891.30             UNKNOWN
         CIGNA HEALTH AND LIFE INSURANCE
         COMPANY                                   þ Contingent
         900 COTTAGE GRIVE ROAD, B6LPA
         HARTFORD CT 06152                         þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          UNKNOWN

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   GOOD OR SERVICES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.10.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         CITY OF LA BUSINESS TAX OFFICE OF
         FINANCE                                   þ Contingent
         P.O. BOX 513996
         LOS ANGELES CA 90051-3996                 þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   TAXING AUTHORITY

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.11.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         CORY, HALEI N
         5616 SUGAR MAPLE WAY                      þ Contingent
         FONTANA CA 92336
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes




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2.12.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         CORY, KIM
         5616 SUGAR MAPLE WAY                      þ Contingent
         FONTANA CA 92336
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.13.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $25,999.49              UNKNOWN
         COUNTY OF LOS ANGELES
         225 NORTH HILL ST., RM 122                þ Contingent
         P.O. BOX 514818
         LOS ANGELES CA 90051-4818                 þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          UNKNOWN

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   TAXING AUTHORITY

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.14.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         COURTNEY, JOHN
         2054 MONTEREY RD                          þ Contingent
         HERMOSA BEACH CA 90254
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes




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2.15.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         DEUTSCH, BRANDON
         6222 TOBRUK CT                            þ Contingent
         LONG BEACH CA 90803
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.16.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         DIAMANT, MICHELLE
         4847 W SLAUSON AVE                        þ Contingent
         LOS ANGELES CA 90056
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.17.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         DURAN, NICOLE
         1922 ROSEGLEN AVE                         þ Contingent
         SAN PEDRO CA 90731
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes




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Debtor   Girardi Keese                                                                                       Case number (if known) 20-21022




2.18.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         EMPLOYMENT DEVELOPMENT
         DEPARTMENT                                þ Contingent
         BANKRUPTCY UNIT, MIC 92E
         P.O. BOX 826880                           þ Unliquidated                                                      Nonpriority amount
         SACRAMENTO CA 94230                       þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   TAXING AUTHORITY

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.19.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         FELIS, TODD J
         1942 REYNOSA DR                           þ Contingent
         TORRANCE CA 90501
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.20.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         FERNANDEZ, DESIREE
         20554 LAURISTON AVE                       þ Contingent
         LOS ANGELES CA 90064
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes




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2.21.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         FORWARD, COLLEEN
         751 E ORANGE GROVE BLVD                   þ Contingent
         PASADENA CA 91104
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.22.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         FOURNIER, KALI V
         19120 CHANDON LANE                        þ Contingent
         HUNTINGTON BEACH CA 92648
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.23.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         FRANCHISE TAX BOARD
         ATTN: SPECIAL PROCEDURES                  þ Contingent
         MS: A-340
         P.O. BOX 2952                             þ Unliquidated                                                      Nonpriority amount
         SACRAMENTO CA 95814                       þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   TAXING AUTHORITY

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.24.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         FRANCO, BRIANNA
         14942 ARCHWOOD ST                         þ Contingent
         VAN NUYS CA 91405
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.25.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         FUJIMOTO, SHIRLEEN H
         2032 W 233RD ST                           þ Contingent
         TORRANCE CA 90501
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.26.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         FUJIOKA, DYLAN
         1501 PEBBLEDON ST                         þ Contingent
         MONTEREY PARK CA 91754
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes




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2.27.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         FUJIOKA, GRACE K
         1501 PEBBLEDON ST                         þ Contingent
         MONTEREY PARK CA 91754
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.28.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         FUJIOKA, SHELBY
         1501 PEBBLEDON ST                         þ Contingent
         MONTEREY PARK CA 91754
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.29.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         GALLOWAY, ALEXA
         10 ORBIT LANE                             þ Contingent
         SAN PEDRO CA 90732
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes




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2.30.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         GOLD, SAMANTHA K
         531 N ROSESMORE AVE                       þ Contingent
         LOS ANGELES CA 90004
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.31.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         GRIFFIN, KEITH D
         10806 ESTHER AVE                          þ Contingent
         LOS ANGELES CA 90064
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.32.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         HAUSO, CLAIRE
         616 1/2 SILVERLAKE BLVD                   þ Contingent
         LOS ANGELES CA 90026
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes




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2.33.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         HEARN, MARK
         120 23RD ST                               þ Contingent
         MANHATTAN BEACH CA 90266
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.34.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         HSU, SAMMY
         13044 PACIFIC PROM                        þ Contingent
         PLAYA VISTA CA 90094
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.35.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         IBARRA, JOSEMARIA
         2410 E EL SEGUNDO BLVD                    þ Contingent
         COMPTON CA 90222
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes




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2.36.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         INCLAN-WHITE, LUPE
         PO BOX 964                                þ Contingent
         SAN GABRIEL CA 91778
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.37.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         INTERNAL REVENUE SERVICE - EFTPS
         ATTN: MS ARAGON STOP 5117                 þ Contingent
         300 N LOS ANGELES
         LOS ANGELES CA 90012                      þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   TAXING AUTHORITY

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.38.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         JIMENEZ, LUIS
         640 E 23RD ST                             þ Contingent
         LOS ANGELES CA 90011
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes




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2.39.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         JUAREZ, NATALIE
         223 CAARONDELET ST                        þ Contingent
         LOS ANGELES CA 90057
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.40.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         JUAREZ, RITA
         223 CARONDELET ST                         þ Contingent
         LOS ANGELES CA 90057
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.41.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         KAMON, CHRISTOPHER K
         4030 ADMIRABLE LANE                       þ Contingent
         RANCHO PALOS VERDES CA 90275
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes




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2.42.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         KIM, CHRISTINA
         5037 ROSEWOOD AVE # 305                   þ Contingent
         LOS ANGELES CA 90004
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.43.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         KUROSU, GAYLE C
         1116 W 187TH ST                           þ Contingent
         GARDENA CA 90248
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.44.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         LIRA, DAVID R
         420 S HILL AVE                            þ Contingent
         PASADENA CA 91106
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes




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2.45.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         LONGORIA, IRASEMA
         16268 SANTA BIANCA DR                     þ Contingent
         HACIENDA HEIGHTS CA 91745
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.46.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         LOS ANGELES COUNTY TAX
         COLLECTOR                                 þ Contingent
         225 NORTH HILL STREET
         ROOM 122                                  þ Unliquidated                                                      Nonpriority amount
         LOS ANGELES CA 90051                      þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   TAXING AUTHORITY

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.47.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         MANCILLA, ISABEL
         4816 MCKINLEY AVE                         þ Contingent
         LOS ANGELES CA 90011
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes




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2.48.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         MCCLINTOCK, AMANDA L
         332 9TH ST                                þ Contingent
         MANHATTAN BEACH CA 90266
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.49.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         MCCORKLE, JOHN R
         857 VICTORIA DRIVE                        þ Contingent
         PASADENA CA 91104
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.50.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         MILLS, SHAWANA M
         955 N DUESENBERG DR #7304                 þ Contingent
         ONTARIO CA 91764
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes




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2.51.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         MOHAMADI, ASKKAHN
         8722 ASHCROFT                             þ Contingent
         WEST HOLLYWOOD CA 90048
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.52.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         MONASTERIO, ARIEL
         726 TULAROSA                              þ Contingent
         LOS ANGELES CA 90026
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.53.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         MORY, CLAUS
         4455 LOS FELIZ BLVD                       þ Contingent
         LOS ANGELES CA 90027
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes




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2.54.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         NAHOURAY, RONEN
         1151 COLDWATER CANYON DR                  þ Contingent
         BEVERLY HILLS CA 90210
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.55.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         NOYES, ALEXANDER CHRISTINE
         864 GRANVILE AVE                          þ Contingent
         LOS ANGELES CA 90049
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.56.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         OFFICE OF FINANCE
         P.O. BOX 30716                            þ Contingent
         LOS ANGELES CA 90030
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   TAXING AUTHORITY

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes




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2.57.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         OFFICE OF THE CITY CLERK
         200 N SPRING ST.                          þ Contingent
         CITY HALL ROOM 360
         LOS ANGELES CA 90012                      þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   TAXING AUTHORITY

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.58.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         OFFICE OF THE TAX ASSESSOR
         KENNETH HAHN HALL OF                      þ Contingent
         ADMINISTRATION
         500 W TEMPLE ST, RM 225                   þ Unliquidated                                                      Nonpriority amount
         LOS ANGELES CA 90012-2770                 þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   TAXING AUTHORITY

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)    ¨ Yes

2.59.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         PADILLA, JOHN M
         10006 S BROADWAY                          þ Contingent
         LOS ANGELES CA 90003
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes




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2.60.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         PAYNE, JASON
         29039 GLADIOLUS DR                        þ Contingent
         CANYON COUNTRY CA 91387
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.61.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         PEREZ, BALTHAZAR
         1002 RADWAY AVE                           þ Contingent
         LA PUENTE CA 91744
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.62.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         PEREZ, JESSE
         715 1/2 W 45TH ST                         þ Contingent
         LOS ANGELES CA 90037
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes




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2.63.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         RAMIREZ, KENNY
         5634 SCHARF AVE                           þ Contingent
         FONTANA CA 92336
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.64.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         REVILLA, JAIME A
         3555 SAN MARINO ST                        þ Contingent
         LOS ANGELES CA 90019
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.65.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         RODAS, GLADYS
         352 E 91ST ST                             þ Contingent
         LOS ANGELES CA 90003
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes




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2.66.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         ROUILLARD, JACQUELINE
         1250 W 184TH ST                           þ Contingent
         GARDENA CA 90248
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.67.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         ROUILLARD, NORINA G
         1250 W 184TH ST                           þ Contingent
         GARDENA CA 90248
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.68.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         SALAS, RENE
         17467 SANDLEWOOD DR                       þ Contingent
         RIVERSIDE CA 92503
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes




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2.69.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         SALONGA, ARLAN
         4315 PARAMOUNT BLVD                       þ Contingent
         PICO RIVERA CA 90660
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.70.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         SCAPA, ARIN
         16400 VENTURA BLVD #331                   þ Contingent
         ENCINO CA 91436
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.71.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         SHERMAN, ANDRE
         3555 GIDDINGS RANCH RD                    þ Contingent
         ALTADENA CA 91001
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes




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2.72.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         SOTO, MALLORY J
         1146 KNOLLS DR                            þ Contingent
         MONTEREY PARK CA 91754
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.73.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         TAMROWSKI, VAN T
         426 MERCURY LANE                          þ Contingent
         PASADENA CA 91107
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.74.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         TEEMAN, COLLEEN A
         30164 N VALLEY GLEN                       þ Contingent
         CASTAIC CA 91384
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes




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2.75.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         TINDULA, STEVEN
         4550 VISTA SUPERBA                        þ Contingent
         LOS ANGELES CA 90065
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.76.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         URZUA, CARLOS
         5653 RABER ST                             þ Contingent
         LOS ANGELES CA 90042
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.77.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         VALERIO, GARRET Z
         245 LAMONT DR                             þ Contingent
         LOS ANGELES CA 90042
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes




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2.78.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         VITALE, THERESA
         1330 QINTERO ST                           þ Contingent
         LOS ANGELES CA 90026
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.79.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         WAKATSUKI, MARILYN
         4315 PARAMOUNT BLVD                       þ Contingent
         PICO RIVERA CA 90660
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes

2.80.    Priority creditor’s name and mailing      As of the petition filing date, the claim   Total claim             Priority amount
         address                                   is:
                                                   Check all that apply.                       $0.00                   $0.00
         WILSON, ANNIE
         3414 EAST FISHER ST                       þ Contingent
         HIGHLAND CA 92346
                                                   þ Unliquidated                                                      Nonpriority amount

                                                   þ Disputed                                                          $0.00

         Date or dates debt was incurred           Basis for the claim:
         VARIOUS                                   WAGES

         Last 4 digits of account                  Is the claim subject to offset?
         number:
                                                   þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (4)    ¨ Yes




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 Part 2:     List All Creditors with NONPRIORITY Unsecured Claims

3.         List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors
           with nonpriority unsecured claims, fill out and attach the Additional Page of Part 2.


3.1.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           365 DATA CENTERS                                                                                  $1,895.80
           200 CONNECTICUT AVE., STE. 5A                     þ Contingent
           NORWALK CT 06854
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GOOD OR SERVICES
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           3S CORPORATION                                                                                    $26,612.38
           1251 EAST WALNUT STREET                           þ Contingent
           CARSON CA 90746
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GOOD OR SERVICES
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.3.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ABASSIAN, JOHN                                                                                    $1,637,620.00
           6403 VAN NUYS BLVD.                               þ Contingent
           VAN NUYS CA 91401
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GOOD OR SERVICES
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.4.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ABI DOCUMENT SERVICES                                                                             $975.37
         P.O. BOX 2970                                     þ Contingent
         SPRINGFIELD MO 65801-2970
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.5.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ABRAMS,MAH & KAHN VIDEO CONFERENCING                                                              $3,107.90
         SERVICES                                          þ Contingent
         2530 RED HILL AVENUE
         SANTA ANA CA 92705                                þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.6.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ADR SERVICES, INC.                                                                                $18,950.00
         2049 CENTURY PARK EAST                            þ Contingent
         SUITE 350
         LOS ANGELES CA 90067                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.7.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ADT COMMERCIAL                                                                                    $977.68
         P.O. BOX 219044                                   þ Contingent
         KANSAS CITY MO 64121-9044
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.8.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ADVANCED DEPOSITIONS                                                                              $20,753.28
         ACCOUNTING OFFICE                                 þ Contingent
         1600 MARKET STREET
         PHILADELPHIA PA 19103                             þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.9.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ADVANCEDONE LEGAL                                                                                 $3,068.46
         1600 MARKET STREET                                þ Contingent
         SUITE 1700
         PHILADELPHIA PA 19103                             þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.10.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AEROSCOPE, INC.                                                                                   $1,701.85
         11901 ALLISON STREET                              þ Contingent
         BROOMFIELD CO 80020
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.11.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AGUILAR, CARLOS                                                                                   $9,765.00
         7923 AGNES AVE #20                                þ Contingent
         NORTH HOLLYWOOD CA 91605
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.12.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ALL-STATE INTERNATIONAL, INC                                                                      $1,221.75
         ONE COMMERCE DRIVE                                þ Contingent
         CRANFORD NJ 07016-3571
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.13.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ALM MEDIA LLC                                                                                     $105,466.34
         P.O. BOX 18114                                    þ Contingent
         NEWARK NJ 07191-8114
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.14.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ALVAREZ & MARSAL VALUATION SERVICES,                                                              $40,471.57
         LLC                                               þ Contingent
         1111 THIRD AVENUE
         SUITE 2450                                        þ Unliquidated
         SEATTLE WA 98101                                  þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.15.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AMERICAN EXPRESS                                                                                  UNKNOWN
         P.O. BOX 981535                                   þ Contingent
         EL PASO TX 79998-1535
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.16.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AMERICAN EXPRESS                                                                                  UNKNOWN
         P.O. BOX 0001                                     þ Contingent
         LOS ANGELES CA 90096-8000
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.17.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AMERICAN HERITAGE LIFE INSURANCE                                                                  $306.23
         COMPANY                                           þ Contingent
         P.O. BOX 650514
         DALLAS TX 75265-0514                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.18.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AMERICAN LEGAL NET, INC.                                                                          $16,603.00
         16501 VENTURA BLVD                                þ Contingent
         SUITE 615
         ENCINO CA 91436                                   þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.19.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ANDREW WACHTEL, M.D, APC                                                                          $4,200.00
         524 N. REXFORD DRIVE                              þ Contingent
         BEVERLY HILLS CA 90210
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.20.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ANTHEM                                                                                            $0.00
         P.O. BOX 659940                                   þ Contingent
         SAN ANTONIO TX 78265-9939
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.21.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ARCCA                                                                                             $153,015.33
         P.O. BOX 78                                       þ Contingent
         PENNS PARK PA 18943-0078
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.22.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ARCHER HALL                                                                                       $4,405.68
         2081 ARENA BLVD., SUITE 200                       þ Contingent
         SACRAMENTO CA 95834
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.23.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ARCHIE, KIMBERLY                                                                                  UNKNOWN
         11045 OXNARD STREET                               þ Contingent
         NORTH HOLLYWOOD CA 91606
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.24.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ARNOLD & PORTER KAYE SCHOLER LLP                                                                  $897.50
         P.O. BOX 759451                                   þ Contingent
         BALTIMORE MD 21275-9451
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.25.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ARTHUR KOROGHLIAN, INC.                                                                           $375.00
         146 E. FRONT ST.                                  þ Contingent
         COVINA CA 91723
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.26.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AT & T                                                                                            $15,661.13
         P.O. BOX 6463                                     þ Contingent
         CAROL STREAM IL 60197-6463
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.27.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ATKINSON-BAKER, INC.                                                                              $4,718.67
         500 N. BRAND BLVD.                                þ Contingent
         THIRD FLOOR
         GLENDALE CA 91203-4725                            þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.28.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ATLANTIC METRO COMMUNICATIONS II, INC.                                                            $1,895.80
         P.O. BOX 790379                                   þ Contingent
         ST. LOUIS MO 63179-0379
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.29.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AUMAIS, CHRISTOPHER                                                                               $3,437.87
         865 1/2 S. BUNDY DR.                              þ Contingent
         LOS ANGELES CA 90049
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.30.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AXIA ADVISORS, LLC                                                                                $4,899.09
         1743 GOLDEN GATE AVE                              þ Contingent
         UNIT 8
         SAN FRANCISCO CA 94115                            þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.31.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         AZNAVOORIAN MA,CCC, CLCP, KAREN                                                                   $4,522.50
         5132 N. PALM AVENUE                               þ Contingent
         FRESNO CA 93704
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.32.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BABIKIAN, PHD, ABPP, TALIN                                                                        $1,650.00
         11845 W. OLMPIC BLVD.,                            þ Contingent
         SUITE 705 W
         LOS ANGELES CA 90064                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.33.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BAKER , KEENER & NAHRA LLP                                                                        $186,119.23
         633 W FIFTH ST.,                                  þ Contingent
         SUITE 5500
         LOS ANGELES CA 90071                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.34.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BAKHTIAR, LIVINGSTON                                                                              $73,511.03
         3435 WILSHIRE BOULEVARD                           þ Contingent
         SUITE 1669
         LOS ANGELES CA 90010                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.35.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BARAN, ESQ., MATTHEW J.                                                                           $250.00
         P.O. BOX 10264                                    þ Contingent
         PALM DESERT CA 92255-0264
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.36.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BARKLEY COURT REPORTERS                                                                           $1,633.68
         10350 SANTA MONICA BLVD.,                         þ Contingent
         SUITE 200
         LOS ANGELES CA 90025                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.37.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BARNES, ELIZABETH ANNE                                                                            $1,500.00
         3047 SAN GABRIEL AVENUE                           þ Contingent
         GLENDALE CA 91208
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.38.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BARRY'S TICKET SERVICE INC.                                                                       $2,250.00
         23622 CALABASAS ROAD                              þ Contingent
         SUITE 123
         CALABASAS CA 91302                                þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.39.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BATZA & ASSOCIATES, INC.                                                                          $42,941.72
         23504 LYONS AVE                                   þ Contingent
         SUITE 403
         SANTA CLARITA CA 91321                            þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.40.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BATZER ENGINEERING                                                                                $9,143.69
         STEPHEN A. BATZER                                 þ Contingent
         8383 M-113 E
         FIFE LAKE MI 49633-9364                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.41.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BCRC                                                                                              $0.00
         C/O NGHP                                          þ Contingent
         P.O. BOX 138832
         OKLAHOMA CITY OK 73113                            þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.42.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BECKER & VISSEPO, PSC                                                                             $2,400.00
         1225 PONCE DE LEON                                þ Contingent
         SUITE 1102
         SAN JUAN PR 00907                                 þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.43.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BEDFORD LAW GROUP, APC                                                                            $100,000.00
         1875 CENTURY PARK EAST                            þ Contingent
         STE. 1790
         LOS ANGELES CA 90067                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.44.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BEN LEVITAN, LLC                                                                                  $3,208.50
         P.O. BOX 99282                                    þ Contingent
         RALEIGH NC 27624
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.45.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BERKELEY RESEARCH GROUP, LLC                                                                      UNKNOWN
         2200 POWELL STREET                                þ Contingent
         SUITE 1200
         EMERYVILLE CA 94608                               þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.46.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BERLANDI NUSSBAUM & REITZAS LLP                                                                   $4,315.40
         445 HAMILTON AVENUE                               þ Contingent
         14TH FLOOR
         WHITE PLAINS NY 10601                             þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.47.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BEVERLY HILLS BAR ASSOCIATION                                                                     $4,200.00
         9420 WILSHIRE BOULEVARD                           þ Contingent
         2ND FLOOR
         BEVERLY HILLS CA 90212                            þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.48.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BIEHL, ET AL., CERTIFIED SHORTHAND                                                                $2,955.24
         REPORTERS                                         þ Contingent
         22 BRENTANO DRIVE
         TRABUCO CANYON CA 92679                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.49.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BLUE SHIELD OF CALIFORNIA                                                                         $0.00
         C/O THE RAWLINGS COMPANY                          þ Contingent
         P.O. BOX 2000
         LA GRANGE KY 40031-2000                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.50.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BLUECROSS BLUESHIELD OF TEXAS                                                                     $0.00
         3200 ROBBINS ROAD                                 þ Contingent
         , SUITE 100
         SPRINGFIELD IL 62704                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.51.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BRENT T. HARRIS MD, PHD                                                                           $3,500.00
         11525 SPRINGRIDGE RD                              þ Contingent
         POTOMAC MD 20854
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.52.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BRIDGES, CODY                                                                                     $1,000.00
         3760 S. FIGUEROA STREET                           þ Contingent
         APT.312
         LOS ANGELES CA 90007                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.53.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BROWN, JOY                                                                                        $650.00
         86 MACHELL ST                                     þ Contingent
         ARDMORE OK 73401
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.54.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BROWNE, SANDRA LEE                                                                                $4,140.00
         OCCUPANT SAFETY CONSULTING                        þ Contingent
         BOX 5375
         PINE MOUNTAIN CLUB CA 93222-5375                  þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.55.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BRUNO BENETIZ                                                                                     $325.00
         3514 TUMBLEWEED DR.                               þ Contingent
         PALMDALE CA 93550
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.56.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BUKLLEY, RICHARDSON AND GELINAS, LLP                                                              $0.00
         1500 MAIN STREET, SUITE 2700                      þ Contingent
         P.O. BOX 15507
         SPRINGFIELD MA 01115-5507                         þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.57.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         BULKLEY, RICHARDSON AND GELINAS, LLP                                                              $169,096.95
         1500 MAIN STREET, SUITE 2700,                     þ Contingent
         P.O. BOX 15507
         SPRINGFIELD MA 01115-5507                         þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.58.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CNA                                                                                               $0.00
         P.O. BOX 8317                                     þ Contingent
         CHICAGO IL 60680-8317
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.59.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         C VISUAL EVIDENCE LLC                                                                             $3,787.92
         395 W. 7TH STREET, STUDIO A                       þ Contingent
         SAN PEDRO CA 90731
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.60.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CALIFORNIA ATTORNEY LENDING II, LLC                                                               $0.00
         6400 MAIN ST., SUITE 120                          þ Contingent
         WILLIAMSVILLE NY 14221
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LOAN
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.61.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CALIFORNIA HIGHWAY PATROL                                                                         $5.00
         P.O. BOX 942900                                   þ Contingent
         SACRAMENTO CA 94298-2900
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.62.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CAPPUCCINO TIME INC.                                                                              $600.00
         3540 VAN WIG AVE                                  þ Contingent
         BALDWIN PARK CA 91706
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.63.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CAREERBUILDER, LLC                                                                                $5,010.02
         13047 COLLECTION CENTER DRIVE                     þ Contingent
         CHICAGO IL 60693-0130
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.64.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CAREMERIDIAN, LLC                                                                                 $9,900.00
         163 TECHNOLOGY DR.                                þ Contingent
         SUITE 200
         IRVINE CA 92618                                   þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.65.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CARRIER CORPORATION                                                                               $2,861.25
         P.O. BOX 93844                                    þ Contingent
         CHICAGO IL 60673-3844
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.66.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CARUSO, CHRISTOPHER M.                                                                            $625.00
         AUTOMOTIVE SAFETY CONSULTING                      þ Contingent
         1536 SAGRADA CT.
         HENDERSON NV 89074                                þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.67.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CASE ANYWHERE LLC                                                                                 $13,244.20
         21860 BURBANK BLVD,                               þ Contingent
         SUITE 125
         WOODLAND HILLS CA 91367                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.68.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CASE STUDY COLLISION SCIENCE, LLC                                                                 $9,567.52
         1221 STATE STREET, BOX 92101                      þ Contingent
         SANTA BARBARA CA 93190
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.69.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CASEHOMEPAGE                                                                                      $887.65
         DBA EXTRA ACESS SERVICES, INC.                    þ Contingent
         1601 CORPORATE CIRCLE
         PETALUMA CA 94955                                 þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.70.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CASEPACER                                                                                         $16,117.00
         8888 KEYSTONE CROSSING                            þ Contingent
         SUITE 1610
         INDIANAPOLIS IN 46240                             þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.71.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CASTANEDA ENGINEERING                                                                             $53,196.00
         4652 EAST CARMEN AVENUE                           þ Contingent
         FRESNO CA 93703
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.72.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CAUSE & ORIGIN INVESTIGATIONS                                                                     $5,024.11
         43656 TOMAHAWK PLACE                              þ Contingent
         LANCASTER CA 93536
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.73.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CCROLA                                                                                            $4,511.35
         205 S. BROADWAY, SUITE 1008                       þ Contingent
         LOS ANGELES CA 90012
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.74.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CEB                                                                                               $833.59
         ATTN: ACCOUNTS RECEIVABLE                         þ Contingent
         UNIVERSITY OF CALIFORNIA
         2100 FRANKLIN ST STE 500                          þ Unliquidated
         OAKLAND CA 94612-3098                             þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.75.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CENTEXT GOLD                                                                                      $22,878.20
         1801 CENTURY PARK EAST                            þ Contingent
         24TH FLOOR
         LOS ANGELES CA 90067                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.76.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CENTEXT LEGAL SERVICES                                                                            $72,266.33
         550 WEST C STREET                                 þ Contingent
         SUITE 700
         SAN DIEGO CA 92101                                þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.77.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHABAY, M.D., CYNTHIA LYNN                                                                        $2,215.00
         1626 MONTANA AVENUE, #153                         þ Contingent
         SANTA MONICA CA 90403
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.78.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHADWICK SMITH, M.D., INC                                                                         $143,000.00
         1200 WILSHIRE BLVD., STE. 605                     þ Contingent
         LOS ANGELES CA 90017
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.79.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHEM PRO LABORATORY, INC                                                                          $2,349.00
         941 WEST 190TH STREET                             þ Contingent
         GARDENA CA 90248
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.80.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CHUBB                                                                                             $6,327.53
         P.O. BOX 7247-0180                                þ Contingent
         PHILADELPHIA PA 19170-0180
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.81.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CINTAS                                                                                            $30.11
         P.O. BOX 631025                                   þ Contingent
         CINCINNATI OH 45263-1025
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.82.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITIZENS BUSINESS BANK                                                                            UNKNOWN
         701 N HAVEN AVENUE                                þ Contingent
         SUITE 210
         ONTARIO CA 91764                                  þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LOAN
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.83.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF GLENDALE                                                                                  $550.00
         613 E BROADWAY,                                   þ Contingent
         GLENDALE CA 91206
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.84.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF LA                                                                                        $275.00
         LAPD CUSTODY SERVICES DIVISION                    þ Contingent
         180 NORTH LOS ANGELES STREET
         LOS ANGELES CA 90012                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.85.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF LA                                                                                        $531.73
         LAPD CUSTODY SERVICES DIVISION                    þ Contingent
         P.O. BOX 30749
         LOS ANGELES CA 90030-0749                         þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.86.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITY OF LA BUSINESS TAX OFFICE OF FINANCE                                                         $3,492.32
         P.O. BOX 513996                                   þ Contingent
         LOS ANGELES CA 90051-3996
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.87.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CITYSCAPE INC.                                                                                    $12,540.50
         229 27TH STREET                                   þ Contingent
         MANHATTAN BEACH CA 90266
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.88.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CLASS ACTION ADMINISTRATION                                                                       $17,600.12
         P.O. BOX 6908                                     þ Contingent
         BROOMFIELD CO 80021
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.89.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CLERK OF THE CIRCUIT COURT                                                                        $391.28
         50 WEST WASHINGTON STREET                         þ Contingent
         ROOM 802 CHANCERY DIVISION
         CHICAGO IL 60602                                  þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.90.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CLERK, SAN FRANCISCO COUNTY SUPERIOR                                                              $551.25
         COURT                                             þ Contingent
         400 MCALLISTER
         STE 506                                           þ Unliquidated
         SAN FRANCISCO CA 94102                            þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.91.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CLIENT LIST                                                                                       UNKNOWN
         SEE, ATTACHMENT 1                                 þ Contingent
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.92.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CLIENT LIST - MINORS AND OTHER PROTECTED                                                          UNKNOWN
         PARTIES                                           þ Contingent
         SEE, ATTACHMENT 2
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.93.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CMS                                                                                               $0.00
         C/O NGHP                                          þ Contingent
         P.O. BOX 138832
         OKLAHOMA CITY OK 73113                            þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.94.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COLONIAL LIFE PREMIUM PROCESSING                                                                  $1,820.36
         P.O. BOX 903                                      þ Contingent
         COLUMBIA SC 29202-0903
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.95.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COMERICA BANK                                                                                     UNKNOWN
         C/O TRS RECOVERY SERVICES,INC                     þ Contingent
         PAYMENT PROCESSING CENTER
         P.O. BOX 60022                                    þ Unliquidated
         CITY OF INDUSTRY CA 91716-0022                    þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.96.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COMMERCIAL TRUCK CONSULTING, LLC                                                                  $1,050.00
         240 NE SCENIC DRIVE                               þ Contingent
         GRANTS PASS OR 97526
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.97.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CONSUMER ATTORNEYS INDEPENDENT                                                                    $6,000.00
         CAMPAIGN COMM.                                    þ Contingent
         980 9TH STREET, SUITE 200
         SACRAMENTO, CA 95814                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.98.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CORPORATE ADVISORY SERVICES, INC.                                                                 $0.00
         C/O ABIR COHEN TRYZON SALO, LLP                   þ Contingent
         16001 VENTURA BLVD., SUITE 200
         ENCINO CA 91436                                   þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LOAN SERVICER
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.99.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COSCO FIRE PROTECTIONS, INC.                                                                      $300.00
         1075 W. LAMBERT RD, BLDG D                        þ Contingent
         BREA CA 92821-2944
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.100.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         COURTNEY, JOHN K.                                                                                 $1,842.10
         2054 MONTEREY BLVD.                               þ Contingent
         HERMOSA BEACH CA 90254
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.101.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CPT GROUP, INC.                                                                                   $5,308.55
         16630 ASTON                                       þ Contingent
         IRVINE CA 92606
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.102.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CRA INTERNATIONAL, INC.                                                                           $4,500.00
         P.O. BOX 845960                                   þ Contingent
         BOSTON MA 02284-5960
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.103.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CROWN CASTLE FIBER, LLC                                                                           $7,546.78
         P.O. BOX 21653                                    þ Contingent
         NEW YORK NY 10087-1653
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.104.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CS DISCO INC                                                                                      $11,819.28
         P.O. BOX 670533                                   þ Contingent
         DALLAS TX 75267-0533
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.105.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         CT3MEDIA, INC.                                                                                    $202,870.00
         25350 MAGIC MOUNTAIN PARKWAY                      þ Contingent
         3RD FLOOR
         VALENCIA CA 91355                                 þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.106.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         D. PRESTON FLANIGAN, M.D.,FACS WILDING                                                            $2,500.00
         SERVICES, A MEDICAL CO                            þ Contingent
         1140 W. LA VETA AVE.
         ORANGE CA 92868                                   þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.107.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DAIMLER TRUST                                                                                     $30,818.56
         BK SERVICING, LLC                                 þ Contingent
         P.O. BOX 131265
         ROSEVILLE MN 55113                                þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MOTOR VEHICLE LEASE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.108.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DAVIS, RACHEL                                                                                     $0.00
         45871 PINE HOLLOW RD.                             þ Contingent
         ROGERS OH 44455
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           UNKNOWN
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.109.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DE LUIS, OSCAR                                                                                    $2,060.00
         13807 OXNARD ST., UNIT #2                         þ Contingent
         VAN NUYS CA 91401
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.110.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DEL MARVA, PI, PPO, FRED                                                                          $1,000.00
         21666 NORTH 58TH AVENUE                           þ Contingent
         GLENDALE AZ 85308
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.111.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DEPARTMENT OF JUSTICE                                                                             $1,800.00
         600 WEST BROADWAY                                 þ Contingent
         SUITE 1800
         SAN DIEGO CA 92101                                þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.112.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DEX-YP RAUCH-MILLIKEN INTERNATIONAL, INC                                                          $1,126.59
         P.O. BOX 8390                                     þ Contingent
         METAIRIE LA 70011-8390
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.113.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DHCS RECOVERY SECTION, MS 4720                                                                    $0.00
         P.O. BOX 997425                                   þ Contingent
         SACRAMENTO CA 95899-7425
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.114.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DHCS RECOVERY SECTION, MS 4720                                                                    $0.00
         P.O. BOX 997425                                   þ Contingent
         SACRAMENTO CA 95899-7425
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.115.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DHCS RECOVERY SECTION, MS 4720                                                                    $0.00
         P.O. BOX 997425                                   þ Contingent
         SACRAMENTO CA 95899-7425
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.116.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DHCS RECOVERY SECTION, MS 4720                                                                    $0.00
         P.O. BOX 997425                                   þ Contingent
         SACRAMENTO CA 95899-7425
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.117.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DHCS RECOVERY SECTION, MS 4720                                                                    $0.00
         P.O. BOX 997425                                   þ Contingent
         SACRAMENTO CA 95899-7425
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.118.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DHCS RECOVERY SECTION, MS 4720                                                                    $0.00
         P.O. BOX 997425                                   þ Contingent
         SACRAMENTO CA 95899-7425
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.119.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DHCS RECOVERY SECTION, MS 4720                                                                    $0.00
         P.O. BOX 997425                                   þ Contingent
         SACRAMENTO CA 95899-7425
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.120.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DHCS RECOVERY SECTION, MS 4720                                                                    $0.00
         P.O. BOX 997425                                   þ Contingent
         SACRAMENTO CA 95899-7425
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.121.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DHCS RECOVERY SECTION, MS 4720                                                                    $0.00
         P.O. BOX 997425                                   þ Contingent
         SACRAMENTO CA 95899-7425
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.122.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DIGITAL AGE DOCUMENT SERVICES                                                                     $1,577.74
         260 S. LOS ROBLES AVE.                            þ Contingent
         SUITE 100
         PASADENA CA 91101                                 þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.123.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DIRECT TV                                                                                         UNKNOWN
         MRS BPO LLC                                       þ Contingent
         1930 OLNEY HILL
         CHERRY HILL NJ 08003                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.124.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DISCOVERY COURT REPORTERS AND LEGAL                                                               $703.45
         VIDEOGRAPHERS, LLC                                þ Contingent
         4208 SIX FORKS ROAD
         RALEIGH NC 27609                                  þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.125.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DJK COUNSEL, LTD.                                                                                 $14,635.25
         C/O DANIEL KATZ                                   þ Contingent
         1925 CENTURY PARK EAST, #800
         LOS ANGELES CA 90067                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.126.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DK GLOBAL INC.                                                                                    $26,670.00
         420 MISSOURI COURT                                þ Contingent
         REDLANDS CA 92373
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.127.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DROGIN, KAKIGI & ASSOCIATES                                                                       $20,687.50
         3104 SHATTUCK AVENUE                              þ Contingent
         BERKELEY CA 94705-1823
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.128.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DUNVILLE, DENNIS LARRY                                                                            $5,242.50
         OVERHEAD CRANE CONSULTING, LLC                    þ Contingent
         12666 HIGHLAND SHORES
         SAWYER MI 49125                                   þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.129.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         DURHAM, PITTARD & SPALDING, LLP                                                                   $11,570.54
         P.O. BOX 224626                                   þ Contingent
         DALLAS TX 75222
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.130.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ED RUZAK & ASSOCIATES, INC.                                                                       $1,125.00
         10061 TALBERT AVE.,                               þ Contingent
         SUITE 200
         FOUNTAIN VALLEY CA 92708                          þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.131.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EHRHART, M.D., KEVIN                                                                              $1,137.50
         C/O LOCUS INTERNAZIONALE INC                      þ Contingent
         P.O. BOX 341533
         LOS ANGELES CA 90034                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.132.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ELITE COURT REPORTING                                                                             $1,177.80
         22521 AVENIDA EMPRESA                             þ Contingent
         SUITE 105
         RANCHO STA MARGARITA CA 92688                     þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.133.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ELOY OLMOS                                                                                        $6,342.00
         404 S. EVERGREEN AVE.                             þ Contingent
         LOS ANGELES CA 90033
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.134.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EQUIAN                                                                                            $0.00
         9390 BUNSEN PARWAY                                þ Contingent
         LOUISVILLE KY 40220
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.135.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ERICKSON FORENSIC                                                                                 $2,352.50
         1800 BLANKENSHIP ROAD                             þ Contingent
         SUITE 200
         WEST LINN OR 97068                                þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.136.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ESI                                                                                               $180.00
         P.O. BOX 317                                      þ Contingent
         PENNS PARK PA 18943
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.137.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ESQUIRE DEPOSITION SERVICES                                                                       $15,223.16
         P.O. BOX 785751                                   þ Contingent
         PHILADELPHIA PA 19178-5751
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.138.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EVEREST COURT REPORTING LLC                                                                       $2,284.59
         12 PENNS TRAIL                                    þ Contingent
         NEWTOWN PA 18940
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.139.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EXECUTIVE PRESENTATIONS INC                                                                       $36,750.94
         236 S. 8TH AVENUE, SUITE F                        þ Contingent
         LA PUENTE CA 91746
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.140.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EXPERT ENGINEERING SCIENCES                                                                       $8,342.50
         699 NORTH ARROWHEAD AVE.                          þ Contingent
         SUITE 150
         SAN BERNARDINO CA 92401                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.141.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         EXPONENT, INC                                                                                     $2,625.00
         P.O. BOX 200283 DEPT. 002                         þ Contingent
         DALLAS TX 75320-0283
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.142.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FAIR, RICHARD                                                                                     UNKNOWN
         THE DION-KINDEM LAW FIRM                          þ Contingent
         PETER ROALD KINDEM ESQ
         21550 W OXNARD ST                                 þ Unliquidated
         WOODLAND HILLS CA 91367                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         _________________________________________         PENDING LITIGATION
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.143.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FEDERAL EXPRESS CORPORATION                                                                       $2,844.10
         P.O. BOX 7221                                     þ Contingent
         PASADENA CA 91109-7321
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.144.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FEDERATED MUTUAL INSURANCE COMPANY                                                                $0.00
         P.O. BOX 486                                      þ Contingent
         OWATONNA MN 55060-0486
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.145.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FEDEX FREIGHT DEPT. LA                                                                            $882.89
         P.O. BOX 21415                                    þ Contingent
         PASADENA CA 91185-1415
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.146.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FILE & SERVEXPRESS, LLC                                                                           $1,549.55
         P.O. BOX 679058                                   þ Contingent
         DALLAS TX 75267-9058
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.147.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FILE KEEPERS, LLC                                                                                 $11,467.26
         6277 EAST SLAUSON AVENUE                          þ Contingent
         LOS ANGELES CA 90040
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.148.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FIRST CHOICE                                                                                      $125.00
         10907 PAINTER AVE.                                þ Contingent
         SANTA FE SPRINGS CA 90670
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.149.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FIRST LEGAL INVESTIGATIONS                                                                        $6,637.50
         P.O. BOX 841441                                   þ Contingent
         DALLAS TX 75284-1441
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.150.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FIRST LEGAL NETWORK LLC                                                                           $4,235.34
         P.O. BOX 743451                                   þ Contingent
         LOS ANGELES CA 90074
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.151.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FIRST RECORDS RETRIEVAL                                                                           $64.80
         P.O. BOX 841441                                   þ Contingent
         DALLAS TX 75284-1441
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.152.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FISK, M.D., H. RONALD                                                                             $700.00
         8631 W. THIRD STREET                              þ Contingent
         SUITE 620E
         LOS ANGELES CA 90048                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.153.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FORENSIC AUTOMOTIVE COLLISION TEAM                                                                $6,127.27
         1496 BRANON ROAD                                  þ Contingent
         SANTA YNEZ CA 93460
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.154.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FORMUZIS HUNT & LANNING, INC                                                                      $7,756.75
         1851 E. FIRST STREET                              þ Contingent
         SUITE 1160
         SANTA ANA CA 92705                                þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.155.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FRANTZ LAW GROUP                                                                                  $228,716.00
         402 W. BROADWAY, #860                             þ Contingent
         SAN DIEGO CA 92101
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.156.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FRAZER, LLP                                                                                       $6,749.72
         135 S. STATE COLLEGE BLVD                         þ Contingent
         SUITE 300
         BREA CA 92821                                     þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.157.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FREEMAN, PH.D., B.J.                                                                              $10,000.00
         10465 EASTBORNE AVE., #302                        þ Contingent
         LOS ANGELES CA 90024
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.158.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         FUJIOKA, GRACE                                                                                    $91.65
         1501 PEBBLEDON STREET                             þ Contingent
         MONTEREY PARK CA 91754
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.159.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GACOVINO, LAKE & ASSOCIATES, P.C.                                                                 $30,544.19
         270 WEST MAIN STREET                              þ Contingent
         SAYVILLE NY 11782
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.160.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GARRETSON RESOLUTION GROUP                                                                        $4,950.00
         4064 COLONY ROAD, 2ND FLOOR                       þ Contingent
         CHARLOTTE NC 28211
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.161.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GEOKINETICS                                                                                       $18,656.60
         77 BUNSEN                                         þ Contingent
         IRVINE CA 92618
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.162.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GERSON LEHRMAN GROUP, INC.                                                                        $2,170.00
         P.O. BOX 200589                                   þ Contingent
         PITTSBURGH PA 15251-0589
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.163.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GJONOLA, JOSEPH                                                                                   $15.00
         9004 GIBSON ST. #1                                þ Contingent
         LOS ANGELES CA 90034
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.164.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GOLD, M.D., STUART                                                                                $1,800.00
         19000 HAWTHORNE BLVD                              þ Contingent
         SUITE 100
         TORRANCE CA 90503                                 þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.165.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GOLDBERG, MD, PH.D, JEFFREY L.                                                                    $1,000.00
         710 BERKELEY AVE                                  þ Contingent
         MENLO PARK CA 94025
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.166.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GOLKOW LITIGATION SERVICES                                                                        $7,415.82
         P.O. BOX 94623                                    þ Contingent
         LAS VEGAS NV 89193-4623
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.167.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GOOD LAW                                                                                          $13,156.65
         2934 1/2 BEVERLY GLEN CIRCLE                      þ Contingent
         SUITE 104
         LOS ANGELES CA 90077                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.168.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GREENFIELD ADVISORS, INC.                                                                         $1,655.00
         2101 FOURTH AVENUE                                þ Contingent
         SUITE 1335
         SEATTLE WA 98121                                  þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.169.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GREG SCHAFFERT PRODUCTIONS                                                                        $7,500.00
         5-49 BORDEN AVE., 6K                              þ Contingent
         LONG ISLAND CITY NY 11101-5888
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.170.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GROVER, M.D., STEVEN M.                                                                           $1,800.00
         1303 CAMBRIDGE CT                                 þ Contingent
         PROVO UT 84604
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.171.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         GUPTA, PH.D., VIJAY                                                                               $48,325.00
         15135 GREENLEAF ST.                               þ Contingent
         SHERMAN OAKS CA 91403
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.172.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HAMMER, TERRY                                                                                     $45.00
         5879 LA CUMBRE ROAD                               þ Contingent
         SOMIS CA 93066
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.173.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HAMPSTEAD HOLDINGS I, LLC                                                                         $3,280.00
         2218 EAST MAPLE AVENUE                            þ Contingent
         EL SEGUNDO CA 90245
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.174.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HARRIS, RANCHOR                                                                                   $5,000.00
         203 MILLBROOK ROAD                                þ Contingent
         SUITE 204
         RALEIGH NC 27609                                  þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.175.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HAYES + ASSOCIATES                                                                                $87,332.28
         2390 NW KINGS BLVD.                               þ Contingent
         CORVALLIS OR 97330
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.176.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HEALTHCARE PARTNERS MEDICAL GROUP                                                                 $0.00
         C/O LAW OFFICES OF ROBERT M. YASPAN               þ Contingent
         20555 DEVONSHIRE ST
         SUITE 197                                         þ Unliquidated
         CHATSWORTH CA 91311                               þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.177.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HEALTHPOINTE MEDICAL GROUP                                                                        $0.00
         16702 VALLEY VIEW AVENUE                          þ Contingent
         LA MIRADA CA 90638-5824
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.178.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HEANEY, MD, PHD, ANTHONY P.                                                                       $8,050.00
         2871 FORRESTER DRIVE                              þ Contingent
         LOS ANGELES CA 90064
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.179.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HEWLETT-PACKARD FINANCIAL SERVICES CO.                                                            $1,899.24
         P.O. BOX 402582                                   þ Contingent
         ATLANTA GA 30384-2582
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.180.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HIGH TOWER CONSTRUCTION SERVICES, LLC                                                             $2,000.00
         325 SO. GIBSON STREET                             þ Contingent
         GILBERT AZ 85296
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.181.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HILTON WOODLAND HILLS                                                                             $1,065.18
         6360 CANOGA AVE.                                  þ Contingent
         WOODLAND HILLS CA 91367
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.182.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HOCHMAN SALKIN TOSCHER PEREZ P.C.                                                                 $3,451.61
         9150 WILSHIRE BOULEVARD                           þ Contingent
         SUITE 300
         BEVERLY HILLS CA 90212                            þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.183.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HP                                                                                                $1,372.70
         ACCOUNTS RECEIVABLE                               þ Contingent
         11311 CHINDEN BLVD
         BOISE ID 83714                                    þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.184.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         HUNTLEY-FENNER ADVISORS, INC                                                                      $13,010.36
         5319 UNIVERSITY DRIVE #137                        þ Contingent
         IRVINE CA 92612
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.185.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         IDR LEGAL SUPPORT                                                                                 $9,000.00
         10620 SOUTHERN HIGHLANDS PKWY                     þ Contingent
         SUITE 110
         LAS VEGAS NV 89141                                þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.186.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         IMANAGE, LLC                                                                                      $13,596.93
         P.O. BOX 71701                                    þ Contingent
         CHICAGO IL 60694-1701
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.187.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         INTEGRATED RESOURCE MGMT INC.                                                                     $439,185.38
         405 NORTH INDIAN HILL BLVD.                       þ Contingent
         CLAREMONT CA 91711-4600
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.188.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         INTERNAL REVENUE SERVICE                                                                          $87.11
         P.O. BOX 932700                                   þ Contingent
         LOUISVILLE KY 40293-2700
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.189.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         IPM TECH                                                                                          $792.00
         P.O. BOX 1536                                     þ Contingent
         PARAMOUNT CA 90723
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.190.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         J.D.R.                                                                                            $1,463.50
         555 ANTON BLVD., STE.150                          þ Contingent
         METRO CENTER TOWERS
         COSTA MESA CA 92626                               þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.191.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JAIN, PH.D., NARESH C.                                                                            $1,275.50
         5451 ROCKLEDGE DRIVE                              þ Contingent
         BUENA PARK CA 90621
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.192.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JAMES DAHLGREN MEDICAL                                                                            $14,516.00
         1158 26TH STREET                                  þ Contingent
         SUITE 118
         SANTA MONICA CA 90403                             þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.193.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JAMES R MERIKANGAS, MD, LLC                                                                       $29,935.19
         4938 HAMPDEN LANE                                 þ Contingent
         #428
         BETHESDA MD 20814                                 þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.194.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JAMS, INC.                                                                                        $49,094.69
         P.O. BOX 845402                                   þ Contingent
         LOS ANGELES CA 90084-5402
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.195.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JANNEY & JANNEY ATTORNEY SERVICES, INC.                                                           $4,982.54
         1545 WILSHIRE BLVD., SUITE 311                    þ Contingent
         LOS ANGELES CA 90017
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.196.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JEFFREY E. GALPIN, M.D., INC.                                                                     $5,400.00
         2675 RAMBLA PACIFICO                              þ Contingent
         MALIBU CA 90265
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.197.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JNS CONSULTANTS, INC.                                                                             $3,293.75
         CEDARS-SINAI MEDIC OFFC TOWERS                    þ Contingent
         8635 W THIRD ST, STE 750W
         LOS ANGELES CA 90048-6169                         þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.198.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JOHNSON CONTROLS SECURITY SOLUTIONS                                                               $17,886.31
         P.O. BOX 371967                                   þ Contingent
         PITTSBURGH PA 15250-7967
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.199.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JOHNSON CONTROLS SECURITY SOLUTIONS                                                               $73.25
         C/O AMERICAN BUREAU OF                            þ Contingent
         COLLECTIONS/AMEGA
         500 SENECA ST                                     þ Unliquidated
         SUITE 400
         BUFFALO NY 14204
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.200.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JONATHAN CLUB                                                                                     $2,257.89
         ATTN: ACCOUNTING DEPARTMENT                       þ Contingent
         545 S. FIGUEROA STREET
         LOS ANGELES CA 90071-1795                         þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.201.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JONES, ROACH & CARINGELLA, INC.                                                                   $9,500.00
         10920 VIA FRONTERA, SUITE 440                     þ Contingent
         SAN DIEGO CA 92127-1732
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.202.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JP MORGAN CHASE                                                                                   $2,861.25
         ATTN: CARRIER CORP BOX 93844                      þ Contingent
         131 SO. DEARBORN - 6TH FLOOR
         CHICAGO IL 60603                                  þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.203.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JU MA SECURITY                                                                                    $64,282.00
         P.O. BOX 743122                                   þ Contingent
         LOS ANGELES CA 90004
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.204.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         JUDICATE WEST                                                                                     $6,450.00
         1851 E FIRST ST.,                                 þ Contingent
         SUITE 1600
         SANTA ANA CA 92705                                þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.205.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KABC AM RADIO INC.                                                                                $163,750.00
         CRF SOLUTIONS                                     þ Contingent
         P.O. BOX 1389
         SIMI VALLEY CA 93062                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.206.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KAWAI, M.D., SHARON K.                                                                            $109,250.00
         7700 IRVINE CENTER DRIVE                          þ Contingent
         SUITE 800
         IRVINE CA 92618                                   þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.207.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KEESE, ROBERT M.                                                                                  $8,333.33
         22982 ROSEMONT COURT                              þ Contingent
         MURRIETA CA 92562
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.208.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KENT ENGINEERING, LLC                                                                             $110,640.18
         11520 42ND AVE SOUTH                              þ Contingent
         SEATTLE WA 98168
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.209.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KEY COUNSEL P.C.                                                                                  $1,029.50
         3440 HILLCREST AVE., SUITE 100                    þ Contingent
         ANTIOCH CA 94531
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.210.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KEY HEALTH                                                                                        $830.00
         30699 RUSSELL RANCH RD.                           þ Contingent
         SUITE 175
         WESTLAKE VILLAGE CA 91362                         þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.211.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KINETICORP, LLC                                                                                   $850.00
         6070 GREENWOOD PLAZA BLVD                         þ Contingent
         SUITE 200
         GREENWOOD VILLAGE CO 80111                        þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.212.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KNOX ATTORNEY SERVICE, INC.                                                                       $943.90
         2250 FOURTH AVENUE                                þ Contingent
         SAN DIEGO CA 92101
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.213.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KOUSHAN, FEREDIOUN ANTHONY                                                                        $10,989.00
         301 N. CANON DR. # 218                            þ Contingent
         BEVERLY HILLS CA 90210
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.214.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         KUSAR LEGAL SERVICES, INC                                                                         $281.88
         3780 KILROY AIRPORT WAY                           þ Contingent
         SUITE 300
         LONG BEACH CA 90806                               þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.215.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         L. EVERETT & ASSOCIATES                                                                           $205,472.00
         3700 STATE STREET                                 þ Contingent
         , SUITE 350
         SANTA BARBARA CA 93105                            þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.216.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         L.A. ARENA FUNDING, LLC, AKA STAPLES                                                              $2,241,274.00
         CENTER                                            þ Contingent
         C/O ARENT FOX LLP, RICHARD D. BUCKLEY
         555 WEST FIFTH ST. 48TH FLOOR                     þ Unliquidated
         LOS ANGELES CA 90013                              þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.217.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         L.A. DEPT. OF WATER & POWER                                                                       $37,921.76
         P.O. BOX 30808                                    þ Contingent
         LOS ANGELES CA 90030-0808
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.218.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LA BEST COLOR IMAGING                                                                             $837.00
         811 WILSHIRE BLVD                                 þ Contingent
         SUITE 1625
         LOS ANGELES CA 90017                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.219.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LA GLOBAL SECURITY AND INVESTIGATIONS                                                             $627.10
         28338 CONSTELLATION ROAD #970                     þ Contingent
         VALENCIA CA 91355
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.220.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LA JOLLA SPINE INSTITUTE MEDIC                                                                    $0.00
         6719 ALVARADO ROAD                                þ Contingent
         SUITE 308
         SAN DIEGO CA 92120                                þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.221.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LABORATORY OF RISK AND SAFETY ANALYSES                                                            $3,043.00
         5324 CANOGA AVENUE                                þ Contingent
         WOODLAND HILLS CA 91364
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.222.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LAKESIDE GOLF CLUB                                                                                $1,791.47
         P.O. BOX 2386                                     þ Contingent
         TOLUCA CA 91610-0386
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.223.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LANDMARK RESEARCH GROUP, LLC                                                                      $89,635.29
         33971 SELVA ROAD, SUITE 230                       þ Contingent
         DANA POINT CA 92629
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.224.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LATHAM VOCATIONAL SERVICES, INC.                                                                  $3,137.50
         543 COUNTRY CLUB DRIVE #107                       þ Contingent
         SIMI VALLEY CA 93065
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.225.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LAUX, PH.D., LILA F.                                                                              $380.00
         417 LEYDEN ST.                                    þ Contingent
         DENVER CO 80220
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.226.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LAW + BRANDMEYER LLP                                                                              $600.00
         2 NORTH LAKE AVENUE                               þ Contingent
         SUITE 820
         PASADENA CA 91101                                 þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.227.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LAW BUSINESS INSIDER SHOW                                                                         $13,500.00
         13428 MAXELLA AVE., #404                          þ Contingent
         LOS ANGELES CA 90292
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.228.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LAW OFFICE OF MARTIN N. BUCHANAN, APC                                                             $58,762.20
         655 WEST BROADWAY                                 þ Contingent
         SUITE 1700
         SAN DIEGO CA 92101                                þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.229.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LAW OFFICE OF MASRY & WOODS OVIATT                                                                $8,698,610.03
         GILMAN LLP                                        þ Contingent
         WILLIAM F SAVINO
         1900 MAIN PLACE TOWER                             þ Unliquidated
         350 MAIN ST
         BUFFALO NY 14202
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.230.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LAW OFFICES OF PHILIP R. SHLEDON, APC                                                             $900,000.00
         SPERTUS, LANDES & UMHOFER, LLP                    þ Contingent
         1990 S. BUNDY DR., SUITE 705
         LOS ANGELES CA 90025                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.231.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LAW OFFICES OF ROBERT P. FINN                                                                     $900,000.00
         SPERTUS, LANDES & UMHOFER, LLP                    þ Contingent
         1990 S. BUNDY DR., SUITE 705
         LOS ANGELES CA 90025                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.232.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LEGAL SUPPORT NETWORK, LLC                                                                        $38,206.89
         EXPRESS NETWORK                                   þ Contingent
         P.O. BOX 861057
         LOS ANGELES CA 90086-1057                         þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.233.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LEGALPUB.COM, INC                                                                                 $30.95
         113 E. BARE HILL ROAD                             þ Contingent
         HARVARD MA 01451
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.234.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LESTARI, NOFA FARIDA                                                                              $15,500.00
         UNKNOWN                                           þ Contingent
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.235.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LEXITAS RWD DEPT. 3010                                                                            $198.88
         P.O. BOX 734298                                   þ Contingent
         DALLAS TX 75373-4298
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.236.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LINDVALL, DO, ERIC                                                                                $3,000.00
         DEPT OF ORTHOPAEDIC SURGERY                       þ Contingent
         COMMUNITY REGIONAL MEDICAL CEN
         2823 FRESNO ST                                    þ Unliquidated
         FRESNO CA 93721                                   þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.237.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LITIGATION SERVICES & TECHNOLOGIES OF                                                             $4,401.82
         NEVADA, LLC                                       þ Contingent
         P.O. BOX 98813
         LAS VEGAS NV 89193-8813                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.238.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LITIGATION SERVICES &TECHNOLOGIES OF                                                              $189.75
         CALIFORNIA LLC                                    þ Contingent
         P.O. BOX 98813
         LAS VEGAS NV 89193-8813                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.239.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LMU-ADG                                                                                           $5,000.00
         1 LOYOLA MARYMOUNT UNIVERSITY DR                  þ Contingent
         LOS ANGELES CA 90045
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.240.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LOS ANGELES COUNTY DEPARTMENT OF                                                                  $117,600.54
         PUBLIC WORKS                                      þ Contingent
         P.O. BOX 512150
         LOS ANGELES CA 90051-0150                         þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.241.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LOS ANGELES POLICE DEPARTEMENT                                                                    $57.00
         100 W 1ST ST                                      þ Contingent
         LOS ANGELES CA 90012
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.242.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LOS ANGELES SUPERIOR COURT JUDGES                                                                 $50.00
         ASSOCIATION                                       þ Contingent
         NON-MEMBER
         111 NORTH HILL ST                                 þ Unliquidated
         SUITE 204
         LOS ANGELES CA 90012
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.243.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LOS ANGELES TIMES                                                                                 $63,630.00
         P.O. BOX 740860                                   þ Contingent
         LOS ANGELES CA 90074-0860
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.244.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LOS ANGELES TRIAL LAWYERS CHARITIES                                                               $5,000.00
         2708 WILSHIRE BOULEVARD                           þ Contingent
         SUITE 391
         SANTA MONICA CA 90403                             þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.245.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LUDWIG KLEIN REPORTERS & VIDEO, INC.                                                              $829.87
         1450 WEST COLORADO BLVD                           þ Contingent
         PASADENA CA 91105
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.246.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         LUDWIG, M.D., BARRY                                                                               $915.00
         2811 WILSHIRE BLVD.                               þ Contingent
         SUITE 508
         SANTA MONICA CA 90403                             þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.247.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MACRO-PRO, INC.                                                                                   $2,186.52
         ACCOUNTS RECEIVABLE                               þ Contingent
         P.O. BOX 90459
         LONG BEACH CA 90809-0459                          þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.248.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MAGNA LEGAL SERVICES, LLC                                                                         $2,371.47
         P.O. BOX 822804                                   þ Contingent
         PHILADELPHIA PA 19182-2804
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.249.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MARK LEVY, AKA THE MOLD GUY INC.                                                                  $2,106.35
         9190 W. OLYMPIC BOULEVARD #206                    þ Contingent
         BEVERLY HILLS CA 90212
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.250.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MARLATT CONSULTING                                                                                $16,344.00
         85 CRESTA VERDE                                   þ Contingent
         ROLLING HILLS EST. CA 90274
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.251.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MARQUEE STORAGE INC.                                                                              $10,000.00
         5441 COGSWELL ROAD                                þ Contingent
         UNIT D
         ARCADIA CA 91006                                  þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.252.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MARTINEZ, MARIA                                                                                   $175.00
         10006 S. BROADWAY, UNIT 115                       þ Contingent
         LOS ANGELES CA 90003
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.253.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MATTHEW BENDER                                                                                    $3,185.28
         28544 NETWORK PLACE                               þ Contingent
         CHICAGO IL 60673-1285
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.254.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MCCLINTOCK, AMANDA                                                                                $75.00
         332 19TH STREET                                   þ Contingent
         MANHATTAN BEACH CA 90266
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.255.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MCCORKLE, JOHN ROBERT                                                                             $268.23
         857 VICTORIA DRIVE                                þ Contingent
         PASADENA CA 91104
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.256.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MCDERMOTT, PHILIP                                                                                 $561.96
         12015 KLING STREET # 202                          þ Contingent
         VALLEY VILLAGE CA 91607
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.257.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MEDICAL LIEN MANAGEMENT                                                                           $0.00
         P.O. BOX 6829                                     þ Contingent
         NORCO CA 92860
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.258.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MEDIVISUALS, INC.                                                                                 $4,054.00
         P.O. BOX 75856                                    þ Contingent
         BALTIMORE MD 21275-5856
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.259.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MERIDIAN RESOURCE                                                                                 $0.00
         P.O. BOX 659940                                   þ Contingent
         SAN ANTONIO TX 78265-9939
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.260.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MERRITT, MD, PHILIP                                                                               $12,375.00
         1204 INVERNESS DRIVE                              þ Contingent
         LA CANADA FLINTRIDGE CA 91011
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.261.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MICHAEL S RITTER, MD INC                                                                          $3,775.00
         23 SPANISH BAY DRIVE                              þ Contingent
         NEWPORT BEACH CA 92660
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.262.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MICHEL & FACKLER                                                                                  $2,850.00
         2175 NORTH CALIFORNIA BLVD                        þ Contingent
         SUITE 550
         WALNUT CREEK CA 94596                             þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.263.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MILLER, MANUEL                                                                                    $352,000.00
         20750 VENTURA BLVD., SUITE 440                    þ Contingent
         WOODLAND HILLS CA 91364
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.264.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MONSTER WORLDWIDE, INC                                                                            $6,666.64
         P.O. BOX 740889                                   þ Contingent
         LOS ANGELES CA 90074-0889
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.265.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MONTAGE LEGAL GROUP                                                                               $12,976.30
         10062 SUNRISE LANE                                þ Contingent
         NORTH TUSTIN CA 92705
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.266.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         MOTORIK CONCIERGE                                                                                 $3,845.50
         16184 MEADOWCREST RD                              þ Contingent
         SHERMAN OAKS CA 91403
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.267.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NANO BANC                                                                                         $800.00
         25220 HANCOCK AVENUE                              þ Contingent
         SUITE 140
         MURRIETA CA 92562                                 þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.268.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NATIONWIDE LEGAL LLC                                                                              $338.56
         1609 JAMES M. WOOD BLVD,                          þ Contingent
         2ND FL
         LOS ANGELES CA 90015                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.269.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NATIONWIDE MUTUAL INSURANCE COMPANY                                                               $554.70
         P.O. BOX 249                                      þ Contingent
         ITASCA IL 60143-0249
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.270.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NEERAJ GUPTA, M.D INC                                                                             $9,450.00
         19896 AUBURN LANE                                 þ Contingent
         YORBA LINDA CA 92886
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.271.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NELSON, M.D., RUSSELL W.                                                                          $1,000.00
         P.O. BOX 4679                                     þ Contingent
         THOUSAND OAKS CA 91359
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.272.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NETWORK DEPOSITION SERVICES, INC                                                                  $1,832.65
         1800 CENTURY PARK EAST                            þ Contingent
         SUITE 150
         LOS ANGELES CA 90067                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.273.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NEW INSPIRATION BROADCASTING CO., INC.                                                            $106,600.00
         P.O. BOX 845581                                   þ Contingent
         LOS ANGELES CA 90084-5581
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.274.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         NTI SANTONI, DBA SANTONI INVESTIGATIONS                                                           $495.00
         20322 WINDROW DRIVE                               þ Contingent
         SUITE 200
         LAKE FOREST CA 92630                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.275.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ONE LEGAL LLC                                                                                     $29,724.14
         1400 NORTH MCDOWELL BLVD.                         þ Contingent
         SUITE 300
         PETALUMA CA 94954                                 þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.276.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         OPTUM                                                                                             $0.00
         11000 OPTUM CIRCLE MN102-0300                     þ Contingent
         EDEN PRAIRIE MN 55344
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.277.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         OWEN, PATTERSON & OWEN, LLP                                                                       $25,000,000.00
         SUSAN A. OWEN                                     þ Contingent
         23822 W. VALENCIA BLVD
         STE. 303                                          þ Unliquidated
         VALENCIA CA 91355                                 þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.278.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         P.A. ELECTRICAL                                                                                   $4,985.00
         836 W. 85TH STREET                                þ Contingent
         LOS ANGELES CA 90044
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.279.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PACER SERVICE CENTER                                                                              $210.30
         P.O. BOX 71364                                    þ Contingent
         PHILADELPHIA PA 19176-1364
         (800) 676-6856                                    þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.280.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PACK, JOHN JOSEPH                                                                                 $1,200.00
         P.O. BOX 928                                      þ Contingent
         MANHATTAN BEACH CA 90267
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.281.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PAKDAMAN, PH.D., SEAN                                                                             $135.00
         5535 BALBOA BLVD. #200                            þ Contingent
         ENCINO CA 91316
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.282.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PANSKY MARKLE ATTORNEYS AT LAW                                                                    $4,412.50
         1010 SYCAMORE AVE., SUITE 308                     þ Contingent
         SOUTH PASADENA CA 91030
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.283.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PATEL MD, REEKESH                                                                                 $0.00
         P.O. BOX 252273                                   þ Contingent
         LOS ANGELES CA 90025-8979
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.284.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PATTERSON, M.D., RAYMOND F.                                                                       $12,918.75
         1904 R STREET. N.W.                               þ Contingent
         WASHINGTON DC 20009
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.285.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PEREZ, CASIANO                                                                                    $35.00
         7103 ARGYLE AVENUE                                þ Contingent
         SAN BERNARDINO CA 92404
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.286.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PETERS, PH.D., STEFANIE D.                                                                        $13,737.50
         11400 W. OLYMPIC BLVD.                            þ Contingent
         SUITE 200
         LOS ANGELES CA 90064                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.287.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PETERSON REPORTING VIDEO & LITIGATION                                                             $1,182.00
         SERVICES                                          þ Contingent
         530 B STREET, SUITE 350
         SAN DIEGO CA 92101-4403                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.288.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PIH HEALTH HOSPITAL - DOWNEY                                                                      $15.00
         MEDICAL RECORDS DEPARTMENT                        þ Contingent
         11500 BROOKSHIRE AVE
         DOWNEY CA 90241                                   þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.289.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PITNEY BOWES GLOBAL FINANCIAL SERVICES                                                            $15,633.28
         LLC                                               þ Contingent
         P.O. BOX 371887
         PITTSBURGH PA 15250-7887                          þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.290.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         POLITO EPPICH ASSOCIATED, LLP                                                                     $9,800.00
         100 E. SAN MARCOS BLVD.                           þ Contingent
         SUITE 100
         SAN MARCOS CA 92069                               þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.291.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PRAAD GEOTECHNICAL, INC.                                                                          $75.00
         P.O. BOX 451067                                   þ Contingent
         LOS ANGELES CA 90045
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.292.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PRATT (RET.), HON. DANIEL                                                                         $26,450.00
         201 CABRILLO CIRCLE                               þ Contingent
         FULLERTON CA 92835
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.293.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PRECISE PROFESSIONAL SERVICES                                                                     $12,929.64
         43752 BIRCHTREE AVE.                              þ Contingent
         LANCASTER CA 93534
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.294.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PRECISION OCCUPATIONAL MED GRP                                                                    $0.00
         C/O MBC SYSTEMS                                   þ Contingent
         1809 E. DYER ROAD, SUITE 311
         SANTA ANA CA 92705                                þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.295.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PROCARE FUNDING, LLC                                                                              $0.00
         30699 RUSSELL RANCH RD.                           þ Contingent
         SUITE 175
         WESTLAKE VILLAGE CA 91362                         þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.296.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PRODOC                                                                                            $0.00
         875 PATRIOT DR. SUITE D                           þ Contingent
         MOORPARK CA 93021
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.297.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PROFESSIONAL RECRUITERS INC                                                                       $13,500.00
         13428 MAXELLA AVE., #404                          þ Contingent
         LOS ANGELES CA 90292
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.298.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PROLEGAL                                                                                          $3,734.39
         ATTN: ACCOUNTING DEPT.                            þ Contingent
         P.O. BOX 54846
         LOS ANGELES CA 90054                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.299.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PROVIDENCE                                                                                        $0.00
         P.O. BOX 3268                                     þ Contingent
         PORTLAND OR 97208
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.300.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PROVIDIO MEDISOLUTIONS, LLC                                                                       $670,250.00
         5613 DTC PARKWAY                                  þ Contingent
         SUITE 700
         GREENWOOD VILLAGE CO 80111                        þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.301.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PUGH, FAY                                                                                         $24,175.00
         1163 DANIELS DRIVE                                þ Contingent
         LOS ANGELES CA 90035
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.302.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         PURCHASE POWER                                                                                    $10,209.78
         P.O. BOX 371874                                   þ Contingent
         PITTSBURGH PA 15250-7874
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.303.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RAISZADEH MD, RAMIN                                                                               $0.00
         6719 ALVARADO ROAD                                þ Contingent
         SUITE 308
         SAN DIEGO CA 92120                                þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.304.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RAVEN, CLANCY & MCDONAGH PC                                                                       $21,757.41
         3507 N. CAMPBELL AVENUE                           þ Contingent
         SUITE 111
         TUCSON AZ 85719                                   þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.305.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         READYREFRESH BY NESTLE                                                                            $1,559.67
         P.O. BOX 856158                                   þ Contingent
         LOUISVILLE KY 40285-6158
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.306.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RECON RESEARCH CORPORATION                                                                        $20,450.00
         9615 BRIGHTON WAY                                 þ Contingent
         SUITE 219
         BEVERLY HILLS CA 90210                            þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.307.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RECORD REPRODUCTION SERVICES                                                                      $11.40
         600 N JACKSON ST                                  þ Contingent
         SUITE 104
         MEDIA PA 19063                                    þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.308.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RECORDTRAK, LLC                                                                                   $4,433.02
         651 ALLENDALE ROAD                                þ Contingent
         P.O. BOX 61591
         KING OF PRUSSIA PA 19406                          þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.309.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RELIABLE MAINTENANCE SERVICES, INC                                                                $46,140.00
         1555 DAB CT.                                      þ Contingent
         WALNUT CA 91789
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.310.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RELIA-TECH                                                                                        $3,000.00
         11841 TELEGRAPH RD.                               þ Contingent
         SANTA FE SPRINGS CA 90670
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.311.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         REST YOUR CASE- EVIDENCE STRGE                                                                    $34,192.00
         6364 N. IRWINDALE AVENUE                          þ Contingent
         AZUSA CA 91702
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.312.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RICARDO JOSE GALDAMEZ                                                                             $1,950.00
         19039 COLIMA ROAD # 274                           þ Contingent
         ROWLAND HEIGHTS CA 91748
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.313.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RICOH AMERICAS                                                                                    $7,002.04
         C/O ADVANCED RECOVERY SYSTEMS                     þ Contingent
         901 E. 8TH AVENUE
         SUITE 206                                         þ Unliquidated
         KING OF PRUSSIA PA 19406                          þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.314.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RICOH USA, INC                                                                                    $3,821.88
         P.O. BOX 31001-0850                               þ Contingent
         PASADENA CA 91110-0850
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.315.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RIEBACK MEDICAL-LEGAL CONSULTANTS, INC.                                                           $646.00
         772 NW 100TH TERRACE                              þ Contingent
         FORT LAUDERDALE FL 33324
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.316.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RIZZARDI ECONOMIC ASSOCIATES                                                                      $16,163.60
         2596 MISSION STREET                               þ Contingent
         SUITE 330
         SAN MARINO CA 91108                               þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.317.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ROBLEDO, DAISY                                                                                    $55.80
         UNKNOWN                                           þ Contingent
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.318.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         ROCKPOINT LEGAL FUNDING SETTLEMENT                                                                $0.00
         DEPARTMENT                                        þ Contingent
         P.O. BOX 641039
         LOS ANGELES CA 90064-9998                         þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.319.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RONSIN LITIGATION SUPPORT SERVICES                                                                $5,112.72
         215 S. LEMON CREEK DR.                            þ Contingent
         WALNUT CA 91789
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.320.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RUBI, EDILBERTO                                                                                   $17,585.00
         1342 S. UNION AVENUE                              þ Contingent
         LOS ANGELES CA 90015
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.321.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         RUBIN, M.D., SONNY                                                                                $3,490.00
         455 OLD NEWPORT BLVD, #101                        þ Contingent
         NEWPORT BEACH CA 92663
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.322.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SAFE, LLC                                                                                         $76,545.56
         475 PINE AVENUE                                   þ Contingent
         GOLETA CA 93117
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.323.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SAFEGUARD BUSINESS SYSTEM                                                                         $1,154.41
         P.O. BOX 88043                                    þ Contingent
         CHICAGO IL 60680-1043
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.324.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SALEM COMMUNICATIONS HOLDING CORP.                                                                $4,800.00
         P.O. BOX 845581                                   þ Contingent
         LOS ANGELES CA 90084-5581
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.325.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SAMPLE, JOHN PRIV INVEST #5476                                                                    $13,630.98
         4712 ADMIRALTY WAY                                þ Contingent
         # 277
         MARINA DEL REY CA 90292                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.326.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SEKI, NISHIMURA AND WATASE LLP                                                                    $3,000.00
         600 WILSHIRE BOULEVARD                            þ Contingent
         SUITE 1250
         LOS ANGELES CA 90017                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.327.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SELBERG, JUDY                                                                                     $184,144.55
         10990 WILSHIRE BLVD.,                             þ Contingent
         STE. 1420
         LOS ANGELES CA 90024                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           CLIENT TRUST FUNDS
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.328.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SELBERG, JUDY                                                                                     $1,000,000.00
         10990 WILSHIRE BLVD.,                             þ Contingent
         STE. 1420
         LOS ANGELES CA 90024                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MALPRACTICE
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.329.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SERVICE LIFE AND CASUALTY C/O THE PHIA                                                            $0.00
         GROUP                                             þ Contingent
         C/O THE PHIA GROUP
         40 PEQUOT WAY                                     þ Unliquidated
         CANTON MA 02021                                   þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.330.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SETEC INVESTIGATIONS                                                                              $3,256.38
         145 SOUTH FAIRFAX AVE.                            þ Contingent
         SUITE 200
         LOS ANGELES CA 90036                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.331.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SIGNATURE RESOLUTION LLC                                                                          $7,300.00
         633 WEST 5TH STREET                               þ Contingent
         SUITE 1000
         LOS ANGELES CA 90071                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.332.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SIMBA CAPITAL, INC.                                                                               $18,710.61
         ROBERT COHAN                                      þ Contingent
         9 AVE. AT PRT. IMPERIAL 408
         WEST NEW YORK NJ 07093                            þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.333.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SIMONMED                                                                                          $0.00
         P.O. BOX 204165                                   þ Contingent
         DALLAS TX 75320-4165
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.334.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SIMPLURIS, INC.                                                                                   $2,468.00
         ATTN: ACCOUNTS RECEIVABLE                         þ Contingent
         3194-C AIRPORT LOOP DRIVE
         COSTA MESA CA 92626                               þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.335.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SMITH, RUTH                                                                                       $40.12
         UNKNOWN                                           þ Contingent
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.336.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SOLOMON, AMY FISCH                                                                                $50,000.00
         P.O. BOX 1958                                     þ Contingent
         SANTA YNEZ CA 93460
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.337.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SOMMER INVESTIGATIONS                                                                             $2,024.00
         18955 CALLE JUANITO                               þ Contingent
         MURRIETA CA 92562
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.338.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SOUTHERN CAL SPORTS REHAB                                                                         $0.00
         C/O MBC SYSTEMS                                   þ Contingent
         1809 E. DYER RD, SUITE 311
         SANTA ANA CA 92705                                þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.339.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SPINE INSTITUTE OF SAN DIEGO                                                                      $0.00
         RAMIN RAISZADEH MD                                þ Contingent
         6719 ALVARADO ROAD
         SUITE 308                                         þ Unliquidated
         SAN DIEGO CA 92120                                þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.340.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STATS COMPANY                                                                                     $4,683.89
         9760 ORION AVE                                    þ Contingent
         NORTH HILLS CA 91343
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.341.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STEELGATE, INC                                                                                    $9,176.80
         2307 58TH AVENUE EAST                             þ Contingent
         BRADENTON FL 34203
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.342.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STENOGAL REPORTING                                                                                $523.05
         18161 ALLEGHENY DRIVE                             þ Contingent
         SANTA ANA CA 92705
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.343.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STERNE AGEE & LEACH, INC.                                                                         $14,184.95
         2 PERIMETER PARK S.                               þ Contingent
         SUITE 100W
         BIRMINGHAM AL 35243                               þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.344.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STOLZ ENGINEERING                                                                                 $17,500.00
         7878 WEST 80TH PLACE                              þ Contingent
         SUITE 1C
         ARVADA CO 80005                                   þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.345.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         STONE PRO RESTORATION AND MAINTENANCE                                                             $16,711.00
         5542 BARTON AVE, APT# 217                         þ Contingent
         LOS ANGELES CA 90038
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.346.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SUPPORT SERVICES ENGINEERING                                                                      $1,431.65
         CORPORATION                                       þ Contingent
         3360 ALLSPICE RUN
         NORMAN OK 73026-4540                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.347.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SWEENEY, ISABEL                                                                                   $1,917,000.00
         32459 CORTE BARELA                                þ Contingent
         TEMECULA CA 92592
                                                           þ Unliquidated
                                                           ¨ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         UNKNOWN                                           LITIGATION SETTLEMENT
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.348.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         SYNERGY SETTLEMENT SERVICES                                                                       $500.00
         2420 LAKEMONT AVENUE                              þ Contingent
         SUITE 160
         ORLANDO FL 32814                                  þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.349.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         T. BRENNAN INC.                                                                                   $475.00
         19424 CRYSTAL RIDGE LANE                          þ Contingent
         NORTHRIDGE CA 91326-3812
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.350.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TACTICAL INTEGRATED SECURITY, LLC                                                                 $6,342.00
         P.O. BOX 249                                      þ Contingent
         NEWBURY PARK CA 91319
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.351.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TAUBER MD, JACOB E.                                                                               $12,700.00
         137 S. ROBERTSON BLVD #258                        þ Contingent
         BEVERLY HILLS CA 90211
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.352.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TAYLOR MORSE, LTD.                                                                                $658.10
         P.O. BOX 3560                                     þ Contingent
         LAGUNA HILLS CA 92654
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.353.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TEEMAN, COLLEEN                                                                                   $81.31
         30164 N. VALLEY GLEN                              þ Contingent
         CASTAIC CA 91384
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.354.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THE MARKER GROUP, INC.                                                                            $325.07
         13105 NORTHWEST FREEWAY                           þ Contingent
         SUITE 300
         HOUSTON TX 77040                                  þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.355.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THE MCS GROUP, INC.                                                                               $2,196.39
         1601 MARKET STREET                                þ Contingent
         PHILADELPHIA PA 19103
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.356.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THE PHIA GROUP                                                                                    $0.00
         40 PEQUOT WAY                                     þ Contingent
         CANTON MA 02021
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.357.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THE RAWLINGS COMPANY                                                                              $0.00
         P.O. BOX 2000                                     þ Contingent
         LA GRANGE KY 40031-2000
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.358.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THOMSON REUTERS                                                                                   $444,639.76
         WEST GROUP PAYMENT CENTER                         þ Contingent
         P.O. BOX 6292
         CAROL STREAM IL 60197-6292                        þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.359.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         THRIFTY R & A COMMUNICATIONS                                                                      $24,970.00
         396 PATRICIAN WAY                                 þ Contingent
         PASADENA CA 91105-1028
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.360.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TIME WARNER CABLE                                                                                 $304.51
         P.O. BOX 60074                                    þ Contingent
         CITY OF INDUSTRY CA 91716-0074
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.361.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TPX COMMUNICATIONS                                                                                UNKNOWN
         P.O. BOX 509013                                   þ Contingent
         SAN DIEGO CA 92150-9013
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.362.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TRATTEL COURT REPORTING, VIDEO &                                                                  $18,838.92
         VIDEOCONFERENCE CENTER                            þ Contingent
         P.O. BOX 36297
         ALBUQUERQUE NM 87176                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.363.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TRIAL TECHNOLOGIES INC.                                                                           $7,375.00
         11835 W. OLYMPIC BLVD.                            þ Contingent
         SUITE 825E
         LOS ANGELES CA 90064                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.364.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TRUONG CHIROPRACTIC                                                                               $0.00
         629 S. FREEMONT AVE                               þ Contingent
         ALHAMBRA CA 91803
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           MEDICAL LIEN - CLIENT NAME WITHHELD
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.365.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TRUSTPOINT                                                                                        $1,529.10
         P.O.BOX 101920                                    þ Contingent
         ATLANTA GA 30392-1920
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.366.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         TSG REPORTING, INC.                                                                               $4,658.70
         P.O. BOX 95568                                    þ Contingent
         GRAPEVINE TX 76099-9708
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.367.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         U.S LEGAL SUPPORT, INC.                                                                           $13,723.01
         P.O. BOX 4772                                     þ Contingent
         HOUSTON TX 77210-4772
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.368.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         U.S. BANK                                                                                         $24,820.60
         P.O. BOX 790408                                   þ Contingent
         SAINT LOUIS MO 63179-0408
         (866) 485-4545                                    þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.369.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         U.S.LEGAL SUPPORT, INC.                                                                           $91,775.22
         P.O. BOX 4772                                     þ Contingent
         HOUSTON TX 77210-4772
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.370.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         UNITED MEDICAL IMAGING HEALTHCARE                                                                 $100.00
         1762 WESTWOOD BLVD                                þ Contingent
         SUITE 230
         LOS ANGELES CA 90024                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.371.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         URZUA, CARLOS                                                                                     $669.82
         5653 RABER ST.                                    þ Contingent
         LOS ANGELES CA 90042
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.372.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VALPRO ATTORNEY SERVICES                                                                          $125.00
         1500 W EL CAMINO AVENUE # 510                     þ Contingent
         SACRAMENTO CA 95833
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.373.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VANSLOTEN, INC.                                                                                   $2,288.40
         455 LAGUNA WAY                                    þ Contingent
         SIMI VALLEY CA 93065
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.374.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VERITEXT                                                                                          $522,987.86
         P.O. BOX 71303                                    þ Contingent
         CHICAGO IL 60694-1303
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.375.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VERIZON WIRELESS                                                                                  UNKNOWN
         PO BOX 9622                                       þ Contingent
         MISSION HILLS CA 91346-9622
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.376.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VILLAGE INTERNAL MEDICINE                                                                         $24.75
         1843 QUIET COVE                                   þ Contingent
         FAYETTEVILLE NC 28304
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.377.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VINCENT M. FORTANASCE, MD, INC                                                                    $965.00
         289 W. HUNTINGTON DRIVE                           þ Contingent
         SUITE 309
         ARCADIA CA 91007                                  þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.378.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VIRAGE SPV 1, LLC                                                                                 $0.00
         C/O CORPORATION SERVICE COMPANY                   þ Contingent
         251 LITTLE FALLS DRIVE
         WILMINGTON DE 19808                               þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           LOAN
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.379.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VITITOE LAW GROUP                                                                                 $150,137.46
         5707 CORSA AVE. 2ND FLOOR                         þ Contingent
         WESTLAKE VILLAGE CA 91362
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.380.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         VRSUS ASSETS, LLC                                                                                 $14,210.00
         8888 KEYSTONE CROSSING                            þ Contingent
         SUITE 1610
         INDIANAPOLIS IN 46240                             þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.381.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WAGNER, M.D., KENDALL S.                                                                          $1,000.00
         1460 N. HARBOR BLVD.,, STE.100                    þ Contingent
         FULLERTON CA 92835
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.382.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WAGSTAFF & CARTMELL LLP                                                                           $563.68
         4740 GRAND AVENUE                                 þ Contingent
         SUITE 300
         KANSAS CITY MO 64112                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.383.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WELLS FARGO VENDOR FINANCIAL SERVICES,                                                            $41,530.35
         LLC                                               þ Contingent
         P.O. BOX 650073
         DALLAS TX 75265-0073                              þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.384.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WEST OCEAN MEDICAL GROUP, INC.                                                                    $3,425.00
         115 PINE AVE, SUITE 330                           þ Contingent
         LONG BEACH CA 90802
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.385.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WESTERN SAN BERNARDINO COUNTY BAR                                                                 $2,000.00
         ASSOCIATION                                       þ Contingent
         P.O. BOX 624
         RANCHO CUCAMONGA CA 91729                         þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.386.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WEX BANK                                                                                          $2,127.66
         P.O. BOX 4337                                     þ Contingent
         CAROL STREAM IL 60197-4337
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.387.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WEXCO INTERNATIONAL LLC DEPT 913                                                                  $17,036.37
         P.O. BOX 4458                                     þ Contingent
         HOUSTON TX 77210-4458
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.388.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WILLIAM L. CATON III, MD,                                                                         $10,129.00
         630 S. RAYMOND,                                   þ Contingent
         SUITE 330
         PASADENA CA 91105                                 þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.389.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WILLIAMS AUTOMATED MANAGEMENT                                                                     $9,300.00
         SERVICES, INC. (WAMS)                             þ Contingent
         135 S. STATE COLLEGE BLVD
         BREA CA 92821                                     þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.390.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WINDSONG GROUP                                                                                    $14,812.50
         311 N. ROBERTSON BLVD #286                        þ Contingent
         BEVERLY HILLS CA 90211
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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3.391.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WITTLER YOUNG SERVICE CO.                                                                         $1,031.10
         2400 FORNEY ST.                                   þ Contingent
         LOS ANGELES CA 90031
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes

3.392.   Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                           Check all that apply.
         WRONGFUL DEATH CONSULTANTS INC                                                                    $1,480,457.60
         1505 EL MIRADOR DRIVE                             þ Contingent
         PASADENA CA 91103
                                                           þ Unliquidated
                                                           þ Disputed
         Date or dates debt was incurred                   Basis for the claim:
         VARIOUS                                           GOOD OR SERVICES
         Last 4 digits of account number:                  Is the claim subject to offset?

                                                           þ No
                                                           ¨ Yes




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 Part 3:     List Others to Be Notified About Unsecured Claims

4.    List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that
      may be listed are collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional
      pages are needed, copy the next page.
      Name and mailing address                           On which line in Part 1 or Part 2 is the related        Last 4 digits of account
                                                         creditor (if any) listed?                               number, if any

      CISCO, INC                                         Part 2 line 3.358                                       _____________________
      THOMSON REUTERS BUSINESS
      1702 TOWNHURST DR
      HOUSTON TX 77043

      CONNOLLY GALLAGHER LLP                             Part 1 line 2.9                                         _____________________
      JEFFREY C WISLER ESQ
      1201 N MARKET ST
      20TH FLOOR
      WILMINGTON DE 19801

      ERIC B SEUTHE                                      Part 2 line 3.328                                       _____________________
      LAW OFFICES OF DRIC B SEUTHE
      445 S BEVERLY DRIVE
      BEVERLY HILLS CA 90212

      INTERNAL REVENUE SVC                               Part 1 line 2.37                                        _____________________
      PO BOX 7346
      PHILADELPHIA PA 19101-7346

      INTERNAL REVENUE SVC                               Part 2 line 3.188                                       _____________________
      PO BOX 7346
      PHILADELPHIA PA 19101-7346

      LOS ANGELES COUNTY TAX COLLECTOR                   Part 1 line 2.46                                        _____________________
      PO BOX 54110
      LOS ANGELES CA 90054-0110

      MCCARTHY BURGESS & WOLFF                           Part 2 line 3.375                                       _____________________
      MB & W BUILDING,
      26000 CANNON ROAD
      CLEVELAND CA 44146

      MOSS & BARNETT                                     Part 2 line 3.358                                       _____________________
      THOMSON REUTERS BUSINESS
      150 S 5TH STREET, # 1200
      MINNEAPOLIS MN 55402

      RMS                                                Part 2 line 3.323                                       _____________________
      SAFEGUARD SYSTEMS
      PO BOX 19646
      MINNEAPOLIS MN 55419




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 159 of 160
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 Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5.    Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts


5a.   Total claims from Part 1                                                           5a.        $182,890.79


5b.   Total claims from Part 2                                                           5b.   +    $51,479,640.55


      Total of Parts 1 and 2                                                                        $51,662,531.34
5c.                                                                                      5c.
      Lines 5a + 5b = 5c.




Official Form 206E/F                 Schedule E/F: Creditors Who Have Unsecured Claims                         Page 160 of 160
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Fill in this information to identify the case:

Debtor name: Girardi Keese
United States Bankruptcy Court for the: Central District of California
Case number (if known): 20-21022

                                                                                                                               ¨ Check if this is an
                                                                                                                                       amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                            12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
       ¨ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       þ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
       (Official Form 206A/B).
2.       List all contracts and unexpired leases                                                           State the name and mailing address
                                                                                                           for all other parties with whom the
                                                                                                           debtor has an executory contract or
                                                                                                           unexpired lease

2.1.     Title of contract                ADMINISTRATIVE SERVICES CONTRACT                                 CIGNA HEALTH AND LIFE
                                                                                                           INSURANCE COMPANY
         State what the contract or       _________________________________________________                MARYLOU RICE LEGAL
         lease is for                                                                                      COMPLIANCE LEAD ANALYST
                                                                                                           900 COTTAGE GROVE ROAD
         Nature of debtor's interest      CONTRACT PARTY                                                   B6LPA
                                                                                                           HARTFORD CT 06152
         State the term remaining         12/18/2020

         List the contract number of      _________________________________________________
         any government contract


2.2.     Title of contract                STOP LOSS POLICY ACCT NO. 617965                                 State the name and mailing address
                                                                                                           for all other parties with whom the
         State what the contract or       STOP LOSS INSURANCE                                              debtor has an executory contract or
         lease is for                                                                                      unexpired lease
         Nature of debtor's interest      INSURED                                                          CIGNA HEALTH AND LIFE
                                                                                                           INSURANCE COMPANY
         State the term remaining         12/18/2020                                                       MARYLOU RICE LEGAL
                                                                                                           COMPLIANCE LEAD ANALYST
         List the contract number of      _________________________________________________                900 COTTAGE GROVE ROAD
         any government contract                                                                           B6LPA
                                                                                                           HARTFORD CT 06152


2.3.     Title of contract                CALIFORNIA MOTOR VEHICLE LEASE AGREEMENT                         State the name and mailing address
                                                                                                           for all other parties with whom the
         State what the contract or       LEASE OF 2018 MERCEDEZ BENZ S560V, VIN 8128                      debtor has an executory contract or
         lease is for                                                                                      unexpired lease
         Nature of debtor's interest      LESSEE                                                           DAIMLER TRUST
                                                                                                           C/O BANKRUPTCY SERVICING LLC
         State the term remaining         ABANDONED BY CHAPTER 7 TRUSTEE & RETURNED TO                     PO BOX 131265
                                          LESSOR 1/19/2021                                                 ROSEVILLE MN 55113-0011
         List the contract number of      _________________________________________________
         any government contract




Official Form 206G                       Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
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2.4.     Title of contract             CONTINGENT FEE AGREEMENT                            State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LEGAL SERVICES AGREEMENT                            debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      HORTON, SHANE BY AND
                                                                                           THROUGH HIS MOTHER YVONNE
         State the term remaining      REJECTED PURSUANT TO ORDER APPROVING                HORTON
                                       STIPULATION FOR REJECTION OF CONTINGENT FEE         BEALL & BURKHARDT APC
                                       AGREEMENT ENTERED 3/26/2021, DN 283                 WILLIAM C BEALL ESQ
                                                                                           1114 STATE ST
         List the contract number of   _________________________________________________   LA ARCADA BLDG, STE 200
         any government contract                                                           SANTA BARBARA CA 93101




Official Form 206G                     Schedule G: Executory Contracts and Unexpired Leases                           Page 2 of 2
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Fill in this information to identify the case:

Debtor name: Girardi Keese
United States Bankruptcy Court for the: Central District of California
Case number (if known): 20-21022

                                                                                                                              ¨ Check if this is an
                                                                                                                                     amended filing

Official Form 206H
Schedule H: Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.

1.     Does the debtor have any codebtors?
       ¨ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       þ Yes
2.     In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
       schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the
       debt is owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list
       each creditor separately in Column 2.

       Column 1: Codebtor                                                           Column 2: Creditor

       Name                               Mailing address                           Name                               Check all schedules that
                                                                                                                       apply:


2.1.   CO-OBLIGORS ON VIRAGE              DUE TO CONFIDENTIAL                       VIRAGE SPV 1, LLC                  þD
       LOAN                               PROVISIONS IN DOCUMENTS,
                                          IDENTITY OF CO-OBLIGORS                                                      ¨ E/F
                                          CANNOT BE DISCLOSED.                                                         ¨G
2.2.   FIRST LEGAL SOLUTION APC           16255 VENTURA BLVD, STE 1205              LAW FINANCE GROUP                  þD
                                          ENCINO CA 91436
                                                                                                                       ¨ E/F
                                                                                                                       ¨G
2.3.   FIRST LEGAL SOLUTION APC           16255 VENTURA BLVD, STE 1205              LFG SPECIAL INVESTOR               þD
                                          ENCINO CA 91436                           GROUP, LLC
                                                                                                                       ¨ E/F
                                                                                                                       ¨G
2.4.   FIRST LEGAL SOLUTION APC           16255 VENTURA BLVD, STE 1205              TSO LFG HOLDCO, LLP                þD
                                          ENCINO CA 91436
                                                                                                                       ¨ E/F
                                                                                                                       ¨G
2.5.   THOMAS V. GIRARDI                  100 LOS ALTOS DRIVE                       CALIFORNIA ATTONEY                 þD
                                          PASADENA CA 91105                         LENDING II, INC.
                                                                                                                       þ E/F
                                                                                                                       ¨G
2.6.   THOMAS V. GIRARDI                  100 LOS ALTOS DRIVE                       LAW FINANCE GROUP                  þD
                                          PASADENA CA 91105
                                                                                                                       ¨ E/F
                                                                                                                       ¨G

Official Form 206H                                          Schedule H: Codebtors                                                       Page 1 of 2
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       Column 1: Codebtor                                       Column 2: Creditor

       Name                 Mailing address                     Name                        Check all schedules that
                                                                                            apply:

2.7.   THOMAS V. GIRARDI    100 LOS ALTOS DRIVE                 LFG SPECIAL INVESTOR        þD
                            PASADENA CA 91105                   GROUP, LLC
                                                                                            ¨ E/F
                                                                                            ¨G
2.8.   THOMAS V. GIRARDI    100 LOS ALTOS DRIVE                 RUIGOMEZ, JAMIE, JOSEPH     þD
                            PASADENA CA 91105                   AND KATHLEEN
                                                                                            ¨ E/F
                                                                                            ¨G
2.9.   UNKNOWN                                                  UNKNOWN                     ¨D
                                                                                            ¨ E/F
                                                                                            ¨G




Official Form 206H                            Schedule H: Codebtors                                         Page 2 of 2
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                                                                                                                                                                                                            Basis of     Contingent,
                            Name1                               Name2                                Address1                   Address2                             City   State      Zip        Country                               Claim Amount
                                                                                                                                                                                                             Claim       Unliquidated

  1st Samoan Congregational Christian Church of Harbor CChurch of Harbor City   P.O. Box 932                                                       Harbor City              CA        90710                 Litigation        X           Unknown
  1st United Methodist Church of Wilmington                                     928 Lagoon Avenue                                                  Wilmington               CA        90744                 Litigation        X           Unknown
  Aaron, Emma                                                                   418 Yespe Lane                                                     Texarkana                AR        71854                 Litigation        X           Unknown
  Aarts, Scott                                                                  8110 Mission Boulevard Space 29                                    Riverside                CA        92509                 Litigation        X           Unknown
  Abbott (Bruggerman), Jennifer L.                                              5205 Fairbanks Dr., Apt. 11                                        El Paso                  TX        79924                 Litigation        X           Unknown
  Abbott, Alvin                                                                 200 West 1st                                                       Jerome                   ID        83338                 Litigation        X           Unknown
  Abbott, Gillian                                                               42 Highland St.                                                    Townsend                 MA        01469                 Litigation        X           Unknown
  Abel, Deborah                                                                 106 Tilghman Drive                                                 Goldsboro                NC        27534                 Litigation        X           Unknown
  Abfalter, Walter                                                              PO Box 332                                                         Montrose                 MN        55363                 Litigation        X           Unknown
  Abikzer                                                                       20551 Pesaro Way                                                   Porter Ranch             CA        91326                 Litigation        X           Unknown
  Abner, Jerry                                                                  2243 N Mason Rd #106                                               Katy                     TX        77449                 Litigation        X           Unknown
  Abousheta, Tarek                                                              2707 Sullivan                                                      Irvine                   CA        92614                 Litigation        X           Unknown
  Abrams, Richard                                                               5646 Amalie Dr., Apt. A18                                          Nashville                TN        37211                 Litigation        X           Unknown
  Abramyan, Grisha                                                              14218 Silvan St. Apt 3                                             Van Nuys                 CA        91401                 Litigation        X           Unknown
  Absher, John                                                                  1819 Hurst Drive                                                   Hampton                  VA        23663                 Litigation        X           Unknown
  Abualouf, Naser                                                               404 N. Linn Street.                                                Bay City                 MI        48706                 Litigation        X           Unknown
  Acebedo, Gilbert                                                              450 E 248th Street                                                 Carson                   CA        90745                 Litigation        X           Unknown
  Aceto, John                                                                   785 West C Street                                                  Colton                   CA        92324                 Litigation        X           Unknown
  Aceto, Linda Gail                                                             785 West C St.                                                     Colton                   CA        92324                 Litigation        X           Unknown
  Acevedo, Edwin                                                                620 Gates Avenue Apt 6D                                            Brooklyn                 NY        11221                 Litigation        X           Unknown
  Aceves, Amria                                                                 38726 4th Street                                                   Palmdale                 CA        91401                 Litigation        X           Unknown
  Acheson, Robert                                                               1295 Tapadero Trail                                                Reno                     NV        89521                 Litigation        X           Unknown
  Ackerman, Jack Twombly                                                        8748 Melva Street                                                  Downey                   CA        90242                 Litigation        X           Unknown
  Acosta Angeles, Jose Cruz                                                     18364 8th Street                                                   Bloomington              CA        92316                 Litigation        X           Unknown
  Acosta Jr., Angel                                                             1027 N Palm Avenue                                                 Hemet                    CA        92543                 Litigation        X           Unknown
  Acosta, Adelino                                                               24426 Panama Avenue                                                Carson                   CA        90745                 Litigation        X           Unknown
  Acosta, Concepcion                                                            1515 N. Gulf St.                                                   Hobbs                    NM        88240                 Litigation        X           Unknown
  Acosta, Estrelita                                                             24426 Panama Avenue                                                Carson                   CA      90745-6424              Litigation        X           Unknown
  Acosta, Frances Roberta                                                       P.O. Box 815                                                       Riverside                CA        92502                 Litigation        X           Unknown
  Acosta, Jesus                                                                 1309 Cleveland Avenue                                              Montebello               CA        90640                 Litigation        X           Unknown
  Acosta, Jr., Ramiro                                                           1601 Tasker                                                        Hobbs                    NM        88240                 Litigation        X           Unknown
  Acosta, Manuel                                                                4093 Howard Ave.                                                   Los Alamitos             CA        90720                 Litigation        X           Unknown
  Acosta, Mary                                                                  1204 Ute Place                                                     Hobbs                    NM        88240                 Litigation        X           Unknown
  Acosta, Michael & Hope                                                        1324 Tasker                                                        Hobbs                    NM        88240                 Litigation        X           Unknown
  Acosta, Sammy                                                                 1504 Tasker                                                        Hobbs                    NM        88240                 Litigation        X           Unknown
  Acosta, Sr., Ramiro                                                           1508 Tasker                                                        Hobbs                    NM        88240                 Litigation        X           Unknown
  Acosta, Wilhelmina                                                            24426 Panama Avenue                                                Carson                   CA        90745                 Litigation        X           Unknown
  Actkins, Brandon                                                              17818 Juniper Green Trail                                          Humble                   TX        77346                 Litigation        X           Unknown
  Adams II, Thomas DeWitt                                                       26262 Shetland Lane                                                Moreno Valley            CA        92555                 Litigation        X           Unknown
  Adams Sr., Melvin                                                             24 Eagles Landing                                                  Hampton                  VA        23669                 Litigation        X           Unknown
  Adams, Betty                                                                  246 West Piazza Street                                             Crystal Springs          MS        39059                 Litigation        X           Unknown
  Adams, Denise Lyn                                                             1025 Bishop St.                                                    West Chicago             IL        60185                 Litigation        X           Unknown
  Adams, Donald                                                                 PO Box 257                                                         Absarokee                MT        59001                 Litigation        X           Unknown
  Adams, Joan                                                                   291 Sailfish Drive                                                 Mabank                   TX        75156                 Litigation        X           Unknown
  Adams, Karen                                                                  3150 S. Decatur Blvd, #82                                          Las Vegas                NV        89102                 Litigation        X           Unknown
  Adams, Kiron                                                                  24803 S Neptune Avenue                                             Carson                   CA        90745                 Litigation        X           Unknown
  Adams, Larry                                                                  8824 Redwood Blvd                                                  California City          CA        93505                 Litigation        X           Unknown
  Adams, Myltree                                                                50 Daniel Moss Road                                                Coahoma                  MS        38617                 Litigation        X           Unknown
  Adams, Peggy                                                                  PO BOX 269                                                         Scottsville              TX        75688                 Litigation        X           Unknown
  Addison, Richard                                                              23526 SE 132nd Place                                               Issaquah                 WA        98027                 Litigation        X           Unknown



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                                                                                                                                                                    Basis of     Contingent,
                            Name1    Name2                        Address1                     Address2                           City   State    Zip     Country                               Claim Amount
                                                                                                                                                                     Claim       Unliquidated

  Addison, Virginia                          106 Old Airport Rd.                                                  Wiggins                MS      39577              Litigation        X           Unknown
  Addy, Judson                               5780 Indian Cedar Ct                                                 Frederick              MD      21703              Litigation        X           Unknown
  Adesnik, Christine                         4437 Camel Circle                                                    Middleburg             FL      32068              Litigation        X           Unknown
  Adimey, Anthony                            164 Kohler St.                                                       Tonawanda              NY      14150              Litigation        X           Unknown
  Adkins, Arnold                             17356 Mayfield                                                       Macomb                 MI      48042              Litigation        X           Unknown
  Adkins, Candy                              618 Randolph Street                                                  Charlestonwv           WV      25302              Litigation        X           Unknown
  Adkins, Evelyn                             145 Hartzell Avenue                                                  Niles                  OH      44446              Litigation        X           Unknown
  Adkins, Gary                               PO Box 99                                                            Lesage                 WV      25537              Litigation        X           Unknown
  Adkins, Judith                             4007 Sherman Drive                                                   Winston Salem          NC      27127              Litigation        X           Unknown
  Adkins, Kenneth                            17313 Eucalyptus Ave                                                 Fontana                CA      92337              Litigation        X           Unknown
  Adkins, Ralph                              710 Wexford Place                                                    Warsaw                 IN      46580              Litigation        X           Unknown
  Adolfo, Nhutdung Ha                        439 E 247th Street                                                   Carson                 CA      90745              Litigation        X           Unknown
  Aff, Jeffid                                1114 W. 10th Avenue Apt-J-103                                        Kennewick              WA      99336              Litigation        X           Unknown
  Afonso, Margaret                           1821 E. Sequoia Avenue                                               Visalia                CA      93292              Litigation        X           Unknown
  Agarwal, Mukul                             8307 Natalie Lane                                                    West Hills             CA      91304              Litigation        X           Unknown
  Agens, Terry                               1085-490 Tasman Drive                                                Sunny Vale             CA      94089              Litigation        X           Unknown
  Agostini, Felix                            4852 Mile Stretch Drive                                              Holiday                FL      34960              Litigation        X           Unknown
  Aguero, Carlos                             357 E 244th Street                                                   Carson                 CA      90745              Litigation        X           Unknown
  Aguero, Patricia                           357 E 244th Street                                                   Carson                 CA      90745              Litigation        X           Unknown
  Aguilar, Anthony                           9516 Lubec Street                                                    Downey                 CA      90240              Litigation        X           Unknown
  Aguilar, Antonio                           5055 Opal Ave.                                                       Palmdale               CA      93552              Litigation        X           Unknown
  Aguilar, Marco Antonio                     10461 W. Orange Dr.                                                  Glendale               AZ      85307              Litigation        X           Unknown
  Aguilar, Martha                            24619 Island Avenue                                                  Carson                 CA      90745              Litigation        X           Unknown
  Aguilera                                   609 Acacia Rd                                                        Santa Paula            CA      93060              Litigation        X           Unknown
  Aguilera Fonseca, Maria                    2669 Hall Avenue                                                     Riverside              CA      92509              Litigation        X           Unknown
  Aguilera, Trinidad                         8725 Elk Ridge Way                                                   Elk Grove              CA      95624              Litigation        X           Unknown
  Aguirre, Andrea                            5666 28th Street                                                     Rubidoux               CA      92509              Litigation        X           Unknown
  Aguirre, Armando                           256-5 Brisbane Court                                                 Calabasas              CA      91302              Litigation        X           Unknown
  Ahching, Edward                            15502 Virginia Ave                                                   Paramount              CA      90723              Litigation        X           Unknown
  Ahching, Laisa                             15502 Virginia Ave                                                   Paramount              CA      90723              Litigation        X           Unknown
  Ahern, Louise                              100 Santa Ysabel Ave                                                 San Francisco          CA      94112              Litigation        X           Unknown
  Aide, Sonia                                6833 Webster Road                                                    Summersville           WV      26651              Litigation        X           Unknown
  Ainbinder, Michael                         55 W. 25th St. Apt 19F                                               New York               NY      10010              Litigation        X           Unknown
  Akopyan, Ruben                             1313 Highland Ave                                                    Glendale               CA      91202              Litigation        X           Unknown
  Akright, John and Lorena                   183 Grove St.                                                        Tonawanda              NY      14150              Litigation        X           Unknown
  Alamos, Mary                               1700 Market St. NW, Apt 1204                                         Albuquerque            NM      87120              Litigation        X           Unknown
  Alaniz, Cynthia Grace                      22627 Grand Terrace Rd.- Apt. 105                                    Grand Terrace          CA      92313              Litigation        X           Unknown
  Alarcon, Jackie                            2000 San Gabriel Ave.- Apt #302                                      Long Beach             CA      90810              Litigation        X           Unknown
  Alberigo, John                             23 Hillard Avenue                                                    Warwick                RI      02886              Litigation        X           Unknown
  Albert, Crystal                            10971 Williams Road                                                  Corning                NY      14830              Litigation        X           Unknown
  Albert, Donald                             9291 Saizon Rd                                                       New Roads              LA      70780              Litigation        X           Unknown
  Albrecht, Ronald                           P.O. Box 4105                                                        Dana Point             CA      92629              Litigation        X           Unknown
  Albright, Harold                           2262 Grey Ridge Road                                                 Maryville              TN      37801              Litigation        X           Unknown
  Albritton, Wiley                           117 Tanglewood Drive                                                 Baxley                 GA      31513              Litigation        X           Unknown
  Albury, Elizabeth                          1471 NW 92nd St.                                                     Miami                  FL      33147              Litigation        X           Unknown
  Alcala, Manuel                             1161 222nd St.                                                       Carson                 CA      90745              Litigation        X           Unknown
  Alcantar, Bertha                           18324 9th Street                                                     Bloomington            CA      92316              Litigation        X           Unknown
  Alcantar, Gilbert Allan                    18324 9th St                                                         Bloomington            CA      92316              Litigation        X           Unknown
  Aldhizer, Roxane                           12864 Ridge Road                                                     Largo                  FL      33778              Litigation        X           Unknown
  Alejandre, Lilia                           18815 11th Street                                                    Bloomington            CA      92316              Litigation        X           Unknown



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                                                                                                                                                                          Basis of     Contingent,
                            Name1    Name2                        Address1                     Address2                            City   State      Zip        Country                               Claim Amount
                                                                                                                                                                           Claim       Unliquidated

  Alexander III, Gregory H.                  11338 Pondhurst Way                                                  Riverside               CA        92505                 Litigation        X           Unknown
  Alexander Jr., Gregory                     17663 Fan Palm Lane                                                  Riverside               CA        92503                 Litigation        X           Unknown
  Alexander, Charles                         PO Box 1075                                                          Dayton                  TX        77535                 Litigation        X           Unknown
  Alexander, Gary                            24411 Panama Avenue                                                  Carson                  CA        90745                 Litigation        X           Unknown
  Alexander, Gerald                          RTS - 2373 Ashley St.                                                Walnut Creek            CA        94598                 Litigation        X           Unknown
  Alexander, Henry                           747 Calhoun Street                                                   Bluefield               WV        24701                 Litigation        X           Unknown
  Alexander, Iris Elena                      17663 Fan Palm Lane                                                  Riverside               CA        92503                 Litigation        X           Unknown
  Alexander, Laboria                         4892 Rocky Top Road                                                  Murfreesboro            TN        37127                 Litigation        X           Unknown
  Alexander, Norma                           45634 Apuakea                                                        Kaneohe                 HI        96744                 Litigation        X           Unknown
  Alexander, Paul                            7 Chippeway Court                                                    Palm Coast              FL        32137                 Litigation        X           Unknown
  Alfaro, Teresa                             1609 S Rene Dr.                                                      Santa Ana               CA        92704                 Litigation        X           Unknown
  Alfonso, Edward                            6250 Rouner Drive                                                    Riverside               CA        92509                 Litigation        X           Unknown
  Alfonso, James                             6107 Rouner Drive                                                    Riverside               CA        92509                 Litigation        X           Unknown
  Alfonso, John                              11157 Cameron Drive                                                  Riverside               CA        92505                 Litigation        X           Unknown
  Alfonso, Sabrina                           5965 Meadowbrook Lane                                                Riverside               CA        92504                 Litigation        X           Unknown
  Alford, Kirk                               12941 Northfield Blvd.                                               Oak Park                MI        48237                 Litigation        X           Unknown
  Alford, Michael                            507 Eastwood Place                                                   Vestavia                AL        35216                 Litigation        X           Unknown
  Ali, Shakir                                44 Waldo Ave.                                                        Bloomfield              NJ        07003                 Litigation        X           Unknown
  Alix, Vivian                               5860 Gulston St. Apt 2008                                            Houston                 TX        77081                 Litigation        X           Unknown
  Alizadeh, Hossein                          1208 Via Del Sol                                                     San Dimas               CA        91773                 Litigation        X           Unknown
  Allan, Jack                                346 Hilltop Lane                                                     West Hills              CA        91304                 Litigation        X           Unknown
  Allan, Pamela                              2206 W. Vista Avenue                                                 Phoenix                 AZ        85021                 Litigation        X           Unknown
  Allely, Richard                            1238 Hartford Tpk., #95                                              Vernon                  CT        06066                 Litigation        X           Unknown
  Allen II, Robert                           1041 W Thomas Allen Road                                             Cookeville              TN        38501                 Litigation        X           Unknown
  Allen, Betty                               1855B Copperstone Drive                                              Fleming Island          FL        32003                 Litigation        X           Unknown
  Allen, Birta                               4055 Redwood Ave Apt 407                                             Los Angeles             CA        90066                 Litigation        X           Unknown
  Allen, Dana                                126 Wickham Dr.                                                      Williamsville           NY        14221                 Litigation        X           Unknown
  Allen, Diane                               1615 Fikewood St. E Apt H Box #16                                    Wilson                  NC        27893                 Litigation        X           Unknown
  Allen, Gary                                214 Coachman Drive                                                   Aiken                   SC        29803                 Litigation        X           Unknown
  Allen, Jackie                              PO Box 1124                                                          E. Helena               MT        59635                 Litigation        X           Unknown
  Allen, Kay                                 2701 w. Patridge St. # B                                             Tucson                  AZ        85746                 Litigation        X           Unknown
  Allen, Kaye                                6659 Duck Springs Road                                               Attalla                 AL        35954                 Litigation        X           Unknown
  Allen, Lavern                              1208 N 28th St                                                       Richmond                VA        23223                 Litigation        X           Unknown
  Allen, Lester                              77 Allen Street                                                      Demopolis               AL        36732                 Litigation        X           Unknown
  Allen, Linda                               10215 West Fondlac Ave., Apt 131                                     Milwaukee               WI        53224                 Litigation        X           Unknown
  Allen, Pamela                              55 Ruby Circle                                                       Mary Esther             FL        32569                 Litigation        X           Unknown
  Allen, Richard                             7 Old Hwy 24, Lot 19                                                 Magnolia                MS        39652                 Litigation        X           Unknown
  Allen, Robert                              741 Avenida Majorca- Unit F                                          Laguna Woods            CA        92637                 Litigation        X           Unknown
  Allen, Ronald                              41412 Yancey Lane                                                    Quartz Hill             CA        93536                 Litigation        X           Unknown
  Allen, Sharon                              4931 49th Avenue North                                               St. Petersburg          FL        33709                 Litigation        X           Unknown
  Allen, Tricia                              4295 Monks Rd.                                                       New Haven               KY        40051                 Litigation        X           Unknown
  Allens, Mildred                            2014 Salem Mason Drive                                               Nashville               TN        37208                 Litigation        X           Unknown
  Alleyne, Michael                           29 Heath Dr.                                                         Neptune                 NJ        07753                 Litigation        X           Unknown
  Allgeier, David                            5066 Palm Creek Rd.                                                  Taylorsville            KY        40071                 Litigation        X           Unknown
  Allgire, Daniel                            235 G. Walters St.                                                   Ripley                  WV      25271-1542              Litigation        X           Unknown
  Allison, Carolyn                           5732 Kenwood Place                                                   Riverside               CA        92509                 Litigation        X           Unknown
  Allison, Garry                             5760 28th Street                                                     Rubidoux                CA        92509                 Litigation        X           Unknown
  Allison, Jim                               5706 Laramie Way                                                     San Diego               CA        92120                 Litigation        X           Unknown
  Allison, Norma                             5760 28th Street                                                     Riverside               CA        92509                 Litigation        X           Unknown
  Allison, Oma                               3302 Austin Ave.                                                     Brownwood               TX        76801                 Litigation        X           Unknown



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  Allison, Tammy Lorraine                    5760 28th Street                                                       Riverside              CA        92509                 Litigation        X           Unknown
  Allshouse, James Hugh                      19684 National Trails Hwy Apt 22                                       Oro Grande             CA        92368                 Litigation        X           Unknown
  Allshouse, Lisa                            21733 Crystal Aire Road                                                Oro Grande             CA        92368                 Litigation        X           Unknown
  Allswang, Bruce                            519 E 246th Street                                                     Carson                 CA        90745                 Litigation        X           Unknown
  Allswang, Pamela                           519 E 246th Street                                                     Carson                 CA        90745                 Litigation        X           Unknown
  Almagno, Lawrence                          240 Alpine Estates Dr.                                                 Cranston               RI        02921                 Litigation        X           Unknown
  Almaguer, Fernando                         18765 14th Street                                                      Bloomington            CA        92316                 Litigation        X           Unknown
  Almanza, Belia                             4419 Briardale                                                         San Antonio            TX        78217                 Litigation        X           Unknown
  Almanzar, Margarita                        855 Oakwood Ave.                                                       Schenectady            NY        12303                 Litigation        X           Unknown
  Alper, Steven                              6640 Cabana Del Sol                                                    El Paso                TX        79911                 Litigation        X           Unknown
  Alto, Rosemary                             335 W Bering Avenue                                                    Soldotna               AK        99669                 Litigation        X           Unknown
  Altuna, Jeffrey, Sofi                      12714 Bloomfield Ave, #184                                             Norwalk                CA        90650                 Litigation        X           Unknown
  Alva, Michael                              7615 Jefferson St.                                                     Paramount              CA        90723                 Litigation        X           Unknown
  Alvarado III, Benny                        17002 Dolphin Court                                                    Fontana                CA        92336                 Litigation        X           Unknown
  Alvarado Jr., Rigoberto                    3745 Pacific Ave                                                       Long Beach             CA        90807                 Litigation        X           Unknown
  Alvarado Sr., Frederico                    24718 Panama Avenue                                                    Carson                 CA        90745                 Litigation        X           Unknown
  Alvarado, Armando                          24622 Neptune Avenue                                                   Carson                 CA        90745                 Litigation        X           Unknown
  Alvarado, Aurora                           24718 Panama Avenue                                                    Carson                 CA        90745                 Litigation        X           Unknown
  Alvarado, Benny                            24723 Island Avenue                                                    Carson                 CA        90745                 Litigation        X           Unknown
  Alvarado, Carmen                           327 E 244th Street                                                     Carson                 CA        90745                 Litigation        X           Unknown
  Alvarado, Chloe-Symone                     327 E 244th Street                                                     Carson                 CA      90745-6401              Litigation        X           Unknown
  Alvarado, Christopher                      24718 Panama Avenue                                                    Carson                 CA        90745                 Litigation        X           Unknown
  Alvarado, Crystal                          24723 Island Avenue                                                    Carson                 CA        90745                 Litigation        X           Unknown
  Alvarado, Emily                            3745 Pacific Ave                                                       Long Beach             CA        90807                 Litigation        X           Unknown
  Alvarado, Felipe                           16270 Foothill Blvd.- Apt. A8                                          Fontana                CA        92335                 Litigation        X           Unknown
  Alvarado, Jessica                          P.O. Box 890157                                                        Temecula               CA        92589                 Litigation        X           Unknown
  Alvarado, Krystal M.                       24718 Panama Avenue                                                    Carson                 CA        90745                 Litigation        X           Unknown
  Alvarado, Mary                             4327 Mimosa Ln.                                                        La Verne               CA        91750                 Litigation        X           Unknown
  Alvarado, Michelle                         327 E 244th Street                                                     Carson                 CA      90745-6401              Litigation        X           Unknown
  Alvarado, Oralie                           62017 Mountain View Circle                                             Joshua Tree            CA        92252                 Litigation        X           Unknown
  Alvarado, Rigoberto                        327 E 244th Street                                                     Carson                 CA        90745                 Litigation        X           Unknown
  Alvarado, Rosa                             24723 Island Avenue                                                    Carson                 CA        90745                 Litigation        X           Unknown
  Alvarado, Sabrina                          17002 Dolphin Court                                                    Fontana                CA        92336                 Litigation        X           Unknown
  Alvarez III, Francisco                     351 E 244th Street                                                     Carson                 CA        90745                 Litigation        X           Unknown
  Alvarez Jr., Francisco                     351 E 244th Street                                                     Carson                 CA        90745                 Litigation        X           Unknown
  Alvarez, Alejandro                         129 Faywood Court, Apt.C                                               Glen Burnie            MD        21060                 Litigation        X           Unknown
  Alvarez, Andrew                            351 E 244th Street                                                     Carson                 CA        90745                 Litigation        X           Unknown
  Alvarez, Fabiola                           3651 Mintern Street                                                    Riverside              CA        92509                 Litigation        X           Unknown
  Alvarez, Joseph                            407 Ocean Front Walk, Apt. 1                                           Venice                 CA        90291                 Litigation        X           Unknown
  Alvarez, Katherine                         351 E 244th Street                                                     Carson                 CA        90745                 Litigation        X           Unknown
  Alvarez, Maribel                           890 Cedar Brook Trail                                                  Lawrenceville          GA        30043                 Litigation        X           Unknown
  Alvarez, Mary Jane Casioce                 7639 E. Harmony Lane                                                   Mesa                   AZ        85209                 Litigation        X           Unknown
  Alvarez, Olivia                            546 S Country Club Drive Apt. #2020                                    Mesa                   AZ        85210                 Litigation        X           Unknown
  Alvarez, Rosa                              841 Alpine Dr.                                                         Green Bay              WI        54311                 Litigation        X           Unknown
  Alvarez, Ruben                             1101 W Walnut St.                                                      Santa Ana              CA        92703                 Litigation        X           Unknown
  Alvarez, Sandra                            2050 Blenheim Street                                                   Riverside              CA        92507                 Litigation        X           Unknown
  Alvarez, Sheila Faye                       2031 Gail Drive                                                        Riverside              CA        92509                 Litigation        X           Unknown
  Alvarez, Teresa                            351 E 244th Street                                                     Carson                 CA        90745                 Litigation        X           Unknown
  Alvarez, Tony                              305 Clydesdale Lane                                                    Victoria               TX        77904                 Litigation        X           Unknown
  Alvarez, Veronica                          5447 35th Street                                                       Riverside              CA        92509                 Litigation        X           Unknown



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  Alvernas, Manuel                           84 Flint Corn Road                                               Portsmouth               RI        02871                 Litigation        X           Unknown
  Ames, William                              2272 Riverside Dr                                                Trenton                  MI        48183                 Litigation        X           Unknown
  Amesqua, Richard                           317 E 244th Street                                               Carson                   CA        90745                 Litigation        X           Unknown
  Amezcua, Lorena                            455 E 247th Street                                               Carson                   CA        90745                 Litigation        X           Unknown
  Amezcua, Marcos                            455 E 247th Street                                               Carson                   CA        90745                 Litigation        X           Unknown
  Amezcua, Maria                             455 E 247th Street                                               Carson                   CA        90745                 Litigation        X           Unknown
  Amezcua, Melchor                           455 E 247th Street                                               Carson                   CA        90745                 Litigation        X           Unknown
  Amezcua, Tanya                             455 E 247th Street                                               Carson                   CA        90745                 Litigation        X           Unknown
  Amicone, Lorraine                          P.O. Box 815                                                     Riverside                CA        92502                 Litigation        X           Unknown
  Amidon, Donna                              131 W. Pueblo Street Apt-1                                       Reno                     NV        89509                 Litigation        X           Unknown
  Ammons, Jerry                              231 East Hazel St. Apt 2                                         Inglewood                CA        90302                 Litigation        X           Unknown
  Ammons, Johnnie                            PO Box 335                                                       Clinton                  NC        28329                 Litigation        X           Unknown
  Amos, Margaret                             658 East 2000 North                                              Layton                   UT        84041                 Litigation        X           Unknown
  Amsler, Kenneth                            165 Tori Pines Drive                                             Saint Louis              MO        63129                 Litigation        X           Unknown
  Anagnostopoulos, Costas                    88-14 251 Street                                                 Bellrose                 NY        11426                 Litigation        X           Unknown
  Anastasio, David                           300 Granite Place                                                Pittsburg                CA        94565                 Litigation        X           Unknown
  Anaya, Jose De Jesus                       3770 Ridge Line Dr.                                              San Bernardino           CA        92407                 Litigation        X           Unknown
  Anaya, Sr., Diego                          PO Box 21753                                                     Albuquerque              NM        87154                 Litigation        X           Unknown
  Anaya, Troy (GK # 2018028)                 28937 Shadow Valley Lane                                         Saugus                   CA        91390                 Litigation        X           Unknown
  Anaya-Munoz, Lisa Marie                    3770 Ridge Line Dr.                                              San Bernardino           CA        92407                 Litigation        X           Unknown
  Ancheta, Edgardo                           345 E 249th Street                                               Carson                   CA        90745                 Litigation        X           Unknown
  Ancheta, Hector                            915 E Orange Street                                              Lancaster                PA        17602                 Litigation        X           Unknown
  Ancheta, Teresa                            345 E 249th Street                                               Carson                   CA        90745                 Litigation        X           Unknown
  Andersen, Christie                         2533 N.E. 178th Street                                           Seattle                  WA        98155                 Litigation        X           Unknown
  Anderson Sr., Roger                        4232 Thistle Dr.                                                 Portsmouth               VA        23454                 Litigation        X           Unknown
  Anderson, Alfonso                          RTS - PO Box 292644                                              Tampa                    FL        33687                 Litigation        X           Unknown
  Anderson, Betty                            440 County Road 1389                                             Sawtillo                 MS        38866                 Litigation        X           Unknown
  Anderson, Brittany L.                      10435 Buckboard Cir.                                             Adelanto                 CA        92301                 Litigation        X           Unknown
  Anderson, Carolyn                          8624 Gwin Dr.                                                    Hazelwood                MO      63042-3208              Litigation        X           Unknown
  Anderson, Cheryl                           2613 Dunbar                                                      Fort Collins             CO        80526                 Litigation        X           Unknown
  Anderson, Cora                             4730 Auburn Rd. #69                                              Salem                    OR        97301                 Litigation        X           Unknown
  Anderson, Deon                             8010 McKee Drive                                                 Raleigh                  NC        27616                 Litigation        X           Unknown
  Anderson, Dorothy                          168 Marseille Drive                                              Naples                   FL        34112                 Litigation        X           Unknown
  Anderson, Earl                             155 Main Street                                                  Pleasant Plains          AR        72568                 Litigation        X           Unknown
  Anderson, Estella                          5363 Bahama Terrace Apt 6                                        Cincinnati               OH        45223                 Litigation        X           Unknown
  Anderson, Gianni                           4073 Rivoli                                                      Newport Beach            CA        92660                 Litigation        X           Unknown
  Anderson, J.C.                             2023 N. Nester Avenue                                            Compton                  CA        90222                 Litigation        X           Unknown
  Anderson, Jaqueline                        603 Beech Ave                                                    Kinston                  NC        28501                 Litigation        X           Unknown
  Anderson, John                             181 Lawn Street                                                  Alpena                   MI        49707                 Litigation        X           Unknown
  Anderson, Jr., Archie                      3729 Pineview Avenue                                             High Point               NC      27260-8442              Litigation        X           Unknown
  Anderson, Justine                          1024 Bayside Dr. #167                                            Newport Beach            CA        92660                 Litigation        X           Unknown
  Anderson, Kim                              291 Dakota Street                                                Ypsilanti                MI        48198                 Litigation        X           Unknown
  Anderson, Marcia                           1804 Woodmill Street                                             Chesapeake               VA        23320                 Litigation        X           Unknown
  Anderson, Margaret                         10435 Buckboard Circle                                           Adelanto                 CA        92301                 Litigation        X           Unknown
  Anderson, Mark A.                          10435 Buckboard Circle                                           Adelanto                 CA        92301                 Litigation        X           Unknown
  Anderson, Myrtice                          9318 Cleveland Ave. Apt. 31                                      Kansas City              MO        64132                 Litigation        X           Unknown
  Anderson, Nicole                           1870 NW 60th Ave. Apt. 3                                         Sunrise                  FL        33313                 Litigation        X           Unknown
  Anderson, Norman L.                        1015 Crest View Drive                                            Mesquite                 NV        89027                 Litigation        X           Unknown
  Anderson, Robert                           4073 Rivoli                                                      Newport Beach            CA        92660                 Litigation        X           Unknown
  Anderson, Shirley                          57 Alma Rd.                                                      Mashpee                  MA        02649                 Litigation        X           Unknown



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  Anderson, Sr., Benjamin                    3440 South 500E Rd. Apt 59                                              Salt Lake City                UT        84016                 Litigation        X           Unknown
  Anderson, Tanya                            726 Sutter Avenue                                                       Modesto                       CA        95351                 Litigation        X           Unknown
  Anderson, Tawn                             119 Summit Glenn                                                        Pataskala                     OH        43062                 Litigation        X           Unknown
  Anderson, Viola                            9902 Alexandria Pike                                                    Alexandria                    KY        41001                 Litigation        X           Unknown
  Anderson, William                          12840 Andrews Dr                                                        Laurinburg                    NC        28352                 Litigation        X           Unknown
  Andrade Alvarado, Rosa Maria               4555 N. E. Street                                                       San Bernardino                CA        92407                 Litigation        X           Unknown
  Andrade, Maria                             2633 Neotomas Ave                                                       Santa Rosa                    CA        95405                 Litigation        X           Unknown
  Andrews, Arthur                            377 S Harrison Street, Apt 15F                                          East Orange                   NJ        07018                 Litigation        X           Unknown
  Andrews, Laquette                          5335 El Rio Street Apartment B                                          Riverside                     CA        92509                 Litigation        X           Unknown
  Andrus, Janice                             8417 Revenue Way                                                        North Richland Hills          TX        76182                 Litigation        X           Unknown
  Angerstein, Ben                            2622 Timber Lane                                                        Lake Charles                  LA        70605                 Litigation        X           Unknown
  Angle-Adams, Cheryl Lynn                   10320 Calimesa Boulevard Space 9                                        Calimesa                      CA        92320                 Litigation        X           Unknown
  Angrisanio, Robert                         320 Old Canaan Rd                                                       Spartanburg                   SC        29306                 Litigation        X           Unknown
  Angulo, Esmeralda                          24850 45th Avenue South, APt Q-101                                      Kent                          WA        98032                 Litigation        X           Unknown
  Angulo, Isaac                              440 SW 132nd Avenue                                                     Davie                         FL        33325                 Litigation        X           Unknown
  Anker, Beatrice                            15543 Royal Ridge Rd.                                                   Sherman Oaks                  CA        91403                 Litigation        X           Unknown
  Annette Sandoval                           308 Clintwood Ave                                                     0 La Puente                     CA        91744                 Litigation        X           Unknown
  Ansaldi, Chatelaine                        3712 South Meyler Street                                                San Pedro                     CA        90731                 Litigation        X           Unknown
  Ansley, Mary                               575 East State Street                                                   Trenton                       NJ        08609                 Litigation        X           Unknown
  Anthony, Albert                            PO BOX 552                                                              Boyce                         LA        71409                 Litigation        X           Unknown
  Anthony, Charles                           7340 S. Caballo Rd.                                                     Tucson                        AZ        85746                 Litigation        X           Unknown
  Antonio, Viginia                           20413 Via Navarra                                                       Yorba Linda                   CA        92886                 Litigation        X           Unknown
  Antwine, James                             125 Eliot St.                                                           Santa Paula                   CA        93060                 Litigation        X           Unknown
  Apfel, Dawn                                220 E Union St. Apt. 32                                                 Waupaca                       WI        54981                 Litigation        X           Unknown
  Apker, George                              910 S. Willow Ave.                                                      Rialto                        CA        92376                 Litigation        X           Unknown
  Apolista, Teddy                            4618 Nooksack Loop                                                      Mount Vernon                  WA        98273                 Litigation        X           Unknown
  Apperson, Ina                              2701 52nd Street Apt 101                                                Meridian                      MS        39305                 Litigation        X           Unknown
  Applegate, Joseph                          132 S. Sunset St                                                        Fort Collins                  CO        80521                 Litigation        X           Unknown
  Aquino, Jovita                             24702 Carmel Drive                                                      Carson                        CA        90745                 Litigation        X           Unknown
  Aquino, Kathleen                           24702 Carmel Drive                                                      Carson                        CA        90745                 Litigation        X           Unknown
  Aquino, Kristine                           24702 Carmel Drive                                                      Carson                        CA        90745                 Litigation        X           Unknown
  Aquino, Marlene                            19672 Saddlecrest Dr                                                    Walnut                        CA        91789                 Litigation        X           Unknown
  Aquino, Renato                             24702 Carmel Drive                                                      Carson                        CA        90745                 Litigation        X           Unknown
  Aranda, Alonzo                             529 W. Spears                                                           Hobbs                         NM        88240                 Litigation        X           Unknown
  Aranda, David                              625 E. W'hite                                                           Hobbs                         NM        88240                 Litigation        X           Unknown
  Araujo, Carlos                             28965 Pablo St.                                                         Nuevo                         CA        92567                 Litigation        X           Unknown
  Araya, Maria                               10410 W. 44th Avenue, Apt. 2B                                           Wheat Ridge                   CO        80033                 Litigation        X           Unknown
  Arbour, Frank                              P. O. Box 717                                                           Murphy                        OR      97533-0717              Litigation        X           Unknown
  Archambault, Jr., Alden                    PO Box #102                                                             McLaughlin                    SD        57642                 Litigation        X           Unknown
  Archer, David                              19596 Northridge Drive                                                  Northville                    MI        48167                 Litigation        X           Unknown
  Archer, Kathleen                           2517 Boston Blvd.                                                       Lansing                       MI        48910                 Litigation        X           Unknown
  Archuleta, Elvira                          4026 Villa Galeto                                                       Yorba Linda                   CA        92886                 Litigation        X           Unknown
  Areizaga, Victor M.                        1074 Lugo Lane                                                          Colton                        CA        92324                 Litigation        X           Unknown
  Arellana, Cassey                           1404 Carmen Ave                                                         Madera                        CA        93638                 Litigation        X           Unknown
  Arellana, Pedro Daughter                   505 Rush Street                                                         Bakersfield                   CA        93307                 Litigation        X           Unknown
  Arellano, Melania                          18818 2nd Street                                                        Bloomington                   CA        92316                 Litigation        X           Unknown
  Arellano, Pedro                            28760 Oregon Ave                                                        Madera                        CA        93638                 Litigation        X           Unknown
  Arenas, Elizabeth                          10812 E. 67th St.                                                       Raytown                       MO        64133                 Litigation        X           Unknown
  Arevalo, Dolores                           12609 Danbrook Dr                                                       Whittier                      CA        90602                 Litigation        X           Unknown
  Argento, Arnold                            1192 Hillock Crossing                                                   Virginia Beach                VA        23455                 Litigation        X           Unknown



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  Arias, Helen                               15314 S. Vermont Ave.                                                   Paramount                 CA      90723              Litigation        X           Unknown
  Arias, Josephine                           15316 Vermont Ave.                                                      Paramount                 CA      90723              Litigation        X           Unknown
  Arias-Patino, Carolyn                      P. O. Box 783                                                           Lakewood                  CA      90711              Litigation        X           Unknown
  Arizpe, Arthur                             24507 Island Avenue                                                     Carson                    CA      90745              Litigation        X           Unknown
  Arizpe, Blanca                             24507 Island Avenue                                                     Carson                    CA      90745              Litigation        X           Unknown
  Armendarez, Heather                        319 E. C Street                                                         Colton                    CA      92324              Litigation        X           Unknown
  Armendarez, Ruben Jack                     319 E. C Street                                                         Colton                    CA      92324              Litigation        X           Unknown
  Armijo, Ana                                6919 Femmer St.                                                         Alamosa                   CO      81101              Litigation        X           Unknown
  Armogida, Anne                             244 Coral Rose                                                          Irvine                    CA      92603              Litigation        X           Unknown
  Armstrong, Bobbie                          115 Pierson Street                                                      Vardaman                  MS      38878              Litigation        X           Unknown
  Armstrong, Diana                           1405 High Street                                                        Union City                TN      38261              Litigation        X           Unknown
  Armstrong, Dorcas                          3665 El Sereno Ave.                                                     Altadena                  CA      91001              Litigation        X           Unknown
  Armstrong, Earl                            642 Crocker Street, Apt. 307 D/B# 12-21-45                              Los Angeles               CA      90021              Litigation        X           Unknown
  Armstrong, Kathryn Sherrill                3228 Woodthrush Lane                                                    Denton                    TX      76209              Litigation        X           Unknown
  Armstrong, Marian                          1553 W. 49th Street                                                     Los Angeles               CA      90062              Litigation        X           Unknown
  Armstrong, Wyatta                          8615 E. 108th Terrace                                                   Kansas City               MO      64134              Litigation        X           Unknown
  Arnado, Alfred                             24739 Ravenna Avenue                                                    Carson                    CA      90745              Litigation        X           Unknown
  Arnado, Angelina                           24739 Ravenna Avenue                                                    Carson                    CA      90745              Litigation        X           Unknown
  Arnado, Danilo                             6211 Grey Oaks Dr.                                                      Taylor Mill               KY      41015              Litigation        X           Unknown
  Arnado, Edmund                             24739 Ravenna Avenue                                                    Carson                    CA      90745              Litigation        X           Unknown
  Arnado, Edward                             5141 Olga Avenue                                                        Cypress                   CA      90630              Litigation        X           Unknown
  Arnado, Michael                            24739 Ravenna Avenue                                                    Carson                    CA      90745              Litigation        X           Unknown
  Arndt, Franklin                            253 Monroe St.                                                          Westfield                 WI      53964              Litigation        X           Unknown
  Arnold, Charles                            P.O. Box 19472                                                          Oklahoma City             OK      73144              Litigation        X           Unknown
  Arnold, Elizabeth                          PO Box 363                                                              Walker                    LA      70785              Litigation        X           Unknown
  Arnold, Frank                              510 North Red Bud Trail                                                 Buchanan                  MI      49107              Litigation        X           Unknown
  Arnold, Gloria                             15002 Sun Harbor Drive                                                  Houston                   TX      77062              Litigation        X           Unknown
  Arnold, Sandy B.                           Post Office Box 1797                                                    Hemet                     CA      92546              Litigation        X           Unknown
  Arora, Rishi                               4860 Quarton Rd                                                         Bloomfield Hills          MI      48302              Litigation        X           Unknown
  Arquette, Anna                             24619 Ravenna Avenue                                                    Carson                    CA      90745              Litigation        X           Unknown
  Arquette, Brianna                          24619 Ravenna Avenue                                                    Carson                    CA      90745              Litigation        X           Unknown
  Arquette, Debbie                           24619 Ravenna Avenue                                                    Carson                    CA      90745              Litigation        X           Unknown
  Arquette, Frank                            24619 Ravenna Avenue                                                    Carson                    CA      90745              Litigation        X           Unknown
  Arredondo, Alejandra                       24406 Neptune Avenue                                                    Carson                    CA      90745              Litigation        X           Unknown
  Arredondo, Sergio                          24406 Neptune Avenue                                                    Carson                    CA      90745              Litigation        X           Unknown
  Arrellin, Jr., Ronald                      208 W 1350 South                                                        Pima                      AZ      85543              Litigation        X           Unknown
  Arreola, Edgar Salvador                    12026 Pepper Street                                                     Bloomington               CA      92316              Litigation        X           Unknown
  Arreola, Elisa                             12026 Pepper Street                                                     Bloomington               CA      92316              Litigation        X           Unknown
  Arrington, Christy                         RTS -3339 E. Hononegh Dr.                                               Phoenix                   AZ      85050              Litigation        X           Unknown
  Arrizon, Ruby                              24531 Broad Avenue                                                      Wilmington                CA      90744              Litigation        X           Unknown
  Arroyo, Fidel                              3178 Florine Dr.                                                        Lemon Grove               CA      91945              Litigation        X           Unknown
  Arroyo, Pete                               8524 Wilbur Avenue                                                      Northridge                CA      91324              Litigation        X           Unknown
  Arteaga, Rosa                              1302 EAST ST LOT 32                                                     Emporia                   KS      66801              Litigation        X           Unknown
  Arteaga, Yvonne Marie                      26262 Shetland Ln                                                       Moreno Valley             CA      92555              Litigation        X           Unknown
  Arthur Campbell                            25912 Bryant Place                                                    0 Stevenson Ranch           CA      91381              Litigation        X           Unknown
  Artis, Jannie                              224 N. Culver Street                                                    Baltimore                 MD      21229              Litigation        X           Unknown
  Artley, Harriette                          2210 Packard Place                                                      North Las Vegas           NV      89030              Litigation        X           Unknown
  Artman, Cecelia and Elmer                  58 Karen Dr.                                                            Tonawanda                 NY      14150              Litigation        X           Unknown
  Arvizu, Guillermo                          1137 E 14th Street                                                      Douglas                   AZ      85607              Litigation        X           Unknown
  Arvizu, Manuel                             1457 N. Neptune Avenue                                                  Wilmington                CA      90744              Litigation        X           Unknown



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  Arvizu, Rosie                                             1457 N. Neptune Avenue                                               Wilmington              CA      90744              Litigation        X           Unknown
  Arwood, John                                              PO Box 2381                                                          Cleveland               GA      30528              Litigation        X           Unknown
  Arzoumanov, Boris                                         12615 Bradford Place                                                 Granada Hills           CA      91344              Litigation        X           Unknown
  Asbery, David                                             9541 Harrodsburg Rd.                                                 Wilmore                 KY      40390              Litigation        X           Unknown
  Ascencio, jose Luis                                       11829 Madistone AVe                                                  Norwalk                 CA      90650              Litigation        X           Unknown
  Ashcraft, Loy                                             5516 Purdue Street                                                   River Oaks              TX      76114              Litigation        X           Unknown
  Ashford, Alfred                                           248 Mountain Road                                                    Plymouth                PA      18651              Litigation        X           Unknown
  Ashkar, Brenda                                            28252 Spring Valley Ranch Road                                       Coarsegold              CA      93614              Litigation        X           Unknown
  Ashkar, Steven                                            32144 Tall Oak Court                                                 Temecula                CA      92592              Litigation        X           Unknown
  Ashkarkhizani, Mostafa                                    217 E. 34th Street                                                   Tulsa                   OK      74105              Litigation        X           Unknown
  Ashley, Eloise                                            3611 Ranch Rd, Apt 23-1                                              Columbia                SC      29206              Litigation        X           Unknown
  Ashton, Collete                                           9852 Bellaton Ave                                                    Daphne                  AL      36526              Litigation        X           Unknown
  Ashworth, Leslie                                          8121 Holley Ave.                                                     Hamlin                  WV      25523              Litigation        X           Unknown
  Assiff, Barbara                                           4 Sarah Bishop Road                                                  Ridgefield              CT      06877              Litigation        X           Unknown
  Atherton, James                                           417 Maynard, #31                                                     Charlotte               MI      48813              Litigation        X           Unknown
  Atkins, Ernestine                                         802 Joe Yenni Blvd. Apt. #21                                         Kenner                  LA      70065              Litigation        X           Unknown
  Atkinson, Rose                                            30 James Ave.                                                        Tonawanda               NY      14150              Litigation        X           Unknown
  Atuatasi, Maleta                                          2736 E. Jackson Street                                               Carson                  CA      90810              Litigation        X           Unknown
  Atuatasi, Melanie                                         23318 Sesame St.- Unit A                                             Torrance                CA      90502              Litigation        X           Unknown
  Atwood-Alvarez, Yvonne                                    620 Scott St. Apt. 4                                                 Monterey                CA      93940              Litigation        X           Unknown
  Aubel, Jerome Warren On behalf of Joseph Aubel            4260 Templeton                                                       Warren                  OH      44481              Litigation        X           Unknown
  Audet, James                                              742 Melissa Couirt                                                   Barstow                 CA      92311              Litigation        X           Unknown
  Augustine, Luella                                         1612 27th Terrace                                                    Hays                    KS      67601              Litigation        X           Unknown
  Ausburn, Donald                                           PO Box 2183                                                          East Brewton            AL      36427              Litigation        X           Unknown
  Austin, Glenda                                            1648 SW 158th Avenue                                                 Pembroke Pines          FL      33027              Litigation        X           Unknown
  Austin, Jerry                                             17513 S. Keene Ave.                                                  Carson                  CA      90746              Litigation        X           Unknown
  Austin, Sandra                                            13241 Pembroke Street                                                Detroit                 MI      48235              Litigation        X           Unknown
  Austin, Sandra                                            3100 Flagstone Lane, Apt 201                                         Indian Trail            NC      28079              Litigation        X           Unknown
  Avalos, Alejandro                                         2717 S Christiana Ave                                                Chicago                 IL      60623              Litigation        X           Unknown
  Avalos, Luz Elena                                         2505 Hancock Street- Apt. 212                                        Los Angeles             CA      90031              Litigation        X           Unknown
  Avery, Linda                                              16818 W Coronado Road                                                Goodyear                AZ      85395              Litigation        X           Unknown
  Avi, Virginia                                             18826 Dukas Street                                                   Northridge              CA      91326              Litigation        X           Unknown
  Avila, Cynthia May                                        11009 Villa Street                                                   Adelanto                CA      92301              Litigation        X           Unknown
  Avila, Marisol                                            454 Devonshire GLN.                                                  Escondido               CA      92027              Litigation        X           Unknown
  Avila, Nelia                                              24603 Ravenna Avenue                                                 Carson                  CA      90745              Litigation        X           Unknown
  Avila, Renato                                             24603 Ravenna Avenue                                                 Carson                  CA      90745              Litigation        X           Unknown
  Avila, Thania                                             13940 Paramount Blvd. #105                                           Paramount               CA      90723              Litigation        X           Unknown
  Aviles, Mark                                              11472 Laurel Canyon Blvd.                                            San Fernando            CA      91340              Litigation        X           Unknown
  Avitia, Manuel                                            1340 Lodgewood Way                                                   Oxnard                  CA      93030              Litigation        X           Unknown
  Awuletey, Freda                                           2828 Jackson St., Condo L3                                           Fort Myers              FL      33901              Litigation        X           Unknown
  Ayala, Israel                                             16575 Selby Drive                                                    San Leandro             CA      94578              Litigation        X           Unknown
  Ayala, Juan                                               1 East 67th Street Unit 2                                            Savannah                GA      31405              Litigation        X           Unknown
  Ayala, Margaret                                           4148 Monogram Ave.                                                   Lakewood                CA      90713              Litigation        X           Unknown
  Ayala, Nanette                                            12434 N. Fryant Road                                                 Fresno                  CA      93790              Litigation        X           Unknown
  Ayala, Richard                                            5323 Tyler Street                                                    Riverside               CA      92503              Litigation        X           Unknown
  Ayers - Steburg, Vicki                                    10961 Desert Lawn Drive- Spc. 179                                    Calimesa                CA      92320              Litigation        X           Unknown
  Ayers, Hilbert                                            1284 C. R. 251                                                       Stephenville            TX      76401              Litigation        X           Unknown
  Ayers, Linda                                              24733 Ravenna Avenue                                                 Carson                  CA      90745              Litigation        X           Unknown
  Ayers, Stacy                                              629 Spring Creek Road                                                Bellefonte              PA      16823              Litigation        X           Unknown
  Ayrhart, Nancy                                            3904 West Jefferson Drive                                            Trenton                 MI      48183              Litigation        X           Unknown



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  Azbill, Jennie                                 8353 Big Oak Drive                                                    Citrus Heights            CA        95610                 Litigation        X           Unknown
  Azzato, Joseph Tomas                           905 West Lacadena Space 11                                            Riverside                 CA        92501                 Litigation        X           Unknown
  Babbitt, Denise                                44111 Countryside Dr.                                                 Lancaster                 CA        93536                 Litigation        X           Unknown
  Babbs, Marshall                                PO Box 85                                                             Hillside                  NJ        07205                 Litigation        X           Unknown
  Babikian, Martha                               P.O. Box 70497                                                        Riverside                 CA        92513                 Litigation        X           Unknown
  Babineaux, DeLores A.                          2219 Plaster Road, #A                                                 N.E. Atlanta              GA        30345                 Litigation        X           Unknown
  Babineaux, Wilbert                             11673 Kismet Ave.                                                     Lakeview Terrace          CA        91342                 Litigation        X           Unknown
  Baca, Rebecca                                  263 Crown Point Drive                                                 El Paso                   TX        79912                 Litigation        X           Unknown
  Bacchus, Blane                                 17807 Harbour Bridge Point Dr.                                        Cypress                   TX        77429                 Litigation        X           Unknown
  Baccous, Flora                                 800 Bluff Street                                                      Marion                    SC        29571                 Litigation        X           Unknown
  Bada, Joven                                    17627 Frondoso Drive                                                  San Diego                 CA        92128                 Litigation        X           Unknown
  Badillo, Edwin                                 PO Box 4292                                                           Auadilla                  PR        00605                 Litigation        X           Unknown
  Baemayr, Hans                                  P.O. Box 1023                                                         Blue Jay                  CA        92317                 Litigation        X           Unknown
  Baemayr, Leticia                               P.O. Box 1023                                                         Blue Jay                  CA        92317                 Litigation        X           Unknown
  Baeza, Billy Clay                              1211 San Andres                                                       Hobbs                     NM        88240                 Litigation        X           Unknown
  Baeza, Carlos                                  1503 Tasker                                                           Hobbs                     NM        88240                 Litigation        X           Unknown
  Baeza, Clarissa                                5400 Live Oak, #201                                                   Dallas                    TX        75206                 Litigation        X           Unknown
  Baeza, Linda                                   903 Turkey Creek Ct                                                   Bridgeport                TX        76426                 Litigation        X           Unknown
  Baeza, Robert                                  4635 Main Avenue                                                      Groves                    TX        77619                 Litigation        X           Unknown
  Bafkerville, Teresa                            823 Evesham Ave                                                       Baltimore                 MD        21212                 Litigation        X           Unknown
  Baghdasaryan, Mushegh                          13152 N 82nd Ln                                                       Peoria                    AZ      85381-4972              Litigation        X           Unknown
  Baghramyan, Vanik                              111 N. Chapel, Apt. 101                                               Alhambra                  CA        91801                 Litigation        X           Unknown
  Bagley, Robert                                 P. O. Box 15                                                          Sparr                     FL        32192                 Litigation        X           Unknown
  Bagwell, James Dean                            P.O. Box 503                                                          Keno                      OR        97627                 Litigation        X           Unknown
  Bahas, Linda                                   855 S. Hametown Rd.                                                   Copley                    OH        44321                 Litigation        X           Unknown
  Baiardi, Massimo                               374 Cator Avenue                                                      Jersey City               NJ        07305                 Litigation        X           Unknown
  Bailey, Allen Charles                          22322 Bryman Road                                                     Oro Grande                CA        92368                 Litigation        X           Unknown
  Bailey, Annie                                  407 Country Club Drive                                                Kankakee                   IL       60901                 Litigation        X           Unknown
  Bailey, Austin                                 786 Accomack Cove                                                     South Haven               MS        38671                 Litigation        X           Unknown
  Bailey, Carolyn                                2341 Jonquil Way                                                      Redding                   CA        96002                 Litigation        X           Unknown
  Bailey, Charles Odean                          22322 Bryman Road                                                     Oro Grande                CA        92368                 Litigation        X           Unknown
  Bailey, Clarence                               3870 Westside Avenue                                                  Los Angeles               CA        90008                 Litigation        X           Unknown
  Bailey, David                                  27 Orchard Street                                                     Selkirk                   NY        12158                 Litigation        X           Unknown
  Bailey, Gloria                                 155 S. Maple Ave Apt C-7                                              Le Center                 MN        56057                 Litigation        X           Unknown
  Bailey, Janet                                  2821 SW 37th Place #65N                                               Gainesville               FL        32608                 Litigation        X           Unknown
  Bailey, Joseph M.                              22322 BRYMAN RD                                                       ORO GRANDE                CA      92368-9638              Litigation        X           Unknown
  Bailey, Larry                                  6476 Rathke Drive                                                     Riverside                 CA        92509                 Litigation        X           Unknown
  Bailey, Linda                                  218 Carl Perkins Dr, Apt 5 - J                                        Ashland                   KY        41101                 Litigation        X           Unknown
  Bailey, Marcella                               434 Colton Road                                                       Columbus                  OH        43207                 Litigation        X           Unknown
  Bain, Teresa                                   531 W Washington St.                                                  Sabina                    OH      45169-1045              Litigation        X           Unknown
  Baird, Bonnie                     0            1286 W. 4th Street                                                  0 Tahlequah                 MD        74464                 Litigation        X           Unknown
  Baird, Edward                                  P.O. Box 883                                                          Arnold                    CA        95223                 Litigation        X           Unknown
  Baker, Brian Keith                             15940 Stoddard Wells Road- 49                                         Victorville               CA        92395                 Litigation        X           Unknown
  Baker, Carl G.                                 General Delivery                                                      Barstow                   CA        92312                 Litigation        X           Unknown
  Baker, Elmer "Gene"                            5805 Nashville Avenue                                                 Pensacola                 FL      32526-1839              Litigation        X           Unknown
  Baker, Estella                                 15940 Stoddard Wells Rd. Spc. 49                                      Victorville               CA        92395                 Litigation        X           Unknown
  Baker, Peggy                                   1833 N. San Gorgonio Ave.                                             Banning                   CA        92220                 Litigation        X           Unknown
  Baker, Robert & Olga                           5341 Alhama Dr, #2                                                    Woodand Hills             CA        91364                 Litigation        X           Unknown
  Baker, Stephen                                 6052 Fremont Circle                                                   Camarillo                 CA        93012                 Litigation        X           Unknown
  Baker, Wyatt                                   242 North 8th Street                                                  Banning                   CA        92220                 Litigation        X           Unknown



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  Baker-Jenkins, Tureka Nakia                General Delivery                                                     Barstow                   CA        92312                Litigation        X           Unknown
  Baker-Reed, Annie                          726 N Marble Dr.                                                     Tuskegee                  AL        36083                Litigation        X           Unknown
  Balagot                                    1012 Sycamore Drive                                                  Millbrae                  CA        94030                Litigation        X           Unknown
  Balayan, Akop                              2029 Verdugo Avenue #310                                             Montrose                  CA        91020                Litigation        X           Unknown
  Balderas, Jessica                          24432 Island Avenue                                                  Carson                    CA        90745                Litigation        X           Unknown
  Balderas, Juan                             24432 Island Avenue                                                  Carson                    CA        90745                Litigation        X           Unknown
  Balderas, Martha                           24432 Island Avenue                                                  Carson                    CA        90745                Litigation        X           Unknown
  Baldridge, Ella                            1013 Stella Dr., Apt. 5G                                             Ashland                   KY        41102                Litigation        X           Unknown
  Baldwin, Charles                           432 Providence Church Road                                           Waco                      GA        30182                Litigation        X           Unknown
  Baldwin, John Allen                        6011 San Joaquin                                                     Hobbs                     NM        88242                Litigation        X           Unknown
  Baldwin, Lester                            721 Saddlebrook                                                      Desoto                    TX        75115                Litigation        X           Unknown
  Baldwin, Linda                             6513 Robinson Creek Road                                             Robinson Creek            KY        41560                Litigation        X           Unknown
  Baldwin, Robert                            325 Berea Forest Circle                                              Greenville                SC        29617                Litigation        X           Unknown
  Ball, Alan                                 33 Coteville Road                                                    Londonderry               NH        03053                Litigation        X           Unknown
  Ball, Jeanette                             2875 Garnet Way                                                      College Park              GA      30349-840              Litigation        X           Unknown
  Ball, Roselyn                              11912 Sherree Lane                                                   Princess Anne             MD        21853                Litigation        X           Unknown
  Ballard, John                              PO Box 372                                                           Honea Path                SC        29654                Litigation        X           Unknown
  Ballhagen, Patricia                        822 Memory Lane                                                      Tylertown                 MS        39667                Litigation        X           Unknown
  Ballou, Jon Dexter                         RTS - 3520 Pioneer Drive                                             Riverside                 CA        92509                Litigation        X           Unknown
  Balmaseda, Beatriz                         22195 Treeridge Ln.                                                  Lake Forest               CA        92630                Litigation        X           Unknown
  Balmaseda, Isabelo                         22195 Treeridge Ln                                                   Lake Forest               CA        92630                Litigation        X           Unknown
  Baloshian, Angela                          937 North Orcutt Drive                                               Montebello                CA        90640                Litigation        X           Unknown
  Baltrip, Joe                               20718 Towne Vue Court                                                Humble                    TX        77338                Litigation        X           Unknown
  Balverde, Emerita                          212 Iris Dr.                                                         Salinas                   CA        93906                Litigation        X           Unknown
  Ban, Michael                               PO Box 260433                                                        Martin City               MT        59926                Litigation        X           Unknown
  Banchiere, Sherrie                         71 Peter Road                                                        Plymouth                  MA        02360                Litigation        X           Unknown
  Banda, Linda                               460 E 246th Place                                                    Carson                    CA        90745                Litigation        X           Unknown
  Banko, Gregory                             8636 Bridge Street                                                   N Richland Hills          TX        76180                Litigation        X           Unknown
  Banks II, Nathan                           3078 Mary Ellen Drive                                                Riverside                 CA        92509                Litigation        X           Unknown
  Banks, Anthony                             11700 Luna Rd. #5202                                                 Farmers Branch            TX        75234                Litigation        X           Unknown
  Banks, Bernadette                          11547 7th Avenue                                                     Hesperia                  CA        92345                Litigation        X           Unknown
  Banks, Emma                                2817 Hazen Ave.                                                      Kansas City               KS        66106                Litigation        X           Unknown
  Banks, Jack                                5455 N Dayton Lakeview Road                                          New Carlisle              OH        45344                Litigation        X           Unknown
  Banks, Mary                                339 Winthrop Street, Apartment #2                                    Toledo                    OH        43620                Litigation        X           Unknown
  Banks, Natara                              3078 Mary Ellen Drive                                                Riverside                 CA        92509                Litigation        X           Unknown
  Banks, Sue                                 PO Box 212                                                           Whitesburg                KY        41858                Litigation        X           Unknown
  Banks, Willena                             3078 Mary Ellen Drive                                                Riverside                 CA        92509                Litigation        X           Unknown
  Banks, William                             1533 Lone Oaks Court, Apt. 104                                       Virginia Beach            VA        23454                Litigation        X           Unknown
  Bannan, Michael                            2949 McCrary Road                                                    Richmond                  TX        77406                Litigation        X           Unknown
  Banuelos, Alejandro                        10891 Olive Street                                                   Bloomington               CA        92316                Litigation        X           Unknown
  Banuelos, Beatriz                          10891 Olive Street                                                   Bloomington               CA        92316                Litigation        X           Unknown
  Banuelos, Danielle                         1036 Chandler Street                                                 Wilmington                CA        90744                Litigation        X           Unknown
  Banuelos, David                            16013 White Mountain Place                                           Victorville               CA        92394                Litigation        X           Unknown
  Banuelos, Gabriela                         16013 White Mountain Place                                           Victorville               CA        92394                Litigation        X           Unknown
  Banuelos, Mark                             1036 Chandler Street                                                 Wilmington                CA        90744                Litigation        X           Unknown
  Banuelos, Mary Ann                         1036 Chandler Street                                                 Wilmington                CA        90744                Litigation        X           Unknown
  Banuelos, Richard                          1036 Chandler Street                                                 Wilmington                CA        90744                Litigation        X           Unknown
  Banuelos, Steven                           10891 Olive Street                                                   Bloomington               CA        92316                Litigation        X           Unknown
  Banuelos-Mendoza, Jenny                    12616 Stillman St.                                                   Lakewood                  CA        90715                Litigation        X           Unknown
  Baptist, Mamie                             218 Bleechwood St.                                                   Slidell                   LA        70460                Litigation        X           Unknown



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  Baptista, Jared                            30 Lakeview dr.                                                  Narragansett             RI      02882              Litigation        X           Unknown
  Bara, Juanita                              2010 Greenwood St.                                               San Angelo               TX      76901              Litigation        X           Unknown
  Baranyi and family, Theresa                568 East River Rd.                                               Grand Island             NY      14072              Litigation        X           Unknown
  Baranyi, Andrew                            2490 East River Rd.                                              Grand Island             NY      14072              Litigation        X           Unknown
  Barash, Jerry                              5187 NW 168th Place                                              Portland                 OR      97229              Litigation        X           Unknown
  Barbee, Maria                              1204 Scripps Ct SW                                               Marietta                 GA      30008              Litigation        X           Unknown
  Barbee, Otha                               3250 Hoffmeyer Road                                              Florence                 SC      29501              Litigation        X           Unknown
  Barbee, Peter                              5949 Allwood Street                                              Riverside                CA      92509              Litigation        X           Unknown
  Barber, Kurt                               4003 Dover Court                                                 Louisville               KY      40216              Litigation        X           Unknown
  Barcenas De Small, Aurora                  1902 Blue Water Bay Drive                                        Katy                     TX      77494              Litigation        X           Unknown
  Bardales, Christopher                      8438 2nd St.                                                     Paramount                CA      90723              Litigation        X           Unknown
  Bardales, George                           8438 2nd St.                                                     Paramount                CA      90723              Litigation        X           Unknown
  Bardales, Justine                          2733 E. Mariquita, Apt. 102                                      Long Beach               CA      90803              Litigation        X           Unknown
  Bareis, Frederick                          2400 Main Street                                                 Holt                     MI      48842              Litigation        X           Unknown
  Barela, Ida                                10107 Palo Alto Drive                                            Little Rock              AR      72209              Litigation        X           Unknown
  Barfield, Earlene                          4403 N 54th Street                                               Milwaukee                WI      53218              Litigation        X           Unknown
  Barham, Lowell                             1511 Blue Lake Drive                                             Lakeland                 FL      33801              Litigation        X           Unknown
  Barker, Kathleen                           4407 E Epler Ave.                                                Indianapolis             IN      46237              Litigation        X           Unknown
  Barnes Sr., John                           17200 Drexel Ave.                                                South Holland            IL      60473              Litigation        X           Unknown
  Barnes, Billie                             7117 Nebraska St.                                                Panama City              FL      32404              Litigation        X           Unknown
  Barnes, Danny                              142 E. 88th Pl., #3                                              Los Angeles              CA      90003              Litigation        X           Unknown
  Barnes, George "Mike"                      801 Stanley Barnes Rd                                            Pendleton                NC      27862              Litigation        X           Unknown
  Barnes, Lawrence                           11320 Emerald Shore Drive                                        Riverview                FL      33579              Litigation        X           Unknown
  Barnes, Mary                               P.O. BOX 3546                                                    Saginaw                  MI      48601              Litigation        X           Unknown
  Barnes, Renee                              4181 N. E Street- Apt. 20                                        San Bernardino           CA      92407              Litigation        X           Unknown
  Barnes, Teresa                             5906 Balsam Drive                                                Fort Pierce              FL      24982              Litigation        X           Unknown
  Barnes-Buttrum, Jacquelyn                  1655 Deporres Drive                                              Columbus                 OH      43219              Litigation        X           Unknown
  Barnett, Jean                              24802 Fries Avenue                                               Carson                   CA      90745              Litigation        X           Unknown
  Barnett, Joseph                            305 Garfield Drive                                               Monroe                   LA      71203              Litigation        X           Unknown
  Barnett, Jr., James                        800 County Road 475                                              Thrall                   TX      76578              Litigation        X           Unknown
  Barnett, Onis                              4357 Hwy 7 South                                                 Blackey                  KY      41804              Litigation        X           Unknown
  Barnett, Patricia                          732 214th Street SW                                              Lynnwood                 WA      98036              Litigation        X           Unknown
  Barnette, Sheena                           211 Hud Loop Extension                                           Colfax                   LA      71417              Litigation        X           Unknown
  Baro, Pamela                               1546 Davis Street                                                Memphis                  TN      38108              Litigation        X           Unknown
  Baron, Jerry                               7544 San Miguel Way                                              Naples                   FL      34109              Litigation        X           Unknown
  Baron, Ruth                                48 Castle View Drive                                             Gloucester               ME      01930              Litigation        X           Unknown
  Barona, Carlos                             345 E 249th Street                                               Carson                   CA      90745              Litigation        X           Unknown
  Barona, Charles                            345 E 249th Street                                               Carson                   CA      90745              Litigation        X           Unknown
  Barona, Marvin                             345 E 249th Street                                               Carson                   CA      90745              Litigation        X           Unknown
  Barraza, Ruben                             949 East Ivy Glen Street                                         Mesa                     AZ      85203              Litigation        X           Unknown
  Barrera, Jr., Fernando                     1522 Tasker                                                      Hobbs                    NM      88240              Litigation        X           Unknown
  Barrera, Juan Carlos                       40412 Melrose Avenue                                             Hemet                    CA      92544              Litigation        X           Unknown
  Barrera, Sanjuana                          410 W Mesquite Dr.                                               Hobbs                    NM      88240              Litigation        X           Unknown
  Barreto, Jason                             807 S. Roanne Street                                             Anaheim                  CA      92804              Litigation        X           Unknown
  Barrett, Diana                             818 Reddick St.                                                  Mishawaka                IN      46544              Litigation        X           Unknown
  Barrett, James                             1063 Judge Purser Hill Road                                      McMinnville              TN      37110              Litigation        X           Unknown
  Barrette, Ernest                           60 Taft Street                                                   Danielson                CT      06239              Litigation        X           Unknown
  Barrette, Heidi                            11 Via Lampara                                                   Rancho Santa Margarita   CA      92688              Litigation        X           Unknown
  Barrientes, Mary                           813 E. Juanita Street                                            San Diego                TX      78384              Litigation        X           Unknown
  Barrientos, David A.                       6826 Woodmere Drive                                              Riverside                CA      92509              Litigation        X           Unknown



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  Barrientos, Letisha Marie                          5350 Paloma Road                                                         Riverside                 CA        92509                 Litigation        X           Unknown
  Barrientos, Yaneth                                 5385 Bell Ave                                                            Riverside                 CA        92509                 Litigation        X           Unknown
  Barrios, Julie A.                                  12220 5th St. Spc. 117                                                   Yucaipa                   CA      92399-2405              Litigation        X           Unknown
  Barros, Norma                                      17071 Chatsworth St.- Apt. #9                                            Granada Hills             CA        91344                 Litigation        X           Unknown
  Barrozo, Bruno Barboza                             5667 Bella Drive                                                         Riverside                 CA        92509                 Litigation        X           Unknown
  Barrozo, Rosaura G.                                5667 Bella Drive                                                         Riverside                 CA        92509                 Litigation        X           Unknown
  Bartholomew, Edwin                                 150 Winchester Way                                                       Green Bay                 WA        54302                 Litigation        X           Unknown
  Bartlebaugh, Sr., Douglas                          19655 SW 65th Avenue, Apt. 55                                            Tualatin                  OR        97062                 Litigation        X           Unknown
  Bartlett, Bruce                                    660 Frontage Road                                                        Gardinerville             NV        89410                 Litigation        X           Unknown
  Bartlett, Etta                                     RTS - 700 S. Silver Ridge St.- Space 11                                  Ridgecrest                CA        93555                 Litigation        X           Unknown
  Bartley, Alice                                     829 Indiana Rd.                                                          Verona                    PA        15147                 Litigation        X           Unknown
  Bartolome, Ana                                     24402 Ravenna Avenue                                                     Carson                    CA        90745                 Litigation        X           Unknown
  Barton, Janice                                     P.O. Box 2061                                                            Splendora                 TX        77372                 Litigation        X           Unknown
  Barton, Louis                                      1190 West Buttonbush Drive                                               Beverly Hills             FL        34465                 Litigation        X           Unknown
  Barwick, John                                      P.O. Box 1, 480 N.W. 7th Street                                          Cedaredge                 CO        81413                 Litigation        X           Unknown
  Basco-Wooldridge, Rodilyn                          24726 Carmel Drive                                                       Carson                    CA        90745                 Litigation        X           Unknown
  Basgall, Gary                                      1518 Princess Jeanne                                                     Hobbs                     NM        88240                 Litigation        X           Unknown
  Baskaran, Sunitha & Nazzel, Raymond                1994 Marcasite Pl                                                        Carlsbad                  CA        92009                 Litigation        X           Unknown
  Bason Jr., Robert                                  2301 E. Market St.- Apt. 99                                              Long Beach                CA        90805                 Litigation        X           Unknown
  Bason, Britny                                      2681 South Decatur Blvd.- #1150                                          Las Vegas                 NV        89102                 Litigation        X           Unknown
  Bason, Tony                                        6153 Casa Antigua                                                        North Las Vegas           NV        89081                 Litigation        X           Unknown
  Bass, Barbara                                      1974 Main Street                                                         Harrison                  GA        31035                 Litigation        X           Unknown
  Bass, Charlotte                                    1815 W. Highland Avenue                                                  Albany                    GA        31707                 Litigation        X           Unknown
  Bassett, Margaret                                  1559 Forest Glen Dr                                                      Rock Hill                 SC        29732                 Litigation        X           Unknown
  Bassler Sr., Stephen                               626 Samuel Drive                                                         Madison                   WI        53717                 Litigation        X           Unknown
  Basura, Edward                                     873 Greens Creek Rd.                                                     Grants Pass               OR        97527                 Litigation        X           Unknown
  Batchelder, Malcolm                                11 Virginia Road                                                         Oakdale                   CT        06370                 Litigation        X           Unknown
  Bateast, Mary                                      481 Cypress Lane #B-113                                                  Greenville                MS        38701                 Litigation        X           Unknown
  Bates, Cynthia                                     11360 Azalea Dr.                                                         Pittsburgh                PA        15235                 Litigation        X           Unknown
  Bates, James                                       7412 Orchardhill Drive                                                   Richmond                  VA        23234                 Litigation        X           Unknown
  Bates, Jerry Grant                                 3361 Paiute Road                                                         Pahrump                   NV        89061                 Litigation        X           Unknown
  Bates, John                                        509 North Elm St.                                                        St. Joseph                IL        61873                 Litigation        X           Unknown
  Bates, Larry                                       4255 Merlot Ct.                                                          San Jose                  CA        95135                 Litigation        X           Unknown
  Bates, Michael                                     13522 N. Silver Cassia Place                                             Oro Valley                AZ        85755                 Litigation        X           Unknown
  Bates, Tonya                                       2620 SW 57th Street                                                      Oklahoma City             OK        73119                 Litigation        X           Unknown
  Batey, Howard                                      12151 Fremont Street Space 85                                            Yucaipa                   CA        92399                 Litigation        X           Unknown
  Batey, Sandra Jean                                 12151 Fremont Street Space 85                                            Yucaipa                   CA        92399                 Litigation        X           Unknown
  Batista, Juana                                     2121 River Reach Dr. Apt. 471                                            Maples                    FL        34104                 Litigation        X           Unknown
  Batiste, Debra                                     40259 Archie Wallice Road                                                Franklinton               LA        70438                 Litigation        X           Unknown
  Bauer, Jewel                                       1869 Meridian Rd                                                         Victor                    MT      59875-9658              Litigation        X           Unknown
  Bauer, Vikki                                       8841 Selma Road                                                          South Charleston          OH        45368                 Litigation        X           Unknown
  Baum, Katherine                                    1014 SW Second Street                                                    Andrews                   TX        79714                 Litigation        X           Unknown
  Baumann, Johnnie                                   2394 Lariat Cir                                                          Cottonwood                AZ        86326                 Litigation        X           Unknown
  Baumann, Nancy                        0            8884 N Miami RDG                                                       0 Columbus                  IN      47201-4673              Litigation        X           Unknown
  Baumgardner, Wayne                                 9358 Wayneboro Pike                                                      Emmitsburg                MD        21727                 Litigation        X           Unknown
  Baumgardt, II, John                                1270 Ashwood Court                                                       Lancaster                 OH        43130                 Litigation        X           Unknown
  Bautista, Bianca                                   24513 Ravenna Avenue                                                     Carson                    CA        90745                 Litigation        X           Unknown
  Bautista, Christopher                              2210 Gates Ave- Apt. 3                                                   Redondo Beach             CA        90278                 Litigation        X           Unknown
  Bautista, David                                    1411 Brett Place # G-201                                                 San Pedro                 CA        90732                 Litigation        X           Unknown
  Bautista, Jaime                                    24513 Ravenna Avenue                                                     Carson                    CA        90745                 Litigation        X           Unknown



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  Bautista, Marilyn                          24513 Ravenna Avenue                                                 Carson                    CA        90745                 Litigation        X           Unknown
  Bautista, Victor                           1411 Brett Place # G-201                                             San Pedro                 CA        90732                 Litigation        X           Unknown
  Baxley, Walter                             P.0. Box 8951                                                        Gray                      TN        37615                 Litigation        X           Unknown
  Baxter, H.C.                               23452 Stewart Loop                                                   Spiro                     OK        74959                 Litigation        X           Unknown
  Baylis, Hurriah                            1879 Illinois Avenue                                                 Riverside                 CA        92507                 Litigation        X           Unknown
  Bayne, Stephanie                           1082 E. Irwin Place                                                  Tucson                    AZ        85719                 Litigation        X           Unknown
  Beach, Kimberly                            207 Damons Lane                                                      Darby                     PA        19023                 Litigation        X           Unknown
  Beach, Roger                               901 A Vandalia St.                                                   Crawfordsville            IN        47933                 Litigation        X           Unknown
  Beach, Ronald                              9 Kyle Drive                                                         Mansfield                 TX        76063                 Litigation        X           Unknown
  Beachley, Laura                            103 N York Rd                                                        Dillsburg                 PA        17019                 Litigation        X           Unknown
  Beair, Royal                               314 North Albert Ave Space 116                                       Exeter                    CA        93221                 Litigation        X           Unknown
  Beal, Bobby                                613 South D. Street                                                  Imperial                  CA        92251                 Litigation        X           Unknown
  Beal, Micah                                1405 West 18th Street Building 2M                                    La Porte                  IN        46350                 Litigation        X           Unknown
  Beals, Debra                               243 Wainwright St.                                                   Newark                    NJ        07112                 Litigation        X           Unknown
  Beamon, David                              5221 26th Street                                                     Riverside                 CA        92509                 Litigation        X           Unknown
  Beamon, Fawn                               5221 26th Street                                                     Riverside                 CA        92509                 Litigation        X           Unknown
  Beamon, Henry                              156 El Verano Court                                                  Merced                    CA        95341                 Litigation        X           Unknown
  Bean, Peggie                               3321 Hamberton Cr.                                                   Murfreesboro              TN        37128                 Litigation        X           Unknown
  Be'Ans, Courtney                           468 Post Ave.                                                        Rochester                 NY        14619                 Litigation        X           Unknown
  Beard, Laudell                             611 Cardinal Place Apt. 2                                            Danville                  VA        24541                 Litigation        X           Unknown
  Beasley, Lottie                            1201 Kellum Street, Apt. B-109                                       Fairbanks                 AK        99701                 Litigation        X           Unknown
  Beasley, Mark                              920 Glenwood Street, NE                                              Warren                    OH        44483                 Litigation        X           Unknown
  Beasley, Sammy                             3658 Hopkins Ct.                                                     Powder Springs            GA        30127                 Litigation        X           Unknown
  Beatrice, Ann                              P.O Box 79                                                           New Derry                 PA        15671                 Litigation        X           Unknown
  Beatty, Charles                            300 Oldham St.                                                       Waxahachie                TX        75165                 Litigation        X           Unknown
  Beauchamp, Joseph                          5337 E Herrera Drive                                                 Phoenix                   AZ        85054                 Litigation        X           Unknown
  Beauchamp, Loretta                         6485 Yvonne Way Apt. #4                                              Colorado Springs          CO        80918                 Litigation        X           Unknown
  Beauregard, Jill                           1550 East Park Rd.                                                   Grand Island              NY        14072                 Litigation        X           Unknown
  Beauvias, Myron                            RTS - 523 W. 9th St. Apt 3                                           Sioux Falls               SD        57104                 Litigation        X           Unknown
  Beavers, Freddie                           3345 E University Apt 82                                             Mesa                      AZ        85213                 Litigation        X           Unknown
  Becerril, Adolfo Samuel                    4888 Rutile Street                                                   Riverside                 CA        92509                 Litigation        X           Unknown
  Beck, Joseph                               1101 South Elm St.                                                   Henderson                 KY        42420                 Litigation        X           Unknown
  Beck, Melody                               4260 Via Arbolada #306                                               Los Angeles               CA        90042                 Litigation        X           Unknown
  Beck, Sr., Robert                          3705 Chief Vann Lane                                                 Chattanooga               TN        37406                 Litigation        X           Unknown
  Becker, Hazel                              213 Jimtown Road                                                     Dawson                    PA        15428                 Litigation        X           Unknown
  Bedekar, Ranjan                            2481 Bridgeview Court                                                Mendota Heights           MN        55120                 Litigation        X           Unknown
  Bedford, Jerline                           25319 Maxy Dr.                                                       Moreno Valley             CA        92551                 Litigation        X           Unknown
  Bedford, Marvin                            PO BOX 1924                                                          Conway                    AR        72034                 Litigation        X           Unknown
  Bedolla, Gloria                            1641 N Neptune Avenue                                                Wilmington                CA        90744                 Litigation        X           Unknown
  Bedor, Harry                               5807 13th Ave. SE Unit B                                             Lacey                     WA        89503                 Litigation        X           Unknown
  Been, Kewonna                              PO Box 351322                                                        Detroit                   MI        48235                 Litigation        X           Unknown
  Beeny, Peggy                               PO Box 780                                                           Midway                    UT        84049                 Litigation        X           Unknown
  Beer, Richard                              32119 Harborview Lane                                                Westlake Village          CA        91361                 Litigation        X           Unknown
  Beers, Barry                               P.O. Box 471                                                         White Deer                PA        17887                 Litigation        X           Unknown
  Beers, Robert                              3 Linden Street                                                      Selden                    NY        11784                 Litigation        X           Unknown
  Behar, Walter                              305 Highway 326 North                                                Sour Lake                 TX        77689                 Litigation        X           Unknown
  Beier, Randolph                            N36833 Gierok Road                                                   Independence              WI        54747                 Litigation        X           Unknown
  Beitlich, Dana Scot                        22249 Ramona Avenue                                                  Apple Valley              CA      92307-4292              Litigation        X           Unknown
  Beitlich, Dolf F.                          14886 Mill Street                                                    Oro Grande                CA        92368                 Litigation        X           Unknown
  Bejarano, Alejandro                        16901 Airport Cir Unit 102                                           Huntington Beach          CA        92649                 Litigation        X           Unknown



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  Bejarano, Cristina                         16901 Airport Cir Unit 102                                          Huntington Beach          CA      92649              Litigation        X           Unknown
  Belcher, Garrie                            1530 W Avenue K 8, #27                                              Lancaster                 CA      93534              Litigation        X           Unknown
  Beleele, Eileen                            5400 Lake Earl Dr.                                                  Crescent City             CA      95531              Litigation        X           Unknown
  Belgin, Ray                                9126 W 73rd Street Apt. 206                                         Meriam                    KS      66204              Litigation        X           Unknown
  Belisario, Maria                           304 N Tipsico Rd.                                                   Highland                  MI      48357              Litigation        X           Unknown
  Bell, Bruce                                12435 Rimrock Lane                                                  Victorville               CA      92392              Litigation        X           Unknown
  Bell, Diane                                1980 E. 68th Street, Apt. B                                         Long Beach                CA      90805              Litigation        X           Unknown
  Bell, Doris                                561 Moose Lodge Road                                                Vidalia                   LA      71373              Litigation        X           Unknown
  Bell, Edward                               4529 Tacoma Terrace                                                 Fort Worth                TX      76123              Litigation        X           Unknown
  Bell, Gloria                               5198 Sun Dew Court                                                  Indian Head               MD      20640              Litigation        X           Unknown
  Bell, Lovena                               2732 Carter Ave                                                     Ashland                   KY      41101              Litigation        X           Unknown
  Bell, Pearl                                1517 Cobb                                                           Hobbs                     NM      88240              Litigation        X           Unknown
  Bell, Shane                                1219 N 400 E #5                                                     Logan                     UT      84341              Litigation        X           Unknown
  Bell, Sr., Clarence                        1206 South 18 Street                                                Terre Haute               IN      47803              Litigation        X           Unknown
  Bell, Sr., Solomon                         8218 Catalpa Ridge Drive                                            Blacklick                 OH      43064              Litigation        X           Unknown
  Bell, Thomas                               1301 Terra Drive                                                    Sierra Vista              AZ      85635              Litigation        X           Unknown
  Bell, Velma                                162 Tulip Drive                                                     Opelousas                 LA      70570              Litigation        X           Unknown
  Bell, Wanda                                RT 1 Box 935                                                        St. George                GA      31562              Litigation        X           Unknown
  Bellavia, Fabrizio                         7833 NW 60th Lane                                                   Parkland                  FL      33067              Litigation        X           Unknown
  Bello, Judy Jean                           4470 Mission Inn Avenue                                             Riverside                 CA      92501              Litigation        X           Unknown
  Bell-Turner, Eotree                        3403 N. 51st St.                                                    Tampa                     FL      33619              Litigation        X           Unknown
  Belmonte, Adilein Ady                      P.O. Box 310626                                                     Fontana                   CA      92331              Litigation        X           Unknown
  Belmonte, Cain                             P.O. Box 310626                                                     Fontana                   CA      92331              Litigation        X           Unknown
  Belmonte, Diamantina                       P.O. Box 310626                                                     Fontana                   CA      92331              Litigation        X           Unknown
  Belossamtos, Gladys                        2926 Winding Grove Drive                                            Lithonia                  GA      30038              Litigation        X           Unknown
  Belote, James                              25 Spireview Rd                                                     Ridgefield                CT      06877              Litigation        X           Unknown
  Belt, Effie                                145 Matthew Way                                                     Fayetteville              GA      30214              Litigation        X           Unknown
  Belton, Mary Etta                          1109 Enclave Way                                                    Hutto                     TX      78634              Litigation        X           Unknown
  Beltran, Elvira                            9016 Cecilia Street Apt. J                                          Downey                    CA      90241              Litigation        X           Unknown
  Ben-Asher, Bryna                           6132 E Calle Ojos Verde                                             Tucson                    AZ      85750              Litigation        X           Unknown
  Benavidez, Alisha Marie                    855 Seasonal Creek Lane                                             Meridian                  ID      83642              Litigation        X           Unknown
  Benavidez, Leonardo Christopher            855 Seasonal Creek Lane                                             Meridian                  ID      83642              Litigation        X           Unknown
  Bender, Elizabeth                          1806 Garden Grove Pkwy                                              Vero Beach                FL      32962              Litigation        X           Unknown
  Benedict, Elaine                           PO Box 338                                                          Peru                      ME      04290              Litigation        X           Unknown
  Benham, Kathlyn                            3284 E. Harstine Island Rd. S                                       Shelton                   WA      98584              Litigation        X           Unknown
  Benjamin, Debbie                           135 Fountain Oaks Circle Apt 165                                    Sacramento                CA      95831              Litigation        X           Unknown
  Benk, Patricia and William H.              5 Riverview Ave.                                                    Tonawanda                 NY      14150              Litigation        X           Unknown
  Benkhaled-Lopez, Virginia                  1310 E Ocean Blvd. 906                                              Long Beach                CA      90802              Litigation        X           Unknown
  Ben-Lulu, Yael                             44 Danforth Ave.                                                    Jersey City               NJ      07305              Litigation        X           Unknown
  Bennett, Don                               P.O. BOX 60351                                                      Fairbanks                 AK      99706              Litigation        X           Unknown
  Bennett, Edith                             29300 Franklin Road                                                 Stover                    MO      65078              Litigation        X           Unknown
  Bennett, Kay                               703 Main St.                                                        Charleston                WV      25302              Litigation        X           Unknown
  Bennett, Larry                             1029 Heritage Hill Drive                                            Cedar Hill                TN      37032              Litigation        X           Unknown
  Bennett, Margaret Ann                      11176 Sparrow Road                                                  Oak Hills                 CA      92344              Litigation        X           Unknown
  Bennett, Margie                            29123 Delgado Rd.                                                   Hayward                   CA      94544              Litigation        X           Unknown
  Bennett, Michael Edwin                     11176 Sparrow Road                                                  Oak Hills                 CA      92344              Litigation        X           Unknown
  Bennett, Milton                            448 Morrison Street                                                 Mora                      MN      55051              Litigation        X           Unknown
  Bennett, Steve                             18776 Muskrat Ave.                                                  Adelanto                  CA      92301              Litigation        X           Unknown
  Bennett, Willie                            451 County Road                                                     Orrville                  AL      36767              Litigation        X           Unknown
  Bennett-Aguila, Gail                       6428 Vineland Rd. Apt. #201                                         Orlando                   FL      32819              Litigation        X           Unknown



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  Benns, Linda A.                            74 Schwegler Rd.                                                    Grand Island              NY        14072                 Litigation        X           Unknown
  Benson, Chris                              15716 Sigman Street                                                 Hacienda Heights          CA        91745                 Litigation        X           Unknown
  Benson, Gena                               23890 Masch Street                                                  Warren                    MI        48091                 Litigation        X           Unknown
  Benson, Lawrence                           630 Austin Ave                                                      Woodstock                 IL        60098                 Litigation        X           Unknown
  Benson, Richard                            13218 King Circle                                                   Cypress                   TX        77429                 Litigation        X           Unknown
  Benson, Robert                             1513 Martinez Dr                                                    Lillian                   AL        36549                 Litigation        X           Unknown
  Bente, Reed                                1820 Alpha Street                                                   Lansing                   MI        48910                 Litigation        X           Unknown
  Bentley, James                             4199 Harris Road                                                    Ellerslie                 GA        31807                 Litigation        X           Unknown
  Bentley, Patricia                          1921 Washington St.                                                 Flatwoods                 KY        41139                 Litigation        X           Unknown
  Benton, Jr., William                       730 South Cass Street                                               Hastings                  MI        49058                 Litigation        X           Unknown
  Benzie, Patricia                           320 Grand Pointe Drive                                              Garner                    NC        27529                 Litigation        X           Unknown
  Bequer, Myriam                             130 Tiffany Lane South East                                         Cleveland                 TN        37323                 Litigation        X           Unknown
  Berdak, Shirley                            1315 N. Liberty St. Apt. 1516                                       Boise                     ID      83704-0106              Litigation        X           Unknown
  Berends, Emmet Ross                        8831 SVL Box                                                        Victorville               CA        92395                 Litigation        X           Unknown
  Berends, Kenya Monea                       8831 SVL Box                                                        Victorville               CA        92395                 Litigation        X           Unknown
  Berg, Janell                               1609 Electric Ave.- Apt. #2                                         Seal Beach                CA        90740                 Litigation        X           Unknown
  Bergell, Aaron                             7835 Ontario St. Cir.                                               Sarasota                  FL        34243                 Litigation        X           Unknown
  Bergeron, Linda                            356 S 100 West                                                      Tooele                    UT        84074                 Litigation        X           Unknown
  Bergeron, Raymond                          20 Higgins Street #316                                              Smithfield                RI        02917                 Litigation        X           Unknown
  Bergman, Reaky                             522 S Maple Ave                                                     Hastings                  NE        68901                 Litigation        X           Unknown
  Berkeley, Braxton G.                       12750 Daventry Street                                               Pacoima                   CA        91331                 Litigation        X           Unknown
  Berkos, Michael                            2969 Panorama Ridge Dr.                                             Henderson                 NV        89052                 Litigation        X           Unknown
  Bernabela, Debra                           904 South 19th St.                                                  Newark                    NJ        07108                 Litigation        X           Unknown
  Bernard Nosal                              23198 Edna Dr                                                     0 Youngstown                OH        44511                 Litigation        X           Unknown
  Bernhisel, Ralph W.                        675 Brookside Court                                                 Mountain Horn             ID        83647                 Litigation        X           Unknown
  Bernier, John                              13649 Jicarilla Road                                                Apple Valley              CA        92308                 Litigation        X           Unknown
  Bernstein, Andrew                          7201 Glen Forest Dr., Ste 104                                       Richmond                  VA        23226                 Litigation        X           Unknown
  Berrier, Ronald                            PO Box 1303                                                         Lombard                   IL      60148-8303              Litigation        X           Unknown
  Berry, Frances                             1683 Testerman Drive                                                Christiansburg            VA        24073                 Litigation        X           Unknown
  Berry, Laurel J.                           6060 Fairlane Dr.                                                   Clarence                  NY        14032                 Litigation        X           Unknown
  Berry, Matthew Carl                        852 E. Mesa Drive                                                   Rialto                    CA        92376                 Litigation        X           Unknown
  Berry, Milton C.                           772 E. Morada Place                                                 Altadena                  CA        91001                 Litigation        X           Unknown
  Berry, Norma Jean                          852 E. Mesa Drive                                                   Rialto                    CA        92376                 Litigation        X           Unknown
  Berry, Troyla                              512 Frederick St. South                                             Lancaster                 OH        43130                 Litigation        X           Unknown
  Berryhill, Joan Louise                     201 Whispering Blvd.                                                La Porte                  IN        46350                 Litigation        X           Unknown
  Bersonada, Teresa                          3595 Santa Fe Ave, #70                                              Long Beach                CA        90810                 Litigation        X           Unknown
  Berthiaume, Raymond                        81 Bradley Avenue                                                   Waterbury                 CT        06708                 Litigation        X           Unknown
  Bertini, Bonnie                            3300 NE 192nd St. Unit 1406                                         Ventura                   FL        33180                 Litigation        X           Unknown
  Bertoldo, Nancy                            17680 W. Sunbelt Dr.                                                Surprise                  AZ        85374                 Litigation        X           Unknown
  Bertolis, Bobby                            1108 S Macoupin St                                                  Gillespie                 IL        62033                 Litigation        X           Unknown
  Bertrand, Debra                            2 Dover Drive,                                                      Northridge                CA        91324                 Litigation        X           Unknown
  Bertschinger, Alan                         6556 30th Street                                                    Riverside                 CA        92509                 Litigation        X           Unknown
  Bertulano Alvarado, Ginger                 24622 Neptune Avenue                                                Carson                    CA        90745                 Litigation        X           Unknown
  Besaw, Carol                               104 Comanche Hill Drive                                             Hedgesville               WV        25427                 Litigation        X           Unknown
  Betancur, Henry                            4887 Via Palm Lake Apt. 506                                         West Palm Beach           FL        33417                 Litigation        X           Unknown
  Beth, Jim                                  1020 S Coventry Drive                                               Safford                   AZ        85546                 Litigation        X           Unknown
  Betham, Leon                               19809 Baria Rd.                                                     Mosspoint                 MS        39562                 Litigation        X           Unknown
  Bethurum, Terry                            4235 Iris Street                                                    Wheat Ridge               CO        80033                 Litigation        X           Unknown
  Betts, Elayne                              PO Box 109                                                          Banning                   CA        92220                 Litigation        X           Unknown
  Betts, John                                121 Belford Way                                                     Alabaster                 AL        35007                 Litigation        X           Unknown



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  Betz, Arthur                               21836 County Road 2160                                                Troop                     TX        75789                 Litigation        X           Unknown
  Beurman, Robert                            6133 Rainbow Heights Rd.                                              Fallbrook                 CA        92028                 Litigation        X           Unknown
  Beverly, Erness                            1903 Temple Avenue, #204                                              Signal Hill               CA        90755                 Litigation        X           Unknown
  Bevolo, Albert                             3313 Glynwater Trl NW                                                 Prior Lake                MN        55372                 Litigation        X           Unknown
  Beyer, Jennifer                            51 Fountain Park                                                      Tonawanda                 NY        14223                 Litigation        X           Unknown
  Bice, George                               15723 Aravaca Dr.                                                     Paramount                 CA        90723                 Litigation        X           Unknown
  Bidwell, Michael                           4540 Rio Poco Road                                                    Reno                      NV        89502                 Litigation        X           Unknown
  Bierman, John                              3315 NE 97th Ave.                                                     Vancouver                 WA        98662                 Litigation        X           Unknown
  Biggs, Olivia                              386 W. State St.                                                      Hamburg                   PA        19526                 Litigation        X           Unknown
  Bigham, Johnny                             2301 Sepulveda Ave.- Apt. #33                                         San Bernardino            CA        92404                 Litigation        X           Unknown
  Bigham, Lawana                             2301 Sepulveda Ave.- Apt. #33                                         San Bernardino            CA        92404                 Litigation        X           Unknown
  Bigham, Richard                            20611 Bothell Everett Highway E234                                    Bothell                   WA        98012                 Litigation        X           Unknown
  Bigler, Kathleen                           70 3rd Ave Extension                                                  West Haven                CT        06516                 Litigation        X           Unknown
  Biglow, Sherry                             1246 Maryland Street                                                  Aberdeen                  OH      45101-9746              Litigation        X           Unknown
  Bilgin, Patricia                           556 S Norton                                                          Los Angeles               CA        90020                 Litigation        X           Unknown
  Billingsley, Reta                          7044 Foxthorn Ave.                                                    Canton                    MI        48187                 Litigation        X           Unknown
  Bingham, Mitchell                          1510 Cobb                                                             Hobbs                     NM        88240                 Litigation        X           Unknown
  Binkley, James                             1027 18th Street Southwest                                            Cedar Rapids              IA        52404                 Litigation        X           Unknown
  Bird, Christina                            557 E. 223rd St.                                                      Carson                    CA      90745-2725              Litigation        X           Unknown
  Bird, Laverne                              3876 W. 118th Place                                                   Westminster               CO        80031                 Litigation        X           Unknown
  Bischel, Rolland                           19333 Ave 370                                                         Elderwood                 CA        93266                 Litigation        X           Unknown
  Bish, Shirley                              PO Box 69                                                             Stovall                   NC        27582                 Litigation        X           Unknown
  Bishop, Barbara                            423 Garden Drive, Apt 423                                             Johnson City              TN        37604                 Litigation        X           Unknown
  Bishop, LaVon                              1980 E. 68th Street, Apt. A                                           Long Beach                CA        90805                 Litigation        X           Unknown
  Bishop, Robert                             1805 Finley Beech Rd.                                                 Lewisburg                 TN        37091                 Litigation        X           Unknown
  Black, Jacqueline                          4110 Sand Piper Drive Apt No. 203                                     Grand Rapids              MI        49512                 Litigation        X           Unknown
  Black, Kenneth                             10333 Silverton Ave.                                                  Tujunga                   CA        91042                 Litigation        X           Unknown
  Black, Randy                               1286 State Hwy 178 W Lot 144                                          New Albany                MS        38652                 Litigation        X           Unknown
  Black, Sophia                              10395 Fairway Drive                                                   Jerome                    MI        49249                 Litigation        X           Unknown
  Black, Tommy                               35 Highland Dr.                                                       Cartersville              AL        30121                 Litigation        X           Unknown
  Blackburn, Clifton                         275 West 200 North                                                    Price                     UT        84501                 Litigation        X           Unknown
  Blackburn, Gwendolyn                       1214 Mount Rushmore Way                                               Lexington                 KY        40515                 Litigation        X           Unknown
  Blackburn, James                           3094 S. Browntown Road                                                Rocky Mount               NC        27804                 Litigation        X           Unknown
  Blackett, Vilma                            685 Sheffield Avenue                                                  Brooklyn                  NY        11207                 Litigation        X           Unknown
  Blackmon, Juan                             6327 S Karlov Ave                                                     Chicago                   IL        60629                 Litigation        X           Unknown
  Blackmore , Heather                        2722 Vanderbilt Lane, #10                                             Redondo Beach             CA        90278                 Litigation        X           Unknown
  Blackorbay, Daniel                         825 1st Ave NW (Room # 151)                                           New Brighton              MN        55112                 Litigation        X           Unknown
  Blackwell, Dina                            708 Raymond Ave.                                                      Baltimore                 MD        21228                 Litigation        X           Unknown
  Blackwell, Samuel                          RTS - 127 Lassiter Dr.                                                Hampton                   VA        23666                 Litigation        X           Unknown
  Blair II, Walter                           239 Hollow Oak Lane                                                   Brandon                   MS        39042                 Litigation        X           Unknown
  Blair Jr., John                            227 S. Fellowship Road                                                Maple Shade               NJ        08052                 Litigation        X           Unknown
  Blair, Anitalane                           24420 64th Avenue South, Apt 138                                      Kent                      WA        98032                 Litigation        X           Unknown
  Blair, Frederick                           9601 Lomita Court Apt 101                                             Rancho Cucamonga          CA        91701                 Litigation        X           Unknown
  Blake, Cordelia                            11385 Memorial Street                                                 Detroit                   MI        48227                 Litigation        X           Unknown
  Blake, George                              356 County Road 375                                                   Carrollton                MS        38917                 Litigation        X           Unknown
  Blake, Peter                               PO Box 501                                                            Huttig                    AR        71747                 Litigation        X           Unknown
  Blake, Roszena                             355 W. Colvin Street                                                  Syracuse                  NY        13205                 Litigation        X           Unknown
  Blake, Seth                                4419 N E 13th St                                                      Ocala                     FL        34470                 Litigation        X           Unknown
  Blakeman, Laura                            1241 Panther Branch Rd                                                Jamestown                 TN        38556                 Litigation        X           Unknown
  Blalack                                    3635 E Chevy Chase Dr                                                 Glendale                  CA        91206                 Litigation        X           Unknown



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  Blalock, Joshua                                 8371 Balboa Blvd unit 30                                            Northridge               CA      91235              Litigation        X           Unknown
  Blanchard, Cynthia                              P.O. Box 189                                                        Eunice                   LA      70535              Litigation        X           Unknown
  Blanchard, Nanci                                9 Eaton Ln.                                                         Montesano                WA      98563              Litigation        X           Unknown
  Blandin                                         32 MEadow                                                           Aliso Viejo              CA      92656              Litigation        X           Unknown
  Blando, Salvatore                               17311 E. 40th Hwy Lot L4                                            Independence             MO      64055              Litigation        X           Unknown
  Blankenbaker, Kalliopi                          16031 Bech Daly Lot 206                                             Taylor                   MI      48180              Litigation        X           Unknown
  Blankenship, Thomas                             PO BOX 3                                                            Breaks                   VA      24607              Litigation        X           Unknown
  Blanks, Angel                                   3263 N 33rd St.                                                     Milwaukee                WI      52316              Litigation        X           Unknown
  Blase, Stella                                   3507 SW 11 Ct.                                                      Cape Coral               FL      33914              Litigation        X           Unknown
  Blaser, Denise                                  92 Wyndgate Blvd.                                                   Drums                    PA      18222              Litigation        X           Unknown
  Blaylock, Ershell                               46 Webb Avenue                                                      Crossville               TN      38555              Litigation        X           Unknown
  Blaze, Lula Mae                                 2831 Razor Way                                                      Riverside                CA      92509              Litigation        X           Unknown
  Blendowski, Eric Edward                         1118 Pleasant St.                                                   Webster                  NH      03303              Litigation        X           Unknown
  Blevins, Lee                                    400 Stanton Ct                                                      Bossier City             LA      71111              Litigation        X           Unknown
  Bliss, Richard                                  3940 East Knights Griffin Rd                                        Plant City               FL      33565              Litigation        X           Unknown
  Blizzard, Charles                               2125 Paddock Ln                                                     Finksburg                MD      21048              Litigation        X           Unknown
  Block, Bridget                                  1627 N Pionsetta Pl, # 1                                            Los Angeles              CA      90016              Litigation        X           Unknown
  Blomgren, Gustave                               125 Ashland Avenue                                                  Methuen                  MA      01844              Litigation        X           Unknown
  Blount, Penny                                   102 East Lakemont Drive                                             Kingsland                GA      31548              Litigation        X           Unknown
  Blue, DeReese and Fairy                         126 Dupont Ave.                                                     Tonawanda                NY      14150              Litigation        X           Unknown
  Blue, Duane                                     1720 Virginia Circle SW                                             Marbleton                GA      30126              Litigation        X           Unknown
  Blue, Dwayne                                    516 Springfield Drive                                               Albany                   GA      31721              Litigation        X           Unknown
  Blue, Kathy                                     619 E. Chickasaw St., Apt B                                         Brookhaven               MS      39601              Litigation        X           Unknown
  Blue, Keith A.                                  418 S. Wheeler Place                                                Orange                   CA      92869              Litigation        X           Unknown
  Blunt, Gary                                     6243 S. Vista Laguna                                                Fort Mohave              AZ      86426              Litigation        X           Unknown
  Boatman, Marion                                 649 S. Vicha Road                                                   Axtell                   TX      76625              Litigation        X           Unknown
  Boberg, Mary                                    1623 Juniper                                                        Solvang                  CA      93463              Litigation        X           Unknown
  Bocalan, Pauline                                1220 Plantation Drive                                               Panama City              FL      32404              Litigation        X           Unknown
  Bocanegra, Hilario                              880 Pleasant Grove Rd.                                              York Haven               PA      17370              Litigation        X           Unknown
  Bode, Jr., Robert                               37 W. Street                                                        West Hartland            CT      06091              Litigation        X           Unknown
  Bodman, Shirley                                 8 Larrabee Farm Road                                                Scarborough              ME      04074              Litigation        X           Unknown
  Boeck, Wayne                                    21 North 2nd St., Apt. C                                            Souderton                PA      18964              Litigation        X           Unknown
  Boettcher, Lynne                                3045 Kiowa Blvd. N. # 1                                             Lake Havasu City         AZ      86404              Litigation        X           Unknown
  Boggs, Rickey                                   2860 Haverhill Circle                                               North Charleston         SC      29420              Litigation        X           Unknown
  Bohannan, Michael C.                            105 Middlewood Lane                                                 Anderson                 SC      29621              Litigation        X           Unknown
  Bohnenberger, Ann                               114 Wells Drive                                                     South Plainfield         NJ      07080              Litigation        X           Unknown
  Boiter, Bobbie                                  119 2nd Ave                                                         Grovetown                GA      30813              Litigation        X           Unknown
  Bokelman, Roy                                   24660 Tehama Vina Rd. SP 10                                         Los Molinos              CA      96055              Litigation        X           Unknown
  Bolacker-Reiss, Beatrice                        One South Main St., 3rd Floor                                       Wilkes-Barre             PA      18701              Litigation        X           Unknown
  Boland, John                                    26641 Regency Court                                                 San Juan Capistrano      CA      92675              Litigation        X           Unknown
  Bolanos, Ruth M.                                18228 8th Street                                                    Bloomington              CA      92316              Litigation        X           Unknown
  Boles, Marvin                                   111 Charlie Brown Road                                              Hilham                   TN      38568              Litigation        X           Unknown
  Bolin, Kenneth                                  110 Rosedale Avenue                                                 Fox Lake                 WI      53933              Litigation        X           Unknown
  Boling and family, Trent and Suzanne            295 Brookside Terrace                                               Tonawanda                NY      14150              Litigation        X           Unknown
  Bollinger, Andrea                               24719 Neptune Avenue                                                Carson                   CA      90745              Litigation        X           Unknown
  Bollinger, Carmen                               24719 Neptune Avenue                                                Carson                   CA      90745              Litigation        X           Unknown
  Bollinger, Diana                                22838 Bear Valley Road- Space 77                                    Apple Valley             CA      92308              Litigation        X           Unknown
  Bollinger, Nicole                               24719 Neptune Avenue                                                Carson                   CA      90745              Litigation        X           Unknown
  Bollinger, Paul                                 24719 Neptune Avenue                                                Carson                   CA      90745              Litigation        X           Unknown
  Bollinger, William                              22838 Bear Valley Road- Space 77                                    Apple Valley             CA      92308              Litigation        X           Unknown



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  Bolton, Gene                               43549 Kirkland, #17                                               Lancaster                 CA      93535              Litigation        X           Unknown
  Bonander, Judy                             RTS - 1551 6th Avenue Dr. #131                                    Kingsburg                 CA      93631              Litigation        X           Unknown
  Bonaviso, William                          RTS - 23921 Guajome Road                                          Apple Valley              CA      92307              Litigation        X           Unknown
  Bond, Lovie                                66 McDaniel Drive                                                 Jackson                   TN      38305              Litigation        X           Unknown
  Bondoc, Joievee                            19482 Hansen Ln                                                   Huntington Beach          CA      92646              Litigation        X           Unknown
  Bondoc, Vicente                            19482 Hansen Ln                                                   Huntington Beach          CA      92646              Litigation        X           Unknown
  Bonds, Denise                              5 Fontana Ct.                                                     Winston-Salem             NC      27103              Litigation        X           Unknown
  Bone, Rose                                 342 Fox Hill Rd                                                   Hampton                   VA      23669              Litigation        X           Unknown
  Boney, Serena                              826 Mt Vernon Ct                                                  Edgewood                  MD      21040              Litigation        X           Unknown
  Bonham, Shirley                            2024 Scenic Dr                                                    Modesto                   CA      95355              Litigation        X           Unknown
  Bonilla IV, Luis                           1769 Klamath Drive                                                Salinas                   CA      93906              Litigation        X           Unknown
  Bonilla, Cynthia                           363 E 249th Street                                                Carson                    CA      90745              Litigation        X           Unknown
  Bonilla, Joseph L.                         17022 E. Devanah Street                                           Covina                    CA      91722              Litigation        X           Unknown
  Bonilla, Nickolas                          363 E 249th Street                                                Carson                    CA      90745              Litigation        X           Unknown
  Bonillas, Martin M.                        P. O. Box 1693                                                    Sun Valley                CA      91352              Litigation        X           Unknown
  Bonner, Teletha                            2795 Arlington Road                                               East Point                GA      30344              Litigation        X           Unknown
  Bonomi , Jianna & Gregory Allen            PO Box 1038                                                       Sunset Beach              CA      90742              Litigation        X           Unknown
  Bonomini, Robert                           2515 Dorothy Cir.                                                 Titusville                FL      32780              Litigation        X           Unknown
  Booe, Kenneth                              344 Clark Rd                                                      Abilene                   TX      79602              Litigation        X           Unknown
  Boomhower, George                          4916 Bowie Court                                                  Simi Valley               CA      93063              Litigation        X           Unknown
  Boone, Leslie                              350 S. Durango #102                                               Las Vegas                 NV      89145              Litigation        X           Unknown
  Boop, Raymond                              8811 Park St. Spc 80                                              Bellflower                CA      90706              Litigation        X           Unknown
  Booth, Brad                                24260 Los Codona Ave.                                             Torrance                  CA      90505              Litigation        X           Unknown
  Bordano, Chris                             6148 Prestondell Place                                            Dallas                    TX      75240              Litigation        X           Unknown
  Borders, Elvera Rose                       3401 Emma Street- Apt. L                                          Mira Loma                 CA      91752              Litigation        X           Unknown
  Borelli, Josie                             863 Bacon Avenue                                                  East Palestine            OH      44413              Litigation        X           Unknown
  Borger, Arlene                             1242 Evan Mountain Rd.                                            Adkins                    AR      72823              Litigation        X           Unknown
  Borjas, Jose                               48040 Van Road                                                    Pixall                    LA      70466              Litigation        X           Unknown
  Bosarge, William                           10655 Irvington Blb Hwy.                                          Irvington                 AL      36544              Litigation        X           Unknown
  Bose-Hayes, Kimeca                         7218 Petrol St., Apt. 4                                           Paramount                 CA      90723              Litigation        X           Unknown
  Bose-Travis, Malyk                         7218 Petrol St., Apt. 4                                           Paramount                 CA      90723              Litigation        X           Unknown
  Bossuot, Walter                            416 Meadow Creek Drive                                            Chesapeake                VA      23323              Litigation        X           Unknown
  Bosworth, Brian                            2001 South Mopac #426                                             Austin                    TX      78746              Litigation        X           Unknown
  Bourland, Janice                           430 Elmhurst Road                                                 Utica                     NY      13502              Litigation        X           Unknown
  Bowden, James                              13119 Asheford Woods Ln.                                          Charlotte                 NC      28278              Litigation        X           Unknown
  Bowell, Brian                              1025 Sussex Ave                                                   Deptford                  NJ      08096              Litigation        X           Unknown
  Bowen, Karen                               7114 Allman Ave. South East                                       Snoqualmie                WA      98065              Litigation        X           Unknown
  Bowen, Shirley                             8428 Colorado Ave. Apt 141                                        Riverside                 CA      92507              Litigation        X           Unknown
  Bower, Debby Rae                           3585 Russell Street                                               Riverside                 CA      92501              Litigation        X           Unknown
  Bowers, Mary                               2355 Gatetree Ln Apt-8E                                           Grand Rapids              MI      49546              Litigation        X           Unknown
  Bowers, Sue                                11311 Lapham Dr.                                                  Oakton                    VA      22124              Litigation        X           Unknown
  Bowlin, Camille                            22 Eagles Nest Road                                               Goffstown                 NH      03045              Litigation        X           Unknown
  Bowlin, Gerald Lee                         4137 Campbell Street                                              Riverside                 CA      92509              Litigation        X           Unknown
  Bowlin, Jeffery Lee                        5863 Antonia Place                                                Rubidoux                  CA      92509              Litigation        X           Unknown
  Bowling, Loritta                           2210 S. Oliver St., # 309                                         Wichita                   KS      67218              Litigation        X           Unknown
  Bowman, Eyvonne                            129 Welch Way                                                     Dalton                    GA      30721              Litigation        X           Unknown
  Bowman, Joyce                              340 E St. NE, Apt. E101                                           Ephrata                   WA      98823              Litigation        X           Unknown
  Bowman, Ronald                             501 Glenview Drive                                                Lebanon                   OH      45036              Litigation        X           Unknown
  Bowser, Laura                              2224 Quaker Ridge Rd.                                             Croton-On-Hudson          NY      10520              Litigation        X           Unknown
  Bowyer, Gretta                             2556 Jackson St.                                                  Gary                      IN      46407              Litigation        X           Unknown



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  Boyd, Jeffrey                              892 Camino del Sol                                                  Riverside               CA        92508                 Litigation        X           Unknown
  Boyd, Jonathan                             6078 Moon Ave.                                                      Marysville              CA        95901                 Litigation        X           Unknown
  Boyd, Major                                8897 Darnel Place                                                   St. Louis               MO        63136                 Litigation        X           Unknown
  Boyd, Mischalay                            7200 Pirates Cove Rd., Unit 1058                                    Las Vegas               NV        89145                 Litigation        X           Unknown
  Boyd, Shannon                              42012 Purple Bush Ave, Apt 24-D                                     Lancaster               CA        93536                 Litigation        X           Unknown
  Boyd, Sr., Michael                         4200 Mackinaw Street                                                Saginaw                 MI        48602                 Litigation        X           Unknown
  Boyd, Sylvia                               3856 SW Atwood Ave                                                  Topeka                  KS        66610                 Litigation        X           Unknown
  Boyd, Warren                               100 N. River Circle, Unit 101                                       Oceanside               CA        92057                 Litigation        X           Unknown
  Boyd, William                              127 Renfrew                                                         Mt Morris               MI        48458                 Litigation        X           Unknown
  Boyer, Marva                               6320 E. Floyd Drive                                                 Denver                  CO        80222                 Litigation        X           Unknown
  Boylan, Ed                                 1326 Ritter Drive                                                   Gardnerville            NV        89460                 Litigation        X           Unknown
  Bozell, William                            8975 Jaywick Drive #102                                             Fishers                 IN        46037                 Litigation        X           Unknown
  Bracho, Lindzee                            4 Corporate Plaza Dr. #100                                          Newport Beach           CA        92660                 Litigation        X           Unknown
  Braden, Billy                              1841 N. Michigan Street                                             Toledo                  OH        43611                 Litigation        X           Unknown
  Bradford, Sharon                           920 Houston Ave. #702                                               Pasadena                TX        77502                 Litigation        X           Unknown
  Bradley, Dorothy                           3204 Luper Drive                                                    Hattiesburg             MS        39401                 Litigation        X           Unknown
  Bradley, Jeanette                          6915 Pin Oak Drive                                                  Cincinnati              OH        45239                 Litigation        X           Unknown
  Bradley, John                              P.O. Box 2, 985 NE Highway J                                        Calhoun                 MO        65323                 Litigation        X           Unknown
  Bradley, Ocelia                            8269 Monterey Highway                                               Sparta                  TN        38583                 Litigation        X           Unknown
  Bradley, Russ                              555 Tie Breaker Dr.                                                 Ammon                   ID        83406                 Litigation        X           Unknown
  Bradshaw, Patricia                         P.O. Box 726                                                        Cosmopolis              WA        98537                 Litigation        X           Unknown
  Brady, Arenal                              20724 Elsden Street                                                 Onaway                  MI        49765                 Litigation        X           Unknown
  Brady, James                               5323 Rodgers Dr.                                                    Columbus                GA        31909                 Litigation        X           Unknown
  Brady, Thomas Lee                          PO Box 6                                                            Mount Sterling          OH        43143                 Litigation        X           Unknown
  Brady-Brown, Vivian                        15787 Village Drive                                                 Victorville             CA        92392                 Litigation        X           Unknown
  Branak, Alyssa                             6648 Fillmore Street                                                Chino                   CA        91710                 Litigation        X           Unknown
  Branch, Betty                              4875 Northwood Avenue                                               Sarasota                FL        34231                 Litigation        X           Unknown
  Branch, Joyce                              3718 N. Galvez Street                                               New Orleans             LA        70117                 Litigation        X           Unknown
  Branchetti, Lawrence                       185 NE 106 Street                                                   Miami Shores            FL        33138                 Litigation        X           Unknown
  Brand, Gladys                              1762 Wells Station Road                                             Memphis                 TN        38108                 Litigation        X           Unknown
  Brandes , John                             1414 Ravenwood Drive                                                Mansfield               TX        76063                 Litigation        X           Unknown
  Brandt, Gregory                            2310 NW Fendle Way                                                  McMinnville             OR        97128                 Litigation        X           Unknown
  Branham, James                             3-103 County Road U                                                 Liberty Center          OH        43532                 Litigation        X           Unknown
  Branson, Robert                            PO Box 993                                                          Rocky Face              GA        30740                 Litigation        X           Unknown
  Brantley, Inez                             121 Jefferson Street                                                Castleberry             AL        36432                 Litigation        X           Unknown
  Brantley, Joseph                           220 Red Top Circle                                                  Fair Burn               GA        30213                 Litigation        X           Unknown
  Brantley, Laura                            6700 Bone Creek Drive Apt. G                                        Fayetteville            NC        28314                 Litigation        X           Unknown
  Brantley, Lott                             1237 Bridgeford Church Rd.                                          Hazelhurst              GA        31539                 Litigation        X           Unknown
  Braselman, Vandell                         7251 Exeter St. #12                                                 Paramount               CA        90723                 Litigation        X           Unknown
  Brasher, Wayne                             145 North Brush Street                                              Lakepoint               CA        99453                 Litigation        X           Unknown
  Braswell, Olivia                           P.O. Box 6371                                                       Largo                   MD        20792                 Litigation        X           Unknown
  Braud, Genetta                             2801 1/2 S. Bronson                                                 Los Angeles             CA        90018                 Litigation        X           Unknown
  Braun, Irving                              82 N Mitchell Avenue                                                Livingston              NJ      07039-2144              Litigation        X           Unknown
  Braun, Lorna                               220 Stone Mill Road Apt D73                                         Lancaster               PA        17603                 Litigation        X           Unknown
  Bravo Sr., Ralph A.                        5380 24th Street                                                    Rubidoux                CA        92509                 Litigation        X           Unknown
  Bravo, Alyssa                              15542 Orizaba Ave.                                                  Paramount               CA        90723                 Litigation        X           Unknown
  Bravo, Ashley                              15542 Orizaba Ave.                                                  Paramount               CA         90723                Litigation        X           Unknown
  Bravo, Donna Lynn                          1129 North 10th Street                                              Colton                  CA        92324                 Litigation        X           Unknown
  Bravo, Eba                                 11892 Lancewood Drive                                               Moreno Valley           CA        92557                 Litigation        X           Unknown
  Bravo, Lisa                                15542 Orizaba Ave.                                                  Paramount               CA        90723                 Litigation        X           Unknown



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  Brawner, Craig                             1547 Hunters Way Apt 110                                             Bozeman                  MT        59718                 Litigation        X           Unknown
  Brazier, Betty                             2306 Hawthorne Drive                                                 Albany                   GA        31707                 Litigation        X           Unknown
  Brazzel , Mary                             751 Young Rd.                                                        Dubach                   LA        71235                 Litigation        X           Unknown
  Breach, Irene                              608 East Wood Drive                                                  McLean                   IL        61754                 Litigation        X           Unknown
  Breese, Daniel                             184 Mineral Springs Rd.                                              Waynesville              GA        31566                 Litigation        X           Unknown
  Bregz, Victoria                            2011 Clay St.                                                        Henderson                KY        42420                 Litigation        X           Unknown
  Breit, William                             9106 Woodhold Court                                                  Louisville               KY        40291                 Litigation        X           Unknown
  Breland, Virtrelle                         4620 E. Charleston Blvd., Apt. 18                                    Las Vegas                NV      89104-5760              Litigation        X           Unknown
  Breland, William                           12760 Bullitt Road                                                   Deville                  LA      71328-9552              Litigation        X           Unknown
  Brennan, Deborah                           3196 Love Rd.                                                        Grand Island             NY        14072                 Litigation        X           Unknown
  Brennan, Kevin W.                          26231 Paseo Toscana                                                  San Juan Capistrano      CA        92675                 Litigation        X           Unknown
  Brennan-Jones, Cheryl                      801 Pinnacle Cir                                                     Lewisville               TX        75077                 Litigation        X           Unknown
  Brent, Mindy                               247 Parkedge                                                         Tonawanda                NY        14150                 Litigation        X           Unknown
  Brent, Susan J.                            164 Sawyer St                                                        Tonawanda                NY        14150                 Litigation        X           Unknown
  Breor Sr., William                         101 University Drive, Ste B1                                         Amherst                  MA        01002                 Litigation        X           Unknown
  Brewer, Billy                              11669 Herrick Avenue                                                 San Fernando             CA        91340                 Litigation        X           Unknown
  Brewer, Dewell                             2907 NW Liberty                                                      Lawton                   OK        73505                 Litigation        X           Unknown
  Brewer, Farrell                            130 W. Haven Drive                                                   Forest City              IA        50436                 Litigation        X           Unknown
  Brewer, Gary                               17 Kali Court                                                        Conway                   AR        72032                 Litigation        X           Unknown
  Brewer, Larry                              136 Mansfield Grove Road                                             Ford City                PA        16226                 Litigation        X           Unknown
  Brewer, Linda                              658 Walnut St. Apt. 2                                                Pottstown                PA        19464                 Litigation        X           Unknown
  Brewster, Jessica Marie                    12820 Ross Street                                                    Moreno Valley            CA        92553                 Litigation        X           Unknown
  Brewton, Sr., Willie                       512 S. Peterson Avenue, Box 164                                      Douglas                  GA        31535                 Litigation        X           Unknown
  Brice, Frances                             P.O. Box 1102                                                        Knoxville                TN        37901                 Litigation        X           Unknown
  Bridge, Darrell                            703 Madison                                                          Alice                    TX        78332                 Litigation        X           Unknown
  Bridgeman, Marie Janet                     164 Columbia Loop                                                    Roseburg                 CA        97471                 Litigation        X           Unknown
  Bridges, Janet                             P.O. Box 483                                                         Fritch                   TX        79036                 Litigation        X           Unknown
  Bridges, Thelma                            PO Box 319                                                           Buena Vista              GA        31803                 Litigation        X           Unknown
  Bridges, William                           3203 Havner Lane                                                     Houston                  TX        77093                 Litigation        X           Unknown
  Bridgman, Ronald                           2184 Street Rd.                                                      Warrington               PA        18976                 Litigation        X           Unknown
  Briggs, Benjamin                           7981 Ravenwood Cove                                                  Spring Hill              FL        34606                 Litigation        X           Unknown
  Briggs, James R.                           210 Overleaf Drive                                                   Keller                   TX        76248                 Litigation        X           Unknown
  Brigham, Richard                           3545 NE 166th Street, Apt 907W                                       North Miami Beach        FL        33160                 Litigation        X           Unknown
  Briley, Kenneth                            6985 Highway 166 South                                               Pocahontas               AR      72455-7029              Litigation        X           Unknown
  Briley, Michael David                      23291 Lena St.                                                       Moreno Valley            CA        92553                 Litigation        X           Unknown
  Brill, Harland                             PO Box 928                                                           Lyndonville              VT        05851                 Litigation        X           Unknown
  Brinch, Jorgen                             21267 Gertrude Ave #105                                              Port Charlotte           FL        33952                 Litigation        X           Unknown
  Brinkman, William                          819 Holman Road                                                      Moberly                  MO        65270                 Litigation        X           Unknown
  Briones, Kevin                             5520 Village Dr                                                      Commerce                 CA        90040                 Litigation        X           Unknown
  Bristow, Dan                               2331 Westside Blvd., SE Apt. 339                                     Rio Rancho               NM        87124                 Litigation        X           Unknown
  Brito, Diosdado                            27 Arkansas Ave.                                                     Henderson                NV        89015                 Litigation        X           Unknown
  Britton, David                             125 Hickory Drive                                                    Hatfield                 PA        19440                 Litigation        X           Unknown
  Britton, Sidney                            7811 Dougles Street                                                  West Lakeland            WA        98498                 Litigation        X           Unknown
  Broadnax, Irene                            11503 Murr Way                                                       Houston                  TX        77048                 Litigation        X           Unknown
  Broadnax, Jerry                            2631 Nina Circle                                                     Grand Perry              TX        75052                 Litigation        X           Unknown
  Broadway, John                             853 S. Detroit Ave.                                                  Toledo                   OH        43609                 Litigation        X           Unknown
  Brock Jr., John                            402 Hotz Street                                                      Spring Valley            CA        91977                 Litigation        X           Unknown
  Brock, Jennifer                            3917 Arden Blvd                                                      Youngstown               OH        44511                 Litigation        X           Unknown
  Brock, Norma                               817 Buchanan Rd                                                      New Tazewell             TN        37825                 Litigation        X           Unknown
  Brock, Rose                                P.O. Box 193                                                         Bledsoe                  KY        40810                 Litigation        X           Unknown



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  Brockington, Merle                         10293 Rd 556                                                         Bay St. Louis           MS      39520              Litigation        X           Unknown
  Brockman, Alan                             6305 Silver Lake Trail                                               Cary                     IL     60013              Litigation        X           Unknown
  Broden, Wanda                              409 Hammond Street                                                   Waverly                 KS      66871              Litigation        X           Unknown
  Broga, Gary                                752 West Tyler Island Bridge Road                                    Isleton                 CA      95641              Litigation        X           Unknown
  Bromell-Revill, Vanessa                    7911 Westpark Drive Apt. #1411                                       McLean                  VA      22102              Litigation        X           Unknown
  Brooks Jr., Melvin                         1993 Echo Road                                                       San Jacinto             CA      92582              Litigation        X           Unknown
  Brooks, Crystal                            1993 Echo Road                                                       San Jacinto             CA      92582              Litigation        X           Unknown
  Brooks, Eve                                14 Grant County Road, Unit 492                                       Sheridan                AR      72150              Litigation        X           Unknown
  Brooks, Gloria                             808 N Main St. Unit 225                                              Salinas                 CA      93906              Litigation        X           Unknown
  Brooks, Irene                              1015 South Linan                                                     Hobbs                   NM      88240              Litigation        X           Unknown
  Brooks, James                              1772 Gulfstream Ave Apt A-1                                          Ft. Pierce              FL      34949              Litigation        X           Unknown
  Brooks, Lewis                              1643 N. Main St.                                                     Williamstown            NJ      08094              Litigation        X           Unknown
  Brooks, Marcus                             5327 El Rio Avenue                                                   Riverside               CA      92509              Litigation        X           Unknown
  Brooks, Minnie Mae                         4589 East McMillan Road                                              Las Vegas               NV      89121              Litigation        X           Unknown
  Brooks, Phyllis                            PO Box 134                                                           Wedron                   IL     60557              Litigation        X           Unknown
  Brooks, Rory                               1223 Adam Street                                                     Ottawa                  IL      61350              Litigation        X           Unknown
  Brooks, Tony                               1165 Pine Drive                                                      Morgantown              NC      28655              Litigation        X           Unknown
  Brophy, Katherine Ann                      1350 Malaga Drive                                                    Riverside               CA      92509              Litigation        X           Unknown
  Brophy, Kevin Walker                       1350 Malaga Drive                                                    Riverside               CA      92509              Litigation        X           Unknown
  Brothers, Don                              PO Box 63                                                            Oak Lawn                IL      60454              Litigation        X           Unknown
  Broughton, Renata                          41021 Old Michigan Avenue                                            Canton                  MI      48188              Litigation        X           Unknown
  Broussard, Barbara                         3840 Tracy Northeast                                                 Albuquerque             NM      87111              Litigation        X           Unknown
  Brown, Alvena                              10002 East 600 South                                                 Upland                  IN      46989              Litigation        X           Unknown
  Brown, Arlena                              504 E Ellis St.                                                      Davis                   OK      73030              Litigation        X           Unknown
  Brown, Artavia                             1305 W 106th St                                                      Los Angeles             CA      90044              Litigation        X           Unknown
  Brown, Barbara                             421 Rodeo Road Apt 119                                               North Platte            NE      69101              Litigation        X           Unknown
  Brown, Booker                              26321 Olanche Street                                                 Mojave                  CA      93501              Litigation        X           Unknown
  Brown, Bradford                            2115 E. Aspen                                                        Mesa                    AZ      85204              Litigation        X           Unknown
  Brown, Bradley                             24443 Island Avenue                                                  Carson                  CA      90745              Litigation        X           Unknown
  Brown, Canary                              711 Jefferson Street                                                 Indianola               MS      38751              Litigation        X           Unknown
  Brown, Christopher                         232 Blakley Avenue                                                   Buchanan                NY      10511              Litigation        X           Unknown
  Brown, Clyde                               1948 Thornhill Place                                                 Detroit                 MI      48207              Litigation        X           Unknown
  Brown, David                               209 McKinnley St. # 1                                                Munhall                 PA      15120              Litigation        X           Unknown
  Brown, Delilah                             24443 Island Avenue                                                  Carson                  CA      90745              Litigation        X           Unknown
  Brown, Donald                              123 S. Betty Jane Drive                                              Walker Lake             NV      89415              Litigation        X           Unknown
  Brown, Durry                               2928 W. 74th Street                                                  Los Angeles             CA      90043              Litigation        X           Unknown
  Brown, Eugene                              46 Webb Street                                                       Calumet City             IL     60409              Litigation        X           Unknown
  Brown, Eula                                1737 Wickford Road                                                   Cleveland               OH      44112              Litigation        X           Unknown
  Brown, Farah                               3 Mock Drive                                                         Wilmington              DE      19810              Litigation        X           Unknown
  Brown, Fred                                4128 Rigel Avenue                                                    Lompoc                  CA      93436              Litigation        X           Unknown
  Brown, George                              4013 Crabtree Cove                                                   Midwest City            OK      73110              Litigation        X           Unknown
  Brown, Grace                               1720 Meyers Place                                                    Oklahoma City           OK      73111              Litigation        X           Unknown
  Brown, Hazel                               3720 Barrington Bridge Place                                         Henrico                 VA      23233              Litigation        X           Unknown
  Brown, Idella                              1383 W. Birch Street                                                 San Bernardino          CA      92410              Litigation        X           Unknown
  Brown, Irene                               24617 Marbella Avenue                                                Carson                  CA      90745              Litigation        X           Unknown
  Brown, James                               4218 Highway 25 North                                                Hodges                  SC      29653              Litigation        X           Unknown
  Brown, Jerry                               805 Edgewood Ave.                                                    Ashland                 KY      41102              Litigation        X           Unknown
  Brown, John                                4520 Slickrock Cove                                                  Austin                  TX      78747              Litigation        X           Unknown
  Brown, Jolita                              1114 North Flora Street                                              Peoria                  IL      61606              Litigation        X           Unknown
  Brown, Joseph                              743 Azalea Drive                                                     Rockville               MD      20850              Litigation        X           Unknown



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  Brown, Julia                               4807 Moutline Drive                                                   Greensboro               NC        27409                 Litigation        X           Unknown
  Brown, Kelvin                              8203 Lawler                                                           Houston                  TX        77051                 Litigation        X           Unknown
  Brown, Kenneth                             5307 El Rio Avenida                                                   Riverside                CA        92509                 Litigation        X           Unknown
  Brown, Kevin                               206 Bushwillow Circle                                                 Aiken                    SC        29801                 Litigation        X           Unknown
  Brown, Lee                                 P.O. Box 1971, Bloomfield                                             NM 87413                 NM        87413                 Litigation        X           Unknown
  Brown, Michael                             9028 Mandel Dr.                                                       Washington Township      OH        45458                 Litigation        X           Unknown
  Brown, Michael                             795 17th St NE                                                        Salem                    OR        97301                 Litigation        X           Unknown
  Brown, Michell                             4908 Main Street                                                      Brighton                 AL        35020                 Litigation        X           Unknown
  Brown, Mickiey                             66729 El Dorado Place                                                 Desert Hot Springs       CA        92240                 Litigation        X           Unknown
  Brown, Milton                              708 Old Whitfield Rd                                                  Pearl                    MS        39208                 Litigation        X           Unknown
  Brown, Ola                                 8079 Park Lawn Court                                                  Fontana                  CA        92336                 Litigation        X           Unknown
  Brown, Patricia                            1565 Peasant Ave Apt 101                                              Fresno                   CA        93728                 Litigation        X           Unknown
  Brown, Richard                             546 Palmerston                                                        River Rouge              MI        48218                 Litigation        X           Unknown
  Brown, Richard H.                          659 Alberta Street                                                    Altadena                 CA        91001                 Litigation        X           Unknown
  Brown, Robert                              10891 West Davis Lane                                                 Avondale                 AZ        85323                 Litigation        X           Unknown
  Brown, Robert                              3012 Potrero Way                                                      Fairfield                CA        94534                 Litigation        X           Unknown
  Brown, Robert                              Mid-Orange Corr. Facility, 900 Kings Highway                          Warwick                  NY        10990                 Litigation        X           Unknown
  Brown, Ruth                                5213 Loch Raven Blvd                                                  Baltimore                MD        21239                 Litigation        X           Unknown
  Brown, Shannon Cheri                       2720 Avalon Street                                                    Riverside                CA        92509                 Litigation        X           Unknown
  Brown, Stuart                              1710 Diane Street                                                     Wichita                  KS        67217                 Litigation        X           Unknown
  Brown, Tina                                208 Meadow Park Drive                                                 North Little Rock        AR        72117                 Litigation        X           Unknown
  Brown, Trena Louise                        1193 Strand Way                                                       Perris                   CA        92571                 Litigation        X           Unknown
  Brown, William                             7522 Chuckwagon Drive                                                 Enid                     OK        73703                 Litigation        X           Unknown
  Brown, William                             2300 Portugee Road                                                    Sandston                 VA        23150                 Litigation        X           Unknown
  Brown, Willie                              4067 W. 8th St.                                                       Los Angeles              CA        90005                 Litigation        X           Unknown
  Brown, Winnie J.                           1167 N. Glenwood Ave.                                                 Rialto                   CA        92376                 Litigation        X           Unknown
  Browne, John                               23891 Landisview Avenue                                               Lake Forest              CA        92630                 Litigation        X           Unknown
  Browning, Franklin James                   233 E. 17th St. #83                                                   San Bernardino           CA        92404                 Litigation        X           Unknown
  Broxton, Lawrence                          500 Tomoka Rd                                                         Daytona Beach            FL        32114                 Litigation        X           Unknown
  Broy, Lorraine                             6745 S Indiana Ave.                                                   Chicago                  IL        60637                 Litigation        X           Unknown
  Bruce, Marvin                              1711 Albert Terrace                                                   Mitchellville            MD        20721                 Litigation        X           Unknown
  Brumbaugh & family, Dina                   215 E. Felton St                                                      North Tonawanda          NY        14120                 Litigation        X           Unknown
  Brumfield, Annie                           P.O. Box 198184                                                       Chicago                  IL        60619                 Litigation        X           Unknown
  Brummett, Bobby                            1717 N 51st St                                                        McAllen                  TX        78501                 Litigation        X           Unknown
  Bruno, Alec                                1450 Kendall St Apt G-12                                              Lakewood                 CO        80214                 Litigation        X           Unknown
  Brunson, Chris L.                          3924 DeTonty Street                                                   St. Louis                MO        63110                 Litigation        X           Unknown
  Brunson, Ralph                             5122 Great Falls Hwy.                                                 Great Falls              SC        29055                 Litigation        X           Unknown
  Brunty, Sarah                              308 S. Garrett St.                                                    Nevada                   OH        44849                 Litigation        X           Unknown
  Brush, Josephine                           5027 Seay Road                                                        Huntsville               AL        35806                 Litigation        X           Unknown
  Brutocao, Morgan                           6 Venture, Ste. 100                                                   Irvine                   CA        92603                 Litigation        X           Unknown
  Bryant Sr., Leonard                        1683 Lawrence St.                                                     Rahway                   NJ        07065                 Litigation        X           Unknown
  Bryant, Allen Gregory                      1345 W. 105th Street- Apt. 103                                        Los Angeles              CA        90044                 Litigation        X           Unknown
  Bryant, Early                              2396 Highway 72                                                       Hulen                    KY      40845-9025              Litigation        X           Unknown
  Bryant, Frederick Charles                  13734 Rundell Drive                                                   Moreno Valley            CA        92553                 Litigation        X           Unknown
  Bryant, Jason                              216 Shadow Break Drive                                                Burlington               NC        27215                 Litigation        X           Unknown
  Bryant, Keith                              213 Grover Road                                                       Toms River               NJ        08753                 Litigation        X           Unknown
  Bryant, Lanae                              5902 Las Virgenes                                                     Calabasas                CA        91302                 Litigation        X           Unknown
  Bryant, Larry                              655 TP Cundiff Road                                                   Columbia                 KY        42728                 Litigation        X           Unknown
  Bryant, Lenae                              5902 Las Virgines Rd, #542                                            Calabasas                CA        91302                 Litigation        X           Unknown
  Bryant, Liberty Love                       5038 North 55th Avenue Apt 1036                                       Glendale                 AZ        85301                 Litigation        X           Unknown



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  Bryant, Norman                             511 Whittier Street                                                 Silverton                 OR        97381                 Litigation        X           Unknown
  Brzozowski, Raymond                        4445 River Trail Road                                               Jacksonville              FL        32277                 Litigation        X           Unknown
  Bucannon, Autumn                           1001 E 31st Terrace                                                 Hutchinson                KS        67502                 Litigation        X           Unknown
  Buchanan, Junious                          105 W 128th Street                                                  Kansas City               MO        64145                 Litigation        X           Unknown
  Buchanan, Mary                             2138 Druid Hill Ave.                                                Baltimore                 MD        21217                 Litigation        X           Unknown
  Buck, Ashley                               10254 Dover Ridge Apt. #404                                         San Antonio               TX        78250                 Litigation        X           Unknown
  Buckingham, Albert                         2826 Rural Hill Circle                                              Nashville                 TN        37217                 Litigation        X           Unknown
  Buckner, Margaret                          1409 Sampson Street                                                 Des Moines                IA        50316                 Litigation        X           Unknown
  Buckner, Mary                              275-A Shorty B. Road                                                Hartsfield                GA        31756                 Litigation        X           Unknown
  Buczynski, Maria                           257 Eaton St.                                                       Northfield                IL        60093                 Litigation        X           Unknown
  Budd, Patricia                             24630 West Canal Road                                               Channahon                 IL        60410                 Litigation        X           Unknown
  Buelna, Reynaldo                           918 North Evergreen Street                                          Chandler                  AZ      85225-7235              Litigation        X           Unknown
  Bueno, Alicia                              4734 Deanne Lane Hixson                                             TN 37343                  TN        37343                 Litigation        X           Unknown
  Bufagna, Donald                            124 Ludwig Road                                                     Armagh                    PA        15920                 Litigation        X           Unknown
  Buford, Grover                             4952 Morgan Street                                                  Charlotte                 NC        28208                 Litigation        X           Unknown
  Buford, Janie                              2479 Abnerterrace Apt. 214                                          Atlanta                   GA        30318                 Litigation        X           Unknown
  Buford, Jazmin                             7218 Petrol St., Apt. 4                                             Paramount                 CA         90723                Litigation        X           Unknown
  Bui, Tuan                                  27015 Big Horn Mountain Way                                         Yorba Linda               CA        92887                 Litigation        X           Unknown
  Bukich, Rudolph                            12370 Carmel Country Road                                           San Diego                 CA        92130                 Litigation        X           Unknown
  Bullard, Courtland                         2200 S.W. 113 Ct.                                                   Miami                     FL        33170                 Litigation        X           Unknown
  Bullock, Alice                             142-05 168th Street                                                 Jamaica                   NY        11434                 Litigation        X           Unknown
  Bullock, Ricardo C.                        6664 E. Refuge Road                                                 Florence                  AZ        85132                 Litigation        X           Unknown
  Buna, Joseph                               2449 Fairway Drive                                                  San Leandro               CA        94577                 Litigation        X           Unknown
  Bunal, Ma Alma                             826 Amapola Avenue                                                  Torrance                  CA        90501                 Litigation        X           Unknown
  Bunch, Dawn                                1298 Raleigh Way                                                    Lawrenceville             GA        30043                 Litigation        X           Unknown
  Bundalian, Vincent                         19482 Hansen Ln                                                     Huntington Beach          CA        92646                 Litigation        X           Unknown
  Bundy, Justin                              8839 Meldar Avenue                                                  Downey                    CA      90240-2315              Litigation        X           Unknown
  Bundy, Roger                               251 S. Ocotillo Ave. #171                                           Benson                    AZ        85602                 Litigation        X           Unknown
  Bunton, Oleva                              Lot 50, LaChatteau                                                  Union                     MO        63084                 Litigation        X           Unknown
  Bupp, Gertrude                             2850 W. Canal Road                                                  Dover                     PA        17315                 Litigation        X           Unknown
  Burditus, Charles Anthony                  274 McMillan Court Martinsburg                                      Martinsburg               WV        25404                 Litigation        X           Unknown
  Burger, Robert                             13154 W Seville Drive                                               Sun City West             AZ        85375                 Litigation        X           Unknown
  Burgess, Clara                             5695 Sexton Lane                                                    Riverside                 CA        92509                 Litigation        X           Unknown
  Burgess, Virginia                          15900 Sandburg Sr.                                                  Romulus                   MI        48174                 Litigation        X           Unknown
  Burian, Brian                              1348 Villa St.                                                      Riverside                 CA        92507                 Litigation        X           Unknown
  Burian, Cindy Michelle                     6081 Barcelona Avenue                                               Riverside                 CA        92509                 Litigation        X           Unknown
  Burian, Gregory Allen                      6081 Barcelona Avenue                                               Riverside                 CA        92509                 Litigation        X           Unknown
  Burke, Diedre                              24412 Ravenna Avenue                                                Carson                    CA        90745                 Litigation        X           Unknown
  Burke, Paul                                475 Calero Ave                                                      San Jose                  CA        95123                 Litigation        X           Unknown
  Burke, Robert                              4303 Maple Leaf Lane                                                Wilson                    NC        27893                 Litigation        X           Unknown
  Burkhart, Doretta                          62120 Orange Road                                                   South Bend                IN        46614                 Litigation        X           Unknown
  Burks, Natalia                             1014 E. Yandell Drive, Apt. #5                                      El Paso                   TX        79902                 Litigation        X           Unknown
  Burleson, George                           330 Jefferson Avenue                                                New London                CT        06320                 Litigation        X           Unknown
  Burnett, Marcia                            2801 Dover Ave. Apt. 528                                            Fairfield                 CA      94533-8941              Litigation        X           Unknown
  Burnett, Melvin Leon                       P.O. Box 3581                                                       Riverside                 CA        92509                 Litigation        X           Unknown
  Burney, George                             PO Box 69                                                           Hagen                     GA        30429                 Litigation        X           Unknown
  Burns, Bobbie                              16071 Highway 136 East                                              Robards                   KY        42452                 Litigation        X           Unknown
  Burns, Gloria                              49 Dupont Ave                                                       Tonawanda                 NY        14150                 Litigation        X           Unknown
  Burnside, Andre C.                         43100 Bellota Court                                                 Temecula                  CA        92592                 Litigation        X           Unknown
  Burnside, Carol E.                         30141 Antelope Road- Suite D 634                                    Menifee                   CA        92584                 Litigation        X           Unknown



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  Burnside, Maxine                           7600 E. 112th Street                                                Kansas                   MO        64134                 Litigation        X           Unknown
  Burr, Coy                                  2825 S. Mansion Drive, Apt 602                                      Independence             MO        64055                 Litigation        X           Unknown
  Burris, Justin                             24722 Ravenna Avenue                                                Carson                   CA        90745                 Litigation        X           Unknown
  Burson, Earl                               295 Hillside Dr                                                     Harrah                   OK        73045                 Litigation        X           Unknown
  Burton, Anastasia                          674 Ashwood Ave.                                                    Lewisburg                TN        37091                 Litigation        X           Unknown
  Bush, Debra                                300 Skylark Court                                                   Holland                  MI        49423                 Litigation        X           Unknown
  Bush, Glenn                                160 Blount Brimage Dr.                                              New Bern                 NC        28562                 Litigation        X           Unknown
  Bush, Norma                                2201 S. Pacific Avenue, Apt. 204                                    Santa Ana                CA        92704                 Litigation        X           Unknown
  Busocker, Virginia                         1011 Andrews Street                                                 Arlington                TX        76011                 Litigation        X           Unknown
  Buss, Patricia                             805 S.W. 8th Street                                                 Seminole                 TX        79360                 Litigation        X           Unknown
  Bussa, Leonard                             RTS - 203 Sundown Drive                                             Bethpage                 NY        11714                 Litigation        X           Unknown
  Bussear II, William Leander                19614 Riverwalk Drive                                               Porter                   TX        77365                 Litigation        X           Unknown
  Bussear, Martha Torres                     19614 Riverwalk Drive                                               Porter                   TX        77365                 Litigation        X           Unknown
  Bustamante, Blanca Estela                  P.O. BOX 3326                                                       Riverside                CA      92519-3326              Litigation        X           Unknown
  Bustamante, Iris Janet                     P.O. Box 3326                                                       Riverside                CA        92519                 Litigation        X           Unknown
  Bustamante, Jenny                          P.O. Box 3326                                                       Riverside                CA        92519                 Litigation        X           Unknown
  Bustamante, Jimmy                          2441 W Glencrest Avenue                                             Anaheim                  CA        92801                 Litigation        X           Unknown
  Bustamante, Santiago                       PO BOX 3326                                                         Riverside                CA      92519-3326              Litigation        X           Unknown
  Buteaux, Mary                              RTS - 428 Chitimacha Loop Road, #101                                Jeanerette               LA        70544                 Litigation        X           Unknown
  Butler Sr., Bernell Florenz                5365 26th Street                                                    Riverside                CA        92509                 Litigation        X           Unknown
  Butler Sr., Timothy                        14826 Meadow Breeze Drive                                           Moreno Valley            CA        92553                 Litigation        X           Unknown
  Butler, Dewayne                            5365 26th Street                                                    Riverside                CA        92509                 Litigation        X           Unknown
  Butler, Ethel                              318 S. Fourth Street                                                Danton                   MD        21629                 Litigation        X           Unknown
  Butler, Frankie                            519 County Home Road                                                Rockingham               NC        28379                 Litigation        X           Unknown
  Butler, Freda Merlene                      3661 Pacific Ave.- Space #35                                        Riverside                CA        92509                 Litigation        X           Unknown
  Butler, Georgina                           3348 Beatrice Drive                                                 Rubidoux                 CA        92509                 Litigation        X           Unknown
  Butler, Jerametrius                        1717 High Valley Lane                                               Cedar Hill               TX        75104                 Litigation        X           Unknown
  Butler, Julian                             3860 Missouri Avenue                                                Saint Louis              MO        63118                 Litigation        X           Unknown
  Butler, Kacey                              291 Cedar Hill Road                                                 Madison                  VA        22727                 Litigation        X           Unknown
  Butler, Kimberly Rochelle                  24095 Sun Valley Road                                               Moreno Valley            CA        92553                 Litigation        X           Unknown
  Butler, Larry                              P.O. Box 3032                                                       Helendale                CA        92342                 Litigation        X           Unknown
  Butler, Larry                              2340 Holliwell Bridge Rd                                            Winterset                IA        50273                 Litigation        X           Unknown
  Butler, Lynnette Renee Lenora              14826 Meadow Breeze Drive                                           Moreno Valley            CA        92553                 Litigation        X           Unknown
  Butler, Minerva Jean                       2836 Demeter Place                                                  Riverside                CA        92509                 Litigation        X           Unknown
  Butler, Molissia Lashawna                  5365 26th Street                                                    Riverside                CA        92509                 Litigation        X           Unknown
  Butler, Perles                             528 SE 26 Circle                                                    Oklahoma City            OK        73129                 Litigation        X           Unknown
  Butler, Phillip R.                         14325 Meadow Breeze Drive                                           Moreno Valley            CA        92553                 Litigation        X           Unknown
  Butler, Priscilla                          27574 Edgewood Circle                                               Salisbury                MD        21801                 Litigation        X           Unknown
  Butler, Rochelle                           3105 Bublin Bay Ave                                                 North Las Vegas          NV        89081                 Litigation        X           Unknown
  Butler, Roger                              6324 Rustic Lane                                                    Riverside                CA        92509                 Litigation        X           Unknown
  Butler, Ronald James                       10521 Gusty Court                                                   Las Vegas                NV        89129                 Litigation        X           Unknown
  Butler, Ruthie                             12250 Ballard Rd. Lot # 3                                           Grand Bay                AL        36541                 Litigation        X           Unknown
  Butler, Shirley Jean                       14826 Meadow Breeze Drive                                           Moreno Valley            CA        92553                 Litigation        X           Unknown
  Butler, Suzanne                            6147 35th Court East                                                Bradenton                FL        34203                 Litigation        X           Unknown
  Butler, Victor Allen                       12527 Jade Road                                                     Victorville              CA        92392                 Litigation        X           Unknown
  Butler, William                            1115 Spyglass Dr.                                                   Mansfield                TX        76063                 Litigation        X           Unknown
  Butler, Zoda                               1526 W. 112th Street                                                Los Angeles              CA        90047                 Litigation        X           Unknown
  Butsko, Terry                              160 Ryans Crest Lane                                                Garfield                 KY        40140                 Litigation        X           Unknown
  Butts III, Henderson                       5335 El Rio Ave. Apt A                                              Riverside                CA        92509                 Litigation        X           Unknown
  Butts Jr., Albert                          5627 Fleming Ave.                                                   Oakland                  CA        94605                 Litigation        X           Unknown



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  Butts, Barbara Jean                        5745 Favela Drive                                                    Riverside                CA        92509                 Litigation        X           Unknown
  Butts, Brian                               2141 Foxtail Court                                                   Perris                   CA        92571                 Litigation        X           Unknown
  Butts, Brittany Marie                      5335 El Rio Ave.- Apt. A                                             Riverside                CA        92509                 Litigation        X           Unknown
  Butts, Darnell                             5315 El Rio Avenue                                                   Riverside                CA        92509                 Litigation        X           Unknown
  Butts, Denise Annette                      1015 Weaver Drive                                                    Las Vegas                NV        89106                 Litigation        X           Unknown
  Butts, Fena Denise                         P.O. Box 565                                                         Upland                   CA      91785-0565              Litigation        X           Unknown
  Butts, Gail                                5335 El Rio Ave.- Apt. A                                             Rubidoux                 CA        92509                 Litigation        X           Unknown
  Butts, Hazel Syrilda                       5627 Flemming Avenue                                                 Oakland                  CA        94605                 Litigation        X           Unknown
  Butts, Nicole Damone                       4589 East McMillan Road                                              Las Vegas                NV        89121                 Litigation        X           Unknown
  Butts, Pamela Lanea                        1015 Weaver Drive                                                    Las Vegas                NV        89106                 Litigation        X           Unknown
  Butts, Robert Williams                     3610 Grandview Avenue                                                Riverside                CA        92509                 Litigation        X           Unknown
  Butts, Rodney D.                           4589 East McMillan Road                                              Las Vegas                NV        89121                 Litigation        X           Unknown
  Butts, Virginia Eara                       5627 Fleming Avenue                                                  Oakland                  CA        94605                 Litigation        X           Unknown
  Butts-Duncan, Jernice Adriauna             2563 Sheldon Drive                                                   El Sobrante              CA        94803                 Litigation        X           Unknown
  Butts-Dunn, Bobbie J.                      73 Deerborn Drive                                                    Aliso Viejo              CA        92656                 Litigation        X           Unknown
  Buxton, Lynda                              25 Knox Ave.                                                         West Seneca              NY        14224                 Litigation        X           Unknown
  Bycott, James                              79845 Bermuda Dunes Drive                                            Bermuda Dunes            CA        92203                 Litigation        X           Unknown
  Byer, Mary                                 1724 Hollywood Drive                                                 Columbia                 SC        29205                 Litigation        X           Unknown
  Byers, Norman                              P.O. Box 4672                                                        Culver City              CA        90231                 Litigation        X           Unknown
  Byndloss, Jasmine                          21360 Rancherias Road                                                Apple Valley             CA        92307                 Litigation        X           Unknown
  Byndloss, Sharon                           8445 S. Las Vegas Blvd. Apt. 1097                                    Las Vegas                NV        89123                 Litigation        X           Unknown
  Bynoe, Mary                                68 Lincoln Street                                                    East Orange              NJ        07017                 Litigation        X           Unknown
  Byrom, Urschel Gene                        207 W. 52nd Place                                                    Los Angeles              CA        90037                 Litigation        X           Unknown
  Caballero Jr, Alexander                    2896 Avalon Street                                                   Riverside                CA        92509                 Litigation        X           Unknown
  Caballero, Debra Lee                       3468 Novak Street                                                    Riverside                CA        92509                 Litigation        X           Unknown
  Caballero, Jaclyn Nicole                   1446 Satinwood Court                                                 Riverside                CA        92501                 Litigation        X           Unknown
  Caballero, Jennie                          5875 Mission Blvd.- Apt. 21                                          Riverside                CA      92509-7904              Litigation        X           Unknown
  Caballero, Margaret Ann                    2896 Avalon Street                                                   Riverside                CA        92509                 Litigation        X           Unknown
  Caballero, Yvonne Marie                    2896 Avalon Street                                                   Riverside                CA        92509                 Litigation        X           Unknown
  Cabanas, Genesis                           28621 Mount Whitney Way                                              Rancho Palos Verdes      CA        90275                 Litigation        X           Unknown
  Cabanting, Krystal                         25 Alohi Place                                                       Pukalani                 HI        96768                 Litigation        X           Unknown
  Cabaron, Mary Ann                          24431 Island Avenue                                                  Carson                   CA        90745                 Litigation        X           Unknown
  Cabaron, Rey                               24431 Island Avenue                                                  Carson                   CA        90745                 Litigation        X           Unknown
  Cabaron, Reyann                            24431 Island Avenue                                                  Carson                   CA        90745                 Litigation        X           Unknown
  Cabello, Abelardo                          24406 Island Avenue                                                  Carson                   CA        90745                 Litigation        X           Unknown
  Cabello, Consuelo                          24406 Island Avenue                                                  Carson                   CA        90745                 Litigation        X           Unknown
  Cabello, Crystal                           24406 Island Avenue                                                  Carson                   CA        90745                 Litigation        X           Unknown
  Cable, William Cecil                       11228 N. Hampton Dr.                                                 Charlotte                NC        28227                 Litigation        X           Unknown
  Cabral, Barbara                            5827 Dagwood Ave.                                                    Lakewood                 CA        90712                 Litigation        X           Unknown
  Cabral, Manuel                             5827 Dagwood Ave.                                                    Lakewood                 CA        90712                 Litigation        X           Unknown
  Cabral, Mark                               5827 Dagwood Ave.                                                    Lakewood                 CA        90712                 Litigation        X           Unknown
  Cabral, Michael                            5827 Dagwood Ave.                                                    Lakewood                 CA        90712                 Litigation        X           Unknown
  Cabrera, Blanca                            24729 Ravenna Avenue                                                 Carson                   CA        90745                 Litigation        X           Unknown
  Cabrera, Brenda                            24709 Neptune Avenue                                                 Carson                   CA        90745                 Litigation        X           Unknown
  Cabrera, Jose                              15445 Valencia Avenue                                                Fontana                  CA        92335                 Litigation        X           Unknown
  Cabrera, Josefa                            11101 S W 37th St.                                                   Miami                    FL        33165                 Litigation        X           Unknown
  Cabrera, Juan                              24729 Ravenna Avenue                                                 Carson                   CA        90745                 Litigation        X           Unknown
  Cabriales, Cheryle Ann                     16233 Menahka Rd.                                                    Apple Valley             CA        92307                 Litigation        X           Unknown
  Cabriales, Trinity                         16599 Kayuga St.                                                     Victorville              CA        92395                 Litigation        X           Unknown
  Caceres, Dennis                            63 West Home Street                                                  Long Beach               CA        90805                 Litigation        X           Unknown



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  Caceres, Domingo                           1141 Country Club Lane                                              Corona                   CA      92880              Litigation        X           Unknown
  Caceres, Kimberly                          1141 Country Club Lane                                              Corona                   CA      92880              Litigation        X           Unknown
  Caceres, Mario                             4141 Cutler Ave                                                     Baldwin Park             CA      91706              Litigation        X           Unknown
  Caddell, Betty                             607 Bellview Street                                                 Robbins                  NC      27325              Litigation        X           Unknown
  Cadigan, David                             RTS - 386 Carmel Creeper Place                                      Encinitas                CA      92024              Litigation        X           Unknown
  Caesar, Glennie                            211 South Vermillion St.                                            Pontiac                  IL      61764              Litigation        X           Unknown
  Cain, Andre                                9838 Old Bay Meadows Rd. #212                                       Jacksonville             FL      32256              Litigation        X           Unknown
  Cain, Jennifer                             6132 Residencia                                                     Newport Beach            CA      92660              Litigation        X           Unknown
  Cain, Rosie L.                             2251 Wigwam Parkway #1826                                           Henderson                NV      89074              Litigation        X           Unknown
  Caissie, Sr., Ernest                       85 Morin Avenue, Apt B                                              Danielson                CT      06239              Litigation        X           Unknown
  Calabris, Lester                           PO Box 277                                                          Wadsworth                OH      44282              Litigation        X           Unknown
  Calandra, Thomas                           509 Claremont Avenue, Apt. N                                        Kenmore                  NY      14223              Litigation        X           Unknown
  Calderon, Anita                            815 E Florida St. Apt. 27                                           Deming                   NM      88030              Litigation        X           Unknown
  Calderon, Carolyn                          75 Dore Street Apt. 311                                             San Francisco            CA      94103              Litigation        X           Unknown
  Calderon, Ronnie                           1474 North 10th Street                                              Colton                   CA      92324              Litigation        X           Unknown
  Caldwell, Jacari                           800 E. Washington St.- Apt. 794                                     Colton                   CA      92324              Litigation        X           Unknown
  Cales, Margie                              3702 Dawn Ave                                                       Kissimmee                FL      34744              Litigation        X           Unknown
  Calhoun, Kyla                              12699 Tigers Eye Hwy                                                Moreno Valley            CA      92555              Litigation        X           Unknown
  Calhoun, Nakell                            8350 Gardendale St., Apt. 121                                       Paramount                CA      90723              Litigation        X           Unknown
  Calhoun, Robert                            42 Old Cotton Gin Rd                                                Tremont                  MS      38876              Litigation        X           Unknown
  Calire, Aimee                              55 Ralston Ave.                                                     Kenmore                  NY      14217              Litigation        X           Unknown
  Callahan, Daniel                           143 Uncle Percy's Rd                                                Mashpee                  MA      02649              Litigation        X           Unknown
  Callahan, James                            1437 Club View Drive                                                Los Angeles              CA      90024              Litigation        X           Unknown
  Calvert, Ariana                            5339 Paloma Road                                                    Riverside                CA      92509              Litigation        X           Unknown
  Calvert, David                             130 White Pine Blvd                                                 New Albany               IN      47150              Litigation        X           Unknown
  Calvert, Maria P.                          5339 Paloma Road                                                    Riverside                CA      92509              Litigation        X           Unknown
  Calvo, Martha                              6150 Rugby Ave Apt 114                                              Huntington Park          CA      90255              Litigation        X           Unknown
  Camacho, Ana                               P.O. Box 964                                                        Orland                   CA      95963              Litigation        X           Unknown
  Camacho, Erik                              464 North Garfield Avenue, Apt A                                    Montebello               CA      90640              Litigation        X           Unknown
  Camacho, Giovanni                          2767 West 1st Space 71                                              Santa Ana                CA      92703              Litigation        X           Unknown
  Camacho, Harold                            1980 Military Ave                                                   Seaside                  CA      93955              Litigation        X           Unknown
  Camacho, Omar                              2767 W. 1st Street- Space 71                                        Santa Ana                CA      92703              Litigation        X           Unknown
  Camagong, Donnie                           3180 Easy Avenue                                                    Long Beach               CA      90810              Litigation        X           Unknown
  Camarena, Catalina                         19401 Acorn Street                                                  Bloomington              CA      92316              Litigation        X           Unknown
  Camarena, Gilberto                         7569 Guthrie Street                                                 San Bernardino           CA      92410              Litigation        X           Unknown
  Camarena, Rafael                           19401 Acorn Street                                                  Bloomington              CA      92316              Litigation        X           Unknown
  Camarillo, Jessica                         1729 Clear Creek Lane                                               Colton                   CA      92324              Litigation        X           Unknown
  Camegla, Roberto                           24738 Carmel Drive                                                  Carson                   CA      90745              Litigation        X           Unknown
  Campa, Betty                               13317 Caffael Way                                                   Whittier                 CA      90605              Litigation        X           Unknown
  Campa, Calixto                             940 Starr View Drive                                                Windsor                  CA      95492              Litigation        X           Unknown
  Campanaro Jr., Charles John                2896 Avalon Street                                                  Riverside                CA      92509              Litigation        X           Unknown
  Campas, Carolyn                            2670 Eggert Rd.                                                     Tonawanda                NY      14150              Litigation        X           Unknown
  Campbell, Glenda                           8438 2nd St.                                                        Paramount                CA      90723              Litigation        X           Unknown
  Campbell, Glenn                            8438 2nd St.                                                        Paramount                CA      90723              Litigation        X           Unknown
  Campbell, James G.                         18831 5th Street                                                    Bloomington              CA      92316              Litigation        X           Unknown
  Campbell, JoAnn                            1041 Short Street                                                   Salisbury                NC      28144              Litigation        X           Unknown
  Campbell, Joseph                           208 Peach Grove Place                                               Mauldin                  SC      29662              Litigation        X           Unknown
  Campbell, Jr., Paul                        235 Dogwood Acres                                                   Allenwood                PA      17810              Litigation        X           Unknown
  Campbell, Kathleen                         9463 E. Calle Bolivar                                               Tucson                   AZ      85715              Litigation        X           Unknown
  Campbell, Lillian                          85 Keene Road                                                       Winchester               NJ      03470              Litigation        X           Unknown



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  Campbell, Lois                              2832 Medicine Bow Drive                                          Modesto                  CA        95355                 Litigation        X           Unknown
  Campbell, Melissa                           8438 2nd St.                                                     Paramount                CA        90723                 Litigation        X           Unknown
  Campbell, Oliver                            24925 Walnut St Apt 306b                                         Lomita                   CA        90717                 Litigation        X           Unknown
  Campbell, Russell                           24502 Panama Avenue                                              Carson                   CA        90745                 Litigation        X           Unknown
  Campbell, Tiffany                           288 Western Pkwy                                                 Seymour                  IN        47272                 Litigation        X           Unknown
  Campbell, Warren                            5454 Everson Road North                                          Columbus                 OH        43232                 Litigation        X           Unknown
  Campbell, Wendell                           213 Scott Avenue                                                 Vandalia                 OH        45377                 Litigation        X           Unknown
  Campos, Morris                              37501 Conifer Drive                                              Palmdale                 CA        93550                 Litigation        X           Unknown
  Campos, Robert J.                           P. O. Box 950448                                                 Mission Hills            CA      91345-0448              Litigation        X           Unknown
  Campos, Ronald L.                           857 Edgehill Drive                                               Colton                   CA        92324                 Litigation        X           Unknown
  Canada, Bruce                               3544 Livingston Avenue                                           Ft. Worth                TX        76110                 Litigation        X           Unknown
  Canada, Tommy                               2091 Walker Mountain Rd.                                         Waldron                  AR        72958                 Litigation        X           Unknown
  Canady, Vinson                              P. O. Box 7195                                                   Burbank                  CA        91510                 Litigation        X           Unknown
  Canavan, Susan Maddie                       714 San Doval Pl                                                 Thousand Oaks            CA        91360                 Litigation        X           Unknown
  Canchola, Albert                            P.O. Box 261405                                                  San Diego                CA        92196                 Litigation        X           Unknown
  Canete, Mireya                              11256 Victory Blvd.                                              North Hollywood          CA        91606                 Litigation        X           Unknown
  Cann, June                                  1200 N. Holly St.                                                Hammond                  LA        70401                 Litigation        X           Unknown
  Cannady - Udeagwu, Erma                     1132 Morton Ave.                                                 Elgin                    IL        60120                 Litigation        X           Unknown
  Cannady, Mary                               4022 Ashby Lane                                                  Indian Land              SC        29707                 Litigation        X           Unknown
  Cannizzaro and family, Mary Lisa            141 McKinley Ave.                                                Kenmore                  NY        14217                 Litigation        X           Unknown
  Cannon, Amanda                              544 S Abbey                                                      Mesa                     AZ        85208                 Litigation        X           Unknown
  Cannon, Sharon                              RTS - 1219 North Goodman St.                                     Rochester                NY        14609                 Litigation        X           Unknown
  Cano Ibanez, Judith                         P.O. Box 512                                                     Hilmar                   CA        95324                 Litigation        X           Unknown
  Cano, Ferne                                 1 Regina Road                                                    Farmingdale              NY        11735                 Litigation        X           Unknown
  Canter, Betty                               1130 South Arlington                                             Indianapolis             IN        46203                 Litigation        X           Unknown
  Cantin, Lawrence                            49 Buckingham Drive                                              Londondary               NH        03053                 Litigation        X           Unknown
  Cantore, Sr., Dominic                       3750 N. Oleander Ave.                                            Chicago                  IL        60634                 Litigation        X           Unknown
  Cantrell, Carl                              1587 Lloyd White Rd.                                             Clover                   SC        29710                 Litigation        X           Unknown
  Cantrell, Willard                           2853 Skitts Mountain Road                                        Cleveland                GA        30528                 Litigation        X           Unknown
  Cantu, Silvia                               6112 Corrion Dr.                                                 Edinburg                 TX        78541                 Litigation        X           Unknown
  Capach, Norma                               221 Singley Road                                                 Jackson                  GA        30233                 Litigation        X           Unknown
  Caponigro, Guido                            361 Northampton R                                                West Palm Beach          FL        33417                 Litigation        X           Unknown
  Capozzi, Kathie                             100 Marian Dr.                                                   Tonawanda                NY        14150                 Litigation        X           Unknown
  Capper, Norma                               1660 Sand Hill Rd                                                Hope Mills               NC        28348                 Litigation        X           Unknown
  Capps, Karri                                1007 SE 4th Street                                               Lee's Summit             MO        64063                 Litigation        X           Unknown
  Carandang, Allison                          6956 Purple Ridge Drive                                          Rancho Palos Verdes      CA        90275                 Litigation        X           Unknown
  Carandang, Reynaldo                         6956 Purple Ridge Drive                                          Rancho Palos Verdes      CA        90275                 Litigation        X           Unknown
  Carandang, Serce                            6956 Purple Ridge Drive                                          Rancho Palos Verdes      CA        90275                 Litigation        X           Unknown
  Cardenas, Julia                             1814 Grand View Blvd.                                            Sioux City               IA        51105                 Litigation        X           Unknown
  Cardenas, Norma                             14871 Showhorse Lane                                             Victorville              CA        92394                 Litigation        X           Unknown
  Cardoza, Mary Christina                     3830 Crestmore Rd. Spc. 520                                      Riverside                CA        92509                 Litigation        X           Unknown
  Cardoza, Michael Allen                      3830 Crestmore Road Space 520                                    Riverside                CA        92509                 Litigation        X           Unknown
  Cardoza, Valerie                            6110 S. 87th East Ave., Apt B                                    Tulsa                    OK        74133                 Litigation        X           Unknown
  Carey, Howard                               9 South 51st Street                                              Philadelphia             PA        19139                 Litigation        X           Unknown
  Carlos, Iris Violeta                        27655 Summerfield Lane                                           San Juan Capistrano      CA        92675                 Litigation        X           Unknown
  Carlsen, Raymond                            1261 Bluebird Street                                             Salt Lake City           UT        84123                 Litigation        X           Unknown
  Carlson, Carol                              103 Leslie Ln.                                                   Brunswick                GA        31523                 Litigation        X           Unknown
  Carlton, Nancy                              4404 Isabella Rd.                                                Midland                  MI        48640                 Litigation        X           Unknown
  Carlysle, Tanya                             3213 Corunna Rd                                                  Flint                    MI        48503                 Litigation        X           Unknown
  Carmel, Vincent                             2260 Millsboro Rd.                                               Mansfield                OH        44906                 Litigation        X           Unknown



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  Carmichael, Mary L.                        11948 Culver Drive                                                          Culver City              CA        90230                 Litigation        X           Unknown
  Carne, Karen                               2062 E 22nd St.                                                             Fremont                  NE      68025-2889              Litigation        X           Unknown
  Carole Reed                                7031 Fernhill                                                               Malibu                   CA        90265                 Litigation        X           Unknown
  Caron, Sandra                              19 Beech St.                                                                Lisbon                   ME        04250                 Litigation        X           Unknown
  Caron, Wendy                               26570 Ocean View                                                            Malibu                   CA        90265                 Litigation        X           Unknown
  Carpenter, Bruce                           1204 Brookhaven Dr.                                                         Edmond                   OK        73034                 Litigation        X           Unknown
  Carpenter, David                           6101 E. 148th Street                                                        Grandview                MO        64030                 Litigation        X           Unknown
  Carpenter, John                            German Town Plantation                      9293 Poplar Avenue, Suite 20    German Town              TN        38138                 Litigation        X           Unknown
  Carpenter, Patricia                        40910 Ingersoll Terrace #116                                                Fremont                  CA        94538                 Litigation        X           Unknown
  Carpenter, Robert                          914 Dyer Road                                                               Sultan                   WA        98294                 Litigation        X           Unknown
  Carpenter, Stephen                         7052 Morningstar Lane                                                       New Port Richey          FL        34652                 Litigation        X           Unknown
  Carr, Erbie                                173 New Bethel Booker Road                                                  Benton                   LA        71006                 Litigation        X           Unknown
  Carr, Isaac                                1939 Prince Albert Drive                                                    Riverside                CA        92507                 Litigation        X           Unknown
  Carr, William                              535 East 223rd St. # 6                                                      Carson                   CA        90745                 Litigation        X           Unknown
  Carranza, Gerald G.                        9391 California Ave. Space 94                                               Riverside                CA        92503                 Litigation        X           Unknown
  Carranza, Gloria Quiroz                    44146 11th Street                                                           Lancaster                CA        93534                 Litigation        X           Unknown
  Carranza, Robert                           635 School Street Apt #6                                                    Tracy                    CA        95376                 Litigation        X           Unknown
  Carreon, Laura                             10110 19th Ave. SE K303                                                     Everett                  WA        98208                 Litigation        X           Unknown
  Carreon, Luis Daniel                       510 North Rancho Avenue                                                     Colton                   CA        92324                 Litigation        X           Unknown
  Carreon, Samuel Jesus                      510 North Rancho Avenue                                                     Colton                   CA        92324                 Litigation        X           Unknown
  Carriker-Woods, Tamera                     615 Washington Ave., 3rd floor                                              Belleville               NJ        07109                 Litigation        X           Unknown
  Carrillo, Eric                             464 Lacabana Beach Drive                                                    Las Vegas                NV        89138                 Litigation        X           Unknown
  Carrillo, Guillermina                      652 W 37th Steet                                                            San Pedro                CA        90731                 Litigation        X           Unknown
  Carrillo, Hector                           3391 Rubidoux Blvd. Apt. 34                                                 Riverside                CA        92509                 Litigation        X           Unknown
  Carrillo, Jasmine                          464 Lacabana Beach Drive                                                    Las Vegas                NV        89138                 Litigation        X           Unknown
  Carrillo, Jorge                            1654 Calirnte Ct.                                                           Las Vegas                NV      89119-2715              Litigation        X           Unknown
  Carrillo, Laura                            19322 El Rivino Road- Apartment 2                                           Riverside                CA        92509                 Litigation        X           Unknown
  Carrillo, Romina                           464 Lacabana Beach Drive                                                    Las Vegas                NV        89138                 Litigation        X           Unknown
  Carrillo, Rudolfo                          177 Salas St                                                                Santa Paula              CA        93060                 Litigation        X           Unknown
  Carrington, Richard                        RTS - 2516 E. Highway 54                                                    Andover                  KS        67002                 Litigation        X           Unknown
  Carroll, Gerald                            608 LeClar Drive                                                            O'Fallon                 MO        63366                 Litigation        X           Unknown
  Carrow, Marjorie                           38 Knowlton Avenue Apt. 1                                                   Lackawanna               NY        14218                 Litigation        X           Unknown
  Carscallen, Maria                          PO Box 2371                                                                 Placerville              CA        95667                 Litigation        X           Unknown
  Carson, Mickey                             4215 E. Coldwater Road                                                      Flint                    MI        48506                 Litigation        X           Unknown
  Carson, Patricia G.                        284 Main St., #302                                                          Tonawanda                NY        14150                 Litigation        X           Unknown
  Carter, April                              7240 Petrol St. # 7                                                         Paramount                CA        90723                 Litigation        X           Unknown
  Carter, Carolyn                            264 West Market Street, Apt 410                                             Akron                    OH        44303                 Litigation        X           Unknown
  Carter, D'Anthia                           7240 Petrol St. # 7                                                         Paramount                CA        90723                 Litigation        X           Unknown
  Carter, David                              418 W 6th Ave.                                                              Huntington               WV        25701                 Litigation        X           Unknown
  Carter, Dejon                              7240 Petrol St. # 7                                                         Paramount                CA        90723                 Litigation        X           Unknown
  Carter, Donna                              520 S. Coleman Ave.                                                         Hydro                    OK        73048                 Litigation        X           Unknown
  Carter, Fred                               400 Carolann Court                                                          Columbus                 GA        31907                 Litigation        X           Unknown
  Carter, George                             2334 Rose Hill Church Lane                                                  Charlottesville          VA        22902                 Litigation        X           Unknown
  Carter, III, Cornelius                     268 Iris Court                                                              Paramos                  NJ        07652                 Litigation        X           Unknown
  Carter, Jerald                             519 West 103rd Street                                                       Chicago                  IL        60628                 Litigation        X           Unknown
  Carter, Kijan                              7240 Petrol St. # 7                                                         Paramount                CA        90723                 Litigation        X           Unknown
  Carter, Kijana                             7240 Petrol St. # 7                                                         Paramount                CA        90723                 Litigation        X           Unknown
  Carter, Nancy                              1950 Orchard Hollow Lane, #105                                              Raleigh                  NC        27603                 Litigation        X           Unknown
  Carter, Qonta                              7240 Petrol St. # 1                                                         Paramount                CA        90723                 Litigation        X           Unknown
  Carter, Raymond                            841 Scott Street                                                            Norfolk                  VA        23502                 Litigation        X           Unknown



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  Carter, Rayvon                             7240 Petrol St. # 1                                             Paramount               CA        90723                 Litigation        X           Unknown
  Carter, Terrion                            1211 W 85TH ST., APT 3                                          LOS ANGELES             CA      90044-2241              Litigation        X           Unknown
  Carter, Willie                             131 E Railroad Street                                           Headland                AL        36345                 Litigation        X           Unknown
  Carter-Corsley, Dolly                      PO Box 753                                                      Westwego                LA        90094                 Litigation        X           Unknown
  Cartwright, Barbara                        PO Box 2321                                                     Elizabeth Town          KY        42702                 Litigation        X           Unknown
  Cartwright, Jerry                          PO Box 2321                                                     Elizabeth Town          KY        42702                 Litigation        X           Unknown
  Casas Jr., Antonio                         18380 Manila St.                                                Bloomington             CA        92316                 Litigation        X           Unknown
  Casas, Alicia                              18475 Gregory Street                                            Bloomington             CA        92316                 Litigation        X           Unknown
  Casas, Arturo                              18475 Gregory Street                                            Bloomington             CA        92316                 Litigation        X           Unknown
  Casas, Elizabeth                           11175 Seabreeze Court                                           Bloomington             CA        92316                 Litigation        X           Unknown
  Casas, Guadalupe                           6747 Caro St.                                                   Paramount               CA        90723                 Litigation        X           Unknown
  Casas, Jose                                18380 Manila St                                                 Bloomington             CA        92316                 Litigation        X           Unknown
  Casas, Martha                              18380 Manila Street                                             Bloomington             CA        92316                 Litigation        X           Unknown
  Casas, Rogelio                             11175 Seabreeze Ct.                                             Bloomington             CA        92316                 Litigation        X           Unknown
  Casas, Rosalba                             11175 Seabreeze Ct.                                             Bloomington             CA        92316                 Litigation        X           Unknown
  Case, Wayne                                1962 Cheshire Drive                                             Cheyenne                WY        82001                 Litigation        X           Unknown
  Casey, Debra                               201 Eagle Circle                                                Enterprise              AL        36330                 Litigation        X           Unknown
  Cash, Shirley                              1070 Lena Street NW                                             Atlanta                 GA        30314                 Litigation        X           Unknown
  Cashen, Daniel                             7208 Field View Lane                                            Dallas                  TX        75249                 Litigation        X           Unknown
  Casho, Richard                             949 Montgomery St.                                              San Carlos              CA        94070                 Litigation        X           Unknown
  Casino, Merlita                            1024 W Gian Drive                                               Torrance                CA        90502                 Litigation        X           Unknown
  Casino, Oscar                              1024 W Gian Drive                                               Torrance                CA        90502                 Litigation        X           Unknown
  Casioce, John Crist                        5286 Odell St. Apt. C                                           Riverside               CA        92509                 Litigation        X           Unknown
  Casioce, Mathew Luce                       2220 W. Dora St.- Apt. 127                                      Mesa                    AZ        85201                 Litigation        X           Unknown
  Caskey, William                            452 Mt. Vernon Drive                                            Winchester              KY        40391                 Litigation        X           Unknown
  Casnellie, Rebecca                         46 Newton Rd.                                                   Hambburg                NY        14075                 Litigation        X           Unknown
  Caspersen, Larry                           5004 Westside Drive                                             San Ramon               CA        94583                 Litigation        X           Unknown
  Cassaro, Israel                            2723 Cambridge Avenue                                           Hemet                   CA        92545                 Litigation        X           Unknown
  Cassiday, Donald                           12789 E. Burt Rd.                                               Birch Run               MI        48415                 Litigation        X           Unknown
  Cassidy, Ted                               4505 Bradpoint Drive                                            Las Vegas               NV        89130                 Litigation        X           Unknown
  Cast, Gregory                              4477 Lee Road 137 Lot 22                                        Auburn                  AL        36832                 Litigation        X           Unknown
  Castaneda, Brittany                        7251 Exeter St. # 5                                             Paramount               CA        90723                 Litigation        X           Unknown
  Castaneda, Clara                           899 West G Street                                               Colton                  CA        92324                 Litigation        X           Unknown
  Castaneda, Eden                            24714 Carmel Drive                                              Carson                  CA        90745                 Litigation        X           Unknown
  Castaneda, Ezekiel                         7251 Exeter St. # 5                                             Paramount               CA        90723                 Litigation        X           Unknown
  Castaneda, Joseph                          24714 Carmel Drive                                              Carson                  CA        90745                 Litigation        X           Unknown
  Castaneda, Julissa                         7251 Exeter St. # 5                                             Paramount               CA        90723                 Litigation        X           Unknown
  Castaneda, Katryna                         7251 Exeter St. # 5                                             Paramount               CA        90723                 Litigation        X           Unknown
  Castaneda, Paul A.                         24714 Carmel Drive                                              Carson                  CA        90745                 Litigation        X           Unknown
  Castaneda, Richard                         7775 Primrose Dr.                                               Buena Park              CA        90620                 Litigation        X           Unknown
  Castaneda, Susan                           24714 Carmel Drive                                              Carson                  CA        90745                 Litigation        X           Unknown
  Castaneda, Victoria                        7251 Exeter St. # 5                                             Paramount               CA        90723                 Litigation        X           Unknown
  Castanon, Juana Louise Parks               PO Box 17                                                       Redlands                CA      92373-0001              Litigation        X           Unknown
  Castelan, Raul                             837 E. Rancho Royale Pl.                                        Nogales                 AZ        85621                 Litigation        X           Unknown
  Castillo, Bianca                           625 S Grevillea #5                                              Inglewood               CA        90301                 Litigation        X           Unknown
  Castillo, Cesar                            8238 Rosemead Blvd                                              Pico Rivera             CA        90660                 Litigation        X           Unknown
  Castillo, David                            212 E. Taos St.                                                 Hobbs                   NM        88240                 Litigation        X           Unknown
  Castillo, Gloria                           2533 W McKinley Space 163                                       Fresno                  CA        93728                 Litigation        X           Unknown
  Castillo, Julieta                          4495 Glen Street                                                Riverside               CA        92509                 Litigation        X           Unknown
  Castle, John                               1271 Natoma Way, Unit D                                         Oceanside               CA        92057                 Litigation        X           Unknown



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  Castle, Willard                            1628 W. Cross Street                                                   Ashland                   KY        41102                 Litigation        X           Unknown
  Castleberry, Dale                          2224 Kipling                                                           Cincinnati                OH        45239                 Litigation        X           Unknown
  Castner, Stephen                           1708 West Fifth                                                        Red Wing                  MN        55066                 Litigation        X           Unknown
  Castorena, Refugio                         24431 Panama Avenue                                                    Carson                    CA        90745                 Litigation        X           Unknown
  Castorena, Santa                           24431 Panama Avenue                                                    Carson                    CA        90745                 Litigation        X           Unknown
  Castoreno, Hervie                          110 Creekwood Dr.                                                      Floresville               TX        78114                 Litigation        X           Unknown
  Castro Jr., Marino                         590 West N Street                                                      Colton                    CA        92324                 Litigation        X           Unknown
  Castro, Beatrice                           5427 Avenue D                                                          Lubbock                   TX        79404                 Litigation        X           Unknown
  Castro, Edmond Jess                        590 West N Street                                                      Colton                    CA        92324                 Litigation        X           Unknown
  Castro, Henry Richard                      3701 Fillmore Street- Space 12                                         Riverside                 CA        92505                 Litigation        X           Unknown
  Castro, Linda Lou                          590 West N Street                                                      Colton                    CA        92324                 Litigation        X           Unknown
  Castruita, Raul                            24904 Neptune Avenue                                                   Carson                    CA        90745                 Litigation        X           Unknown
  Caswell, Rosemarie                         1325 Caswell Road                                                      Defuniak Springs          FL        32433                 Litigation        X           Unknown
  Catala, Dena                               3217 Merlot Drive                                                      Lakeland                  FL        33811                 Litigation        X           Unknown
  Cataldo, Cheryl                            P.O. Box 744                                                           Jacksonville              AR        72078                 Litigation        X           Unknown
  Cataulin, Amador                           PO Box 143                                                             Norfolk                   VA        23501                 Litigation        X           Unknown
  Cates, Carolyn                             252 Kerrigan Blvd.                                                     Newark                    NJ        07106                 Litigation        X           Unknown
  Cates, George                              459 McWilliams Road                                                    Covington                 TN        38019                 Litigation        X           Unknown
  Catoera, Wileen                            24722 Marbella Avenue                                                  Carson                    CA        90745                 Litigation        X           Unknown
  Causey, Benny                              14382 Milldale Rd                                                      Brookwood                 AL      35444-3111              Litigation        X           Unknown
  Causey, Leon                               25601 El Greco Drive                                                   Moreno Valley             CA        92388                 Litigation        X           Unknown
  Cavaliere, Rick                            1215 Robinhood Lane                                                    La Grange Park            IL        60526                 Litigation        X           Unknown
  Cavallo, Irene                             506 Crossfield Cr.                                                     Naples                    FL        34104                 Litigation        X           Unknown
  Cavossa, Ashley                            5033 Burnside Farm Place                                               Haymarket                 VA        20169                 Litigation        X           Unknown
  Ceballos, Carlos                           1230 North Rancho                                                      Colton                    CA        92324                 Litigation        X           Unknown
  Ceballos, Celeste                          13637 Winewood Road                                                    Victorville               CA        92392                 Litigation        X           Unknown
  Cebreros, Maria Elena                      Po Box 5022                                                            Redwood City              CA        94063                 Litigation        X           Unknown
  Cecil, James                               502 N. 12th Street, Apt. 7.                                            Estherville               IA        51334                 Litigation        X           Unknown
  Cedillo, John                              14514 Ducat                                                            Mission Hills             CA        91345                 Litigation        X           Unknown
  Cejalvo, Ronald                            8823 SE Market Street                                                  Portland                  OR        97216                 Litigation        X           Unknown
  Celestine, Zelda                           RTS - P.O. Box 1089                                                    Lake Charles              LA        70602                 Litigation        X           Unknown
  Cella, William                             2310 San Francisco                                                     Long Beach                CA        90806                 Litigation        X           Unknown
  Centers, William                           4611 Church St.                                                        Taylor Mill               KY        41015                 Litigation        X           Unknown
  Centini, Jr, Louis                         952 W Main Street                                                      New Holland               PA        17557                 Litigation        X           Unknown
  Cerasoli, Marie                            130 Diamond Hill Rd.                                                   Ashaway                   RI        02804                 Litigation        X           Unknown
  Cerda, Allison                             PO Box 1846                                                            Paramount                 CA        90723                 Litigation        X           Unknown
  Cerda, Gerald                              PO Box 1846                                                            Paramount                 CA        90723                 Litigation        X           Unknown
  Cerda, Gerald J.                           437 W. Cherry St.                                                      Compton                   CA        90222                 Litigation        X           Unknown
  Cerda, Jonathan                            PO Box 1846                                                            Paramount                 CA        90723                 Litigation        X           Unknown
  Cerda, Maria                               PO Box 1846                                                            Paramount                 CA        90723                 Litigation        X           Unknown
  Cerda, Martha                              10526 La Reina Ave Apt. F                                              Downey                    CA        90241                 Litigation        X           Unknown
  Cervantes Ramirez, Yolanda                 24716 Marbella Avenue                                                  Carson                    CA        90745                 Litigation        X           Unknown
  Cervantes, Blanca                          24716 Marbella Avenue                                                  Carson                    CA        90745                 Litigation        X           Unknown
  Cervantes, Eleanor                         10527 Danbury Avenue                                                   Bloomington               CA        92316                 Litigation        X           Unknown
  Cervantes, Jesus                           160 E. Parkdale Drive- Bldg. B- Apt. 105                               San Bernardino            CA        92404                 Litigation        X           Unknown
  Cerveny Jr, Robert                         180 N Hampton Street, Apt J                                            East Hampton              MA        01027                 Litigation        X           Unknown
  Cesare, William                            1655 Hendry Isles Blvd.                                                Clewiston                 FL        33440                 Litigation        X           Unknown
  Cestaric, Stephen                          6311 Terry Road                                                        Louisville                KY        40258                 Litigation        X           Unknown
  Cevallos - Santos, Nelly                   100-11 67th Road Apt 423                                               Forest Hills              NY        11375                 Litigation        X           Unknown
  Chacon- Jr., David                         3036 Petaluma Avenue                                                   Long Beach                CA        90808                 Litigation        X           Unknown



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  Chacon, David                                                 25091 Anvil Circle                                                  Laguna Hills               CA        92653                 Litigation        X           Unknown
  Chacon, Joann                                                 25091 Anvil Circle                                                  Laguna Hills               CA        92653                 Litigation        X           Unknown
  Chacon, Samuel                                                8450 Lefferts Blvd                                                  Kew Gardens                NY        11415                 Litigation        X           Unknown
  Chadwick, Elbert                                              2922 Club Meadow Dr                                                 Garland                    TX        75043                 Litigation        X           Unknown
  Chagolla Jr., Valentine                                       10523 Hayvenhurst Ave                                               Granada Hills              CA        91344                 Litigation        X           Unknown
  Chagolla-Fierros, Juanita M.                                  1177 W. Congress St. Spc. 49                                        San Bernardino             CA        92410                 Litigation        X           Unknown
  Chaidez, Angie                                                6854 Carob Ave.                                                     Rancho Cucamonga           CA        91739                 Litigation        X           Unknown
  Chaidez, Gustavo                                              5535 28th Street                                                    Riverside                  CA        92509                 Litigation        X           Unknown
  Chairez, Lawrence                                             144 Monohon Landing Road                                            Raymond                    WA        98577                 Litigation        X           Unknown
  Chairez, Rosvel                                               24503 Marbella Avenue                                               Carson                     CA        90745                 Litigation        X           Unknown
  Chaisson, Charles                                             3407 Rufe Snow Drive                                                Richland Hills             TX        76118                 Litigation        X           Unknown
  Chambers, Lorraine                                            6420 E. Tropicana Ave. Space 470                                    Las Vegas                  NV        89121                 Litigation        X           Unknown
  Chambers, Virginia                                            106 Jerome Street                                                   Wingate                    NC        28174                 Litigation        X           Unknown
  Chambless, Mary                                               1306 Bixby SW                                                       Ardmore                    OK        73401                 Litigation        X           Unknown
  Chambliss, Linda                                              4542 Cotton Cove Dr.                                                Golf Shore                 AL        36542                 Litigation        X           Unknown
  Champion, Ronald                                              P.O. Box 6                                                          Osh Kosh                   NE        69154                 Litigation        X           Unknown
  Chan,                                                         1605 Tasker                                                         Hobbs                      NM        88240                 Litigation        X           Unknown
  Chance, Randal                                                1401 S. Nelson Ave.                                                 Monahans                   TX        79756                 Litigation        X           Unknown
  Chandler, Elbert                                              3465 Bandana Road                                                   La Center                  KY        42056                 Litigation        X           Unknown
  Chandler, Greg                                                PO Box 86                                                           Rocky Comfort              MO        64861                 Litigation        X           Unknown
  Chaney, Tyese                                                 875 Snowden Road                                                    Monroeville                AL        36460                 Litigation        X           Unknown
  Chang,Benjamin                                                15907 Brookvilla Dr                                                 Houston                    TX        77059                 Litigation        X           Unknown
  Chapa Jr., Johnny                                             1592 County Rd. 5120                                                Willow Springs             MO        65793                 Litigation        X           Unknown
  Chapa Sr., Johnny R.                                          6218 Jones Avenue                                                   Riverside                  CA        92505                 Litigation        X           Unknown
  Chapa Sr., Ruben R.                                           5666 28th St.                                                       Riverside                  CA        92509                 Litigation        X           Unknown
  Chapa, Gabriela                                               5666 28th St.                                                       Riverside                  CA        92509                 Litigation        X           Unknown
  Chapa, Gilberto                                               320 Forest Street                                                   Ionia                      MI        48846                 Litigation        X           Unknown
  Chapa, Sandra Ann                                             3000 South 9th St.- Apt. 28                                         Chickasha                  OK        73018                 Litigation        X           Unknown
  Chapel, Jonathan                                              4103 Holloway Drive                                                 Houston                    TX        77047                 Litigation        X           Unknown
  Chapman, Ruth                                                 20549 Stout St.                                                     Detrooit                   MI        48219                 Litigation        X           Unknown
  Chapman-Haberbosch, Tricia                                    185 County Road 709                                                 Athens                     TN        37303                 Litigation        X           Unknown
  Chapple, Angie                                                5101 E. Twain Ave., #147                                            Las Vegas                  NV        89122                 Litigation        X           Unknown
  Charity, Curteisha                                            7608 Airport Rd.                                                    Quinton                    VA        23141                 Litigation        X           Unknown
  Charles, Mae (Russell)                                        3243 East Avenue S-3                                                Palmdale                   CA        93550                 Litigation        X           Unknown
  Charles, Vincent                                              11321 Alburtis Ave.                                                 Norwalk                    CA        90650                 Litigation        X           Unknown
  Charles, William                                              4627 Garfield St.                                                   La Mesa                    CA        91941                 Litigation        X           Unknown
  Charran, Robert S.                                            1152 N. Outrigger Way                                               Anaheim                    CA        92801                 Litigation        X           Unknown
  Chase, Donna                                                  647 Dennis Avenue                                                   Chula Vista                CA        91910                 Litigation        X           Unknown
  Chase, Judith                                                 1031 Cheekwood Court                                                Elk Grove Village          IL        60007                 Litigation        X           Unknown
  Chatmon, Lorna                                                301 Lakewood Terrace, Apt. 102                                      Belton                     MO        64012                 Litigation        X           Unknown
  Chatzidakis, Larry                                            42 Strokes Road                                                     Mount Laurel               NJ      08054-6410              Litigation        X           Unknown
  Chau, To-Yang                                                 PO Box 66                                                           Setauket                   NY        11733                 Litigation        X           Unknown



  Chavez (ChavezSambrano), Hugo Enrique (Spanish Spe            9524 San Miguel Ave.                                                South Gate                 CA      90280-4818              Litigation        X           Unknown
  Chavez Ortega, Diana Maria                                    28454 168th Avenue- Unit 12                                         Kent                       WA        98042                 Litigation        X           Unknown
  Chavez, Andrew                                                10103 Telfair Avenue                                                Pacoima                    CA        91331                 Litigation        X           Unknown
  Chavez, David                                                 347 E 244th Street                                                  Carson                     CA        90745                 Litigation        X           Unknown
  Chavez, Esmeralda Carrango                                    18380 Manilla St.                                                   Bloomington                CA        92316                 Litigation        X           Unknown
  Chavez, Gabriel Anthony                                       6640 Robinson Rd.                                                   Highland                   CA        92346                 Litigation        X           Unknown



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  Chavez, Herlinda                           24532 Panama Avenue                                              Carson                     CA        90745                 Litigation        X           Unknown
  Chavez, James Gregory                      15230 Olive Street                                               Hesperia                   CA        92345                 Litigation        X           Unknown
  Chavez, Javier                             2504 Hall Avenue                                                 Riverside                  CA        92509                 Litigation        X           Unknown
  Chavez, Jose                               24532 Panama Avenue                                              Carson                     CA        90745                 Litigation        X           Unknown
  Chavez, Melissa                            24532 Panama Avenue                                              Carson                     CA        90745                 Litigation        X           Unknown
  Chavez, Michaele                           PO Box 26552                                                     Tempe                      AZ        85285                 Litigation        X           Unknown
  Chavez, Mirna                              3547 64th St Apt 2J                                              Woodside                   NY        11377                 Litigation        X           Unknown
  Chavez, Natasha Marie                      5411 Eastview St.                                                Cheyenne                   WY        82001                 Litigation        X           Unknown
  Chavez, Rodrigo                            5133 Jamaica St                                                  Witchita Falls             TX        76310                 Litigation        X           Unknown
  Chavez, Sandra                             2203 W 17th Street                                               Pueblo                     CO        81003                 Litigation        X           Unknown
  Cheak, Daniel                              748 Tulip Court                                                  Benicia                    CA         94510                Litigation        X           Unknown
  Cheatham, Annette                          1591 Wire Road                                                   Aiken                      SC        29805                 Litigation        X           Unknown
  Chen, Hairu                                47 Huiyuan Dong # 0508                                           Guangzhou                            510635   China        Litigation        X           Unknown
  Chen, Robert                               115 Avenida Fernando                                             San Dimas                  CA        91773                 Litigation        X           Unknown
  Cheney, Timothy                            200 E 7th Street                                                 West Lafayette             OH        43845                 Litigation        X           Unknown
  Cheng, Rong Xiang                          47 Huiyuan Dong #0508                                            Guangzhou                            510635   China        Litigation        X           Unknown
  Cheramie, Sr., Harris                      P.O. Box 156                                                     Golden Meadows             LA        70357                 Litigation        X           Unknown
  Cherveny, Bentley                          PO Box 65                                                        Wedron                     IL        60557                 Litigation        X           Unknown
  Cherveny, Ethan                            PO Box 65                                                        Wedron                     IL        60557                 Litigation        X           Unknown
  Cheshier, Beatrice                         164 Caddo Road                                                   Bonnerdale                 AR        71933                 Litigation        X           Unknown
  Chester, Annette                           19200 Shiawasswee Dr, Apt 326                                    Detroit                    MI        48219                 Litigation        X           Unknown
  Chester, Hawley                            996 Pitts Road Unit E                                            Atlanta                    GA        30350                 Litigation        X           Unknown
  Chestnut, Blanche                          115 Swan Haven LAnr                                              Greensborro                NC        27405                 Litigation        X           Unknown
  Chevalier, Frank                           121 Wheatridge Drive                                             Clovis                     NM        88101                 Litigation        X           Unknown
  Chevalier, Jr., Stephen                    350 Freshwater Drive                                             Blounts Creek              NC        27814                 Litigation        X           Unknown
  Chico, Albert Phillip                      28651 Chaucer Rd.                                                Menifee                    CA        92584                 Litigation        X           Unknown
  Childers, Jerlean                          5546 Swisher Rd.                                                 Groveport                  OH        43125                 Litigation        X           Unknown
  Childress, Wanda                           12175 Inglecrest Lane                                            Knoxville                  TN        37934                 Litigation        X           Unknown
  Childs-Poor, Damon                         9464 Alcosta Way                                                 Sacramento                 CA        95827                 Litigation        X           Unknown
  Chimney, Rayford                           P.O. Box 33                                                      Jasper                     TX        75951                 Litigation        X           Unknown
  Chimock, Bernadine                         4 Oval Dr.                                                       Dallas                     PA        18612                 Litigation        X           Unknown
  Chin, Tcheck T.                            26813 Greenleaf Court                                            Valencia                   CA         91381                Litigation        X           Unknown
  Chinea, Julio                              3652 NW 36th Street                                              Miami                      FL        33142                 Litigation        X           Unknown
  Chow, Allen                                3900 Delaware Street                                             Wilmington                 DE      19808-5710              Litigation        X           Unknown
  Chowdhury, Anisuzzaman                     22014 Stone Pier Lane                                            Boyds                      MD        20841                 Litigation        X           Unknown
  Christensen, Teresa                        733 East 640 North                                               Orem                       UT        84097                 Litigation        X           Unknown
  Christensen, Trisha                        5673 Bella Drive                                                 Riverside                  CA        92509                 Litigation        X           Unknown
  Christenson, Brandon                       505 NW 156th Circle                                              Edmond                     OK        73013                 Litigation        X           Unknown
  Christian, Shirley                         17401 Bronze Lane                                                Edmond                     OK        73012                 Litigation        X           Unknown
  Christopher, France                        1612 Sunrise Dr.                                                 McKinney                   TX        75071                 Litigation        X           Unknown
  Christopher, Lowanne                       3006 E 48th Street                                               Texarkana                  AR        71854                 Litigation        X           Unknown
  Chudzinski, Paul                           41651 Savage Road                                                Belleville                 MI        48111                 Litigation        X           Unknown
  Chun, Natalee                              155 Santa Barbara                                                Irvine                     CA        92606                 Litigation        X           Unknown
  Chung, Cindy                               1327 North River Ave.                                            Toronto                    OH        43964                 Litigation        X           Unknown
  Ciancio, Moreen                            152 Clinton St.                                                  Tonawanda                  NY        14150                 Litigation        X           Unknown
  Cielo, Lucille                             1071 White Cap Aveune                                            Manahawkin                 NJ        08050                 Litigation        X           Unknown
  Cienfuegos, Frank                          305 E 244th Street                                               Carson                     CA        90745                 Litigation        X           Unknown
  Cienfuegos, Sonia                          305 E 244th Street                                               Carson                     CA        90745                 Litigation        X           Unknown
  Circenis, Edvins                           6834 40th Ave. NE                                                Seattle                    WA        98115                 Litigation        X           Unknown
  Cirigliano, Leonard                        5170 Woodruff Lane                                               Palm Beach Garden          FL        33418                 Litigation        X           Unknown



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  Civitella, Tom                              342 McNeil Lane                                                  West Grove                 PA        19390                 Litigation        X           Unknown
  Claborn, Marie                              1807 E. 20th Ave.                                                Gary                       IN        46407                 Litigation        X           Unknown
  Clapper, James                              1213 E 3rd Street                                                Lehigh Acres               FL        33936                 Litigation        X           Unknown
  Clardy, Dora                                1000 E. 13th Street                                              Hopkinsville               KY        42240                 Litigation        X           Unknown
  Claremboux, Dale                            5926 S. Packard Ave, Lot 65                                      Cudahy                     WI        53110                 Litigation        X           Unknown
  Clark , Larry                               1530 Garrick Ave                                                 Lake View Terrace          CA        91342                 Litigation        X           Unknown
  Clark b. Martinez - Estrada Alma            1001 Kings Row                                                   Reno                       NV      89503-3523              Litigation        X           Unknown
  Clark, Amy Jeneen                           6833 Ridgeside Dr.                                               Riverside                  CA        92506                 Litigation        X           Unknown
  Clark, Glenna                               RTS - 39 Cedar View Village                                      Plainfield                 CT        06374                 Litigation        X           Unknown
  Clark, Karen                                216 Spray Road                                                   Manahawkin                 NJ        08050                 Litigation        X           Unknown
  Clark, Kimberly                             8526 Madison St.                                                 Paramount                  CA        90723                 Litigation        X           Unknown
  Clark, Larry                                2083 Kidd Road                                                   Nolensville                TN        37135                 Litigation        X           Unknown
  Clark, Maria                                16324 Golden Tree Aave                                           Fontant                    CA        92337                 Litigation        X           Unknown
  Clark, Patrice                              1008 S. Los Robles Ave.                                          Pasadena                   CA        91106                 Litigation        X           Unknown
  Clark, Patricia                             842 Shroyer Rd.                                                  Dayton                     OH        45419                 Litigation        X           Unknown
  Clark, Patricia                             9327 Canabridge Drive                                            Lakeland                   TN        38002                 Litigation        X           Unknown
  Clark, Ranie                                107 Boyd St.                                                     Connellsville              PA        15425                 Litigation        X           Unknown
  Clark, Tyrone                               1150 Hillside Green Way                                          Powder Springs             GA        30127                 Litigation        X           Unknown
  Clarke, Bonnie Escobar                      10923 South Locust Ave.                                          Bloomington                CA        92316                 Litigation        X           Unknown
  Clarkson, Cora                              9240 Wixson Road                                                 Hammondsport               NY        14840                 Litigation        X           Unknown
  Clary, Rebecca                              102 Harbour Town Drive                                           Kings Mountain             NC        28086                 Litigation        X           Unknown
  Claud, Mildred                              316 Charles St. Apt. A                                           Newport News               VA        23608                 Litigation        X           Unknown
  Claude II, Peter R.                         1230 North Rancho Avenue                                         Colton                     CA        92324                 Litigation        X           Unknown
  Clay, Mae                                   598 Stephen Pl.                                                  Memphis                    TN        38126                 Litigation        X           Unknown
  Clay, Sr., Hollice                          1518 Tasker                                                      Hobbs                      NM        88240                 Litigation        X           Unknown
  Claypole, Gary                              3318 Avenue R 1/2                                                Galveston                  TX        77550                 Litigation        X           Unknown
  Clayton, John                               6125 Schooner Way                                                Tampa                      FL        33615                 Litigation        X           Unknown
  Clayton-Welch, Norman                       182 Cooper st Apt 2                                              Brooklyn                   NY        11207                 Litigation        X           Unknown
  Clem, Jr., Roy                              884 Mountain View Road                                           Molena                     GA        30258                 Litigation        X           Unknown
  Clements, Jr., Michael                      119-27 198th Street                                              St. Albans                 NY        11412                 Litigation        X           Unknown
  Clemons, Manfrit Sterling                   6150 Canyon Estates Court                                        Riverside                  CA        92506                 Litigation        X           Unknown
  Cleveland, Ebony                            526 Chain St., Apt. #2F                                          Norristown                 PA        19401                 Litigation        X           Unknown
  Cleveland, Felicia                          2330 Duport Ave, Apt. B                                          Tuscaloosa                 AL        35401                 Litigation        X           Unknown
  Clevenger, Joan                             204 Charleston Dr.                                               Ripley                     WV        25271                 Litigation        X           Unknown
  Clewell, Theresa                            2018 Springtown Hill Road                                        Hellertown                 PA        18055                 Litigation        X           Unknown
  Clifford, James                             PO Box 507                                                       Chester                    NY        10918                 Litigation        X           Unknown
  Clinch, Gerald                              83426 558th Avenue                                               Madison                    NE        68748                 Litigation        X           Unknown
  Cline, Lucien                               988 Pheasant Ridge                                               Keller                     TX        76248                 Litigation        X           Unknown
  Clinkscales, Everitt                        PO Box 843                                                       Campbellsville             KY        42719                 Litigation        X           Unknown
  Clinton, Mary                               1708 Cattail Creek Drive                                         Desoto                     TX        75115                 Litigation        X           Unknown
  Clothier, Tommy Dean                        6938 27th Street                                                 Riverside                  CA        92509                 Litigation        X           Unknown
  Clyde, Bruce                                1016 Riverside Drive                                             Rio Del                    CA        95562                 Litigation        X           Unknown
  Clyde, Janice                               3342 N. 2400 E                                                   Layton                     UT        84040                 Litigation        X           Unknown
  Coates, Nancy                               214 Fleetwood Street                                             Coatesville                PA        19320                 Litigation        X           Unknown
  Coates, Seth                                151 Peneder Ave                                                  Warwick                    RI        02889                 Litigation        X           Unknown
  Cobb, Bobby                                 2029 Wade Brown Rd.                                              Lewisburg                  TN        37091                 Litigation        X           Unknown
  Cobbs, James Burton                         9225 Trovita Circle                                              Riverside                  CA        92508                 Litigation        X           Unknown
  Coburn, Yvonne                              266 Douglas Street                                               Manchester                 NH        03102                 Litigation        X           Unknown
  Coccia, James                               1535 Douglas Avenue                                              North Providence           RI        02904                 Litigation        X           Unknown
  Cochran, Bill                               1430 N 12th Street                                               Cambridge                  OH        43725                 Litigation        X           Unknown



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  Cochran, Gary Wayne                        8524 Red Mesa Drive                                              Riverside               CA         92509                Litigation        X           Unknown
  Cochran, Marva                             341 Casie Court                                                  Denton                  TX         76207                Litigation        X           Unknown
  Cochran, Ray                               1274 Lower Twin Branch Road                                      Hagerhill               KY        41222                 Litigation        X           Unknown
  Cochran, Richard                           P.O Box 327                                                      Worthington             KY        41183                 Litigation        X           Unknown
  Coconis, Daytonia                          3104 S. Bivins St.                                               Amarillo                TX         79103                Litigation        X           Unknown
  Coda, Gayanne                              2334 Lockhorn Circle                                             West Bend               WI         53090                Litigation        X           Unknown
  Cody, Hannah                               118 Grey Birch Road                                              Norfolk                 MA         02056                Litigation        X           Unknown
  Cody, Jr., Clyde                           11143 Ballantyne Crossing Dr.                                    Charlotte               NC         28277                Litigation        X           Unknown
  Coffey, Carolyn                            2212 Myron Cory Dr.                                              Hickman                 KY         42050                Litigation        X           Unknown
  Cofflin, Brenda Alice                      2166 N San Gorgonio Ave                                          Banning                 CA        92220                 Litigation        X           Unknown
  Coffman, Ethel                             795 Geneva McKinney Rd                                           Hustonville             KY         40437                Litigation        X           Unknown
  Coffman, Phillip                           1345 Ohio Street                                                 Freemont                NE        68025                 Litigation        X           Unknown
  Cogdill, Kathleen                          1339 Parrotts Chaple Rd.                                         Sevierville             TN        37876                 Litigation        X           Unknown
  Cogdill, Paulette                          111 Spikes Road                                                  Southport               FL        32409                 Litigation        X           Unknown
  Cohen, Ethel                               5244 Mandarin Drive                                              Oceanside               CA         92056                Litigation        X           Unknown
  Coker, Anthony                             12192 SE 99th Avenue                                             Belleview               FL        34420                 Litigation        X           Unknown
  Coker, Peggy                               1309 Perry Court                                                 Gardendale              AL        35071                 Litigation        X           Unknown
  Coker, Rena Ann                            141 Aldrich St.                                                  Buffalo                 NY        14220                 Litigation        X           Unknown
  Coker, Tyler Brandon                       141 Aldrich St.                                                  Buffalo                 NY        14220                 Litigation        X           Unknown
  Colamonico, Anthony                        7210 W Seminole Street                                           Chicago                 IL        60631                 Litigation        X           Unknown
  Colbert, Juliette                          303 Northstar Dr                                                 Columbus                GA        31907                 Litigation        X           Unknown
  Colburn, Franklin                          540 Timbercrest Lane                                             Fleming Island          FL        32003                 Litigation        X           Unknown
  Cole, Harold                               2240 Old Ridgeway Rd                                             Bremen                  GA         30110                Litigation        X           Unknown
  Cole, Harrison                             13228 Eyola Drive                                                Moreno Valley           CA        92555                 Litigation        X           Unknown
  Cole, John                                 5503 Hacker Circle                                               Cheyenne                WY         82089                Litigation        X           Unknown
  Cole, Mildred                              1129 East Jefferson St.                                          Brownsville             TN        38012                 Litigation        X           Unknown
  Cole, Paul                                 712 Williamsburg Drive                                           Smyrna                  TN         37167                Litigation        X           Unknown
  Coleman, Alphrita Louise                   495 East 3rd St.- Apt B13                                        San Bernardino          CA        92410                 Litigation        X           Unknown
  Coleman, Cora                              P.O. Box 1328                                                    Palm Springs            CA        92263                 Litigation        X           Unknown
  Coleman, Dennis                            22356 S. Stracks Church Road                                     Wright City             MO        63390                 Litigation        X           Unknown
  Coleman, Diane                             1302 Tiger Drive                                                 Thibodaux               LA         70301                Litigation        X           Unknown
  Coleman, Geraldine                         418 W. 9th Street                                                Fulton                  MS        65251                 Litigation        X           Unknown
  Coleman, Henry                             2255 Douglas Joel Dr.                                            Flint                   MI         48505                Litigation        X           Unknown
  Coleman, Jerri                             1401 West Avenue                                                 Columbia                MS         39429                Litigation        X           Unknown
  Coleman, John                              1046 Ten Oaks Drive                                              Lancaster               SC         29720                Litigation        X           Unknown
  Coleman, Kimberly                          416 Vista Roma                                                   Newport Beach           CA        92660                 Litigation        X           Unknown
  Coleman, Leona Mae                         2219 Vasquez Place                                               Riverside               CA         92507                Litigation        X           Unknown
  Coleman, Louise                            20 Hawthorne Lane                                                Ashville                NC         28801                Litigation        X           Unknown
  Coleman, Mamie                             6131 Wulff Drive                                                 St. Louis               MO         63134                Litigation        X           Unknown
  Coleman, Melody                            29 N Hamilton C/O Living Room                                    Poughkeepsie            NY         12601                Litigation        X           Unknown
  Coleman, Oscar                             504 Ryan Street                                                  Franklin                KY        42134                 Litigation        X           Unknown
  Coleman, Pamela                            5434 Adolphus Ave.                                               Bakersfield             CA        93308                 Litigation        X           Unknown
  Coleman, Ruby                              145 Talon Pl                                                     McDonough               GA      30253-7733              Litigation        X           Unknown
  Coles, Lorri Lynee                         4620 Circle Lazy J Road                                          Riverside               CA         92501                Litigation        X           Unknown
  Coley, Beuler                              110 Valleybrook Ave.                                             Bowling Green           KY        42101                 Litigation        X           Unknown
  Colindres, Martha                          11644 York Avenue Apt B                                          Hawthorne               CA        90250                 Litigation        X           Unknown
  Collazo, Nilda                             2752 North Sawyer Apt 2 South                                    Chicago                 IL        60647                 Litigation        X           Unknown
  Collett, Sean                              24777 Collett Rd                                                 Oreana                  ID        83650?                Litigation        X           Unknown
  Collier, Diane                             7801 S. Woodward, Apt 3A                                         Woodridge               IL        60517                 Litigation        X           Unknown
  Collier, Gary                              13270 County Road 3570                                           Cook Station            MO        65449                 Litigation        X           Unknown



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  Collier, John                              10648 Dumond Avenue                                                 Bloomington             CA      92316              Litigation        X           Unknown
  Collier, Robertha                          10648 Dumond Avenue                                                 Bloomington             CA      92316              Litigation        X           Unknown
  Collin, Shirley                            220 Burchwood Bay Lot M                                             Hot Springs             AK      71913              Litigation        X           Unknown
  Collins Sr., Gregory                       1774 Bullrun Road                                                   Columbia                KY      42728              Litigation        X           Unknown
  Collins, Betty                             1824 Lowell Ave.                                                    Lima                    OH      45805              Litigation        X           Unknown
  Collins, Craig                             3997 Cloud Park Dr., #A6                                            Dayton                  OH      45424              Litigation        X           Unknown
  Collins, Donald                            15024 Primrose Ct.                                                  Fontana                 CA      92336              Litigation        X           Unknown
  Collins, Gertrude                          103 Harper Hill Road                                                Moundville              AL      35474              Litigation        X           Unknown
  Collins, Gregory                           22960 Allies Pl #B                                                  Moreno Valley           CA      92553              Litigation        X           Unknown
  Collins, James                             2025 W. Balboa Blvd.                                                Newport Beach           CA      92663              Litigation        X           Unknown
  Collins, Janice A.                         159 Crosby Avenue                                                   Kenmore                 NY      14217              Litigation        X           Unknown
  Collins, Jeri                              24526 Marbella Avenue                                               Carson                  CA      90745              Litigation        X           Unknown
  Collins, Jordan                            24526 Marbella Avenue                                               Carson                  CA      90745              Litigation        X           Unknown
  Collins, Jr., Roosevelt                    6880 Cape Cod Dr.                                                   Grand Prairie           TX      75054              Litigation        X           Unknown
  Collins, Margaret                          1506 South G Street                                                 Tacoma                  WA      98405              Litigation        X           Unknown
  Collins, Naoma                             588 Canterbury Way                                                  Columbus                OH      43213              Litigation        X           Unknown
  Collins, Rian                              24526 Marbella Avenue                                               Carson                  CA      90745              Litigation        X           Unknown
  Collins, Samantha                          2413 Prarie Ave. Lot 15                                             South Bend              IN      64414              Litigation        X           Unknown
  Collins, Tomi                              24526 Marbella Avenue                                               Carson                  CA      90745              Litigation        X           Unknown
  Collins-Hodge, Teresia                     16818 Downey Ave. #31                                               Paramount               CA      90723              Litigation        X           Unknown
  Colombani, Ronald                          19090 Canaan Ct                                                     Sonora                  CA      95370              Litigation        X           Unknown
  Colorite, Patricia                         921 South Val Vista #38                                             Mesa                    AZ      85204              Litigation        X           Unknown
  Colosimo, Salvatore                        2913 Santa Carlotta                                                 La Crescenta            CA      91214              Litigation        X           Unknown
  Colquitt, Steven                           12207 S. San Pedro                                                  Los Angeles             CA      90061              Litigation        X           Unknown
  Colunga-Romero, Eleanor                    251 West M Street                                                   Colton                  CA      92324              Litigation        X           Unknown
  Combs, Earl                                615 Highpoint Dr.                                                   Hopkinsville            KY      42240              Litigation        X           Unknown
  Combs, Judy                                13 NE 5th Rd. Lot 6                                                 Lamar                   MO      64759              Litigation        X           Unknown
  Comer, Janice Linda                        3830 Crestmore Road- Space 515                                      Riverside               CA      92509              Litigation        X           Unknown
  Comley, Nancy                              4618 W 60 Street                                                    Fairway                 KS      66205              Litigation        X           Unknown
  Compton, Allie                             4265 County Rd. 29                                                  Piedmont                AL      36272              Litigation        X           Unknown
  Compton, Susie                             P.O. Box 1402                                                       Livingston              AL      35470              Litigation        X           Unknown
  Conant, Crystle Lynette                    2250 West Mill Street- #95                                          Colton                  CA      92324              Litigation        X           Unknown
  Concepcion, Carlos                         3486 St Bart Ln, Apt. 204                                           Tampa                   FL      33614              Litigation        X           Unknown
  Concepcion, Eva Mae                        PO Box 7027                                                         Moreno Calley           CA      92552              Litigation        X           Unknown
  Conkright, Oma                             300 Hwy 213 South                                                   Jeffersonville          KY      40337              Litigation        X           Unknown
  Conley, Kenneth                            1731 Sixth Street                                                   Portsmouth              OH      45662              Litigation        X           Unknown
  Conn, Robert                               758 Island Circle SE                                                Ocean Shores            WA      98569              Litigation        X           Unknown
  Connell, Bruce Bernard                     458 Maple Street                                                    Colton                  CA      92324              Litigation        X           Unknown
  Connell, Dominique Laghae                  458 Maple Street                                                    Colton                  CA      92324              Litigation        X           Unknown
  Connelly, Dolores R.                       112 Paramount Pkwy.                                                 Buffalo                 NY      14223              Litigation        X           Unknown
  Conner, Boyd                               10643 N 37th Avenue                                                 Phoenix                 AZ      85029              Litigation        X           Unknown
  Conner, Geneva                             PO Box 1301,                                                        El Cerrito              CA      94530              Litigation        X           Unknown
  Conner, Wilbur                             1120 North Hampton Drive NE                                         Grand Rapids            MI      49505              Litigation        X           Unknown
  Connolly, Barbara                          16551 South West 67th Terrace                                       Miami                   FL      33193              Litigation        X           Unknown
  Connor, Cynthia & Witten, Lisa             2 Gatewood Dr                                                       Alisa Viejo             CA      92656              Litigation        X           Unknown
  Connors, Billie                            2423 Taylor Ave Apt 125                                             Springfield             IL      62703              Litigation        X           Unknown
  Connours, Sarah                            4303 Hidden River Rd.                                               Sarasota                FL      34240              Litigation        X           Unknown
  Conrad, Cathy Lynn                         RTS - 1153 Harley Knox Boulevard                                    Perris                  CA      92571              Litigation        X           Unknown
  Conrad, Cecil                              2832 Shartle Street                                                 Middletown              OH      45042              Litigation        X           Unknown
  Conrad, Hattie                             420 Bunkerhil Drive                                                 Nashville               TN      37217              Litigation        X           Unknown



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  Conroy, Veronica                           7812 Grandison Way                                                     Severn                   MD      21144              Litigation        X           Unknown
  Constantino, Evelia                        160 E. Parkdale Drive- Bldg. B- Apt. 105                               San Bernardino           CA      92404              Litigation        X           Unknown
  Constantino, Lee Alan Chester              2800 Applewood Lane Apt 94                                             Eugene                   OR      97408              Litigation        X           Unknown
  Contreras, Alfred Martin                   6836 36th Street                                                       Riverside                CA      92509              Litigation        X           Unknown
  Contreras, Beatriz                         847 West H Street                                                      Colton                   CA      92324              Litigation        X           Unknown
  Contreras, John                            PO Box 552                                                             Mi Wuk Village           CA      95346              Litigation        X           Unknown
  Contreras, Jose Agustin                    847 West H Street                                                      Colton                   CA      92324              Litigation        X           Unknown
  Conwell, Carver                            2213 Sleepy Hollow Rd                                                  Birmingham               AL      35214              Litigation        X           Unknown
  Conyer, Catherine                          2809 S. Rybolt Ave. Apt. A                                             Indianapolis             IN      46241              Litigation        X           Unknown
  Conyers, Kisha                             16224 Valleyvale Drive                                                 Fontana                  CA      92337              Litigation        X           Unknown
  Cook, Annie                                8209 Macandrew Court                                                   Chesterfield             VA      23838              Litigation        X           Unknown
  Cook, Barbara                              5017 Unicoi Drive                                                      Unicoi                   TN      37692              Litigation        X           Unknown
  Cook, Charles                              10817 Sauk Ct.                                                         Apple Valley             CA      92308              Litigation        X           Unknown
  Cook, Juanita                              5751 Lighthouse Lane                                                   Palmdale                 CA      93522              Litigation        X           Unknown
  Cook, Lisa Louise                          Post Office Box 1468                                                   Helendale                CA      92342              Litigation        X           Unknown
  Cook, Mable                                416 East State Street                                                  Lovington                IL      61937              Litigation        X           Unknown
  Cook, Mark                                 1097 Coronado Dr.                                                      Rockledge                FL      32955              Litigation        X           Unknown
  Cook, Pearletha                            601 State St. Ext.                                                     Bennettsville            SC      29512              Litigation        X           Unknown
  Cook, Rhonda                               640 South Olive Ave. Apt. B                                            Rialto                   CA      92376              Litigation        X           Unknown
  Cook, Robert                               6101 Hoss Avenue                                                       Hubbard                  OH      44425              Litigation        X           Unknown
  Cook, Thomas Stanley                       P.O. Box 1468                                                          Helendale                CA      92342              Litigation        X           Unknown
  Cook, Toi                                  5064 Llano Dr.                                                         Woodland Hills           CA      91364              Litigation        X           Unknown
  Cook, Toni                                 4127 Ivanhoe Ave.                                                      Cincinnati               OH      45212              Litigation        X           Unknown
  Cook, Wendy                                14410 Tranquility Ln.                                                  Brooksville              FL      34614              Litigation        X           Unknown
  Cooks, Ruthie                              5136 25th Ave.                                                         Kenosha                  WI      53140              Litigation        X           Unknown
  Cooley Sr., Dennis                         2849 Moorgate Place                                                    Riverside                CA      92506              Litigation        X           Unknown
  Cooley, Barbara                            2149 Lake Drive                                                        Arnold                   MO      63010              Litigation        X           Unknown
  Cooley, Sr., Jerry                         407 Constantine Avenue                                                 Anniston                 AL      36201              Litigation        X           Unknown
  Coomber, Karen L.                          2189 Bedell Rd., Apt. 3                                                Grand Island             NY      14072              Litigation        X           Unknown
  Cooper, Amy                                7471 Bullard Ave.                                                      New Orleans              LA      70128              Litigation        X           Unknown
  Cooper, Annie                              110 Pasture Court                                                      Gray Court               SC      29645              Litigation        X           Unknown
  Cooper, Bobby                              100 2nd Avenue - Apt 109                                               Des Moines               IA      50309              Litigation        X           Unknown
  Cooper, Bridget Fay                        35489 Yucaipa Boulevard                                                Yucaipa                  CA      92399              Litigation        X           Unknown
  Cooper, Charles                            1937 Lenox Street                                                      Harrisburg               PA      17104              Litigation        X           Unknown
  Cooper, Claudia                            405 South 19th Street                                                  Saginaw                  MI      48601              Litigation        X           Unknown
  Cooper, Elizabeth                          5798 Julann Drive, Apt. 2                                              Memphis                  TN      38115              Litigation        X           Unknown
  Cooper, Homer                              4680 West Craig Road- #4                                               North Las Vegas          NV      89032              Litigation        X           Unknown
  Cooper, Howard                             PO BOX 670556                                                          Chugiak                  AK      99567              Litigation        X           Unknown
  Cooper, Lucille                            2709 4th Ave Apt. B                                                    Richmond                 VA      23222              Litigation        X           Unknown
  Cooper, Mai                                4443 Whitt Mill Road                                                   Ackworth                 GA      30101              Litigation        X           Unknown
  Cooper, Margaret                           4901 Gould Ave.                                                        La Canada                CA      91011              Litigation        X           Unknown
  Cooper, Thomas                             19206 State Street                                                     Corona                   CA      92881              Litigation        X           Unknown
  Cooper, William                            4007 Stonelanding Ct.                                                  Louisville               KY      40272              Litigation        X           Unknown
  Cooper-Dick, Barbara                       10698 Fish Creek Rd.                                                   Glen Easton              WV      26039              Litigation        X           Unknown
  Cope, D. Thomas                            2024 Harvey Road                                                       Grand Island             NY      14072              Litigation        X           Unknown
  Copeland, Juanita                          607 Bay St                                                             Waycross                 GA      31501              Litigation        X           Unknown
  Copeland, Ruby                             2214 Westwood Drive                                                    Alexandria               AL      36250              Litigation        X           Unknown
  Copeland, Veronia                          12734 Manchester Hwy                                                   Shiloh                   GA      31826              Litigation        X           Unknown
  Coppola, Alberta                           1146 Quakenbush Rd                                                     Schenectady              NY      12306              Litigation        X           Unknown
  Corcoran Sr., Russell                      152 N. Cardinal Privado                                                Ontario                  CA      91764              Litigation        X           Unknown



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  Cordero, Felizardo                         4673 Flax Court                                                  Rohnert Park            CA      94928              Litigation        X           Unknown
  Corieri, Joseph J.                         141 McKinley Ave.                                                Kenmore                 NY      14217              Litigation        X           Unknown
  Corieri, Michelle                          141 McKinley Ave.                                                Kenmore                 NY      14217              Litigation        X           Unknown
  Corker, John                               1455 Carol Oaks Apt 204                                          Fort Worth              TX      76112              Litigation        X           Unknown
  Cormier, Vera                              451 Silver Lake Road                                             Hollis                  NH      03049              Litigation        X           Unknown
  Corn, George                               1219 Andrea Drive                                                Chattanooga             TN      37419              Litigation        X           Unknown
  Cornelio, Maria                            711 N Harris Ave.                                                Tyler                   TX      75702              Litigation        X           Unknown
  Cornell, Howard                            4825 South Triple X Road                                         Choctaw                 OK      73020              Litigation        X           Unknown
  Cornwell, Judith                           1404 So. Commercial Apt 2                                        Harrisonville           MO      64701              Litigation        X           Unknown
  Corona, Bertha Alicia                      899 West G Street                                                Colton                  CA      92324              Litigation        X           Unknown
  Corona, Robert                             19132 Friendly Valley Parkway                                    Newhall                 CA      91321              Litigation        X           Unknown
  Corona, Rosario                            PO Box 3465                                                      Victorville             CA      92393              Litigation        X           Unknown
  Corral- Ricarte                            890 S Palmetto Ave                                               Ontario                 CA      91762              Litigation        X           Unknown
  Corral, Peter                              7428 Tegner Dr.                                                  Rosemead                CA      91770              Litigation        X           Unknown
  Corrales, Evelin                           9207 Delano Dr.                                                  Riverside               CA      92503              Litigation        X           Unknown
  Corrales, Maryann                          PO Box 374                                                       Black Mountain          NC      27041              Litigation        X           Unknown
  Corrao, Rosemary                           18130 Webster Grove Dr.                                          Hudson                  FL      34667              Litigation        X           Unknown
  Correa, Judith                             669 West L Street                                                Colton                  CA      92324              Litigation        X           Unknown
  Correll, Armand                            1508 Lane Street                                                 Kannapolis              NC      28083              Litigation        X           Unknown
  Corrick, John "Jack"                       9304 Honey Tree Ln. Unit 1                                       Calabash                NC      28467              Litigation        X           Unknown
  Corson, Rex                                9642 Lindenwood Road                                             Chana                    IL     61015              Litigation        X           Unknown
  Corteal, Judith                            419 E Navajo Dr. Apt. 17                                         Tuscan                  AZ      85705              Litigation        X           Unknown
  Cortes, David                              RTS - P.O. Box 722083                                            Orlando                 FL      32872              Litigation        X           Unknown
  Cortez Jr., Jose                           24710 Marbella Avenue                                            Carson                  CA      90745              Litigation        X           Unknown
  Cortez Lara, Jaime                         RTS - 2723 Date Street                                           Riverside               CA      92507              Litigation        X           Unknown
  Cortez, Ana                                24710 Marbella Avenue                                            Carson                  CA      90745              Litigation        X           Unknown
  Cortez, Carmen S.                          2806 Demeter Place                                               Riverside               CA      92509              Litigation        X           Unknown
  Cortez, Dalena                             24710 Marbella Avenue                                            Carson                  CA      90745              Litigation        X           Unknown
  Cortez, Jose                               24710 Marbella Avenue                                            Carson                  CA      90745              Litigation        X           Unknown
  Cortez, Maria                              24710 Marbella Avenue                                            Carson                  CA      90745              Litigation        X           Unknown
  Cortez, Nilda                              519 W Plantation Blvd                                            Lake Mary               FL      32746              Litigation        X           Unknown
  Cortez, Ruben                              4023 N Grimes St.                                                Hobbs                   NM      88240              Litigation        X           Unknown
  Corwin, Elizabeth                          PO Box 6770                                                      Eureka                  CA      95502              Litigation        X           Unknown
  Corzatt, William                           Real Route 1 Box 80                                              Stronghurst             IL      61480              Litigation        X           Unknown
  Costanzo, Matthew                          4201 Buck Creek Ct.                                              N. Charleston           SC      29420              Litigation        X           Unknown
  Costanzo, Sally                            5013 W. Livingston Road                                          Pasco                   WA      99301              Litigation        X           Unknown
  Costigan, Jordan                           1010 Lagoon Ave.- Apt. 308                                       Wilmington              CA      90744              Litigation        X           Unknown
  Costley, Larece Lynn                       5788 Kenwood Place                                               Rubidoux                CA      92509              Litigation        X           Unknown
  Coston, Darlene                            5306 West Girard Avenue                                          Phildephia              PA      19131              Litigation        X           Unknown
  Cosulich, Paul                             97 Forge Hill Road                                               Glen Gardner            NJ      08826              Litigation        X           Unknown
  Cotney, Mark                               4809 Cheval Blvd.                                                Lutz                    FL      33558              Litigation        X           Unknown
  Cotten, Travis                             17681 Hales Road                                                 Batson                  TX      77519              Litigation        X           Unknown
  Cotton, Audrey                             308 D Bargate Drive                                              Cary                    NC      27511              Litigation        X           Unknown
  Cotton, Craig                              402 Meadowood Dr                                                 Greensburg              PA      15601              Litigation        X           Unknown
  Cottrell, Patricia                         31635 Pembroke Street                                            Livonia                 MI      48152              Litigation        X           Unknown
  Couch, Thomas                              12131 Spicer's Mill Road                                         Orange                  VA      22960              Litigation        X           Unknown
  Coughlin, Mark                             P.O. Box 144                                                     Sparland                IL      61565              Litigation        X           Unknown
  Counts, Anthony                            24517 Marbella Avenue                                            Carson                  CA      90745              Litigation        X           Unknown
  Counts, Jerry                              181 Pine Village Road                                            Sylvania                GA      30467              Litigation        X           Unknown
  Counts, Leticia                            24517 Marbella Avenue                                            Carson                  CA      90745              Litigation        X           Unknown



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  Courtman, Bobb                             24103 Landing Drive                                                  Lutz                      FL        33559                 Litigation        X           Unknown
  Courville, Lawrence                        P.O. BOX 41                                                          Loreauville               LA        70552                 Litigation        X           Unknown
  Covarrubias - Lara, Rosa                   24413 Ravenna Avenue                                                 Carson                    CA        90745                 Litigation        X           Unknown
  Covarrubias, Daniel                        24413 Ravenna Avenue                                                 Carson                    CA        90745                 Litigation        X           Unknown
  Cowell, Cardwell                           923 Hampton Lane                                                     Youngsville               NC        27596                 Litigation        X           Unknown
  Cowles, Marion                             406 Boston Ave                                                       North Wilkesboro          NC        28659                 Litigation        X           Unknown
  Cox, Blanche                               1658 Jersey Dr.                                                      Fayetteville              NC        28314                 Litigation        X           Unknown
  Cox, Gary                                  103 Bourbon Court                                                    Georgetown                KY        40324                 Litigation        X           Unknown
  Cox, Troy                                  9527 Withers Mill Way                                                Warrenton                 VA        20186                 Litigation        X           Unknown
  Coyne, Brenda                              7133 Denver Drive                                                    Biloxi                    MS        39532                 Litigation        X           Unknown
  Craibe, Eduardo                            4524 183rd Pl SW                                                     Lynwood                   WA        98037                 Litigation        X           Unknown
  Craig, Ann                                 30 Casteel Drive                                                     Martinsburg               WV        25404                 Litigation        X           Unknown
  Craig, Katherine                           3616 Cedar Ave.                                                      Lynwood                   CA        90262                 Litigation        X           Unknown
  Crain, Dick                                24503 Island Avenue                                                  Carson                    CA        90745                 Litigation        X           Unknown
  Crain, Richard                             3205 4th Street SW #19                                               Minot                     ND        58701                 Litigation        X           Unknown
  Crain, Yvonne                              24503 Island Avenue                                                  Carson                    CA        90745                 Litigation        X           Unknown
  Crandall, Gary                             W 1646 E. Steven Ln                                                  Marinette                 WI        54143                 Litigation        X           Unknown
  Crandell, Shirley                          P.O. Box 614                                                         Monticello                NY        12701                 Litigation        X           Unknown
  Crane, Darryl                              2756 Hamilton Circle                                                 Jacksonville              FL        32209                 Litigation        X           Unknown
  Crane, Todd                                4518 Whispering Lake Dr.                                             Frisco                    TX        75034                 Litigation        X           Unknown
  Cranor, Linda Diane                        3288 Blue Ridge Circle                                               Stockton                  CA        95219                 Litigation        X           Unknown
  Craven, Sr., William                       P.O. Box 252                                                         Awenda                    SC        29429                 Litigation        X           Unknown
  Crawford, Charles                          66 Memory Lane                                                       Ringgold                  GA        30736                 Litigation        X           Unknown
  Crawford, Dennis                           160 Holsapple Road #78                                               Dover Plains              NY        12522                 Litigation        X           Unknown
  Crawford, Lee                              1536 Shorewood Drive                                                 Bremerton                 WA        98312                 Litigation        X           Unknown
  Crawford, Louis                            11356 Altura Vista Drive                                             Las Vegas                 NV        89138                 Litigation        X           Unknown
  Crawford, Michael                          3288 Blue Ridge Circle                                               Stockton                  CA        95219                 Litigation        X           Unknown
  Crawford, Patricia                         116 S. Cross Street                                                  West Union                OH        45693                 Litigation        X           Unknown
  Crawford, Yvonne                           9809 12th Avenue N.                                                  Everett                   WA        98204                 Litigation        X           Unknown
  Creamer, Karen                             2524 Old 6th Ave Road                                                Altoona                   PA        16601                 Litigation        X           Unknown
  Creek, Lavonne                             2904 E 39th Court                                                    Des Moines                IA        50317                 Litigation        X           Unknown
  Creider, Joel                              3207 Vandyke Drive                                                   Spring                    TX        77388                 Litigation        X           Unknown
  Crescimanno, Sr., Benedict                 850 Washington Street                                                Baldwin                   NY        11510                 Litigation        X           Unknown
  Crespin, Acosta                            15137 Gundry Ave., Unit C                                            Paramount                 CA        90723                 Litigation        X           Unknown
  Crespin, Sandra                            15137 Gundry Ave., Unit C                                            Paramount                 CA        90723                 Litigation        X           Unknown
  Crichton, Erik                             2092 Carfax Ave                                                      Long Beach                CA        90815                 Litigation        X           Unknown
  Crichton, Ian                              2267 Albury Ave.                                                     Long Beach                CA      90815-2105              Litigation        X           Unknown
  Crichton, Steven                           28 Welcome Lane                                                      Seal Beach                CA        90740                 Litigation        X           Unknown
  Criner, Wayner                             19009 Laurel Park Rd., Sp. 500                                       Dominguez Hills           CA        90220                 Litigation        X           Unknown
  Crist, Milo                                22491 N. Hwy. 169                                                    Garnett                   KS        66032                 Litigation        X           Unknown
  Crites, Bonnie Joan                        5200 West Highway 52                                                 Emmett                    ID        83617                 Litigation        X           Unknown
  Crocker, Sr., Robert                       310 Grand Ave                                                        Johnson City              NY        13790                 Litigation        X           Unknown
  Crockett, Leroy                            952 South 800 East                                                   Centerville               UT        84014                 Litigation        X           Unknown
  Crockett, Susan                            561 Adam St.                                                         Tonawanda                 NY        14150                 Litigation        X           Unknown
  Cronin, John                               746 205th Place                                                      Dyer                      IN        46311                 Litigation        X           Unknown
  Croom, Michael Dushaun                     5356 O'Dell Street                                                   Riverside                 CA        92509                 Litigation        X           Unknown
  Crosby, Marcia                             164 Penkins Road                                                     Sublette                  IL        61367                 Litigation        X           Unknown
  Crosby, Mildred                            16860 Garden View Circle Apt. 229                                    Detroit                   MI        48228                 Litigation        X           Unknown
  Crosland, Michael                          38 Euclid Street                                                     Marshallville             OH        44645                 Litigation        X           Unknown
  Cross, Gloria                              2463 Hemingway Lane Unit #106                                        Merritt Island            FL        32953                 Litigation        X           Unknown



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  Cross, John                                2929 N 48th Street                                                     Omaha                   NE      68104              Litigation        X           Unknown
  Cross, Mary                                1305 Dougmar Drive                                                     Santa Cruz              CA      95062              Litigation        X           Unknown
  Crossland, Raymond                         PO Box 144                                                             Pattonville             TX      75468              Litigation        X           Unknown
  Crossman, Bonnie                           3216 Sunset Blvd                                                       Seaside                 OR      97138              Litigation        X           Unknown
  Crow, Jr., Christopher                     1190 Brickstore Rd.                                                    Eastaboga               AL      36260              Litigation        X           Unknown
  Crow, Ronald                               4208 SE 50th Terr                                                      Oklahoma City           OK      73135              Litigation        X           Unknown
  Crowley, Bridget                           6418 Haines Rd N #40                                                   St. Petersburg          FL      33702              Litigation        X           Unknown
  Crudupt, Marylin                           323 E. Norton Street                                                   Long Beach              CA      90805              Litigation        X           Unknown
  Cruet, Hortensia                           70515 Fuchsia St., Apt. D29                                            Abita Springs           LA      70420              Litigation        X           Unknown
  Cruickshanks, Frances                      3061 Montfort Loop                                                     Hernrico                VA      23294              Litigation        X           Unknown
  Crum, Franceen                             P.O. BOX 62                                                            Martin                  KY      41649              Litigation        X           Unknown
  Crummie, Otis                              4795 Van Carol Dr.                                                     Las Vegas               NV      89147              Litigation        X           Unknown
  Cruz                                       33723 Shamrock Lane                                                    Murietta                CA      92563              Litigation        X           Unknown
  Cruz Luis, Paula                           6602 Cassandra Dr.                                                     Bell                    CA      90201              Litigation        X           Unknown
  Cruz, Edna Linda Teresa                    5772 Newton Street                                                     Riverside               CA      92507              Litigation        X           Unknown
  Cruz, Jan Deshane                          1021 Cedar Street                                                      Junction City           KS      66441              Litigation        X           Unknown
  Cruz, Lillian                              577 FDR Dr. Apt 13D                                                    New York                NY      10002              Litigation        X           Unknown
  Cruz, Maria                                26932 Flo Lane #411                                                    Canyon Country          CA      91351              Litigation        X           Unknown
  Cruz, Mary Ann                             13242 Ankerton St.                                                     Whittier                CA      90601              Litigation        X           Unknown
  Cruz, Mira                                 1251 Terra Ave.                                                        San Leandro             CA      94576              Litigation        X           Unknown
  Cuadros, Rossy                             3122 West 187th St.                                                    Torrance                CA      90504              Litigation        X           Unknown
  Cuaresma, Albert                           24413 Neptune Avenue                                                   Carson                  CA      90745              Litigation        X           Unknown
  Cuaresma, John                             24413 Neptune Avenue                                                   Carson                  CA      90745              Litigation        X           Unknown
  Cuaresma, Marta                            24413 Neptune Avenue                                                   Carson                  CA      90745              Litigation        X           Unknown
  Cuaresma, Michael                          24413 Neptune Avenue                                                   Carson                  CA      90745              Litigation        X           Unknown
  Cuaresma, Ubalda                           24413 Neptune Avenue                                                   Carson                  CA      90745              Litigation        X           Unknown
  Cudaback, Charles                          4532 N 17th St.                                                        Omaha                   NE      68110              Litigation        X           Unknown
  Cuellar, Gracie                            PO Box 64                                                              Meadow                  TX      79345              Litigation        X           Unknown
  Cuellar, II, Ralph                         P.O. Box 125                                                           Spade                   TX      79369              Litigation        X           Unknown
  Cuff, Sandra                               308 West Queen St. Apt. 15                                             Inglewood               CA      90301              Litigation        X           Unknown
  Cullen, Thomas                             1106 Cumberland Avenue                                                 Deptford                NJ      08096              Litigation        X           Unknown
  Cullens, Martha                            15230 Olive Street                                                     Hesperia                CA      92345              Litigation        X           Unknown
  Culler, Melody                             1601 E 23rd                                                            Des Moines              IA      50317              Litigation        X           Unknown
  Culler, Nettie                             234 Greenwich Drive                                                    Dover                   DE      19901              Litigation        X           Unknown
  Cummings, Darlene                          2504 Hall Avenue                                                       Riverside               CA      92509              Litigation        X           Unknown
  Cummings, Rosetta                          PO Box 133                                                             Troy                    KS      66087              Litigation        X           Unknown
  Cummings, Shaun                            2445 Dunn Ave. #510                                                    Jacksonville            FL      32218              Litigation        X           Unknown
  Cummins, Carol                             4166 Shelton Country Road Extension                                    Liberty                 NC      27298              Litigation        X           Unknown
  Cunanan, Dan                               267 Monterey Drive                                                     Carson                  CA      90745              Litigation        X           Unknown
  Cunanan, Danica                            4305 N. Clearfield Ave.                                                Tampa                   FL      33603              Litigation        X           Unknown
  Cunanan, Danielle Joy                      267 Monterey Drive                                                     Carson                  CA      90745              Litigation        X           Unknown
  Cunningham, Ardis                          PO Box 48662                                                           Tulsa                   OK      74148              Litigation        X           Unknown
  Cunningham, Donna                          257 Scotts Valley                                                      Hercules                CA      94547              Litigation        X           Unknown
  Cunningham, John                           136 Cloud Crest Dr.                                                    Greentown               PA      18426              Litigation        X           Unknown
  Cunningham, Loraine                        207 West Redwood Street                                                Marshall                MN      56258              Litigation        X           Unknown
  Cunningham, Sam                            9316 S. 4th Avenue                                                     Inglewood               CA      90305              Litigation        X           Unknown
  Curanaj, Prenk                             18 Harris Lane                                                         Harrison                NY      10528              Litigation        X           Unknown
  Curiel Jr., Frank                          24813 Island Avenue                                                    Carson                  CA      90745              Litigation        X           Unknown
  Curiel, Christopher                        24813 Island Avenue                                                    Carson                  CA      90745              Litigation        X           Unknown
  Curiel, Frankie                            24813 Island Avenue                                                    Carson                  CA      90745              Litigation        X           Unknown



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  Curiel, Isabel                             24813 Island Avenue                                                 Carson                     CA        90745                 Litigation        X           Unknown
  Curiel, Rosie                              24813 Island Avenue                                                 Carson                     CA        90745                 Litigation        X           Unknown
  Curran, Kendall                            1336 S.E. 7th Avenue                                                Albany                     OR        97321                 Litigation        X           Unknown
  Currie, Willie                             11591 Colpaert Dr.                                                  Warren                     MI      48093-1168              Litigation        X           Unknown
  Curry, Elmira                              3004 Barclay Square N Apt H                                         Columbus                   OH        43209                 Litigation        X           Unknown
  Curry, Francis                             7834 Suncoast Dr.                                                   North Fort Meyers          FL        33917                 Litigation        X           Unknown
  Curry, Lisa                                8613 Woodcock Lane                                                  Charlotte                  NC        28216                 Litigation        X           Unknown
  Curry, Nancy                               609 St. Paul Ave., Apt. 443B                                        Los Angeles                CA        90017                 Litigation        X           Unknown
  Curtis, Anthony                            5915 Crescent Ln.                                                   Colleyville                TX        76034                 Litigation        X           Unknown
  Curtis, Audrey                             815 Hillside Street SW                                              Valdese                    NC        28690                 Litigation        X           Unknown
  Curtis, Barbara                            11101 Warwick Boulevard, Suite C                                    Newport News               VA        23601                 Litigation        X           Unknown
  Curtis, John                               26781 Nellis Road                                                   Evan Mills                 NY        13637                 Litigation        X           Unknown
  Curtis-Womack, Celeste                     7960 Silverado Place                                                Riverside                  CA        92503                 Litigation        X           Unknown
  Cushing, Drex                              84606 Hwy 35                                                        Norfolk                    NE        68701                 Litigation        X           Unknown
  Custard, Robert                            603 F Lake Drive                                                    Douglassville              PA        19518                 Litigation        X           Unknown
  Custis, Debra                              2445 S. Frazier Street                                              Philadelphia               PA        19143                 Litigation        X           Unknown
  Cuviello, Joelle A.                        3125 Lake Valencia Lane E.                                          Palm Harbor                FL        34684                 Litigation        X           Unknown
  Cwik, Lorrie Ann                           1015 W. Valley Blvd. #25                                            Colton                     CA        92324                 Litigation        X           Unknown
  Da Silva, Claire                           6342 SW 112 Place                                                   Miami                      FL        33173                 Litigation        X           Unknown
  Daggett, Kathy                             16735 SE 78th Lillywood Ct.                                         The Villages               FL        32162                 Litigation        X           Unknown
  Dahl, William                              31755 Rockcreek Rd                                                  Manton                     CA        96059                 Litigation        X           Unknown
  Dail, Mary                                 111 Grandview Pointe                                                Florence                   MS        39073                 Litigation        X           Unknown
  Daily, Mary                                1142 North Orange Street #4                                         Riverside                  CA        92501                 Litigation        X           Unknown
  Dairy, Nicole                              1077 Stradellard                                                    Los Angeles                CA        90077                 Litigation        X           Unknown
  Dalton, Aaron                              8 Hydac Road                                                        Fort Walton Beach          FL        32547                 Litigation        X           Unknown
  Dalton, Karen Lou                          6180 Barcelona Avenue                                               Riverside                  CA        92509                 Litigation        X           Unknown
  Dalton, Roger                              7 Olympic Street                                                    Toms River                 NJ        08757                 Litigation        X           Unknown
  Damore, Carol                              1085 Hawser Avenue                                                  Manahawkin                 NJ        08050                 Litigation        X           Unknown
  Damore, John                               721 South Curtis St. Apt 335                                        Lake Geneva                WI        53147                 Litigation        X           Unknown
  Dampier, Bobby                             1954 Crosat Street                                                  La Salle                   IL        61301                 Litigation        X           Unknown
  Daniel, Carolyn                            2166 Park Terrace Apt. #2                                           College Park               GA        30337                 Litigation        X           Unknown
  Daniel, Laurence                           PO Box 14524                                                        Torrance                   CA      90503-8524              Litigation        X           Unknown
  Daniel, Lauretta                           60 E. Flower Street, Apt 125                                        Chula Vista                CA        91910                 Litigation        X           Unknown
  Daniel, Mary                               4907 Wilson Place                                                   Macon                      GA        31204                 Litigation        X           Unknown
  Daniels Jr., Wilbert L.                    25323 Alessandro Blvd.- #1018                                       Moreno Valley              CA        92553                 Litigation        X           Unknown
  Daniels, Asa                               PO Box 158                                                          Vienna                     GA        31092                 Litigation        X           Unknown
  Daniels, Brian                             358 E. 100 Street #5                                                Salt Lake City             UT        84111                 Litigation        X           Unknown
  Daniels, Danny Ray                         5634 Charlene Court                                                 San Bernardino             CA        92407                 Litigation        X           Unknown
  Daniels, Delores                           2884 Oakman Blvd                                                    Detroit                    MI        48238                 Litigation        X           Unknown
  Daniels, Jeanne                            72 Whitford Ave.                                                    Whitesboro                 NY        13492                 Litigation        X           Unknown
  Daniels, Lara Vanessa                      180 E Jarvis St                                                     Perris                     CA        92571                 Litigation        X           Unknown
  Daniels, Robert                            4859 Newton Drive                                                   Memphis                    TN        38109                 Litigation        X           Unknown
  Daniels, Rudolph                           1708 Isaac St.                                                      Norfolk                    VA        23523                 Litigation        X           Unknown
  Daniels, Sailor                            112 Lilly St. #L                                                    Lafayette                  LA        70501                 Litigation        X           Unknown
  Daniels, Wilbert Lee                       19148 Buckboard Lane                                                Riverside                  CA        92508                 Litigation        X           Unknown
  Daniels-Johnson, Mary Ellen                1009 Crestbrook Drive                                               Riverside                  CA        92506                 Litigation        X           Unknown
  Daniely, Jessica Allison                   3230 Triumph Lane- #3                                               Ontario                    CA        91764                 Litigation        X           Unknown
  Daniero, Joseph                            PO Box 3242                                                         Cherry Hill                NJ        08034                 Litigation        X           Unknown
  Danker, Bernhard                           13761 White Oak Road                                                Huntley                    IL        60142                 Litigation        X           Unknown
  Danley, Hakeem                             901 Tucker St.                                                      Williamsport               PA        17701                 Litigation        X           Unknown



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  Daoud, Sami                                8626 W. Vernor Highway                                              Detroit                   MI      48209              Litigation        X           Unknown
  Darby, Karen                               RTS - 2226 W. Oxford Street                                         Philadelphia              PA      19121              Litigation        X           Unknown
  Dardarian, Michael                         1890 Mary Dell Lane                                                 Delaware                  OH      43015              Litigation        X           Unknown
  Darden, James                              P.O Box 624                                                         Valley                    AL      36854              Litigation        X           Unknown
  Darr, Richard                              250 Rocky Hill Road                                                 Plymouth                  MA      02360              Litigation        X           Unknown
  Darrow, Mark                               754 Lake Street                                                     Madison                   OH      44057              Litigation        X           Unknown
  Dase, Eleanor                              2302 W. Galbraith Rd. #C1                                           Cincinnati                OH      45239              Litigation        X           Unknown
  Dasso, Richard                             616 Rogers Avenue                                                   West Springfield          MA      01089              Litigation        X           Unknown
  Datcher, Janea                             102 York Avenue                                                     Joliet                    IL      60433              Litigation        X           Unknown
  Datzman, Roger                             9900 China Springs Rd., Apt 1402                                    Waco                      TX      76708              Litigation        X           Unknown
  Dautruche, Jean                            19 Glenn Cliff Road                                                 Rosendale                 MA      02131              Litigation        X           Unknown
  Davenport Rugg, Martha                     17423 North 125th Avenue                                            Sun City West             AZ      85375              Litigation        X           Unknown
  Davenport, Aledia                          1217 West Linden St.- Apt. C                                        Riverside                 CA      92507              Litigation        X           Unknown
  Davenport, Anegia                          3401 Ramona Dr. Apt. 34                                             Riverside                 CA      92506              Litigation        X           Unknown
  Davenport, Barbara Ann                     3610 Banbury Dr. #3-0                                               Riverside                 CA      92505              Litigation        X           Unknown
  Davenport, Gloria                          5834 Avila Street                                                   El Cerrito                CA      94530              Litigation        X           Unknown
  Davenport, Mona                            301 North California St                                             Burbank                   CA      91505              Litigation        X           Unknown
  Daves, Richard                             400 E. Roberts Lane Spc 29                                          Bakersfield               CA      93308              Litigation        X           Unknown
  David, Katie                               PO Box 912                                                          Colton                    CA      92324              Litigation        X           Unknown
  David, Maureen                             24703 Ravenna Avenue                                                Carson                    CA      90745              Litigation        X           Unknown
  David, Reynaldo                            24802 Carmel Drive                                                  Carson                    CA      90745              Litigation        X           Unknown
  David, Roberto                             24703 Ravenna Avenue                                                Carson                    CA      90745              Litigation        X           Unknown
  Davidson, Beverly                          333 S. Gallatin Rd, Apt# G9                                         Madison                   TN      37115              Litigation        X           Unknown
  Davidson, Edwin                            739 Bay Front Lane                                                  Oak Harbor                WA      98277              Litigation        X           Unknown
  Davidson, Gerald                           380 W Main St. #57                                                  Tilton                    NH      03276              Litigation        X           Unknown
  Davidson, Pat                              7309 Timberline Drive                                               Rowlett                   TX      75089              Litigation        X           Unknown
  Davila, Evelia                             1487 W 51st St                                                      Los Angeles               CA      90062              Litigation        X           Unknown
  Davila, Steve                              18613 E. 20th Terrace N.                                            Independence              MO      64058              Litigation        X           Unknown
  Davis Green, Celo Maurine                  22494 Boating Way                                                   Canyon Lake               CA      92587              Litigation        X           Unknown
  Davis Jr., Clarence                        24823 Island Avenue                                                 Carson                    CA      90745              Litigation        X           Unknown
  Davis, Alan Christopher                    5760 28th Street                                                    Riverside                 CA      92509              Litigation        X           Unknown
  Davis, Alice                               120 Alcott Place #32D                                               Bronx                     NY      10475              Litigation        X           Unknown
  Davis, Allan                               2763 Bridgewater Drive                                              Salt Lake City            UT      84121              Litigation        X           Unknown
  Davis, Barbara                             183 Pike Rd.                                                        Selter                    SC      29150              Litigation        X           Unknown
  Davis, Barbara                             29 Ricky Ave                                                        Hazelhurst                GA      31539              Litigation        X           Unknown
  Davis, Betty                               1705 Meadowlark Court Apt. 103                                      Kansas City               KS      66102              Litigation        X           Unknown
  Davis, Brenda                              1408 Durant Lane Apt-A8                                             Durant                    MS      74701              Litigation        X           Unknown
  Davis, Carolyn                             5870 Belneath                                                       Houston                   TX      77033              Litigation        X           Unknown
  Davis, Charlotte Larette                   2805 Demeter Place                                                  Riverside                 CA      92509              Litigation        X           Unknown
  Davis, Christopher Eric                    2884 Demeter Place                                                  Rubidoux                  CA      92509              Litigation        X           Unknown
  Davis, Clifton                             PO Box 581                                                          Carlisle                  AR      72024              Litigation        X           Unknown
  Davis, Danny                               PO Box 37                                                           Willow Hills              IL      62480              Litigation        X           Unknown
  Davis, Darrell                             4019 Dee Dee Court                                                  Lancaster                 CA      93536              Litigation        X           Unknown
  Davis, Donald                              125 Piper Road Lot 7                                                Lexington                 SC      29073              Litigation        X           Unknown
  Davis, Doraline                            P.O. Box 61098                                                      Raleigh                   NC      27661              Litigation        X           Unknown
  Davis, Duane                               426 Independence Station                                            Independence              KY      41051              Litigation        X           Unknown
  Davis, Edith                               174 John Moody Road                                                 Lucedale                  MS      39452              Litigation        X           Unknown
  Davis, Elbert                              11178 Highway 19 South                                              Union                     MS      39365              Litigation        X           Unknown
  Davis, Elbert                              11178 Hwy 19 South Trlr 1                                           Union                     MS      39365              Litigation        X           Unknown
  Davis, Frederick                           4622 David Drive                                                    Bristol                   PA      19007              Litigation        X           Unknown



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  Davis, Glenda                              PO Box 504                                                         Resaca                 GA        30735                 Litigation        X           Unknown
  Davis, Haywood                             20640 Dunbridge Road                                               Bowling Green          OH        43402                 Litigation        X           Unknown
  Davis, James                               44 Country Road 228                                                Oxford                 MS        38655                 Litigation        X           Unknown
  Davis, Jan                                 2108 East Rule Street                                              Wichita                KS        67211                 Litigation        X           Unknown
  Davis, Janet                               PO Box 667                                                         Colusa                 CA        95932                 Litigation        X           Unknown
  Davis, Jimmie L.                           2490 Hall Avenue                                                   Riverside              CA        92509                 Litigation        X           Unknown
  Davis, Joerene                             RTS - 1776 Union St Apt H.                                         Brooklyn               NY        11211                 Litigation        X           Unknown
  Davis, Jr, Merle                           293 Day Road                                                       Aiken                  SC      29805-8323              Litigation        X           Unknown
  Davis, Kamau                               2736 E Jackson St.                                                 Carson                 CA      90810-1323              Litigation        X           Unknown
  Davis, Larry                               52 Davis Heights Drive                                             Romney                 WV        26757                 Litigation        X           Unknown
  Davis, Leslie                              422 East 3rd Street                                                Lockport               IL        60441                 Litigation        X           Unknown
  Davis, Margarie                            36 Sutton Place                                                    Islandia               NY        11749                 Litigation        X           Unknown
  Davis, Marla                               4867 Betty Mae Dr.                                                 Stockton               CA        95212                 Litigation        X           Unknown
  Davis, Martha                              2617 Juniper Drive                                                 Charlotte              NC        28269                 Litigation        X           Unknown
  Davis, Mary                                3822 Borden Rd.                                                    Hayes                  VA        23072                 Litigation        X           Unknown
  Davis, Mary                                3718 Dawson Ave                                                    Greensboro             NC        27401                 Litigation        X           Unknown
  Davis, Mary Lou                            724 Braemere Drive                                                 Franklin               TN        37064                 Litigation        X           Unknown
  Davis, Merrill                             34 Sargent Street                                                  Haines City            FL        33844                 Litigation        X           Unknown
  Davis, Mika                                PO Box 1155                                                        Paramount              CA        90723                 Litigation        X           Unknown
  Davis, Phyllis                             PO Box 65204                                                       Fayetteville           NC        28306                 Litigation        X           Unknown
  Davis, Ray                                 6124 Bramble Avenue                                                Cincinnati             OH        45227                 Litigation        X           Unknown
  Davis, Ronald L                            1025 N. Urbana Avenue                                              Tulsa                  OK        74115                 Litigation        X           Unknown
  Davis, Rosie                               9118 Beaconsfield Street                                           Detroit                MI        48224                 Litigation        X           Unknown
  Davis, Samuel                              4648 E Dayton Ct                                                   Baton Rouge            LA        70805                 Litigation        X           Unknown
  Davis, Saquon                              4218 Parkbell Dr.                                                  Charolette             NC        28208                 Litigation        X           Unknown
  Davis, Sejuane                             4218 Parkdale Drive                                                Charlotte              NC        28208                 Litigation        X           Unknown
  Davis, Sheila                              8658 Burt Road                                                     Detroit                MI        48228                 Litigation        X           Unknown
  Davis, Sheryl                              P.O. Box 7832                                                      Oklahoma City          OK        73153                 Litigation        X           Unknown
  Davis, Sr., Shirley                        1728 Spring Ridge Road                                             Big Stone Gap          VA        24219                 Litigation        X           Unknown
  Davis, Susan                               800 Graham St.                                                     Coleman                MI        48618                 Litigation        X           Unknown
  Davis, Terrance                            3215 Clopton St.                                                   Huntsville             AL        35805                 Litigation        X           Unknown
  Davis, Tracy                               4826 Eastern Ave.                                                  Kansas City            MO        64129                 Litigation        X           Unknown
  Davis, Walter                              PO Box 492                                                         Fort Meade             FL        33841                 Litigation        X           Unknown
  Davis, Willie                              1545 W. 45th Street                                                Los Angeles            CA        90062                 Litigation        X           Unknown
  Davis, Zenon                               301 S. Center St.                                                  Sabinal                TX        78881                 Litigation        X           Unknown
  Davison, Jr., William                      4 Cedar Lane N                                                     Newnan                 GA        30263                 Litigation        X           Unknown
  Dawkins, Dianne                            501 West Forrest Street                                            Aberdeen               MS        39730                 Litigation        X           Unknown
  Dawson, Carmen                             327 E 244th Street                                                 Carson                 CA        90745                 Litigation        X           Unknown
  Dawson, Gloria                             1106 S. 8th                                                        Cottage Grove          OR        97424                 Litigation        X           Unknown
  Dawson, William                            1536 Jacqueline Drive                                              Arnold                 MO        63010                 Litigation        X           Unknown
  Day, Birchell                              2829 N. Hwy. 421                                                 0 Manchester             KY        40962                 Litigation        X           Unknown
  Day, Charles                               1819 Oakline Street                                                San Antonio            TX        78232                 Litigation        X           Unknown
  Day, Deborah Louise                        1265 Malaga Drive                                                  Riverside              CA        92509                 Litigation        X           Unknown
  Day, Emily                                 17 Highland Avenue                                                 Rumson                 NJ        07760                 Litigation        X           Unknown
  Day, Nerabu                                1060 Hunt Street NW                                                Palm Bay               FL        32907                 Litigation        X           Unknown
  Dayal, Ragina                              24629 Island Avenue                                                Carson                 CA        90745                 Litigation        X           Unknown
  Dayal, Ved                                 9344 Roan Ranch Circle                                             Elk Grove              CA        95624                 Litigation        X           Unknown
  Dayton, Tim                                900 County Road 702, Lot 5                                         Cleburne               TX      76031-7720              Litigation        X           Unknown
  Dazzi (Lagergren), Natalie Jean            P.O. Box 1983                                                      Helendale              CA        92342                 Litigation        X           Unknown
  D'Costa, Malcolm                           105 Clifton Road                                                   West Park              FL        33023                 Litigation        X           Unknown



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  De Jesus, Melissa                           2145 North Fifth Street                                                Philadelphia            PA      19122              Litigation        X           Unknown
  De La Cruz Jr., Alfredo                     24512 Panama Avenue                                                    Carson                  CA      90745              Litigation        X           Unknown
  De La Cruz, Alfredo                         24512 Panama Avenue                                                    Carson                  CA      90745              Litigation        X           Unknown
  De La Cruz, Lucy                            24512 Panama Avenue                                                    Carson                  CA      90745              Litigation        X           Unknown
  De La Cruz, Maria                           24512 Panama Avenue                                                    Carson                  CA      90745              Litigation        X           Unknown
  De La Hoya, Cathy Ann                       5297 1/2 34th Street                                                   Riverside               CA      92509              Litigation        X           Unknown
  De La Pena, Charlotte                       P.O. Box 50232                                                         Sparks                  NV      89315              Litigation        X           Unknown
  De La Rosa, Balvina                         8650 Pitner Rd. Apt. 50                                                Houston                 TX      77080              Litigation        X           Unknown
  De La Rosa, Bobby                           24528 Island Avenue                                                    Carson                  CA      90745              Litigation        X           Unknown
  De La Rosa, Stephanie                       24528 Island Avenue                                                    Carson                  CA      90745              Litigation        X           Unknown
  De La Torre- Jr., Alvaro                    24502 Marbella Avenue                                                  Carson                  CA      90745              Litigation        X           Unknown
  De La Torre, Adrian                         24502 Marbella Avenue                                                  Carson                  CA      90745              Litigation        X           Unknown
  De La Torre, Alvaro                         24502 Marbella Avenue                                                  Carson                  CA      90745              Litigation        X           Unknown
  De La Torre, Eric                           24502 Marbella Avenue                                                  Carson                  CA      90745              Litigation        X           Unknown
  De La Torre, Estela                         3581 Arora Street                                                      Riverside               CA      92509              Litigation        X           Unknown
  De La Torre, Silvia                         24502 Marbella Avenue                                                  Carson                  CA      90745              Litigation        X           Unknown
  De La Vara, Maria                           24407 Island Avenue                                                    Carson                  CA      90745              Litigation        X           Unknown
  De Leon, Cristina                           15142 Orizaba Ave                                                      Paramount               CA      90723              Litigation        X           Unknown
  De Leon, Jose                               15142 Orizaba Ave                                                      Paramount               CA      90723              Litigation        X           Unknown
  De Leon, Maria E.                           1074 Ardmore Street                                                    Riverside               CA      92507              Litigation        X           Unknown
  De Leon, Sonia                              15142 Orizaba Ave                                                      Paramount               CA      90723              Litigation        X           Unknown
  De Los Reyes, Angeline                      24524 Island Avenue                                                    Carson                  CA      90745              Litigation        X           Unknown
  De Luca, Carol                              4406 W. Warbal Trail                                                   Rogers                  AR      72758              Litigation        X           Unknown
  De Macias, Eva                              24427 Marbella Avenue                                                  Carson                  CA      90745              Litigation        X           Unknown
  De Pace Jr., John                           15155 Rattlesnake Gulch                                                Oro Grande              CA      92368              Litigation        X           Unknown
  De Palm, Ramon                              4451 Prince Hall Blvd.                                                 Orlando                 FL      32811              Litigation        X           Unknown
  De Sisto, Joseph David                      4331 Blackthorn Avenue                                                 Long Beach              CA      90808              Litigation        X           Unknown
  Dean, Andrea                                115 Lorna Road                                                         Boston                  MA      02126              Litigation        X           Unknown
  Dean, Brittany                              602 Will Street                                                        Morrilton               AR      72110              Litigation        X           Unknown
  Dean, Cheryl                                1156 Campanile                                                         Newport Beach           CA      92660              Litigation        X           Unknown
  Dean, Dana                                  510 75th St. SE 101                                                    Everett                 WA      98203              Litigation        X           Unknown
  Dean, Jessie                                932 East Alexander Ave.                                                Merced                  CA      95340              Litigation        X           Unknown
  Deaton, Randy                               13 NE 5th Rd., Lot 6                                                   Lamar                   MO      64759              Litigation        X           Unknown
  Debety, Patsy                               109 Debety Road                                                        Tellico Plains          TN      37385              Litigation        X           Unknown
  DeBoer, Barbara                             2319 N. Catalina Street, Apt. B                                        Burbank                 CA      91504              Litigation        X           Unknown
  DeBrinck, Wanda                             7802 Oakridge Dr.                                                      Hitchcock               TX      77563              Litigation        X           Unknown
  DeCastro, Frances                           4102 Sandpiper Drive                                                   Riverside               CA      92509              Litigation        X           Unknown
  Decker, Margo                               2260 Koro Ave.                                                         Idaho Falls             ID      83404              Litigation        X           Unknown
  Deege, Donald                               930 Isy Loop                                                           Helena                  MT      59602              Litigation        X           Unknown
  Defnall, George                             4350 Welsey Place                                                      Austell                 GA      30106              Litigation        X           Unknown
  Defosse, David                              5028 River Road                                                        Waynesboro              GA      30830              Litigation        X           Unknown
  Degen, Richard                              13952 Berrington Court                                                 Santa Ana               CA      92705              Litigation        X           Unknown
  DeGraw, Terry                               65 S. 300 East                                                         Salem                   UT      84653              Litigation        X           Unknown
  DeHaro, Andres                              24609 Panama Avenue                                                    Carson                  CA      90745              Litigation        X           Unknown
  DeHaro, Citlaly                             24609 Panama Avenue                                                    Carson                  CA      90745              Litigation        X           Unknown
  DeHaro, Martha                              24609 Panama Avenue                                                    Carson                  CA      90745              Litigation        X           Unknown
  DeHaro, Randu                               24609 Panama Avenue                                                    Carson                  CA      90745              Litigation        X           Unknown
  Dehart- Jr., William                        24733 Panama Ave                                                       Carson                  CA      90745              Litigation        X           Unknown
  Dehart, Barry                               5011 North Hawkins Road                                                Luther                  MI      49656              Litigation        X           Unknown
  DeHuelbes, Manuel                           3971 Southwest 8th Street Suite 301                                    Coral Gables            FL      33134              Litigation        X           Unknown



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  Deishler, Bo                               802 S. Brown St                                                          Purdon                  TX        76679                 Litigation        X           Unknown
  DeLaCruz, Nicolas                          1232 N. Tasker                                                           Hobbs                   NM        88240                 Litigation        X           Unknown
  Delarosa, Griselda                         760 E 105th St, 1C                                                       Brooklyn                NY        11236                 Litigation        X           Unknown
  Delfin, Janelle                            24632 Neptune Avenue                                                     Carson                  CA        90745                 Litigation        X           Unknown
  Delfin, Joel                               24632 Neptune Avenue                                                     Carson                  CA        90745                 Litigation        X           Unknown
  Delfin, Michael                            24632 Neptune Avenue                                                     Carson                  CA        90745                 Litigation        X           Unknown
  Delfin, Miguelito                          24632 Neptune Avenue                                                     Carson                  CA        90745                 Litigation        X           Unknown
  Delfin, Thelma                             24632 Neptune Avenue                                                     Carson                  CA        90745                 Litigation        X           Unknown
  Delgado Pina, Marina                       211 East F St.                                                           Colton                  CA        92324                 Litigation        X           Unknown
  Delgado, Annie                             211 East F Street                                                        Colton                  CA        92324                 Litigation        X           Unknown
  Delgado, Ralph Razo                        211 East F Street                                                        Colton                  CA        92324                 Litigation        X           Unknown
  DeLoach, Annie                             3232 Warner Drive                                                        Springfield             IL        62703                 Litigation        X           Unknown
  Deloatch, Jean                             1587 Briarfield Rd., Apt 91                                              Hampton                 VA        23666                 Litigation        X           Unknown
  DeLoera, Teresa                            19037 Napa Street                                                        Northridge              CA        91324                 Litigation        X           Unknown
  Delong, Judith                             4433 E. 16th St.                                                         Cheyenne                WY        82001                 Litigation        X           Unknown
  Delouth, Elenora Renee                     4226 Mango Tree Court                                                    Las Vegas               NV        89115                 Litigation        X           Unknown
  Delyon, Richard                            125 SW 2nd Avenue                                                        Delray Beach            FL        33444                 Litigation        X           Unknown
  Demarest, Marie                            13 Kelly Rd.                                                             Palmer                  MA        01069                 Litigation        X           Unknown
  DeMaria, Antonino                          172 Seeno Street                                                         Monterey                CA        93940                 Litigation        X           Unknown
  DeMichele, Adam                            34 Tall Hedge                                                            Irvine                  CA        92603                 Litigation        X           Unknown
  DeMichele, Christina                       34 Tall Hedge                                                            Irvine                  CA        92603                 Litigation        X           Unknown
  Deming, Deborah                            358 E 249th Street                                                       Carson                  CA        90745                 Litigation        X           Unknown
  Dempsey, Cecil                             501 Davis Street                                                         Genoa                   CO        80818                 Litigation        X           Unknown
  Denike, Georgette                          1811 Renaisssance Commons Blvd,           Unit 2505                      Boynton Beach           FL        33426                 Litigation        X           Unknown
  Dennis Sr., Frank                          28625 Gordon Lane                                                        Holden                  LA        70744                 Litigation        X           Unknown
  Dennis, Arthur J.                          1245 N. Siesta Ave.                                                      Valinda                 CA        91744                 Litigation        X           Unknown
  Dennis, Cora                               1148 West 26th Court                                                     Riviera Beach           FL        33404                 Litigation        X           Unknown
  Dennis, Jackie                             2850 Conestoga Ct                                                        Alpine                  CA        91901                 Litigation        X           Unknown
  Dennis, Michael                            915 N. Holliston Ave.                                                    Pasadena                CA        91104                 Litigation        X           Unknown
  Dennis, Sadao                              10116 Collins Chapel Rd, #3                                              Thorsby                 AL        35171                 Litigation        X           Unknown
  Denton II, Anthony                         PO Box 5                                                                 Burlington              ND        58722                 Litigation        X           Unknown
  Denton, Garcia                             16232 Hunsaker Ave.                                                      Paramount               CA        90723                 Litigation        X           Unknown
  Denton, Jamie Ann                          30 Mechanic Street Box 39                                                Rouseville              PA        16344                 Litigation        X           Unknown
  DeRenzo, Hildegard                         905 Song Sparrow Ct                                                      Arnold                  MD        21012                 Litigation        X           Unknown
  DeRoche, Deborah                           602 Governer Hall Street                                                 Gretna                  LA        70053                 Litigation        X           Unknown
  DeRoco, Patricia                           4204 Oro Dam Boulevard                                                   Oroville                CA        95966                 Litigation        X           Unknown
  DeRosa, Theresa                            2740 Calabash Lane                                                       North Port              FL        34286                 Litigation        X           Unknown
  DeRose, Robert L.                          1005 Fishing Street                                                      Henderson               NV        89011                 Litigation        X           Unknown
  Derrick, Cathy                             1067 West 800 North                                                      Clinton                 UT        84015                 Litigation        X           Unknown
  Derucher, Vienna                           22 Burr Ave.                                                             New York Mills          NY        13417                 Litigation        X           Unknown
  Deseo, Arlene                              22342 Harbor Ridge Lane Unit 6                                           Torrance                CA      90502-2436              Litigation        X           Unknown
  Deseo, Janelle-Regina                      22342 Harbor Ridge Ln Unit 6                                             Torrance                CA      90502-2436              Litigation        X           Unknown
  Deshane, Robert                            12698 Pearl Avenue                                                       Birmingham              IA        52535                 Litigation        X           Unknown
  DeSilva, Pauline                           7787 Bucknell Terrace                                                    Fairburn                GA        30213                 Litigation        X           Unknown
  Dessources, Laurieuse                      PO Box 1237                                                              Spring Valley           NY        10977                 Litigation        X           Unknown
  Deuberry, April                            95 Pine Grove Rd.                                                        Morehead                KY        40351                 Litigation        X           Unknown
  Deutsch, Eli                               414 Siena Dr.                                                            Cinnaminson             NJ        08077                 Litigation        X           Unknown
  Deveau, Jim & Lisa                         28 Alize Dr                                                              Kinnelon                NJ        07405                 Litigation        X           Unknown
  DeVoney, Harry M.                          2146 North Brower Ave.                                                   Simi Valley             CA        93065                 Litigation        X           Unknown
  DeWanz-Titus, Jordan                       488 Snelling Ave. S #112                                                 St. Paul                MN        55116                 Litigation        X           Unknown



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  Deweese, James                             1533 S. K Street                                                        Elwood                   IN        46036                 Litigation        X           Unknown
  Dewitt, Elvira                             24728 Panama Avenue                                                     Carson                   CA        90745                 Litigation        X           Unknown
  Dey, Sharon                                N11580 Quarterline                                                      Marion                   WI        54950                 Litigation        X           Unknown
  Di Marino, Albert                          16908 Sorrel Way                                                        Morgan Hill              CA      95037-3864              Litigation        X           Unknown
  Di Sabato, Vito                            27 Pinehurst Ct.                                                        Blackwood                NJ        08012                 Litigation        X           Unknown
  Dias, Robert                               32440 Deborah Drive                                                     Union City               CA        94587                 Litigation        X           Unknown
  Diaz- Jr., Ruben                           22802 El Vaquero Cir.                                                   Mission Viejo            CA        92691                 Litigation        X           Unknown
  Diaz, Delfina                              1145 Gian Drive                                                         Torrance                 CA        90502                 Litigation        X           Unknown
  Diaz, Gina                                 22802 El Vaquero Cir.                                                   Mission Viejo            CA        92691                 Litigation        X           Unknown
  Diaz, Jose Santana                         18516 Hurley Street                                                     La Puente                CA        91744                 Litigation        X           Unknown
  Diaz, Katrina                              134 Wild Rose                                                           Lake Forest              CA      92630-8374              Litigation        X           Unknown
  Diaz, Linda                                22802 El Vaquero Cir.                                                   Mission Viejo            CA        92691                 Litigation        X           Unknown
  Diaz, Louie                                24404 Panama Avenue                                                     Carson                   CA        90745                 Litigation        X           Unknown
  Diaz, Maritza                              578 5th Street                                                          Richmond                 CA        94801                 Litigation        X           Unknown
  Diaz, Michelle                             24404 Panama Avenue                                                     Carson                   CA        90745                 Litigation        X           Unknown
  Diaz, Norma Patricia                       6201 Brookdale Avenue                                                   Riverside                CA        92509                 Litigation        X           Unknown
  Diaz, Regina                               1530 260th St.- Apt #8                                                  Harbor City              CA        90710                 Litigation        X           Unknown
  Diaz, Ruben                                22802 El Vaquero Cir.                                                   Mission Viejo            CA        92691                 Litigation        X           Unknown
  DiBiase, Ronald                            10420 Southwest 59th Terrace                                            Ocala                    FL        34476                 Litigation        X           Unknown
  Dicicco, Angela                            53 E. Monroe St.                                                        Mount Holly              NJ        08060                 Litigation        X           Unknown
  Dickinson, Parnell                         1646 Wallace Rd.                                                        Lutz                     FL        33249                 Litigation        X           Unknown
  Dicks, Willie                              11 Fairbanks Ct                                                         Fredericksburg           VA        22405                 Litigation        X           Unknown
  Dickson, Ora Joseph                        13131 Eustace Street                                                    Pacoima                  CA        91331                 Litigation        X           Unknown
  Didich, Ethel                              2732 Tucker Valley Rd.                                                  Tucker                   GA        30084                 Litigation        X           Unknown
  Dieckman, Donald                           7508 Smokey Road                                                        Berlin Heights           OH        44814                 Litigation        X           Unknown
  Dieudonne, Luders                          20831 NW 9th Court                     Building 10, Apt 105             Miami                    FL        33169                 Litigation        X           Unknown
  Digman, Julie                              4900 Emerald Drive East                                                 Mobile                   AL        36619                 Litigation        X           Unknown
  Dill, Robbie Brian                         24219 Ledbury Road                                                      Oro Grande               CA        92368                 Litigation        X           Unknown
  Dillard, Betty                             1029 Florida Avenue                                                     Spartanburg              SC        29303                 Litigation        X           Unknown
  Dillinger, James                           421 Enterprise St.                                                      Leipsic                  OH        45856                 Litigation        X           Unknown
  Dillon, Jaqueline                          49 Crowley Ave.                                                         Buffalo                  NY        14207                 Litigation        X           Unknown
  Dillon, Rachelle                           1722 Oldstone Ct                                                        Rancho Palos Verdes      CA        90275                 Litigation        X           Unknown
  Dils, Kim                                  7286 Derby Rd.                                                          Derby                    NY        14047                 Litigation        X           Unknown
  DiLullo, Stanley                           527 S. Turner Avenue                                                    Egg Harbor City          NJ        08215                 Litigation        X           Unknown
  DiMaggio, Denise                           110 Ralston Avenue                                                      Kenmore                  NY        14217                 Litigation        X           Unknown
  DiMaggio, Diane                            76 Winkler Dr.                                                          Tonawanda                NY        14150                 Litigation        X           Unknown
  Dimare, Theresa                            630 Obispo Ave                                                          Long Beach               CA        90814                 Litigation        X           Unknown
  Dimitriou, Anargyros                       367 20th St., Apt. 6                                                    Brooklyn                 NY        11215                 Litigation        X           Unknown
  Dinkins, Carolyn                           14845 Birwood                                                           Detroit                  MI        48238                 Litigation        X           Unknown
  Dinnesen, Bonita                           2622 Allaire Avenue                                                     Cincinnati               OH        45239                 Litigation        X           Unknown
  Dinwiddie, Donald                          1501 E. Whiteside St.                                                   Springfield              MO        65804                 Litigation        X           Unknown
  DiPasquale, Carol                          261 School St.                                                          Kenmore                  NY        14217                 Litigation        X           Unknown
  Dipola, Carrie                             5835 E Steamboat Bend                                                   Post Falls               ID        83850                 Litigation        X           Unknown
  Dirden, Johnnie                            1403 S. Ulster Street                                                   Denver                   CO        80231                 Litigation        X           Unknown
  Dirgsby, Gwendolyn                         433Cypress Mill Rd.                                                     Florence                 AL        35630                 Litigation        X           Unknown
  Disotell, Leon                             308 E. Rogers St.                                                       Lincoln                  AR        72744                 Litigation        X           Unknown
  Dixon Jr., J.P.                            Post Office Box 607                                                     Twin Peak                CA        92391                 Litigation        X           Unknown
  Dixon, Bethel                              44183 Willow Lane                                                       Callahan                 FL        32011                 Litigation        X           Unknown
  Dixon, Calvert                             3182 Cresent Beach Ct.                                                  Merritt Island           FL        32952                 Litigation        X           Unknown
  Dixon, Ethel                               708 Park Drive                                                          Hope                     AR        71801                 Litigation        X           Unknown



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  Dixon, Lynel                               PO Box 3                                                              Maringouin                LA      70757              Litigation        X           Unknown
  Dixon, Marlene                             6016 Capri Drive                                                      Cincinnati                OH      45224              Litigation        X           Unknown
  Doaty, James                               1802 Country Club                                                     Bastrop                   LA      71220              Litigation        X           Unknown
  Dobbins, Lyvonne                           P.O. Box 404                                                          Switzer                   WV      25647              Litigation        X           Unknown
  Dobie, Levanna                             10601 Hamlin Way                                                      Chester                   VA      23831              Litigation        X           Unknown
  Dockery, Annes                             41 Carl Parker Road                                                   Hampton                   GA      30228              Litigation        X           Unknown
  Dockery, Kiana                             502 Ridge Drive                                                       Hamlet                    NC      28345              Litigation        X           Unknown
  Dodd, Doris                                2459 Laurel Street                                                    West Haven                UT      84401              Litigation        X           Unknown
  Dodds, Rudy                                PO Box 1493                                                           Lake Isabella             CA      93240              Litigation        X           Unknown
  Dodd-Smalley, Sherry                       904 Meadowridge Drive                                                 Midwest City              OK      73110              Litigation        X           Unknown
  Dodgen, Clyde                              15570 La Entrada Drive                                                Moreno Valley             CA      92551              Litigation        X           Unknown
  Dodson, Angela                             716 Petersburg-Chestnut Ridge Road                                    Petersburg                TN      37144              Litigation        X           Unknown
  Dogins, Kevin                              RTS - 226 Margaret Street                                             Wharton                   TX      77488              Litigation        X           Unknown
  Doherty, Mary                              17323 Hillside Ave Unit B                                             Sonoma                    CA      95476              Litigation        X           Unknown
  Doiel, Keri Anne                           111 West 2nd St.                                                      San Dimas                 CA      91773              Litigation        X           Unknown
  Dolan, Elizabeth                           PO Box 146                                                            Lake Waccamaw             NC      28450              Litigation        X           Unknown
  Dolan, June Ann                            3585 Russell Street                                                   Riverside                 CA      92501              Litigation        X           Unknown
  Dolen, Maria                               1765 Kraft St.                                                        Oceanside                 CA      92058              Litigation        X           Unknown
  Dolpp, Lloyd and Laurel                    37 Mitchell Drive                                                     Tonawanda                 NY      14150              Litigation        X           Unknown
  Domenden, Eric                             24524 Island Avenue                                                   Carson                    CA      90745              Litigation        X           Unknown
  Domenden, Rosita                           24524 Island Avenue                                                   Carson                    CA      90745              Litigation        X           Unknown
  Domingo, Crescencia                        PO Box 778                                                            Keaau                     HI      96749              Litigation        X           Unknown
  Dominguez,                                 1401 Tasker                                                           Hobbs                     NM      88240              Litigation        X           Unknown
  Dominguez, Alicia                          1267 Gazania Circle                                                   Riverside                 CA      92501              Litigation        X           Unknown
  Dominguez, Connie                          1532 S. California St.                                                Compton                   CA      90221              Litigation        X           Unknown
  Dominguez, Eric                            2201 Third Avenue, Unit 1005                                          Seattle                   WA      98121              Litigation        X           Unknown
  Dominguez, J., Jr.                         3522 S. Volmer Avenue                                                 City of Commerce          CA      90040              Litigation        X           Unknown
  Dominguez, Jr., Manuel                     5800 Osuna N.E , Apt. 200                                             Albuquerque               NM      87109              Litigation        X           Unknown
  Dominguez, Maria L.                        4294 Stanley Court                                                    Riverside                 CA      92501              Litigation        X           Unknown
  Dominguez, Matthew                         PO Box13133                                                           Stanford                  CA      94309              Litigation        X           Unknown
  Dominguez-Reyna, James                     198 Morning Valley                                                    San Antonio               TX      78227              Litigation        X           Unknown
  Dominique-Green, Shelia Elaine             5317 ODell Street                                                     Riverside                 CA      92509              Litigation        X           Unknown
  Donaghu, Roberta                           1100 NE Upper Drive                                                   Madras                    OR      97741              Litigation        X           Unknown
  Donahoe, Brookie/                          3216 Oakland Avenue                                                   Catlettsburg              KY      41129              Litigation        X           Unknown
  Donis, Juana                               1718 Matthews Street                                                  Riverside                 CA      92507              Litigation        X           Unknown
  Donis, Raul                                1718 Matthews Street                                                  Riverside                 CA      92507              Litigation        X           Unknown
  Donovan, William G.                        10041 Owensmouth Ave.                                                 Chatsworth                CA      91311              Litigation        X           Unknown
  Dooker, Fannie                             380 Tuttle Ave                                                        Mobile                    AL      36604              Litigation        X           Unknown
  Dooley, Margaret                           3568 Cheryl Way                                                       Riverside                 CA      92506              Litigation        X           Unknown
  Dopp, Terrel                               1011 East Cedar #2                                                    Pocatello                 ID      83201              Litigation        X           Unknown
  Dorati, Dov                                350 S. Miami Ave. Apt 1705                                            Miami                     FL      33130              Litigation        X           Unknown
  Dorr, Greg                                 8520 38th Street, Suite #3                                            Jamestown                 ND      58401              Litigation        X           Unknown
  Dorsey, Addie                              7812 S. Paxton Ave                                                    Chicago                   IL      60649              Litigation        X           Unknown
  Dorsey, Geraldine                          3205 San Gabriel Dr.                                                  Concord                   CA      94518              Litigation        X           Unknown
  Dotson, Alphonse                           P.O. Box 187                                                          Voca                      TX      76887              Litigation        X           Unknown
  Dotson, Arthur                             342 Maple St., SE                                                     Dawson                    GA      39842              Litigation        X           Unknown
  Dotson, Reba                               368 First Street                                                      Shady Spring              WV      25918              Litigation        X           Unknown
  Dotson, Steve                              2330 E. Avenue J-9, Sp 149                                            Lancaster                 CA      93535              Litigation        X           Unknown
  Dougherty, Joseph                          1517 S. 25W                                                           Perry                     UT      84302              Litigation        X           Unknown
  Douglas Schubert, Lisa Marie               28965 Pablo Street                                                    Nuevo                     CA      92567              Litigation        X           Unknown



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  Douglas, Hugh                              235 Pharr Rd. Apt. 3406                                          Atlanta                 GA        30305                 Litigation        X           Unknown
  Douglas, Shirley                           1475 167th Ave Apt 27                                            San Leandro             CA        94578                 Litigation        X           Unknown
  Douglas, Terry                             4 Riverview Ave.                                                 Tonawanda               NY        14150                 Litigation        X           Unknown
  Douthit Jr., Charles                       24713 Island Avenue                                              Carson                  CA        90745                 Litigation        X           Unknown
  Douthit, Charles                           24713 Island Avenue                                              Carson                  CA        90745                 Litigation        X           Unknown
  Douthit, Charles F.                        24713 Island Avenue                                              Carson                  CA        90745                 Litigation        X           Unknown
  Douthit, David                             24713 Island Avenue                                              Carson                  CA        90745                 Litigation        X           Unknown
  Douthit, Maria                             24713 Island Avenue                                              Carson                  CA        90745                 Litigation        X           Unknown
  Douthit, Patricia                          24713 Island Avenue                                              Carson                  CA        90745                 Litigation        X           Unknown
  Douthit, Travis                            2202 S. Walker Ave.                                              San Pedro               CA        90731                 Litigation        X           Unknown
  Douthit, Victoria                          2202 S. Walker Ave.                                              San Pedro               CA        90505                 Litigation        X           Unknown
  Dover, Roger                               323 Brick House Road                                             Gaffney                 SC        29340                 Litigation        X           Unknown
  Dovlatian, Sarkis                          4645 Maubert Ave                                                 Los Angeles             CA        90027                 Litigation        X           Unknown
  Dow, Lawrence                              225 N Rose St, #105                                              Toluca Lake             CA        91505                 Litigation        X           Unknown
  Dowdy, Ruth                                158 Queen St.                                                    Pinnacle                NC        27043                 Litigation        X           Unknown
  Downey, Rosemary                           4260 Hanks Road                                                  Camino                  CA        95709                 Litigation        X           Unknown
  Downs, Janice                              614 N Pioneer Circle                                             Mesa                    AZ        85203                 Litigation        X           Unknown
  Doyle, John                                P.O. Box 107                                                     Linden                  IA        50146                 Litigation        X           Unknown
  Dozier, Juanita                            360 Thurston Rd. Apt A                                           Rochester               NY        14619                 Litigation        X           Unknown
  Drain, Jacqueline                          PO Box 214                                                       Erie                    PA        15824                 Litigation        X           Unknown
  Drake, David                               391 Bungy Rd.                                                    North Scituate          RI        02857                 Litigation        X           Unknown
  Draper, William                            2304 Dunham Avenue                                               Huntsville              AL        35816                 Litigation        X           Unknown
  Dreadin, Lonnie                            5204 Andalusia Trail                                             Arlington               TX      76017-3132              Litigation        X           Unknown
  Driller, Rochelle                          16381 Waterway                                                   Delray Beach            FL        33484                 Litigation        X           Unknown
  Drobiak, Arlene                            109 Anderson Road                                                Brooklyn                CT        06234                 Litigation        X           Unknown
  Dronen, Dana                               1005 13th Street SE                                              Jamestown               ND        58401                 Litigation        X           Unknown
  Dropkin, Michael                           9300 SW 8th Street #320                                          Boca Raton              FL        33428                 Litigation        X           Unknown
  Droughns III, Reuben                       5955 S. Elkhart Ct.                                              Centennial              CO        80016                 Litigation        X           Unknown
  Dryge, Marie                               57594 Caledonia Street                                           Calumet                 MI        49913                 Litigation        X           Unknown
  Duarte, Consuelo                           24503 S Marbella Avenue                                          Carson                  CA        90745                 Litigation        X           Unknown
  Duarte, J. Guadalupe                       444 E 246th Place                                                Carson                  CA        90745                 Litigation        X           Unknown
  Duarte, Jose                               8117 2nd St.                                                     Paramount               CA        90723                 Litigation        X           Unknown
  DuBoc, Catherine                           90 Vantis Dr., Apt. 6019                                         Aliso Viejo             CA        92656                 Litigation        X           Unknown
  Dubose, Aaron                              148 Garland Street                                               Winston-Salem           NC        27127                 Litigation        X           Unknown
  Dubrall, Dennis                            13024 Dunrobin Avenue                                            Downey                  CA        90242                 Litigation        X           Unknown
  Duckett, Flora                             18426 Dorset Ave                                                 Southfield              MI        48075                 Litigation        X           Unknown
  Dudash, John                               307 S. 31st                                                      Harrisburg              PA        17109                 Litigation        X           Unknown
  Dudek, Mitchell                            30075 W Chicago St                                               Livonia                 MI        48150                 Litigation        X           Unknown
  Dudley, Brian                              1651 W. 79th Street                                              Los Angeles             CA        90047                 Litigation        X           Unknown
  Dudley, Margaret                           3141 East Harding St.                                            Long Beach              CA        90805                 Litigation        X           Unknown
  Duenow, Tammy                              1165 Orange St                                                   Vidor                   TX        77662                 Litigation        X           Unknown
  Duey, Paul                                 6646 Birch Park Way                                              Galloway                OH        43119                 Litigation        X           Unknown
  Dufer, Terri                               20683 Mockingbird Ave.                                           Apple Valley            CA        92308                 Litigation        X           Unknown
  Duison, Patricia                           10425 Gerald Drive                                               Baton Rouge             LA        70815                 Litigation        X           Unknown
  Duke, Jerry                                109 Wyant Road                                                   Columbia                LA        71418                 Litigation        X           Unknown
  Dulcamaro, Janet                           813 Rosetree Lane                                                Seaford                 DE        19973                 Litigation        X           Unknown
  Dumas, Scott Eric                          4109 N. 69th Street                                              Milwaukee               WI        53216                 Litigation        X           Unknown
  Dummitt, Peyton                            PO Box 65                                                        Wedron                  IL        60557                 Litigation        X           Unknown
  Dunbar, Amanda Marie                       21595 Pine Ridge Avenue                                          Apple Valley            CA        92307                 Litigation        X           Unknown
  Dunbar, Terry                              RTS - 501 N. 3rd Street                                          Paducah                 KY        42001                 Litigation        X           Unknown



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  Duncan , Miriam                            PO Box 3054                                                        Santa Rosa                CA      95402-3054              Litigation        X           Unknown
  Duncan, Barbara                            3337 Red Sulpher Tpke Rd.                                          Princeton                 WV        24740                 Litigation        X           Unknown
  Duncan, Kilbert Louis                      2163 Carlton Place                                                 Riverside                 CA        92507                 Litigation        X           Unknown
  Duncan, Leslie Herbert "Speedy"            3320 Kenora Dr.                                                    Spring Valley             CA        91977                 Litigation        X           Unknown
  Duncan, Mary                               1609 Missouri Avenue                                               Killeen                   TX        76541                 Litigation        X           Unknown
  Duncan, Serena Louise                      2163 Carlton Place                                                 Riverside                 CA        92507                 Litigation        X           Unknown
  Duncan, Walt (Waldron)                     7405 Camp Bowie West                                               Fort Worth                TX        76116                 Litigation        X           Unknown
  Duncan-Dart, Megan                         54930 E 328th Road                                                 Jay                       OK        74346                 Litigation        X           Unknown
  Dunlap, Ramona                             312 N Topping Ave.                                                 Kansas City               MO        64123                 Litigation        X           Unknown
  Dunleavy, Brian                            575 Main Street                                                    Eynon                     PA        18403                 Litigation        X           Unknown
  Dunmore, Natalie                           956 Lakebreeze                                                     Cayon Lake                TX        78133                 Litigation        X           Unknown
  Dunn, Donna                                236 Grogan Lane                                                    Butler                    KY        41006                 Litigation        X           Unknown
  Dunn, Ingrid                               310 Booker St.                                                     Mobile                    AL        36617                 Litigation        X           Unknown
  Dunn, J.C.                                 3505 Owasso St.                                                    Shoreview                 MN        55126                 Litigation        X           Unknown
  Dunn, Laura                                11007 180h Street SE                                               Snohomish                 WA        98296                 Litigation        X           Unknown
  Dunn, Leonard                              13024 S. San Pedro Street                                          Los Angeles               CA        90061                 Litigation        X           Unknown
  Dunn, Rebecca                              3370 Tuton Road                                                    Baconton                  GA        31716                 Litigation        X           Unknown
  Dunn, Richard                              104 Natchez Court                                                  Cary                      NC        27519                 Litigation        X           Unknown
  Dunn, Robert                               3405 North Gravel Road                                             Medina                    NY        14103                 Litigation        X           Unknown
  Dunn, Tiffany                              12 Sims Lane                                                       Hatchechubbee             AL        36858                 Litigation        X           Unknown
  Dunne, Lisa Marie                          107 Wendel Ave.                                                    Tonawanda                 NY        14223                 Litigation        X           Unknown
  DuPont, Cynthia                            P.O. Box 527                                                       Micanopy                  FL        32667                 Litigation        X           Unknown
  Dupree, Vickie                             1327 Exeter                                                        Dallas                    TX        75216                 Litigation        X           Unknown
  Dupuis, Sandra                             561 Summit St.                                                     Fall River                MA        02724                 Litigation        X           Unknown
  Duque, Manuel                              316 West 8th Street                                                Clovis                    NM        88101                 Litigation        X           Unknown
  Duran, Ellena                              38042 Calcedony Court                                              Palmdale                  CA        93552                 Litigation        X           Unknown
  Duran, Marylou                             7865 Margaux Pl.                                                   Rancho Cucamonga          CA        91739                 Litigation        X           Unknown
  Durden, Larry                              4440 Bramwell Drive                                                Stone Mountain            GA        30083                 Litigation        X           Unknown
  Duren, Clarence                            43535 N. Gasden Ave. Suite F                                       Lancaster                 CA        93534                 Litigation        X           Unknown
  Dussault, Jon                              38 Windermere Road                                                 Lockport                  NY        14094                 Litigation        X           Unknown
  Dust, James                                34072 Coventry                                                     Livonia                   MI        48159                 Litigation        X           Unknown
  Dutton, Laura                              5168 Tipton Street                                                 San Diego                 CA        92115                 Litigation        X           Unknown
  Dwyer, Richard                             12 Rosewood Dr.                                                    Old Fort                  NC        28762                 Litigation        X           Unknown
  Dwyer, Shirley                             149 Silver Brook Drive                                             St. Charles               MO        63301                 Litigation        X           Unknown
  Dwyer, William                             5323 Richland Drive                                                Marrero                   LA        70072                 Litigation        X           Unknown
  Dye, Wesley                                445 Sullivan Lane Apt 169                                          Sparks                    NV        89431                 Litigation        X           Unknown
  Dyer, Dolly                                PO Box 58 Apple Road                                               Ranger                    GA        30734                 Litigation        X           Unknown
  Dyer, Regina                               4703 Carfax Avenue                                                 Lakewood                  CA        90713                 Litigation        X           Unknown
  Dykes, Odessa                              153 North Timber Drive                                             Nashville                 TN        37214                 Litigation        X           Unknown
  Dzhamdzhyan, Azatui                        545 N. 7-th Street                                                 Montebello                CA        90640                 Litigation        X           Unknown
  Eadie, Vernon                              5260 Lenora Dr.                                                    Summerville               SC      29485-8985              Litigation        X           Unknown
  Eads, Lynne                                1010 Northridge Rd. #505                                           Wichita                   KS        67212                 Litigation        X           Unknown
  Eads, Rebecca                              12940 Natchez Trace Drive                                          Lexington                 TN        38351                 Litigation        X           Unknown
  Eagan, George                              PO Box 32                                                          Bellflower                CA        90707                 Litigation        X           Unknown
  Eagan, Suzanne                             PO Box 32                                                          Bellflower                CA        90707                 Litigation        X           Unknown
  Eagleston, Courtney                        3627 E Vermont Ave, #A                                             Long Beach                CA        90814                 Litigation        X           Unknown
  Eakens, Dale                               9391 California Ave.- Space 120                                    Riverside                 CA        92503                 Litigation        X           Unknown
  Earle, Jamie                               RTS - 4940 N La Cholla Blvd                                        Tucson                    AZ        85705                 Litigation        X           Unknown
  Earley, Bertrand                           1300 W. Basin Ave #24                                              Pahrump                   NV        89060                 Litigation        X           Unknown
  Earnest, Margie                            402 East Main Street                                               Okolona                   MS        38860                 Litigation        X           Unknown



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  Eason, Nancy                               2341 County Road 673                                                 Bushnell               FL      33513              Litigation        X           Unknown
  Eastman, Charles                           16662 Superior St.                                                   Northridge             CA      91343              Litigation        X           Unknown
  Eastwood, Billy Joe                        P.O. BOX 248                                                         Oro Grande             CA      92368              Litigation        X           Unknown
  Eaves, Gary                                5400 West Parmer Lane, Apt 1517                                      Austin                 TX      78727              Litigation        X           Unknown
  Eberhardt, Bob                             207 E. Lake Circle                                                   Canton                 GA      30115              Litigation        X           Unknown
  Eberhart, Michael                          214 4th Avenue                                                       Scottdale              PA      15683              Litigation        X           Unknown
  Ebert, John                                100 Clydesdale Trail Unit 304                                        Medina                 MN      55340              Litigation        X           Unknown
  Eborn, Velma                               23 Iris Circle                                                       Springlake             NC      28390              Litigation        X           Unknown
  Echevarria, Miguel                         24802 Panama Avenue                                                  Carson                 CA      90745              Litigation        X           Unknown
  Echevarria, Omar                           24802 Panama Avenue                                                  Carson                 CA      90745              Litigation        X           Unknown
  Echols, Annisa                             3525 Second Avenue South                                             Minneapolis            MN      55408              Litigation        X           Unknown
  Ecklor, Nancy Carol                        10744 Alameda Avenue                                                 Bloomington            CA      92316              Litigation        X           Unknown
  Ecton, Susan                               320 N Poplar St                                                      Douglass               KS      67039              Litigation        X           Unknown
  Eddy, Stephen                              7121 Residencia                                                      Newport Beach          CA      92660              Litigation        X           Unknown
  Edelen, Bessie                             12 Dreher Ave.                                                       Pikesville             MD      21208              Litigation        X           Unknown
  Edens, Denny                               RTS - 200 Frontage Road, Apt. 2                                      Johnson City           TN      37604              Litigation        X           Unknown
  Edmond, Deborah Jean                       2259 12th Street                                                     Riverside              CA      92507              Litigation        X           Unknown
  Edmond, Jeanetta                           6755 N. 83rd Avenue Apt. 8101                                        Glendale               AZ      85303              Litigation        X           Unknown
  Edmond, Margarita                          2076 Nogales Avenue                                                  Perris                 CA      92571              Litigation        X           Unknown
  Edney- Jr., Maurice                        24803 Panama Avenue                                                  Carson                 CA      90745              Litigation        X           Unknown
  Edney, Carol                               24803 Panama Avenue                                                  Carson                 CA      90745              Litigation        X           Unknown
  Edwards II, Riley Lenard                   800 E. Washington St. Apt 643                                        Colton                 CA      92324              Litigation        X           Unknown
  Edwards Jr., Edwin                         1709 Lexington Place                                                 Agrculaneum            MO      63048              Litigation        X           Unknown
  Edwards, Billie                            PO Box 142                                                           Center                 TX      75935              Litigation        X           Unknown
  Edwards, Cherriley                         25105 John F. Kennedy Dr.- #H-101                                    Moreno Valley          CA      92551              Litigation        X           Unknown
  Edwards, Gary                              9235 Balfour St                                                      Pico Rivera            CA      90660              Litigation        X           Unknown
  Edwards, Gloria                            7526 MLK Blvd Apt 260                                                Houston                TX      77033              Litigation        X           Unknown
  Edwards, John                              P.O. Box 127                                                         Beaumont               CA      92223              Litigation        X           Unknown
  Edwards, Jr., Johnnie                      2332 Teton Ranch Ave                                                 Henderson              NV      89052              Litigation        X           Unknown
  Edwards, Jr., Robert                       7240 Petrol St. #4                                                   Paramount              CA      90723              Litigation        X           Unknown
  Edwards, Kelvin                            1716 Brookarbor Ct.                                                  Arlington              TX      76018              Litigation        X           Unknown
  Edwards, Kevin                             Kelly Homes Apt 1 C                                                  Hope                   AR      71801              Litigation        X           Unknown
  Edwards, Stephanie L.                      4787 Golden Shimmer Avenue                                           Las Vegas              NV      89139              Litigation        X           Unknown
  Edwards, Tonie                             PO Box 303                                                           Nome                   TX      77629              Litigation        X           Unknown
  Egan, Joan                                 2124 B. Nantucket Drive                                              Houston                TX      77057              Litigation        X           Unknown
  Egans, Amber                               1717 Shiloh Rd. Apt. 107                                             Tyler                  TX      75703              Litigation        X           Unknown
  Egans, Sr., Robert                         3204 Northwest Drive                                                 Hobbs                  NM      88240              Litigation        X           Unknown
  Egbalic, Lucila                            6807 E Pinnacle Pointe                                               Orange                 CA      92869              Litigation        X           Unknown
  Eggers, Donald                             412 E 249th Street                                                   Carson                 CA      90745              Litigation        X           Unknown
  Eggers, Mary                               412 E 249th Street                                                   Carson                 CA      90745              Litigation        X           Unknown
  Eguchi, John                               408 E 237th St.                                                      Carson                 CA      90745              Litigation        X           Unknown
  Eilers, Roberta                            2500 Saybrough court                                                 Troy                   OH      45373              Litigation        X           Unknown
  Eirhart, Cindy                             P.O. Box 121                                                         Wedron                 IL      60557              Litigation        X           Unknown
  Eirhart, Sr., Richard                      P.O. Box 121                                                         Wedron                 IL      60557              Litigation        X           Unknown
  Eiskant, Louella                           6908 Foxglove Rd.                                                    Coulterville           IL      62237              Litigation        X           Unknown
  Eklund, Robert                             1615 West 14th St.                                                   Davenport              IA      52804              Litigation        X           Unknown
  Elder, Mary                                4598 Moss Creek Circle                                               Stockton               CA      95219              Litigation        X           Unknown
  Elevario Jr, Isaac Anthony                 P.O. Box 2320                                                        Wrightwood             CA      92397              Litigation        X           Unknown
  Elguezabal, Magdalena                      306 Rolling Ridge Dr.                                                Del Rio                TX      78840              Litigation        X           Unknown
  Eliason, Thomas                            PO BOX 2971                                                          Seward                 AK      99664              Litigation        X           Unknown



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  Elkin, Ronald                                      223 Trailorama Dr.                                               North Port              FL        34287                 Litigation        X           Unknown
  Ellington, Percy                                   2414 Attala Road 3241                                            Kosciusko               MS        39090                 Litigation        X           Unknown
  Elliot, Jennifer                                   317 3rd Court                                                    Pleasant Grove          AL        35127                 Litigation        X           Unknown
  Elliott, Johnny                                    P.O. Box 5                                                       Elizabethton            TN        37644                 Litigation        X           Unknown
  Elliott, Larry                                     5910 Flores Ave.                                                 Los Angeles             CA        90056                 Litigation        X           Unknown
  Elliott, Laura                                     248 Indian Trail Road                                            Edenton                 NC        27932                 Litigation        X           Unknown
  Elliott, Michael                                   66 Cushman Drive                                                 Manchester              CT        06042                 Litigation        X           Unknown
  Elliott, Starr                                     10331 Troy Street                                                Oak Park                MI        48237                 Litigation        X           Unknown
  Ellis, Maxine                                      114 Orange Lane                                                  Ozark                   AL        36360                 Litigation        X           Unknown
  Ellis, Valarie                                     9801 Lenexa Drive Apt. #1                                        Lenexa                  KS        66215                 Litigation        X           Unknown
  Ellisford Shaford, Elsie                           PO Box 14                                                        Colfax                  IA        50054                 Litigation        X           Unknown
  Elmendorf, Michael                                 13085 Menifee Court                                              Oak Hills               CA        92344                 Litigation        X           Unknown
  Elsayed, Marianne                                  P.O. Box 183                                                     Shamokin                PA        17872                 Litigation        X           Unknown
  Elwood, James                                      3799 West Bingham Street                                         Thatcher                AZ        85552                 Litigation        X           Unknown
  Emig, Dr. Donald                                   270 Wilton Drive                                                 Strasburg               PA        17579                 Litigation        X           Unknown
  Emig, Mary                                         603 Kirkcaldy Way                                                Abingdon                MD        21009                 Litigation        X           Unknown
  Emkey Jr., Edwin                                   420 Henry Ave                                                    Steubenville            OH        43952                 Litigation        X           Unknown
  Emmert, Penny                                      839 13th Ave N., Apt. 107                                        Clinton                 IA        52732                 Litigation        X           Unknown
  Endsley, Jr., Erman                                103 NW 32nd Street                                               Newcastle               OK        73065                 Litigation        X           Unknown
  Enfante, Richard                                   3075 Victoria Drive                                              Kisemme                 FL        34746                 Litigation        X           Unknown
  England, Michelle                                  PO Box 553                                                       Alexis                  NC        28006                 Litigation        X           Unknown
  Engram, Stanley                                    5312 Ygnacio Avenue                                              Oakland                 CA        94601                 Litigation        X           Unknown
  Enriquez, Monica                                   1924 E Richert Ave.                                              Fresno                  CA        93726                 Litigation        X           Unknown
  Epps, Rhonda                                       21630 Jason St. #211                                             Detroit                 MI        48223                 Litigation        X           Unknown
  Epstein, Stuart                                    11167 Penrose St. #10                                            Sun Valley              CA        91352                 Litigation        X           Unknown
  Erckert and family, Charles and Dorothy            49 Crowley Ave.                                                  Buffalo                 NY        14207                 Litigation        X           Unknown
  Erckert, Michael P.                                131 Willowgreen Dr.                                              Amherst                 NY        14228                 Litigation        X           Unknown
  Erckert, Patrick                                   668 Longmeadow Rd.                                               Amherst                 NY        14226                 Litigation        X           Unknown
  Erckert, Sandra J.                                 668 Longmeadow Rd.                                               Amherst                 NY        14226                 Litigation        X           Unknown
  Erickson, George and Patricia                      45 Marlee Dr.                                                    Tonawanda               NY        14150                 Litigation        X           Unknown
  Erikson, Hailee Riane                              7828 Sancola ave                                                 Sun Valley              CA        91352                 Litigation        X           Unknown
  Ervin, Lashawna Jean                               40480 Johnston Ave.                                              Hemet                   CA      92544-7337              Litigation        X           Unknown
  Ervin, Richard                                     209 Catfish Point Rd.                                            Holliday                TX        76366                 Litigation        X           Unknown
  Ervin-Chipley, Betty                               1630 Pinon Ave                                                   Anderson                CA        96007                 Litigation        X           Unknown
  Erwin, Kimberly                                    7109 N Walnut Court                                              Spokane                 WA        99208                 Litigation        X           Unknown
  Erwin, Kyle                                        7109 N Walnut Court                                              Spokane                 WA        99208                 Litigation        X           Unknown
  Escamilla, Jose                                    1400 Tasker                                                      Hobbs                   NM        88240                 Litigation        X           Unknown
  Escamilla, Omar                                    18626 10th Street                                                Bloomington             CA        92316                 Litigation        X           Unknown
  Eschborn, Bonnie                                   85 Beatrice St.                                                  Buffalo                 NY        14217                 Litigation        X           Unknown
  Eschmann, Anita                                    6 Monadnock Dr.                                                  Rochester               NH        03867                 Litigation        X           Unknown
  Escobedo, Oscar                                    Post Office Box 1541                                             Montebello              CA        90640                 Litigation        X           Unknown
  Escobio, Peter                                     820 Sandalwood Dr                                                Plant City              FL        33563                 Litigation        X           Unknown
  Escovar, Mary                                      2045 Julian Ave.                                                 San Diego               CA        92113                 Litigation        X           Unknown
  Escudero, Charito                                  1700 Juniper Ave.                                                Torrance                CA        90503                 Litigation        X           Unknown
  Esmaeel, Wa'el                                     12708 Peyton Court                                               Charlotte               NC        28262                 Litigation        X           Unknown
  Espanola, Pablo                                    309 W. Pebble Creek Lane                                         Orange                  CA        92865                 Litigation        X           Unknown
  Esparza, Adriana                                   13244 Leffingwell Rd.                                            Whittier                CA        90605                 Litigation        X           Unknown
  Esparza, Araceli                                   4490 Columbia Ave.                                               Riverside               CA        92501                 Litigation        X           Unknown
  Esparza, Ramon                                     4490 Columbia Avenue                                             Riverside               CA        92501                 Litigation        X           Unknown
  Espericueta, Aracely                               1936 Meadowridge Avenue                                          Monmouth                OR        97361                 Litigation        X           Unknown
  Espino, Edward                                     356 Middle Country Rd., #210                                     Coram                   NY        11727                 Litigation        X           Unknown
  Espinoza Rodriguez, Minerva                        7820 Jefferson St.                                               Paramount               CA        90723                 Litigation        X           Unknown
  Espinoza, Eliseo                                   11265 Larch Avenue                                               Bloomington             CA        92316                 Litigation        X           Unknown
  Espinoza, Samantha                                 3005 San Luis St #8                                              Laredo                  TX        78046                 Litigation        X           Unknown



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  Espinoza, Stewart                          1944 E. 4th Street Apt-4                                         Long Beach                CA        90802                 Litigation        X           Unknown
  Esposito, Joseph                           41 Sutherland Way                                                Mechanicsburg             PA        17050                 Litigation        X           Unknown
  Espudo, Robert                             6077 Martinez Avenue                                             Riverside                 CA        92509                 Litigation        X           Unknown
  Esquibel, Robert                           222 NM Hwy 65                                                    Las Vegas                 NM        87701                 Litigation        X           Unknown
  Esquibel, Rosa                             801 H-9 S. Fairview 92704                                        Santa Ana                 CA        92841                 Litigation        X           Unknown
  Esquilin, Gilbert                          817 SW 8th Street                                                Hallandale Beach          FL        33009                 Litigation        X           Unknown
  Esquivel, Betty                            3650 Rivas St.                                                   San Antonio               TX        78228                 Litigation        X           Unknown
  Esquivel, Michael P.                       2903 Timber View Dr.                                             San Antonio               TX        78251                 Litigation        X           Unknown
  Esquivel, Ramona                           25409 Fir Ave.                                                   Moreno Valley             CA        92553                 Litigation        X           Unknown
  Esquivel, Roberto                          25409 Fir Ave.                                                   Moreno Valley             CA        92553                 Litigation        X           Unknown
  Essex, Joshua                              227 Arlington Road Lot #6                                        Morgan City               LA        70380                 Litigation        X           Unknown
  Estell Sr., Richard                        3915 Booth St. Unit #8                                           Kansas City               KS        66103                 Litigation        X           Unknown
  Estep, Linda                               11562 Hornbeam Court                                             Waldorf                   MD        20601                 Litigation        X           Unknown
  Estepp, Jodi                               1900 W Broadway Ave, #D26                                        Elk City                  OK        73644                 Litigation        X           Unknown
  Estillette, Carlton                        713 Lebleu Road                                                  Lake Charles              LA        70607                 Litigation        X           Unknown
  Estrada, Julia                             3055 Big Dalton Avenue Apt. A                                    Baldwin Park              CA        91706                 Litigation        X           Unknown
  Estrada, Melissa                           6434 Foster Drive                                                Riverside                 CA        92506                 Litigation        X           Unknown
  Estrada, Patrick                           18216 Herbold Street                                             Northridge                CA        91325                 Litigation        X           Unknown
  Estrada, Steven                            24420 Panama Avenue                                              Carson                    CA        90745                 Litigation        X           Unknown
  Ettin, Harold                              3430 Gravenstein Hwy. North                                      Sebastopol                CA        95472                 Litigation        X           Unknown
  Eubanks, Imogene                           5585 Henry Bailey Rd.                                            Sugar Hill                GA        30518                 Litigation        X           Unknown
  Evans, Carolyn                             52 Park Avenue, Apt. 5                                           Tonawanda                 NY      14150-5366              Litigation        X           Unknown
  Evans, Cora Jean                           1602 West Wilshire Drive                                         Phoenix                   AZ        85007                 Litigation        X           Unknown
  Evans, Fannie                              705 East 12th Street                                             Laurel                    MS        39440                 Litigation        X           Unknown
  Evans, Jerry                               12 Oak Street                                                    Hattiesburg               MS        39402                 Litigation        X           Unknown
  Evans, Juanita                             344 Market Avenue                                                Richmond                  CA        94801                 Litigation        X           Unknown
  Evans, Kevin                               101 Petty Lane #34                                               Clinton                   OK        73601                 Litigation        X           Unknown
  Evans, Khi                                 502 E 245th Street                                               Carson                    CA        90745                 Litigation        X           Unknown
  Evans, Kristol                             102 Sugarhill Dr.                                                Zebulon                   NC        27597                 Litigation        X           Unknown
  Evans, Martell                             3610 Banbury Dr. #3-0                                            Riverside                 CA        92505                 Litigation        X           Unknown
  Evans, Martha                              8811 Lagoon Street                                               Ypsilanti                 MI        48197                 Litigation        X           Unknown
  Evans, Mary                                8449 Glencrest Drive                                             Sun Valley                CA        91352                 Litigation        X           Unknown
  Evans, Therman                             3149 Metal St.                                                   Shreveport                LA        71103                 Litigation        X           Unknown
  Evaristo Jr., Jose                         24522 Ravenna Avenue                                             Carson                    CA        90745                 Litigation        X           Unknown
  Evaristo, Everita                          24522 Ravenna Avenue                                             Carson                    CA        90745                 Litigation        X           Unknown
  Everett, Amy                               1374 W. 950 N                                                    Lake Village              IN        46349                 Litigation        X           Unknown
  Everett, Regina Eilene                     635 Hermosa Avenue                                               Colton                    CA        92324                 Litigation        X           Unknown
  Everett, Vina                              11247 Portlance St.                                              Detroit                   MI        48205                 Litigation        X           Unknown
  Evitts, George                             185 Stony Pointe Drive                                           Hollister                 MO        65672                 Litigation        X           Unknown
  Evridge, John                              PO BOX 216                                                       Ferron                    UT        84525                 Litigation        X           Unknown
  Fabian, Ana                                5126 S Normandie Avenue                                          Los Angeles               CA        90037                 Litigation        X           Unknown
  Fabian-Fontenot, Kathalina                 36 Old Colony Road                                               North Stonington          CT        06359                 Litigation        X           Unknown
  Faccone, Joseph                            12512 Military Rd. South                                         Seattle                   WA        98168                 Litigation        X           Unknown
  Faden, Edna                                12914 North Avenue                                               Sylmar                    CA        91342                 Litigation        X           Unknown
  Fail, Kathleen                             PO Box 66                                                        Imperial                  CA        92251                 Litigation        X           Unknown
  Fair, Rick                                 24613 Neptune Avenue                                             Carson                    CA        90745                 Litigation        X           Unknown
  Fairclough, Anna                           33 Hackensack Avenue # 3A                                        Weehawken                 NJ        07086                 Litigation        X           Unknown
  Faison, Earle                              21 Bannington Dr.                                                Kettering                 MD        20774                 Litigation        X           Unknown
  Faison, Sandra                             5024 Northwest Avenue                                            El Dorado                 AR        71730                 Litigation        X           Unknown
  Fakhoury, Samia                            375 Mandarin Dr. # 105                                           Daly City                 CA        94015                 Litigation        X           Unknown
  Falciani, Susan                            1298 Biltmore Circle                                             Corona                    CA        92882                 Litigation        X           Unknown
  Faller, Robert Lee                         1647 Clay St.                                                    Redlands                  CA        92374                 Litigation        X           Unknown
  Falo- Jr., Fuata                           24818 Eshelman Ave. Unit 41                                      Lomita                    CA        90717                 Litigation        X           Unknown
  Falo, Manya                                24818 Eshelman Ave. Unit 41                                      Lomita                    CA        90717                 Litigation        X           Unknown
  Falzarano, Gary                            580 Wampee Street                                                Calabash                  NC        28467                 Litigation        X           Unknown



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  Farfan, Esther                             24509 Ravenna Avenue                                               Carson                  CA        90745                 Litigation        X           Unknown
  Farha, Taisir                              1128 Elm Ave                                                       Chula Vista             CA        91911                 Litigation        X           Unknown
  Faria, Gloria                              24 Logan Street N232                                               New Bedford             MA        02740                 Litigation        X           Unknown
  Farias, Darlene                            PO Box 344                                                         Los Fresnos             TX        78566                 Litigation        X           Unknown
  Faries, Katherine                          8119 W. Maple Street                                               Central Lake            MI        49622                 Litigation        X           Unknown
  Farin- Jr., Remigo                         1962 Sierra Vista Drive                                            Tustin                  CA        92780                 Litigation        X           Unknown
  Farin, Adela                               24426 Ravenna Avenue                                               Carson                  CA        90745                 Litigation        X           Unknown
  Farin, Remigio                             24426 Ravenna Avenue                                               Carson                  CA        90745                 Litigation        X           Unknown
  Farley, Danny                              432 Penelope Lane                                                  Santa Maria             CA        93455                 Litigation        X           Unknown
  Farley, Marty                              406 1st Avenue                                                     West Logan              WV        25601                 Litigation        X           Unknown
  Farmer, II, Robert                         369 Sword Way                                                      Bolingbrook              IL     60440-2212              Litigation        X           Unknown
  Farr, James                                17 Roundabout Dr.                                                  Scarborough             ME        04074                 Litigation        X           Unknown
  Farra, Jr., John                           13832 SE 252 PL                                                    Kent                    WA        98042                 Litigation        X           Unknown
  Farrell, Doreen                            15727 NE Russell Street                                            Portland                OR        97230                 Litigation        X           Unknown
  Farris, John                               907 Cornish Dr.                                                    Encinitas               CA        92024                 Litigation        X           Unknown
  Farris, Mary                               1909 Melrose Dr.                                                   Richmond                GA        30906                 Litigation        X           Unknown
  Farthing, Joyce                            270 Marcellus Drive Apt. 1                                         Berea                   KY        40403                 Litigation        X           Unknown
  Faryniarz, Brett                           8071 East Springview Court                                         Anaheim Hills           CA        92808                 Litigation        X           Unknown
  Faudoa, Merlinda                           900 E Madrid 49                                                    Las Cruces              NM        88001                 Litigation        X           Unknown
  Faulk, Marshall                            8420 Deadfall Road                                                 Millington              TN        38053                 Litigation        X           Unknown
  Faulkner, Beth                             157 S. Sapa Road                                                   Eupora                  MS        39744                 Litigation        X           Unknown
  Faulkner, Betty                            231 Basin Ave                                                      Kannapolis              NC        28083                 Litigation        X           Unknown
  Faulkner, Cindy                            RTS - 15353 Manzana Ave.                                           Paramount               CA        90723                 Litigation        X           Unknown
  Favela, Christian                          15349 Wiemer Ave.                                                  Paramount               CA        90723                 Litigation        X           Unknown
  Favela, Leticia                            15349 Wiemer Ave.                                                  Paramount               CA        90723                 Litigation        X           Unknown
  Favela, Ruben                              15349 Wiemer Ave.                                                  Paramount               CA        90723                 Litigation        X           Unknown
  Favorite, Marlon                           190 Cypress Grove Court                                            New Orleans             LA        70131                 Litigation        X           Unknown
  Feasel, Grant                              729 Grapevine Hwy. #355                                            Hurst                   TX        76054                 Litigation        X           Unknown
  Federick, Renee M.                         4327 Denker Ave.                                                   Los Angeles             CA        90062                 Litigation        X           Unknown
  Federwitz, Myron                           210 Second Street                                                  Milladore               WI      54454-9637              Litigation        X           Unknown
  Feeny, William                             R1531 Ligonier St                                                  Latrobe                 PA        15650                 Litigation        X           Unknown
  Fehler, Michele                            2429 Whitetail Drive                                               Antioch                 CA        94531                 Litigation        X           Unknown
  Fekete, Toni A.                            533 Meadow Dr.                                                     Buffalo                 NY        14224                 Litigation        X           Unknown
  Felder, Amelia                             405 Fritz St. Apt. 17                                              Jonesville              LA        71343                 Litigation        X           Unknown
  Felder, Charles                            1449 W. 80th Street                                                Los Angeles             CA        90047                 Litigation        X           Unknown
  Feldman, Aaron                             4 Primrose Ave.                                                    Hicksville              NY        11801                 Litigation        X           Unknown
  Feldman, Kenneth                           11385 Affinity Court, Unit 214                                     San Diego               CA        92131                 Litigation        X           Unknown
  Feldt, Ruth                                24703 Neptune Avenue                                               Carson                  CA        90745                 Litigation        X           Unknown
  Feliciano, Carolyn                         3701 Ogema Ave                                                     Flint                   MI        48507                 Litigation        X           Unknown
  Felix, Rafael                              752 W. Walnut Ave                                                  Rialto                  CA        92376                 Litigation        X           Unknown
  Felton, Maurice                            9501 West Loomis Rd. Apt 132                                       Franklin                WI        53132                 Litigation        X           Unknown
  Felty, Otis                                1892 Dexterville Banock Rd.                                        Morgantown              KY        42261                 Litigation        X           Unknown
  Fennimore, Mercy                           3995 East El Paso Dr                                               Flagstaff               AZ        86004                 Litigation        X           Unknown
  Fenning, Edward                            158 Union Ave                                                      Bellmawr                NJ        08031                 Litigation        X           Unknown
  Ferguson, Christine                        1420 Canal St, SW Apt 31                                           Washington              DC        20024                 Litigation        X           Unknown
  Ferguson, Rita                             PO Box 326                                                         Helen                   GA      30545-0326              Litigation        X           Unknown
  Fernandes, Leonard                         P.O. Box 107                                                       East Killingly          CT        06243                 Litigation        X           Unknown
  Fernandez, Carmen                          24623 Neptune Avenue                                               Carson                  CA        90745                 Litigation        X           Unknown
  Fernandez, Christine                       P.O. Box 1025                                                      Lomita                  CA      90717-0250              Litigation        X           Unknown
  Fernandez, Christopher                     PO Box 1025                                                        Lomita                  CA        90717                 Litigation        X           Unknown
  Fernandez, Frank                           24508 Panama Avenue                                                Carson                  CA        90745                 Litigation        X           Unknown
  Fernandez, Monica                          509 E 245th Street                                                 Carson                  CA        90745                 Litigation        X           Unknown
  Fernandez, Nelda                           14195 Springdale Street Apt. 10                                    Westminster             CA        92683                 Litigation        X           Unknown
  Fernandez, Teresa                          135 Pearl Ave.                                                     Tavernier               FL        33070                 Litigation        X           Unknown
  Fernandez, William                         652 Field Club Cir.                                                Casselberry             FL        32707                 Litigation        X           Unknown



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  Ferragamo, Vince                           6715 Horseshoe Rd.                                                Orange                 CA      92869              Litigation        X           Unknown
  Ferraiz, Ana                               PO Box 1532                                                       Orange                 CA      92856              Litigation        X           Unknown
  Ferraro, Teresa                            16410 S. 12 St. Unit 112                                          Phoenix                AZ      85048              Litigation        X           Unknown
  Ferrell, Jacklyn                           3027 Waring Pl.                                                   Fairfield              CA      94533              Litigation        X           Unknown
  Ferrer, Eldon Russell                      1334 Highland Ave.                                                Colton                 CA      92324              Litigation        X           Unknown
  Ferrer, Priscilla                          267 Monterey Drive                                                Carson                 CA      90745              Litigation        X           Unknown
  Ferretiz, Angelica                         695 Limer Town Road                                               Warrenton              NC      27589              Litigation        X           Unknown
  Ferrie, Kathryn                            1029 12th Ave.                                                    Helena                 MT      59601              Litigation        X           Unknown
  Feyrer, Werner                             5715 Hwy. 61 North                                                Gibsonville            NC      27249              Litigation        X           Unknown
  Fiamengo, Breeonna                         24602 Ravenna Avenue                                              Carson                 CA      90745              Litigation        X           Unknown
  Fiamengo, Joseph                           24602 Ravenna Avenue                                              Carson                 CA      90745              Litigation        X           Unknown
  Fickett, Christina                         287 Clinton Ave Apt B                                             Albany                 NY      12210              Litigation        X           Unknown
  Fidler, Frederick                          9060 Blue Willow Court                                            Gainesville            GA      30506              Litigation        X           Unknown
  Fiduccia, Cynthia                          2151 Rushing Road                                                 Michie                 TN      38357              Litigation        X           Unknown
  Field, Nancy                               510 Golden Lane                                                   Milton                 WI      53563              Litigation        X           Unknown
  Fieldhouse, George R.                      8142 Barrington Drive                                             La Mirada              CA      90638              Litigation        X           Unknown
  Fields, George                             2990 Hiles Road                                                   Lucasville             OH      45648              Litigation        X           Unknown
  Fields, Georgeana                          408 Carol Road                                                    Morgan City            LA      70380              Litigation        X           Unknown
  Fields, Larry                              1128 Katherine Drive                                              Beavercreek            OH      45434              Litigation        X           Unknown
  Fields, Marvin                             51228 Oceano Road                                                 Coachella              CA      92236              Litigation        X           Unknown
  Fierro, Alyssa                             783 Gatun St.- Unit 227                                           San Pedro              CA      90731              Litigation        X           Unknown
  Fierro, Angela Dolores                     1195 Olivetree Lane- Apt. 2                                       Hemet                  CA      92543              Litigation        X           Unknown
  Fierro, Eric                               783 Gatun St.- Unit 227                                           San Pedro              CA      90731              Litigation        X           Unknown
  Fierro, Marissa                            783 Gatun St.- Unit 227                                           San Pedro              CA      90731              Litigation        X           Unknown
  Figueroa Cruz, Ana Elba                    1080 2nd Street Court                                             Waukee                 IA      50263              Litigation        X           Unknown
  Figueroa, Carmen                           2178 Barnum Ave, 1st Floor                                        Stratford              CT      06615              Litigation        X           Unknown
  Fike, Brenda                               1216 Second Road                                                  Middle River           MD      21220              Litigation        X           Unknown
  Filburn, John                              12 Lawrence Hayes Road                                            Caneyville             KY      42721              Litigation        X           Unknown
  Fimbres, Andrea                            2127 S. Grand Avenue                                              San Pedro              CA      90731              Litigation        X           Unknown
  Fimbres, Aurora                            15555 Main St- Suite D4- #177                                     Hesperia               CA      92345              Litigation        X           Unknown
  Fimbres, Ralph                             24726 Marbella Ave.                                               Carson                 CA      90745              Litigation        X           Unknown
  Fimbres, Yolanda S.                        5235 35th Street                                                  Riverside              CA      92509              Litigation        X           Unknown
  Finazzo, Christopher Frank                 6345 Percival Drive                                               Riverside              CA      92506              Litigation        X           Unknown
  Finazzo, Constance Lea                     6345 Percival Drive                                               Riverside              CA      92506              Litigation        X           Unknown
  Finch, Douglas                             2948 N Milwaukee Street                                           Boise                  ID      83704              Litigation        X           Unknown
  Finch, Harry & Renee                       32101 Pacific Coast Highway                                       Malibu                 CA      90265              Litigation        X           Unknown
  Finch, Mary Louise                         2013 Oconnor St.                                                  Mobile                 AL      36617              Litigation        X           Unknown
  Fininen, Ronday                            1401 Cottonwood Cir. Apt. 32-D                                    Pine Bluff             AZ      71602              Litigation        X           Unknown
  Finke, Dominik                             24613 Island Avenue                                               Carson                 CA      90745              Litigation        X           Unknown
  Finke, Francisco                           24613 Island Avenue                                               Carson                 CA      90745              Litigation        X           Unknown
  Finke, Maria Teresa                        24613 Island Avenue                                               Carson                 CA      90745              Litigation        X           Unknown
  Finke, Rudolf                              24613 Island Avenue                                               Carson                 CA      90745              Litigation        X           Unknown
  Finkelstein, Jerome                        40442 Happy Woods Road                                            Hammond                LA      70403              Litigation        X           Unknown
  Finley, Melissa                            17120 Red Top Lane                                                Moss Point             MS      39562              Litigation        X           Unknown
  Finnan, Gary                               P.O. Box 2005                                                     Windsor                CA      95492              Litigation        X           Unknown
  Finstad, Valerie K.                        8915 Sixth Avenue                                                 Hesperia               CA      92345              Litigation        X           Unknown
  Fiore, Santo                               302 76th Street                                                   Niagara Falls          NY      14304              Litigation        X           Unknown
  Firkins, Linda                             1735 Whispering Pines Dr.                                         Idaho Falls            ID      83401              Litigation        X           Unknown
  Fish, Carol                                326 Hollipat Center Drive #11                                     Santa Barbara          CA      93111              Litigation        X           Unknown
  Fisher, Audrey                             5707 Curtis Black Road                                            Hallsville             TX      75650              Litigation        X           Unknown
  Fisher, Crystal Marie                      P.O. Box 4244                                                     Bethlehem              PA      18018              Litigation        X           Unknown
  Fisher, Theresa                            24-49 33rd St. Apt. 2 F                                           Astoria                NY      11102              Litigation        X           Unknown
  Fitzco, Mildred                            81 Westwood Court                                                 Bassett                VA      24055              Litigation        X           Unknown
  Fitzgerald, Sarah                          120 De Kruif Place, Apt. 27B                                      Bronx                  NY      10475              Litigation        X           Unknown
  Fitzgibbons, Sheryal                       400 E Prairie Street, Lot 14                                      Boscobel               WI      53805              Litigation        X           Unknown



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  FitzSimmons, Casey                         PO Box 474                                                       Canyon Creek          MT        59633                Litigation        X           Unknown
  Flann, Marc                                102 Laura Drive                                                  Rochester             NY        14627                Litigation        X           Unknown
  Flannery, Jerome                           1057 Silver Star St                                              Henderson             NV        89002                Litigation        X           Unknown
  Flaugh, Richard                            5665 Bondy Drive                                                 Erie                  PA        16509                Litigation        X           Unknown
  Fleahman, Chase                            PO Box 22                                                        Solway                MN        56678                Litigation        X           Unknown
  Fleehart, Denise                           1225 E Westview Court Apt 413                                    Spokane               WA        99218                Litigation        X           Unknown
  Fleming, Kenneth Dean                      18832 3rd Street                                                 Bloomington           CA        92316                Litigation        X           Unknown
  Fletcher, Robert                           6519 Lassitter Road                                              Riverside             CA        92509                Litigation        X           Unknown
  Fletcher, Rory                             6519 Lassitter Road                                              Riveside              CA        92509                Litigation        X           Unknown
  Fletcher, Suzanne                          6519 Lassitter Road                                              Riverside             CA        92509                Litigation        X           Unknown
  Flores Salgado, Josefina                   1244 E. 84th Place                                               Los Angeles           CA        90001                Litigation        X           Unknown
  Flores, Alejandro                          310 Monterey Drive                                               Carson                CA        90745                Litigation        X           Unknown
  Flores, Alice                              312 N Campus Ave.                                                Ontario               CA        91764                Litigation        X           Unknown
  Flores, Beverly                            15346 Fairlock Ave.                                              Paramount             CA        90723                Litigation        X           Unknown
  Flores, Bianca                             24813 Island Avenue                                              Carson                CA        90745                Litigation        X           Unknown
  Flores, Edgar Chaides                      5790 Clifton Boulevard                                           Riverside             CA        92504                Litigation        X           Unknown
  Flores, Humberto                           1133 Linda Lee Drive                                             San Angelo            TX        76905                Litigation        X           Unknown
  Flores, Joseph                             9711 Lutheran Way                                                Santee                CA        92071                Litigation        X           Unknown
  Flores, Liza June                          2726 Hall Avenue                                                 Riverside             CA        92509                Litigation        X           Unknown
  Flores, Milton                             19136 Parthenia St, #1                                           Northridge            CA        91324                Litigation        X           Unknown
  Flores, Ramon                              310 Monterey Drive                                               Carson                CA        90745                Litigation        X           Unknown
  Flores, Raquel                             310 Monterey Drive                                               Carson                CA        90745                Litigation        X           Unknown
  Flores, Robert                             15346 Fairlock Ave.                                              Paramount             CA        90723                Litigation        X           Unknown
  Flores, Ron                                7886 Silver Hills Dr.                                            Riverside             CA        92506                Litigation        X           Unknown
  Flores, Sonya                              3413 Maldae                                                      San Pedro             CA        90732                Litigation        X           Unknown
  Flowers, Jamie                             185 Loma Verde Drive                                             Colton                CA        92324                Litigation        X           Unknown
  Flowers, Marlene                           PO Box 842                                                       Bloomington           CA        92316                Litigation        X           Unknown
  Flowers, Marlene V.                        P.O. Box 842                                                     Bloomington           CA        92316                Litigation        X           Unknown
  Floyd, Brenda                              RTS - 2865 Western Avenue                                        Park Forest           IL        60466                Litigation        X           Unknown
  Floyd, Dorothy                             1391 Kenny Rd                                                    Lake City             SC        29560                Litigation        X           Unknown
  Fluckers, Dennis                           10100 Harper Street                                              Detroit               MI        48213                Litigation        X           Unknown
  Fluharty, Kenneth                          53164 Barton Road                                                Reedsville            OH        45772                Litigation        X           Unknown
  Flynn, Aleili                              436 N. Hanford Avenue                                            San Pedro             CA        90732                Litigation        X           Unknown
  Fobian II, Edward Karl                     1520 Pioche                                                      Pahrump               NV        89048                Litigation        X           Unknown
  Fobian Sr., Edward K                       1520 Pioche                                                      Pahrump               NV        89048                Litigation        X           Unknown
  Fobian, Mary Esther                        1520 Pioche                                                      Pahrump               NV        89048                Litigation        X           Unknown
  Foley, Thomas                              1607 Wright Avenue                                               Greensboro            NC        27403                Litigation        X           Unknown
  Folio, Lorentina                           410 4th Ave. Bagwell Addn.                                       Nutter Fort           WV        26301                Litigation        X           Unknown
  Foltice, Ethel                             PO Box 3032 1121 Miller Rd                                       Kalamazoo             MI        49001                Litigation        X           Unknown
  Fonseca Vargas, Isaias                     2669 Hall Avenue                                                 Riverside             CA        92509                Litigation        X           Unknown
  Fonseca, Marsela                           2669 Hall Avenue                                                 Riverside             CA        92509                Litigation        X           Unknown
  Fonteyne, Veronica                         131 Richman Hwy.                                                 Amhurst               VA        24521                Litigation        X           Unknown
  Forbes, Nancy L.                           71 Murray Terrace                                                Tonawanda             NY        14150                Litigation        X           Unknown
  Forbes, Thomas                             2806 Pomeroy Dr.                                                 Louisville            KY        40218                Litigation        X           Unknown
  Ford, Barbara                              204 9th Street                                                   Shelbyville           KY        40065                Litigation        X           Unknown
  Ford, Bernard                              10648 Pound Curv                                                 Woodbury              MN        55129                Litigation        X           Unknown
  Ford, Gail                                 623 N. 11th Street                                               Bismarck              ND        58501                Litigation        X           Unknown
  Ford, George                               500 West Texas Avenue, #506                                      Webster               TX      77598-329              Litigation        X           Unknown
  Ford, Isabella                             4627 Palustris Court                                             Charlotte             NC        28269                Litigation        X           Unknown
  Ford, Joella                               1129 Archer Avenue                                               Evansdale             IA        50707                Litigation        X           Unknown
  Ford, Randy                                3408 C Eureka Road                                               Batesville            MS        38606                Litigation        X           Unknown
  Ford, Tonmika                              3975 N. Nellis # 1079                                            Las Vegas             NV        89115                Litigation        X           Unknown
  Ford, Virgie                               125 161st Street Court East                                      Tacoma                WA        98445                Litigation        X           Unknown
  Ford, Wanda                                5627 Fleming Avenue                                              Oakland               CA        94605                Litigation        X           Unknown
  Forde, Ursula                              7045 N Parker St.                                                Kingman               AZ        86409                Litigation        X           Unknown



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  Foreman, Norma                             RTS - 160 North Avenue                                            Beckley                  WV        25801                 Litigation        X           Unknown
  Forney, Stephen                            3368 Brantly Court                                                Glenwood                 MD        21738                 Litigation        X           Unknown
  Forrest, William                           8814 Runnymeade Rd.                                               Jacksonville             FL        32257                 Litigation        X           Unknown
  Forsdahl, Helen                            7310 Mesa Drive                                                   Austin                   TX        78731                 Litigation        X           Unknown
  Forsyth, Geordie                           P.O. BOX 254                                                      Lincoln Park             MI        48146                 Litigation        X           Unknown
  Forsythe, John Glenn                       656 Newport Way                                                   Vallejo                  CA        94589                 Litigation        X           Unknown
  Forsythe, Wayne William                    5805 Silva Road                                                   Mariposa                 CA        95338                 Litigation        X           Unknown
  Forthenberry, Steven                       413 N. Bowman                                                     Danville                 IL        61832                 Litigation        X           Unknown
  Fortner,                                   1210 Tasker                                                       Hobbs                    NM        88240                 Litigation        X           Unknown
  Fortner, Garland                           #4 Virginia Drive                                                 Woodruff                 SC        29388                 Litigation        X           Unknown
  Fortson, Sammie                            3659 1/2 W. 110th Street                                          Inglewood                CA        90303                 Litigation        X           Unknown
  Fortune, Hosea                             4044 Paige St.                                                    Los Angeles              CA        90031                 Litigation        X           Unknown
  Fortune, Raymond                           300 W. Mission Drive                                              Chandler                 AZ        85225                 Litigation        X           Unknown
  Fosberg, Carl                              1155 Pioneer St.                                                  Enumclaw                 WA        98022                 Litigation        X           Unknown
  Foss, Joanne                               45 St. Peter's Street                                             Salem                    MA        01970                 Litigation        X           Unknown
  Foster, Amy Beth                           210 Burnside Drive                                                Tonawanda                NY      14150-4424              Litigation        X           Unknown
  Foster, Beatrice                           24502 Ravenna Avenue                                              Carson                   CA        90745                 Litigation        X           Unknown
  Foster, Donald                             1021 Vine Street                                                  Wheeling                 WV        26003                 Litigation        X           Unknown
  Foster, Edra                               8120 NW Potomac Road                                              Kansas City              MO        64152                 Litigation        X           Unknown
  Foster, Joanna                             1013 Mark Street                                                  Raleigh                  NC        27601                 Litigation        X           Unknown
  Foster, Lester                             246 Calvary Church Road                                           Mount Olive              MS        39119                 Litigation        X           Unknown
  Foster, Molly                              4625 Earl Gros Avenue, Unit 1                                     Baton Rouge              LA        70820                 Litigation        X           Unknown
  Foster, Nancy Denise                       13121 North Deergrass Drive                                       Oro Valley               CA        85755                 Litigation        X           Unknown
  Foster, Thelma                             24861 North County Road 3057                                      Foster                   OK      73434-9758              Litigation        X           Unknown
  Fournier, Karla                            5401 51st Avenue North Apt#137                                    Crystal                  MN        55429                 Litigation        X           Unknown
  Fowler, Camelia Lanae                      6328 Claridge Drive                                               Riverside                CA        92506                 Litigation        X           Unknown
  Fowler, Cheryl                             2500 NE 11th Street                                               Oklahoma City            OK        73117                 Litigation        X           Unknown
  Fowler, John                               15317 Myrtle Avenue                                               Harvey                   OK        60426                 Litigation        X           Unknown
  Fowler, Loretta Joyce                      6328 Claridge Drive                                               Riverside                CA        92506                 Litigation        X           Unknown
  Fowler, Nathan Samuel                      6328 Claridge Drive                                               Riverside                CA        92506                 Litigation        X           Unknown
  Fowler, Timmy D.                           6328 Claridge Drive                                               Riverside                CA        92506                 Litigation        X           Unknown
  Fox, Jeffrey                               P.O. Box 326                                                      Warren                   ME        04864                 Litigation        X           Unknown
  Fox, Jerry                                 3105 County Hwy 34                                                Altoona                  AL        35952                 Litigation        X           Unknown
  Fox, Pamela                                24832 Panama Avenue                                               Carson                   CA        90745                 Litigation        X           Unknown
  Fox, Theressa                              54 Ames Road                                                      Brockton                 MA        02302                 Litigation        X           Unknown
  Fox-Solorio, Elaine                        2828 North Geraldine Ave                                          Oklahoma City            OK        73107                 Litigation        X           Unknown
  Foxworth, Sally                            6109 Winged Elm Court                                             Charlotte                NC        28212                 Litigation        X           Unknown
  Foy, Dorothy                               1076 Berkshire Avenue                                             Springfield              MA        10051                 Litigation        X           Unknown
  Fracasse, Denise                           3067 Severn Wharf                                                 Hayes                    VA        23072                 Litigation        X           Unknown
  France, Dorothy                            201 W. Walker Street                                              Rolling Prairie          IN        46371                 Litigation        X           Unknown
  Francis, Marsha                            616 Locust Street                                                 Thibodaux                LA        70301                 Litigation        X           Unknown
  Francis, Sr., Gerry                        190 E. Miller Street                                              Spindale                 NC        28160                 Litigation        X           Unknown
  Franco, Maria Luisa                        18850 8th Street                                                  Bloomington              CA        92316                 Litigation        X           Unknown
  Franco, Mary                               26-4 College Street                                               Clinton                  CT        06413                 Litigation        X           Unknown
  Franco, Reynaldo                           833 W 6th St.- Apt. 2                                             San Pedro                CA        90731                 Litigation        X           Unknown
  Francois, Julia                            1842 Cherrywood Lane                                              Colton                   CA        92324                 Litigation        X           Unknown
  Frank, Mark                                5300 Thornhill Ct.                                                Grove City               OH        43123                 Litigation        X           Unknown
  Frank, Theresa                             420 Trails End Court                                              Easton                   PA        18040                 Litigation        X           Unknown
  Franklin, Annette                          PO Box 76; 408 Chandler Street                                    Inverness                MS        38753                 Litigation        X           Unknown
  Franklin, Douglas                          167 Evening Shade Lane                                            Rock                     WV        24747                 Litigation        X           Unknown
  Franklin, Fletchie                         301 Sands Apt 2                                                   Angleton                 TX        77515                 Litigation        X           Unknown
  Franklin, J.B.                             5528 Franklin Lane                                                LaFayette                TN        37083                 Litigation        X           Unknown
  Franklin, Judith                           PO Box 4725                                                       Calabash                 NC        28467                 Litigation        X           Unknown
  Franklin, Kathy                            6301 Edsall Rd Unit 300                                           Alexandria               VA        22312                 Litigation        X           Unknown
  Franklin, Lindel                           P.O. Box 786                                                      Carnegie                 OK        73015                 Litigation        X           Unknown



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  Franklin, Natasha                                 1924 Geary St. APt 3                                            Philadelhia               PA        19145                 Litigation        X           Unknown
  Franklin, Valerie Renee                           1327 W. 48th Street                                             Los Angeles               CA        90037                 Litigation        X           Unknown
  Franson, Richard                                  12981 Finch Way                                                 Apple Valley              MN        55124                 Litigation        X           Unknown
  Frawley, Timothy                                  28442 El Sur                                                    Laguna Niguel             CA        92677                 Litigation        X           Unknown
  Frazier, Benny                                    1104 Via Wanda, #65                                             Long Beach                CA        90805                 Litigation        X           Unknown
  Frazier, Elzina Maria                             9640 Shady Lane #G-35                                           Century                   FL        32535                 Litigation        X           Unknown
  Frazier, Patricia                                 9740 Walker St                                                  Cypress                   CA        90630                 Litigation        X           Unknown
  Frazier, Walter                                   5484 Mariner Drive                                              Huber Heights             OH        45424                 Litigation        X           Unknown
  Frederick, Ruth                                   81 Ridge Ln                                                     Levittown                 PA        19055                 Litigation        X           Unknown
  Fredericks, Carl                                  10109 NE Notchlog Dr Apt 103                                    Vancouver                 WA        98685                 Litigation        X           Unknown
  Fredericks, Linda                                 8283 Dance Dr.                                                  Shreveport                LA        71129                 Litigation        X           Unknown
  Freedman and family, Donald and Denise            186 Woodstream Dr.                                              Grand Island              NY        14072                 Litigation        X           Unknown
  Freeman, Brandy                                   PO Box 401                                                      Ririe                     ID        83443                 Litigation        X           Unknown
  Freeman, Cecil                                    2055 W Grande Blvd Apt 202                                      Tyler                     TX        75703                 Litigation        X           Unknown
  Freeman, Dennis                                   182A Flicker Street                                             Rochester Hills           MI        48309                 Litigation        X           Unknown
  Freeman, Edna                                     2229 Taft Street                                                Gary                      IN        46404                 Litigation        X           Unknown
  Freeman, Jessica                                  1201 Spring Hill Ave.                                           Mobile                    AL        36604                 Litigation        X           Unknown
  Freeman, Mary                                     5585 South Blvd.                                                Maple Heights             OH        44137                 Litigation        X           Unknown
  Freeman, Tabrea                                   13820 South Wabash Street                                       Riverdale                 IL        60827                 Litigation        X           Unknown
  Freeman, Virginia                                 2936 Newell Blvd.                                               Jacksonville              FL        32216                 Litigation        X           Unknown
  Freeman, Wanda                                    52696 Burris Lane                                               Milton-Freewater          OR        97862                 Litigation        X           Unknown
  Freitas, Margarida                                PO Box 232                                                      Fredonia                  NY        14063                 Litigation        X           Unknown
  French, James                                     7315 NW 106th St.                                               Oklahoma City             OK        73162                 Litigation        X           Unknown
  French, Jeffrey                                   1446 State Route 0168                                           Darlington                PA        16115                 Litigation        X           Unknown
  Frentz, Donna                                     75 Burnside Dr.                                                 Tonawanda                 NY        14150                 Litigation        X           Unknown
  Freund, Edith                                     111 N. Wabash #1605                                             Chicago                   IL        60602                 Litigation        X           Unknown
  Frias, Frank T.                                   19454 El Rivino Road                                            Riverside                 CA        92509                 Litigation        X           Unknown
  Frick, Jeff                                       24512 Fries Avenue                                              Carson                    CA        90745                 Litigation        X           Unknown
  Friedman, Cathryn                                 724 W Knoll Dr, #210                                            West Hollywood            CA        90069                 Litigation        X           Unknown
  Fritsch, Mark                                     P.O. Box 166                                                    Hingham                   WI        53031                 Litigation        X           Unknown
  Fritts, David                                     31305 L Street                                                  Ocean Park                WA        98640                 Litigation        X           Unknown
  Fritz Jr., Harry                                  3701 SW Haines Street                                           Port St. Lucie            FL        34953                 Litigation        X           Unknown
  Fritz, Dedtra                                     24199 W. Outer Drive, Apt. 1                                    Melvindale                MI        48122                 Litigation        X           Unknown
  Fross, Goran                                      45575 Cellesito Ave                                             Temecula                  CA        92592                 Litigation        X           Unknown
  Frost, Cheri                                      666 1/2 Quincy Avenue                                           Long Beach                CA        90814                 Litigation        X           Unknown
  Fry, Vicki                                        2245 Trinity Drive                                              Middletown                OH        45044                 Litigation        X           Unknown
  Frye, David                                       328 Kendall Ridge Drive                                         West Monroe               LA        71292                 Litigation        X           Unknown
  Frye, Ralph                                       PO Box 206                                                      Peach Creek               WV        25639                 Litigation        X           Unknown
  Fua, Vae                                          P.O. Box 92                                                     Harbor City               CA        90710                 Litigation        X           Unknown
  Fualau, Miles                                     344 E 249th Street                                              Carson                    CA        90745                 Litigation        X           Unknown
  Fuaso, Teofines                                   1230 West Avenue                                                Port Orchard              WA        98366                 Litigation        X           Unknown
  Fuchs, Teresa                                     900 S. Pearson Avenue, Lot 9                                    Glendive                  MT        59330                 Litigation        X           Unknown
  Fuentes Pompa, Nellie                             14222 Keese Dr.                                                 Whittier                  CA        90604                 Litigation        X           Unknown
  Fuentes, Sergio                                   1007 South Downey Road- #4                                      Los Angeles               CA        90023                 Litigation        X           Unknown
  Fuentes, Veronica                                 1103 Broadway Street                                            Port Lavaca               TX        77979                 Litigation        X           Unknown
  Fuentes-Ortega, Paola                             16282 E Main St, #1F                                            Tustin                    CA        92780                 Litigation        X           Unknown
  Fuentes-Santana, Caroline                         11205 Candor St.                                                Cerritos                  CA        90703                 Litigation        X           Unknown
  Fugate, Leona                                     8608 West Morgan Avenue                                         Milwaukee                 WI        53228                 Litigation        X           Unknown
  Fuka, Sione                                       954 S. Washington Ave.                                          San Bernardino            CA      92408-2240              Litigation        X           Unknown
  Fuller, Jan                                       7445 Elwood Dr.                                                 Charlotte                 NC        28227                 Litigation        X           Unknown
  Fuller-Higgins, Barbara                           PO Box 63                                                       Wedron                    IL        60557                 Litigation        X           Unknown
  Fultner, Earnest                                  P.O Box 331                                                     Hoxie                     AR        72433                 Litigation        X           Unknown



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  Fulton, Christina                          1875 Cenury Park East                     Suite 2230                      Los Angeles             CA        90067                 Litigation        X           Unknown
  Fulton, Iras                               1420 Harlow Rd.                                                           Columbus                OH        43227                 Litigation        X           Unknown
  Fulwood, Victoria                          2234 El Segundo Blvd                                                      Compton                 CA        90220                 Litigation        X           Unknown
  Funmaker, Dennis                           P.O. Box 322                                                              Wisconsin Dells         WI        53965                 Litigation        X           Unknown
  Furer, Sylvia                              2196 Merrill Ave. #30                                                     Bullhead City           AZ        86442                 Litigation        X           Unknown
  Furry, David S.                            595 Cypress Avenue                                                        Colton                  CA        92324                 Litigation        X           Unknown
  Furry, Desarai                             595 Cypress Avenue                                                        Colton                  CA        92324                 Litigation        X           Unknown
  Furry, Lauri Michelle                      201 Willard Street Apt B                                                  Hampton                 SC        29924                 Litigation        X           Unknown
  Gable, Mildred                             2701 Joe Louis St.                                                        Anniston                AL        36201                 Litigation        X           Unknown
  Gabriner, Shirley                          1351 E 24th Street                                                        Brooklyn                NY        11210                 Litigation        X           Unknown
  Gaddie, Delman A.                          PO Box 211                                                                Oro Grande              CA        92368                 Litigation        X           Unknown
  Gaddy, Ellen                               627 Salisbury Street                                                      Wadesboro               NC        28170                 Litigation        X           Unknown
  Gaffin, Robert                             174 Rose Hill Avenue                                                      Wenonah                 NJ        08090                 Litigation        X           Unknown
  Gagliano, Bob                              822 Fitzgerald Ave.                                                       Ventura                 CA        93003                 Litigation        X           Unknown
  Gailey, Deborah Ann                        P.O. Box 248                                                              Oro Grande              CA        92368                 Litigation        X           Unknown
  Gailey, Jim Lawrence                       P.O. Box 248                                                              Oro Grande              CA        92368                 Litigation        X           Unknown
  Gailey, Rose Ann                           P.O. Box 248                                                              Oro Grande              CA        92368                 Litigation        X           Unknown
  Gainer, Betty                              1145 Harview Drive                                                        Lilburn                 GA        30047                 Litigation        X           Unknown
  Gaines, Glenn                              16435 Quarter Horse Rd.                                                   Moreno Valley           CA        92555                 Litigation        X           Unknown
  Gaines, Woodrow                            208 Stourbridge Road                                                      Versailles              KY        40383                 Litigation        X           Unknown
  Galan, Charlene Thel                       17609 Catalpa Way                                                         Carson                  CA        90745                 Litigation        X           Unknown
  Galan, Jose Gerald                         17609 Catalpa Way                                                         Carson                  CA        90745                 Litigation        X           Unknown
  Galaz, Roberto                             PO Box 13722                                                              Las Cruces              NM      88013-3722              Litigation        X           Unknown
  Galban, Terry                              5312 N 15th Drive                                                         Phoenix                 AZ        85015                 Litigation        X           Unknown
  Galemore, Richard                          12629 Woodmill Drive                                                      Palm Beach Gardens      FL        33418                 Litigation        X           Unknown
  Galigher, Edward                           79085 Mission Dr. W                                                       La Quinta               CA        82253                 Litigation        X           Unknown
  Galing, Tito                               2951 South 70th St.                                                       Philadelphia            PA        19142                 Litigation        X           Unknown
  Gallagher, Amber                           6640 Robinson Rd.                                                         Highland                CA        92346                 Litigation        X           Unknown
  Gallagher, Jack                            6601 Aiken Rd.                                                            Lockport                NY        14094                 Litigation        X           Unknown
  Gallagher, Jean Marie                      10400 Southeast Cook Ct.- Sp. 82                                          Portland                OR        97222                 Litigation        X           Unknown
  Gallagher, Terry                           6640 Robinson Rd.                                                         Highland                CA        92346                 Litigation        X           Unknown
  Gallardo, David Valles                     6059 Alicante Avenue                                                      Riverside               CA        92509                 Litigation        X           Unknown
  Gallardo, Sylvia                           6059 Alicante Avenue                                                      Riverside               CA        92509                 Litigation        X           Unknown
  Gallaway, Patrick & Amber                  1241 Rocky Road                                                           Simi Valley             CA        93063                 Litigation        X           Unknown
  Gallegos, Della                            7126 Spring Morning Dr.                                                   San Antonio1            TX        78249                 Litigation        X           Unknown
  Gallegos, Isaiah                           24700 Marbella Avenue                                                     Carson                  CA        90745                 Litigation        X           Unknown
  Gallegos, Joseph                           915 North Electric Avenue                                                 Alhambra                CA        91801                 Litigation        X           Unknown
  Gallegos, Linda                            1574 Eudora Ave.                                                          Wilmington              CA        90744                 Litigation        X           Unknown
  Gallegos, Lisa Ann                         524 West N Street                                                         Colton                  CA        92324                 Litigation        X           Unknown
  Gallegos, Roxanne                          P.O. Box 20403                                                            Riverside               CA        92516                 Litigation        X           Unknown
  Gallegos, Stacy                            1574 Eudora Ave.                                                          Wilmington              CA        90744                 Litigation        X           Unknown
  Gallegos, Steven                           1574 Eudora Ave.                                                          Wilmington              CA        90744                 Litigation        X           Unknown
  Gallina, Joseph                            130 Niles Hill Road                                                       Coudersport             PA        16915                 Litigation        X           Unknown
  Gallitto, Matthew and Deborah              113 Mullen St.                                                            Tonawanda               NY        14150                 Litigation        X           Unknown
  Gallup, Audrey                             16241 Paradise Valley Lane                                                Morgan Hill             CA        95037                 Litigation        X           Unknown
  Galvan, Nieves                             1108 River Road                                                           Coal Hill               AR        72832                 Litigation        X           Unknown
  Galvin, Donald                             234 Charles St,                                                           Lyndonville             VT        05851                 Litigation        X           Unknown
  Galvin, Rachel                             PO Box 151                                                                Oro Grande              CA        92368                 Litigation        X           Unknown
  Gamble, Doris Jean                         1540 E Carlisle Dr.                                                       Mobile                  AL        36618                 Litigation        X           Unknown
  Gamble, Thomas                             125 Whiting Avenue                                                        Toledo                  OH        43609                 Litigation        X           Unknown



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  Gamez, David Pena                          P.O. Box 231                                                       Oro Grande              CA      92368              Litigation        X           Unknown
  Gamez, Robert Pena                         P.O. Box 231                                                       Oro Grande              CA      92368              Litigation        X           Unknown
  Gamino, Elida                              18120 Emanuelli Court                                              Fontana                 CA      92336              Litigation        X           Unknown
  Gammill, Robert                            25590 State Route 77                                               Hollow Rock             TN      38342              Litigation        X           Unknown
  Ganci, Frank                               47 Nicholas Drive North                                            Tonawanda               NY      14150              Litigation        X           Unknown
  Gandy III, Joel                            24908 Lake Street                                                  Hemet                   CA      92544              Litigation        X           Unknown
  Gandy Jr., Joel                            24908 Lake Street                                                  Hemet                   CA      92544              Litigation        X           Unknown
  Gandy Sr., Joel                            4261 Shamrock Lane                                                 Montgomery              AL      36106              Litigation        X           Unknown
  Gandy, Alexander Kerry                     24908 Lake Street                                                  Hemet                   CA      92544              Litigation        X           Unknown
  Gandy, Karla Denise                        24908 Lake Street                                                  Hemet                   CA      92544              Litigation        X           Unknown
  Gandy, Rick                                1308 Tasker                                                        Hobbs                   NM      88240              Litigation        X           Unknown
  Gandy, Teddy                               4100 N. Lovington Hwy                                              Hobbs                   NM      88240              Litigation        X           Unknown
  Gandy, Treisha                             24908 Lake Street                                                  Hemet                   CA      92544              Litigation        X           Unknown
  Gannon, Robert                             444 Millers Corner Road                                            East Greenbush          NY      12061              Litigation        X           Unknown
  Gantt, James                               3984 Honeysuckle Road                                              Rock Hill               SC      29732              Litigation        X           Unknown
  Gaona, Lucinda                             525 N. Gilbert St Space 72                                         Hemet                   CA      92543              Litigation        X           Unknown
  Garcia II, Ronald Steven                   19277 Maywood street                                               Bloomington             CA      92316              Litigation        X           Unknown
  Garcia Jr, Daniel                          383 E 249th Street                                                 Carson                  CA      90745              Litigation        X           Unknown
  Garcia, Angel                              15730 Orizaba Ave.                                                 Paramount               CA      90723              Litigation        X           Unknown
  Garcia, Angel                              P.O. Box 391318                                                    Anza                    CA      92539              Litigation        X           Unknown
  Garcia, Angela                             22033 Rocky Hills Road                                             Perris                  CA      92570              Litigation        X           Unknown
  Garcia, Annette                            1362 E 200 N Rd                                                    Paxton                  IL      60957              Litigation        X           Unknown
  Garcia, Anthony                            302 Monterey Drive                                                 Carson                  CA      90745              Litigation        X           Unknown
  Garcia, Arthur                             P.O. Box 1702                                                      Lemon Grove             CA      91946              Litigation        X           Unknown
  Garcia, Brandie                            24726 Marbella Ave.                                                Carson                  CA      90745              Litigation        X           Unknown
  Garcia, Brenda Sue                         19010 Manila Street                                                Bloomington             CA      92316              Litigation        X           Unknown
  Garcia, Cassie                             383 E 249th Street                                                 Carson                  CA      90745              Litigation        X           Unknown
  Garcia, Cynthia                            24726 Marbella Ave.                                                Carson                  CA      90745              Litigation        X           Unknown
  Garcia, Daniel                             511 Park Meadow Drive                                              San Antonio             TX      78227              Litigation        X           Unknown
  Garcia, Daniel                             383 E 249th Street                                                 Carson                  CA      90745              Litigation        X           Unknown
  Garcia, David                              1168 Green Valley Rd.                                              Watsonville             CA      95076              Litigation        X           Unknown
  Garcia, David Ronald                       12042 Hall Avenue                                                  Bloomington             CA      92316              Litigation        X           Unknown
  Garcia, Delphine                           2235 Orange Blossom                                                San Antonio             TX      78247              Litigation        X           Unknown
  Garcia, Dennis                             24829 Panama Avenue                                                Carson                  CA      90745              Litigation        X           Unknown
  Garcia, Emily                              5010 N. Knobb Hill Rd. #212                                        Sunrise                 FL      33351              Litigation        X           Unknown
  Garcia, Emily                              302 Monterey Drive                                                 Carson                  CA      90745              Litigation        X           Unknown
  Garcia, Enso                               11893 East Idaho Drive                                             Aurora                  CO      80012              Litigation        X           Unknown
  Garcia, Felicia                            8505 Mulberry Avenue- Apt. I                                       Fontana                 CA      92335              Litigation        X           Unknown
  Garcia, Fred                               10961 Desert Lawn Drive 497                                        Calimesa                CA      92320              Litigation        X           Unknown
  Garcia, Gabriel                            15730 Orizaba Ave.                                                 Paramount               CA      90723              Litigation        X           Unknown
  Garcia, Genaro                             5772 Newton Street                                                 Riverside               CA      92509              Litigation        X           Unknown
  Garcia, Gloria Jean                        5653 Paula Street                                                  Riverside               CA      92509              Litigation        X           Unknown
  Garcia, Gloria Mary                        5772 Newton Street                                                 Riverside               CA      92509              Litigation        X           Unknown
  Garcia, Hector                             2325 Connor Ae                                                     Commerce                CA      90040              Litigation        X           Unknown
  Garcia, Hector                             18772 5th St                                                       Bloomington             CA      92316              Litigation        X           Unknown
  Garcia, Hilaria                            302 Monterey Drive                                                 Carson                  CA      90745              Litigation        X           Unknown
  Garcia, Jacob Javier                       411 West Bellwood Drive- apt 40                                    Spokane                 WA      99218              Litigation        X           Unknown
  Garcia, Javier Rodriguez                   411 West Bellwood Drive- apt 40                                    Spokane                 WA      99218              Litigation        X           Unknown
  Garcia, Jessica Ann                        411 West Bellwood Drive- apt 40                                    Spokane                 WA      99218              Litigation        X           Unknown
  Garcia, Jesus                              5653 Paula Street                                                  Riverside               CA      92509              Litigation        X           Unknown



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  Garcia, Jesus                              10609 Willow Creek Road                                               Moreno Valley             CA        92557                 Litigation        X           Unknown
  Garcia, Jimmy                              5772 Newton Street                                                    Riverside                 CA        92509                 Litigation        X           Unknown
  Garcia, Jose Guadalupe                     15730 Orizaba Ave.                                                    Paramount                 CA        90723                 Litigation        X           Unknown
  Garcia, Juan                               2630 S. Irving St.                                                    Denver                    CO        80219                 Litigation        X           Unknown
  Garcia, Julio                              6308 Country Road 308                                                 Rosharon                  TX        77583                 Litigation        X           Unknown
  Garcia, Lucia                              5408 83rd Street Ct SW- Apt. #0201                                    Lakewood                  WA        98499                 Litigation        X           Unknown
  Garcia, Margaret Angela                    3766 Hazel Drive                                                      Perris                    CA        92571                 Litigation        X           Unknown
  Garcia, Maria                              401 E Riverview Ave. Lot 20                                           Fort Morgan               CO        80701                 Litigation        X           Unknown
  Garcia, Maria De Jesus                     15730 Orizaba Ave.                                                    Paramount                 CA        90723                 Litigation        X           Unknown
  Garcia, Mariko                             24822 Panama Ave.                                                     Carson                    CA        90745                 Litigation        X           Unknown
  Garcia, Michael                            11159 Vintage Road #2                                                 Adelanto                  CA        92301                 Litigation        X           Unknown
  Garcia, Nora                               RTS - 5553 Molino Way                                                 Riverside                 CA        92509                 Litigation        X           Unknown
  Garcia, Odilia                             P.O. Box 295                                                          Radium Springs            NM        88054                 Litigation        X           Unknown
  Garcia, Olivia                             10603 Timber Country                                                  San Antonio               TX        78254                 Litigation        X           Unknown
  Garcia, Renicia                            615 Burton Avenue                                                     San Antonio               TX        78221                 Litigation        X           Unknown
  Garcia, Richard                            42861 Beau Ville Court                                                Lancaster                 CA        93536                 Litigation        X           Unknown
  Garcia, Robert Rae                         5772 Newton Street                                                    Riverside                 CA        92507                 Litigation        X           Unknown
  Garcia, Rodolfo                            2073 Santa Rita St. #21                                               Salinas                   CA        93906                 Litigation        X           Unknown
  Garcia, Ronnie                             10935 Fulton Wells Ave. Apt 113 A                                     Sante Fe Springs          CA        90670                 Litigation        X           Unknown
  Garcia, Rosie                              P.O. Box 391318                                                       Anza                      CA        92539                 Litigation        X           Unknown
  Garcia, Sandra                             2820 West Rd.                                                         Fort Myers                FL        33905                 Litigation        X           Unknown
  Garcia, Sara                               2630 S. Irving St.                                                    Denver                    CO      80219-5829              Litigation        X           Unknown
  Garcia, Saul                               18853 5th Street                                                      Bloomington               CA        92310                 Litigation        X           Unknown
  Garcia, Sharon                             1300 W Sandison Street                                                Wilmington                CA        90744                 Litigation        X           Unknown
  Garcia, Soledad                            6468 1/2 Jones Ave.                                                   Riverside                 CA        92505                 Litigation        X           Unknown
  Garcia, Steven                             9730 W. Getty Dr.                                                     Tolleson                  AZ        85353                 Litigation        X           Unknown
  Garcia, Sylvia                             3620 S. Pacific Ave. #214                                             San Pedro                 CA        90731                 Litigation        X           Unknown
  Garcia, Terri Kay                          5724 N. Grand Canyon Dr                                               Las Vegas                 NV        89149                 Litigation        X           Unknown
  Garcia-Infante, Lupe                       16900 Millstone Drive                                                 La Puente                 CA        91744                 Litigation        X           Unknown
  Gard, Patricia                             RTS - 20 E 9th Ste. 301                                               Shawnee                   OK        74801                 Litigation        X           Unknown
  Gardiner, Sr., Anthony                     11602 Jutland Road                                                    Houston                   TX        77048                 Litigation        X           Unknown
  Gardner, Alinda                            11734 Carmine St.- Unit C                                             Riverside                 CA        92505                 Litigation        X           Unknown
  Gardner, Raheem                            1167 Henry Ave.                                                       Columbus                  GA        31906                 Litigation        X           Unknown
  Gardner, Susan                             3498 Sunny Acres Lane                                                 Guthrie                   OK        73044                 Litigation        X           Unknown
  Garin, Donald W.                           110 Vixen Circle, #C                                                  Branson                   MO        65616                 Litigation        X           Unknown
  Garin, Verna                               2550 State Hwy 248, #201                                              Branson                   MO        65616                 Litigation        X           Unknown
  Garland, Lizzie                            209 Lenoir Dr.                                                        Eden                      NC        27288                 Litigation        X           Unknown
  Garland, Nashawn                           P.O. Box 916                                                          Hope                      AR      71801-0916              Litigation        X           Unknown
  Garland, Virginia                          1008 Aunt Prissey Court                                               Florence                  SC        29505                 Litigation        X           Unknown
  Garner, Claude                             1115 Kevin Road                                                       Baltimore                 MD        21229                 Litigation        X           Unknown
  Garner, Denise                             1409 Summit St. Apt 402                                               Pittsburgh                PA        15221                 Litigation        X           Unknown
  Garner, Everett C.                         16055 W. Cambridge Ave.                                               Goodyear                  AZ        85338                 Litigation        X           Unknown
  Garner, Valerie                            17226 Bentler St. Apt. 101                                            Detroit                   MI        48219                 Litigation        X           Unknown
  Garnett, James                             6500 Morehead Road                                                    Harrisburg                NC        28075                 Litigation        X           Unknown
  Garrett, Brian                             15 S Rolling Hills Ave                                                Irwin                     PA        15642                 Litigation        X           Unknown
  Garrett, James                             8530 Canfield Dr #109                                                 Dearborn Heights          MI        48127                 Litigation        X           Unknown
  Garrett, Veronica                          16222 Stuebner Airline                                                Springfield               TX        77379                 Litigation        X           Unknown
  Garrick, Carolyn                           311 North Flat Street                                                 Waxahachie                TX        75165                 Litigation        X           Unknown
  Garrison, Jack                             11568 Twin Oaks Trail                                                 Jacksonville              FL        32258                 Litigation        X           Unknown
  Garrison, Rick                             685 Red Bell Rd.                                                      Newbern                   TN        38059                 Litigation        X           Unknown



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  Garus, Gregory Scott                       1005 Alexander Stewart Drive                                      Hillsborough              NC        27278                 Litigation        X           Unknown
  Garus, Rebecca                             1005 Alexander Stewart Drive                                      Hillsborough              NC        27278                 Litigation        X           Unknown
  Garus, Robert                              24707 National Trails Highway                                     Oro Grande                CA        92342                 Litigation        X           Unknown
  Garvin, Karen                              8745 Shady Pines Dr.                                              Las Vegas                 NV        89143                 Litigation        X           Unknown
  Garwood                                    42904 Calle Roble                                                 Murrieta                  CA        92562                 Litigation        X           Unknown
  Gary, Jimmie                               1530 Sabra Drive                                                  Brooksville               FL      34601-3923              Litigation        X           Unknown
  Garza, David                               1621 E Monroe Ave.                                                Harlingen                 TX        78550                 Litigation        X           Unknown
  Garza, Giovanni                            266 W. Broadview Dr.                                              San Antonio               TX        78228                 Litigation        X           Unknown
  Garza, Rosa                                9401 N. 10th St. Unit 4-12                                        McAllen                   TX        78504                 Litigation        X           Unknown
  Gasca, Francisca                           3040 Vineland Ave. Apt. 8                                         Baldwin Park              CA        91706                 Litigation        X           Unknown
  Gastelum, Yudith                           354 E 248th Street                                                Carson                    CA        90745                 Litigation        X           Unknown
  Gaston-Crumm, Takon                        316 Beauvue Rd                                                    Elm City                  NC        27822                 Litigation        X           Unknown
  Gatbonton, Pedrito                         8417 Cantwell Drive                                               Elk Grove                 CA        95624                 Litigation        X           Unknown
  Gates, Prudence                            210 Fitzhugh, Apt 300                                             Bay City                  MI        48708                 Litigation        X           Unknown
  Gatewood, Mary                             1981 Old Dover Road                                               Clarksville               TN        37042                 Litigation        X           Unknown
  Gatlin II, James                           24813 Panama Avenue                                               Carson                    CA        90745                 Litigation        X           Unknown
  Gatlin, Jamie                              24813 Panama Avenue                                               Carson                    CA        90745                 Litigation        X           Unknown
  Gatlin, John                               24813 Panama Avenue                                               Carson                    CA        90745                 Litigation        X           Unknown
  Gatlin, Shirley                            24813 Panama Avenue                                               Carson                    CA        90745                 Litigation        X           Unknown
  Gatto , Tiffany                            21 W 5th St #1201                                                 Los Angeles               CA        90013                 Litigation        X           Unknown
  Gaulin, Amy                                145 Humiston Drive                                                Bethany                   CT        06524                 Litigation        X           Unknown
  Gauthier, Douglas                          1415 Arrowhead Dr.                                                Coshocton                 OH        43812                 Litigation        X           Unknown
  Gaxiola, Elda                              15136 Castana Ave.                                                Paramount                 CA        90723                 Litigation        X           Unknown
  Gaxiola, Mirna                             5790 Newton Street                                                Riverside                 CA        92509                 Litigation        X           Unknown
  Gay, Joan                                  13 Hillside Village                                               Ware                      MA        01082                 Litigation        X           Unknown
  Gayap, Jose                                369 W 14th St.                                                    San Pedro                 CA        90731                 Litigation        X           Unknown
  Gayap, Marieta                             369 W 14th St.                                                    San Pedro                 CA        90731                 Litigation        X           Unknown
  Gaytan, Jose                               1790 Perkins Ave.                                                 Woodbine                  IA        51579                 Litigation        X           Unknown
  Gazziano, Keeshia                          124 Taylorsville Beach Ct.                                        Taylorsville              NC        28681                 Litigation        X           Unknown
  Gearo, Anthony Glenn                       3222 Kity Court                                                   Oklahoma                  OK        73121                 Litigation        X           Unknown
  Geffrard, Anne                             2805 E. Oakland Park Blvd #118                                    Ft. Lauderdale            FL        33306                 Litigation        X           Unknown
  Gehring, Kenneth J.                        38 Hallmark Court                                                 Williamsville             NY        14221                 Litigation        X           Unknown
  Geiger, Deborah                            8240 Appleton Street                                              Dearborn Heights          MI        48127                 Litigation        X           Unknown
  Geller, Paulette                           10740 NW 17 Manor                                                 Coral Springs             FL        33071                 Litigation        X           Unknown
  Gemma, Larry                               22 Horizons Rd                                                    Sharon                    MA        02067                 Litigation        X           Unknown
  Gentry Jr., Tyrone                         P.O. Box 56548                                                    Riverside                 CA        92517                 Litigation        X           Unknown
  Gentry, Adrian David                       P.O. Box 56548                                                    Riverside                 CA        92517                 Litigation        X           Unknown
  Gentry, Morris                             2800 Huntleigh Dr.                                                Nashville                 TN        37206                 Litigation        X           Unknown
  Gentry, Natalie Munir                      P.O. Box 56548                                                    Riverside                 CA        92517                 Litigation        X           Unknown
  George Mathieu, Jordan                     4250 Drinkwater #100                                              Scottsdale                AZ        85251                 Litigation        X           Unknown
  George, Emma                               24423 Neptune Avenue                                              Carson                    CA        90745                 Litigation        X           Unknown
  George, Richard J.                         102 West 11th St.                                                 Kaukauna                  WI        54130                 Litigation        X           Unknown
  George, Teichnique                         24423 Neptune Avenue                                              Carson                    CA        90745                 Litigation        X           Unknown
  Gerakos, George                            2350 Latta Road                                                   Rochester                 NY        14612                 Litigation        X           Unknown
  Germany, Willie                            3207 Carlisle Ave. Apt. A                                         Baltimore                 MD        21216                 Litigation        X           Unknown
  Gherdovich, George                         1009 Hicks Street                                                 Tomball                   TX        77375                 Litigation        X           Unknown
  Ghobrial, Youseff                          8249 Paisley Ave                                                  Hesperia                  CA        92345                 Litigation        X           Unknown
  Ghoogasian, Richard                        4140 Workman Mill Road, #175                                      Whittier                  CA        90601                 Litigation        X           Unknown
  Ghuzzi, Donna                              6430 Residencia                                                   Newport Beach             CA        92660                 Litigation        X           Unknown
  Ghuzzi, John                               6430 Residencia                                                   Newport Beach             CA        92660                 Litigation        X           Unknown



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  Gi Phineas, Pafuti                         24722 Neptune Avenue                                                Carson                     CA        90745                 Litigation        X           Unknown
  Gi, Edward                                 24722 Neptune Avenue                                                Carson                     CA        90745                 Litigation        X           Unknown
  Giambra, Angelo                            12950 High Crest St.                                                Victorville                CA        92395                 Litigation        X           Unknown
  Giampalo, Charles                          112 Stonehouse Way                                                  Torrington                 CT        06790                 Litigation        X           Unknown
  Giampalo, Jessica                          112 Stonehouse Way                                                  Torrington                 CT        06790                 Litigation        X           Unknown
  Giangrande, Paul D.                        14023 Tierra Bonita Court                                           Poway                      CA        92064                 Litigation        X           Unknown
  Gibbs, Caroline                            10012 Silverleaf Terrace                                            NorthChesterfield          VA        23236                 Litigation        X           Unknown
  Gibbs, David                               395 Anderson Road                                                   Bedford                    IN        47421                 Litigation        X           Unknown
  Gibbs, Kenneth                             1012 Bowman Drive                                                   Borger                     TX        79007                 Litigation        X           Unknown
  Gibbs, Lucia                               1709 Western Avenue- Apt. 4                                         Green Bay                  WI        54303                 Litigation        X           Unknown
  Gibbs, Michael                             2801 Lofland Lane                                                   Rowlett                    TX        75088                 Litigation        X           Unknown
  Gibson, Barbara Jean                       2185 West College Avenue #3031                                      San Bernardino             CA        92407                 Litigation        X           Unknown
  Gibson, Brian                              52 Ellis Street                                                     Brockton                   MA        02301                 Litigation        X           Unknown
  Gibson, Darrell                            RTS - 4451 5th Street - Apartment 12                                Lake Charles               LA        70615                 Litigation        X           Unknown
  Gibson, Homer                              1720 Day Break Lane                                                 Crozet                     VA        22932                 Litigation        X           Unknown
  Gibson, Leslie                             40 Candlewood Dr.                                                   Shawnee                    OK        74804                 Litigation        X           Unknown
  Gibson, Lewis                              8162 Crane Road                                                     Oakdale                    CA        95361                 Litigation        X           Unknown
  Gibson, Patricia                           RT - 392 Foxley Road Apt C                                          Anniston                   AL        36205                 Litigation        X           Unknown
  Gibson, Reuben                             300 Chartwell Dr.                                                   Lake Spivey                GA        30236                 Litigation        X           Unknown
  Giddings, Robert                           1659 Lodge Pole Lane                                                Rochester Hills            MI        48309                 Litigation        X           Unknown
  Gideon, Ruby Laverne                       1982 Saddle Ridge Drive                                             Springtown                 TX        76082                 Litigation        X           Unknown
  Giguere, Paul                              5047 Bonnie Vale Court                                              Eau Claire                 WI        54701                 Litigation        X           Unknown
  Gil Jr., Rudolph Arthur                    18832 3rd Street                                                    Bloomington                CA        92316                 Litigation        X           Unknown
  Gil, Antonio                               7423 Kinsley Ct                                                     Citrus Heights             CA        95621                 Litigation        X           Unknown
  Gilbert, Donald                            2029 Logan Ave                                                      Hamilton                   OH        45015                 Litigation        X           Unknown
  Gilbert, Dorothy Joan                      504 Ozark Jubille Dr.                                               Nixa                       MO        65714                 Litigation        X           Unknown
  Gilbert, Hildred                           865 Michigan Ave Apt 413                                            Buffalo                    NY        14203                 Litigation        X           Unknown
  Gilbert, Joshua                            222 5th East                                                        Copperton                  UT        84006                 Litigation        X           Unknown
  Gilbreath, Samuel                          713 Chavies Road                                                    Rainsville                 AL        35986                 Litigation        X           Unknown
  Gilbur, Eileen                             32748 Wellbrook Drive                                               Westlake Village           CA        91361                 Litigation        X           Unknown
  Gilchrist, Emmett                          143 E. 87th Street                                                  Los Angeles                CA        90003                 Litigation        X           Unknown
  Gilchrist, Grady                           39 Lake Somerset Circle SC                                          Bluffton                   SC        29909                 Litigation        X           Unknown
  Giles, Karen                               1999 Sutter Ave. Apt. 503                                           Cincinnati                 OH        45225                 Litigation        X           Unknown
  Giles, Louise                              2305 Fields Dr                                                      Oakland                    TN        38060                 Litigation        X           Unknown
  Gill Sr, Gerald                            1398 Antler Drive                                                   Raeford                    NC        28376                 Litigation        X           Unknown
  Gill, Margery                              1240 38th Ln. NE                                                    Olympia                    WA        98506                 Litigation        X           Unknown
  Gill, Sharon                               2861 Spruce Dr.                                                     Myrtle Beach               SC        29577                 Litigation        X           Unknown
  Gillespie, Roxie                           4527 Marlboro Drive #2                                              Owensboro                  KY        42303                 Litigation        X           Unknown
  Gilliam Carter, Ruby                       100 Orchard Hill Drive                                              Ellenwood                  GA        30294                 Litigation        X           Unknown
  Gilliam, Deborah                           12 Carolina St.                                                     Salisbury                  NC        28144                 Litigation        X           Unknown
  Gilliam, Lottie                            9 Silver Street                                                     Stamford                   CT        06902                 Litigation        X           Unknown
  Gilliam, Sr., Ollie                        1470 Wirt Road /Send check to PO Box 85                             Oakland                    TN        38060                 Litigation        X           Unknown
  Gilligan, Robert                           9 Gelding Road                                                      Chelmsford                 MA      01824-1917              Litigation        X           Unknown
  Gilmore, Brian                             13198 Gray Fox Trail                                                Rogers                     MN        55374                 Litigation        X           Unknown
  Gilmore, Harold                            1104 Graymont Ave.                                                  West Birmingham            AL        35204                 Litigation        X           Unknown
  Gilmore, John                              P.O. Box 691                                                        Cedar Hill                 TX        75106                 Litigation        X           Unknown
  Gilmore, Mark Anthony                      P.O. Box 13916                                                      Los Angeles                CA        90013                 Litigation        X           Unknown
  Gilmore, Rosa                              1910 Southern Blvd, Apt 53                                          Warren                     OH        44485                 Litigation        X           Unknown
  Gilmore, Ryishea Shana                     12634 Memorial Way- Apt. 1105                                       Moreno Valley              CA        92553                 Litigation        X           Unknown
  Gilmore, Troy                              2001 Glenridge Way # 47                                             Winterpark                 FL        32792                 Litigation        X           Unknown



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  Gilstrap, Elisabeth                        125 Incline Drive                                                 Liberty                   SC        29657                 Litigation        X           Unknown
  Gilyard, Schatoun                          1513 Akron                                                        St. Louis                 MO        63137                 Litigation        X           Unknown
  Gilyard, Vince                             201 Hollis Dr                                                     Albany                    GA        31705                 Litigation        X           Unknown
  Gimenez, Raphael                           6409 Saint Roch Ave                                               New Orleans               LA        70122                 Litigation        X           Unknown
  Gimlin, Donna                              1611 S. Campbell Ave.                                             Springfield               MO        65807                 Litigation        X           Unknown
  Gingery, Caroline                          1177 Palau                                                        Coronado                  CA        92118                 Litigation        X           Unknown
  Ginn, Hubert                               14 E Stage St.                                                    Savannah                  GA        31401                 Litigation        X           Unknown
  Gipe, Betty                                5128 North Bend Drive                                             Fort Wayne                IN        46804                 Litigation        X           Unknown
  Gipson, Deon                               487 W. Chase Ave.                                                 El Cajon                  CA        92020                 Litigation        X           Unknown
  Gipson, Gary Don                           487 W. Chase Ave.                                                 El Cajon                  CA        92020                 Litigation        X           Unknown
  Gipson, Johnathan Ejuan                    29983 Kratka Ridge Ln.                                            Menifee                   CA        92586                 Litigation        X           Unknown
  Gipson, Leola Darlene                      487 W. Chase Ave.                                                 El Cajon                  CA        92020                 Litigation        X           Unknown
  Gipson, Markeith                           487 W. Chase Ave.                                                 El Cajon                  CA      92020-7404              Litigation        X           Unknown
  Gipson, Regina Rae                         25374 Court St. Apt. B                                            San Bernardino            CA        92410                 Litigation        X           Unknown
  Gipson, Shaniqwa Capree                    487 W. Chase Ave.                                                 El Cajon                  CA        92020                 Litigation        X           Unknown
  Giraldo, Luz                               702 N Ponpano Ave                                                 Sarasota                  FL        34237                 Litigation        X           Unknown
  Giraulo, Earl                              24 Cambon Place                                                   Nesconset                 NY        11767                 Litigation        X           Unknown
  Givens, Brittany                           8216 Vining Street                                                Jacksonville              FL        32210                 Litigation        X           Unknown
  Givens, Ruth                               626 W. Parklin Dr.                                                Covington                 VA        24426                 Litigation        X           Unknown
  Givens, Susan                              86 Henlopen Gardens                                               Lewes                     DE        19958                 Litigation        X           Unknown
  Gladney, Robert                            PO Box 1976                                                       Batesville                MS        38606                 Litigation        X           Unknown
  Glass, Bill                                RTS - 218 Hunter Pass                                             Waxahachie                TX        75165                 Litigation        X           Unknown
  Glass, David                               1134 State Route 130                                              Greensburg                PA        15601                 Litigation        X           Unknown
  Glass, Derek                               705 Gillaspie Drive                                               Boulder                   CO        80305                 Litigation        X           Unknown
  Glass, Vickie                              1134 State Route 130                                              Greensburg                PA        15601                 Litigation        X           Unknown
  Glassco, Donald                            1335 W. 15th Street                                               Long Beach                CA        90813                 Litigation        X           Unknown
  Glasser, Elaine                            1232 Prospector Trail                                             South Lake Tahoe          CA        96150                 Litigation        X           Unknown
  Glassman                                   3601 Cody Rd                                                      Sherman Oaks              CA        91403                 Litigation        X           Unknown
  Glenn, John                                6280 Snake Hollow Road                                            Sneedville                TN        37869                 Litigation        X           Unknown
  Glick, Judith                              40 Springville Rd. Apt. G                                         Mount Joy                 PA        17552                 Litigation        X           Unknown
  Glickman, Marcell                          1481 S. Shenandoah St. #204                                       Los Angeles               CA        90035                 Litigation        X           Unknown
  Glover, James                              124 Otis Dinning Dr.                                              Paducah                   KY        42001                 Litigation        X           Unknown
  Glover, Joseph K.                          12820 Ross Street                                                 Moreno Valley             CA        92553                 Litigation        X           Unknown
  Gluch, Diana                               6735 E. M-72                                                      Williamsburg              MI        49690                 Litigation        X           Unknown
  Godell, Frank                              85 Grosvenor Rd.                                                  Buffalo                   NY        14223                 Litigation        X           Unknown
  Godinez, Carlos                            1342 E Edgewood Dr, #4                                            Alhambra                  CA        91803                 Litigation        X           Unknown
  Godinez, Sherry                            2806 Demeter Place                                                Riverside                 CA        92509                 Litigation        X           Unknown
  Godley, Recita                             507 E. 8th Street                                                 Washington                NC        27889                 Litigation        X           Unknown
  Godsey, Angela                             1307 S. Limestone St                                              Springfield               OH        45505                 Litigation        X           Unknown
  Godwin II, Lucky W.                        635 Hermosa Avenue                                                Colton                    CA        92324                 Litigation        X           Unknown
  Godwin, Britt Wayne                        635 Hermosa Avenue                                                Colton                    CA        92324                 Litigation        X           Unknown
  Goines, Joseph                             3521 Larkhaven Village Drive                                      Charlotte                 NC        28215                 Litigation        X           Unknown
  Gold, James                                817 W Inman Avenue                                                Rahway                    NJ        07065                 Litigation        X           Unknown
  Golden, Richard                            6000 Pinafore Court                                               Sacramento                CA        95842                 Litigation        X           Unknown
  Golden, Rosalia                            26345 Regent Avenue                                               Lomita                    CA        90717                 Litigation        X           Unknown
  Goldhagen, Stanton                         4195 Mt. Alifan Place, Unit B                                     San Diego                 CA      92111-2814              Litigation        X           Unknown
  Goldin, Tamara                             1869 85th St.                                                     Brooklyn                  NY        11214                 Litigation        X           Unknown
  Goldman, Howard                            6820 South West 36th Street                                       Miramar                   FL        33023                 Litigation        X           Unknown
  Goldman, Jeffrey                           6847 Corintia Street                                              Carlsbad                  CA        92009                 Litigation        X           Unknown
  Goldstein, Brian                           56- 125 Riveria                                                   La Quinta                 CA        92253                 Litigation        X           Unknown



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  Golebieski, Kathleen                                 50 First Avenue                                                 Seymour                   CT        06483                 Litigation        X           Unknown
  Golom, David                                         218 Adelphia Road                                               Farmingdale               NJ        07727                 Litigation        X           Unknown
  Golphin, Harry                                       7905 S. 10th Avenue                                             Inglewood                 CA        90305                 Litigation        X           Unknown
  Gomes, Andrea                                        321 E 244th Street                                              Carson                    CA        90745                 Litigation        X           Unknown
  Gomes, David                                         321 E 244th Street                                              Carson                    CA        90745                 Litigation        X           Unknown
  Gomes, Gregory                                       321 E 244th Street                                              Carson                    CA        90745                 Litigation        X           Unknown
  Gomes, Susan                                         5915 Trummel Road Apt K-1                                       Morrow                    GA        30260                 Litigation        X           Unknown
  Gomes, Tawana                                        321 E 244th Street                                              Carson                    CA        90745                 Litigation        X           Unknown
  Gomez & Ramos, Miguel & Maria                        527 N Coronado St, #3                                           Los Angeles               CA        90026                 Litigation        X           Unknown
  Gomez Jr., Jose Juan                                 847 West H Street                                               Colton                    CA        92324                 Litigation        X           Unknown
  Gomez Sr., Jose Juan                                 847 West H Street                                               Colton                    CA        92324                 Litigation        X           Unknown
  Gomez, Alfonso                                       16560 Lemon Street                                              Hesperia                  CA        92345                 Litigation        X           Unknown
  Gomez, Analberta                                     847 West H Street                                               Colton                    CA        92324                 Litigation        X           Unknown
  Gomez, Ashley                                        1027 Roswell Ave. #1                                            Long Beach                CA      90804-4236              Litigation        X           Unknown
  Gomez, Barbara Jean                                  4015 N Yaleton Ave.                                             Covina                    CA        91722                 Litigation        X           Unknown
  Gomez, Guadalupe                                     13436 Alcott Street                                             Victorville               CA        92395                 Litigation        X           Unknown
  Gomez, Jazmin                                        6308 Arthur Street                                              Hollywood                 FL        33024                 Litigation        X           Unknown
  Gomez, Juanita                                       912 Brookside                                                   Sweetwater                TX        79556                 Litigation        X           Unknown
  Gomez, Megan                                         3906 Snowden Avenue                                             Long Beach                CA        90808                 Litigation        X           Unknown
  Gomez, Navora                                        16560 Lemon Street                                              Hesperia                  CA        92345                 Litigation        X           Unknown
  Gomez, Yvonne                                        1027 Roswell Ave. #1                                            Long Beach                CA        90804                 Litigation        X           Unknown
  Gongora, Svemy Leticia                               1440 Veteran Ave.- Apt 221                                      Los Angeles               CA        90024                 Litigation        X           Unknown
  Gonsauls, Scott                                      900 Ridge Creek Lane                                            Bulverde                  TX        78163                 Litigation        X           Unknown
  Gonzales Jr, Fernando                                PO Box 73                                                       Oro Grande                CA        92368                 Litigation        X           Unknown
  Gonzales, Albert                                     24609 Neptune Avenue                                            Carson                    CA        90745                 Litigation        X           Unknown
  Gonzales, Ana                                        24609 Neptune Avenue                                            Carson                    CA        90745                 Litigation        X           Unknown
  Gonzales, Cynthia                                    1650 Eudora Ave.                                                Wilmington                CA      90744-1218              Litigation        X           Unknown
  Gonzales, Edmund                                     436 N. Hanford Avenue                                           San Pedro                 CA        90732                 Litigation        X           Unknown
  Gonzales, John E.                                    11552 Via Monte                                                 Fontana                   CA        92337                 Litigation        X           Unknown
  Gonzales, John Ray                                   5154 N. Fox Hollow Way                                          Lehi                      UT        84043                 Litigation        X           Unknown
  Gonzales, Leo                                        6869 Augusta Hills Dr. NE                                       Rio Rancho                NM        87144                 Litigation        X           Unknown
  Gonzales, Manuel                                     24609 Neptune Avenue                                            Carson                    CA        90745                 Litigation        X           Unknown
  Gonzales, Mary                                       10878 Birch Avenue                                              Bloomington               CA      92316-2508              Litigation        X           Unknown
  Gonzales, Melony                                     1734 N. Grayson                                                 Hobbs                     NM        88240                 Litigation        X           Unknown
  Gonzales, Robert                                     P.O. Box 70951                                                  West Valley City          UT        84170                 Litigation        X           Unknown
  Gonzalez Jr., Robert                                 102 S. 2nd Street, Apt 2                                        Wrightsville              PA        17368                 Litigation        X           Unknown
  Gonzalez, Balbina                                    2500 W. Mount Houston Rd 165                                    Houston                   TX        77038                 Litigation        X           Unknown
  Gonzalez, Bianca                                     11756 Cricket Drive                                             Bloomington               CA        92316                 Litigation        X           Unknown
  Gonzalez, Blanca Esther                              11756 Crickett Drive                                            Bloomington               CA        92316                 Litigation        X           Unknown
  Gonzalez, Ciony                                      24721 Carmel Drive                                              Carson                    CA        90745                 Litigation        X           Unknown
  Gonzalez, David                                      467 Brookside                                                   Laurence Harbor           NJ        08879                 Litigation        X           Unknown
  Gonzalez, Edilia, Laura, Caesar, Amayrani            6763 Abrego Rd, #18                                             Goleta                    CA        93117                 Litigation        X           Unknown
  Gonzalez, Elena                                      4888 Rutile Street                                              Riverside                 CA        92509                 Litigation        X           Unknown
  Gonzalez, Gisela                                     18841 3rd Street                                                Bloomington               CA        92316                 Litigation        X           Unknown
  Gonzalez, Ishmael                                    1656 N Mayfield Ave., Apt 2                                     Chicago                   IL        60639                 Litigation        X           Unknown
  Gonzalez, Jasmin                                     24712 Neptune Avenue                                            Carson                    CA        90745                 Litigation        X           Unknown
  Gonzalez, Jasmin Elena                               4888 Rutile Street                                              Riverside                 CA        92509                 Litigation        X           Unknown
  Gonzalez, Juana                                      524 Zoque Drive                                                 Laredo                    TX        78045                 Litigation        X           Unknown
  Gonzalez, Louis J.                                   1107 Beechdale Drive. #C                                        Palmdale                  CA        93551                 Litigation        X           Unknown
  Gonzalez, Marina                                     15524 Brayton Street                                            Paramount                 CA        90723                 Litigation        X           Unknown



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                                                                                                                                                                      Claim       Unliquidated

  Gonzalez, Mario                            15953 Orizaba Ave.                                               Paramount              CA        90723                 Litigation        X           Unknown
  Gonzalez, Mario                            42023 Tilton Dr.                                                 Quartz Hill            CA        93536                 Litigation        X           Unknown
  Gonzalez, Nicole                           P.O. Box 4055                                                    Santa Rosa             CA        95402                 Litigation        X           Unknown
  Gonzalez, Ofelia                           2105 F.M. 1704                                                   Elgin                  TX        78621                 Litigation        X           Unknown
  Gonzalez, Ruth                             444 E. 247th Street                                              Carson                 CA        90745                 Litigation        X           Unknown
  Goode, Thomas E.                           635 East River Road                                              Grand Island           NY        14072                 Litigation        X           Unknown
  Goodenow, Paul                             1001 Main Street, Apt 32                                         Woburn                 MA        01801                 Litigation        X           Unknown
  Gooding, Cleophus                          PO Box 1942                                                      Kinston                NC        28503                 Litigation        X           Unknown
  Goodknight, Jr., Howard                    23776 State Highway 33                                           King Fisher            OK        73750                 Litigation        X           Unknown
  Goodman, Rodney                            1505 Surry Street                                                Kinston                NC        28504                 Litigation        X           Unknown
  Goodrich, Donald                           18911 State Hwy 22                                               Mankato                MN        56001                 Litigation        X           Unknown
  Goodson, Thomas                            6032 Walker Road                                                 Riverdale              GA        30296                 Litigation        X           Unknown
  Goodwin, Judith                            125 Beech                                                        Saint Mary's           OH        45885                 Litigation        X           Unknown
  Goodwin, William                           22679 Price Grubbs Road                                          Robertsdale            AL        36567                 Litigation        X           Unknown
  Gordon, Annette                            4836 Hopewell Church Rd                                          Trinity                NC        27370                 Litigation        X           Unknown
  Gordon, David                              7233 Via Mimosa                                                  San Jose               CA        95135                 Litigation        X           Unknown
  Gordon, James                              13380 SW 261st Terrace                                           Homestead              FL        33032                 Litigation        X           Unknown
  Gordon, Marilyn                            162 Acouri Dr                                                    LA                     CA        90049                 Litigation        X           Unknown
  Gore, Gary                                 2431 Winchester South                                            Lincoln                NE        68512                 Litigation        X           Unknown
  Goss, Gary                                 2209 E. 15th Street                                              Farmington             NM        87401                 Litigation        X           Unknown
  Goubeaux, Sharon                           305 North McConnell Street                                       Alger                  OH        45812                 Litigation        X           Unknown
  Gowdy, Annette                             5954 Beacraft Avenue, Apt. 4                                     Cincinnati             OH        45213                 Litigation        X           Unknown
  Gowin, Joseph                              9755 Moulton Road                                                Bunker Hill             IL       62014                 Litigation        X           Unknown
  Grabowski, Joan                            116 Scoville Avenue                                              Buffalo                NY        14206                 Litigation        X           Unknown
  Grace, II, James                           144 Jefferson Drive                                              Columbus               GA        31907                 Litigation        X           Unknown
  Grace, James                               11 Exeter Place                                                  Hebron                 OH        43025                 Litigation        X           Unknown
  Graczyk, William                           130 Levan Ave.                                                   Lockport               NY      14094-3233              Litigation        X           Unknown
  Gradington, Susie                          401 N. Colorado Apt. 125                                         Hearne                 TX        77859                 Litigation        X           Unknown
  Graf, Tom                                  16824 Trails End Cove                                            Leander                TX        78641                 Litigation        X           Unknown
  Graham, Brittany                           7246 Petrol St. # 4                                              Paramount              CA        90723                 Litigation        X           Unknown
  Graham, Leon                               421 Andrews Drive                                                Riegelwood             NC        28456                 Litigation        X           Unknown
  Graham, Lonnikia Evette                    24456 Postal Avenue- Apt. 6                                      Moreno Valley          CA        92553                 Litigation        X           Unknown
  Graham, Peggy                              3944 Olive Street Apt. C                                         St. Louis              MO        63108                 Litigation        X           Unknown
  Graham, Portia                             2527 Inman Street                                                Muskogee               OK        74401                 Litigation        X           Unknown
  Graham, Rolando J.                         5327 El Rio Avenue                                               Riverside              CA        92509                 Litigation        X           Unknown
  Graham, Thomas                             5750 Kenwood Place                                               Riverside              CA        92509                 Litigation        X           Unknown
  Graham, Verna Kate                         8715 Magnolia Ave.- Apt. 111                                     Riverside              CA        92503                 Litigation        X           Unknown
  Grammer, Randel L.                         RTS - 11853 Coolwater Street                                     Adelanto               CA        92301                 Litigation        X           Unknown
  Granados Laborde, Cesar                    267 Cliffhill Place                                              Riverside              CA        92501                 Litigation        X           Unknown
  Granados, Ernie                            27 Arkansas Ave.                                                 Henderson              NV      89015-7312              Litigation        X           Unknown
  Grancagnolo, Edward                        3012 Hyde Park Street                                            Sarasota               FL        34239                 Litigation        X           Unknown
  Grandchamps, Emilie                        553 29th St                                                      Oakland                CA        94609                 Litigation        X           Unknown
  Granier, Vernon                            109 Mimosa Avenue                                                Luling                 LA        70070                 Litigation        X           Unknown
  Granillo, Victor                           6135 Barcelona Avenue                                            Riverside              CA        92509                 Litigation        X           Unknown
  Grant, Angela                              4 River Road #4H                                                 New York               NY        10044                 Litigation        X           Unknown
  Grant, Dortricia                           2293 3rd Ave. Apt. 205                                           New York City          NY        10035                 Litigation        X           Unknown
  Grant, Robert                              P.O. Box 100                                                     State Center           IA        50247                 Litigation        X           Unknown
  Grant, Sarah                               1847 Crimson Court                                               Lithonia               GA        30058                 Litigation        X           Unknown
  Grant, Wilfred                             121 Midshore Drive                                               Hamburg                NY        14219                 Litigation        X           Unknown
  Grassi, Mary                               11124 Mesquite Circle                                            Armona                 CA        93202                 Litigation        X           Unknown



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  Grassi, Mary                               11124 Mesquite Circle                                              Armona                      CA      93202              Litigation        X           Unknown
  Gravatt, Gerald                            767 South Eastshore Drive                                          Sault Sainte Marie          MI      49783              Litigation        X           Unknown
  Graves, Gary                               15039 E Highway 94                                                 Rogers                      AR      72758              Litigation        X           Unknown
  Graves, Lorene J.                          10158 Haddon Ave.                                                  Pacoima                     CA      91331              Litigation        X           Unknown
  Gravunder, Alex                            1106 Virginia Lane                                                 Eau Claire                  WI      54703              Litigation        X           Unknown
  Gray, Ellen                                PO Box 515                                                         Wolfeboro Falls             NH      03896              Litigation        X           Unknown
  Gray, Evelyn                               PO Box 282                                                         Detroit                     MI      48851              Litigation        X           Unknown
  Gray, Marvin                               803 NE 61st Street                                                 Kansas City                 MO      64118              Litigation        X           Unknown
  Grayson- Jr. , Curtis Lanell               6755 Oak Valley Drive                                              Las Vegas                   NV      89103              Litigation        X           Unknown
  Grayson, Mary Jo                           1469 Heirloom Ave.                                                 Perris                      CA      92571              Litigation        X           Unknown
  Graziano, Stefano                          P.O. Box 561                                                       East Islip                  NY      11730              Litigation        X           Unknown
  Green Sr., Percy                           5317 Odell Street                                                  Riverside                   CA      92509              Litigation        X           Unknown
  Green, Annie                               159 Pea Ridge Circle                                               Eatonton                    GA      31024              Litigation        X           Unknown
  Green, Annis                               18600 Alabama Hwy 65                                               Estillfork                  AL      35745              Litigation        X           Unknown
  Green, Catherine                           312 E. Howell Ave.                                                 Alexandria                  VA      22301              Litigation        X           Unknown
  Green, Cynthia Denise                      5730 Lotus Street                                                  Riverside                   CA      92509              Litigation        X           Unknown
  Green, Debra                               5550 Professional Drive Apt 174                                    Wichita Falls               TX      76302              Litigation        X           Unknown
  Green, Frederick                           27 N. 28th St.- #19 A-2                                            Las Vegas                   NV      89101              Litigation        X           Unknown
  Green, Gwendolyn                           16603 E Rippleridge Drive                                          Houston                     TX      77053              Litigation        X           Unknown
  Green, James                               10974 Porto Foxi St                                                Las Vegas                   NV      89141              Litigation        X           Unknown
  Green, Kenneth Mark                        22494 Boating Way                                                  Canyon Lake                 CA      92587              Litigation        X           Unknown
  Green, Kienyla                             364 West Sun View Ave.                                             Palm Springs                CA      92262              Litigation        X           Unknown
  Green, Leo                                 10905 Yale Cove Rd                                                 Leesburg                    FL      34788              Litigation        X           Unknown
  Green, Lydia                               633 Prestonwood Cir                                                Tyler                       TX      75703              Litigation        X           Unknown
  Green, Mark Anthony                        126 Avenida San Diego Apt6                                         San Clemente                CA      92672              Litigation        X           Unknown
  Green, Martha                              1793 Carleton Avenue                                               Bay Shore                   NY      11706              Litigation        X           Unknown
  Green, Myrtel                              826 Phylly Lane                                                    Oak Grove                   LA      71263              Litigation        X           Unknown
  Green, Rosalind                            3300 Neshamimy Blvd Apt 210                                        Bensalem                    PA      19020              Litigation        X           Unknown
  Green, Sandra                              3115 Grant 52                                                      Sheridan                    AR      72150              Litigation        X           Unknown
  Green, Stephan                             1353 Montague St. NW                                               Washington                  DC      20011              Litigation        X           Unknown
  Green, Tamara                              118 Cuyahoga Court                                                 Perris                      CA      92570              Litigation        X           Unknown
  Greenberg, Gail                            189 Boston Post Rd. Unit 111                                       Sudbury                     MA      01776              Litigation        X           Unknown
  Greene, Jack                               4333 Walker Blvd                                                   Knoxville                   TN      37917              Litigation        X           Unknown
  Greene, Patricia                           103 Host and Miller Pl.                                            Piedmont                    SC      29673              Litigation        X           Unknown
  Greenewald, Mildred                        518 Vermont Avenue                                                 Glassport                   PA      15045              Litigation        X           Unknown
  Greenstock, Paul                           PO Box 11                                                          Rockford                    TN      37853              Litigation        X           Unknown
  Greenway, Lois                             2821 N. Acoma Drive                                                Hobbs                       NM      88240              Litigation        X           Unknown
  Greenwell, James                           210 S. 6th Street                                                  Deepwater                   MO      64740              Litigation        X           Unknown
  Greenwood, Shelby                          201 Benbrook                                                       Houston                     TX      77076              Litigation        X           Unknown
  Greer II, Raymond                          PO Box 554                                                         Murfreesboro                AR      71958              Litigation        X           Unknown
  Greer, Douglas                             406 Dorris Road                                                    Portland                    TN      37148              Litigation        X           Unknown
  Greer, Harry                               27214 Barada Avenue                                                Saugus                      CA      93065              Litigation        X           Unknown
  Greer, John                                3410 Brook Glen Dr.                                                Garland                     TX      75004              Litigation        X           Unknown
  Gregg, Johnathon                           1247 Moana Dr                                                      San Diego                   CA      92107              Litigation        X           Unknown
  Gregorowicz, Elizabeth                     6251 Steadman St                                                   Dearborn                    MI      48126              Litigation        X           Unknown
  Gregory, Christian                         4508 Atlantic Ave., Ste. 805                                       Long Beach                  CA      90807              Litigation        X           Unknown
  Gregory, Christopher                       4508 Atlantic Ave., Ste. 805                                       Long Beach                  CA      90807              Litigation        X           Unknown
  Gregory, Crystal                           4508 Atlantic Ave., Ste. 805                                       Long Beach                  CA      90807              Litigation        X           Unknown
  Gregory, Kimberly                          4508 Atlantic Ave., Ste. 805                                       Long Beach                  CA      90807              Litigation        X           Unknown
  Gregory, Mary                              11396 322nd Avenue                                                 Blue Earth                  MN      56013              Litigation        X           Unknown



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  Gregory, Tyrone                            4508 Atlantic Ave., Ste. 805                                      Long Beach              CA      90807              Litigation        X           Unknown
  Gregory, Virginia                          306 Garfield Ave.                                                 Placentia               CA      92870              Litigation        X           Unknown
  Grella, Anthony                            37 Chestnut St                                                    Glen Cove               NY      11542              Litigation        X           Unknown
  Griego, Connie                             9391 California Ave. Space 94                                     Riverside               CA      92503              Litigation        X           Unknown
  Griffey, Renee                             3559 Corby Avenue                                                 Camarillo               CA      93010              Litigation        X           Unknown
  Griffin, Barbara                           11707 Atkinson Ave.                                               Hawthorne               CA      90250              Litigation        X           Unknown
  Griffin, Jason                             2217 Fassio Drive                                                 Charlotte               LA      70043              Litigation        X           Unknown
  Griffin, Julie                             105 Rockledge Drive                                               Gastonia                NC      28052              Litigation        X           Unknown
  Griffin, Lorenzo                           232 SE Sumpter Dr.                                                Lees Summit             MO      64063              Litigation        X           Unknown
  Griffin, Rosalind Taylor                   27255 Via Debra Place                                             Menifee                 CA      92586              Litigation        X           Unknown
  Griffin, Tommy                             PO Box 1413                                                       Gold Beach              OR      97444              Litigation        X           Unknown
  Griffin-Bavone, Susan                      3015 Fox Hill Road                                                Aurora                  IL      60504              Litigation        X           Unknown
  Griffith, Gary                             318 Dunkin St. # 3                                                Mountain View           MO      65548              Litigation        X           Unknown
  Griffith, Phyllis                          2386 Magnolia Ave., #2                                            Long Beach              CA      90806              Litigation        X           Unknown
  Griffiths, Stanley                         18955 SW Blanton Street                                           Aloha                   OR      97007              Litigation        X           Unknown
  Grigg, Jr., Edwin                          2 Diane Dr.                                                       Billerica               MA      01821              Litigation        X           Unknown
  Griggs, Hilton                             248 Lynnfield Street                                              Lynn                    MA      01904              Litigation        X           Unknown
  Grijalva, Lorenzo                          17423 Boulay St.                                                  La Puente               CA      91744              Litigation        X           Unknown
  Grillo- Jr., Alfred John                   669 West L Street                                                 Colton                  CA      92324              Litigation        X           Unknown
  Grillo, Angela Marie                       649 S. K Street                                                   San Bernardino          CA      92410              Litigation        X           Unknown
  Grimes-Bollinger, Ruth                     211 Sharpe Avenue                                                 Kannapolis              NC      28033              Litigation        X           Unknown
  Grimm, Michelle                            66 Rendezvous Court                                               Pagosa Springs          CO      81147              Litigation        X           Unknown
  Grinager, Austin Troy                      2148 Exeter Drive- Suite A                                        Las Vegas               NV      89156              Litigation        X           Unknown
  Grinager, Barbara                          6644 Burling St.                                                  Woodway                 TX      76712              Litigation        X           Unknown
  Grisanti, Nicholas                         158 Carriage Park                                                 West Seneca             NY      14224              Litigation        X           Unknown
  Grisham, Dennis                            106 W. BK 200 Road                                                Stigler                 OK      74462              Litigation        X           Unknown
  Grissett Williams, Deborah                 PO Box 718                                                        Century                 FL      32535              Litigation        X           Unknown
  Grizzell, Candice                          19916 Corby Avenue                                                Lakewood                CA      90715              Litigation        X           Unknown
  Groce, Dean                                24523 Marbella Avenue                                             Carson                  CA      90745              Litigation        X           Unknown
  Groce, Myra                                24523 Marbella Avenue                                             Carson                  CA      90745              Litigation        X           Unknown
  Groninger, Randolph                        2211 34th St. N #6111                                             Texas City              TX      77590              Litigation        X           Unknown
  Groseclose, David                          P.O. Box 1456                                                     Central Islip           NY      11722              Litigation        X           Unknown
  Groves, Bonita                             2147 Hwy 613                                                      Lucedale                MS      39452              Litigation        X           Unknown
  Grubbs, Ernest                             1610 71st Place, S. E.                                            Everett                 WA      98203              Litigation        X           Unknown
  Grube, Suzanne                             9 Pine Grove Lane                                                 Hockessin               DE      19707              Litigation        X           Unknown
  Grumble, Megan                             1825 Bill Lambert                                                 Bear Creek              NC      27207              Litigation        X           Unknown
  Grundy, Dawn                               1314 East 84th Ter                                                Kansas City             MO      64131              Litigation        X           Unknown
  Grussendorf, Donald                        1204 Landon Street                                                Stamford                TX      79553              Litigation        X           Unknown
  Guanajuato, Ramiro                         RTS - 126 Lost Spur Ln.                                           Royse City              TX      75189              Litigation        X           Unknown
  Guengerich, Thomas                         801 S Meadow Lane                                                 Manito                  IL      61546              Litigation        X           Unknown
  Guenther, Regina                           356 Elmwood Rd.                                                   Grand Island            NY      14072              Litigation        X           Unknown
  Guerra, Guadalupe                          4339 Desert View Drive                                            San Antonio             TX      78217              Litigation        X           Unknown
  Guerra, Leyla                              8425 Webb Ave.                                                    Sun Valley              CA      91352              Litigation        X           Unknown
  Guerra, Robert Rolando                     19740 Barton St.                                                  Perris                  CA      92570              Litigation        X           Unknown
  Guerra-Chagolla, Angel                     1071 W Cheshire Street                                            Rialto                  CA      92377              Litigation        X           Unknown
  Guerrero, George                           24736 Ravenna Avenue                                              Carson                  CA      90745              Litigation        X           Unknown
  Guerrero, Joe Samuel                       18132 10th Street                                                 Bloomington             CA      92316              Litigation        X           Unknown
  Guerrero, Noel                             12635 Eastbrook Ave.                                              Downey                  CA      90242              Litigation        X           Unknown
  Guerrero, Socorro G.                       18132 10th Street                                                 Bloomington             CA      92316              Litigation        X           Unknown
  Guerrero, Vienna                           1650 Eudora Ave.                                                  Wilmington              CA      90744              Litigation        X           Unknown



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  Guess, Sharon                              3111 E. Meyer Blvd.                                             Kansas City            MO      64132              Litigation        X           Unknown
  Guevara Jr., Antonio                       24703 Marbella Avenue                                           Carson                 CA      90745              Litigation        X           Unknown
  Guevara, Armando                           377 E 249th Street                                              Carson                 CA      90745              Litigation        X           Unknown
  Guevara, Fabian                            24703 Marbella Avenue                                           Carson                 CA      90745              Litigation        X           Unknown
  Guevara, Josefina                          377 E 249th Street                                              Carson                 CA      90745              Litigation        X           Unknown
  Guglielmi, Ralph                           RTS - 159 Red Berry Dr.                                         Wallace                NC      28466              Litigation        X           Unknown
  Guidone, Sherri                            5425 Glenhill Ave. NE                                           Canton                 OH      44705              Litigation        X           Unknown
  Guidotti, Monica                           6406 Stone Landing Lane                                         Katy                   TX      77449              Litigation        X           Unknown
  Guiles, Daniel                             1629 Elizabeth St. Apt 2A                                       Melbourne              FL      32901              Litigation        X           Unknown
  Guillen , Tania                            319 Little Rock                                                 Cactus                 TX      79013              Litigation        X           Unknown
  Guillen, Angela                            12248 Hermosura St.                                             Norwalk                CA      90650              Litigation        X           Unknown
  Guillen, Arthur                            8504 Chester St.                                                Paramount              CA      90723              Litigation        X           Unknown
  Guillen, Brigette                          8504 Chester St.                                                Paramount              CA      90723              Litigation        X           Unknown
  Guillen, Carmen                            15133 Rancho Centina Road.                                      Paramount              CA      90723              Litigation        X           Unknown
  Guillen, Georgette                         8504 Chester St.                                                Paramount              CA      90723              Litigation        X           Unknown
  Guillen, Guadalupe                         2655 Milton Ave. # 17                                           Fullerton              CA      92831              Litigation        X           Unknown
  Guillen, James                             12248 Hermosura St.                                             Norwalk                CA      90650              Litigation        X           Unknown
  Guillen, Laurie                            15324 Bixler Ave.                                               Paramount              CA      90723              Litigation        X           Unknown
  Guillen, Manuel                            15133 Rancho Centina Rd.                                        Paramount              CA      90723              Litigation        X           Unknown
  Guillen, Mary                              8504 Chester St.                                                Paramount              CA      90723              Litigation        X           Unknown
  Guillen, Robert                            13228 Woodruff Ave. #3                                          Downey                 CA      90242              Litigation        X           Unknown
  Guillen, Sara                              13228 Woodruff Ave. #3                                          Downey                 CA      90242              Litigation        X           Unknown
  Guillen-Aguilar, Deborah                   7906 Jefferson St.                                              Paramount              CA      90723              Litigation        X           Unknown
  Guinn, Velma                               3655 Arora Street                                               Riverside              CA      92509              Litigation        X           Unknown
  Gulbranson (Jankowski), Karlee             P.O. Box 5                                                      Hawthorne              MN      54842              Litigation        X           Unknown
  Gulbranson, Loretta                        511 Minnesota Ave. W.                                           Gilbert                MN      55741              Litigation        X           Unknown
  Gullette, Jacque                           P.O. Box 3733                                                   Clearlake              CA      95422              Litigation        X           Unknown
  Gunder, Brenda                             5221 36th Street                                                Riverside              CA      92509              Litigation        X           Unknown
  Gunder, John                               17 California Ave                                               Milton                 DE      19968              Litigation        X           Unknown
  Gunnell, Gordon                            162 East 1825 North                                             Centerville            UT      84014              Litigation        X           Unknown
  Gunter, Matilda                            10107 S. Morgan St.                                             Chicago                IL      60643              Litigation        X           Unknown
  Gunther, Diane                             2110 N. Underhill St.                                           Peoria                 IL      61604              Litigation        X           Unknown
  Gupilan, Juliet                            1500 E. Wilson Ave #208                                         Glendale               CA      91206              Litigation        X           Unknown
  Gurley, Elizabeth                          1129 CR 2105                                                    Hooks                  TX      75561              Litigation        X           Unknown
  Gurney, Ronald                             1279 E Century Avenue                                           Gilbert                AZ      85296              Litigation        X           Unknown
  Gurr, Tim                                  463 Lochaven Ave.                                               Springfield            OR      97477              Litigation        X           Unknown
  Gurrola, Ariana                            5184 E. Vernon Street                                           Long Beach             CA      90815              Litigation        X           Unknown
  Gurule, Alicia                             5322 Pembroke Crt                                               Antioch                CA      94531              Litigation        X           Unknown
  Gurvitz, S. Ronald                         6739 Woodmere Court                                             Indianapolis           IN      46260              Litigation        X           Unknown
  Gutheridge, Daniel                         W6305 County Road A                                             Johnson Creek          WI      53038              Litigation        X           Unknown
  Gutheridge, Tracie                         W6305 County Road A                                             Johnson Creek          WI      53038              Litigation        X           Unknown
  Guthrie, Tenna                             1441 W. 35th St. South                                          Wichita                KS      67217              Litigation        X           Unknown
  Gutierrez, Alice                           4124 Harris Road                                                Bakersfield            CA      93313              Litigation        X           Unknown
  Gutierrez, Annette                         PO Box 890157                                                   Temecula               CA      92589              Litigation        X           Unknown
  Gutierrez, April                           PO Box 3502                                                     Merced                 CA      95344              Litigation        X           Unknown
  Gutierrez, Christopher                     24423 Marbella Avenue                                           Carson                 CA      90745              Litigation        X           Unknown
  Gutierrez, David                           PO Box 1018                                                     Placentia              CA      92871              Litigation        X           Unknown
  Gutierrez, Elsie                           5062 Shirley Drive                                              La Palma               CA      90623              Litigation        X           Unknown
  Gutierrez, Emilia                          361 E 244th Street                                              Carson                 CA      90745              Litigation        X           Unknown
  Gutierrez, Esther                          19454 El Rivino Road                                            Riverside              CA      92509              Litigation        X           Unknown



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  Gutierrez, Gary                                         28621 Mount Whitney Way                                           Rancho Palos Verdes      CA      90275              Litigation        X           Unknown
  Gutierrez, George Edward                                19454 El Rivino Road                                              Riverside                CA      92509              Litigation        X           Unknown
  Gutierrez, Guadalupe                                    28621 Mount Whitney Way                                           Rancho Palos Verdes      CA      90275              Litigation        X           Unknown
  Gutierrez, Irene                                        240 Versailles Place                                              Riverside                CA      92501              Litigation        X           Unknown
  Gutierrez, Irma A.                                      24423 Marbella Avenue                                             Carson                   CA      90745              Litigation        X           Unknown
  Gutierrez, Irma S.                                      9901 Trailwood Drive- #1096                                       Las Vegas                NV      89134              Litigation        X           Unknown
  Gutierrez, Joseph                                       5721 Magnolia Ave.                                                Yorba Linda              CA      92886              Litigation        X           Unknown
  Gutierrez, Kimberly                                     Post Office Box 890157                                            Temecula                 CA      92589              Litigation        X           Unknown
  Gutierrez, Maria                                        223 Peppertree Way                                                Pittsburg                CA      94565              Litigation        X           Unknown
  Gutierrez, Martin                                       Post Office Box 890157                                            Temecula                 CA      92589              Litigation        X           Unknown
  Gutierrez, Monica                                       1486 N. Poplar Ave.                                               Fresno                   CA      93728              Litigation        X           Unknown
  Gutierrez, Randal Joseph                                218 Dogwood Street                                                Jacksonville             TX      75766              Litigation        X           Unknown
  Gutierrez, Richard                                      24712 Neptune Avenue                                              Carson                   CA      90745              Litigation        X           Unknown
  Gutierrez, Richard C.                                   8412 Gay Street                                                   Cypress                  CA      90630              Litigation        X           Unknown
  Gutierrez, Richard K.                                   361 E 244th Street                                                Carson                   CA      90745              Litigation        X           Unknown
  Gutierrez, Rita                                         12150 Washington Pkwy Apt 6208                                    Thornton                 CO      80241              Litigation        X           Unknown
  Gutierrez, Roberto                                      429 West O Street                                                 Colton                   CA      92324              Litigation        X           Unknown
  Gutierrez, Roberto                                      11502 Promenade Drive                                             Santa Fe Springs         CA      90670              Litigation        X           Unknown
  Gutierrez, Rosalie                                      8402 Cheyenne                                                     Downey                   CA      90242              Litigation        X           Unknown
  Gutierrez, Shannon                                      28621 Mount Whitney Way                                           Rancho Palos Verdes      CA      90275              Litigation        X           Unknown
  Gutierrez, Spencer                                      28621 Mount Whitney Way                                           Rancho Palos Verdes      CA      90275              Litigation        X           Unknown
  Gutierrez, Veronica                                     24712 Neptune Avenue                                              Carson                   CA      90745              Litigation        X           Unknown
  Gutierrez, Yolanda                                      14 Hermosillo St                                                  Brownsville              TX      78526              Litigation        X           Unknown
  Guy, Curtis                                             3679 Halidale Avenue                                              Los Angeles              CA      90018              Litigation        X           Unknown
  Guy, Daniel                                             38 Camden Bypass                                                  Camden                   AL      36726              Litigation        X           Unknown
  Guy, Deborah                                            5022 Kyle Lane                                                    Huntsville               AL      35810              Litigation        X           Unknown
  Guy, Ray                                                418 Sioux Drive                                                   Cleveland                TN      37312              Litigation        X           Unknown
  Guyan, Linda Lee                                        2060 South Date Avenue                                            Bloomington              CA      92316              Litigation        X           Unknown
  Guzman, Arielle                                         13921 Purdin Ave.                                                 Paramount                CA      90723              Litigation        X           Unknown
  Guzman, Christian                                       24602 Marbella Avenue                                             Carson                   CA      90745              Litigation        X           Unknown
  Guzman, Elissa                                          13921 Purdin Ave.                                                 Paramount                CA      90723              Litigation        X           Unknown
  Guzman, Gina                                            1329 Figueroa Pl.- Apt. 7-12                                      Wilmington               CA      90744              Litigation        X           Unknown
  Guzman, Jose                                            10786 Claremont Avenue                                            Bloomington              CA      92316              Litigation        X           Unknown
  Guzman, Laura                                           24824 Seagrove Avenue                                             Wilmington               CA      90744              Litigation        X           Unknown
  Guzman, Linda                                           438 E 249th Street                                                Carson                   CA      90745              Litigation        X           Unknown
  Guzman, Lori                                            1423 McDonald Ave.                                                Wilmington               CA      90744              Litigation        X           Unknown
  Guzman, Luis Alberto                                    10786 Claremont Avenue                                            Bloomington              CA      92316              Litigation        X           Unknown
  Guzman, Nicolas                                         1329 Figueroa Pl.- Apt. 7-12                                      Wilmington               CA      90744              Litigation        X           Unknown
  Gwyther, Tim                                            340 W. 400 N.                                                     Price                    UT      84501              Litigation        X           Unknown
  Ha, De                                                  RTS - PO Box 720861                                               San Diego                CA      92172              Litigation        X           Unknown
  Haak, Billie                                            131 Sabine Dr.                                                    Georgetown               TX      78628              Litigation        X           Unknown
  Haake, Billie                                           5926 Theall Rd                                                    Houston                  TX      77066              Litigation        X           Unknown
  Haas, Patricia B. On behalf of Lindzey Stone            328 McKnight Drive                                                Odessa                   TX      79762              Litigation        X           Unknown
  Habedank, Kara                                          2334 Lockhorn Circle                                              West Bend                WI      53090              Litigation        X           Unknown
  Haber, Alan                                             4321 Fuller Hollow Rd                                             Vestal                   NY      13850              Litigation        X           Unknown
  Haberstro, Phil                                         358 Argonne Drive                                                 Kenmore                  NY      14217              Litigation        X           Unknown
  Hackett, Anna and William                               105 Kaufman Ave.                                                  Tonawanda                NY      14150              Litigation        X           Unknown
  Haddock, Flossie                                        436A Mona Dr.                                                     Hermitage                TN      37076              Litigation        X           Unknown
  Haddock, Michael                                        713 Paul Street                                                   Warner Robbins           GA      30188              Litigation        X           Unknown
  Hadley, Alison                                          7767 J. Bolender Road                                             Felicity                 OH      45120              Litigation        X           Unknown



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  Haehl, Paul                                176 Humbug                                                            Yreka                     CA        96097                 Litigation        X           Unknown
  Hagan, Herbert                             14001 East Marina Dr.                                                 Aurora                    CO        80014                 Litigation        X           Unknown
  Hagans, Helen                              10983 Heathfield Road                                                 Jacksonville              FL        32225                 Litigation        X           Unknown
  Hagee, Gregory                             10 Linden Ave.                                                        Niles                     OH        44446                 Litigation        X           Unknown
  Hagerman, Linda                            4448 Penfield Rd                                                      Toledo                    OH        43612                 Litigation        X           Unknown
  Hahn, John                                 Post Office Box 251                                                   Harrisburg                NC        28075                 Litigation        X           Unknown
  Hahn, Rachael                              234 Oakridge Ave.                                                     Tonawanda                 NY        14150                 Litigation        X           Unknown
  Hahn, Ryan                                 234 Oakridge Ave.                                                     Tonawanda                 NY        14150                 Litigation        X           Unknown
  Haines, James                              N 2652 HWY G                                                          Reeseville                WI        53579                 Litigation        X           Unknown
  Haith, Daphne                              630 W Front Street                                                    Burlington                NC        27215                 Litigation        X           Unknown
  Halabe, Liboria                            PO Box 90622                                                          Long Beach                CA        90809                 Litigation        X           Unknown
  Halcomb, Roy                               414 Gardenia Lane                                                     Waxahachie                TX        75165                 Litigation        X           Unknown
  Hale Jr., Roy Lee                          6770 Olympia Drive                                                    Riverside                 CA        92503                 Litigation        X           Unknown
  Hale, Chris                                327 E. El Sur St.                                                     Monrovia                  CA        91016                 Litigation        X           Unknown
  Hale, Darlene                              101 Borden Court Rd.                                                  Richland                  VA        24641                 Litigation        X           Unknown
  Halebsky, Max                              26666 Vuelta Loma                                                     Capistrano Beach          CA        92624                 Litigation        X           Unknown
  Haley, Frank W.                            4166 Strong Street                                                    Riverside                 CA        92501                 Litigation        X           Unknown
  Hall, Angela                               13950 Spector Rd.                                                     Lithia                    FL        33547                 Litigation        X           Unknown
  Hall, Bertha                               4916 Ajax Court                                                       El Paso                   TX        79924                 Litigation        X           Unknown
  Hall, Bobby                                6901 Cary Hamilton Road Apt E35                                       Theodore                  AL        36582                 Litigation        X           Unknown
  Hall, Brenda                               497 Leaflet Ives Trail                                                Lawrenceville             GA        30045                 Litigation        X           Unknown
  Hall, Eddie                                5234 Russel Thompson Rd.                                              Toomsusa                  MS        39364                 Litigation        X           Unknown
  Hall, Ella                                 19165 Edinborough Rd.                                                 Detroit                   MI        48219                 Litigation        X           Unknown
  Hall, Juretta                              9983 North Dunston                                                    Garrettsville             OH        44231                 Litigation        X           Unknown
  Hall, Kathleen                             6027 Camden Ave                                                       Pennsauken                NJ        08110                 Litigation        X           Unknown
  Hall, Loretta                              PO Box 978                                                            Elkhow                    KY        41522                 Litigation        X           Unknown
  Hall, Mary                                 5850 Hillandale Drive Unit #413                                       Lithonia                  GA        30058                 Litigation        X           Unknown
  Hall, Mary                                 11243 Brownsferry Road                                                Sarah                     MS        38665                 Litigation        X           Unknown
  Hall, Michael                              5412 Hensley Drive                                                    Fort Worth                TX        76134                 Litigation        X           Unknown
  Hall, Nancy                                2001 W. Main Street                                                   Danville                  IL        61832                 Litigation        X           Unknown
  Hall, Valvetta                             265 Frazier Town Road                                                 Havelock                  NC        28532                 Litigation        X           Unknown
  Hall-Morris, Juanita                       13801 Napoli Dr., Apt. 3309                                           Houston                   TX        77070                 Litigation        X           Unknown
  Halversen                                  3319 Scadlock Lane                                                    Sherman oaks              CA        91403                 Litigation        X           Unknown
  Hamann, Raymie                             3800 Roald Amundsen Avenue, Unit B                                    Anchorage                 AK        99517                 Litigation        X           Unknown
  Hambright, Jr., Michael                    3980 San Benito Ave.                                                  San Bernardino            CA        92407                 Litigation        X           Unknown
  Hamby, Thomas                              889 Gordon St.                                                        Stone Mountain            GA        30083                 Litigation        X           Unknown
  Hamby, William                             103 Westmoreland St.                                                  Beckley                   WV        25801                 Litigation        X           Unknown
  Hamideh, Abdul                             19000 Harvard Avenue, Apt 12                                          Irvine                    CA        92612                 Litigation        X           Unknown
  Hamil, Scott                               1919 16th Street SW                                                   Lanett                    AL        36863                 Litigation        X           Unknown
  Hamilton, Abilene                          11354 Kentucky Route 979                                              Teaberry                  KY        41660                 Litigation        X           Unknown
  Hamilton, Jenitha                          1978 Oakview Drive                                                    Fayetteville              NC        28304                 Litigation        X           Unknown
  Hamilton, Laura                            137 E Goodale                                                         Battle Creek              MI        49037                 Litigation        X           Unknown
  Hamilton, Peter                            509 Ruby Drive                                                        Clarksville               TN        37040                 Litigation        X           Unknown
  Hamilton, Shirley                          24522 Panama Avenue                                                   Carson                    CA        90745                 Litigation        X           Unknown
  Hammack, Gregory                           2625 Bottle Treet Drive                                               Palmdale                  CA        93550                 Litigation        X           Unknown
  Hammon, Robert                             P.O. Box 113                                                          Goshen                    KY      40026-0113              Litigation        X           Unknown
  Hammond, Gary                              630 N Webster Street, Apt 206                                         Taylorville               IL        62568                 Litigation        X           Unknown
  Hammond, Rick                              1471 E Hwy 264                                                        Springdale                AR        72764                 Litigation        X           Unknown
  Hamon, Geraldine                           1155 Ash St. Unit 906                                                 Denver                    CO        80220                 Litigation        X           Unknown
  Hamparsumian, Carlos                       2100 N. Verdugo Road                                                  Glendale                  CA        91208                 Litigation        X           Unknown



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  Hamper, Earl                               5816 N. Hazelwood Avenue                                          Baltimore                  MD        21206                 Litigation        X           Unknown
  Hampton, Fannie                            2533 Ramesses ave.                                                Memphis                    TN        38127                 Litigation        X           Unknown
  Hampton, Jacqueline                        15607 Stockbridge Ave.                                            Cleveland                  OH        44128                 Litigation        X           Unknown
  Hampton, Robert                            P.O. Box 5958                                                     Eureka                     CA        95502                 Litigation        X           Unknown
  Hampton, Ruby                              RTS - 1316 Tulip Grove Road                                       Hermitage                  TN        37076                 Litigation        X           Unknown
  Hampton, Vivian C.                         Post Office Box 90396                                             Pasadena                   CA        91109                 Litigation        X           Unknown
  Hance Sr., Warren                          PO BOX 163                                                        Checotah                   OK        74426                 Litigation        X           Unknown
  Hancq, Paul                                P.O. Box 565                                                      Andalusia                  IL        61232                 Litigation        X           Unknown
  Haner, Johnny                              1535 West Irvine Rd.                                              Phoenix                    AZ        85086                 Litigation        X           Unknown
  Hankerson, Pearl                           246 Willow Pond Way                                               Brunswick                  GA        31525                 Litigation        X           Unknown
  Hanks, Wilma                               53 Lynnville Methodist Rd.                                        Sedalia                    KY        42079                 Litigation        X           Unknown
  Hanna, Paul                                PO Box 192                                                        Greenbank                  WA        98253                 Litigation        X           Unknown
  Hanna-Phillips, Barbara                    800 Malibu Bay Dr., Apt. 303                                      West Palm Beach            FL        33401                 Litigation        X           Unknown
  Hansen, Laverne                            455 Second Street                                                 Manistee                   MI        49660                 Litigation        X           Unknown
  Hanson, Genevieve                          66717 155th Avenue                                                Wabasha                    MN        55981                 Litigation        X           Unknown
  Hanson, Kay                                315 S Rodgers Ave.                                                Harrison                   MI      48625-9314              Litigation        X           Unknown
  Hanson, Kevin                              4527 Laurel Ave.                                                  Omaha                      NE        68104                 Litigation        X           Unknown
  Hao, Nenita                                P.O. Box 2882                                                     Los Alamitos               CA        90720                 Litigation        X           Unknown
  Hardeman, Clarence                         6606 Ashland Dr                                                   Austin                     TX        78723                 Litigation        X           Unknown
  Harden, James Daniel                       4137 Campbell Street                                              Riverside                  CA        92509                 Litigation        X           Unknown
  Hardin, Erica                              7570 S. Cordelia Avenue                                           Tucson                     AZ        85746                 Litigation        X           Unknown
  Hardin, James                              5217 St. Germaine Blvd                                            Alexandria                 LA        71303                 Litigation        X           Unknown
  Hardman, Cedrick                           364 Myrtle St.                                                    Laguna Beach               CA        92651                 Litigation        X           Unknown
  Hardridge, Joe                             6802 S. 109 E. Avenue                                             Tulsa                      OK        74133                 Litigation        X           Unknown
  Hardy, Earl                                2374 Fork Church Road                                             Lancaster                  KY        40444                 Litigation        X           Unknown
  Hare, Rickie                               628 Ray Odom Road                                                 Haynesville                LA        71038                 Litigation        X           Unknown
  Harkey, Kenneth                            P.O. Box 282                                                      Seguin                     TX      78156-0282              Litigation        X           Unknown
  Harkins, Christopher                       2306 Ridge Creek Dr.                                              Bloomington                IL      61705-4130              Litigation        X           Unknown
  Harkins, Phillip                           906 Canal St. #519                                                Ottawa                     IL        61350                 Litigation        X           Unknown
  Harkins, Zoe                               PO Box 57                                                         Wedron                     IL      60557-0057              Litigation        X           Unknown
  Harland, Sunshine                          12317 Chattanooga Drive                                           Frisco                     TX        75035                 Litigation        X           Unknown
  Harmon, Georgianana                        1707 W. Lincoln Ave.                                              Peoria                     IL        61605                 Litigation        X           Unknown
  Harmon, Josephine                          218 Watson Ave.                                                   Manteca                    CA        95337                 Litigation        X           Unknown
  Harmon, Jr., Michael                       1423 E. Church Street, Apt 1                                      Greenville                 TN        37745                 Litigation        X           Unknown
  Harper and family, Robin                   263 Young Street #2                                               City of Tonawanda          NY        14150                 Litigation        X           Unknown
  Harper, Bevery                             209 Pamela Dr.                                                    Wynne                      AR        72396                 Litigation        X           Unknown
  Harper, James                              250 Pardue Lane                                                   Mountain City              TN        37683                 Litigation        X           Unknown
  Harper, Vallery                            2301 S. 6th Street                                                Monroe                     LA        71202                 Litigation        X           Unknown
  Harr, Alvis                                600 Bellamy Road                                                  West Portsmouth            OH        45663                 Litigation        X           Unknown
  Harrell, Michael                           236 Boone Drive                                                   Harrogate                  TN        37752                 Litigation        X           Unknown
  Harrier-Kaye, April                        P.O. Box 2455                                                     Elk City                   TX        73648                 Litigation        X           Unknown
  Harrington, Dolores                        207 Evans St.                                                     South Portland             ME        04106                 Litigation        X           Unknown
  Harrington, Kerry                          631 Greyson Road                                                  Rocky Mount                NC        27804                 Litigation        X           Unknown
  Harris, Andre Maurice                      3131 Arlington Ave.- Apt. 147                                     Riverside                  CA        92506                 Litigation        X           Unknown
  Harris, Bennie                             620 Linden Ave                                                    Greenwood                  MS        38930                 Litigation        X           Unknown
  Harris, Bernardo                           904 Highway 54 West                                               Chapel Hill                NC        27516                 Litigation        X           Unknown
  Harris, Betty                              10932 GA Highway 144 NE                                           Surrency                   GA        31563                 Litigation        X           Unknown
  Harris, Bijon                              PO Box 541                                                        Paramount                  CA        90723                 Litigation        X           Unknown
  Harris, Bunny Jo                           4284 Papago Street                                                Riverside                  CA        92509                 Litigation        X           Unknown
  Harris, Carolyn                            1649 Estate Cir                                                   Naperville                 IL        60565                 Litigation        X           Unknown



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  Harris, Courtney                           25399 The Old Road, #18-102                                          Stevenson Ranch           ca        91381                 Litigation        X           Unknown
  Harris, Darryl                             P.O. Box 458                                                         Putney                    GA        31782                 Litigation        X           Unknown
  Harris, David                              1066 River Plantation Drive                                          Woodstock                 GA        30188                 Litigation        X           Unknown
  Harris, Debra                              3430 Mackin Road                                                     Flint                     MI        48504                 Litigation        X           Unknown
  Harris, Edna                               2215 North 52nd Street                                               East Saint Louis          IL        62204                 Litigation        X           Unknown
  Harris, Fannie                             1212 W Jefferson Avenue                                              Greenwood                 MS        38930                 Litigation        X           Unknown
  Harris, Gary                               172 Thomas Spooner Road                                              Attapulgus                GA        39815                 Litigation        X           Unknown
  Harris, Hilda                              1375 Whetstone St.                                                   Bucyrus                   OH        44820                 Litigation        X           Unknown
  Harris, Homer                              108 Pickerel Blvd                                                    Longs                     SC        29568                 Litigation        X           Unknown
  Harris, Janet                              P.O. Box 26                                                          Etoile                    TX        75944                 Litigation        X           Unknown
  Harris, Jerome                             PO Box 1152                                                          Riverside                 CA        92502                 Litigation        X           Unknown
  Harris, Joe                                5417 Hallsboro Rd. North                                             Clarkton                  NC        28433                 Litigation        X           Unknown
  Harris, Juanita                            2721 Rimpau Blvd.                                                    Los Angeles               CA        90016                 Litigation        X           Unknown
  Harris, LaCreasha                          3815 Kirkwood Ave.                                                   Riverside                 CA        92501                 Litigation        X           Unknown
  Harris, Leonard Joe                        11265 Maple Avenue                                                   Bloomington               CA        92316                 Litigation        X           Unknown
  Harris, Mary                               3319 New Monroe Rd.                                                  Bastrop                   LA        71220                 Litigation        X           Unknown
  Harris, Pia L.                             25668 Byron Street                                                   San Bernardino            CA        92404                 Litigation        X           Unknown
  Harris, Raybon                             1467 Spring Green Road                                               Williamston               NC        27892                 Litigation        X           Unknown
  Harris, Rudolph                            34393 Maple Lane                                                     Sterling Heights          MI        48312                 Litigation        X           Unknown
  Harris, Ruth                               17275 15 Mile Road Apt 316                                           Clinton Township          MI        48035                 Litigation        X           Unknown
  Harris, Shaun C.                           2849 Saunders Settlement                                             Sanborn                   NY        14132                 Litigation        X           Unknown
  Harris, Veola                              8989 Mission Blvd. #113                                              Riverside                 CA        92509                 Litigation        X           Unknown
  Harris, Wendy                              863 S Bedford St. # 2                                                Los Angeles               CA        90035                 Litigation        X           Unknown
  Harris, William and Donna                  2849 Sanuders Settlement                                             Sanborn                   NY        14132                 Litigation        X           Unknown
  Harrison II, James                         PO Box 210115                                                        Columbia                  SC        29221                 Litigation        X           Unknown
  Harrison, Alan                             P.O. Box 7832- Oklahoma City- OK 73153                               Maricopa                  AZ        85139                 Litigation        X           Unknown
  Harrison, Bob                              3 Westwind Circle                                                    Stamford                  TX        79553                 Litigation        X           Unknown
  Harrison, Florence                         15815 East 450 Road                                                  Claremore                 OK        74017                 Litigation        X           Unknown
  Harry, Thomas                              2007 Betz Rd. Lot 23C                                                Bellevue                  NE        68005                 Litigation        X           Unknown
  Harshaw, Shantay Marie                     2713 W. Vernon Avenue                                                Los Angeles               CA        90008                 Litigation        X           Unknown
  Hart, Annie L.                             11114 Belhaven St.                                                   Los Angeles               CA        90059                 Litigation        X           Unknown
  Hart, Beverly                              1504 Wild Basin Lane                                                 Cedar Park                TX        78613                 Litigation        X           Unknown
  Hartill, Robert                            355 Casco Road                                                       Brunswick                 ME        04011                 Litigation        X           Unknown
  Hartman, Jr., John                         4109 Davis Drive                                                     Morrisville               PA        19067                 Litigation        X           Unknown
  Harvey Hicks, Jeremiah                     1450 Locust Ave. # 210                                               Long Beach                CA        90813                 Litigation        X           Unknown
  Harvey, Albert                             1533 SW 81st Street                                                  Oklahoma City             OK        73159                 Litigation        X           Unknown
  Harvey, Charles                            79 Leete Street                                                      West Haven                CT        06516                 Litigation        X           Unknown
  Harvey, David                              5504 NW 111th St.                                                    Oklahoma City             OK        73162                 Litigation        X           Unknown
  Harvey, Deborah                            148 Golf Course Road                                                 Winnsbord                 SC        29180                 Litigation        X           Unknown
  Harvey, JoAnn                              P.O. Box 921                                                         El Dorado                 CA        95623                 Litigation        X           Unknown
  Harvey, Justice                            RTS - 6661 Silver Stream Ave., Apt 1011                              Las Vegas                 NV        89107                 Litigation        X           Unknown
  Harvey, Laquita                            1450 LOCUST AVE APT 210                                              LONG BEACH                CA      90813-5628              Litigation        X           Unknown
  Harvey, Mark Matthew                       P.O. Box 2528                                                        Crestline                 CA        92325                 Litigation        X           Unknown
  Harvey, Mattie                             836 Bolivar St.                                                      Greenville                MS      38701-5953              Litigation        X           Unknown
  Harvey, Michael Joseph                     P.O. Box 2528                                                        Crestline                 CA        92325                 Litigation        X           Unknown
  Harvey, Todd                               PO Box 16762                                                         Salt Lake City            UT        84116                 Litigation        X           Unknown
  Harvey, Tyrone                             5523 N 58th St.                                                      Milwaukee                 WI        53218                 Litigation        X           Unknown
  Harvey, Victoria Lynn                      P.O. Box 2528                                                        Crestline                 CA        92325                 Litigation        X           Unknown
  Harvey, Willie                             252 San Michael Dr.                                                  Fort Valley               GA        31030                 Litigation        X           Unknown
  Harville, Terri                            3004 Clearmeadow Drive                                               Mesquite                  TX        75181                 Litigation        X           Unknown



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  Harvis, Steven                                      9 Deer Hill Lane                                                   Briarcliff Manor         NY      10510              Litigation        X           Unknown
  Harwood, Mark                                       148 Sir-Damas                                                      Riverside                CA      92507              Litigation        X           Unknown
  Harwood, Robert                                     148 Sir Damas Dr.                                                  Riverside                CA      92507              Litigation        X           Unknown
  Hasfal, Esther                                      2409 Dabney Ct.                                                    Virginia Beach           VA      23456              Litigation        X           Unknown
  Hashman, Virginia                                   1516 Ringfield Drive                                               Galloway                 OH      43119              Litigation        X           Unknown
  Haskins, Leo                                        779 C. R. 2225                                                     Douglassville            TX      75560              Litigation        X           Unknown
  Haskins, Maria                                      1305 Crosstown Ave.                                                Silvis                   IL      61282              Litigation        X           Unknown
  Hassey, Robert                                      17 Bowen Avenue                                                    Egg Harbor Township      NJ      08234              Litigation        X           Unknown
  Hastings, Pat                                       17195 SW Division St                                               Aloha                    OR      97007              Litigation        X           Unknown
  Hatch, Joyce                                        P.O. Box 270353                                                    Flower Mound             TX      75027              Litigation        X           Unknown
  Hatch, Justin                                       3611 I Street NE Unit 141                                          Auburn                   WA      98002              Litigation        X           Unknown
  Hatcher , Amelia                                    1505 El Mirador Dr                                                 Pasadena                 CA      91103              Litigation        X           Unknown
  Hatcher, Anna                                       P. O. BOX 82                                                       Huntley                  WY      82218              Litigation        X           Unknown
  Hatchette, Matthew                                  6800 Corbin Ave. #309                                              Reseda                   CA      91335              Litigation        X           Unknown
  Hathaway, Georgia                                   305 North Maude Drive East                                         Rossville                IN      46065              Litigation        X           Unknown
  Hathorn, Harry                                      PO Box 1650                                                        Philadelphia             MS      39350              Litigation        X           Unknown
  Hauke, Barbara                                      17608 West Lisbon Ln.                                              Surprise                 AZ      85388              Litigation        X           Unknown
  Hausrath and family, Jodi and Robert                127 Presidents Place                                               Williamsville            NY      14221              Litigation        X           Unknown
  Havlovick, Annette                                  2701 Forest Drive # 116                                            Plover                   WI      54467              Litigation        X           Unknown
  Hawkins, Climon                                     3015 ½ Kenwood Ave                                                 Los Angeles              CA      90007              Litigation        X           Unknown
  Hawkins, Jean                                       2020 Wedgewood Rd. Apt. A                                          Vestavia                 AL      35216              Litigation        X           Unknown
  Hawkins, LaTonya                                    237 E. 64th St.                                                    Los Angeles              CA      90003              Litigation        X           Unknown
  Hawkins, Lillie                        0            833 W Pratt St, # 205                                            0 Baltimore                MD      21201              Litigation        X           Unknown
  Hawkins, Phillip                                    405 E. 5th St                                                      Mt Vernon                IN      47620              Litigation        X           Unknown
  Hawkins, Randy                                      10848 Dumond Avenue                                                Bloomington              CA      92316              Litigation        X           Unknown
  Hawkins, Rita                                       452 N. Cholla Ln.                                                  Mesa                     AZ      85201              Litigation        X           Unknown
  Hawley, Winston                                     10005 Tracy Road                                                   Atoka                    TN      38004              Litigation        X           Unknown
  Hawthorn, Catherine                                 4294 County Road, 106 North                                        Overton                  TX      75684              Litigation        X           Unknown
  Haycock, Thomas                                     5416 Julie Street                                                  Bakersfield              CA      93313              Litigation        X           Unknown
  Haycraft, Pamela                                    6962 W. Heritage W                                                 Florence                 AZ      85132              Litigation        X           Unknown
  Hayes III, William M.                               34 Gunnell Avenue                                                  Buffalo                  NY      14218              Litigation        X           Unknown
  Hayes, Barbara                                      534 Tibbetts Town Rd                                               Columbia Falls           ME      04623              Litigation        X           Unknown
  Hayes, Chandell                                     23762 Dove Road                                                    Seaford                  DE      19973              Litigation        X           Unknown
  Hayes, Dennis                                       3906 Heavenly Way                                                  Louisville               KY      40272              Litigation        X           Unknown
  Hayes, Karen                                        1312 17th Ave, Unit A                                              Council Bluffs           IA      51501              Litigation        X           Unknown
  Hayes, Nancy                                        107 Fairway Lane                                                   Yorktown                 VA      23693              Litigation        X           Unknown
  Hayhoe II, William "Bill"                           6025 Axis Drive                                                    Sparks                   NV      89436              Litigation        X           Unknown
  Haylow, Exie                                        1717 Grove Point Road Lot 10                                       Savannah                 GA      31419              Litigation        X           Unknown
  Haymer, Vickie                                      52 Elm St, Apt A                                                   Battle Creek             MI      49017              Litigation        X           Unknown
  Haynes, Carroll                                     7403 Horsetail Lane                                                San Antonio              TX      78240              Litigation        X           Unknown
  Haynes, Janet                                       4606 Glenway Avenue                                                Cincinnati               OH      45238              Litigation        X           Unknown
  Haynes, Mildred                                     1516 Carlisle Dr. East                                             Mobile                   AL      36618              Litigation        X           Unknown
  Haynes, Ronald                                      2171 Peachtree Road                                                Atlanta                  GA      30309              Litigation        X           Unknown
  Haywood, Irene Elizabeth                            160 S. Eucalyptus Space 68                                         Rialto                   CA      92376              Litigation        X           Unknown
  Hazelgrove, Jodi                                    336 West Michigan St.                                              Clayton                  IN      46118              Litigation        X           Unknown
  Hazelton, Linden                                    110 Charles St.                                                    Newport                  NC      28570              Litigation        X           Unknown
  Head, David                                         119 Cedar Street                                                   Richwood                 TX      77531              Litigation        X           Unknown
  Head, Shauna                                        695 A N. Main Street                                               Russelville              KY      42276              Litigation        X           Unknown
  Head, Sr., Clyde                                    2016 Wisconsin Ave                                                 Beloit                   WI      53511              Litigation        X           Unknown
  Heaney, Emma                                        93 Monroe Street                                                   Franklin Square          NY      11010              Litigation        X           Unknown



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                                                                                                                                                                    Claim       Unliquidated

  Hearn, Clifford                            24912 Neptune Avenue                                              Carson                   CA      90745              Litigation        X           Unknown
  Hearn, John                                24912 Neptune Avenue                                              Carson                   CA      90745              Litigation        X           Unknown
  Hearn, Marsha                              24912 Neptune Avenue                                              Carson                   CA      90745              Litigation        X           Unknown
  Hearst, James                              400 Abbott St.                                                    Greenwood                SC      29646              Litigation        X           Unknown
  Hearst, Patricia Ann                       13393 Mariposa Rd. Space 212                                      Victorville              CA      92395              Litigation        X           Unknown
  Heasley, Kenneth                           415 North Broadway Avenue                                         Miller                   SD      57362              Litigation        X           Unknown
  Heath, Dan                                 1108 N Throckmorton Street                                        Sherman                  TX      75090              Litigation        X           Unknown
  Heath, Viola                               68B Paul Revere Drive                                             Feeding Hills            MA      01030              Litigation        X           Unknown
  Heathcote, Irvin                           801 Fox Hills Drive                                               Sun City Center          FL      33573              Litigation        X           Unknown
  Heaton, James                              2804 Sparrow Drive                                                Clarksville              TN      37040              Litigation        X           Unknown
  Heaton, Jr., Homer                         209 S 11TH STreet                                                 Herrington               KS      67449              Litigation        X           Unknown
  Hebert, Kyries                             137 Lee Rd.                                                       Eunice                   LA      70535              Litigation        X           Unknown
  Heckman, Pat                               413 Hawkins Road                                                  Winlock                  WA      98596              Litigation        X           Unknown
  Hedges, Wanda                              742 S Cullen Ave                                                  Evansville               IN      47715              Litigation        X           Unknown
  Heffley, Robert                            P.O. Box 40                                                       Porum                    OK      74455              Litigation        X           Unknown
  Hegarty, Mary                              10561 E. 38TH St.                                                 Yuma                     AZ      85365              Litigation        X           Unknown
  Hegyi, Julius                              1077 West Saffron Street                                          Hanford                  CA      93230              Litigation        X           Unknown
  Heider, Heather                            16956 Estoril St                                                  Chino Hills              CA      91709              Litigation        X           Unknown
  Heil, Anamaria                             16441 Devonshire Street                                           Granada Hills            CA      91344              Litigation        X           Unknown
  Heil, Dan                                  11100 Caviolle Avenue                                             Porter Ranch             CA      91326              Litigation        X           Unknown
  Heim, Michael                              12209 Franklin Circle                                             Omaha                    NE      68154              Litigation        X           Unknown
  Heimback, John M.                          121 Presidents Walk                                               Williamsville            NY      14221              Litigation        X           Unknown
  Heimback-Murdie, Catherine                 46 Manning Rd.                                                    Amherst                  NY      14226              Litigation        X           Unknown
  Heinderman, Victor                         115 North Burke St.                                               Beeville                 TX      78102              Litigation        X           Unknown
  Heinzen, Margery                           719 4th Ave. N.E. Apt 104                                         Garrison                 ND      58540              Litigation        X           Unknown
  Heitsman, Marcia C.                        4403 228th Street Apartment E                                     Spanaway                 WA      98387              Litigation        X           Unknown
  Heitsman, Terry                            4403 228th Street Apartment E                                     Spanaway                 WA      98387              Litigation        X           Unknown
  Heitz, Jean                                20546 Tonga Ct                                                    Estero                   FL      33928              Litigation        X           Unknown
  Held, Patricia                             11810 Taylor Mill Road                                            Independence             KY      41051              Litigation        X           Unknown
  Helem, Michael                             6147 Old York Road                                                Philadelphia             PA      19141              Litigation        X           Unknown
  Helguera, Jose                             3055 Suxe Lane                                                    Los Angeles              CA      90023              Litigation        X           Unknown
  Hellerer, Nancy L.                         446 Adam St.                                                      Tonawanda                NY      14150              Litigation        X           Unknown
  Hellner, Noga                              11100 Acama St. Unit 18                                           Studio City              CA      91602              Litigation        X           Unknown
  Helmke, Lloyd                              7151 Gardner Road                                                 San Antonio              TX      78263              Litigation        X           Unknown
  Helmy, Amro                                319 Elm Street, Apt. 2.                                           Kearny                   NJ      07032              Litigation        X           Unknown
  Helton, Mitsuko                            1531 East Maple street, Unit D                                    Glendale                 CA      91205              Litigation        X           Unknown
  Hembree, Alma                              239 Old Vasper Road                                               Caryville                TN      37714              Litigation        X           Unknown
  Hemphill, III, George                      1415 Monterra Point                                               Fresno                   TX      77545              Litigation        X           Unknown
  Hemphill, Ruby                             P.O. Box 2082                                                     Tuscaloosa               AL      35403              Litigation        X           Unknown
  Hemstreet, Richard                         946 10 Mile Road NW                                               Sparta                   MI      49345              Litigation        X           Unknown
  Henderson Jr, Alton                        725 West Thornton Ave.- Sp. 49                                    Hemet                    CA      92543              Litigation        X           Unknown
  Henderson, Anthony                         7108 S 70th Drive                                                 Laveen                   AZ      85339              Litigation        X           Unknown
  Henderson, John W.                         12402 Admiralty Way, #B107                                        Everett                  WA      98204              Litigation        X           Unknown
  Henderson, Natasha                         6315 Carlo Dr.                                                    Riverside                CA      92506              Litigation        X           Unknown
  Henderson, Truman                          3428 Salacoa Road                                                 Waleska                  GA      30183              Litigation        X           Unknown
  Hendrix, Beverly                           3207 E 2nd Courrt                                                 Panama City              FL      32401              Litigation        X           Unknown
  Hendrix, Jr., Bill                         1505 Highway 618                                                  Winnsboro                LA      71295              Litigation        X           Unknown
  Hendrix, Sarah                             2233 E. 151st Street, Apt. 1                                      Carmel                   IN      46033              Litigation        X           Unknown
  Hendry, Justina Juda                       2724 Evelyn Ave                                                   Rosemead                 CA      91770              Litigation        X           Unknown
  Henel, Alice                               47 Dorset Dr.                                                     Tonawanda                NY      14223              Litigation        X           Unknown



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  Henel, Arlene                              47 Dorset Dr.                                                       Tonawanda                 NY        14223                 Litigation        X           Unknown
  Henneman, Barbara                          298 Wadsworth Ave.                                                  Tonawanda                 NY        14150                 Litigation        X           Unknown
  Henry, Arneta                              PO Box 364                                                          Wilmington                DE      19899-0364              Litigation        X           Unknown
  Henry, Arthur                              3320 Haines Rd.                                                     Attica                    MI        48412                 Litigation        X           Unknown
  Henry, Cynthia                             13014 Arapaho Rd                                                    Rancho Cucamonga          CA        91739                 Litigation        X           Unknown
  Henry, Cynthia                             P.O. Box 194                                                        Olivehurst                CA        95961                 Litigation        X           Unknown
  Henry, Daryl                               9119 Hwy 6 #230 Box 219                                             Missouri City             TX        77459                 Litigation        X           Unknown
  Henry, Donald                              790 North First Avenue                                              Upland                    CA        91736                 Litigation        X           Unknown
  Henry, Kelly                               700 West Bryn Mawr Avenue, Suite 300                                Chicago                   IL        60631                 Litigation        X           Unknown
  Henry, Kurt                                6109 San Joaquin Plaza                                              Newport Beach             CA        92660                 Litigation        X           Unknown
  Henry, Lori                                6109 San Joaquin Plaza                                              Newport Beach             CA        92660                 Litigation        X           Unknown
  Henry, Maureen                             34 Lewis Street                                                     Worcester                 MA        01610                 Litigation        X           Unknown
  Henry, Raymond and Linda                   22 James Ave.                                                       Tonawanda                 NY        14150                 Litigation        X           Unknown
  Henry, Virginia                            8811 Park St. Spc. 80                                               Bellflower                CA        90706                 Litigation        X           Unknown
  Hensley, Paul                              136 Day Road                                                        Smilax                    KY        41764                 Litigation        X           Unknown
  Henson, Pamela                             24416 S Ravenna Avenue                                              Carson                    CA        90745                 Litigation        X           Unknown
  Henson, Shelley                            30790 North 2nd Street                                              Cowlington                OK        74941                 Litigation        X           Unknown
  Hepner, Willard                            2860 West 4570 South Apt 285                                        Salt Lake City            UT        84119                 Litigation        X           Unknown
  Herberger, Caroline                        31 Westgate Avenue Apt 205                                          Akron                     NY        14001                 Litigation        X           Unknown
  Herbert, Janice                            2290 Darby St.                                                      San Bernardino            CA        92407                 Litigation        X           Unknown
  Herbig, Jr., Charles                       4025 NW 72 Ave                                                      Coral Springs             FL        33065                 Litigation        X           Unknown
  Herby, Marilyn                             25 Barton Ct., Apt. 4                                               Kenmore                   NY        14217                 Litigation        X           Unknown
  Herd, Maida                                14431 W. Sedona Drive                                               Boise                     ID        83713                 Litigation        X           Unknown
  Herkal, Sherry                             450 Harding Road                                                    Yuba City                 CA        95993                 Litigation        X           Unknown
  Herman IV, Robert                          1641 N Neptune Avenue                                               Wilmington                CA        90744                 Litigation        X           Unknown
  Hernandez, Adriana                         2990 Avalon Street                                                  Riverside                 CA        92509                 Litigation        X           Unknown
  Hernandez, Almadelia                       22877 Bryman Road                                                   Oro Grande                CA        92368                 Litigation        X           Unknown
  Hernandez, Annie                           2990 Avalon Street                                                  Riverside                 CA        92509                 Litigation        X           Unknown
  Hernandez, Anthony                         36340 94th East                                                     Littlerock                CA        93543                 Litigation        X           Unknown
  Hernandez, Arnulfo                         12506 Sunny Vista Ave                                               Victorville               CA        92395                 Litigation        X           Unknown
  Hernandez, Benjamin                        2990 Avalon Street                                                  Riverside                 CA        92509                 Litigation        X           Unknown
  Hernandez, Cesar M.                        10701 Cedar Avenue- Space #35                                       Wilmington                CA        92316                 Litigation        X           Unknown
  Hernandez, Christian                       444 E 248th Street                                                  Carson                    CA        90745                 Litigation        X           Unknown
  Hernandez, Elizabeth                       10701 Cedar Avenue- Space #35                                       Bloomington               CA        92316                 Litigation        X           Unknown
  Hernandez, Fredrico                        1710 Elm Circle, G-42                                               Gallup                    NM        87301                 Litigation        X           Unknown
  Hernandez, Heribertha                      PO Box 174                                                          Donna                     TX        78537                 Litigation        X           Unknown
  Hernandez, John                            307 Tilbury Lane                                                    Austin                    TX        78745                 Litigation        X           Unknown
  Hernandez, Jose                            2810 Huntington St, #11                                             Huntington Beach          CA        92648                 Litigation        X           Unknown
  Hernandez, Jose Isabel                     4465 Pearl Street                                                   Denver                    CO        80216                 Litigation        X           Unknown
  Hernandez, Josefina                        27604 Firebrand Dr.                                                 Castaic                   CA        91384                 Litigation        X           Unknown
  Hernandez, Juan Ramon Fuentes              13052 Point Reyes Place                                             Cerritos                  CA        90703                 Litigation        X           Unknown
  Hernandez, Juanita                         1323 N. Broadway Avenue                                             Tyler                     TX        75702                 Litigation        X           Unknown
  Hernandez, Linda                           8187 Palmetto Ave.- Apt. 126                                        Fontana                   CA        92335                 Litigation        X           Unknown
  Hernandez, Maria E                         18285 11th Street                                                   Bloomington               CA        92316                 Litigation        X           Unknown
  Hernandez, Maria Elia                      10701 Cedar Ave.- space 35                                          Bloomington               CA        92316                 Litigation        X           Unknown
  Hernandez, Maria G.                        4465 Pearl St.                                                      Denver                    CO        80216                 Litigation        X           Unknown
  Hernandez, Marla                           2392 Servando Ave., Apt 142                                         San Diego                 CA        92154                 Litigation        X           Unknown
  Hernandez, Mary                            1378 North Christobal Lane                                          Colton                    CA        92324                 Litigation        X           Unknown
  Hernandez, Michael Anthony                 2990 Avalon Street                                                  Riverside                 CA        92509                 Litigation        X           Unknown
  Hernandez, Modesta A.                      18823 14th Street                                                   Bloomington               CA        92316                 Litigation        X           Unknown



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  Hernandez, Modesto                         1062 West 11th Street                                                Pomona                   CA        91766                 Litigation        X           Unknown
  Hernandez, Monica Cecilia                  3076 Avalon Street                                                   Riverside                CA        92509                 Litigation        X           Unknown
  Hernandez, Nelma                           21815 Neptune Avenue                                                 Carson                   CA        90745                 Litigation        X           Unknown
  Hernandez, Ramiro                          3076 Avalon Street                                                   Riverside                CA        92509                 Litigation        X           Unknown
  Hernandez, Roseanne Ramos                  2990 Avalon Street                                                   Riverside                CA        92509                 Litigation        X           Unknown
  Hernandez, Yvonne Renee                    3956 Driving Range Road                                              Riverside                CA        92509                 Litigation        X           Unknown
  Herndon, Cyrus                             1980 E. 68th Street, Apt B                                           Long Beach               CA        90805                 Litigation        X           Unknown
  Herndon, William                           1980 E. 68th Street, Apt B                                           Long Beach               CA        90805                 Litigation        X           Unknown
  Herrera II, Victor M.                      22792 Sunflower Street                                               Oro Grande               CA        92368                 Litigation        X           Unknown
  Herrera III, Victor M.                     9006 SVL Box                                                         Victorville              CA        92395                 Litigation        X           Unknown
  Herrera, Amalia                            22792 Sunflower Street                                               Oro Grande               CA        92368                 Litigation        X           Unknown
  Herrera, Anaiz                             1145 S. Burlington Ave                                               Los angeles              CA        90006                 Litigation        X           Unknown
  Herrera, Elizabeth Yvonne                  11797 Maywood Street                                                 Adelanto                 CA        92301                 Litigation        X           Unknown
  Herrera, Gilbert                           PO. BOX 444                                                          Victorville              CA        92395                 Litigation        X           Unknown
  Herrera, Janet Renee                       1607 S.E. Giles Street                                               Roseburg                 OR        97470                 Litigation        X           Unknown
  Herrera, Michael B.                        22792 Sunflower Street                                               Oro Grande               CA        92368                 Litigation        X           Unknown
  Herrera, Roland                            12133 Rockcrest Road, Apt 20                                         Lakeside                 CA        92040                 Litigation        X           Unknown
  Herrera, Terry Ann                         8458 Penny Drive                                                     Riverside                CA        92503                 Litigation        X           Unknown
  Herrero, Arlene                            24817 Island Avenue                                                  Carson                   CA        90745                 Litigation        X           Unknown
  Herrero, Vito                              21746 Grace Ave.                                                     Carson                   CA        90745                 Litigation        X           Unknown
  Herring, Dorothy                           2601 Duncan Chapel Rd., Apt 101-E                                    Greenville               SC        29617                 Litigation        X           Unknown
  Herring, Kenneth                           17455 Marygold- Space #85                                            Bloomington              CA        92316                 Litigation        X           Unknown
  Herth, Courtney                            17151 Athol Street                                                   Fontana                  CA        92335                 Litigation        X           Unknown
  Herzog, James                              805 West Fox Hound Chase                                             Glen Mills               PA        19342                 Litigation        X           Unknown
  Hester, Dwight                             650 Tamarack Ave, #3801                                              Brea                     CA        92821                 Litigation        X           Unknown
  Heyderman, Mark                            88 Pine View Lane                                                    Coram                    NY        11727                 Litigation        X           Unknown
  Heywood, William                           6528 Peridot Ave.                                                    Alta Loma                CA        91701                 Litigation        X           Unknown
  Hezekiah, Jeannette                        979 East 54th St.                                                    Brooklyn                 NY        11234                 Litigation        X           Unknown
  Hiatt, Cecil                               149 Old Hwy 84 East                                                  Laurel                   MS        39443                 Litigation        X           Unknown
  Hiatt, Tresa                               5762 Pasco Road                                                      Marsing                  ID        83639                 Litigation        X           Unknown
  Hibbert, Clifton                           PO Box 881687                                                        Los Angeles              CA      90009-3008              Litigation        X           Unknown
  Hibbert, Deborah                           6501 Vegas Dr.- Apt. 2081                                            Las Vegas                NV        89108                 Litigation        X           Unknown
  Hickey, Lori                               81 Younglone Avenue                                                  Cohoes                   NY        12047                 Litigation        X           Unknown
  Hickey, Ronald                             1719 S Pearl                                                         Independence             MO        64055                 Litigation        X           Unknown
  Hickey, Valerie                            75 South Ave.                                                        Avon                     NY        14414                 Litigation        X           Unknown
  Hicklen, Gladys                            34562 Bock St                                                        Westland                 MI        48185                 Litigation        X           Unknown
  Hickman, Brenda                            719 Cass Ave                                                         Grand Rapids             MI        49503                 Litigation        X           Unknown
  Hickok, Steve                              P.O. Box 469                                                         Shandon                  CA        93461                 Litigation        X           Unknown
  Hicks, Bennie                              2203 Hurt Drive                                                      Rocky Mount              NC        27803                 Litigation        X           Unknown
  Hicks, Frederick                           3646 Fleming Drive                                                   Macon                    GA      31217-6317              Litigation        X           Unknown
  Hicks, Jamar Myron                         6210 45th Street                                                     Riverside                CA        92509                 Litigation        X           Unknown
  Hicks, Roy Martin                          11009 Villa Street                                                   Adelanto                 CA        92301                 Litigation        X           Unknown
  Hicks, Shannon Caleen                      Post Office Box 3171                                                 Helendale                CA        92342                 Litigation        X           Unknown
  Hicks, Sharon                              114 Kraft Ave                                                        Panama City              FL        32401                 Litigation        X           Unknown
  Hickson, Susan                             3840 Cravath Drive                                                   Nashville                TN        37207                 Litigation        X           Unknown
  Hidalgo, Ana                               8217 Ackley St.                                                      Paramount                CA        90723                 Litigation        X           Unknown
  Hiebert, Robert                            2286 Patterson Creek Road                                            Anderson                 MO        64831                 Litigation        X           Unknown
  Higgins, Michael K.                        1358 Daneglo Drive                                                   North Tonawanda          NY        14120                 Litigation        X           Unknown
  Higgins, Milton                            PO Box 675                                                           Katy                     TX        77492                 Litigation        X           Unknown
  Higginson, Beverly                         216 Cliffhill Pl                                                     Riverside                CA        92501                 Litigation        X           Unknown



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  Hill, Aaron                                4850 E. Pine Ave.                                                 Fresno                         CA        93727                 Litigation        X           Unknown
  Hill, Audrey                               3624 Jody Nelson Drive Apt G14                                    Gullport                       MS        39507                 Litigation        X           Unknown
  Hill, Barbara                              1002 Jicarilla                                                    Hobbs                          NM        88240                 Litigation        X           Unknown
  Hill, Brandi                               7303 Exeter St Unit 203                                           Paramount                      CA        90723                 Litigation        X           Unknown
  Hill, C.J.                                 836 W. 75th St., #2                                               Los Angeles                    CA        90044                 Litigation        X           Unknown
  Hill, Carolyn                              P.O. Box 332                                                      Purcell                        MO        64857                 Litigation        X           Unknown
  Hill, Dennis                               4408 Rist Canyon Road                                             Laporte                        CO        80535                 Litigation        X           Unknown
  Hill, Dorothy                              2045 W. Jackson Blvd. Apt. 409                                    Chicago                         IL       60612                 Litigation        X           Unknown
  Hill, Edith                                210 Higland Ave.                                                  West Haven                     CT        06516                 Litigation        X           Unknown
  Hill, Farrah                               6617 Atha Drive                                                   Dallas                         TX        75217                 Litigation        X           Unknown
  Hill, Helene                               1403 Townview Ave                                                 Santa Rosa                     CA        95405                 Litigation        X           Unknown
  Hill, Jacob                                1041 Bloomwood Rd                                                 San Pedro                      CA        90731                 Litigation        X           Unknown
  Hill, Jimmy                                3308 SE 89th St. #209                                             Oklahoma City                  OK        73135                 Litigation        X           Unknown
  Hill, Lizzie                               627 W. 92nd Street                                                Los Angeles                    CA        90044                 Litigation        X           Unknown
  Hill, Mary                                 8213 Bluff Rd.                                                    Gadsden                        SC        29052                 Litigation        X           Unknown
  Hill, Michael                              540 Wier Rd. Apt. 130                                             San Bernardino                 CA        92408                 Litigation        X           Unknown
  Hill, Peggy                                12866 Weidner Street                                              Pacoima                        CA        91331                 Litigation        X           Unknown
  Hill, Rhonda                               14 Young Ave.                                                     Norton                         MA        02766                 Litigation        X           Unknown
  Hill, Robert                               2108 Heyward Brockington Road                                     Columbia                       SC        29203                 Litigation        X           Unknown
  Hill, Vicki Marie                          15252 Seneca Rd.- Space 43                                        Victorville                    CA        92392                 Litigation        X           Unknown
  Hill, Victor                               9212 Purfoy Road                                                  Fuquay Varina                  NC        27526                 Litigation        X           Unknown
  Hill, Vincent                              3560 Canyon Ridge Drive                                           Altadena                       CA        91001                 Litigation        X           Unknown
  Hillesland Jr., Bryon Douglas              7828 Sancola ave                                                  Sun Valley                     CA        91352                 Litigation        X           Unknown
  Hillian, Leatha                            2400 Creek Court                                                  Matthews                       NC        28105                 Litigation        X           Unknown
  Hillin, Kathy                              7761 FM-14th Trailer 8                                            Tyler                          TX        75706                 Litigation        X           Unknown
  Hillis, Joan                               HC 1 Box 11                                                       Williamsville                  MO        63967                 Litigation        X           Unknown
  Hilpert, Nancy Ann                         4354 Beechwood Place                                              Riverside                      CA        92506                 Litigation        X           Unknown
  Hilsinger, William                         306 8th Street                                                    Sergeant Bluff                 IA        51054                 Litigation        X           Unknown
  Hilvar, Joseph                             315 Spruce Street, Apt. 2                                         Alexandria                     MN        56308                 Litigation        X           Unknown
  Hinchen, Archie                            45425 17th Street East                                            Lancaster                      CA        93539                 Litigation        X           Unknown
  Hinds, Lynette                             825 Morrison Ave. #14E                                            Bronx                          NY        10473                 Litigation        X           Unknown
  Hines, Anita                               112 Home Ave.                                                     Celina                         OH        45822                 Litigation        X           Unknown
  Hines, Delores                             165 Alan Dr #6                                                    Newport News                   VA        23602                 Litigation        X           Unknown
  Hines, Juanita                             405 N 28th Street                                                 Louisville                     KY        40212                 Litigation        X           Unknown
  Hinojos, Luzelia                           3110 E County Rd 144                                              Midland                        TX        79706                 Litigation        X           Unknown
  Hinojosa, Abel                             23029 Cragon Road                                                 Harlingen                      TX        78552                 Litigation        X           Unknown
  Hinshilwood, Don                           40 Encanto Drive                                                  Rolling Hills Estates          CA        90274                 Litigation        X           Unknown
  Hinshilwood, Gliceria                      40 Encanto Drive                                                  Rolling Hills Estates          CA        90274                 Litigation        X           Unknown
  Hinshilwood, Joy                           40 Encanto Drive                                                  Rolling Hills Estates          CA        90274                 Litigation        X           Unknown
  Hinze, Donald                              North 2232 Cleghorn Road                                          Waupaca                        WI        54981                 Litigation        X           Unknown
  Hirsch, Maria                              12110 Manor Dr.                                                   Hawthorne                      CA        90250                 Litigation        X           Unknown
  Hite, James                                415 NW 18th Place                                                 McMinnville                    OR        97128                 Litigation        X           Unknown
  Hitt, Lee                                  P.O. Box 226142                                                   Dallas                         TX      75222-6142              Litigation        X           Unknown
  Ho, Kwan                                   1108 St Malo St                                                   West Covina                    CA        91790                 Litigation        X           Unknown
  Hoagland, Walter                           705 Riley Rd.                                                     Delphi                         IN        46923                 Litigation        X           Unknown
  Hoban, Rosemarie                           735 Heritage Point Drive                                          Henderson                      NV      89002-8477              Litigation        X           Unknown
  Hobson, Harry                              2251 Pinenut Rd.                                                  Gardnerville                   NV      89410-6145              Litigation        X           Unknown
  Hockaday, Jeanne                           1728 Benning Rd. NE #A                                            Washington                     DC        20002                 Litigation        X           Unknown
  Hodge Sr., Charles                         1900 S Maxwell Street                                             Bloomington                    IN        47401                 Litigation        X           Unknown
  Hodge, Kelly                               24613 Marbella Avenue                                             Carson                         CA        90745                 Litigation        X           Unknown




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                                                                                                                                                                              Claim       Unliquidated

  Hodge, Teresa Irene                        1275 Beaumont Avenue                                              Beaumont                      CA        92223                 Litigation        X           Unknown
  Hodge, Vincent                             24613 Marbella Avenue                                             Carson                        CA        90745                 Litigation        X           Unknown
  Hodges, Louise                             3160 Hwy 271 N                                                    Deport                        TX        75435                 Litigation        X           Unknown
  Hoffman Hogenkamp, Andrew M.               24 Rogers Court                                                   Tonawanda                     NY        14150                 Litigation        X           Unknown
  Hoffman Hogenkamp, Joyce A.                24 Rogers Court                                                   Tonawanda                     NY        14150                 Litigation        X           Unknown
  Hoffman, Charles                           2243 West Hinchman Road                                           Baroda                        MI        49101                 Litigation        X           Unknown
  Hoffman, Cornelia                          106 Roboda Blvd                                                   Royserford                    PA        19468                 Litigation        X           Unknown
  Hoffman, Jacqueline                        3225 Thimbleberry Trail                                           Dacula                        GA        30019                 Litigation        X           Unknown
  Hoffman, John                              215 S. Iris                                                       Carson City                   NV        89703                 Litigation        X           Unknown
  Hoffmann, Richard                          1116 W. Lincoln St.                                               Belleville                    IL        62220                 Litigation        X           Unknown
  Hogan, Buster                              227 East Morelia Avenue                                           Knoxville                     TN        37917                 Litigation        X           Unknown
  Hogarth, Joe                               312 E. 2nd St.                                                    Logan                         IA        51546                 Litigation        X           Unknown
  Hogarth, Katy                              812 South 14th Street                                             Nederland                     TX        77627                 Litigation        X           Unknown
  Hogarth, Linda                             408 East 3rd Street                                               Logan                         IA        51546                 Litigation        X           Unknown
  Hogarth, Matthew William Cody              503 Lincolnway Street                                             Woodbine                      IA        51579                 Litigation        X           Unknown
  Hogarth, Sara                              503 Lincoln Way                                                   Woodbine                      IA        51579                 Litigation        X           Unknown
  Hogrefe Jr., Raymond                       1115 23rd St. S Apt C2                                            Birmingham                    AL      35205-2438              Litigation        X           Unknown
  Hoke, Jeri                                 6862 37th Street                                                  Riverside                     CA        92509                 Litigation        X           Unknown
  Hokland, James                             532 SE 6th Ave                                                    Albany                        OR        97321                 Litigation        X           Unknown
  Holbert-Clark, Marcella                    0108 Birmingham Terrace                                           Toledo                        OH        43605                 Litigation        X           Unknown
  Holden, Penny                              865 North 450 West                                                Pleasant Grove                UT        84062                 Litigation        X           Unknown
  Holder, Nancy T.                           11514 Flower Street                                               Riverside                     CA        92505                 Litigation        X           Unknown
  Holdren, Tara                              P.O. Box 13                                                       Bellefontaine                 OH        43311                 Litigation        X           Unknown
  Holland, Brenda Joyce                      3222 Kity Court                                                   Oklahoma City                 OK        73121                 Litigation        X           Unknown
  Holland, Edwin Charles                     3222 Kity Court                                                   Oklahoma City                 OK        73121                 Litigation        X           Unknown
  Holland, Jeff & Doris                      191 Thames St                                                     Thousand Oaks                 CA        91360                 Litigation        X           Unknown
  Holland, Walter                            1618 W. Ruscom Street                                             Philadelphia                  PA        19141                 Litigation        X           Unknown
  Hollandsworth, David                       1120 S. Hunter Rd.                                                Indianapolis                  IN        46239                 Litigation        X           Unknown
  Holley Jr., James A.                       7539 Casa Blanca Unit A                                           Riverside                     CA        92504                 Litigation        X           Unknown
  Holley, Carol                              2928 Taos Drive                                                   Riverside                     CA        92509                 Litigation        X           Unknown
  Holley, Denise                             2984 Taos Drive                                                   Riverside                     CA        92509                 Litigation        X           Unknown
  Holley, James Arthur                       2928 Taos Drive                                                   Riverside                     CA        92509                 Litigation        X           Unknown
  Holley, Jessica Laree                      2984 Taos Drive                                                   Riverside                     CA        92509                 Litigation        X           Unknown
  Holley, Kris M.                            3901 Briggs Road Apt. #202                                        Jurupa Valley                 CA        92509                 Litigation        X           Unknown
  Holley, Melvin Leon                        310 N. Hamilton Avenue- Apt 3                                     Hemet                         CA        92543                 Litigation        X           Unknown
  Holley, Rose M.                            6442 Rathke Drive                                                 Riverside                     CA        92509                 Litigation        X           Unknown
  Holley-Cobbs, Shanna Dyn'a                 9225 Trovita Circle                                               Riverside                     CA        92508                 Litigation        X           Unknown
  Holliness, Castor                          5321 Cholla Blossom Ct                                            North Las Vegas               NV      89031-0490              Litigation        X           Unknown
  Hollingsworth, Linda                       177 Shady Oak Road                                                Fountain Inn                  SC        29644                 Litigation        X           Unknown
  Holloway, Ollie                            PO Box 216                                                        McKinney                      KY        40448                 Litigation        X           Unknown
  Holman, Regina                             4435 Rena Road #4                                                 Suitland                      MD        20746                 Litigation        X           Unknown
  Holman-Yorba, Paula                        18832 3rd Street                                                  Bloomington                   CA        92316                 Litigation        X           Unknown
  Holmes, Norma                              914 Eastham Ct. Apt. T4                                           Crofton                       MD        21114                 Litigation        X           Unknown
  Holmes, Oliver                             743 North 3rd St.                                                 Beaumont                      TX        77701                 Litigation        X           Unknown
  Holmes, Pamela                             12521 Tinsley Circle Apt.# 102                                    Tampa                         FL        33612                 Litigation        X           Unknown
  Holt, Dollie                               35676 Ew 1240                                                     Seminole                      OK        74868                 Litigation        X           Unknown
  Holt, James                                7401 Bogart Drive Unit B                                          North Richland Hills          TX        76180                 Litigation        X           Unknown
  Holt, Max                                  8610 115th St NW                                                  Pine Island                   MN        55963                 Litigation        X           Unknown
  Holt, William                              10608 23rd Drive SE                                               Everette                      WA        98208                 Litigation        X           Unknown
  Holt, Willie G.                            10235 Woodworth Ave., #1                                          Inglewood                     CA        90303                 Litigation        X           Unknown



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  Holtz, Hylda                                4525 Island Reef Drive                                              Wellington                  FL         33449                Litigation        X           Unknown
  Holy, Joseph                                305 4th Ave.                                                        Brooklyn Park               MD        21225                 Litigation        X           Unknown
  Holzberlein, Mary                           32126 North Dog Leg Dr.                                             San Tan Valley              AZ         85143                Litigation        X           Unknown
  Honaker, Damon                              15316 Vermont Ave.                                                  Paramount                   CA         90723                Litigation        X           Unknown
  Honaker, Mary                               15318 Vermont Ave.                                                  Paramount                   CA         90723                Litigation        X           Unknown
  Honore- Jr., Christopher Nemhina            66729 El Dorado Place                                               Desert Hot Springs          CA         92240                Litigation        X           Unknown
  Hood, Joshua                                137 Timber Ridge Dr.                                                Slidell                     LA         70460                Litigation        X           Unknown
  Hood, Kevin                                 PO Box 941                                                          Bridgeton                   MA        04009                 Litigation        X           Unknown
  Hood, Sr., John                             1247 Jackstation Road                                               Moscow                      TX         75960                Litigation        X           Unknown
  Hook, Zachary                               806 S. Church St.                                                   Albany                      IL         61230                Litigation        X           Unknown
  Hooker, Jessie                              1803 Hatfield, Apt. C                                               Winnsboro                   LA         71295                Litigation        X           Unknown
  Hooks, Chandra                              5480 S Cornell Avenue, 311                                          Chicago                     IL         60615                Litigation        X           Unknown
  Hoopingarner, Caryn                         1010 Lagoon Ave.- Apt. 308                                          Wilmington                  CA        90744                 Litigation        X           Unknown
  Hoover, Kenneth R.                          1536 Ferry Rd.                                                      Grand Island                NY        14072                 Litigation        X           Unknown
  Hoover, Ralph                               4828 Palm Aire Drive                                                Sarasota                    FL        34243                 Litigation        X           Unknown
  Hope, Glennie Mae                           1420 N. Franklin St.- Apt. 9H                                       Wilmington                  DE        19806                 Litigation        X           Unknown
  Hopewell, Robert                            58 Alford Place,                                                    South Hadley                MA        01075                 Litigation        X           Unknown
  Hopghaprielian, Marousiakhanom              430 Ivy Street                                                      Glendale                    CA        91204                 Litigation        X           Unknown
  Hopkins, Donald                             P.O Box 516                                                         Fouke                       AR         71837                Litigation        X           Unknown
  Hopkins, Harold                             1868 Blackwater Church Rd.                                          London                      KY         40744                Litigation        X           Unknown
  Hopper, Audrey                              3484 Audubon Rd                                                     Amelia                      OH        45102                 Litigation        X           Unknown
  Hopson, Joann                               16250 South Laflin Avenue                                           Markham                     IL         60428                Litigation        X           Unknown
  Hopton, Harry                               1610 Jonquil Dr.                                                    Roseville                   CA         95747                Litigation        X           Unknown
  Horn, Paul                                  174 Kenilworth Ave                                                  Staten Is.                  NY        10312                 Litigation        X           Unknown
  Horner, Larry                               1210 N 22nd Street                                                  Council Bluffs              IA        51501                 Litigation        X           Unknown
  Horniblow, Anthony                          5949 Allwood Street                                                 Riverside                   CA        92509                 Litigation        X           Unknown
  Horniblow, Julie                            5949 Allwood Street                                                 Riverside                   CA        92509                 Litigation        X           Unknown
  Hornsby, Ruth                               522 Tindal Rd.                                                      Pelion                      SC         29123                Litigation        X           Unknown
  Horrigan, Gina                              3560 East Douglas Ave Apt E10                                       Des Moines                  IA         50317                Litigation        X           Unknown
  Horrigan, Robert                            7118 Quito Court                                                    Camarillo                   CA        93012                 Litigation        X           Unknown
  Horswill, John                              PO Box 271                                                          Missorouri                  CA      92226-0271              Litigation        X           Unknown
  Horton, Harold                              2928 Hammonton Rd., Space 11                                        Marysville                  CA        95901                 Litigation        X           Unknown
  Hoseit, Calvin                              2381 Miller Rd.                                                     Thompsonville               MI         49638                Litigation        X           Unknown
  Hoskins, David                              9191 E. Whipsaw Lane                                                Prescott Valley             AZ         86314                Litigation        X           Unknown
  Hoskins, Sr., Larry                         3765 State Rd. 44                                                   Martinsville                IN         46151                Litigation        X           Unknown
  Hotaling, Wesley                            1308 Terra Cia Avenue                                               Orlando                     FL        32807                 Litigation        X           Unknown
  Hottle, Raymond                             3165 Clemo Avenue                                                   Oroville                    CA         95966                Litigation        X           Unknown
  Hou, Zhe Xue                                10 Miaoqian Zhi Jie #903                                            Guangshou                             510080   China        Litigation        X           Unknown
  House, Robert                               508 E Cypress                                                       Malden                      MO         63863                Litigation        X           Unknown
  Houser, Alvis                               8605 E 106th Street                                                 Tulsa                       OK        74133                 Litigation        X           Unknown
  Houser, Jimmy                               2920 Bayshore Blvd Lot #55                                          Dunedin                     FL         34698                Litigation        X           Unknown
  Houston, James                              3594 Gilchrist Stantonville Road                                    Stantonville                TN         38379                Litigation        X           Unknown
  Hovanessian, Ohanes                         416 E. Broadway #102                                                Glendale                    CA         91205                Litigation        X           Unknown
  Hoven, Harvey                               6225 Russet Landing Circle                                          Birmingham                  AL         35244                Litigation        X           Unknown
  Howard Jr., Frank                           458 Maple Street                                                    Colton                      CA        92324                 Litigation        X           Unknown
  Howard, Beryl                               345 River Oaks Drive                                                Destrehan                   LA         70047                Litigation        X           Unknown
  Howard, Harvey                              515 Pecan Drive                                                     Oakboro                     NC         28129                Litigation        X           Unknown
  Howard, Janet                               621 SW 47th Terrace Apt. #104                                       Cape Coral                  FL        33914                 Litigation        X           Unknown
  Howard, Karen                               458 Maple St.                                                       Colton                      CA      92324-3316              Litigation        X           Unknown
  Howard, Lawrence                            473 East Shellie Court                                              Casa Grande                 AZ         85122                Litigation        X           Unknown



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  Howard, Rosie                              1431 Ridgecrest Avenue                                                Yazoo City             MS        39194                   Litigation        X           Unknown
  Howell, Brenda                             935 State Avenue Apt. 3A                                              Cincinnati             OH        45204                   Litigation        X           Unknown
  Howell, Dennis                             407 Sequoya Drive                                                     Anniston               AL        36206                   Litigation        X           Unknown
  Howell, James                              1401 E. French Court                                                  Andover                KS        67002                   Litigation        X           Unknown
  Howell, Vernon                             7313 Grant Street                                                     Savannah               GA        31406                   Litigation        X           Unknown
  Howells, Sharon                            19617 N. Silver Lane                                                  Rathdrum               ID        83858                   Litigation        X           Unknown
  Hoxie, Frances Jean                        331 West Palmer Street                                                Compton                CA        90220                   Litigation        X           Unknown
  Hoxie, Gordon B.                           760 W. Williams Street                                                Banning                CA        92220                   Litigation        X           Unknown
  Hoxie, Nakisha G.                          P.O. Box 51365                                                        Riverside              CA        92517                   Litigation        X           Unknown
  Hoyt, Kimberlee                            299 Newfield St.                                                      Buffalo                NY        14207                   Litigation        X           Unknown
  Huang, Dong Qiang                          1168-7 Da Dao North #504                                              Guangzhou                                   China        Litigation        X           Unknown
  Huang, Wayne                               2190 Courtland Ave                                                    San Marino              CA       91108                   Litigation        X           Unknown
  Huang, Xie Ding                            17 Qiangui Da Jie #901                                                Guangzhou                                   China        Litigation        X           Unknown
  Huang, Yuan Hebg                           17 Qiangui Da Jie #901                                                Guangzhou                                   China        Litigation        X           Unknown
  Hubbard, Larry                             1709 W. A Street                                                      Kannapolis             NC        28081                   Litigation        X           Unknown
  Hubbard, Roland                            96 Davis Mills Court                                                  Lawrenceville          GA        30044                   Litigation        X           Unknown
  Hubbard, Tamara                            3111 W. Little York Road, Apt. 324                                    Houston                TX        77091                   Litigation        X           Unknown
  Huber, Harvey                              23611 Highway 62, Space 40                                            Trail                  OR        97541                   Litigation        X           Unknown
  Hubler, Neal                               6692 S. Pearl St                                                      Centennial             CO        80201                   Litigation        X           Unknown
  Hudgins, Regina                            1404 Trion Teloga Road                                                Trion                  GA        30753                   Litigation        X           Unknown
  Hudson, Billy Jack                         6912 E. Zimmerly St.                                                  Wichita                KS        67207                   Litigation        X           Unknown
  Hudson, Brenda                             3850 Flat Creek Rd.                                                   Frankfort              KY        40601                   Litigation        X           Unknown
  Hudson, Delano                             1519 Weeping Willow Lane                                              Arlington              TX        76002                   Litigation        X           Unknown
  Hudson, Edith                              2005 Ladnier Road                                                     Gautirer               MS        39953                   Litigation        X           Unknown
  Hudson, James                              7804 Woodrow Ave.                                                     Austin                 TX        78757                   Litigation        X           Unknown
  Hudson, Margaret Louise                    20643 El Nido                                                         Perris                 CA        92571                   Litigation        X           Unknown
  Hudson, Rebecca                            501 Horace King Street                                                La Grange              GA        30241                   Litigation        X           Unknown
  Hudson, Sabrina                            1008 Windy Meadow Dr.                                                 Plano                  TX        75023                   Litigation        X           Unknown
  Hudson, William                            31159 Dupont Blvd                                                     Dagsboro               DE        19939                   Litigation        X           Unknown
  Hudson-Black, Beverly                      955 Karol Way Apt. #5                                                 San Leandro            CA        94577                   Litigation        X           Unknown
  Hudspeth, Morris                           10515 Ashley Nicole Cove                                              Cordova                TN        38016                   Litigation        X           Unknown
  Huerta, Francisco                          16629 Vermont Ave. (mailing only)                                     Paramount              CA        90723                   Litigation        X           Unknown
  Huerta, Irene                              229 E 219th Street                                                    Carson                 CA        90745                   Litigation        X           Unknown
  Huerta, Jacob                              16629 Vermont Ave. (mailing only)                                     Paramount              CA        90723                   Litigation        X           Unknown
  Huerta, Jeannie L.                         6218 Jones Ave                                                        Riverside              CA        92505                   Litigation        X           Unknown
  Huerta, Jonathan                           16629 Vermont Ave. (mailing only)                                     Paramount              CA        90723                   Litigation        X           Unknown
  Huerta, Lucy                               24426 Island Avenue                                                   Carson                 CA        90745                   Litigation        X           Unknown
  Huerta, Maria                              16629 Vermont Ave.                                                    Paramount              CA        90723                   Litigation        X           Unknown
  Huerta, Maria                              4604 W. Douglas Avenue, Apt. 103                                      Visalia                CA        93291                   Litigation        X           Unknown
  Huerta, Moses                              16629 Vermont Ave.                                                    Paramount              CA        90723                   Litigation        X           Unknown
  Huerta, Nico                               24426 Island Avenue                                                   Carson                 CA        90745                   Litigation        X           Unknown
  Huerta, Ulysses                            16629 Vermont Ave.                                                    Paramount              CA        90723                   Litigation        X           Unknown
  Huerto, Irene                              24513 Neptune Avenue                                                  Carson                 CA        90745                   Litigation        X           Unknown
  Huff, John                                 435 Rothbury Dr.                                                      Bolingbrook            IL        60440                   Litigation        X           Unknown
  Huff, Paul                                 263 Cedar Ct.                                                         Leipsic                OH      45856-9319                Litigation        X           Unknown
  Huffman, Olga                              43770 Jared Lane                                                      Hemet                  CA        92544                   Litigation        X           Unknown
  Hugett, Lynne                              1516 South Prescott Avenue                                            Clearwater             FL        33756                   Litigation        X           Unknown
  Hughes, Bobby                              P.O. Box 277                                                          Colmesneil             TX        75938                   Litigation        X           Unknown
  Hughes, Jackie                             18 Cardinal Drive                                                     Milton                 WV        25541                   Litigation        X           Unknown
  Hughes, Joyce                              103 Ellis Ct                                                          Ladson                 SC        29456                   Litigation        X           Unknown



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  Hughes, Julie                              RTS - 2302 7th Street                                              Tillamook               OR      97141              Litigation        X           Unknown
  Hughes, Marco                              8106 Marilyn Ct.                                                   St. Louis               MO      63134              Litigation        X           Unknown
  Hughes, Sharon                             24729 Neptune Avenue                                               Carson                  CA      90745              Litigation        X           Unknown
  Hughes, Vicki                              1229 SW Alcantarra Blvd.                                           Port St. Lucie          FL      34953              Litigation        X           Unknown
  Hughey, Anetrise                           27005 Winter Park Place                                            Moreno Valley           CA      92555              Litigation        X           Unknown
  Hughey, Joseph LaSalle                     27005 Winter Park Place                                            Moreno Valley           CA      92555              Litigation        X           Unknown
  Hugli, Aileen                              14713 Lancroft Ct.                                                 Darnestown              MD      20874              Litigation        X           Unknown
  Hull, Carolyn                              PO Box 573                                                         Greencastle             PA      17225              Litigation        X           Unknown
  Hullon, Ethel                              16156 Tawney Ridge Lane Apt. A                                     Victorville             CA      92394              Litigation        X           Unknown
  Hulse, Ronald                              224 Longwood Court W.                                              Lancaster               PA      17603              Litigation        X           Unknown
  Hulsey, Anna                               801 Old Ferry Road                                                 Shady Cove              OR      97539              Litigation        X           Unknown
  Humphrey, Ernie                            640 State Route 775                                                Procterville            OH      45669              Litigation        X           Unknown
  Humphrey, Michael                          159 Bruyn Turnpike                                                 Wallkill                NY      12589              Litigation        X           Unknown
  Humphrey, Shardoria                        1608 Beaufort Way                                                  McDonough               GA      30253              Litigation        X           Unknown
  Humphreys, Mark                            19971 Tracy Crt                                                    Canyon Country          CA      91351              Litigation        X           Unknown
  Humphreys, Tamara Rae                      P.O. Box 986                                                       Apple Valley            CA      92307              Litigation        X           Unknown
  Hunt, Charlie                              6800 Creek Hills Drive                                             Trinity                 NC      27370              Litigation        X           Unknown
  Hunt, Emmanuel                             1196 E New York Ave., Apt 4B                                       Brooklyn                NY      11212              Litigation        X           Unknown
  Hunt, Mary Lynn                            8885 FM 1448                                                       Winnsboro               TX      75494              Litigation        X           Unknown
  Hunter III, William                        P.O. Box 49                                                        White House             TN      37188              Litigation        X           Unknown
  Hunter, Bertha                             4537 Pimilco Street                                                Pascagoula              MS      39581              Litigation        X           Unknown
  Hunter, John                               16014 W. 83rd Terrace                                              Lenexa                  KS      66219              Litigation        X           Unknown
  Hunter, Logan & Denise                     717 Monte Vista Ave                                                Ridgecrest              CA      93555              Litigation        X           Unknown
  Hunter, Natashia Sheri                     5720 Kenwood Place                                                 Riverside               CA      92509              Litigation        X           Unknown
  Hunter, Patricia                           7844 Angela St.                                                    Westwego                LA      70094              Litigation        X           Unknown
  Hunter, Tamatha Jerelyn                    5414 Borden Avenue                                                 Galveston               TX      77551              Litigation        X           Unknown
  Hurst, Robert                              112 North Muller Street Apt 103                                    Anaheim                 CA      92801              Litigation        X           Unknown
  Hurt, Leon                                 1705 SW Green Acres                                                Topeka                  KS      66604              Litigation        X           Unknown
  Hutchings, Charles                         1520 Cobb                                                          Hobbs                   NM      88240              Litigation        X           Unknown
  Hutchinson, Charlotte                      332 N. Chamberlain                                                 Gilman                  IL      60938              Litigation        X           Unknown
  Hutchison, Mary                            10408 N W 40                                                       Yukon                   OK      73099              Litigation        X           Unknown
  Hutson, Curtis                             W 158 Satsop Bridge Road                                           Elma                    WA      98541              Litigation        X           Unknown
  Hyatt, Araina                              521 Ashbury Ave.                                                   Santa Rosa              CA      95404              Litigation        X           Unknown
  Hyatt, Dee Ann                             521 Ashbury Ave.                                                   Santa Rosa              CA      95404              Litigation        X           Unknown
  Hyatt, Linda                               2363 Starnes St Lot 5                                              Morganton               NC      28655              Litigation        X           Unknown
  Hyde, Betty                                Po Box 1794                                                        Robbinsville            NC      28771              Litigation        X           Unknown
  Iacono, Frank A.                           2509 David Drive                                                   Niagara Falls           NY      14304              Litigation        X           Unknown
  Ibarra, Eileen                             24528 Island Avenue                                                Carson                  CA      90745              Litigation        X           Unknown
  Ibekwe, Agatha                             11707 Truro Avenue- #2                                             Hawthorne               CA      90250              Litigation        X           Unknown
  Ibekwe, Augustine                          11707 Truro Avenue- #2                                             Hawthorne               CA      90250              Litigation        X           Unknown
  Ible, Deanna                               1501 Jersey Street                                                 Tallahassee             FL      32304              Litigation        X           Unknown
  Ichikawa, Kyle                             24612 Ravenna Avenue                                               Carson                  CA      90745              Litigation        X           Unknown
  Ichikawa, Susanna                          9621 148th St. Ct. E                                               Puyallup                WA      98375              Litigation        X           Unknown
  Ickes, Locky                               P.O. Box 65                                                        Wedron                  IL      60557              Litigation        X           Unknown
  Ickes, Sandra                              P.O. Box 85                                                        Wedron                  IL      60557              Litigation        X           Unknown
  Ifeacho, Chinyere                          24708 Panama Avenue                                                Carson                  CA      90745              Litigation        X           Unknown
  Ifeacho, John                              24708 Panama Avenue                                                Carson                  CA      90745              Litigation        X           Unknown
  Iglesias, Maria                            RTS - 772 Commack Road                                             Brentwood               NY      11717              Litigation        X           Unknown
  Ikehorn, Gerald                            81285 Camino Lampazos                                              Indio                   CA      92203              Litigation        X           Unknown
  Ikehorn, Robert                            81285 Camino Lampazos                                              Indio                   CA      92206              Litigation        X           Unknown



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  Infantado Mabalo, Karen                    24733 Carmel Drive                                                Carson                   CA      90745              Litigation        X           Unknown
  Infantado, Ione                            24733 Carmel Drive                                                Carson                   CA      90745              Litigation        X           Unknown
  Infantado, Kariz                           24733 Carmel Dr.                                                  Carson                   CA      90745              Litigation        X           Unknown
  Infantado, Karla                           24733 Carmel Dr.                                                  Carson                   CA      90745              Litigation        X           Unknown
  Ingle, Joshua                              34508 Richard Street                                              Wayne                    MI      48184              Litigation        X           Unknown
  Inglett, Johnny                            124 Dalton Dr.                                                    Waynesboro               GA      30830              Litigation        X           Unknown
  Ingram, Bobbie                             5250 N. 34th Street                                               Milwaukee                WI      53209              Litigation        X           Unknown
  Ingram, Marilyn                            3671 Singleton Rd.                                                Carthage                 MS      39051              Litigation        X           Unknown
  Ingram, Sandra                             7109 Millstone Ridge Court                                        Raleigh                  NC      27614              Litigation        X           Unknown
  Ingrum, April                              1574 Eudora Ave.                                                  Wilmington               CA      90744              Litigation        X           Unknown
  Ingrum, Ashley                             1574 Eudora Ave.                                                  Wilmington               CA      90744              Litigation        X           Unknown
  Ingrum, Jeffrey                            373 E. 249th Street                                               Carson                   CA      90745              Litigation        X           Unknown
  Inman, Edwin                               6151 Ashwood Lane                                                 Naples                   FL      34110              Litigation        X           Unknown
  Ireland, Sheila                            2066 Creston Avenue #21                                           Bronx                    NY      10453              Litigation        X           Unknown
  Irving, James                              3640 W 121st Place                                                Alsip                    IL      60803              Litigation        X           Unknown
  Irvin-Gordon, Virginia                     143 West 53rd St                                                  Long Beach               CA      90805              Litigation        X           Unknown
  Isa, Betty                                 20 Northgrove                                                     Irvine                   CA      92604              Litigation        X           Unknown
  Isaac, Hubert                              2208 Giant Oak Lane                                               Ceres                    CA      95307              Litigation        X           Unknown
  Isby, Duane                                12635 Bluntleaf Court                                             Moreno Valley            CA      92553              Litigation        X           Unknown
  Isby, Tiffany Danielle                     1071 W. Etiwanda Ave.                                             Rialto                   CA      92376              Litigation        X           Unknown
  Iseldyke, Eleanor                          4134 SW Alice St.                                                 Port St. Lucie           FL      34953              Litigation        X           Unknown
  Isenburg, Dorothy                          9304 East G. Street                                               Tacoma                   WA      98445              Litigation        X           Unknown
  Isip, Jonathan                             24722 Marbella Avenue                                             Carson                   CA      90745              Litigation        X           Unknown
  Isom, Lillie                               550 Bridgeman Ave.                                                Benton Harbor            MI      49022              Litigation        X           Unknown
  Isom, Willie                               204 N. Shelby Road                                                Holly Springs            MS      38635              Litigation        X           Unknown
  Isotalo, Marjorie                          1301 Shirley Place                                                Mount Vernon             WA      98274              Litigation        X           Unknown
  Izmajtovich, Alfredo                       337 E 244th Street                                                Carson                   CA      90745              Litigation        X           Unknown
  Izmajtovich, Alfredo R.                    6100 Shadyglade Avenue                                            North Hollywood          CA      91606              Litigation        X           Unknown
  Jackowski, Donald                          12 Hunters Lane                                                   Sparta                   NJ      07871              Litigation        X           Unknown
  Jackson, Alvin                             PO Box 411                                                        Haines City              FL      33845              Litigation        X           Unknown
  Jackson, Anthony Quinn                     CDC #AP6257 – 107-31 Low – P.O. Box 3535                          Norco                    CA      92860              Litigation        X           Unknown
  Jackson, Carl                              5981 Rodeo Drive.                                                 Riverside                CA      92509              Litigation        X           Unknown
  Jackson, Charlene                          1104 E. Virginia Way                                              Barstow                  CA      92311              Litigation        X           Unknown
  Jackson, Charlene D                        1109 Enclave Way                                                  Hutto                    TX      78634              Litigation        X           Unknown
  Jackson, Charlie                           5757 Jackson Way                                                  Montgomery               AL      36117              Litigation        X           Unknown
  Jackson, Christopher                       6341 Rustic Lane                                                  Riverside                CA      92509              Litigation        X           Unknown
  Jackson, Columbus                          625 Denham Arch                                                   Chesapeake               VA      23322              Litigation        X           Unknown
  Jackson, Crystal                           450 Regency Road                                                  Vidalia                  GA      30474              Litigation        X           Unknown
  Jackson, Dannie                            3811 Rigolett Rd.                                                 Pineville                LA      71360              Litigation        X           Unknown
  Jackson, David                             2112 Fort Henry Dr.                                               Kingsport                TN      37664              Litigation        X           Unknown
  Jackson, Debra Anne                        4631 North Stoddard Ave.                                          San Bernadino            CA      92407              Litigation        X           Unknown
  Jackson, Denise Marie                      669 West L St.                                                    Colton                   CA      92324              Litigation        X           Unknown
  Jackson, Gloria                            147 Treslyn Way                                                   Louisville               KY      40245              Litigation        X           Unknown
  Jackson, Hazel                             PO Box 1171                                                       Waverly                  VA      23890              Litigation        X           Unknown
  Jackson, Helen                             1400 Eastridge Dr.                                                Yukon                    OK      73099              Litigation        X           Unknown
  Jackson, John                              2113 Harriman Lane Unit B                                         Redondo Beach            CA      90278              Litigation        X           Unknown
  Jackson, John Wayne                        1482 North Willow Ave. #1                                         Rialto                   CA      92376              Litigation        X           Unknown
  Jackson, Ladairis                          RTS - 300 N. Alcard St #1011                                      Dallas                   TX      75201              Litigation        X           Unknown
  Jackson, Marshall                          PO Box 252                                                        Welsh                    LA      70591              Litigation        X           Unknown
  Jackson, Mary                              742-1560 Rd.                                                      Delta                    CO      81416              Litigation        X           Unknown



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  Jackson, Mildred                               106 Spruill Bridge Road                                                 Temple                 GA        30179                 Litigation        X           Unknown
  Jackson, Mildred                               PO Box 14524                                                            Torrance               CA      90503-8524              Litigation        X           Unknown
  Jackson, Olivia                                669 West L Street                                                       Colton                 CA        92324                 Litigation        X           Unknown
  Jackson, Patricia                              873 Clarendon Road                                                      Quincy                 MI        49082                 Litigation        X           Unknown
  Jackson, Priscilla                             5774 Nottingham Rd.                                                     Detroit                MI        48224                 Litigation        X           Unknown
  Jackson, Ralph                                 1443 No. Villere Street                                                 New Orleans            LA        70116                 Litigation        X           Unknown
  Jackson, Robert                                809 North Oak Street                                                    Ocilla                 GA        31774                 Litigation        X           Unknown
  Jackson, Shawn                                 500 McBride Ave., Apt. 3                                                Woodland Park          NJ        07424                 Litigation        X           Unknown
  Jackson, Sheryl                                4430 Panthera Leo Drive                                                 Carmel                 IN        46074                 Litigation        X           Unknown
  Jackson, Stephen                               1220 Kennedale Sublett Road                                             Kennedale              TX        76060                 Litigation        X           Unknown
  Jackson, Thomas                                16069 West Salome St                                                    Goodyear               AZ        85338                 Litigation        X           Unknown
  Jackson, Wanda                                 1107 Lakeview Pl                                                        Roanoke                VA        24019                 Litigation        X           Unknown
  Jackson, Willie                                4010 Wilson Road                                                        Humble                 TX        77396                 Litigation        X           Unknown
  Jacobs, Elissa Ann                             1333 Malaga Drive                                                       Riverside              CA        92509                 Litigation        X           Unknown
  Jacobs, Fred                                   2 Abbey Lane                                                            Whitin                 NJ        08759                 Litigation        X           Unknown
  Jacobs, Grace                                  13874 Kentucky Route 122                                                Hi Hat                 KY        41636                 Litigation        X           Unknown
  Jacobs, Karen                                  18645 Hatteras Street, No. 113                                          Tarzana                CA        91356                 Litigation        X           Unknown
  Jacobs, Quenston T.                            6208 Timber Ridge Dr.                                                   Pine Bluff             AR        71603                 Litigation        X           Unknown
  Jacobs, Ray                                    2402 W. 5th Ave.                                                        Corsicana              TX        75110                 Litigation        X           Unknown
  Jacobs, Richard Alton                          1333 Malaga Drive                                                       Riverside              CA        92509                 Litigation        X           Unknown
  Jacobsen, Ruth J.                              8641 S. Atlanta Place                                                   Tulsa                  OK        74137                 Litigation        X           Unknown
  Jacobson, Michael                              13401 Whitestone Dr. Apt. A                                             Tampa                  FL        33617                 Litigation        X           Unknown
  Jacquart, Gerald                               1355 E. Dodge St.                                                       Fremont                NE        68025                 Litigation        X           Unknown
  Jacquart, Gerald                  0            1355 E. Dodge St.                                                     0 Fremont                NE        68025                 Litigation        X           Unknown
  Jaha, Gina                                     4073 Rivoli                                                             Newport Beach          CA        92660                 Litigation        X           Unknown
  Jaha-Anderson, Jackson                         4073 Rivoli                                                             Newport Beach          CA        92660                 Litigation        X           Unknown
  Jakahi, Lionel                                 PO Box 2224                                                             Aiea                   HI        96701                 Litigation        X           Unknown
  Jallah, Raymond                                P.O. Box 844                                                            Big Lake               MN        55309                 Litigation        X           Unknown
  Jamerson, Doris                                259 Monterey Drive                                                      Carson                 CA        90745                 Litigation        X           Unknown
  Jamerson, Kory                                 259 Monterey Drive                                                      Carson                 CA        90745                 Litigation        X           Unknown
  Jamerson, Mikquel                              259 Monterey Drive                                                      Carson                 CA        90745                 Litigation        X           Unknown
  Jamerson, Sol                                  259 Monterey Drive                                                      Carson                 CA        90745                 Litigation        X           Unknown
  James Sr, Carl                                 130 James Court                                                         Laplace                LA        70068                 Litigation        X           Unknown
  James, Bobby                                   P.O. Box 274                                                            Windsor                NC        27983                 Litigation        X           Unknown
  James, Cherristan                              24524 Island Avenue                                                     Carson                 CA        90745                 Litigation        X           Unknown
  James, Dolores                                 305 NE Forest Avenue                                                    Lees Summit            MO        64063                 Litigation        X           Unknown
  James, Editha                                  24524 Island Avenue                                                     Carson                 CA        90745                 Litigation        X           Unknown
  James, Joyce                                   2376 Stearns Way                                                        Medford                OR        97501                 Litigation        X           Unknown
  James, Jr., Julius                             1435 Moorlands Drive                                                    Tacoma                 WA        98405                 Litigation        X           Unknown
  James, Len                                     1668 Highway 139                                                        Monroe                 LA        71203                 Litigation        X           Unknown
  James, Lisa                                    2226 Paseo Del Mar                                                      San Pedro              CA        90732                 Litigation        X           Unknown
  James, Lula                                    P.O. Box 4645                                                           Beaufort               SC        29903                 Litigation        X           Unknown
  James, Michael                                 45267 Acre Place                                                        Brashaer               MO        63533                 Litigation        X           Unknown
  James, Michele                                 4020 El Camino Real Apt 3104                                            Palo Alto              CA        94306                 Litigation        X           Unknown
  James, Sheldon                                 24518 Island Avenue                                                     Carson                 CA        90745                 Litigation        X           Unknown
  James-Creedon, Jackie                          43 Wardman Rd.                                                          Kenmore                NY        14217                 Litigation        X           Unknown
  Jameson, Jr., Michael                          RTS - 2222 S. Dobson Rd. #1118                                          Chandler               AZ        85286                 Litigation        X           Unknown
  Jamison, Brandon                               34 S. Crosshill Circle                                                  Hopkins                SC        29061                 Litigation        X           Unknown
  Janok, Victor                                  1016 Indian Trace Circle, Apt. 201                                      Rivera Beach           FL        33407                 Litigation        X           Unknown
  Jaqua, Jon                                     P.O. Box 703                                                            Springfield            OR        97477                 Litigation        X           Unknown



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  Jaques, Jose                               1620 Cobb                                                        Hobbs                     NM      88240              Litigation        X           Unknown
  Jaquint, William                           340-2 Travis Blvd., #236                                         Fairfield                 CA      94533              Litigation        X           Unknown
  Jara, Hector Manuel                        11115 Seabreeze Ct.                                              Bloomington               CA      92316              Litigation        X           Unknown
  Jaramilla, Decely                          252 Highland Way                                                 Carson                    CA      90745              Litigation        X           Unknown
  Jaramilla, Marvin                          252 Highland Way                                                 Carson                    CA      90745              Litigation        X           Unknown
  Jarrell, Beau                              18515 WeedyFields Dr.                                            Groveland                 FL      34736              Litigation        X           Unknown
  Jarrett, Jr., Seymore                      3150 Wilshire Blvd. Apt 1815                                     Los Angeles               CA      90010              Litigation        X           Unknown
  Jasso, Beatriz                             2600 Redwood Lane- Apt. 34                                       Anderson                  CA      96007              Litigation        X           Unknown
  Jaurigue, Evelyn                           256 South 10th Street                                            Colton                    CA      92324              Litigation        X           Unknown
  Jaynes, Cheryl                             3421 Miller Rd.                                                  Arnold                    MO      63010              Litigation        X           Unknown
  Jayson, Laura                              110 Pheasant Lane Rd. #A2                                        Woodstock                 VA      22664              Litigation        X           Unknown
  Jean-Charles, Marie                        PO Box 9812                                                      Ft. Lauderdale            FL      33310              Litigation        X           Unknown
  Jeffers, Reginald                          1909 Glover St.                                                  Roanoke Rapids            NC      27870              Litigation        X           Unknown
  Jefferson, Donna                           37 Bendix Lane                                                   Willingboro               NJ      08046              Litigation        X           Unknown
  Jefferson, Judy                            121 Forest Rd.                                                   Glen Burnie               MD      21060              Litigation        X           Unknown
  Jefferson, Larry                           8170 Willow St                                                   Windsor                   CA      95492              Litigation        X           Unknown
  Jefferson, Pearline                        4740 NW 7th Ave. Apt. 6                                          Miami                     FL      33127              Litigation        X           Unknown
  Jeffries, Tammy                            2801 S. Stone Road, #213                                         Marion                    IN      46953              Litigation        X           Unknown
  Jelenic, Jerry                             1378 W 26th Place                                                San Pedro                 CA      90732              Litigation        X           Unknown
  Jelenic, Krystal                           1181-1/2 W. 23rd Street                                          San Pedro                 CA      90731              Litigation        X           Unknown
  Jelenic, Tiffany                           1179 W 23rd Street                                               San Pedro                 CA      90731              Litigation        X           Unknown
  Jelenic, Yolanda                           1378 W 26th Place                                                San Pedro                 CA      90732              Litigation        X           Unknown
  Jelks                                      1220 E Pine St                                                   Compton                   CA      90221              Litigation        X           Unknown
  Jenkins, Barry                             1203 Lady Amber Lane                                             Grandbury                 TX      76049              Litigation        X           Unknown
  Jenkins, Brooke                            4216 Tawakon Drive                                               Pearland                  TX      77584              Litigation        X           Unknown
  Jenkins, Candice                           1225 19th Ave.                                                   Longview                  WA      98632              Litigation        X           Unknown
  Jenkins, Hari                              445 Markham Street, Apt C-13                                     Atlanta                   GA      30313              Litigation        X           Unknown
  Jenkins, Javon                             4606 Springhill Road                                             Savannah                  GA      31404              Litigation        X           Unknown
  Jenkins, Mary                              3251 Bruner Avenue                                               Bronx                     NY      10469              Litigation        X           Unknown
  Jenkins, Robert                            102 North Connell Street                                         Wilmington                DE      19805              Litigation        X           Unknown
  Jenkins, Shirley A.                        28834 Startree Lane                                              Saugus                    CA      91350              Litigation        X           Unknown
  Jenkins, Tommie                            2319 W. Tierra Buena Ln.                                         Phoenix                   AZ      85023              Litigation        X           Unknown
  Jenkins-Jackson, Shyra                     3296 Oak Leaf Lane                                               Perris                    CA      92571              Litigation        X           Unknown
  Jennings, Frances                          213 Arc Street                                                   Bessemer City             NC      28016              Litigation        X           Unknown
  Jennings, William                          928 Greentree Road                                               Panama City               FL      32401              Litigation        X           Unknown
  Jensen, Einer                              43 Roseville Avenue                                              St. James                 NY      11780              Litigation        X           Unknown
  Jerde, Donald                              7200 Conser                                                      Overland Park             KS      66204              Litigation        X           Unknown
  Jeremy Lopz.                               1872 Palos Verdes Dr. N #721                                     Lomita                    CA      90717              Litigation        X           Unknown
  Jerez, Suezanne                            27238 Avon Lane                                                  Temecula                  CA      92591              Litigation        X           Unknown
  Jernigan, Kaye                             2891 Hwy 70 W                                                    Goldsboro                 NC      27530              Litigation        X           Unknown
  Jerrytone, Thomas                          375 East Ridge Street                                            Nanticoke                 PA      18634              Litigation        X           Unknown
  Jest, Johnnie                              1122 Augusta Drive                                               Albany                    GA      31707              Litigation        X           Unknown
  Jeter, George                              5440 Blacks Bluff Road SW                                        Rome                      GA      30161              Litigation        X           Unknown
  Jeter, Shane                               2550 Wallingford Rd                                              Winsten-Salem             NC      27101              Litigation        X           Unknown
  Jiang, Wen Wen                             2700 Peterson Place Apt. 5C                                      Costa Mesa                CA      92626              Litigation        X           Unknown
  Jimenez- Jr., Jose                         16366 Greenridge Circle                                          Riverside                 CA      92503              Litigation        X           Unknown
  Jimenez, Antonio                           16366 Greenridge Circle                                          Riverside                 CA      92503              Litigation        X           Unknown
  Jimenez, Jose                              12431 Snapdragon Street                                          Rancho Cucamonga          CA      91739              Litigation        X           Unknown
  Jimenez, Jose                              16366 Greenridge Circle                                          Riverside                 CA      92503              Litigation        X           Unknown
  Jimenez, Kendra                            16366 Greenridge Circle                                          Riverside                 CA      92503              Litigation        X           Unknown



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  Jimenez, Mario                             5875 Mission Blvd. #147                                                  Riverside                CA      92501              Litigation        X           Unknown
  Jimenez, Max                               424 Bernice Drive                                                        Las Vegas                NM      87701              Litigation        X           Unknown
  Jimenez, Pedro E.                          639 Doyle Ave.                                                           Redlands                 CA      92374              Litigation        X           Unknown
  Jimenez, Raquel                            16366 Greenridge Circle                                                  Riverside                CA      92503              Litigation        X           Unknown
  Jimenez, Yolanda                           1230 North Rancho Avenue                                                 Colton                   CA      92324              Litigation        X           Unknown
  Jimerson, Lemar                            2520 21st Ave                                                            Oakland                  CA      94606              Litigation        X           Unknown
  Johansen, Melinda                          1925 S 18th Street                                                       Rogers                   AR      72758              Litigation        X           Unknown
  Johnson Jr., Charles                       9504 Hobert Street                                                       Springdale               MD      20774              Litigation        X           Unknown
  Johnson Jr., Douglas                       36 Cogswell Way                                                          Enfield                  NH      03748              Litigation        X           Unknown
  Johnson Jr., Jack Robert                   2851 S. La Cadena Dr. Spc. 251                                           Colton                   CA      92324              Litigation        X           Unknown
  Johnson Sr., Charles E.                    5875 Mission Blvd.- #I-128                                               Riverside                CA      92509              Litigation        X           Unknown
  Johnson, Alice                             18 East Court                                                            El Dorado                KS      67420              Litigation        X           Unknown
  Johnson, Andre                             4028 Long Creek Road                                                     Memphis                  TN      38125              Litigation        X           Unknown
  Johnson, Anna                              1140 Sears Street                                                        Norco                    CA      92860              Litigation        X           Unknown
  Johnson, Arthur                            308 Mt. Holly Huntersville Rd. #304                                      Charlotte                NC      28214              Litigation        X           Unknown
  Johnson, Carman                            P.O. Box 42                                                              Arcadia                  OK      73007              Litigation        X           Unknown
  Johnson, Carolyn J.                        628 Curve Circle Dr.                                                     Lancaster                CA      93535              Litigation        X           Unknown
  Johnson, Cecil                             1525 Northeast 118th St.                                                 Miami                    FL      33161              Litigation        X           Unknown
  Johnson, Charity                           1201 Mable Butler Ave.Apt. 1                                             Orlando                  FL      32805              Litigation        X           Unknown
  Johnson, Charles                           5488 Glenview Drive                                                      Columbus                 GA      31907              Litigation        X           Unknown
  Johnson, Clarice                           1101 Richwood Road 2 Apt. #13                                            Monroe                   LA      71202              Litigation        X           Unknown
  Johnson, Daryl                             2007 Ahoy Court                                                          El Dorado Hills          CA      95762              Litigation        X           Unknown
  Johnson, Deloris                           2745 Summer Sweet Cove                                                   Cordova                  TN      38016              Litigation        X           Unknown
  Johnson, Di Ann                            5503 Hwy 80                                                              Hawkins                  TX      75765              Litigation        X           Unknown
  Johnson, Donald                            719 Lansdowne Road                                                       Charlotte                NC      28270              Litigation        X           Unknown
  Johnson, Donald                            1749 SE Wyandotte Road                                                   Columbus                 KS      66725              Litigation        X           Unknown
  Johnson, Donna                             384 Stone Street                                                         Oneida                   NY      13421              Litigation        X           Unknown
  Johnson, Earlene                           4663 Deermeadow Way                                                      Antioch                  CA      94531              Litigation        X           Unknown
  Johnson, Echo                              5728 Condon Avenue                                                       Los Angeles              CA      90056              Litigation        X           Unknown
  Johnson, Edna                              2756 E. Lafayette                                                        Detroit                  MI      48207              Litigation        X           Unknown
  Johnson, Freddie                           3040 Triveno                                                             Grand Prairie            TX      75054              Litigation        X           Unknown
  Johnson, Gary                              1500 Tasker                                                              Hobbs                    NM      88240              Litigation        X           Unknown
  Johnson, Geneva                            4870 US Highway 93 South Lot 5                                           Whitefish                MT      59937              Litigation        X           Unknown
  Johnson, Glenn                             900 Belwood Circle                                                       Fairfield                AL      35064              Litigation        X           Unknown
  Johnson, Guadalupe                         7615 Jefferson St.                                                       Paramount                CA      90723              Litigation        X           Unknown
  Johnson, Howard                            9613 Rustic Gate Rd.                                                     La Porte                 TX      77571              Litigation        X           Unknown
  Johnson, James                             3733 B Island Home Pike                                                  Knoxville                TN      37920              Litigation        X           Unknown
  Johnson, Joseph                            1065 Dr. Martin L King Jr Blvd Apt 6A                                    Bronx                    NY      10452              Litigation        X           Unknown
  Johnson, Jr., James                        3836 HWY 82 West Lot 67                                                  Leland                   MS      38756              Litigation        X           Unknown
  Johnson, Jr., James                        8822 SE 159th Pl                                                         Summerfield              FL      34491              Litigation        X           Unknown
  Johnson, Kayla                             7303 Exeter St Unit 203                                                  Paramount                CA      90723              Litigation        X           Unknown
  Johnson, Laura                             2816 Aberdeen Dr.                                                        Florissant               MO      63033              Litigation        X           Unknown
  Johnson, Leatha E.                         3040 Triveno                                                             Grand Prairie            TX      75054              Litigation        X           Unknown
  Johnson, Linda                             8507 Bismark Cove                                                        Austin                   TX      78745              Litigation        X           Unknown
  Johnson, Margaret J.                       1262 W. 82nd Street                                                      Los Angeles              CA      90044              Litigation        X           Unknown
  Johnson, Maria                             45 Commodore Ave.                                                        Tonawanda                NY      14150              Litigation        X           Unknown
  Johnson, Mary                              1601 Columbia Ave.                                                       Landover                 MD      20785              Litigation        X           Unknown
  Johnson, Melanie                           2109 E. Nord St.                                                         Compton                  CA      90222              Litigation        X           Unknown
  Johnson, Melisa                            3307 Hull Avenue D5                                                      Bronx                    NY      10467              Litigation        X           Unknown
  Johnson, Patrick                           0216 SW Seymour Court                                                    Portland                 OR      97239              Litigation        X           Unknown



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  Johnson, Paul                              Ohio View Towers 250 Jefferson Drive Apt 608                         McKees Rocks            PA        15136                 Litigation        X           Unknown
  Johnson, Ralph                             RTS - 6565 South Yale Ave. Apt. 403                                  Chicago                 IL        60621                 Litigation        X           Unknown
  Johnson, Randy                             367 US 119 North                                                     Pikeville               KY        41501                 Litigation        X           Unknown
  Johnson, Reginald                          17907 Souter Ln.                                                     Land O' Lakesf          FL        34638                 Litigation        X           Unknown
  Johnson, Rex                               1005 N. 6th Street                                                   Tonkawa                 OK        74653                 Litigation        X           Unknown
  Johnson, Ricardo C.                        558 Logan St.                                                        Frederick               MD        21701                 Litigation        X           Unknown
  Johnson, Richard                           1228 N 575 W                                                         Centerville             UT        84010                 Litigation        X           Unknown
  Johnson, Robert                            1163 Monroe Rd.                                                      Lantana                 FL        33462                 Litigation        X           Unknown
  Johnson, Rodger                            7104 Elizabeth St.                                                   Columbia                MS        65202                 Litigation        X           Unknown
  Johnson, Rosemary                          7441 Beau St.                                                        New Orleans             LA        70126                 Litigation        X           Unknown
  Johnson, Rosetta                           20 Elmore St.                                                        Boston                  MA        02119                 Litigation        X           Unknown
  Johnson, Ruth                              22 Fairview Road                                                     Elizaville              NY        12523                 Litigation        X           Unknown
  Johnson, Sandra                            2233 E. Rio Vistoso Lane                                             Oro Valley              AZ      85755-1913              Litigation        X           Unknown
  Johnson, Sr., Freddie                      254 Turf Trail Place                                                 Fountain                CO        80817                 Litigation        X           Unknown
  Johnson, Sr., Larry                        3606 Brookville Drive                                                St. Louis               MO        63125                 Litigation        X           Unknown
  Johnson, Steven                            2994 E. 1520th Rd.                                                   Ottawa                  IL        61350                 Litigation        X           Unknown
  Johnson, Sybil                             2851 South La Cadena Drive- 251                                      Colton                  CA        92324                 Litigation        X           Unknown
  Johnson, Tammy Lynn                        3610 Banbury Drive- Apt. 6D                                          Riverside               CA        92505                 Litigation        X           Unknown
  Johnson, Timothy                           2444 Stratford Crossing Drive                                        Winston Salem           NC        27103                 Litigation        X           Unknown
  Johnson, Toshawn Reggie                    11520 E Marguerite Ave.                                              Mesa                    AZ        85208                 Litigation        X           Unknown
  Johnson, Trina                             11431 Valarno Drive                                                  Houston                 TX        77066                 Litigation        X           Unknown
  Johnson, Vanetta                           3851 Carthage Street                                                 Riverside               CA        92501                 Litigation        X           Unknown
  Johnston, Sr., Stephen                     805 Williamsburg Dr.                                                 Pike Road               AL      36054-2526              Litigation        X           Unknown
  Joiner, Antonette                          3348 Beatrice Drive                                                  Riverside               CA        92509                 Litigation        X           Unknown
  Joiner, Keeya Christeenia                  3348 Beatrice Drive                                                  Rubidoux                CA        92509                 Litigation        X           Unknown
  Jollit, William                            71 Hawthorn St.                                                      Birmingham              AL        35242                 Litigation        X           Unknown
  Jolly (Bussey), Claretta                   2000 Carver Dr.                                                      Muncie                  IN        47303                 Litigation        X           Unknown
  Jolly, Charles                             3126 Meadow Flower Ave.                                              N. Las Vegas            NV        89031                 Litigation        X           Unknown
  Jones, Alice                               5250 North 34th St.                                                  Milwaukee               WI        53209                 Litigation        X           Unknown
  Jones, Annie                               704 Gentle Ben Avenue                                                Yazoo City              MS        39194                 Litigation        X           Unknown
  Jones, Barbara                             420 Markate Ave                                                      Muscle Shoals           AL        35661                 Litigation        X           Unknown
  Jones, Baron L                             5343 26th Street                                                     Riverside               CA        92509                 Litigation        X           Unknown
  Jones, Carol                               6723 Caro St.                                                        Paramount               CA        90723                 Litigation        X           Unknown
  Jones, Catherine                           3504 Buchanan Avenue                                                 Memphis                 TN        38122                 Litigation        X           Unknown
  Jones, Charles                             PO Box 2142                                                          Darien                  GA        31305                 Litigation        X           Unknown
  Jones, Charles                             212 West 45th Street                                                 Jacksonville            FL        32208                 Litigation        X           Unknown
  Jones, Christopher                         1108 C. Plymouth Road, Apt. C                                        Clarksville             TN        37040                 Litigation        X           Unknown
  Jones, Curtis                              1925 Gold Strike Rd #796                                             San Andreas             CA        95249                 Litigation        X           Unknown
  Jones, Cynthia                             117 Fairview Cir. N                                                  Portsmouth              VA        23702                 Litigation        X           Unknown
  Jones, Donald                              797 NW Kingston Street                                               Port St. Lucie          FL        34983                 Litigation        X           Unknown
  Jones, Dorothy                             3965 Palm Street                                                     Louis                   MO        63107                 Litigation        X           Unknown
  Jones, Douglas                             5663 Balboa Ave. #162                                                San Diego               CA        92111                 Litigation        X           Unknown
  Jones, Dusty                               22501 South 580 Road                                                 Fairland                OK        74343                 Litigation        X           Unknown
  Jones, Eddie                               5066 Al Highway 25                                                   Newbern                 AL      36765-3126              Litigation        X           Unknown
  Jones, Edna Fae                            1104 N Blake Street                                                  Lake Charles            LA        70601                 Litigation        X           Unknown
  Jones, Edwenra                             392 Zierdt Road                                                      Madison                 AL        35756                 Litigation        X           Unknown
  Jones, Elaine                              561 South Piper Court                                                Detroit                 MI        48215                 Litigation        X           Unknown
  Jones, Gerald                              251 S. Robinson St.                                                  Lenox                   GA        31637                 Litigation        X           Unknown
  Jones, Gladys                              1222 S. Horseback St.                                                Wichita                 KS        67230                 Litigation        X           Unknown
  Jones, Gloria Jean                         1104 E Virginia Way                                                  Barstow                 CA        92311                 Litigation        X           Unknown



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  Jones, Gregory                             1431 Roque River Hwy #5                                                  Grant Pass              OR      97527              Litigation        X           Unknown
  Jones, James                               8892 Liscarney Way                                                       Sacramento              CA      95828              Litigation        X           Unknown
  Jones, Jesse Clyde                         26805 North 45th Place                                                   Cave Creek              AZ      85331              Litigation        X           Unknown
  Jones, Joseph                              1045 Patterson Rd.                                                       Florissant              MO      63031              Litigation        X           Unknown
  Jones, Jr., Fred                           4937 Hartley Dr.                                                         Lyndhurst               OH      44124              Litigation        X           Unknown
  Jones, Julia                               10438 Coloma Rd # 32                                                     Rancho Cordova          CA      95670              Litigation        X           Unknown
  Jones, Kara                                28 Savage Rd. Apt 20 A                                                   Milford                 NH      03055              Litigation        X           Unknown
  Jones, Kenneth                             1500 E. Wilson Ave #208                                                  Glendale                CA      91206              Litigation        X           Unknown
  Jones, Leon E.                             408 West Street                                                          Oceanside               CA      92054              Litigation        X           Unknown
  Jones, Leron                               8732 Crystal River                                                       Sacramento              CA      95828              Litigation        X           Unknown
  Jones, Lillie                              6030 Broadstone Court                                                    Columbus                GA      31907              Litigation        X           Unknown
  Jones, Marilynn                            9429 Pine St.                                                            Lenexa                  KS      66220              Litigation        X           Unknown
  Jones, Martha                              PO Box 632                                                               Millport                AL      35576              Litigation        X           Unknown
  Jones, Mary                                743 NE Country Kitchen Road                                              Madison                 FL      32340              Litigation        X           Unknown
  Jones, Myron                               20814 Tribune St.                                                        Chatsworth              CA      91311              Litigation        X           Unknown
  Jones, Norma                               39122 Willowvale Road                                                    Palmdale                CA      93551              Litigation        X           Unknown
  Jones, Patricia                            3701 15th St. Apt 205                                                    Detroit                 MI      48208              Litigation        X           Unknown
  Jones, Ralph                               2344 Hummingbird Lane                                                    Kinston                 NC      28504              Litigation        X           Unknown
  Jones, Robert                              4901 S. Valley Rd. #120                                                  Blue Springs            MO      64015              Litigation        X           Unknown
  Jones, Rochelle                            3006 West Highland Blvd. Apt. 202                                        Milwaukee               WI      53208              Litigation        X           Unknown
  Jones, Rose                                P.O. Box 88223                                                           Indianapolis            IN      46208              Litigation        X           Unknown
  Jones, Roy                                 20478 Hwy 48                                                             Enfield                 NC      27823              Litigation        X           Unknown
  Jones, Roy                                 2453 Sherry St                                                           Deham Springs           LA      70726              Litigation        X           Unknown
  Jones, Rubie                               954 East 512th Road                                                      Morrisville             MO      65710              Litigation        X           Unknown
  Jones, Terri L.                            1324 Stillman Avenue- Apartment 106                                      Redlands                CA      92374              Litigation        X           Unknown
  Jones, Thurman                             P.O. Box 373                                                             Horn Town               VA      23395              Litigation        X           Unknown
  Jones, Toby                                1107 W. Indiana Street # A                                               Evansville              IN      47710              Litigation        X           Unknown
  Jones, Tony                                1021 Homer St.                                                           Logan                   OH      43138              Litigation        X           Unknown
  Jones, Wanda                               P.O. Box 185                                                             Cambridge               MD      21613              Litigation        X           Unknown
  Jordan, Beatrice                           1244 Hanover Ave                                                         Columbus                GA      31903              Litigation        X           Unknown
  Jordan, Eva                                PO Box 413                                                               Webb                    MS      38966              Litigation        X           Unknown
  Jordan, Jr., David                         294 Little River Rd.                                                     Fort Mill               SC      29707              Litigation        X           Unknown
  Jordan, Yvonne                             1848 Century Drive                                                       Greenville              NC      27834              Litigation        X           Unknown
  Jordan-Wilkerson, Barbara                  6955 N. Durango Dr., #2013 Building 2                                    Las Vegas               NV      89149              Litigation        X           Unknown
  Jorgensen, Linda Jean                      6200 Rovner Drive                                                        Riverside               CA      92509              Litigation        X           Unknown
  Jorgensen, Lorine                          6861 Adele Lane                                                          Riverside               CA      92509              Litigation        X           Unknown
  Jorgensen, Victor Andrew                   6200 Rouner Drive                                                        Riverside               CA      92509              Litigation        X           Unknown
  Josephina Hernandez                        Address Unknown                                                                                                             Litigation        X           Unknown
  Jowers, Jana                               8952 Beverly Drive                                                       Irvington                AL     36544              Litigation        X           Unknown
  Joyce, Fr. John                            P.O. Box 10                                                              Albers                   IL     62215              Litigation        X           Unknown
  Joyce, Sandy                               7302 Great Lakes Drive                                                   San Antonio              TX     78244              Litigation        X           Unknown
  Jr., Alja Phifer,                          621 Ward Street                                                          Marlin                   TX     76661              Litigation        X           Unknown
  Jr., George Wilson,                        2343 Westgate Court                                                      Columbia                 TN     38401              Litigation        X           Unknown
  Jr., Isam Pegues,                          12615 South Hoover Street                                                Los Angeles              CA     90044              Litigation        X           Unknown
  Jr., Leopold Bravo,                        11225 Violeta St.                                                        Ventura                  CA     93004              Litigation        X           Unknown
  Jr., Lonnie Walker,                        16243 Tejon Street                                                       Victorville              CA     92392              Litigation        X           Unknown
  Jr., Norris Mitchell,                      Post Office Box 1907                                                     Rialto                   CA     92377              Litigation        X           Unknown
  Jr., Walter Atkins,                        7749 Balboa Blvd.                                                        Van Nuys                 CA     91406              Litigation        X           Unknown
  Judd, Lenna                                6167 Valley View Drive                                                   Highland                 UT     84004              Litigation        X           Unknown
  Juel, Daniel                               2255 Market St. Apt 4                                                    San Francisco            CA     94114              Litigation        X           Unknown



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  Juneau, Jean                               2740 Villemont Court                                                 Marrero                 LA      70072                 Litigation        X           Unknown
  Jung, Klaus-Dieter                         11 Bernard Road N.W.                                                 Calgary                 AB      T3K 2J1   CANADA      Litigation        X           Unknown
  Jurasek, Viola                             43 Sunny Circle                                                      Mason City              IA      50401                 Litigation        X           Unknown
  Jurmu, Helen                               PO Box 138                                                           Mohawk                  MI      49950                 Litigation        X           Unknown
  Justice, Ruth                              5599 Dogwood                                                         Jackson                 MI      49201                 Litigation        X           Unknown
  Kaban, Lorraine                            2924 Eagle States Circle N                                           Clearwater              FL      33761                 Litigation        X           Unknown
  Kadish, Michael                            501 Juan Anasco Dr.                                                  Longboat Key            FL      34228                 Litigation        X           Unknown
  Kadrmas, Roger                             1079 11th Ave. W                                                     Dickinson               ND      58601                 Litigation        X           Unknown
  Kaefer, Betty J.                           2562 Baseline Rd.                                                    Grand Island            NY      14072                 Litigation        X           Unknown
  Kafer, Harold                              1362 Bayswater Drive                                                 High Point              NC      27265                 Litigation        X           Unknown
  Kakara, Rebecca                            1624 Lincolnshire Way                                                Fortworth               TX      76134                 Litigation        X           Unknown
  Kalinich Peterson, Donna Jean              2573 Brandywine Drive                                                Farmers Branch          TX      75234                 Litigation        X           Unknown
  Kalinich, Michael Ray                      709 Shadygrove Court                                                 Grandybury              TX      76049                 Litigation        X           Unknown
  Kalka, Ronald                              890368 South 3420 Road                                               Chandler                OK      74834                 Litigation        X           Unknown
  Kalkofen, Jr., Robert                      2209 Green Mere Drive                                                Arlington               TX      76001                 Litigation        X           Unknown
  Kallsen, Michael                           PO Box 123                                                           Hawarden                IA      51023                 Litigation        X           Unknown
  Kam, Eleanor                               45-720 Kaku Street                                                   Kaneohe                 HI      96744                 Litigation        X           Unknown
  Kammerer, Patricia                         116 Lusk Avenue                                                      Hallstead               PA      18822                 Litigation        X           Unknown
  Kanataryan, Levon                          12345 Burbank Blvd., Apt 3                                           Valley Village          CA      91607                 Litigation        X           Unknown
  Kandilakis, Laura                          3359 Fieldwood Drive                                                 Smyrna                  GA      30080                 Litigation        X           Unknown
  Kane (McClanahan ), Connie                 313 Moores Court                                                     Brentwood               TN      37027                 Litigation        X           Unknown
  Kane, Georgianna                           436 N. Hanford Avenue                                                San Pedro               CA      90732                 Litigation        X           Unknown
  Kane, Leo                                  11805 Shaulls Rd.                                                    Brogue                  PA      17309                 Litigation        X           Unknown
  Kanorr, Alvin                              506 S. Blackhoof St                                                  Wapakoneta              OH      45895                 Litigation        X           Unknown
  Kaplan, Alan                               4808 Cumberland                                                      Chevy Chase             MD      20815                 Litigation        X           Unknown
  Kaplan, Anna                               2947 Charlotte Dr.                                                   Merrick                 NY      11566                 Litigation        X           Unknown
  Kapoor, Amit                               1316 North Raymond Avenue                                            Fullerton               CA      92831                 Litigation        X           Unknown
  Kapoor, Tani                               1316 North Raymond Avenue                                            Fullerton               CA      92831                 Litigation        X           Unknown
  Kapp, Joe                                  233 Edelen Ave.                                                      Los Gatos               CA      95030                 Litigation        X           Unknown
  Kapsos, John                               1818 Staimford Cir.                                                  Wellington              FL      33414                 Litigation        X           Unknown
  Karaban, Margo                             1468 N. Euclid Ave.                                                  Upland                  CA      91786                 Litigation        X           Unknown
  Karlsson , Hanns                           11 Orion Way                                                         Cota De Cata            CA      92679                 Litigation        X           Unknown
  Karnes, Rex                                63490 East 90 Road                                                   Miami                   OK      74354                 Litigation        X           Unknown
  Karo, Richard                              736 Cottonwood Court                                                 Virginia Beach          VA      23462                 Litigation        X           Unknown
  Karolos, Mary                              36653 Pine Valley Court                                              Palmdale                CA      93552                 Litigation        X           Unknown
  Karpan, Sr., Paul                          P.O. Box 455                                                         Melcher                 IA      50163                 Litigation        X           Unknown
  Karr, Carrie                               24416 Island Ave.                                                    Carson                  CA      90745                 Litigation        X           Unknown
  Karr, Irene                                24416 Island Ave.                                                    Carson                  CA      90745                 Litigation        X           Unknown
  Karr, Rebecca                              24809 Panama Ave.                                                    Carson                  CA      90745                 Litigation        X           Unknown
  Karsevar, Evelyn                           PO Box 323                                                           Cedarville              CA      96104                 Litigation        X           Unknown
  Kasian, Allan                              P.O. Box 780                                                         Killdeer                ND      58640                 Litigation        X           Unknown
  Kassis, Rola                               29013 Cambridge Street                                               Garden City             MI      48135                 Litigation        X           Unknown
  Katzman, Ronald                            562 Ravensbury Street                                                Thousand Oaks           CA      91361                 Litigation        X           Unknown
  Kautz, Paul                                1610 N. Cobb Drive                                                   Hobbs                   NM      88240                 Litigation        X           Unknown
  Kautz, Timothy                             10615 Greyfriars Lane                                                Dallas                  TX      75238                 Litigation        X           Unknown
  Kavanagh, Kraig Edward                     38609 Hillside Trail                                                 Murrieta                CA      92562                 Litigation        X           Unknown
  Kaye, Judy                                 4624 Breezy Meadows HWY E67 Lot 8                                    Alverata                TX      76009                 Litigation        X           Unknown
  Keal, Alvin                                519 Flook Street, Apt 1,                                             Garland                 TX      75040                 Litigation        X           Unknown
  Kearney, Hazel                             656 No Bottom Road                                                   Warrenton               NC      27589                 Litigation        X           Unknown
  Kebbeh Lowe, Shirley                       P.O. Box 1706                                                        Pine Lake               GA      30072                 Litigation        X           Unknown



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  Keck, Keenan                               1907 S. Topeka                                                     Wichita                    KS        67211                 Litigation        X           Unknown
  Kee, Dorothy                               505 County Road 167                                                Coffeeville                MS        38922                 Litigation        X           Unknown
  Keelin, Barbara Dianne                     753 Cypress Avenue                                                 Colton                     CA        92324                 Litigation        X           Unknown
  Keelin, Sandie Earline                     753 Cypress Avenue                                                 Colton                     CA        92324                 Litigation        X           Unknown
  Keeling, Marilyn                           14801 F. M. 1394                                                   Wortham                    TX        76693                 Litigation        X           Unknown
  Keels, Evelyn                              5606 Francis Street                                                North Little Rock          AR        72118                 Litigation        X           Unknown
  Keene, Wanda                               1302 Mark Wood Road                                                Dexter                     GA        31019                 Litigation        X           Unknown
  Kehoe, M. Lorraine                         921 Baseline Rd.                                                   Grand Island               NY        14072                 Litigation        X           Unknown
  Keita, Maryam                              428 S. Second Street                                               Darby                      PA        19023                 Litigation        X           Unknown
  Keith III, Charles                         17971 Whitford Lane                                                Huntington Beach           CA        92649                 Litigation        X           Unknown
  Keith Jr., Charles                         24608 Neptune Avenue                                               Carson                     CA        90745                 Litigation        X           Unknown
  Keith, Brenda                              5237 Sydney Street                                                 Port Orange                FL        32127                 Litigation        X           Unknown
  Keith, Brian                               1187 E 3rd Street- Apt. 202                                        Long Beach                 CA        90802                 Litigation        X           Unknown
  Keith, Christine                           1958 Rutherford Rd.                                                Detroit                    MI        48235                 Litigation        X           Unknown
  Keith, Linda                               24608 Neptune Avenue                                               Carson                     CA        90745                 Litigation        X           Unknown
  Keith-Moreno, Amy                          2640 Petaluma Avenue                                               Long Beach                 CA        90815                 Litigation        X           Unknown
  Kelleher, Cathryn S.                       291 Newfield St.                                                   Buffalo                    NY        14207                 Litigation        X           Unknown
  Kelleher, Susanna                          291 Newfield St.                                                   Buffalo                    NY        14207                 Litigation        X           Unknown
  Keller, LaMont                             PO BOX 70                                                          Wisner                     NE        68791                 Litigation        X           Unknown
  Keller, Robert                             156 Westover Drive                                                 Cherry Hill                NJ        08034                 Litigation        X           Unknown
  Kelley, Philip                             7 Bradbury Street                                                  Belfast                    ME        04915                 Litigation        X           Unknown
  Kelley, Preston                            9909 Hwy 134                                                       Elba                       AL        36323                 Litigation        X           Unknown
  Kelley, Robert                             14336 Regatta Pointe Road                                          Midlothian                 VA        23112                 Litigation        X           Unknown
  Kelly, Bryson                              13306 47th Place W.                                                Mukilteo                   WA        98275                 Litigation        X           Unknown
  Kelly, Grace                               119 35th South St.                                                 St. Petersburg             FL        33711                 Litigation        X           Unknown
  Kelly, Jr., John                           PO Box 746                                                         Dennis Port                MA      02639-0746              Litigation        X           Unknown
  Kelly, Judith                              4800 Sycamore Rd.                                                  Atascadero                 CA        93422                 Litigation        X           Unknown
  Kelly, Mable                               206 Wild Rose Dr.                                                  Guyton                     GA        31312                 Litigation        X           Unknown
  Kelly, Marjorie                            311 N. Robertson Blvd. Apt. 182                                    Beverly Hills              CA        90211                 Litigation        X           Unknown
  Kelly, Susan                               20401 Solodad Canyon Rd., #367                                     Santa Clarita              CA        91351                 Litigation        X           Unknown
  Kelly, Tanya                               5358 Rochester St.                                                 Riverside                  CA        92504                 Litigation        X           Unknown
  Kelnosky, Barbara                          723 Bohannan Circle                                                Oswego                     IL        60543                 Litigation        X           Unknown
  Kelso, Jeanette                            2230 E. 17th Street                                                Panama City                FL        32404                 Litigation        X           Unknown
  Kemp, Brenda                               224 Sunshine Street                                                Kellogg                    ID        83837                 Litigation        X           Unknown
  Kemper, Albert                             9265 Burton WAy, #302                                              Beverly hills              CA        90210                 Litigation        X           Unknown
  Kemper, Sharon                             7413 NE 120th Ave.                                                 Vancouver                  WA      98682-4757              Litigation        X           Unknown
  Kempf, Christopher                         3309 Gate Creek Rd.                                                Louisville                 KY        40272                 Litigation        X           Unknown
  Kendall, Elouise                           940 Dawnview Way                                                   Vacaville                  CA        95687                 Litigation        X           Unknown
  Kendrick, Janet                            259 Thompson Branch                                                Pikeville                  KY        41501                 Litigation        X           Unknown
  Keness, Ivan                               21320 N 56th St. Unit 1047                                         Phoenix                    AZ        85054                 Litigation        X           Unknown
  Kennedy, Amanda Lee                        1027 Balsam Wood Trail                                             Villa Rica                 GA        30180                 Litigation        X           Unknown
  Kenney and family, Jacqueline              2356 Staley Rd.                                                    Grand Island               NY        14072                 Litigation        X           Unknown
  Kennison, Claudia                          1631 N. Brawley Avenue                                             Fresno                     CA        93722                 Litigation        X           Unknown
  Kent, Charlene                             10804 S Hale Ave                                                   Chicago                    IL        60643                 Litigation        X           Unknown
  Kent, John W.                              5910 Flores Avenue                                                 Los Angeles                CA        90056                 Litigation        X           Unknown
  Kent, Robert                               518 S. Elizabeth Street                                            Wichita                    KS        67213                 Litigation        X           Unknown
  Kent, Sabrina                              2 Earl Court                                                       Savannah                   GA        31406                 Litigation        X           Unknown
  Kent, Yvonne                               2034 First Street                                                  East Carontelet            IL        62240                 Litigation        X           Unknown
  Keough, John                               218 Santa Fe Trail                                                 Hopatcong                  NJ        07843                 Litigation        X           Unknown
  Kepler, Victor                             3864 Madrona Rd.                                                   Riverside                  CA      92504-3102              Litigation        X           Unknown



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  Kereszi, Edith                             8522 Society Drive                                                Claymont                   DE         19703              Litigation        X           Unknown
  Kerns, Glenn                               1753 NE 12th Street                                               Ocala                      FL         34470              Litigation        X           Unknown
  Kerns, Josephine                           320 Hopkins Court                                                 Alexandria                 VA         22314              Litigation        X           Unknown
  Kerr, Lynn                                 1271 Quail St.                                                    Twin Falls                 ID         83301              Litigation        X           Unknown
  Kessell, Latres                            10769 Almond St.                                                  Adelanto                   CA         92301              Litigation        X           Unknown
  Kester, Philip                             328 1st St.                                                       Sandstone                  MN         55072              Litigation        X           Unknown
  Ketchie, Harold                            4163 West Arrietta Circle                                         La Mesa                    CA         91941              Litigation        X           Unknown
  Ketchum, James                             16707 Garfield Ave. # 1112                                        Paramount                  CA         90723              Litigation        X           Unknown
  Ketchum, Pamela                            16707 Garfield Ave. # 1112                                        Paramount                  CA         90723              Litigation        X           Unknown
  Keyes, Jay                                 6990 S 1700 E                                                     Salt Lake City             UT         84121              Litigation        X           Unknown
  Keys, Carol                                4812 Six Forks Rd. Apt 203                                        Raleigh                    NC         27609              Litigation        X           Unknown
  Khan, Ijaz                                 4100 Deloach Ct                                                   High Point                 NC      27265-1293            Litigation        X           Unknown
  Khouzam, Mtanous                           2970 W Orange Ave, #6                                             Anaheim                    CA         92804              Litigation        X           Unknown
  Kibble, Cherry                             1101 E Arbrook Blvd, Apt 242                                      Arlington                  TX         76014              Litigation        X           Unknown
  Kidd, Ernest                               P.O. Box 275                                                      Falls Mills                VA         24613              Litigation        X           Unknown
  Kidd, Goldman                              20 Lippincott Drive                                               Little Egg Harbor          NJ         08087              Litigation        X           Unknown
  Kidd, Melicia                              141 Jefferson Heights Apt. #12                                    Catskill                   NY         12414              Litigation        X           Unknown
  Kidd, Melissa                              P.O. Box 275                                                      Falls Mills                VA         24613              Litigation        X           Unknown
  Kienlen, Donald                            PO Box 17431                                                      Tucson                     AZ         85731              Litigation        X           Unknown
  Kihn, Suzanne                              18442 Linden Lane                                                 Lewes                      DE         19958              Litigation        X           Unknown
  Kiles, Otis                                2621 W. 141st Place, #2                                           Gardena                    CA         90249              Litigation        X           Unknown
  Kilgore, Betty                             188 Glenwood                                                      Hercules                   CA         94547              Litigation        X           Unknown
  Kilgore, James                             625 Old Magnolia Trail                                            Canton                     GA         30115              Litigation        X           Unknown
  Killian, Charles                           1168 Wyndham Road                                                 Charleston                 SC         29412              Litigation        X           Unknown
  Killion, Megan                             430 Buell Lane                                                    Speedwell                  TN         37870              Litigation        X           Unknown
  Killough, Sarah Lee                        894 CR 87                                                         New Albany                 MS         38652              Litigation        X           Unknown
  Kim, Daniel & Grace                        10990 Turnleaf Ln                                                 Tustin                     CA         92782              Litigation        X           Unknown
  Kimak, Metro                               RTS - 12933 103 Street                                            Edmonton                   AB        T5E-4M2 CANADA      Litigation        X           Unknown
  Kimbell, Joyce                             1800 Appletree Drive                                              Trotwood                   OH         45426              Litigation        X           Unknown
  Kimble, Verastine                          97 14th Street                                                    Vallejo                    CA         94590              Litigation        X           Unknown
  Kimbrogh, Lillie                           2413 Luvenia Dr.                                                  Mobile                     AL         36617              Litigation        X           Unknown
  Kimbrough, James                           17248 Chestnut Drive                                              Belton                     MO         64012              Litigation        X           Unknown
  Kimbrough, Lula                            1413 Scovel Street                                                Nashville                  TN         37208              Litigation        X           Unknown
  Kindernay, Ronald                          100 E. Clark St Apt 303                                           Plano                      IL         60545              Litigation        X           Unknown
  King, Anne                                 5827 Dagwood Ave.                                                 Lakewood                   CA         90712              Litigation        X           Unknown
  King, Carol Ann                            1736 Church Street                                                Barstow                    CA         92311              Litigation        X           Unknown
  King, Eric                                 PO Box 476                                                        Iaeger                     WV         24844              Litigation        X           Unknown
  King, Frances Mae                          27950 John F Kennedy- Unit C                                      Moreno Valley              CA         92555              Litigation        X           Unknown
  King, Hazel                                152 McCain Road                                                   Foxworth                   MS         39483              Litigation        X           Unknown
  King, John David                           3610 Lenwood Road                                                 Barstow                    CA         92311              Litigation        X           Unknown
  King, May                                  8 Hawk Forest Court                                               Defiance                   MO         63341              Litigation        X           Unknown
  King, Nancy                                200 N Hardy Ave.                                                  Independence               MO         64053              Litigation        X           Unknown
  King, Patricia                             408 Peoria Blvd.                                                  Crestview                  FL         32526              Litigation        X           Unknown
  King, Percy                                1822 W. Chester Dr.                                               Nashville                  TN         37207              Litigation        X           Unknown
  King, Phyllis                              15720 N. 800th St.                                                Robinson                   IL         62454              Litigation        X           Unknown
  King, Rose                                 2619 SE Penny Lane                                                Stuart                     FL         34994              Litigation        X           Unknown
  King, Theeda Renee                         16250 S. Laflin Ave.                                              Markham                    IL         60428              Litigation        X           Unknown
  Kingsley, Debbie                           201 S Cebar PO Box 1                                              Goessel                    KS         67053              Litigation        X           Unknown
  King-Threatt, Erma                         403 NW 19th Street                                                Oklahoma City              OK      73103-4620            Litigation        X           Unknown
  Kinler, Steven                             407 Prairie Lake Dr.                                              Fern Park                  FL         32730              Litigation        X           Unknown



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                                                                                                                                                                                   Claim       Unliquidated

  Kinlichinii, Emma                          5303 Scenic Drive                                                          Yakima                    WA        98908                 Litigation        X           Unknown
  Kinnard, Kristopher                        313 Locust st.                                                             Leawood                   MO        63653                 Litigation        X           Unknown
  Kirby, Bessie                              2697 Christopher Columbus Rd                                               Conway                    SC        29526                 Litigation        X           Unknown
  Kirby, Deborah                             4857 Catalina Dr.                                                          Toledo                    OH        43615                 Litigation        X           Unknown
  Kirk, David                                128 Deer Creek Drive                                                       St. Clair                 MO        63077                 Litigation        X           Unknown
  Kirk, Sherman                              582 S. Hague Avenue                                                        Columbus                  OH        43204                 Litigation        X           Unknown
  Kirkpatrick, Walter                        14120 Bernardy Lane                                                        Charlotte                 NC        28269                 Litigation        X           Unknown
  Kirven-Smith, Mildred                      1820 North Hill Avenue                                                     Tyler                     TX      75702-3034              Litigation        X           Unknown
  Kisker, John                               274 McKonkey Dr.                                                           Tonawanda                 NY        14223                 Litigation        X           Unknown
  Kistner, David Walter                      3786 E. Ames Ave.                                                          Kingman                   AZ        86409                 Litigation        X           Unknown
  Kistner, Frank Paul                        P.O. Box 660                                                               Cabazon                   CA        92230                 Litigation        X           Unknown
  Kistner, Theodore                          1757 Lorenzen Drive                                                        San Jose                  CA        95124                 Litigation        X           Unknown
  Kittle, Harry                              19 Woodview Drive                                                          Cartersville              GA        30120                 Litigation        X           Unknown
  Kittles, Michael                           11350 East Clements Circle                                                 Livonia                   MI        48150                 Litigation        X           Unknown
  Klein, Alan                                28303 River Trail Lane                                                     Santa Clarita             CA        91354                 Litigation        X           Unknown
  Klein, Darlene                             14151 County Road #120                                                     Perry                     OK        73077                 Litigation        X           Unknown
  Klein, Kimberly                            1022 S Cochran Avenue                                                      Los Angeles               CA        90019                 Litigation        X           Unknown
  Klenk, Dorene                              98 Elmwood Park E.                                                         Tonawanda                 NY        14150                 Litigation        X           Unknown
  Klett (Dankler), Megan                     20805 Paseo Panorama                                                       Yorba Linda               CA        92887                 Litigation        X           Unknown
  Klevinsky, Dorene                          8820 Walther Blvd., Apt 4126                                               Parkville                 MD        21234                 Litigation        X           Unknown
  Kline, Lauren                              6234 Cavalleri Rd                                                          Malibu                    CA        90265                 Litigation        X           Unknown
  Kline, Maria                               2008 Parador Bend                                                          McDonough                 GA        30253                 Litigation        X           Unknown
  Kline, Marilyn                             115 South Vine St.                                                         Van Wert                  OH        45891                 Litigation        X           Unknown
  Kline, Max                                 2208 6th Avenue                                                            Dodge City                KS        67801                 Litigation        X           Unknown
  Kline, Richard                             1440 SE Pleasantview Drive                                                 Des Moines                IA        50320                 Litigation        X           Unknown
  Klotz, Joseph                              701 Horseshoe Dr.                                                          Pleasant Hill             MO        64080                 Litigation        X           Unknown
  Klump, Terry                               919 Hostetler Rd # lot 28                                                  Orrville                  OH        44667                 Litigation        X           Unknown
  Knapp, James                               305 Madison Ave Suite 2316                                                 New York                  NY        10165                 Litigation        X           Unknown
  Knight, Catherine                          131 W 2nd Street                                                           Mt. Carmel                IL        62863                 Litigation        X           Unknown
  Knight, Dorothy                            The Laurels                           575 Knights Cross Drive Rm A - 114   San Antonio               TX        78528                 Litigation        X           Unknown
  Knight, Jerome                             53 James Clark Drive                                                       Middletown                NY        10940                 Litigation        X           Unknown
  Knight, Mattie                             PO BOX 60080                                                               Washington                DC        20011                 Litigation        X           Unknown
  Knight, Rayfennette                        175 Fox Run Dr.                                                            Jackson                   MS        39212                 Litigation        X           Unknown
  Knight, Richard                            2787 Ruth Knight Road                                                      Middleburg                FL        32068                 Litigation        X           Unknown
  Knipe, Dawn                                5772 Sierra Springs Court                                                  Pollock Pines             CA        95726                 Litigation        X           Unknown
  Knippel, Beverly                           18121 Rose Avenue                                                          Bloomington               CA        92316                 Litigation        X           Unknown
  Knopp, Robin                               29510 333rd Avenue SE                                                      Ravensdale                WA        98051                 Litigation        X           Unknown
  Knox, Frances                              2933 Moffett Ave.                                                          Wichita Falls             TX      76308-4109              Litigation        X           Unknown
  Knox, Virginia                             5875 Mission Blvd.- Apt . 62                                               Riverside                 CA        92509                 Litigation        X           Unknown
  Knudson, Scott                             20 Orchard Ln                                                              Estherville               IA      51334-1806              Litigation        X           Unknown
  Kober, Martin                              8 Niagara Shore Drive                                                      Tonawanda                 NY        14150                 Litigation        X           Unknown
  Kocks, Barbara                             1067 Raven Drive                                                           Bay City                  MI        48706                 Litigation        X           Unknown
  Kodish, Brian                              825 Indian Prairie Dr                                                      Mascouta                  IL        62258                 Litigation        X           Unknown
  Koegle, Kathryn                            8044 Rosecrans Ave.                                                        Paramount                 CA        90723                 Litigation        X           Unknown
  Koegle, Tammy                              8044 Rosecrans Ave.                                                        Paramount                 CA        90723                 Litigation        X           Unknown
  Koeller, Gary                              1955 W. Baseline 113-184                                                   Mesa                      AZ        85202                 Litigation        X           Unknown
  Kohman, Elizabeth                          10684 38th Circle NE                                                       St. Michael               MN        55376                 Litigation        X           Unknown
  Kohrt, Forrest                             P.O. Box 544                                                               Strawberry Point          IA        52076                 Litigation        X           Unknown
  Kolbe, Sue                                 81 N. Nicholas Drive                                                       Tonawanda                 NY        14150                 Litigation        X           Unknown
  Kolbjornsen, Steve                         90-16 210th Place                                                          Queens Village            NY        11428                 Litigation        X           Unknown



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  Kominek, Daitra                            301 Mill Street West                                                       Cannon Falls             MN        55009                 Litigation        X           Unknown
  Komins, Les                                P.O. Box 941845                                                            Simi Valley              CA        93094                 Litigation        X           Unknown
  Konosky, Edward                            2151 E. Southern Avenue #1017                                              Mesa                     AZ        85204                 Litigation        X           Unknown
  Koontz, Richard                            506 Porter Street                                                          Hanford                  CA        93230                 Litigation        X           Unknown
  Koppes, Michael                            503 Goldsmith Street                                                       Chippewa Falls           WI        54729                 Litigation        X           Unknown
  Korpi, Jane                                4923 Eagle Lake Road Duluth                                                Duluth                   MN        55803                 Litigation        X           Unknown
  Korus, Ronald                              110 Pewter Lane                                                            Cobleskill               NY        12043                 Litigation        X           Unknown
  Koshofer, Warren                           5748 Stonecrest Dr                                                         Agoura Hills             CA        91301                 Litigation        X           Unknown
  Koslow, Carolyn                            2516 Glenlawn Place                                                        Herndon                  VA        20171                 Litigation        X           Unknown
  Kosmal, Frank                              1304 Topaz Way                                                             Sacramento               CA        95864                 Litigation        X           Unknown
  Kostusiak, Patricia                        78 Colonial Drive                                                          Kenmore                  NY        14217                 Litigation        X           Unknown
  Kosullavirojana, Tanin                     PO Box 221                                                                 Concord                  CA        94552                 Litigation        X           Unknown
  Koupash, Michael                           444 Tiburon Drive                                                          Myrtle Beach             SC        29588                 Litigation        X           Unknown
  Kovachi, Mary Jane                         109 Brendan Ave.                                                           Tonawanda                NY        14217                 Litigation        X           Unknown
  Kovacs, April                              6205 Cape Cod Ln                                                           Yorba Linda              CA        90028                 Litigation        X           Unknown
  Koval-Diaz, Christopher                    24404 Panama Avenue                                                        Carson                   CA        90745                 Litigation        X           Unknown
  Kovazovich, Nick                           2008 NE Devils Ridge Road                                                  Lincoln City             OR        97367                 Litigation        X           Unknown
  Kowalski, Diane                            400 Mill Street, Apt. 124                                                  Buffalo                  NY        14221                 Litigation        X           Unknown
  Kowski, Linda                              1085 Jaystone Terrace, Apt. 109                                            Waterloo                 WI        53594                 Litigation        X           Unknown
  Kozar, Francis                             15 Penn Street                                                             Mount Pleasant           PA        15666                 Litigation        X           Unknown
  Kraaz, Richard                             1930 Scarlett Meadows Drive                                                Sevierville              TN        37876                 Litigation        X           Unknown
  Kraft, Martin                              222 Jockey Club Dr                                                         Athens                   GA        30605                 Litigation        X           Unknown
  Kramer, Arlene                             1844 Glendon Ave, #101                                                     Los Angeles              CA        90025                 Litigation        X           Unknown
  Krapes, David                              18435 Keswick St, #24                                                      Reseda                   CA        91335                 Litigation        X           Unknown
  Krebs, Harold                              134 Underhill Ave. Apt. 2B                                                 West Harrison            NY        10604                 Litigation        X           Unknown
  Krehely, Donald                            6780 Bunker Hill Circle                                                    Pensacola                FL        32506                 Litigation        X           Unknown
  Krell, Dean                                318 Trail W                                                                McPherson                KS        67460                 Litigation        X           Unknown
  Kremenick, John                            14 Dexter Lane                                                             Kings Park               NY        11754                 Litigation        X           Unknown
  Krise, Gloria                              310 SE Tpeeksin Lane                                                       Shelton                  WA        98584                 Litigation        X           Unknown
  Kristich, Charles and Dorothy              88 Lowell Rd.                                                              Kenmore                  NY        14217                 Litigation        X           Unknown
  Kriz, Carolyn                              770 Waterford Dr Apt 303                                                   Naples                   FL        34113                 Litigation        X           Unknown
  Kroboth, Brenda                            60 Devonshire Road                                                         Hagerstown               MD        21740                 Litigation        X           Unknown
  Krolczyk, Frank                            4177 Dawson Ave.                                                           Warren                   MI      48092-4318              Litigation        X           Unknown
  Kroldart, Mary                             7873 Telephone Road                                                        Leroy                    NY        14482                 Litigation        X           Unknown
  Kronbach, Clyde                            185 Goldenrod Ave Apt. 2                                                   Franklin Square          NY        11010                 Litigation        X           Unknown
  Kropp , Stephanie                          6626 Franklin Ae, #103                                                     Los Angeles              CA        90028                 Litigation        X           Unknown
  Kruck, Carrie                              10851 Maple Avenue                                                         Bloomington              CA        92316                 Litigation        X           Unknown
  Krueger, Catherine                         167 Montblue Drive                                                         Getzville                NY        14068                 Litigation        X           Unknown
  Krueger, John                              6 Parkwood Drive Apt R                                                     South Amboy              NJ        08879                 Litigation        X           Unknown
  Krug, Marie                                29 Kathy Drive                                                             Haverhill                MA        01832                 Litigation        X           Unknown
  Krummell, Martha                           4520 William Blvd. T Building            Apartment 248                     Kener                    LA        70065                 Litigation        X           Unknown
  Kruse, Daniel                              13619 148th Avenue, SE                                                     Yelm                     WA        98597                 Litigation        X           Unknown
  Krzywanoski, Florence                      512 Avenue F                                                               Brooklyn                 NY        11218                 Litigation        X           Unknown
  Kudlets, Josephine                         284 Main St., Apt. 108                                                     Tonawanda                NY        14150                 Litigation        X           Unknown
  Kudo, Frederick                            47-694 Wailehua Place                                                      Kaneohe                  HI        96744                 Litigation        X           Unknown
  Kuenzler, Adeline                          1009 Brookfield Glen Drive                                                 Belvidere                NJ        07823                 Litigation        X           Unknown
  Kuhle, Karen                               1646 E. Orangeside Road                                                    Palm Harbor              FL        34683                 Litigation        X           Unknown
  Kuhn, Neal                                 55 Beardsley Road                                                          Lowell                   OH        45744                 Litigation        X           Unknown
  Kuhnert, Matthew Lewis                     365 NE Starr ST. #24                                                       Sublimity                OR      97385-9559              Litigation        X           Unknown
  Kujawa, Jr., Edmund                        10356 Chestnut Rd                                                          Dunkirk                  NY        14048                 Litigation        X           Unknown



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  Kumar, Ratesh                              7300 Florinda Way                                                     Sacramento                CA        95828                 Litigation        X           Unknown
  Kurbanick, John                            3517 Mary Street                                                      Endwell                   NY        13760                 Litigation        X           Unknown
  Kurkowski, Victoria                        520 University Avenue                                                 Buffalo                   NY        14223                 Litigation        X           Unknown
  Kurowski, Mary                             2265 Sprucewood Drive                                                 Youngstown                OH        44515                 Litigation        X           Unknown
  Kurtz, Greg                                3837 Traditional Dr.                                                  Ft. Collins               CO        80526                 Litigation        X           Unknown
  Kurtzworth, Claudia                        162 Bouck St.                                                         Tonawanda                 NY        14150                 Litigation        X           Unknown
  Kurz, Rebecca                              91-1024 Aeae St.                                                      Ewa Beach                 HI        96706                 Litigation        X           Unknown
  Kuter, Robert                              3496 E. 2153rd Road                                                   Ottawa                    IL        61350                 Litigation        X           Unknown
  Kydney, Raymond                            6121 Princess Margaret Drive                                          Lincoln                   NE        68516                 Litigation        X           Unknown
  Kyle, Judith                               2305 Crosstrail Ridge                                                 Rock Hill                 SC        29732                 Litigation        X           Unknown
  Kyles, Percy                               1734 Honey Brook Lane                                                 St. Louis                 MO        63138                 Litigation        X           Unknown
  La Fond, Denise                            33502 Steele Ave                                                      Aqua Dulce                CA        91390                 Litigation        X           Unknown
  La Fond, Denise                            23924 Arroyo Park Drive, Unit 127                                     Valencia                  CA        91355                 Litigation        X           Unknown
  Labarda Jr., Carlito                       24524 Island Avenue                                                   Carson                    CA        90745                 Litigation        X           Unknown
  Labbe, Cecil                               4845 Flagler Estates Blvd                                             Hastings                  FL        32145                 Litigation        X           Unknown
  LaBeau, William                            6925 Willow Brook Road                                                Racine                    WI        53402                 Litigation        X           Unknown
  Lachner, Leo                               01 E. 88th Ave, Apt #0-109                                            Thorton                   CO        80229                 Litigation        X           Unknown
  Lacich, Jr., Stanley                       3370 NW 67 Street                                                     Fort Lauderdale           FL        33309                 Litigation        X           Unknown
  Lacoss, Robert                             5 Jones Avenue                                                        Walnut Ridge              AR        72476                 Litigation        X           Unknown
  Lacy, Lee Ruth                             4303 Blue Spring Road                                                 Huntsville                AL        35810                 Litigation        X           Unknown
  Laez Salaz, Elia                           6346 Broadway Street                                                  Newark                    CA        94560                 Litigation        X           Unknown
  Lafferty Jr, Jack                          5660 34th Street                                                      Riverside                 CA        92509                 Litigation        X           Unknown
  Lafferty Sr, Jack Lewis                    5660 34th Street                                                      Riverside                 CA        92509                 Litigation        X           Unknown
  Lafferty, April Lynn                       910 N. Jefferson St.                                                  Lexington                 NE        68850                 Litigation        X           Unknown
  Lafferty, Heather                          5660 34th Street                                                      Riverside                 CA        92509                 Litigation        X           Unknown
  Lafferty, JoAnne                           5660 34th Street                                                      Riverside                 CA        92509                 Litigation        X           Unknown
  Lafferty, Marilyn                          26303 Old Anvil Lane                                                  Moreno Valley             CA        92555                 Litigation        X           Unknown
  Lafferty, Stephanie                        910 North Jefferson St.                                               Lexington                 NE        68850                 Litigation        X           Unknown
  Lafler, Kenneth                            23871 Via Astuto                                                      Murrieta                  CA        92562                 Litigation        X           Unknown
  Lafleur, Leon                              12 Collins St.                                                        Chicopee                  MA        01022                 Litigation        X           Unknown
  LaFleur, Walter                            199 Great Road                                                        North Smithfield          RI        02896                 Litigation        X           Unknown
  Laforteza, Dennis                          24737 Marbella Avenue                                                 Carson                    CA        90745                 Litigation        X           Unknown
  Laforteza, Flordeliz                       24737 Marbella Avenue                                                 Carson                    CA      90745-6414              Litigation        X           Unknown
  Laforteza, Pamela                          24737 Marbella Avenue                                                 Carson                    CA        90745                 Litigation        X           Unknown
  Lago, Edward                               4251 N. Concord Dr.                                                   Crystal River             FL        34205                 Litigation        X           Unknown
  Laguerre, Jack                             2951 Northwest 43rd Terrace Apt. C                                    Fort Lauderdale           FL        33313                 Litigation        X           Unknown
  Laird, Jerry                               2990 White Thorn Road                                                 Shingle Springs           CA        95682                 Litigation        X           Unknown
  Lal, Jasmine                               24629 Island Avenue                                                   Carson                    CA        90745                 Litigation        X           Unknown
  Lal, Jowahir                               24629 Island Avenue                                                   Carson                    CA        90745                 Litigation        X           Unknown
  Lal, Rajiv                                 24629 Island Avenue                                                   Carson                    CA        90745                 Litigation        X           Unknown
  Lamadrid, Josie A.                         18832 3rd Street                                                      Bloomington               CA        92316                 Litigation        X           Unknown
  Lamb, Nichole Lynn                         10435 Buckboard Circle                                                Adelanto                  CA        92301                 Litigation        X           Unknown
  Lambert, Anna                              PO Box 1114                                                           Dunbar                    WV        25064                 Litigation        X           Unknown
  Lambert, Don                               3052 Polk Rd. #44                                                     Mena                      AR        71953                 Litigation        X           Unknown
  Lambert, Frances                           5103 Bedrock Rd                                                       Julian                    NC        27283                 Litigation        X           Unknown
  Lambert, Maggie L.                         4410 Crimson Court                                                    Sugarland                 TX        77479                 Litigation        X           Unknown
  Lamie, Margaret                            P.O. Box 118                                                          Wedron                    IL        60557                 Litigation        X           Unknown
  Laminack, John Thomas                      160 A Bennett Street                                                  Heflin                    AL        36264                 Litigation        X           Unknown
  Lamkin, Mava                               1250 Alamos West                                                      Corrales                  NM        87048                 Litigation        X           Unknown
  Lampley, James                             3653 West St.                                                         Thompsonville              IL       62890                 Litigation        X           Unknown



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  Lanas, Larry                               157 Hayes Avenue                                                   San Jose                 CA         95123                 Litigation        X           Unknown
  Landaeta, Anthony                          16465 Green Tree Blvd #5G                                          Victorville              CA         92395                 Litigation        X           Unknown
  Landes, Charles                            940 Amber Road                                                     Louisa                   VA         23093                 Litigation        X           Unknown
  Landey Sr., Allen                          314 Yvonne Dr.                                                     Enterprise               AL         36330                 Litigation        X           Unknown
  Landingham                                 31952 Paseo De Tania                                               San Juan Capistrano      CA         92675                 Litigation        X           Unknown
  Landingham, Justin                         1696 Carmel Crt                                                    BEaumont                 CA         92223                 Litigation        X           Unknown
  Landingin, Josephine                       24503 Neptune Avenue                                               Carson                   CA         90745                 Litigation        X           Unknown
  Landis, Joe                                1104 Autumn Park                                                   Oxford                   NC      27565-3495               Litigation        X           Unknown
  Lane, Ella                                 1733 Abbreton Way Apt. 3B                                          High Point               NC         27260                 Litigation        X           Unknown
  Lane, James                                111 West State St. # 1413                                          Rockford                 IL         61101                 Litigation        X           Unknown
  Lane, Robert                               810 Sanga Creek Road                                               Cordova                  TN         38018                 Litigation        X           Unknown
  Lane, Sharon                               3289 South Desert View Drive                                       Apache Junction          AZ      85120 -9554              Litigation        X           Unknown
  Lane, Tony                                 497 Forehand Road NE                                               Pikeville                NC         27863                 Litigation        X           Unknown
  Lanes, Theodis                             3876 Hodges Road                                                   Metter                   GA         30439                 Litigation        X           Unknown
  Lang, Judy                                 8 Elrod Road                                                       Boag                     AL         35957                 Litigation        X           Unknown
  Langager, David                            24631 N. 43rd Drive                                                Glendale                 AZ         85310                 Litigation        X           Unknown
  Langer, Edith                              191 Long Hill Hwy                                                  Brooks                   ME         04921                 Litigation        X           Unknown
  Langford, Dianne                           PO Box 3903                                                        Dayton                   OH         45401                 Litigation        X           Unknown
  Langley, Barbara                           26 Dykes West Rd.                                                  Waynesboro               MS         39367                 Litigation        X           Unknown
  Lanham, Lynell                             533 Mountain View Dr.                                              Twinn Falls              ID         83301                 Litigation        X           Unknown
  Lanham, Sue                                21622 Grip Road                                                    Sedrow Woolley           WA         98284                 Litigation        X           Unknown
  Lanning, Darlene                           354 Belva Ct.                                                      Logan                    OH         43138                 Litigation        X           Unknown
  Lantis, Maryann                            223 Oregon Street                                                  Gridley                  CA         95948                 Litigation        X           Unknown
  Lantto, Reuben                             20314 Kensington Way                                               Lakeville                MN      55044-5948               Litigation        X           Unknown
  LaPonza, Linda                             4225 Solano Avenue #697                                            Napa                     CA         94558                 Litigation        X           Unknown
  Lara Jr., Candelario                       2416 Thatcher Avenue                                               River Grove              IL         60171                 Litigation        X           Unknown
  Lara, Alejandro                            24533 Panama Avenue                                                Carson                   CA         90745                 Litigation        X           Unknown
  Lara, Jose                                 24533 Panama Avenue                                                Carson                   CA         90745                 Litigation        X           Unknown
  Lara, Marjorie Sue                         3695 Avalon Street Apartment 34                                    Riverside                CA         92509                 Litigation        X           Unknown
  Lara, Timothy                              2475 Hall Avenue                                                   Riverside                CA         92509                 Litigation        X           Unknown
  Lara-Rodriguez                             7347 Evans St                                                      Riverside                CA         92504                 Litigation        X           Unknown
  Lara-Sanchez, Alma                         24744 Carmel Drive                                                 Carson                   CA         90745                 Litigation        X           Unknown
  Larios-Panduro, Mario                      1062 Sentinel Avenue                                               Los Angeles              CA         90063                 Litigation        X           Unknown
  LaRiviere, Jimar                           4491 Strong Street                                                 Riverside                CA         92501                 Litigation        X           Unknown
  LaRiviere, Kathryn Ann                     4491 Strong Street                                                 Riverside                CA         92501                 Litigation        X           Unknown
  Larkins, Dorothy                           4019 Ramona Ave.                                                   Dallas                   TX         75216                 Litigation        X           Unknown
  Larkins, Mary                              1931 Thronhill Dr.                                                 Akron                    OH         44319                 Litigation        X           Unknown
  Larrieu, Dylan                             23505 Moneta Avenue                                                Carson                   CA         90745                 Litigation        X           Unknown
  Larrieu, Geddy                             3129 N. Greenbrier Rd.                                             Long Beach               CA         90808                 Litigation        X           Unknown
  Larrieu, Gordon                            24325 Crenshaw Blvd.- Unit #374                                    Torrance                 CA         90505                 Litigation        X           Unknown
  Larsen, Robert                             3501 Robinhood Lane                                                Texarkana                TX         75501                 Litigation        X           Unknown
  Larson, Duane                              1612 Wyoming Ave.                                                  Superior                 WI         54880                 Litigation        X           Unknown
  Larson, Susan                              741 Smith Road                                                     Martin                   TN         38237                 Litigation        X           Unknown
  Lashbrook, Terry                           3530 Cactus Creek Dr                                               Spring                   TX         77386                 Litigation        X           Unknown
  Lasswell, Barbara                          24436 Island Avenue                                                Carson                   CA         90745                 Litigation        X           Unknown
  Lasswell, Harold                           24436 Island Avenue                                                Carson                   CA         90745                 Litigation        X           Unknown
  Lasswell, Jennifer                         765 Harbor Cliff Way #129                                          Oceanside                CA         92054                 Litigation        X           Unknown
  Lasswell, Thomas E.                        24436 Island Avenue                                                Carson                   CA         90745                 Litigation        X           Unknown
  Lasswell, Thomas J.                        472 Frasier St. SE                                                 Marietta                 GA         30060                 Litigation        X           Unknown
  Lathon, Alice                              19601 N. 7th St. Unit 1064                                         Phoenix                  AZ         85024                 Litigation        X           Unknown



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  Latifi, Alex                               15 Asbury Road SE                                                     Huntsville               AL        35801                 Litigation        X           Unknown
  Latorre, Emily                             418 Live Oak Avenue                                                   Orange City              FL        32763                 Litigation        X           Unknown
  Latorres, Lucas                            5688 E Butler Avenue                                                  Fresno                   CA        93727                 Litigation        X           Unknown
  Lattimer, Rosa L.                          10016 Tristan Drive. #A-1                                             Downey                   CA        90240                 Litigation        X           Unknown
  Laurent, Margarete                         1191 Glen Iris Drive Unit 303                                         Fayetteville             NC        28314                 Litigation        X           Unknown
  Lauterio, Catherine                        5827 Dagwood Ave                                                      Lakewood                 CA        90712                 Litigation        X           Unknown
  Laux, Anthony Gordon                       18830 4th Street                                                      Bloomington              CA        92316                 Litigation        X           Unknown
  Laux, Diane Ornorina                       18830 4th Street                                                      Bloomington              CA        92316                 Litigation        X           Unknown
  Lavan, Ausino                              2500 E Wallisville Rd #57                                             Highland                 TX        77562                 Litigation        X           Unknown
  Lavergne, Ruth                             3117 South Woods Avenue                                               McHenry                  IN        60051                 Litigation        X           Unknown
  LaVoise, Nancy                             2742 Cabrillo Ave Unit 110                                            Torrance                 CA        90501                 Litigation        X           Unknown
  Law, Constance                             777 Magnolia Way #1325                                                Atlanta                  GA        30314                 Litigation        X           Unknown
  Lawhorn, Rita                              6750 White Oak Drive                                                  Hialeah                  FL        33014                 Litigation        X           Unknown
  Lawhorn, Yolande                           700 Ashton Place Circle, Apt 756                                      Ashburn                  GA        31714                 Litigation        X           Unknown
  Lawlor, Jennifer Lynn                      P.O. Box 231                                                          Oro Grande               CA        92368                 Litigation        X           Unknown
  Lawrence, Bernice                          10142 Barlow Road                                                     Hazlehurst               MS        39083                 Litigation        X           Unknown
  Lawrence, Elmer                            PO Box 377                                                            Brookfield               OH        44403                 Litigation        X           Unknown
  Lawrence, James                            5110 Milward Dr.                                                      Madison                  WI        53711                 Litigation        X           Unknown
  Lawson, Elizabeth                          6415 York Avenue Apt-203                                              Minneapolis              MA        55435                 Litigation        X           Unknown
  Lawson, Latavis                            5909 Cindy St.                                                        Ball                     LA      71405-3383              Litigation        X           Unknown
  Lawson, Marvin                             4628 Westgate Rd                                                      Willmington              NC        28405                 Litigation        X           Unknown
  Lawson, Mary                               4020 Garrison Blvd.                                                   Baltimore                MD        21215                 Litigation        X           Unknown
  Lawson, Willie Lee                         620 Cherry Ave.                                                       Birmingham               AL        35214                 Litigation        X           Unknown
  Lawton, Joyce                              504 Trees of Avalon Pkwy                                              MCDonough                GA        30253                 Litigation        X           Unknown
  Laxa, James                                24722 Marbella Avenue                                                 Carson                   CA        90745                 Litigation        X           Unknown
  Laxa-Salazar, Clare                        24722 Marbella Avenue                                                 Carson                   CA        90745                 Litigation        X           Unknown
  Layton, Tom & Rosa                         1951 Ravista Lane                                                     La Canada                CA        91011                 Litigation        X           Unknown
  Le Boy, Randall                            200 Olive Avenue, Space 30                                            Vista                    CA        92083                 Litigation        X           Unknown
  Le, Loi                                    8651 Palos Verdes Ave                                                 Westminster              CA        92683                 Litigation        X           Unknown
  Lea, Nancy                                 14600 Saticoy St., #235                                               Van Nuys                 CA        91405                 Litigation        X           Unknown
  Leandro, David Lee                         901 East Washington St.- Apt. #328                                    Colton                   CA        92324                 Litigation        X           Unknown
  Leanos, Leticia                            1021 Harbor Village Dr. Apt. B                                        Harbor City              CA        90710                 Litigation        X           Unknown
  Leath, Vivian                              8502 Osprey Court                                                     Fort Washington          MD        20744                 Litigation        X           Unknown
  Leathem, Mae                               980 Peachers Mill Road                                                Clarksville              TN        37042                 Litigation        X           Unknown
  Lebish, Warren                             2108 Mountain City Street                                             Henderson                NV        89052                 Litigation        X           Unknown
  LeBlanc, Carolyn                           RTS - 2043 West 80th Street                                           Chicago                  IL        60620                 Litigation        X           Unknown
  Lebow, Jimmy                               PO Box 1092                                                           Ashdown                  AR        71822                 Litigation        X           Unknown
  LeClair, Edward                            1117 Belleza St.                                                      Camarillo                CA        93012                 Litigation        X           Unknown
  Ledbetter, Gerald                          1614 Cobb                                                             Hobbs                    NM        88240                 Litigation        X           Unknown
  Ledbetter, Sr., Larry                      135 Dietz Rd                                                          Ringgold                 GA        30736                 Litigation        X           Unknown
  Ledesma, Aida                              24508 Island Avenue                                                   Carson                   CA        90745                 Litigation        X           Unknown
  Ledesma, Pat                               3497 Pontiac Avenue                                                   Riverside                CA        92509                 Litigation        X           Unknown
  Ledesma, Randy T.                          3497 Pontiac Avenue                                                   Riverside                CA        92509                 Litigation        X           Unknown
  Ledesma, Tom                               3497 Pontiac Avenue                                                   Riverside                CA        92509                 Litigation        X           Unknown
  Ledsinger, Lavonia                         405 Warner Street NW                                                  Huntsville               AL        35805                 Litigation        X           Unknown
  Lee Sr., Charles                           6618 Leavenworth Road                                                 Kansas City              KS        66104                 Litigation        X           Unknown
  Lee, Brenell                               25558 Highway 603                                                     Kiln                     MS        39556                 Litigation        X           Unknown
  Lee, Ching                                 3213 Hastings Road SW                                                 Huntsville               AL        35801                 Litigation        X           Unknown
  Lee, Clarence                              2035 W. 157th St., #1                                                 Gardena                  CA        90249                 Litigation        X           Unknown
  Lee, Diane                                 1294 North Circle Dr.                                                 Crystal River            FL        34429                 Litigation        X           Unknown



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  Lee, Etta                                  PO Box 1094                                                      Bloomfield                 NM        87413                 Litigation        X           Unknown
  Lee, Janene                                6420 1/2 Brynhurst Avenue                                        Los Angeles                CA      90043-3840              Litigation        X           Unknown
  Lee, Jesse                                 124 Murray Vista Circle                                          Lexington                  SC        29072                 Litigation        X           Unknown
  Lee, Tony                                  902 McComb Lane                                                  Cedarhill                  TX        75104                 Litigation        X           Unknown
  Lee, Wesley                                9 Jackman Drive, Apt. A                                          Poughkeepsie               NY        12603                 Litigation        X           Unknown
  Legates, Cordelia                          599 Booth Branch Rd.                                             Greenwood                  DE        19950                 Litigation        X           Unknown
  Legge, Laura                               119 8th Street Altizer                                           Huntington                 WV        25705                 Litigation        X           Unknown
  Leggett, Earnestine                        3625 Wellborn Rd. Apt 1401                                       Bryan                      TX        77802                 Litigation        X           Unknown
  Leggitt, Jane                              667 Mississippi St                                               Gary                       IN        46402                 Litigation        X           Unknown
  Lehman, Elizabeth                          1291 S 28th Street, Apt 604                                      Harrisburg                 PA        17111                 Litigation        X           Unknown
  Lehman, Tracie                             3481 E. 2153rd Road                                              Ottawa                     IL        61350                 Litigation        X           Unknown
  Lehmann, Betty                             2322 11th St.                                                    Anacortes                  WA        98221                 Litigation        X           Unknown
  Leigh, Brian                               10708 Greenwood Road, Apt 1                                      Kansas City                MO        64134                 Litigation        X           Unknown
  Leigh, Deborah                             13505 E. 1950 West Road                                          Pontial                    IL        61764                 Litigation        X           Unknown
  Leija, Charles                             1461 Raleigh Dr.                                                 Brighton                   MI        48114                 Litigation        X           Unknown
  Leisher, Sr., Jerome                       210 Abbey Dr.                                                    Mount Wolf                 PA        17347                 Litigation        X           Unknown
  Leisner, Kenneth                           P.O. Box 133                                                     Pacific Palisades          CA      90272-0133              Litigation        X           Unknown
  LeLacheur, Robert                          28 Caroline Drive                                                Milton                     MA        02186                 Litigation        X           Unknown
  Leland, Marcella Evans                     252 Tingley Street                                               San Francisco              CA        94112                 Litigation        X           Unknown
  Lemar, Harold                              444 Currituck Drive                                              Chesapeake                 VA        23322                 Litigation        X           Unknown
  Lemmert, Rebecca                           4111 Harvey                                                      Munhall                    PA        15120                 Litigation        X           Unknown
  Lenoir, Norma J.                           3224 North Sierra Way                                            San Bernardino             CA        92405                 Litigation        X           Unknown
  Lenoir, Tijuana                            PO Box 165                                                       Riverside                  CA        92502                 Litigation        X           Unknown
  Lenoir-Sanderson, Kimberly                 25310 Cole Street                                                Loma Linda                 CA        92354                 Litigation        X           Unknown
  Lens, Gregory                              1014 Lauren Street                                               New Braunfels              TX        78130                 Litigation        X           Unknown
  Lenz, Sharon                               13992 Mango Dr.                                                  Del Mar                    CA        92014                 Litigation        X           Unknown
  Leon Jr., Luis                             1129 Capital Drive Unit 52                                       San Pedro                  CA        90732                 Litigation        X           Unknown
  Leon, Frank                                1726 Bayview Avenue                                              Wilmington                 CA        90744                 Litigation        X           Unknown
  Leon, Praxedes                             4203 Hackett Avenue                                              Lakewood                   CA        90713                 Litigation        X           Unknown
  Leon, Richard                              4203 Hackett Avenue                                              Lakewood                   CA        90713                 Litigation        X           Unknown
  Leon, Robert                               4203 Hacket Avenue                                               Lakewood                   CA        90713                 Litigation        X           Unknown
  Leonard, Carol                             1201 SE Mill Pond Court #24                                      Ankeny                     IA        50021                 Litigation        X           Unknown
  Lepard, James                              4 Sieben Drive                                                   Middletown                 NJ        07748                 Litigation        X           Unknown
  Leskovansky, Tonja                         PO Box 137                                                       Hyde                       PA        16843                 Litigation        X           Unknown
  Lester - Rawlings, Mary                    2158 W. Sallowtail Place                                         Nampa                      ID        83686                 Litigation        X           Unknown
  Lester, Bruce                              PO Box 41                                                        Plains                     TX        79355                 Litigation        X           Unknown
  Lester, Fleming                            RTS- 909 Carolina Avenue                                         Bluefield                  WV        24701                 Litigation        X           Unknown
  Leu, Fred                                  2660 S. Coleman Avenue                                           Homossassa                 FL        34448                 Litigation        X           Unknown
  Leugemors, Roger                           39 Autumn Ct                                                     Glenwood                   NY        14069                 Litigation        X           Unknown
  Levander, Steven                           72964 Skyward Way                                                Palm Desert                CA        92260                 Litigation        X           Unknown
  Levato, Joseph                             282 Hailey Drive, #282B                                          Ringgold                   GA        30736                 Litigation        X           Unknown
  LeVea, Kenneth and Amy                     26 Crane Place                                                   Tonawanda                  NY        14150                 Litigation        X           Unknown
  Levier, Glenn                              PO BOX 10704                                                     Portland                   ME        04104                 Litigation        X           Unknown
  Levy, Jack                                 2097 NW Pine Tree Way                                            Stuart                     FL      34994-8829              Litigation        X           Unknown
  Levy, James                                73-1339 Kukuna Street                                            Kailua Kona                HI        96740                 Litigation        X           Unknown
  Levy, Jerome                               601 Tree House Cir                                               St. Augustine              FL        32095                 Litigation        X           Unknown
  Levy, Jill                                 5003 Palmetto St.                                                Bellaire                   TX        77401                 Litigation        X           Unknown
  Lewis Sr., Alvin                           P.O Box 103                                                      Rialto                     CA        92377                 Litigation        X           Unknown
  Lewis, Andrea                              513 Uxbridge Dr.                                                 Las Vegas                  NV        89178                 Litigation        X           Unknown
  Lewis, Angela                              6301 Sierra Blanca, Apt# 3608                                    Houston                    TX        77083                 Litigation        X           Unknown



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  Lewis, Brandi                              513 Uxbridge Dr.                                                   Las Vegas               NV        89178                 Litigation        X           Unknown
  Lewis, Charles                             16 Sweet Fern Dr.                                                  Cuddebackville          NY        12729                 Litigation        X           Unknown
  Lewis, Clarence                            210 Bradshaw Dr.                                                   Sewickley               PA        15143                 Litigation        X           Unknown
  Lewis, David                               7328 Parkwoods Drive                                               Stockton                CA        95207                 Litigation        X           Unknown
  Lewis, Elvira                              6 W Grant Street                                                   McRae                   GA        31055                 Litigation        X           Unknown
  Lewis, Gloria Faye                         2976 Taos Drive                                                    Riverside               CA        92509                 Litigation        X           Unknown
  Lewis, Gloria Jean                         1155 South 225th Lane                                              Buckeye                 AZ        85326                 Litigation        X           Unknown
  Lewis, Jackie                              PO Box 71                                                          Bolton                  MS        39041                 Litigation        X           Unknown
  Lewis, Janet                               1517 Tasker                                                        Hobbs                   NM        88240                 Litigation        X           Unknown
  Lewis, Marc                                2976 Taos Drive                                                    Riverside               CA        92509                 Litigation        X           Unknown
  Lewis, Nikisha                             6723 Caro St.                                                      Paramount               CA        90723                 Litigation        X           Unknown
  Lewis, Reginald Antoine                    2976 Taos Drive                                                    Riverside               CA        92509                 Litigation        X           Unknown
  Lewis, Reynaud                             1155 S. 225th Lane                                                 Buckeye                 AZ        85326                 Litigation        X           Unknown
  Lewis, Robert                              3517 S. Rockwell                                                   Chicago                 IL      60632-1003              Litigation        X           Unknown
  Lewis, Rodrequiez                          4 Short Street                                                     Jacksonvilee            AL        36262                 Litigation        X           Unknown
  Lewis, Sandra                              4566 Maplewood Drive                                               Baltimore               MD        21229                 Litigation        X           Unknown
  Lewis, Sr., Raymond                        2543 Guernsey Dell Avenue                                          Riverside               OH        45404                 Litigation        X           Unknown
  Lewis, Wanda Renee                         26585 Bonita Heights Ave.                                          Moreno Valley           CA        92555                 Litigation        X           Unknown
  Lewis-Graham, Anna Belle                   22738 Lukens Lane                                                  Perris                  CA        92570                 Litigation        X           Unknown
  Leydman, Sofya                             271 25th Ave.                                                      San Francisco           CA        94121                 Litigation        X           Unknown
  Leyerly, Diane                             3070 Lytle Creek Road                                              Lytle Creek             CA        92358                 Litigation        X           Unknown
  Leyerly, Tommy                             3070 Lytle Creek Road                                              Lytle Creek             CA        92358                 Litigation        X           Unknown
  Leyva, Isabel                              2754 Avalon Street                                                 Riverside               CA        92509                 Litigation        X           Unknown
  Leyva, Rosa Maria                          2754 Avalon Street                                                 Riverside               CA        92509                 Litigation        X           Unknown
  Li, Juan                                   120 E Main St                                                      San Gabriel             CA        91776                 Litigation        X           Unknown
  Licea, Araceli                             5243 W 87th Street                                                 Oak Lawn                IL        60453                 Litigation        X           Unknown
  Liddall, Anthony                           154 S Thoreau Terrace                                              Galloway                NJ        08205                 Litigation        X           Unknown
  Liebenthal, Paul                           261 Fern Meadow Drive                                              Bakersfield             CA        93308                 Litigation        X           Unknown
  Liebowitz, Barbara                         PO Box 212                                                         Belford                 NJ        07718                 Litigation        X           Unknown
  Liesinger, Betty                           1981 Yargerville                                                   LaSalle                 MI        48145                 Litigation        X           Unknown
  Lievanos, Maria T.                         6223 Tarragona Drive                                               Riverside               CA        92509                 Litigation        X           Unknown
  Ligney, Janet                              702 Woodside Ave.                                                  Essexville              MI        48732                 Litigation        X           Unknown
  Likens, Tamara                             3206 Scottsville Road, Lot 7                                       Lafayette               TN        37083                 Litigation        X           Unknown
  Lime, Nancy                                1000 7th Ave                                                       Albany                  GA        31701                 Litigation        X           Unknown
  Limones, John                              43036 Denmore Ave.                                                 Lancaster               CA        93535                 Litigation        X           Unknown
  Limosnero, Michael                         3011 Brimhall Drive                                                Los Alamitos            CA        90720                 Litigation        X           Unknown
  Limosnero, Ninette                         3011 Brimhall Drive                                                Los Alamitos            CA        90720                 Litigation        X           Unknown
  Linares, Nilda                             10630 SW 146th Court                                               Miami                   FL        33186                 Litigation        X           Unknown
  Lincoln, Cloteen                           14616 Summit Ave.                                                  Maple Heights           OH        44137                 Litigation        X           Unknown
  Lincoln, Nathan                            53252 Timber View Road                                             North Fork              CA        93643                 Litigation        X           Unknown
  Lindkvist, Mark                            125 Barrow Street, Unit 3B                                         New York                NY        10014                 Litigation        X           Unknown
  Lindo, Thelma                              305 E. Zurich Drive                                                Payson                  AZ        85541                 Litigation        X           Unknown
  Lindsey, Roger                             2006 Indiana                                                       Sikeston                MO        63801                 Litigation        X           Unknown
  Lindstrom, Richard                         29 Hidden Valley Road                                              Osterville              MA        02655                 Litigation        X           Unknown
  Linehan, Maureen                           928 Huntington Dr, #7                                              Arcadia                 CA        91007                 Litigation        X           Unknown
  Link, William                              198 Salem Ave NW                                                   Port Charlotte          FL        33952                 Litigation        X           Unknown
  Linn-Hulsey, Elizabeth                     23709 Vine Avenue                                                  Torrance                CA        90501                 Litigation        X           Unknown
  Lippard, Brycene                           1350 Eager Ave                                                     Snowflake               AZ        85937                 Litigation        X           Unknown
  Lipscomb, Rita                             1548 Verbena St.                                                   Denver                  CO        80220                 Litigation        X           Unknown
  Lipsey, Christopher                        1212 Cranbrook Avenue                                              Torrance                CA        90503                 Litigation        X           Unknown



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  Lipsey, Marrion                            98 Connecticut Ave                                                     Munfurd                  TN      30858              Litigation        X           Unknown
  Lira, Guadalupe                            24623 Island Avenue                                                    Carson                   CA      90745              Litigation        X           Unknown
  Lira, Miguel D.                            24623 Island Avenue                                                    Carson                   CA      90745              Litigation        X           Unknown
  Lira, Miguel G.                            24623 Island Avenue                                                    Carson                   CA      90745              Litigation        X           Unknown
  Lising, Anita                              502 E 245th Street                                                     Carson                   CA      90745              Litigation        X           Unknown
  Lisk, Linda                                511 J Avenue                                                           Vinton                   IA      52349              Litigation        X           Unknown
  Lister, Bertha                             2835 SE Capitol View Ct.                                               Topeka                   KS      66605              Litigation        X           Unknown
  Litteral, Juanita                          5061 East Falcon Road                                                  Salyersville             KY      41465              Litigation        X           Unknown
  Little, Doshie                             1425 Halsey Loop Rd                                                    Hope Mills               NC      28348              Litigation        X           Unknown
  Little, Fred                               Route 1 Box 115                                                        Rosston                  OK      73855              Litigation        X           Unknown
  Little, Herthalene                         RTS - 9502 Miles Ave, Apt 4                                            Cleveland                OH      44105              Litigation        X           Unknown
  Little, Mary Helen                         1500 W. Berry                                                          Hobbs                    NM      88240              Litigation        X           Unknown
  Liverzani, Antoinette                      10770 Aquidneck Island Ct Apt 101                                      Tampa                    FL      33615              Litigation        X           Unknown
  Livingston, Stuart                         913 East 10th Street                                                   Bay Minette              AL      36507              Litigation        X           Unknown
  Lizama, Marianne                           7560 Willow Way                                                        Citrus Heights           CA      95610              Litigation        X           Unknown
  Lledo, Jorge                               10050 SW 122nd Ct.                                                     Miami                    FL      33186              Litigation        X           Unknown
  Lloyd, Ronald                              5 Randall Ct                                                           Massena                  NY      13662              Litigation        X           Unknown
  Lobato, Kimberly Ann                       2756 College Drive                                                     Rialto                   CA      92376              Litigation        X           Unknown
  Loberiza, Norma                            7180 Wolf Run Shoals Rd                                                Fairfax Station          VA      22039              Litigation        X           Unknown
  Locher, Carole                             PO Box 1844                                                            Glendale                 CA      91209              Litigation        X           Unknown
  Lockhart, Courtney                         2 Solana                                                               Irvine                   CA      92603              Litigation        X           Unknown
  Lockhart, Drema                            1518 Oleander Avenue                                                   Chesapeake               VA      23325              Litigation        X           Unknown
  Locklear, Douglas                          1532 Iona Church Rd                                                    Rowland                  NC      28383              Litigation        X           Unknown
  Lofgren, Betty                             5625 Lime Ave, #A                                                      Long Beach               CA      90805              Litigation        X           Unknown
  Lofland, Michael                           25380 Bee Tree Road                                                    Henderson                MD      21640              Litigation        X           Unknown
  Lofthouse, Victoria                        24702 Panama Avenue                                                    Carson                   CA      90745              Litigation        X           Unknown
  Logan, Diane                               342 Old Camp Rd                                                        Mifflintown              PA      17059              Litigation        X           Unknown
  Logan, Jacqlynn                            765 N. First Street, Apt. B                                            Grover Beach             CA      93433              Litigation        X           Unknown
  Lomax, James                               8142 Mills Gap Way                                                     Sacramento               CA      95828              Litigation        X           Unknown
  Lomeli, Anthony                            24743 Ravenna Avenue                                                   Carson                   CA      90745              Litigation        X           Unknown
  Lomeli, Ermelinda                          24743 Ravenna Avenue                                                   Carson                   CA      90745              Litigation        X           Unknown
  Lomeli, Henry                              24743 Ravenna Avenue                                                   Carson                   CA      90745              Litigation        X           Unknown
  Lomeli, Melinda                            24743 Ravenna Avenue                                                   Carson                   CA      90745              Litigation        X           Unknown
  London, Emanuel                            8526 Madison St.                                                       Paramount                CA      90723              Litigation        X           Unknown
  London, Kathleen                           8526 Madison St.                                                       Paramount                CA      90723              Litigation        X           Unknown
  Long III, Charles                          373 E 249th Street                                                     Carson                   CA      90745              Litigation        X           Unknown
  Long Jr., Charles                          373 E 249th Street                                                     Carson                   CA      90745              Litigation        X           Unknown
  Long, Benjamin                             3256 Byrdville-Freeman Road                                            Delco                    NC      28436              Litigation        X           Unknown
  Long, Donna                                RTS - 500 North Emerson St Apt 1108                                    Wenatchee                WA      98801              Litigation        X           Unknown
  Long, Jonathan                             614 Bertram Rd                                                         Linesville               PA      16424              Litigation        X           Unknown
  Long, Joshua B.T.                          470 North Poplar Street                                                Orange                   CA      92868              Litigation        X           Unknown
  Long, Kevin                                373 E 249th Street                                                     Carson                   CA      90745              Litigation        X           Unknown
  Long, Nancy Yudiet                         470 North Poplar Street                                                Orange                   CA      92868              Litigation        X           Unknown
  Long, Naser Taeb                           470 N. Poplar Street                                                   Orange                   CA      92868              Litigation        X           Unknown
  Long, Penny                                3595 Santa Fe Avenue- #150                                             Long Beach               CA      90810              Litigation        X           Unknown
  Long, Ricky                                616 West Main St.                                                      Midlothian               TX      76065              Litigation        X           Unknown
  Long, Rose                                 2440 Lynwood Avenue                                                    Russellville             AL      35654              Litigation        X           Unknown
  Long, Unknown                              87 Shawomet Ave.                                                       Warwick                  RI      02889              Litigation        X           Unknown
  Long, Vanessa Praxedes Taeb                470 North Poplar Street                                                Orange                   CA      92868              Litigation        X           Unknown
  Longshaw, Janis                            P.O. Box 1046                                                          Thatcher                 AZ      95552              Litigation        X           Unknown



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  Longueil, Deborah                          1206 Western Avenue                                                Brattleboro               VT      05301              Litigation        X           Unknown
  Lons, James                                736 Lincoln Ave Apt 206                                            Alameda                   CA      94501              Litigation        X           Unknown
  Loob, Hubert                               17700 South West Ave., Unit 116                                    Gardena                   CA      90248              Litigation        X           Unknown
  Lopato, Alea                               10 Chelsea St. Apt. 2L                                             Worcester                 MA      01610              Litigation        X           Unknown
  Lopez Jr., Albert                          24528 Neptune Avenue                                               Carson                    CA      90745              Litigation        X           Unknown
  Lopez Jr., Miguel                          24411 Marbella Avenue                                              Carson                    CA      90745              Litigation        X           Unknown
  Lopez Perez, Salvador                      2139 E. 4th Street- Space 19                                       Ontario                   CA      91764              Litigation        X           Unknown
  Lopez Rodriguez, Rosa                      11107 Cottonwood Ave                                               Hesperia                  CA      92345              Litigation        X           Unknown
  Lopez Ruiz, Rosalinda                      11204 Cactus Avenue                                                Bloomington               CA      92316              Litigation        X           Unknown
  Lopez, Albert F.                           428 W. N Street                                                    Colton                    CA      92324              Litigation        X           Unknown
  Lopez, Alberto                             24528 Neptune Avenue                                               Carson                    CA      90745              Litigation        X           Unknown
  Lopez, Alma                                24509 Ravenna Avenue                                               Carson                    CA      90745              Litigation        X           Unknown
  Lopez, Arturo A.                           24509 Ravenna Avenue                                               Carson                    CA      90745              Litigation        X           Unknown
  Lopez, Arturo O.                           16601 Garfield Ave.- Space 208                                     Paramount                 CA      90723              Litigation        X           Unknown
  Lopez, Beatriz                             23314 Sesame Street Apt 17H                                        Torrance                  CA      90502              Litigation        X           Unknown
  Lopez, Bessie                              24411 Marbella Avenue                                              Carson                    CA      90745              Litigation        X           Unknown
  Lopez, Bridget                             24416 Neptune Avenue                                               Carson                    CA      90745              Litigation        X           Unknown
  Lopez, Brittany                            24416 Neptune Avenue                                               Carson                    CA      90745              Litigation        X           Unknown
  Lopez, Catherine                           24416 Neptune Avenue                                               Carson                    CA      90745              Litigation        X           Unknown
  Lopez, Catherine E.                        348 E 248th Street                                                 Carson                    CA      90745              Litigation        X           Unknown
  Lopez, Chrystina                           24416 Neptune Avenue                                               Carson                    CA      90745              Litigation        X           Unknown
  Lopez, David                               24608 Ravenna Avenue                                               Carson                    CA      90745              Litigation        X           Unknown
  Lopez, Donna                               36639 Sycamore St.                                                 Newark                    CA      94560              Litigation        X           Unknown
  Lopez, Gloria                              24509 Ravenna Avenue                                               Carson                    CA      90745              Litigation        X           Unknown
  Lopez, Guadalupe                           2139 E. 4th Street- Space 19                                       Ontario                   CA      91764              Litigation        X           Unknown
  Lopez, Hector                              348 E 248th Street                                                 Carson                    CA      90745              Litigation        X           Unknown
  Lopez, Jorge                               1039 S Union Ave, #24                                              Los Angeles               CA      90015              Litigation        X           Unknown
  Lopez, Jose                                24416 Neptune Avenue                                               Carson                    CA      90745              Litigation        X           Unknown
  Lopez, Jose A.                             22106 Clarkdale Avenue                                             Hawaiian Gardens          CA      90716              Litigation        X           Unknown
  Lopez, Julia                               7922 Day Creek Blvd. Apt. 2305                                     Rancho Cucamonga          CA      91739              Litigation        X           Unknown
  Lopez, Magdalena                           24528 Neptune Avenue                                               Carson                    CA      90745              Litigation        X           Unknown
  Lopez, Maria                               24533 Panama Avenue                                                Carson                    CA      90745              Litigation        X           Unknown
  Lopez, Marissa                             24416 Neptune Avenue                                               Carson                    CA      90745              Litigation        X           Unknown
  Lopez, Mayra                               24528 Neptune Avenue                                               Carson                    CA      90745              Litigation        X           Unknown
  Lopez, Michelle                            24509 Ravenna Avenue                                               Carson                    CA      90745              Litigation        X           Unknown
  Lopez, Nelly C.                            18787 14th Street                                                  Bloomington               CA      92316              Litigation        X           Unknown
  Lopez, Ofelia                              24608 Ravenna Avenue                                               Carson                    CA      90745              Litigation        X           Unknown
  Lopez, Ramos                               732 S Normandie Ave                                                Los Angeles               CA      90005              Litigation        X           Unknown
  Lopez, Ricardo                             12026 Pepper Street                                                Bloomington               CA      92316              Litigation        X           Unknown
  Lopez, Ruben C.                            23314 Sesame Street Apt 17H                                        Torrance                  CA      90502              Litigation        X           Unknown
  Lopez, Ruben V.                            24533 Panama Avenue                                                Carson                    CA      90745              Litigation        X           Unknown
  Lopez, Vincent                             9204 Otto Street                                                   Downey                    CA      90240              Litigation        X           Unknown
  Lopez-Fiamengo, Dyan                       24602 Ravenna Avenue                                               Carson                    CA      90745              Litigation        X           Unknown
  Lopez-Lavalle, Lilly                       24613 Panama Avenue                                                Carson                    CA      90745              Litigation        X           Unknown
  Lopez-Lavalle, Marcella                    24613 Panama Avenue                                                Carson                    CA      90745              Litigation        X           Unknown
  Lopez-Sanchez, Cecilia                     8700 Gracie Allen Dr                                               Los Angeles               CA      90048              Litigation        X           Unknown
  Lord, Ferney                               PO BOX 353                                                         Madisonville              TX      77864              Litigation        X           Unknown
  Lorenzo, Crystal                           450 Washington Street                                              Middletown                CT      06457              Litigation        X           Unknown
  Loria, Michael                             8351 Terhune Avenue                                                Sun Valley                CA      91352              Litigation        X           Unknown
  Lothringer, Jeff                           6844 John St.                                                      Riverside                 CA      92509              Litigation        X           Unknown



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  Louden, Delores                            105 Magnolia Lane                                                      Yorktown                 VA      23690              Litigation        X           Unknown
  Louis, Jody                                5335 El Rio Avenue Apartment C                                         Riverside                CA      92509              Litigation        X           Unknown
  Louis, Leroy                               5875 Mission Blvd. # D31                                               Riverside                CA      92509              Litigation        X           Unknown
  Louis, Roy                                 PO BOX 76                                                              McGehee                  AR      71654              Litigation        X           Unknown
  Louks, Judith                              530 Danley Rd.                                                         Charlotte                TN      37036              Litigation        X           Unknown
  Louviere, Henrietta                        8346 Oak Streeet                                                       Sorrento                 LA      70778              Litigation        X           Unknown
  Love , Christina                           855 Perry Court                                                        Santa Barbara            CA      93111              Litigation        X           Unknown
  Love, Carl                                 504 Quail Lane                                                         Desoto                   TX      75115              Litigation        X           Unknown
  Love, Christine                            PO Box 1883                                                            Raeford                  NC      28376              Litigation        X           Unknown
  Love, Dennis                               639 Courtney Court                                                     Newbury Park             CA      91320              Litigation        X           Unknown
  Love, Etta Mae                             12813 Mona Blvd.                                                       Compton                  CA      90222              Litigation        X           Unknown
  Love, Frankie                              2518 Presley Road                                                      Texarkana                TX      75501              Litigation        X           Unknown
  Love, Howard G.                            348 Fantasy Way                                                        Palmdale                 CA      93551              Litigation        X           Unknown
  Love, John                                 20310 Linseed Drive                                                    Spring                   TX      77388              Litigation        X           Unknown
  Love, Lawrence                             1046 W. 25th Street                                                    West Palm Beach          FL      33404              Litigation        X           Unknown
  Lovejoy, Gloria                            1375 9 Mile Road                                                       Ranger                   WV      25557              Litigation        X           Unknown
  Loveless, Sr., David                       514 Constance Ave.                                                     Ft. Wayne                IN      46805              Litigation        X           Unknown
  Lovell, Coy                                710 Hill Dr                                                            Guthrie                  OK      73044              Litigation        X           Unknown
  Lover, Darlene                             5750 Kenwood Place                                                     Riverside                CA      92509              Litigation        X           Unknown
  Lover, Thomaszina                          5731 Kenwood Place                                                     Riverside                CA      92509              Litigation        X           Unknown
  Lovett, Stanford                           553 Wilcox Road Unit B                                                 Austintown               OH      44515              Litigation        X           Unknown
  Lovins, Jennings                           RTS - 1571 S Smithville Rd                                             Dayton                   OH      45410              Litigation        X           Unknown
  Lowe, Barbara                              12219 Terra Bella                                                      Pacoima                  CA      91331              Litigation        X           Unknown
  Lowe, Paul                                 5134 Logan Ave.                                                        San Diego                CA      92114              Litigation        X           Unknown
  Lowe, Sarah                                204 S. Quebec Ave.                                                     Tulsa                    OK      74112              Litigation        X           Unknown
  Lowe-Bason, Bobbie Angela                  4191 Tolkein Avenue                                                    North Las Vegas          NV      89115              Litigation        X           Unknown
  Lowery, Diane                              110 S. Irena Avenue #A                                                 Redondo Beach            CA      90277              Litigation        X           Unknown
  Lowrey, Anderson                           3025 Rockwood Trails                                                   St. Charles              MO      63303              Litigation        X           Unknown
  Lowrey, Jesse                              24502 Neptune Avenue                                                   Carson                   CA      90745              Litigation        X           Unknown
  Loyd, James                                1084 Norwood Creek Road                                                Winchester               TN      37398              Litigation        X           Unknown
  Lozano (Burian), Jaylene                   6030 Terragona Drive                                                   Riverside                CA      92509              Litigation        X           Unknown
  Lozano, Anthony                            364 E 248th Street                                                     Carson                   CA      90745              Litigation        X           Unknown
  Lozano, Monica                             364 E 248th Street                                                     Carson                   CA      90745              Litigation        X           Unknown
  Lozano, Pablo O.                           P.O. Box 841                                                           Colton                   CA      92324              Litigation        X           Unknown
  Lozon, William                             12820 N E 139th Ct                                                     Kirkland                 WA      98034              Litigation        X           Unknown
  Lubbers, Henry                             20758 Tabler Rd., Apt 106B                                             Thackerville             OK      73459              Litigation        X           Unknown
  Lucas, Hazel Elizabeth                     1030 West G Street                                                     Colton                   CA      92324              Litigation        X           Unknown
  Lucas, Lei-Ann                             513 Dunblane Way                                                       Fayetteville             NC      28311              Litigation        X           Unknown
  Lucas, Patricia                            2453 Artist Ave                                                        Interlochen              MI      49643              Litigation        X           Unknown
  Lucas, Ruth                                PO Box 3145                                                            Sparks                   NV      89431              Litigation        X           Unknown
  Lucas, Shannon                             4610 Stonebrook Avenue                                                 Kalamazoo                MI      49009              Litigation        X           Unknown
  Lucero, Dolores                            24733 Marbella Avenue                                                  Carson                   CA      90745              Litigation        X           Unknown
  Lucero, Jason Lee                          #V33131 A2-123                          P.O. Box 290066                Represa                  CA      95671              Litigation        X           Unknown
  Lucero, Joe                                5166 Gaviota NW                                                        Alburquerque             NM      87120              Litigation        X           Unknown
  Lucero, Margaret T.                        9931 Montgomery Ave.                                                   Sepulveda                CA      91343              Litigation        X           Unknown
  Lucero, Ricky                              24733 Marbella Avenue                                                  Carson                   CA      90745              Litigation        X           Unknown
  Lucero, Robert                             24733 Marbella Avenue                                                  Carson                   CA      90745              Litigation        X           Unknown
  Lucero, Rudy                               24733 Marbella Avenue                                                  Carson                   CA      90745              Litigation        X           Unknown
  Luckey Sr., Jeffery Earl                   2040 W. Acacia Ave.- Apt. #133                                         Hemet                    CA      92545              Litigation        X           Unknown
  Ludovici Jr., Joseph                       963 Bald Rock Rd.                                                      Cherry Creek             CA      95916              Litigation        X           Unknown



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  Ludwigsen, Robert                          1259 Devonwood Drive, Apt. 101                                        Merced                   CA        95348                   Litigation        X           Unknown
  Luera, Jose                                7724 Rudyard Circle                                                   Antelope                 CA        95843                   Litigation        X           Unknown
  Luers, Neil                                1652 County Road 15                                                   Wahoo                    NE        68066                   Litigation        X           Unknown
  Luevano, Jessica Cruzita-Reyna             2884 Demeter Place                                                    Rubidoux                 CA        92509                   Litigation        X           Unknown
  Luevano, Monalisa                          2884 Demeter Place                                                    Rubidoux                 CA        92509                   Litigation        X           Unknown
  Luft, Gene                                 2412 N. Greeley Dr                                                    Kelso                    WA        98626                   Litigation        X           Unknown
  Luhrsen, Allan                             378 E 249th Street                                                    Carson                   CA        90745                   Litigation        X           Unknown
  Luhrsen, Andrew                            378 E 249th Street                                                    Carson                   CA        90745                   Litigation        X           Unknown
  Luhrsen, Susan                             378 E 249th Street                                                    Carson                   CA        90745                   Litigation        X           Unknown
  Lui, Andrea                                13012 Riverside Dr, #6                                                Sherman Oaks             CA        91423                   Litigation        X           Unknown
  Lujan Jr., Frank John                      2990 Avalon St.                                                       Riverside                CA      92509-2015                Litigation        X           Unknown
  Lujan, Filiberto                           28700 Delaware Place                                                  Tehachapi                CA        93561                   Litigation        X           Unknown
  Luke, Briggette L.                         855 N. Murray Street                                                  Banning                  CA        92220                   Litigation        X           Unknown
  Luke, Lacey                                4166 Strong Street                                                    Riverside                CA        92501                   Litigation        X           Unknown
  Luke, Quette Joyce                         286 Parkview Extension                                                Athens                   GA        30605                   Litigation        X           Unknown
  Lumbley, Wayne                             10501 N. World Drive                                                  Hobbs                    NM        88242                   Litigation        X           Unknown
  Luna, Adam                                 1315 Kansas St.,                                                      Robstown                 TX        78380                   Litigation        X           Unknown
  Luna, Aidee                                6225 Lime Ave.                                                        Long Beach               CA        90805                   Litigation        X           Unknown
  Luna, Antonia                              24739 Neptune Avenue                                                  Carson                   CA        90745                   Litigation        X           Unknown
  Luna, Brian                                1425 Frost Street                                                     Edwards                  CA        93523                   Litigation        X           Unknown
  Luna, Eric                                 6225 Lime Ave.                                                        Long Beach               CA        90805                   Litigation        X           Unknown
  Luna, Hipolita                             122 Willettts Avenue                                                  New London               CT        06326                   Litigation        X           Unknown
  Luna, Issac                                1412 S 61st Ct., Apt. 1                                               Cicero                   IL        60804                   Litigation        X           Unknown
  Luna, Josefina M.                          12042 Hall Avenue                                                     Bloomington              CA        92316                   Litigation        X           Unknown
  Luna, Lorenza                              24609 Ravenna Avenue                                                  Carson                   CA        90745                   Litigation        X           Unknown
  Luna, Raymond                              PO Box 6614                                                           Eagle Pass               TX        78853                   Litigation        X           Unknown
  Lunberg, James                             29615 NE Weslinn Dr                                                   Corvallis                OR        97333                   Litigation        X           Unknown
  Lundy, Tomilee                             103 Woodale                                                           Rogers                   AR        72756                   Litigation        X           Unknown
  Lunsford, David                            1570 E Main St Lot 69                                                 Lancaster                OH        43130                   Litigation        X           Unknown
  Luo, Wei Jian                              79-3 Jing Sui Road #1602                                              Guangzhou                                     China        Litigation        X           Unknown
  Lupo, Raymond                              PO Box 163                                                            Sunnyside                UT        84539                   Litigation        X           Unknown
  Luscinski, John                            654 Keys Ferry Rd.                                                    Wellington               AL        36279                   Litigation        X           Unknown
  Lutz, John                                 17327 E. Fontana Way                                                  Fountain Hills           AZ        85268                   Litigation        X           Unknown
  Luviano-Vidales, Esther                    6017 Barcelona Avenue                                                 Riverside                CA        92509                   Litigation        X           Unknown
  Lux, Jacqueline                            12230 Wildwood Drive                                                  North Bend               OR        97459                   Litigation        X           Unknown
  Ly, David                                  1429 S 4th St, #A                                                     Alhambra                 CA        91803                   Litigation        X           Unknown
  Lyczynksi, Regina                          26581 River Breeze Drive                                              Millfboro                DE        19966                   Litigation        X           Unknown
  Lyday, Inez                                15315 Elm Street                                                      Georgetown               IL        61846                   Litigation        X           Unknown
  Lymon White, Jomica                        25328 Runsey Court                                                    Moreno Valley            CA        92551                   Litigation        X           Unknown
  Lymon, Janice Claire                       25328 Runsey Court                                                    Moreno Valley            CA        92551                   Litigation        X           Unknown
  Lynch, Avery                               PO Box 24                                                             Bishop                   VA        24604                   Litigation        X           Unknown
  Lynn-Horton, Lynnette                      5618 Malvern Way                                                      Capital Heights          MD        20743                   Litigation        X           Unknown
  Lyons, Bettina                             2855 Santa Inez Pl                                                    Tucson                   AZ        85715                   Litigation        X           Unknown
  Lyons, Jeffrey                             3693 Snouffer Road                                                    Columbus                 OH        43235                   Litigation        X           Unknown
  Lyons, Renee                               1286 E. 47th St.                                                      Los Angeles              CA        90011                   Litigation        X           Unknown
  Maas, John                                 8817 Misty Hollow Dr                                                  Midwest City             OK        73110                   Litigation        X           Unknown
  Mabalo, Froilan                            24733 Carmel Drive                                                    Carson                   CA        90745                   Litigation        X           Unknown
  Mabry, Marjorie                            562 Marion Amos Road                                                  Roseboro                 NC        28382                   Litigation        X           Unknown
  Macaluso, Richard                          8126 Stagewood Dr.                                                    Humble                   TX        77338                   Litigation        X           Unknown
  MacCabe, Betty                             300 W. Crystal Lake Ave., Apt. 410                                    Haddonfield              NJ        08033                   Litigation        X           Unknown



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  MacDonald, Colleen                         425 Kawailoa Rd. Apt. D                                            Kailua                HI      96734              Litigation        X           Unknown
  MacDonald, Robert                          914 W. Roberts Ave                                                 Nampa                 ID      83651              Litigation        X           Unknown
  Macedo, Jose Trinidad                      5663 Paula Street                                                  Riverside             CA      92509              Litigation        X           Unknown
  MacEwan, Chelsee                           146 Sheridan Street                                                Johnstown             PA      15906              Litigation        X           Unknown
  Machado, Eliana                            6711 26th Street West                                              Bradenton             FL      34207              Litigation        X           Unknown
  Machniak, Denise Clare                     3640 Mears Avenue                                                  Riverside             CA      92509              Litigation        X           Unknown
  Macias Arce, Noe                           24427 Marbella Avenue                                              Carson                CA      90745              Litigation        X           Unknown
  Macias, Joseph                             24427 Marbella Avenue                                              Carson                CA      90745              Litigation        X           Unknown
  Macias, Katherine                          37851 20th St. East, #E-11                                         Palmdale              CA      93550              Litigation        X           Unknown
  Macias, Sylvia                             P. O. Box 511                                                      Lancaster             CA      93584              Litigation        X           Unknown
  Macias-Zuniga, Jesus                       24427 Marbella Avenue                                              Carson                CA      90745              Litigation        X           Unknown
  Mack, Patricia                             79 Webster Road                                                    Weston                ME      02493              Litigation        X           Unknown
  Mack, Queen Melinda                        16870 Verdura Ave.                                                 Paramount             CA      90723              Litigation        X           Unknown
  Mack, Saundra                              4 E. 107th Street, Apt. 5G                                         New York              NY      10029              Litigation        X           Unknown
  MAck, Shelly Renae                         1368 Babel Lane                                                    Concord               CA      94518              Litigation        X           Unknown
  Mackey, Lillian                            30 Pine Street                                                     Libby                 MT      59923              Litigation        X           Unknown
  Mackey, Rodney                             2920 Limerick Road                                                 Clyde                 OH      43410              Litigation        X           Unknown
  MacLeod, David                             24618 Neptune Avenue                                               Carson                CA      90745              Litigation        X           Unknown
  MacLeod, Malcolm                           24618 Neptune Avenue                                               Carson                CA      90745              Litigation        X           Unknown
  MacLeod, Shaaron                           24618 Neptune Avenue                                               Carson                CA      90745              Litigation        X           Unknown
  MacWhinnie, Barbara                        176 Columbus Ave. # 302 A                                          Pittsfield            MA      01201              Litigation        X           Unknown
  Madden, Mitchell                           P.O. Box 10985                                                     Fort Smith            AR      72917              Litigation        X           Unknown
  Maddox, Amanda                             PO Box 245                                                         Lepanto               AR      72354              Litigation        X           Unknown
  Madero, Arsenio & Eloisa                   10143 California Ave                                               Riveside              CA      92503              Litigation        X           Unknown
  Madole, Robert                             13450 Bayton Dr                                                    Victorville           CA      92392              Litigation        X           Unknown
  Madonna, David                             220 Longview Drive                                                 Berlin                CT      06037              Litigation        X           Unknown
  Madrid, Anna                               24726 Marbella Ave.                                                Carson                CA      90745              Litigation        X           Unknown
  Madrid, Jack Fredrick                      6253 Ebony Legends Ave.                                            Las Vegas             NV      89131              Litigation        X           Unknown
  Madrigal, Edward                           RTS - 2549 Camara Circle, Apt A                                    Concord               CA      94520              Litigation        X           Unknown
  Madrigal, Socorro                          24602 Neptune Avenue                                               Carson                CA      90745              Litigation        X           Unknown
  Magallanes, Maria                          10597 Roxbury Avenue                                               Bloomington           CA      92316              Litigation        X           Unknown
  Magallon, Esequiel                         24419 Neptune Avenue                                               Carson                CA      90745              Litigation        X           Unknown
  Magallon, Karen                            24419 Neptune Avenue                                               Carson                CA      90745              Litigation        X           Unknown
  Magallon, Lori                             24419 Neptune Avenue                                               Carson                CA      90745              Litigation        X           Unknown
  Magallon-Hamlin, Karen                     2408 Daneland Street                                               Lakewood              CA      90712              Litigation        X           Unknown
  Magana, Adam                               1663 Lagoon Avenue                                                 Carson                CA      90744              Litigation        X           Unknown
  Magana, Adan                               24738 Neptune Avenue                                               Carson                CA      90745              Litigation        X           Unknown
  Magana, Elsa                               15336 1/2 Paramount Blvd.                                          Paramount             CA      90723              Litigation        X           Unknown
  Magana, Esther                             24738 Neptune Avenue                                               Carson                CA      90745              Litigation        X           Unknown
  Magana, Hector                             24738 Neptune Avenue                                               Carson                CA      90745              Litigation        X           Unknown
  Magana, Maricela                           24738 Neptune Avenue                                               Carson                CA      90745              Litigation        X           Unknown
  Magana, Mario                              24709 Neptune Avenue                                               Carson                CA      90745              Litigation        X           Unknown
  Magas, Rebecca                             18800 Westwood Drive, Apt 318                                      Strongsville          OH      44136              Litigation        X           Unknown
  Magdaleno, Adolfo                          505 N Wilmington Ave.                                              Compton               CA      90220              Litigation        X           Unknown
  Magdaleno, Anabel                          1622 Bay View Avenue                                               Wilmington            CA      90744              Litigation        X           Unknown
  Magdaleno, Benito                          1622 Bay View Avenue                                               Wilmington            CA      90744              Litigation        X           Unknown
  Magdaleno, Daniel                          1622 Bay View Avenue                                               Wilmington            CA      90744              Litigation        X           Unknown
  Magdaleno, Ernie                           3607 Creekview Court                                               McKinney              TX      75071              Litigation        X           Unknown
  Magdaleno, Vitalina                        505 N Wilmington Ave.                                              Compton               CA      90220              Litigation        X           Unknown
  Mageno, Jesse                              8201 70th St.                                                      Paramount             CA      90723              Litigation        X           Unknown



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  Mageno, Jessica                            15547 California Ave.                                           Paramount                     CA        90723                 Litigation        X           Unknown
  Maggio Jr., Willie                         24722 Ravenna Avenue                                            Carson                        CA        90745                 Litigation        X           Unknown
  Maggio, Vivian                             24722 Ravenna Avenue                                            Carson                        CA        90745                 Litigation        X           Unknown
  Magno, Gabrielle                           24422 Neptune Avenue                                            Carson                        CA        90745                 Litigation        X           Unknown
  Magno, Gil                                 24422 Neptune Avenue                                            Carson                        CA        90745                 Litigation        X           Unknown
  Magno, Gilbert                             24422 Neptune Avenue                                            Carson                        CA        90745                 Litigation        X           Unknown
  Magno, Yasmin                              24422 Neptune Avenue                                            Carson                        CA        90745                 Litigation        X           Unknown
  Magwood, Michelle                          1404 Tree Mountain Parkway                                      Stone Mountain                GA        30083                 Litigation        X           Unknown
  Mahalic, Drew                              2114 SW Sunset Dr.                                              Portland                      OR        97239                 Litigation        X           Unknown
  Maher, Freda                               3912 Maher Way                                                  Alton                         IL        62002                 Litigation        X           Unknown
  Mahoney, Vijayanthi                        79 Willow St.                                                   Carteret                      NJ        07008                 Litigation        X           Unknown
  Mainella, Allen                            25 Martin Lane                                                  Westbury                      NY        11590                 Litigation        X           Unknown
  Mainer, Laticia                            1518 Hemmer Lane, Apt. O                                        Mishawaka                     IN        46545                 Litigation        X           Unknown
  Major, Martha                              5 Gleneagles Lane                                               Bulverde                      TX        78163                 Litigation        X           Unknown
  Majoris, Donna                             PO Box 2459                                                     Wintersville                  OH        43953                 Litigation        X           Unknown
  Majors , Mamie                             222 E. Custis Ave.                                              Alexandria                    VA        22301                 Litigation        X           Unknown
  Majors, Mark                               PO Box 1500                                                     Tatum                         NM        88267                 Litigation        X           Unknown
  Makary, Ayad                               8653 Mayne Street                                               Bellflower                    CA        90706                 Litigation        X           Unknown
  Malaussena, William                        3130 S Main Street                                              Montgomery Center             VT        05471                 Litigation        X           Unknown
  Maldonado, Diana                           4815 Matney Ave                                                 Long Beach                    CA        90807                 Litigation        X           Unknown
  Malik, Abdul                               40 Hitching Post Drive                                          Rolling Hills Estate          CA      90274-5169              Litigation        X           Unknown
  Malik, Aneela                              40 Hitching Post Drive                                          Rolling Hills Estate          CA      90274-5169              Litigation        X           Unknown
  Malik, Moneeba                             40 Hitching Post Drive                                          Rolling Hills Estate          CA      90274-5169              Litigation        X           Unknown
  Malin, Estelle                             6202 NW 45th St.                                                Coconut Creek                 FL        33073                 Litigation        X           Unknown
  Malkemus, William                          3160 Frenchhill Dr                                              Powhatan                      VA        23139                 Litigation        X           Unknown
  Mallory, Bettie                            113 12th St                                                     Princeton                     WV        24740                 Litigation        X           Unknown
  Mallory, Celeste                           992A Franklin Ave.                                              Newark                        NJ        07107                 Litigation        X           Unknown
  Mallory, Cyndi                             6725 Fiddynent Road                                             Roseville                     CA        95747                 Litigation        X           Unknown
  Mallory, Larry                             1911 Stonebrook Drive                                           Arlington                     TX        76012                 Litigation        X           Unknown
  Mallory, Thelma                            PO Box 1813                                                     Dillon                        SC        29536                 Litigation        X           Unknown
  Malloy, John                               24 E Frederick Street                                           Williamsport                  MD        21795                 Litigation        X           Unknown
  Malone, Carla                              2276 E. Baker Hwy                                               Douglas                       GA        31535                 Litigation        X           Unknown
  Malone, Donald                             5834 Avila Street                                               El Cerrito                    CA        94530                 Litigation        X           Unknown
  Malone, Jeanette                           3300 Warringham Ave.                                            Waterford                     MI        48329                 Litigation        X           Unknown
  Malone, Robert                             20 Brookdale Drive                                              Bay Shore                     NY        11706                 Litigation        X           Unknown
  Malone, Shirley                            3111 E. 2nd Ave                                                 Pine Bluff                    AR        71601                 Litigation        X           Unknown
  Maltby, Rebecca                            16031 SW Stark St., Apt 37                                      Portland                      OR        97233                 Litigation        X           Unknown
  Malunda, Amalia                            24403 Neptune Avenue                                            Carson                        CA        90745                 Litigation        X           Unknown
  Malunda, Krystal                           24403 Neptune Avenue                                            Carson                        CA        90745                 Litigation        X           Unknown
  Malunda, Seymour                           24403 Neptune Avenue                                            Carson                        CA        90745                 Litigation        X           Unknown
  Malveaux, Virginia                         13022 Bark Lane                                                 Houston                       TX        77015                 Litigation        X           Unknown
  Manansala, Joan                            24744 Marbella Avenue                                           Carson                        CA        90745                 Litigation        X           Unknown
  Manansala, Joshua                          24744 Marbella Avenue                                           Carson                        CA        90745                 Litigation        X           Unknown
  Manansala, Julieto                         24744 Marbella Avenue                                           Carson                        CA        90745                 Litigation        X           Unknown
  Manansala, Yolanda                         24744 Marbella Avenue                                           Carson                        CA        90745                 Litigation        X           Unknown
  Mancera, Carlos                            2300 Maple Ave.- Apt. 214                                       Torrance                      CA        90503                 Litigation        X           Unknown
  Mancera, Michelle                          2300 Maple Ave.- Apt. 214                                       Torrance                      CA        90503                 Litigation        X           Unknown
  Mancha, Gildardo                           4220 Coyote Lane                                                Santa Fe                      NM        87507                 Litigation        X           Unknown
  Manders, David                             1504 Silverlake Rd.                                             McKinney                      TX        75070                 Litigation        X           Unknown
  Mandley, Allen                             1696 La Maderia Dr. SW                                          Palm Bay                      FL        32909                 Litigation        X           Unknown



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  Maneeratanamongkol, Amnauy                 239 East Montrose Street                                             Rialto                   CA        92376              Litigation        X           Unknown
  Maney, Gail                                1207 Union Ave.                                                      Newburgh                 NY        12550              Litigation        X           Unknown
  Mangini, Antonio                           RTS - 31 Bankfield Crescent Stoney Creek                             Hamilton                 ON       LAJ OC1 CANADA      Litigation        X           Unknown
  Manibusan, Juana                           7560 Nature Trail                                                    Columbus                 GA        31904              Litigation        X           Unknown
  Manick, Robert                             1908 W. 91st Place                                                   Los Angeles              CA        90047              Litigation        X           Unknown
  Manley, Douglas                            50692 Grimms Bridge Rd                                               East Liverpool           OH        43920              Litigation        X           Unknown
  Mann Jr., Bernard                          9777 N. Council Road Apt. # 1114                                     Oklahoma City            OK        73162              Litigation        X           Unknown
  Mann, Joshua                               4129 NW 54th Street                                                  Oklahoma City            OK        73112              Litigation        X           Unknown
  Mann, Martha                               1505 Hawthorne Ave                                                   Columbus                 OH        43203              Litigation        X           Unknown
  Mann, Stella                               12775 State Route 72N                                                Leesburg                 OH        45135              Litigation        X           Unknown
  Manners II, Vincent J.                     P.O. Box 383                                                         Oro Grande               CA        92368              Litigation        X           Unknown
  Manning, Fred                              23445 S. Twin Oaks Dr. Apt 1304                                      Clairemore               OK        74019              Litigation        X           Unknown
  Manning, Helen                             15 Richgrain Avenue                                                  Waltham                  MA        02453              Litigation        X           Unknown
  Manning, Maggie Lee                        2756 Avalon Street                                                   Riverside                CA        92509              Litigation        X           Unknown
  Mantynen, Melissa                          195 Madrigal St.                                                     Rohnert Park             CA        94928              Litigation        X           Unknown
  Manuel, Ethel                              P.O. Box 2557                                                        Kansas City              KS        66110              Litigation        X           Unknown
  Marbury, Cynthia                           P.O. Box 728                                                         Goodwater                AL        35072              Litigation        X           Unknown
  Marbury, Tamara Deniece                    5910 Mission Blvd.                                                   Riverside                CA        92509              Litigation        X           Unknown
  Marcelin, Albertha                         12476 Maple Street                                                   Port Allen               LA        70767              Litigation        X           Unknown
  Marchese, Alethiae                         RTS - 155 Lassen Drive                                               San Bruno                CA        94066              Litigation        X           Unknown
  Marcotte, Carol                            602 Chicago Ave SW                                                   Red Lake Falls           MN        56750              Litigation        X           Unknown
  Marcy, Marcia E.                           44 Nichols Dr.                                                       Tonawanda                NY        14150              Litigation        X           Unknown
  Marefat, Darios                            1737 Braken Avenue                                                   Wilmington               DE        19808              Litigation        X           Unknown
  Marin, Aaron                               6416 N Curtis Ave                                                    Portland                 OR        97217              Litigation        X           Unknown
  Marin, Ambar                               1230 E. Renton St.                                                   Carson                   CA        90745              Litigation        X           Unknown
  Marin, Aurora                              408 E 249th Street                                                   Carson                   CA        90745              Litigation        X           Unknown
  Marin, Felix                               408 E 249th Street                                                   Carson                   CA        90745              Litigation        X           Unknown
  Marin, Jose                                408 E 249th Street                                                   Carson                   CA        90745              Litigation        X           Unknown
  Marion, Michael                            462 Bill West Road                                                   Limestone                TN        37681              Litigation        X           Unknown
  Markarian, Hilda                           329 N Cedar Street Apt. #2                                           Glendale                 CA        91206              Litigation        X           Unknown
  Markey, Christopher                        7757 Van Buren Street, Unit 508                                      Forest Park              IL      60130-4809           Litigation        X           Unknown
  Markosyan, Ferdinant                       512 S. Glendale Ave # 401                                            Glendale                 CA        91205              Litigation        X           Unknown
  Marks, James                               12602 W. Wildwood Dr.                                                Sun City West            AZ        85375              Litigation        X           Unknown
  Marks, James                               707 Draper St.                                                       Vicksburg                MI        49097              Litigation        X           Unknown
  Marks, Johnny                              37 Roma                                                              Buffalo                  NY        14215              Litigation        X           Unknown
  Marks, Valarie R.                          P.O. Box 2726                                                        Helendale                CA      92342-2726           Litigation        X           Unknown
  Marks, Woody                               5205 Shoal Creek Road                                                Suffolk                  VA        23435              Litigation        X           Unknown
  Marler, Donald                             1752 Mountain Ash Way                                                New Port Richey          FL        34655              Litigation        X           Unknown
  Marotta, Mary                              1125 W Cone Way                                                      Kettle Falls             WA        99141              Litigation        X           Unknown
  Marotto, Anthony                           193 Everett St., Apt. 1                                              Boston                   MA        02128              Litigation        X           Unknown
  Marquess, Lee                              RTS - 537 Oak Hill Drive                                             Crossville               TN        38572              Litigation        X           Unknown
  Marquez, Aridia                            87 Atwood St.                                                        Providence               RI      02909-3040           Litigation        X           Unknown
  Marquez, Beatrice                          8842 West 45th Place                                                 Wheat Ridge              CO        80033              Litigation        X           Unknown
  Marquez, Jose Luis                         22026 Strathern                                                      Canoga Park              CA        91304              Litigation        X           Unknown
  Marquez, Josephine                         2221 North Adobe                                                     Hobbs                    NM        88240              Litigation        X           Unknown
  Marquez, Mark                              14859 Ryan Street                                                    Sylmar                   CA        91342              Litigation        X           Unknown
  Marrow, Daryl                              143 Rosser St.                                                       Eastaboga                AL        36260              Litigation        X           Unknown
  Marsh, Jr., Osborne                        5940 Gary Stewart Ln                                                 Las Vegas                NV        89120              Litigation        X           Unknown
  Marsh, William                             414 High School Street                                               Oneonta                  AL        35121              Litigation        X           Unknown
  Marshall, Barbara                          PO Box 5434                                                          Huntington Park          CA        90255              Litigation        X           Unknown



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  Marshall, Bryan                            11558 Springwood Court                                              Riverside                CA        92505                 Litigation        X           Unknown
  Marshall, Charly                           PO Box 453                                                          Moreland                 GA        30259                 Litigation        X           Unknown
  Marshall, Darron Dwight                    P.O. Box 2194                                                       Riverside                CA        92516                 Litigation        X           Unknown
  Marshall, Frances                          845 43rd Street #7G                                                 Brooklyn                 NY        11232                 Litigation        X           Unknown
  Marshall, Mary                             PO Box 216                                                          Grove Hill               AL        36451                 Litigation        X           Unknown
  Marshall, Sheila M.                        1606 W. 83rd St.                                                    Los Angeles              CA        90047                 Litigation        X           Unknown
  Martell, Juanita                           7550 West Ainslie                                                   Harwood Heights          IL        60706                 Litigation        X           Unknown
  Martella, Edward                           4083 E Meadowview Dr                                                Gilbert                  AZ        85298                 Litigation        X           Unknown
  Martella, Timonthy                         700 E Union St, # 209                                               Pasadena                 CA        91101                 Litigation        X           Unknown
  Martin Del Campo, Maria                    2040 Adams Street                                                   San Bernardino           CA      92407-6317              Litigation        X           Unknown
  Martin Del Campo, Victor M.                2040 Adams Street                                                   San Bernardino           CA        92407                 Litigation        X           Unknown
  Martin, Beverly                            12470 Conestoga Tr. N                                               Elbert                   CO        80106                 Litigation        X           Unknown
  Martin, Delphine                           965 Bass Cross Rd.                                                  Hogansville              GA        30230                 Litigation        X           Unknown
  Martin, Edith                              1135 Vittetoe Road                                                  Chickamauga              GA        30707                 Litigation        X           Unknown
  Martin, Edward                             RTS - 2107 Villa Point Parkway                                      McDonough                GA        30253                 Litigation        X           Unknown
  Martin, Jerdie                             PO Box 102                                                          Chickasha                OK        73018                 Litigation        X           Unknown
  Martin, Joyce                              100 Marilyn Butler Dr. #L-4                                         McComb                   MS        39648                 Litigation        X           Unknown
  Martin, Kenneth                            125 Rosedale Dr.                                                    Griffin                  GA        30224                 Litigation        X           Unknown
  Martin, Linda                              14736 Wiemer Ave.                                                   Paramount                CA        90723                 Litigation        X           Unknown
  Martin, Luvenia                            2309 Goebel Circle                                                  Wichita                  KS        67207                 Litigation        X           Unknown
  Martin, Myra                               10861 Maple Avenue                                                  Bloomington              CA        92316                 Litigation        X           Unknown
  Martin, Nancy Lee                          19515 Kiningham Drive                                               Bloomington              CA        92316                 Litigation        X           Unknown
  Martin, Nilsa                              5311 34th Street                                                    Riverside                CA        92509                 Litigation        X           Unknown
  Martin, Rhonda                             667 Laura Ann Ct                                                    Richland Hills           TX        76118                 Litigation        X           Unknown
  Martin, Robert                             420 N. Beaumont Ave.                                                Brookfield               WI        53005                 Litigation        X           Unknown
  Martin, Robin                              10014 Carolina Street                                               Bonita Springs           FL        34135                 Litigation        X           Unknown
  Martin, Sr., Arthur                        115 S. Main St.                                                     Mercersburg              PA        17236                 Litigation        X           Unknown
  Martin, Steven                             72 Ohio River Road                                                  Greenup                  KY        41144                 Litigation        X           Unknown
  Martin, Steven R.                          17227 Queensglen                                                    Palmdale                 CA        93550                 Litigation        X           Unknown
  Martin, Tamara                             517 Showalter Drive                                                 Midwest City             OK        73110                 Litigation        X           Unknown
  Martin, Timothy                            175 Clark Branch                                                    Harold                   KY        41635                 Litigation        X           Unknown
  Martin, Wendell                            1598 NE 21st Terrace                                                Jensen Beach             FL        34957                 Litigation        X           Unknown
  Martindale, Kenneth Rex                    P.O. Box 152                                                        Oro Grande               CA        92368                 Litigation        X           Unknown
  Martindale, Noreen Dolores                 P.O. Box 152                                                        Oro Grande               CA        92368                 Litigation        X           Unknown
  Martines, Teresa                           904 West Berry                                                      Hobbs                    NM        88240                 Litigation        X           Unknown
  Martinez III, Salvador                     24810 Petaluma Lane                                                 Carson                   CA        90745                 Litigation        X           Unknown
  Martinez Osorio, Estela Maria              128 East 34th St.                                                   Hialeah                  FL        33013                 Litigation        X           Unknown
  Martinez, Albert                           311 S. 3rd                                                          Lovington                NM        88260                 Litigation        X           Unknown
  Martinez, Alejandro                        24410 Panama Avenue                                                 Carson                   CA        90745                 Litigation        X           Unknown
  Martinez, Alex                             24410 Panama Avenue                                                 Carson                   CA        90745                 Litigation        X           Unknown
  Martinez, Anthony                          24410 Panama Avenue                                                 Carson                   CA        90745                 Litigation        X           Unknown
  Martinez, Antonio Alcantar                 359 East N Street                                                   Colton                   CA        92324                 Litigation        X           Unknown
  Martinez, Charisse                         2215 Curtis Ave. #A                                                 Redondo Beach            CA        90278                 Litigation        X           Unknown
  Martinez, Christian                        24602 Neptune Avenue                                                Carson                   CA        90745                 Litigation        X           Unknown
  Martinez, Cynthia                          363 E 249th Street                                                  Carson                   CA        90745                 Litigation        X           Unknown
  Martinez, Diane                            2218 Miguel Chavez Rd. Apt. 1304                                    Santa Fe                 NM        87505                 Litigation        X           Unknown
  Martinez, Ericka                           15337 Fairlock Ave                                                  Paramount                CA        90723                 Litigation        X           Unknown
  Martinez, Evelyn                           10681 Oak St., Space # 66                                           Los Alamitos             CA        90720                 Litigation        X           Unknown
  Martinez, Fe                               24732 Neptune Avenue                                                Carson                   CA        90745                 Litigation        X           Unknown
  Martinez, Gemma                            P.O. Box 722                                                        Capitan                  NM        88316                 Litigation        X           Unknown



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  Martinez, Gloria                           24533 Island Avenue                                               Carson                  CA        90745                 Litigation        X           Unknown
  Martinez, Janet                            3905 Atlas Avenue                                                 El Paso                 TX        79904                 Litigation        X           Unknown
  Martinez, Jennie (Juanita)                 10681 Oak St., Space # 66                                         Los Alamitos            CA        90720                 Litigation        X           Unknown
  Martinez, Jesus                            24602 Neptune Avenue                                              Carson                  CA        90745                 Litigation        X           Unknown
  Martinez, JoeB.                            1104 San Andres                                                   Hobbs                   NM        88240                 Litigation        X           Unknown
  Martinez, Jorge Vazquez                    1685 Jeryl Avenue                                                 Colton                  CA        92324                 Litigation        X           Unknown
  Martinez, Lisa                             9461 Heiner Street                                                Bellflower              CA        90706                 Litigation        X           Unknown
  Martinez, Lois                             2903 S. Doverdale Ave. # 3                                        Los Angeles             CA        90016                 Litigation        X           Unknown
  Martinez, Lorenzo                          15000 1/2 Indiana Ave.                                            Paramount               CA        90723                 Litigation        X           Unknown
  Martinez, Louis                            15333 Fairlock Ave.                                               Paramount               CA        90723                 Litigation        X           Unknown
  Martinez, Louise                           8871 Meadowbrook Way                                              Buena Park              CA        90621                 Litigation        X           Unknown
  Martinez, Manuel                           24732 Neptune Avenue                                              Carson                  CA        90745                 Litigation        X           Unknown
  Martinez, Mari                             3749 Prairie Fox Lane Apt. #11                                    Belle Isle              FL        32812                 Litigation        X           Unknown
  Martinez, Maria                            24810 Petaluma Lane                                               Carson                  CA        90745                 Litigation        X           Unknown
  Martinez, Marlon                           24732 Neptune Avenue                                              Carson                  CA        90745                 Litigation        X           Unknown
  Martinez, Martin M.                        4503 Ocana Avenue                                                 Lakewood                CA      90713-2531              Litigation        X           Unknown
  Martinez, Mary Castro                      207 Mont Martre Avenue                                            Riverside               CA        92501                 Litigation        X           Unknown
  Martinez, Maximillian                      24732 Neptune Avenue                                              Carson                  CA        90745                 Litigation        X           Unknown
  Martinez, Miguel                           5223 E Harvey Way                                                 Long Beach              CA        90808                 Litigation        X           Unknown
  Martinez, Miguel & Lucia                   1037 1/2 East 41st Place                                          Los Angeles             CA        90011                 Litigation        X           Unknown
  Martinez, Monique                          1408 S Longspur Lane                                              Gilbert                 AZ        85296                 Litigation        X           Unknown
  Martinez, Ofelia                           8067 Fern Ave                                                     Rosemead                CA        91770                 Litigation        X           Unknown
  Martinez, Olivia                           307 Lee Street                                                    Wichita Falls           TX        76301                 Litigation        X           Unknown
  Martinez, Patricia                         501 Skymont Way                                                   El Paso                 TX        79912                 Litigation        X           Unknown
  Martinez, Ramona                           24410 Panama Avenue                                               Carson                  CA        90745                 Litigation        X           Unknown
  Martinez, Ray J.                           12968 Norris Ave.                                                 Sylmar                  CA        91342                 Litigation        X           Unknown
  Martinez, Robert P.                        1737 Lakme Avenue                                                 Wilmington              CA        90744                 Litigation        X           Unknown
  Martinez, Rudy                             10681 Oak St., Space # 66                                         Los Alamitos            CA        90720                 Litigation        X           Unknown
  Martinez, Salvador                         5328 Paloma Road                                                  Riverside               CA        92509                 Litigation        X           Unknown
  Martinez, Salvador                         24810 Petaluma Lane                                               Carson                  CA        90745                 Litigation        X           Unknown
  Martinez, Sandra                           24513 Ravenna Avenue                                              Carson                  CA        90745                 Litigation        X           Unknown
  Martinez, Sr., Claudio                     1418 Tasker                                                       Hobbs                   NM        88240                 Litigation        X           Unknown
  Martinez, Stephanie                        6635 Curtis Ave. # C                                              Long Beach              CA        90805                 Litigation        X           Unknown
  Martinez, Stephanie                        4503 Ocana Avenue                                                 Lakewood                CA      90713-2531              Litigation        X           Unknown
  Martinez, Sylvia Frances                   469 Pear Street                                                   San Bernardino          CA        92410                 Litigation        X           Unknown
  Martinez, Venita                           961 S 11th Avenue                                                 Showlow                 AZ        85901                 Litigation        X           Unknown
  Martinez, Victor                           417 N Lagoon Avenue                                               Wilmington              CA        90744                 Litigation        X           Unknown
  Martinez, Yolanda S.                       359 East N Street                                                 Colton                  CA        92324                 Litigation        X           Unknown
  Martinez-Garcia, Joe                       677 Corte San Marino                                              Perris                  CA        92571                 Litigation        X           Unknown
  Martinez-Rivera, Gloria                    1423 McDonald Ave.                                                Wilmington              CA        90744                 Litigation        X           Unknown
  Martner, John                              112 Cardinal Lane                                                 Sandwich                IL        60548                 Litigation        X           Unknown
  Martorell, Norma                           19572 El Rivino Road                                              Riverside               CA        92509                 Litigation        X           Unknown
  Martz, Gilbert                             63 Roki Boulevard                                                 Nichols                 NY        13812                 Litigation        X           Unknown
  Maruffi, Brian                             215 Park Row #5A                                                  New York                NY        10038                 Litigation        X           Unknown
  Marutiak, Virginia                         707 Anderson Avenue                                               Pittsburg               PA        15239                 Litigation        X           Unknown
  Marx, Colleen                              7 Cowper Circle                                                   Tonawanda               NY        14150                 Litigation        X           Unknown
  Marx, Jr., Frank                           2836 W Liberty Avenue, Apt 1                                      Pittsburgh              PA        15216                 Litigation        X           Unknown
  Marx, Terry                                4245 Lakeview Pkwy                                                Locust Grove            VA        22508                 Litigation        X           Unknown
  Mascardo, Carmelita                        341 E 244th Street                                                Carson                  CA        90745                 Litigation        X           Unknown
  Mascardo, Josefino                         341 E 244th Street                                                Carson                  CA        90745                 Litigation        X           Unknown



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  Mashaw, April                                    92 Curtiss Street                                                   Naugatuck                CT        06770                 Litigation        X           Unknown
  Mason, Billy                                     405 Short Ave.                                                      Forrest City             AZ        72335                 Litigation        X           Unknown
  Massey, David                                    880 E. "F" Street, Space #4                                         Oakdale                  CA        95361                 Litigation        X           Unknown
  Massey, Gerald                                   3549 Old Dufur Road                                                 The Dalles               OR        97058                 Litigation        X           Unknown
  Massey, Sr., Troy                                20342 Allegro Shores Lane                                           Humble                   TX        77346                 Litigation        X           Unknown
  Massey, Terry                                    5021 Montgomery Rd                                                  Midlothian               TX        76065                 Litigation        X           Unknown
  Massie, Jerry                                    10203 S.W. 42nd Avenue                                              Ocala                    FL        34476                 Litigation        X           Unknown
  Mastantuono, Carol                               12111 Clearbrook Lane                                               Hudson                   FL        34667                 Litigation        X           Unknown
  Mastas, Belinda                                  785 Kamehameha Hwy., Apt. 711                                       Pearl City               HI        96782                 Litigation        X           Unknown
  Masters, Richard                                 9503 NW 37th Court                                                  Coral Springs            FL        33065                 Litigation        X           Unknown
  Mastrangelo, Bernice                             11018 N. 81st Avenue                                                Peoria                   AZ        85345                 Litigation        X           Unknown
  Mataalii, Corrina                                24534 Island Avenue                                                 Carson                   CA        90745                 Litigation        X           Unknown
  Mataalii, David                                  24534 Island Avenue                                                 Carson                   CA        90745                 Litigation        X           Unknown
  Mataalii, Lauren                                 24534 Island Avenue                                                 Carson                   CA        90745                 Litigation        X           Unknown
  Mataalii, Stephen                                24534 Island Avenue                                                 Carson                   CA        90745                 Litigation        X           Unknown
  Mateo, Gladys                                    1375 Grant Concourse Apt 5A                                         Bronx                    NY        10452                 Litigation        X           Unknown
  Matheny, Sheila                                  4371 Tahitian Gardens Circle 49E                                    Holiday                  FL        34691                 Litigation        X           Unknown
  Mathews, Allen                                   23 Wainwright Drive                                                 Riverside                OH        45431                 Litigation        X           Unknown
  Mathews, Beverly                                 4740 Orange Street                                                  Bacliff                  TX        77518                 Litigation        X           Unknown
  Mathews, John                                    19040 Philomene Blvd.                                               Allen Park               MI        48101                 Litigation        X           Unknown
  Mathis, Grace                                    501 S. Spring, Apt. 320                                             Los Angeles              CA        90013                 Litigation        X           Unknown
  Matney, Herman                                   203 S. Levy                                                         Sikeston                 MO        63801                 Litigation        X           Unknown
  Matney, Letha                                    274 Prince of Whale Drive                                           Gahanna                  OH        43230                 Litigation        X           Unknown
  Matthews, Cheryl                                 1047 E. Vernon Ave., #7                                             Los Angeles              CA        90011                 Litigation        X           Unknown
  Matthews, Eric                                   RTS - 4856 Planters Walk                                            Douglasville             GA        30135                 Litigation        X           Unknown
  Matthews, Guy                                    3376 Deerfield Pointe Drive                                         Orange Park              FL        32073                 Litigation        X           Unknown
  Matthews, Martha                                 204 Jefferson St.                                                   Glasgow                  KY        42141                 Litigation        X           Unknown
  Matthias, Amy                                    213 Willow Street                                                   Aurelia                  IA        51005                 Litigation        X           Unknown
  Mattingly, Randall                               3828 Bloomfield Rd.                                                 Springfield              KY        40069                 Litigation        X           Unknown
  Mattocks, Donna                                  706 Nemaha                                                          Longton                  KS        67352                 Litigation        X           Unknown
  Mattson, Carl                                    31238 Cooley Boulevard                                              Westland                 MI        48185                 Litigation        X           Unknown
  Matute, Brian                                    24639 Island Avenue                                                 Carson                   CA        90745                 Litigation        X           Unknown
  Matute, Maria                                    24639 Island Avenue                                                 Carson                   CA        90745                 Litigation        X           Unknown
  Matute, Raul                                     24639 Island Avenue                                                 Carson                   CA        90745                 Litigation        X           Unknown
  Matyja, Josephine                                315 Lookout St. #3                                                  Lake Elsinore            CA        92530                 Litigation        X           Unknown
  Mauricio Gonzalez, Violeta Antonia               11048 Southwest 2nd Street                                          Miami                    FL        33174                 Litigation        X           Unknown
  Maxion, Willie                                   100 Jones Street                                                    Texarkana                TX        75501                 Litigation        X           Unknown
  Maxwell, Tammy                                   561 Mill Creek Loop                                                 Cherokee                 AL        35616                 Litigation        X           Unknown
  May, Danny                                       211 S. 2nd Avenue                                                   Lanett                   AL        36863                 Litigation        X           Unknown
  Maye, Kelvin                                     3651 Surrey Ct                                                      Mobile                   AL        36693                 Litigation        X           Unknown
  Mayeaux, Allen                                   PO Box 821322                                                       Vicksburgs               MS        39182                 Litigation        X           Unknown
  Mayfield, Cleda                                  10947 Green Acres Rd                                                Mineral Point            MO        63660                 Litigation        X           Unknown
  Mayfield, Corey                                  210 Tournament Rd.                                                  Tyler                    TX        75702                 Litigation        X           Unknown
  Maynard, Dennis                                  6036 Filager Rd.                                                    Batavia                  OH        45103                 Litigation        X           Unknown
  Maynard, George                                  2812 North Elm Avenue                                               Roswell                  NM      88201-7727              Litigation        X           Unknown
  Maynard-Schoobaar, Gervaise                      14635 93rd St. N                                                    West Palm Beach          FL        33412                 Litigation        X           Unknown
  Mayo Porter, Shawntay Minneola Lanell            2836 Demeter Place                                                  Riverside                CA        92509                 Litigation        X           Unknown
  Mayo, Angelica G                                 2836 Demeter Place                                                  Riverside                CA        92509                 Litigation        X           Unknown
  Mayo, Rarchelle A.                               7900 Limonite Ave.- Ste. G                                          Riverside                CA        92509                 Litigation        X           Unknown
  Mayuga, Ernesto                                  367 E 249th Street                                                  Carson                   CA        90745                 Litigation        X           Unknown



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  Mayuga, Gloria                             367 E 249th Street                                                    Carson                      CA        90745                 Litigation        X           Unknown
  Mazur, Susan L.                            10430 S. Protection Rd.                                               Chaffee                     NY        14030                 Litigation        X           Unknown
  Mazzo, Mark                                1605 Brinckerhoff Avenue                                              Utica                       NY        13501                 Litigation        X           Unknown
  Mazzone, Stephanie Jo                      19 Hoover Avenue                                                      Kenmore                     NY        14217                 Litigation        X           Unknown
  McAdams, Michael                           2814 Brooks #134                                                      Missoula                    MT        59801                 Litigation        X           Unknown
  McAfee, C., Jr.                            14601 Santa Fe Trail                                                  Victorville                 CA        92392                 Litigation        X           Unknown
  McAfee, C., Sr.                            11501 S. Memlo Avenue                                                 Los Angeles                 CA        90044                 Litigation        X           Unknown
  McAlister, Jerry                           PO BOx 164                                                            Ridgely                     TN        38080                 Litigation        X           Unknown
  McBride, Joan                              1102 Meadow Lark Drive                                                Halethorpe                  MD        21227                 Litigation        X           Unknown
  McBride, Juanita                           13645 Fifth Street Space 43                                           Yucaipa                     CA        92399                 Litigation        X           Unknown
  McBride, Scott T.                          2786 Upton Court                                                      Riverside                   CA        92509                 Litigation        X           Unknown
  McBride, Sr., Kenneth                      414 Maxey Road Apt 2904                                               Houston                     TX        77013                 Litigation        X           Unknown
  McBurnie, Frances                          1299 Eastern Pkwy Apt 7B                                              Brooklyn                    NY      11233-5245              Litigation        X           Unknown
  McCabe, Belynda Rae                        5421 Montgomery St.                                                   Riverside                   CA        92503                 Litigation        X           Unknown
  McCabe, Gene                               9001 Patterson Ave Apt 31                                             Richmond                    VA        23229                 Litigation        X           Unknown
  McCague, Carla                             6403 Nottoway Court                                                   Frisco                      TX        75035                 Litigation        X           Unknown
  McCain, Estella                            1349 Center Parkway Apt. 4109                                         Lexington                   KY        40517                 Litigation        X           Unknown
  McCalister, Katee                          RTS - 4606 N College Dr., Unit 108                                    Cheyenne                    WY      82009-5471              Litigation        X           Unknown
  McCall, Hattie                             10359 Orange Lawn St.                                                 Detroit                     MI        48204                 Litigation        X           Unknown
  McCallister, Tasmiyah                      3045 SE 162nd Avenue                                                  Portland                    OR        97236                 Litigation        X           Unknown
  McCargo, Bennie Ray                        6239 Beck Ave., #112                                                  North Hollywood             CA        91686                 Litigation        X           Unknown
  McCarter, Bruce                            2604 Kuskokwim Ave                                                    Fairbanks                   AK        99709                 Litigation        X           Unknown
  McCarthy, Richard                          226 Avenida Majorca Unit P                                            Laguna Woods                CA        92637                 Litigation        X           Unknown
  McCarty, Billie                            24725 Neptune Avenue                                                  Carson                      CA        90745                 Litigation        X           Unknown
  McCarty, Max                               413 Kingsbrook Drive                                                  McDonald                    PA        15057                 Litigation        X           Unknown
  McCarty, Winfred                           24725 Neptune Avenue                                                  Carson                      CA        90745                 Litigation        X           Unknown
  McCausland, James                          36 Gulf Blvd, Unit 105                                                Indian Rocks Beach          FL        33785                 Litigation        X           Unknown
  McClaine, Parnell                          1840 Elysian Fields Ave.                                              New Orleans                 LA        70117                 Litigation        X           Unknown
  McClaine, Tarnell                          1840 Elysian Fields Ave.                                              New Orleans                 LA        70117                 Litigation        X           Unknown
  McCollough, Martha                         199 Garrison Farm Rd. N.                                              Fort Mill                   SC        29715                 Litigation        X           Unknown
  McCollum, Lesley-Anne                      12072 Bailey St.- Apt. D                                              Garden Grove                CA        92845                 Litigation        X           Unknown
  McCombs, Joseph                            332 Irvin Jumper Rd.                                                  Gaston                      SC        29053                 Litigation        X           Unknown
  McConnell, Cary                            31903 Greenhill Dr.                                                   Castaic                     CA        91384                 Litigation        X           Unknown
  McCormick, Carissa                         1736 SE Maple Drive                                                   Arcadia                     FL        34266                 Litigation        X           Unknown
  McCormick, Leslie                          59-C College Street, Loft 404                                         Asheville                   NC        28801                 Litigation        X           Unknown
  McCormick, Troy                            1327 Peak Street                                                      Bedford                     VA        24523                 Litigation        X           Unknown
  McCormick, William                         RTS - 38 Sandburg Court                                               Middletown                  NY        10941                 Litigation        X           Unknown
  McCorvey, Kezarrick                        3312 Remington Run                                                    Tallahassee                 FL        32312                 Litigation        X           Unknown
  McCostlin, Tanya                           955 South Lawrence St.                                                Montgomery                  AL        36104                 Litigation        X           Unknown
  McCowan, JaVance                           44523 37th St W                                                       Lancaster                   CA        93536                 Litigation        X           Unknown
  McCown, Lori                               PO Box 13050                                                          Big Bear Lake               CA        92314                 Litigation        X           Unknown
  McCoy, Lolondra                            10404 Wilmington Ave.                                                 Los Angeles                 CA        90002                 Litigation        X           Unknown
  McCoy, Mary                                40 Joy Dr.                                                            Albany                      NY        12211                 Litigation        X           Unknown
  McCoy, Raymond                             3132 Serene Ct.                                                       El Sobrante                 CA        94803                 Litigation        X           Unknown
  McCoy, Timothy                             4753 Old Bent Tree Lane #803                                          Dallas                      TX        75287                 Litigation        X           Unknown
  McCreary, Mary                             1125 Green Street Extension                                           Rock Hill                   SC        29730                 Litigation        X           Unknown
  McCue, Sr., Jackie                         421 Paxico Avenue                                                     Paxico                      KS        66526                 Litigation        X           Unknown
  McCue, Terrence and Tammy                  2067 East River Rd.                                                   Grand Island                NY        14072                 Litigation        X           Unknown
  McCuen, Richard and Sally                  452 Two Mile Creek Rd.                                                Tonawanda                   NY        14150                 Litigation        X           Unknown
  McCuller, Phyllis                          3000 Yahlos #904                                                      Douglasville                GA        30135                 Litigation        X           Unknown



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  McCullough, Henry                          8733 Hillridge Drive                                                 Oklahoma City             OK      73141              Litigation        X           Unknown
  McCullough, Marilyn                        139 Webb St.                                                         Detroit                   MI      48202              Litigation        X           Unknown
  McCurdy, June                              5194 Royal Avenue                                                    Portage                   IN      46368              Litigation        X           Unknown
  McDaniel, Ellen                            2315 Odessa St.                                                      Charleston                SC      29405              Litigation        X           Unknown
  McDaniel, Giuliana                         19451 Sierra Chula. Rd.                                              Irvine                    CA      92603              Litigation        X           Unknown
  McDaniel, Jr., Charlie                     180 Charlie Mac Drive                                                Carrollton                AL      35447              Litigation        X           Unknown
  McDaniel, Kyle                             19451 Sierra Chula. Rd.                                              Irvine                    CA      92603              Litigation        X           Unknown
  McDaniel, Leroy                            10 Winn Place                                                        Hooks                     TX      75561              Litigation        X           Unknown
  McDaniel, Megan                            19451 Sierra Chula. Rd.                                              Irvine                    CA      92603              Litigation        X           Unknown
  McDaniel, Olivia                           19451 Sierra Chula. Rd.                                              Irvine                    CA      92603              Litigation        X           Unknown
  McDaniel, Tina                             PO BOX 24056                                                         Halethrope                MD      21227              Litigation        X           Unknown
  McDonald, Edward                           3020 Saddleback Dr.                                                  Lake Havasu City          AZ      86406              Litigation        X           Unknown
  McDonald, Mary Ann                         P O Box 7106                                                         Marietta                  GA      30065              Litigation        X           Unknown
  McDonald, Sondra                           629 Buena Vista Avenue                                               Jackson                   MS      39209              Litigation        X           Unknown
  McDonald, Thomas                           1440 Pebble Crt                                                      W Sacramento              CA      95691              Litigation        X           Unknown
  McDougle, Stockar                          7132 NW 62 Terrace                                                   Parkland                  FL      33067              Litigation        X           Unknown
  McDowell, Betty                            5707 Windsor St.                                                     Philadelphia              PA      19143              Litigation        X           Unknown
  McDowell, Sonya                            14027 Pimberton Dr                                                   Hudson                    FL      34667              Litigation        X           Unknown
  McElrath, Andreta                          905 River Mist Drive                                                 Suwanee                   GA      30024              Litigation        X           Unknown
  McElwee, Lillian                           1111 NW 75th St                                                      Miami                     FL      33150              Litigation        X           Unknown
  McElyea, John                              2924 Knightbridge Ave                                                Thousand oaks             CA      91362              Litigation        X           Unknown
  McElyea, Rosemarie                         2924 Knightbridge Ave                                                Thousand Oaks             CA      91362              Litigation        X           Unknown
  McEniry, Roger and Rosemary                20 Belmont St.                                                       Buffalo                   NY      14207              Litigation        X           Unknown
  McEntire, Susan                            PO Box 26                                                            Western Grove             AR      72685              Litigation        X           Unknown
  McEwan, David                              628 Mer Rouge Drive                                                  Nolensville               TN      37135              Litigation        X           Unknown
  McEwan, Travis                             628 Mer Rouge Drive                                                  Nolensville               TN      37135              Litigation        X           Unknown
  McFarland, Gracie                          5751 Morse Drive                                                     Oakland                   CA      90605              Litigation        X           Unknown
  McFrazier, Arnelious                       3383 S. 141st E Ave.                                                 Tulsa                     OK      74134              Litigation        X           Unknown
  McGee, Billy                               301 Monterey Drive                                                   Carson                    CA      90745              Litigation        X           Unknown
  McGee, George                              228 E. 855 S                                                         Ivins                     UT      84738              Litigation        X           Unknown
  McGee, Nina                                301 Monterey Drive                                                   Carson                    CA      90745              Litigation        X           Unknown
  McGee, Shanah                              301 Monterey Drive                                                   Carson                    CA      90745              Litigation        X           Unknown
  McGee, Sharon Ann                          3254 Laurel Drive                                                    Riverside                 CA      92509              Litigation        X           Unknown
  McGee, Sylvia                              219 E. Veterans St. Apt. B                                           Tomah                     WI      54660              Litigation        X           Unknown
  McGee, Tabitha S.                          17115 Avenue Del Sol                                                 Fontana                   CA      92337              Litigation        X           Unknown
  McGee, Yusef                               301 Monterey Drive                                                   Carson                    CA      90745              Litigation        X           Unknown
  McGee-Croom, Danyell Elizabeth             5356 O'Dell Street                                                   Riverside                 CA      92509              Litigation        X           Unknown
  McGee-Moore, Patsy                         164 County Road #119                                                 Houston                   MS      38851              Litigation        X           Unknown
  McGee-Ramcharam, Jamee Angela              25328 Runsey Court (Temp Address)                                    Moreno Valley             CA      92551              Litigation        X           Unknown
  McGeney, James                             763 Central Park Court #131                                          Plainfield                IN      46168              Litigation        X           Unknown
  McGeorge, Patrick                          16 Seminary Avenue                                                   Payton                    OH      45403              Litigation        X           Unknown
  McGill, James W.                           P.O. Box 296                                                         Oro Grande                CA      92368              Litigation        X           Unknown
  McGinsey, Martha                           PO Box 13382                                                         Eight Mile                AL      36613              Litigation        X           Unknown
  McGlashan, Minnie                          212 Saxton Place                                                     Leesburg                  GA      31763              Litigation        X           Unknown
  McGlory, Ambrose                           3835 Apple Street                                                    Saginaw                   MI      48601              Litigation        X           Unknown
  McGougan, Eddie                            1085 Reservation Road                                                Aberdeen                  NC      28315              Litigation        X           Unknown
  McGough, Robert                            510 West 3rd Street                                                  McGregor                  TX      76657              Litigation        X           Unknown
  McGregor, Andrew                           1700 Juniper Ave.                                                    Torrance                  CA      90503              Litigation        X           Unknown
  McGruder Jr, Peter                         329 Travis Drive                                                     Westwego                  LA      70094              Litigation        X           Unknown
  McGruder, Patricia                         25975 Zorra Lane                                                     Moreno Valley             CA      92551              Litigation        X           Unknown



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  McGrue, Theresa                                541 W. Mountain View Street                                         Altadena                  CA        91001                 Litigation        X           Unknown
  McGuire, Michelle                              155 Floral Ave.                                                     Malden                    MA        02148                 Litigation        X           Unknown
  McHugh, James                                  281 Garth Road Apt. A4C                                             Scarsdale                 NY        10583                 Litigation        X           Unknown
  Mcilwain, Jr., Ernest                          722 Summit Street                                                   Monroe                    NC        28112                 Litigation        X           Unknown
  McIntosh, Donna and Richard                    327 Roesch Ave.                                                     Buffalo                   NY        14207                 Litigation        X           Unknown
  McIntosh, Robert                               PO Box 1441                                                         Little Rock               AR      72203-1441              Litigation        X           Unknown
  McIntyre, Gwendolyn                            PO Box 429                                                          Saint Elmo                AL        36568                 Litigation        X           Unknown
  McIntyre, Jr., Cullen                          3324 W Highland St.                                                 Springfield               MO        65807                 Litigation        X           Unknown
  McKanna, Ramona                                2050 Faye Street                                                    Mobile                    AL        36605                 Litigation        X           Unknown
  McKee, William                                 74291 North Couture Loop                                            Arlee                     MT        59821                 Litigation        X           Unknown
  McKenzie-Skoglund, Tamara Jean                 511 Minnesota Ave. W.                                               Gilbert                   MN        55741                 Litigation        X           Unknown
  McKeown, Mary                                  1003 North 11th St                                                  Norfolk                   NE        68701                 Litigation        X           Unknown
  McKinlay, Dale                                 1201 Leatherman Rd.                                                 Conway                    SC      29527-6797              Litigation        X           Unknown
  McKinley, Catherine                            1501 Center St.                                                     Winnfield                 LA        74188                 Litigation        X           Unknown
  McKinley, Deborah Ethel                        5875 Mission Boulevard Apartment 48E                                Riverside                 CA        92509                 Litigation        X           Unknown
  McKinley, Dennis                               808 W. Luke Avenue                                                  Phoenix                   AZ        85013                 Litigation        X           Unknown
  McKinley, Shirley                              RTS - 615 High Street                                               Houma                     LA        70360                 Litigation        X           Unknown
  McKinney, Crystal                              508 E. Oak Street                                                   Rogers                    AR        72756                 Litigation        X           Unknown
  McKinsey, Paul                                 42 East Howard Street                                               Dallastown                PA        17313                 Litigation        X           Unknown
  McLain, James                                  3920 Mount Everest Blvd.                                            San Diego                 CA        92111                 Litigation        X           Unknown
  McLaren, James                                 PO Box 9156                                                         Ogden                     UT        84409                 Litigation        X           Unknown
  McLat, Jean                                    656 W Highland Ave                                                  Ravenna                   OH        44266                 Litigation        X           Unknown
  McLaughlin, Anna                               60 Seusing Blvd                                                     Hauppauge                 NY        11788                 Litigation        X           Unknown
  McLaughlin, Danny                              601 N. Hayden Road, Lot 155                                         Scottsdale                AZ        85257                 Litigation        X           Unknown
  McLaughlin, Kenneth                            6903 Sedona Drive                                                   Riverside                 CA        92509                 Litigation        X           Unknown
  McLaughlin, Roberta                            6903 Sedona Drive                                                   Riverside                 CA        92509                 Litigation        X           Unknown
  McLaughlin, Sherman                            1408 Sherman                                                        Grand Rapid               MI        49507                 Litigation        X           Unknown
  Mclean , Scott                                 973 Via Colinas                                                     Westlake Village          CA        91362                 Litigation        X           Unknown
  McLean, Sarah                                  051 Klump Ave #103                                                  N Hollywood               CA        91601                 Litigation        X           Unknown
  McLeary, Donald                                1586 Center Road                                                    W. Seneca                 NY        14224                 Litigation        X           Unknown
  McLin, James                                   3053 Ottowa Drive                                                   Baton Rouge               LA        70819                 Litigation        X           Unknown
  McLinden, Thomas                               208 S. Roosevelt St.                                                Marion                    KS        66861                 Litigation        X           Unknown
  McMahan, Sandra                                403 East Klutz Street                                               Maiden                    NC        28650                 Litigation        X           Unknown
  McManus, James                                 610 Mall Drive, Apt 233                                             Portage                   MI        49024                 Litigation        X           Unknown
  McMillan, Eleanor                              P.O. Box 1485                                                       Tyler                     TX        75710                 Litigation        X           Unknown
  McMillion, John                                2111 Southern Boulevard Apt 22E                                     Bronx                     NY        10460                 Litigation        X           Unknown
  McMindes, Paul                                 4284 Papago Street                                                  Riverside                 CA        92509                 Litigation        X           Unknown
  McMurray, Charles                              475 Harvard Ct #104                                                 Harrisburg                PA        17111                 Litigation        X           Unknown
  McNeal, Helen                                  P.O Box 899                                                         Running Springs           CA        92382                 Litigation        X           Unknown
  McNeal, Jr., Gilbert                           957 Royal Road                                                      Wichita                   KS        67207                 Litigation        X           Unknown
  McNeal, Patricia                               502 North Granite Drive                                             Payson                    AZ        85541                 Litigation        X           Unknown
  McNeil, David                                  2560 Byrd Rd.                                                       Mayfield                  KY        42066                 Litigation        X           Unknown
  McNeil, Janice Lorraine                        676 Lincoln Rd. E                                                   Vallejo                   CA        95691                 Litigation        X           Unknown
  McNett and family, Louis and Stacie            234 Oakridge Ave.                                                   Buffalo                   NY      14217-1165              Litigation        X           Unknown
  McNett, Dale and Cheryl                        131 Kaufman                                                         Tonawanda                 NY        14150                 Litigation        X           Unknown
  McNett, Jason                                  131 Kaufman                                                         Tonawanda                 NY        14150                 Litigation        X           Unknown
  McQuery, Dennis                                28 Crestwood Drive                                                  New Whiteland             IN        46184                 Litigation        X           Unknown
  McRae, Lilia                                   PO Box 6544                                                         Warner Robbins            GA        31093                 Litigation        X           Unknown
  McRoy, Phillip                                 PO Box 111                                                          Lake View                 SC        29563                 Litigation        X           Unknown
  McSwain, Ricky                                 3121 Greenhaven Drive                                               Lawndale                  NC        28090                 Litigation        X           Unknown



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  McVey, Maureen                                 5221W. 109th Street                                                   Oak Lawn             IL      60453              Litigation        X           Unknown
  McVey, Robert                                  304 E. St. Joseph Street                                              Wathena              KS      66090              Litigation        X           Unknown
  McWaters, Joseph                               2770 Thistle Brook Drive                                              Concord              NC      28027              Litigation        X           Unknown
  McWhorter, Paul                                16150 Reynolds Drive                                                  Fort Mills           SC      29707              Litigation        X           Unknown
  Meadors, Clifford Jay Jr.                      P/U CHECK - 2848 Avalon Street                                        Riverside            CA      92509              Litigation        X           Unknown
  Meadows, Earl                                  Post Office Box 291                                                   Milford              KS      66514              Litigation        X           Unknown
  Means, Richard                                 920 N Church St.                                                      Union                SC      29379              Litigation        X           Unknown
  Mears, Dee                        0            33 Muirfield Court                                                  0 Dover                DE      19904              Litigation        X           Unknown
  Mechtly, Samuel R.                             11588 Via Rancho San Diego #3144                                      El Cajon             CA      92019              Litigation        X           Unknown
  Medeiros, Jose C.                              2036 Windemere Way                                                    Upland               CA      91784              Litigation        X           Unknown
  Medina Martinez, Gladys                        1433 Sarasota Dr.                                                     Kissimmee            FL      34759              Litigation        X           Unknown
  Medina, Andrea Annette                         5342 Paloma Road                                                      Riverside            CA      92509              Litigation        X           Unknown
  Medina, Evelyn                                 5840 Holiday Drive                                                    Allen Town           PA      18104              Litigation        X           Unknown
  Medina, Steve Agurrie                          5342 Paloma Road                                                      Riverside            CA      92509              Litigation        X           Unknown
  Medinilla Jr., Albert                          10648 Dumond Avenue                                                   Bloomington          CA      92316              Litigation        X           Unknown
  Medinilla, Griselle Mitzieth                   10648 Dumond Avenue                                                   Bloomington          CA      92316              Litigation        X           Unknown
  Medley, Queen                                  3506 Richmond Ave                                                     Baltimore            MD      21213              Litigation        X           Unknown
  Medrano, Efrain                                849 N Summit Ave. Apt. 1                                              Pasadena             CA      91103              Litigation        X           Unknown
  Meech, Patrick E.                              19069 Van Buren Blvd.- #114-417                                       Riverside            CA      92508              Litigation        X           Unknown
  Meech, Stephanie                               19069 Van Buren Blvd.- #114-417                                       Riverside            CA      92508              Litigation        X           Unknown
  Meekins, Lucian                                3634 Sharpley Avenue                                                  Norfolk              VA      23513              Litigation        X           Unknown
  Meininger, Kimberly Rose                       1122 W. Palm Ave.- #4                                                 Redlands             CA      92373              Litigation        X           Unknown
  Melancon, Maria                                P.O. Box 1926                                                         Abbeyville           LA      70511              Litigation        X           Unknown
  Melancon, Susan                                4205 E. Genie St.                                                     Meraux               LA      70075              Litigation        X           Unknown
  Melendez, Jonathan                             700 E. Corbett                                                        Hobbs                NM      88240              Litigation        X           Unknown
  Melendez, Jorrie                               128 Moss Lane                                                         Adkins               TX      78101              Litigation        X           Unknown
  Melendez, Olivia                               2900 York St. N.E.                                                    Fanmdale             OH      44417              Litigation        X           Unknown
  Melendez, Pilar                                1600 Tasker                                                           Hobbs                NM      88240              Litigation        X           Unknown
  Melendrez, Sally                               402 E 249th Street                                                    Carson               CA      90745              Litigation        X           Unknown
  Melton, Leonard                                725 SE Park Avenue                                                    Corvallis            OR      97333              Litigation        X           Unknown
  Melton, Lisa                                   RTS - 1048 Fine Glen Dr                                               Sevierville          TN      37862              Litigation        X           Unknown
  Melton, Phyllis                                11945 Steck Road                                                      Brookville           OH      45309              Litigation        X           Unknown
  Menchaca, Rafael                               1415 N. Cobb                                                          Hobbs                NM      88240              Litigation        X           Unknown
  Mendell, Ada                                   15 Hemlock Rd                                                         Hartsdale            NY      10530              Litigation        X           Unknown
  Mendes-Chumaceiro, Eneida                      1623 SW 34 St.                                                        Cape Coral           FL      33914              Litigation        X           Unknown
  Mendez, Alex                                   15121 Ranch Centina Rd.                                               Paramount            CA      90723              Litigation        X           Unknown
  Mendez, Alfredo                                12011 Pepper Street                                                   Bloomington          CA      92316              Litigation        X           Unknown
  Mendez, Alma Celen                             12011 Pepper Street                                                   Bloomington          CA      92316              Litigation        X           Unknown
  Mendez, Beatriz                                12011 Pepper Street                                                   Bloomington          CA      92316              Litigation        X           Unknown
  Mendez, Carmela                                348 E 249th Street                                                    Carson               CA      90745              Litigation        X           Unknown
  Mendez, Jose                                   348 E 249th Street                                                    Carson               CA      90745              Litigation        X           Unknown
  Mendez, Joseph                                 348 E 249th Street                                                    Carson               CA      90745              Litigation        X           Unknown
  Mendez, Juanita                                24411 Panama Avenue                                                   Carson               CA      90745              Litigation        X           Unknown
  Mendez, June                                   24411 Panama Avenue                                                   Carson               CA      90745              Litigation        X           Unknown
  Mendez, Linda                                  1712 S. Grand Avenue                                                  San Pedro            CA      90731              Litigation        X           Unknown
  Mendez, Maria Eugenia                          12011 Pepper Street                                                   Bloomington          CA      92316              Litigation        X           Unknown
  Mendez, Samantha                               15121 Rancho Centina Rd.                                              Paramount            CA      90723              Litigation        X           Unknown
  Mendez, Steven                                 348 E 249th Street                                                    Carson               CA      90745              Litigation        X           Unknown
  Mendez, Zander                                 15121 Ranch Centina Rd.                                               Paramount            CA      90723              Litigation        X           Unknown
  Mendola, Dennis                                105 Roswell Ave.                                                      Buffalo              NY      14207              Litigation        X           Unknown



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  Mendoza Jr., Carlos                        3001 E. Poppy St.                                                  Long Beach                CA      90805              Litigation        X           Unknown
  Mendoza, Eleanor                           12616 Stillman St.                                                 Lakewood                  CA      90715              Litigation        X           Unknown
  Mendoza, Lenard                            185 N. Eucalyptus Ave. Space 45                                    Rialto                    CA      92376              Litigation        X           Unknown
  Mendoza, Margarita                         1351 East 58th Street                                              Los Angeles               CA      90011              Litigation        X           Unknown
  Mendoza, Rene                              326 North Kistler St.                                              East Stroudsburg          PA      18302              Litigation        X           Unknown
  Mendoza, Robert                            1514 N. Cobb                                                       Hobbs                     NM      88240              Litigation        X           Unknown
  Menefee, Darren Deion                      9226 Palm Street- #B                                               Bellflower                CA      90706              Litigation        X           Unknown
  Menzie, Kathy                              PO Box 1138                                                        Willits                   CA      95490              Litigation        X           Unknown
  Mercado, Angeles                           750 E Carson Street.- Spc #10                                      Carson                    CA      90745              Litigation        X           Unknown
  Mercado, Nelia                             750 E Carson Street.- Spc #10                                      Carson                    CA      90745              Litigation        X           Unknown
  Mercado, Romeo G.                          24161 Los Alisos Blvd., #315                                       Laguna Hills              CA      92653              Litigation        X           Unknown
  Mercado, Roxanna Lynne                     15125 Golden Street                                                Oro Grande                CA      92368              Litigation        X           Unknown
  Mercer, Mildred                            1 Maryland Circle, Apt.# 231                                       Whitehall                 PA      18052              Litigation        X           Unknown
  Mercer, Ronnie                             25 Midland Place, Apt 3B                                           Tuckahoe                  NY      10707              Litigation        X           Unknown
  Mercer, Sharon                             802 S. Taylor                                                      Pratt                     KS      67124              Litigation        X           Unknown
  Merino, Maria                              120 S Reno St, #149                                                Los Angeles               CA      90057              Litigation        X           Unknown
  Merkoziaj, Daniel                          2503 Willow Park Rd.                                               Grove City                OH      43123              Litigation        X           Unknown
  Merrill, Jr., Thomas                       P.O Box 635                                                        Elephant Butte            NM      87935              Litigation        X           Unknown
  Merritt, Robert                            3074 North 150 East                                                North Ogden               UT      84414              Litigation        X           Unknown
  Merritt, Zachary W.                        1133 E. 7t6th Place                                                Los Angeles               CA      90001              Litigation        X           Unknown
  Mesropyan, Emma                            525 Hawthorn St                                                    Glendale                  CA      91204              Litigation        X           Unknown
  Mess, James                                5236 Linton Cutoff Road                                            Benton                    LA      71006              Litigation        X           Unknown
  Messenger, Anthony                         13691 Gavina Ave., #488                                            Sylmar                    CA      91342              Litigation        X           Unknown
  Messeroff, Anna                            15539 Old Cheny Highway                                            Orlando                   FL      32828              Litigation        X           Unknown
  Messina, Frank                             304 Cotton Tail Run                                                Newport                   NC      28570              Litigation        X           Unknown
  Metcalf, Jr., James                        1029 N 20th St.                                                    Nederland                 TX      77627              Litigation        X           Unknown
  Metcalfe, Pamela                           1601 Cienegas Circle                                               Ft. Worth                 TX      76112              Litigation        X           Unknown
  Mettler, Mark                              5059 Huffman Road                                                  Kingman                   AZ      86409              Litigation        X           Unknown
  Metz, Jerry                                9200 Emmett Road                                                   Glen Allen                VA      23060              Litigation        X           Unknown
  Metz, Jessica                              40 West Market St.                                                 Long Beach                CA      90805              Litigation        X           Unknown
  Metzger, Stella                            45079 Shields Ct. Apt. 10                                          Concrete                  WA      98237              Litigation        X           Unknown
  Meyer, Alice                               893 Country Club Road                                              Metropolis                 IL     62960              Litigation        X           Unknown
  Meyer, Anna                                P.O. Box 542                                                       Somers                    CT      06071              Litigation        X           Unknown
  Meza, Anthony                              8060 Jefferson St.                                                 Paramount                 CA      90723              Litigation        X           Unknown
  Meza, David H.                             626 Oak Hill Street                                                Ontario                   CA      91761              Litigation        X           Unknown
  Meza, Louis                                PO Box 1532                                                        Orange                    CA      92856              Litigation        X           Unknown
  Meza, Maria                                PO Box 1532                                                        Orange                    CA      92856              Litigation        X           Unknown
  Meza, Nicolas                              8060 Jefferson St.                                                 Paramount                 CA      90723              Litigation        X           Unknown
  Micek, Matthew                             14753 Morrison Street                                              Sherman Oaks              CA      91403              Litigation        X           Unknown
  Michael, Edward                            45240 Westwindrose Drive                                           Maricopa                  AZ      85139              Litigation        X           Unknown
  Michaels, James                            6109 Lime Ave.                                                     Long Beach                CA      90805              Litigation        X           Unknown
  Michaels, Jennifer                         6109 Lime Ave.                                                     Long Beach                CA      90805              Litigation        X           Unknown
  Michalerya, Melinda                        2360 Watermark Pl.                                                 Irvine                    CA      92603              Litigation        X           Unknown
  Michalski, Carol                           317 W. 16th Ave                                                    Oshkosh                   WI      54902              Litigation        X           Unknown
  Mick, Jerry                                164 66th Street                                                    Niagara Falls             NY      14304              Litigation        X           Unknown
  Mickens, Ray                               1603 Sleepy Hollow Ct.                                             Westlake                  TX      76262              Litigation        X           Unknown
  Mickles, Cherrie                           19910 Tillman Avenue                                               Carson                    CA      90746              Litigation        X           Unknown
  Middleton, Kelvin                          4462 Club Trace                                                    Macon                     GA      31210              Litigation        X           Unknown
  Middleton, Ruth                            630 W Front Street                                                 Burlington                NC      27215              Litigation        X           Unknown
  Mijango, Edwin                             15529 California Ave.                                              Paramount                 CA      90723              Litigation        X           Unknown



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  Mijango, Maria                             15529 California Ave.                                             Paramount                  CA        90723                 Litigation        X           Unknown
  Mikolajczyk, Therese                       668 Yvonne Dr. SW                                                 Concord                    NC        28027                 Litigation        X           Unknown
  Milanesi, Gena                             1108 Stanford St                                                  Santa Monica               CA        90403                 Litigation        X           Unknown
  Miledeo, Maria T.                          RTS - 16195 Avenida Monteflora                                    Desert Hot Spings          CA        92240                 Litigation        X           Unknown
  Miles, Charles                             PO Box 13                                                         Speedwell                  TN        37870                 Litigation        X           Unknown
  Miles, Cindy                               2955 Marshall Court                                               Denver                     CO        80214                 Litigation        X           Unknown
  Miles, Robin L.                            9721 1/2 Wilmington Avenue                                        Los Angeles                CA        90002                 Litigation        X           Unknown
  Milewski, Carl                             531 Connecticut Dr.                                               Erie                       PA        16505                 Litigation        X           Unknown
  Milkovich, Rose                            6100 Laurent Dr. Apt. 401B                                        Parma                      OH        44129                 Litigation        X           Unknown
  Milks, John                                303 Greenview Rd.                                                 Escondido                  CA        92026                 Litigation        X           Unknown
  Millard, Donald                            15353 Tewkesbury Place                                            Upper Marlboro             MD        20774                 Litigation        X           Unknown
  Millard, Elsie                             209 Deer Path Road                                                Lead                       SD        57754                 Litigation        X           Unknown
  Miller                                     19300 Rinaldi St, #8270                                           Northridge                 CA        91327                 Litigation        X           Unknown
  Miller Jr., Robert                         15547 California Ave.                                             Paramount                  CA        90723                 Litigation        X           Unknown
  Miller Sr., Robert                         15547 California Ave.                                             Paramount                  CA        90723                 Litigation        X           Unknown
  Miller, Alfred and Janice                  262 Wadsworth Ave.                                                Tonawanda                  NY        14150                 Litigation        X           Unknown
  Miller, Andrew                             15547 California Ave.                                             Paramount                  CA        90723                 Litigation        X           Unknown
  Miller, Carolyn                            308 Darlington Road                                               Beaver Falls               PA        15010                 Litigation        X           Unknown
  Miller, Chervelvia Monique                 14711 Manzanita Park Rd.                                          Beaumont                   CA        92223                 Litigation        X           Unknown
  Miller, Cynthia Ann                        5180 Tyler Street- Apt. #5                                        Riverside                  CA        92503                 Litigation        X           Unknown
  Miller, Dian                               5013 Beckman Road                                                 West Columbia              SC        29170                 Litigation        X           Unknown
  Miller, Donald                             12351 Osborne Street, #9                                          Pacoima                    CA        91331                 Litigation        X           Unknown
  Miller, Dorothy                            213 West Union Street                                             Burlington                 NJ      08016-1331              Litigation        X           Unknown
  Miller, Enid                               620 Begonia St                                                    Escondido                  CA        92027                 Litigation        X           Unknown
  Miller, Grace                              1012 North 5th Street                                             Artesia                    NM        88210                 Litigation        X           Unknown
  Miller, Heidi                              419 Hiddenbrook Ct.                                               Henderson                  NV        89015                 Litigation        X           Unknown
  Miller, James                              2809 North Meridian Court                                         Oklahoma City              OK        73127                 Litigation        X           Unknown
  Miller, James                              3747 Allegrini Dr.                                                Sparks                     NV        89436                 Litigation        X           Unknown
  Miller, Jr., Milton                        15 Walnut Street                                                  White Haven                PA        18661                 Litigation        X           Unknown
  Miller, Makayla                            15547 California Ave.                                             Paramount                  CA        90723                 Litigation        X           Unknown
  Miller, Margo                              P.O. Box 14                                                       Wedron                     IL        60557                 Litigation        X           Unknown
  Miller, Mariyah                            15547 California Ave.                                             Paramount                  CA        90723                 Litigation        X           Unknown
  Miller, Mary                               919 Martin Luther King Jr. Dr                                     Booneville                 MS        38829                 Litigation        X           Unknown
  Miller, Michelle                           959 Adams Ave.                                                    Logan                      OH        43138                 Litigation        X           Unknown
  Miller, Ralph                              606 Heritage Lane                                                 Rochester                  MI        48309                 Litigation        X           Unknown
  Miller, Raymond                            15547 California Ave.                                             Paramount                  CA        90723                 Litigation        X           Unknown
  Miller, Rebecca                            15734 1/2 Paramount Blvd.                                         Paramount                  CA        90723                 Litigation        X           Unknown
  Miller, Richard                            PO Box 877                                                        Dallas                     OR        97338                 Litigation        X           Unknown
  Miller, Robert James                       1520 Pioche                                                       Pahrump                    NV        89048                 Litigation        X           Unknown
  Miller, Ronald                             10586 Yankee Ridge Drive                                          Frankfort                   IL       60423                 Litigation        X           Unknown
  Miller, Tasha                              40 Foxon Hill Rd. Unit 135                                        New Haven                  CT        06513                 Litigation        X           Unknown
  Miller, William                            13105 High Point Curve                                            Burnsville                 MN        55337                 Litigation        X           Unknown
  Miller-Asevedo, Elizabeth Jane             10618 N.E. Wygant Street- #D                                      Portland                   OR        97220                 Litigation        X           Unknown
  Miller-Mitchell, Robbie                    P.O. Box 5721                                                     Round Rock                 TX        78683                 Litigation        X           Unknown
  Milley, John                               36 Concord Street                                                 Nashua                     NH        03064                 Litigation        X           Unknown
  Millikan, Robin                            10965 Glenoaks Blvd., Sp. # 11                                    Pacoima                    CA        91331                 Litigation        X           Unknown
  Millington, Joseph                         24 Norwich Unit 1                                                 Hartford                   CT        06106                 Litigation        X           Unknown
  Millington, Michael                        3780 Lake View Drive                                              Ione                       CA        95640                 Litigation        X           Unknown
  Million, Dennis                            530 West 1st Street Apt. #109                                     Greensburg                 IN        47240                 Litigation        X           Unknown
  Millis, Roselea                            951 Mazeppa Road                                                  Mooresville                NC        28115                 Litigation        X           Unknown



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  Mills, Daniel                               4214 E. Ford Avenue                                               Gilbert                 AZ        85234                 Litigation        X           Unknown
  Mills, Judy Yvonne                          34150 Stowe Road                                                  Winchester              CA        92596                 Litigation        X           Unknown
  Mills, Ralph William                        34150 Stowe Road                                                  Winchester              CA        92596                 Litigation        X           Unknown
  Millsapp, Annie                             PO Box 1014                                                       Rockford                IL        60105                 Litigation        X           Unknown
  Milne, Rosslyn Marie                        245 East 1st St.- Apt 1067                                        Rialto                  CA        92376                 Litigation        X           Unknown
  Mincy, Sherry                               PO Box 783142                                                     Winter Garden           FL        34778                 Litigation        X           Unknown
  Miner, John                                 2892 Peaceful Lane                                                Rockingham              VA      22802-4557              Litigation        X           Unknown
  Minjarez, Victor                            10432 Linden Avenue                                               Bloomington             CA        92316                 Litigation        X           Unknown
  Minogue, Daniel                             2051 Midnight Street                                              Port Charlotte          FL        33948                 Litigation        X           Unknown
  Minor, Patricia                             PO Box 9002                                                       Virginia Beach          VA        23452                 Litigation        X           Unknown
  Miramontes Jr., Alberto                     24706 Ravenna Avenue                                              Carson                  CA        90745                 Litigation        X           Unknown
  Miramontes, Laura                           24706 Ravenna Avenue                                              Carson                  CA        90745                 Litigation        X           Unknown
  Miramontes, Vincent                         24706 Ravenna Avenue                                              Carson                  CA        90745                 Litigation        X           Unknown
  Miramontez, Brenda                          3042 Santa Fe Ave.- Apt. C                                        Long Beach              CA        90810                 Litigation        X           Unknown
  Miramontez, Cecilia                         P.O. Box 6033                                                     San Pedro               CA        90734                 Litigation        X           Unknown
  Miramontez, LaToya                          3042 Santa Fe Avenue Apt C                                        Long Beach              CA      90810-2770              Litigation        X           Unknown
  Miranda, Cathy                              1409 N. Tasker                                                    Hobbs                   NM        88240                 Litigation        X           Unknown
  Miranda, Edith                              8 Acorn Drive                                                     Hollywood               FL        33021                 Litigation        X           Unknown
  Miranda, Erenes                             69 Logan Street                                                   Las Vegas               NV        89110                 Litigation        X           Unknown
  Miranda, Jayson                             13451 Wentworth St                                                Arleta                  CA        91331                 Litigation        X           Unknown
  Miranda, Maria                              6419 Prospect Ave Apt. C                                          Bell                    CA        90201                 Litigation        X           Unknown
  Miranda, Pete                               2001 E. Spring Creek, Apt 8203                                    Plano                   TX        75074                 Litigation        X           Unknown
  Mires, Shields                              104 Myers Road                                                    Flintville              TN        37335                 Litigation        X           Unknown
  Mirolla Schulte, Jessica                    9423 Residencia                                                   Newport Beach           CA        92660                 Litigation        X           Unknown
  Mirolla Schulte, Mick                       9423 Residencia                                                   Newport Beach           CA        92660                 Litigation        X           Unknown
  Mirtorabi, Roshanak                         28961 Timberlane Street                                           Agoura Hills            CA        91301                 Litigation        X           Unknown
  Misiak, Gerald                              4197 Celery Bay Drive                                             Traverse City           MI        49696                 Litigation        X           Unknown
  Mislosky, William                           4560 S. Biscayne Dr., #101                                        North Port              FL        34287                 Litigation        X           Unknown
  Mitcham, Rose Marie                         200 Charter Ln, Apt 316                                           Macon                   GA        31210                 Litigation        X           Unknown
  Mitchel, Eric                               RTS - 1106 Delaware Dr.                                           Mansfield               TX        76063                 Litigation        X           Unknown
  Mitchell Sr., George                        809 Dunbar Drive                                                  Bryan                   TX        77803                 Litigation        X           Unknown
  Mitchell, Anthony                           11052 Pine Ave.                                                   Lynwood                 CA        90262                 Litigation        X           Unknown
  Mitchell, Bonnie                            403 Storch St.                                                    Saginaw                 MI        48602                 Litigation        X           Unknown
  Mitchell, Cody                              428 Secretaret Court                                              Santa Rosa              CA        95401                 Litigation        X           Unknown
  Mitchell, George                            1329 Glen Oaks Road                                               Clemens                 NC        27012                 Litigation        X           Unknown
  Mitchell, Gwenda                            23601 Sutton Drive Apt. 1217                                      Southfield              MI        48033                 Litigation        X           Unknown
  Mitchell, James                             PO BOX 129                                                        Teaberry                KY        41660                 Litigation        X           Unknown
  Mitchell, Jo Ann                            218 Ellen Street                                                  Oneonta                 AL        35121                 Litigation        X           Unknown
  Mitchell, Jr., Jay                          2541 East 9th Street Apt A                                        Cheyenne                WY        82001                 Litigation        X           Unknown
  Mitchell, Linda                             490 Stafford Avenue Apt. 7B                                       Bristol                 CT        06010                 Litigation        X           Unknown
  Mitchell, Linda                             3813 Brambleton Place                                             Fort Worth              TX        76119                 Litigation        X           Unknown
  Mitchell, Taylor                            P.O. Box 2641                                                     Opelika                 AL        36803                 Litigation        X           Unknown
  Mitchell, Velma                             1930 El Paraiso Ave. Apt. 93                                      Sacramento              CA        95824                 Litigation        X           Unknown
  Mitoma, Michael                             460 E 249th Street                                                Carson                  CA        90745                 Litigation        X           Unknown
  Mix, Marcey                                 11005 S. Harvey Ave.                                              Oklahoma City           OK        73170                 Litigation        X           Unknown
  Mixon, Kimberly                             3425 Doreen Drive                                                 Lakeland                FL        33810                 Litigation        X           Unknown
  Mkrtchyan, Liparit                          7535 Tampa Ave., Apt 102                                          Reseda                  CA        91335                 Litigation        X           Unknown
  Moaaliitele, Esau                           436 N. Hanford Avenue                                             San Pedro               CA        90732                 Litigation        X           Unknown
  Moaaliitele, Iakopo                         436 N. Hanford Avenue                                             San Pedro               CA        90732                 Litigation        X           Unknown
  Mocofan, Grigorie                           4106 Hirschfield Road                                             Spring                  TX      77373-7426              Litigation        X           Unknown



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  Moe, James                                 PO Box 152                                                             Vaughn                 MT      59487              Litigation        X           Unknown
  Moen, John                                 1904 Liverpoole Drive                                                  Plano                  TX      75025              Litigation        X           Unknown
  Moers, Ronald                              32187 Camino Nunez                                                     Temecula               CA      92592              Litigation        X           Unknown
  Mohammad, Mirwaise                         24748 Ravenna Avenue                                                   Carson                 CA      90745              Litigation        X           Unknown
  Mohammad, Noor                             24748 Ravenna Avenue                                                   Carson                 CA      90745              Litigation        X           Unknown
  Mohammad, Omaid                            24748 Ravenna Avenue                                                   Carson                 CA      90745              Litigation        X           Unknown
  Mohammad, Zary                             24748 Ravenna Avenue                                                   Carson                 CA      90745              Litigation        X           Unknown
  Mohon, Carol                               2638 E. Willetta St.                                                   Phoenix                AZ      85008              Litigation        X           Unknown
  Mohr, Dylan                                P.O. Box 8492                                                          Truckee                CA      96162              Litigation        X           Unknown
  Mojica, Crystal                            10648 Dumond Avenue                                                    Bloomington            CA      92316              Litigation        X           Unknown
  Molina, Marlana Marie                      7645 Evans Street                                                      Riverside              CA      92504              Litigation        X           Unknown
  Molina, Santiago                           5479 34th St.- Space 1                                                 Riverside              CA      92509              Litigation        X           Unknown
  Molnar, Sr., Frank                         9152 Whitman                                                           Port Rickey            FL      34668              Litigation        X           Unknown
  Molton, Carolyn                            114 Martin Rd                                                          Jackson                GA      30233              Litigation        X           Unknown
  Mondragon Jr., Rigoberto                   7614 Racine Ave.                                                       Paramount              CA      90723              Litigation        X           Unknown
  Mondragon Sr., Rigoberto                   7614 Racine Ave.                                                       Paramount              CA      90723              Litigation        X           Unknown
  Mondragon, Andrew                          7614 Racine Ave.                                                       Paramount              CA      90723              Litigation        X           Unknown
  Mondragon, Christopher                     7614 Racine Ave.                                                       Paramount              CA      90723              Litigation        X           Unknown
  Mondragon, Danny                           7614 Racine Ave.                                                       Paramount              CA      90723              Litigation        X           Unknown
  Mondragon, Eric                            7614 Racine Ave.                                                       Paramount              CA      90723              Litigation        X           Unknown
  Mondragon, Maria                           7614 Racine Ave.                                                       Paramount              CA      90723              Litigation        X           Unknown
  Mondragon, Matthew                         7614 Racine Ave.                                                       Paramount              CA      90723              Litigation        X           Unknown
  Mong, Joel                                 PO Box 731                                                             Bradford               PA      16701              Litigation        X           Unknown
  Monge, Elizabeth                           3342 Bradbury Road- Unit #39                                           Los Alamitos           CA      90720              Litigation        X           Unknown
  Monk, Karen                                1203 Sandstone Dr.                                                     Cleburne               TX      76033              Litigation        X           Unknown
  Monroe, Joseph                             309 Rear College Avenue                                                Mt. Pleasant           PA      15666              Litigation        X           Unknown
  Montague, Christina Gayle                  5528 Molino Way                                                        Riverside              CA      92509              Litigation        X           Unknown
  Montenegro, Joe                            246 East Avenue R4 NBU 379                                             Palmdale               CA      93550              Litigation        X           Unknown
  Montes Jr., Frank Anthony                  3072 Prado Lane                                                        Colton                 CA      92324              Litigation        X           Unknown
  Montes Sr., Noel A.                        2117 Benjamin Creek Dr.                                                Little Elm             TX      75608              Litigation        X           Unknown
  Montes, Arlene                             3072 Prado Lane                                                        Colton                 CA      92324              Litigation        X           Unknown
  Montes, Arthur                             15547 California Ave.                                                  Paramount              CA      90723              Litigation        X           Unknown
  Montes, Elizabeth                          4701 Charles Place- Apt. 1432                                          Plano                  TX      75093              Litigation        X           Unknown
  Montes, Frank Anthony                      3072 Prado Lane                                                        Colton                 CA      92324              Litigation        X           Unknown
  Montes, Maribel Del Carmen                 28387 Ashford Court                                                    Highland               CA      92346              Litigation        X           Unknown
  Montes, Vincent Joseph                     3072 Prado Lane                                                        Colton                 CA      92324              Litigation        X           Unknown
  Montetna, Frank                            47-02 108th Street Apt. 3W                                             Corona                 NY      11368              Litigation        X           Unknown
  Montgomery, Crystal                        1017 Jefferson Street #202                                             Hoboken                NJ      07030              Litigation        X           Unknown
  Montgomery, Joyce                          10026 West Haskell Ct.                                                 Wichita                KS      67209              Litigation        X           Unknown
  Montgomery, Julie                          24807 Island Avenue                                                    Carson                 CA      90745              Litigation        X           Unknown
  Montgomery, Ricky                          521 Copenhagen St                                                      Hemet                  CA      92545              Litigation        X           Unknown
  Montoya, Clarissa                          5327 1/2 Paloma Road                                                   Riverside              CA      92509              Litigation        X           Unknown
  Montoya, Daniel                            1755 E. First St. #1                                                   Long Beach             CA      90802              Litigation        X           Unknown
  Montoya, Jack J.                           10900 Sepulveda Blvd. #3 PortollaRd                                    Mission Hills          CA      91345              Litigation        X           Unknown
  Montoya, Lydia                             24839 Carmel Drive                                                     Carson                 CA      90745              Litigation        X           Unknown
  Montoya, Michael                           21826 Ravenna Avenue                                                   Carson                 CA      90745              Litigation        X           Unknown
  Montoya, Natalia                           4513 Ocana Ave                                                         Lakewood               CA      90713              Litigation        X           Unknown
  Montoya, Nick                              24839 Carmel Drive                                                     Carson                 CA      90745              Litigation        X           Unknown
  Montoya, Oliver                            24839 Carmel Drive                                                     Carson                 CA      90745              Litigation        X           Unknown
  Moody, Johnny                              11183 S. Manhattan Place                                               Los Angeles            CA      90047              Litigation        X           Unknown



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  Moody, Paul                                428 Dunmore Road                                                     Fayetteville            NC        28303                 Litigation        X           Unknown
  Moomjian, Sally                            509 Englewood Dr.                                                    Virginia Beach          VA        23462                 Litigation        X           Unknown
  Moon, Diane                                601 N. Black Horse Pike #A-12                                        Williamstown            NJ        08904                 Litigation        X           Unknown
  Mooney, Robert                             3165 Partridge Run Street                                            Laughlin                NV        89029                 Litigation        X           Unknown
  Mooney, Vita                               476 Ridge Road                                                       Webster                 NY        14580                 Litigation        X           Unknown
  Moore Ben-Lulu, Beverly                    RTS - c/o Ernie Moore 803 Stagecoach Village                         Little Rock             AR        72210                 Litigation        X           Unknown
  Moore Jr., Alfred Lee                      15717 La Cubre Drive                                                 Victorville             CA        92394                 Litigation        X           Unknown
  Moore, Adine                               P.O. Box 153                                                         Florissant              MO        63032                 Litigation        X           Unknown
  Moore, Arthur                              324 Crestwood Dr.                                                    Roselle                 IL        60172                 Litigation        X           Unknown
  Moore, Athena                              144 Pisgah Drive                                                     Canton                  NC        28716                 Litigation        X           Unknown
  Moore, Barbara                             56 Main St.                                                          Greenville              NH        03048                 Litigation        X           Unknown
  Moore, Barbara                             2551 Buckhannon                                                      Philippi                WV        26416                 Litigation        X           Unknown
  Moore, Carlotta Marie                      15717 La Cubre Drive                                                 Victorville             CA        92394                 Litigation        X           Unknown
  Moore, Clyde                               1150 Kellocreek Lane York                                            York                    SC        29745                 Litigation        X           Unknown
  Moore, Daryl                               221 W Franklin                                                       Otsego                  MI        49078                 Litigation        X           Unknown
  Moore, Dennis Nathaniel                    13734 Rundell Dr.                                                    Moreno Valley           CA        92553                 Litigation        X           Unknown
  Moore, Fannie                              400 E. Wintergreen Rd., #368                                         DeSoto                  TX        75115                 Litigation        X           Unknown
  Moore, Frank                               2107 Bordeaux Street                                                 Carson City             NV        89701                 Litigation        X           Unknown
  Moore, Gail                                1304 Helix St., Apt. 17                                              Spring Valley           CA        91977                 Litigation        X           Unknown
  Moore, Gladys                              5777 Washington Street Apt. M-24                                     Hollywood               FL        33023                 Litigation        X           Unknown
  Moore, Irene                               10 Congress Square Plaza Apt 506                                     Portland                ME        04101                 Litigation        X           Unknown
  Moore, James Edward                        11253 Bridle Lane                                                    Victorville             CA        92392                 Litigation        X           Unknown
  Moore, LaDetrah                            1304 Young Loop Drive                                                Bastrop                 LA        71220                 Litigation        X           Unknown
  Moore, Lashawna                            9397 Martin Luther King Blvd Apt 7                                   Mer Rouge               LA        71261                 Litigation        X           Unknown
  Moore, Linwood                             1226 East 32nd St.                                                   Des Moines              IA        50317                 Litigation        X           Unknown
  Moore, Mildred                             2611 Wildwood Drive                                                  Brunswick               GA        31520                 Litigation        X           Unknown
  Moore, Nancy                               3711 Ammons Avenue                                                   Richmond                VA        23223                 Litigation        X           Unknown
  Moore, Rosemarie                           3 Satinwood Street                                                   Central Islip           NY        11722                 Litigation        X           Unknown
  Moore, Timothy                             834 N. Marsalis #202                                                 Dallas                  TX        75203                 Litigation        X           Unknown
  Moosa, Farooq                              2409 Alexia Way                                                      Modesto                 CA        95355                 Litigation        X           Unknown
  Mora Sr., Roy                              444 E 249th Street                                                   Carson                  CA        90745                 Litigation        X           Unknown
  Mora, Cynthia                              29636 Copper Ridge Rd.                                               Menifee                 CA      92584-7681              Litigation        X           Unknown
  Mora, Gloria                               162 Sequoia Circle                                                   Santa Rosa              CA        95401                 Litigation        X           Unknown
  Mora, Helen                                444 E 249th Street                                                   Carson                  CA        90745                 Litigation        X           Unknown
  Mora, Josefa                               99 Bliss Canyon Rd                                                   Bradbury                CA        91008                 Litigation        X           Unknown
  Mora, Matias                               18787 14th Street                                                    Bloomington             CA        92316                 Litigation        X           Unknown
  Mora, Sylvia                               15019 Spruce Street                                                  Hesperia                CA        92345                 Litigation        X           Unknown
  Morales, Alejo                             110 Hines St.                                                        Diboll                  TX        75941                 Litigation        X           Unknown
  Morales, Ana                               88 Mather Ave. Apt. 88                                               Groton                  CT        06340                 Litigation        X           Unknown
  Morales, Barbara                           203 N. 9nd Street, Apt 1                                             Pottsville              PA        17901                 Litigation        X           Unknown
  Morales, Griselda                          7410 N. Butler                                                       Hobbs                   NM        88242                 Litigation        X           Unknown
  Morales, Hector Joseph                     710 E. San Ysido Blvd., #A PMB 7676                                  San Ysidro              CA        92173                 Litigation        X           Unknown
  Morales, Jessie                            1422 Cobb                                                            Hobbs                   NM        88240                 Litigation        X           Unknown
  Morales, Julia                             9403 Frankfort Avenue                                                Fontana                 CA        92335                 Litigation        X           Unknown
  Morales, Julio                             18026 Valley Blvd. #121                                              Bloomington             CA        92316                 Litigation        X           Unknown
  Morales, Maria                             7021 Alondra Blvd. # 22                                              Paramount               CA        90723                 Litigation        X           Unknown
  Morales, Maria G.                          18516 8th Street                                                     Bloomington             CA        92316                 Litigation        X           Unknown
  Morales, Miguel                            175 Henry Ave, Building 3, Apt. 8                                    Stratford               CT        06614                 Litigation        X           Unknown
  Morales, Ospicia Ofeminia                  3930 Witt Avenue                                                     Riverside               CA        92501                 Litigation        X           Unknown
  Morales, Richard                           9403 Frankfort Avenue                                                Fontana                 CA        92335                 Litigation        X           Unknown



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  Moravec, Janis                             441 Littlepath Road                                                 Des Plaines                IL       60016              Litigation        X           Unknown
  Mordecai, Mary                             1144 Reilly St.                                                     Bay Shore                 NY        11706              Litigation        X           Unknown
  Morehouse-Harrison, Celia                  PO Box 1142                                                         Lawndale                  CA        90260              Litigation        X           Unknown
  Moreira, Espanita Jackie                   P.O. Box 3326                                                       Riverside                 CA        92519              Litigation        X           Unknown
  Morel Ventura, Gloria                      PO BOX 7041                                                         Ponce                     PR      00732-7041           Litigation        X           Unknown
  Moreno Mageno, Gloria                      8201 70th St.                                                       Paramount                 CA        90723              Litigation        X           Unknown
  Moreno, Grace                              15346 Fairlock Ave.                                                 Paramount                 CA        90723              Litigation        X           Unknown
  Moreno, Jesus P.                           4193 Columbia Avenue                                                Riverside                 CA        92501              Litigation        X           Unknown
  Moreno, Laura                              2613 Eas Coyuga Street                                              Tampa                     FL        33610              Litigation        X           Unknown
  Moreno, Sara                               78365 Hwy. 111, Apr. 132                                            La Quinta                 CA        92253              Litigation        X           Unknown
  Morfin, Andrew                             460 Martin Avenue                                                   Colton                    CA        92324              Litigation        X           Unknown
  Morfin, Matilde                            460 Martin Avenue                                                   Colton                    CA        92324              Litigation        X           Unknown
  Morgan, Bruce                              2104 Xanadu Lane                                                    Wall                      NJ        07719              Litigation        X           Unknown
  Morgan, Carolyn                            812 E Maple St.                                                     Jeffersonville            IN        47130              Litigation        X           Unknown
  Morgan, Glenn                              P.O. Box 1123                                                       Roseboro                  NC        28382              Litigation        X           Unknown
  Morgan, Jacquelin                          55897 Cactus Ct.                                                    Whitewater                CA        92282              Litigation        X           Unknown
  Morgan, James                              173-305-Calahoo Road                                                Spruce Grove              AB        T7X3K9 CANADA      Litigation        X           Unknown
  Morgan, James                              14126 76th Street                                                   Live Oak                  FL        32060              Litigation        X           Unknown
  Morgan, John                               1944 W. Thunderbird Road W77                                        Phoenix                   AZ        85023              Litigation        X           Unknown
  Morgan, Josie                              4946 Linden Street                                                  Baton Rouge               LA        70805              Litigation        X           Unknown
  Morgan, Leroy                              PO BOX 323                                                          Bartow                    GA        30413              Litigation        X           Unknown
  Morgan, Marvin                             2135 North Arrowhead Ave.                                           San Bernardino            CA        92405              Litigation        X           Unknown
  Morgan, Regina                             851 25th Avenue Apt. B7                                             Phenix City               AL      36869-5353           Litigation        X           Unknown
  Morgan, Reginald                           6914 Jessica Place                                                  Fontana                   CA        92336              Litigation        X           Unknown
  Morgan, Shane                              28 Jackson Avenue                                                   Rutland                   VT        05701              Litigation        X           Unknown
  Morgan, Sharail                            424 Boyd Lane                                                       Waco                      TX        76706              Litigation        X           Unknown
  Morin, Ronald                              5 1/2 Alma Road                                                     Windsor Locks             CT        06096              Litigation        X           Unknown
  Mormino, Rebecca                           379 Broad Street, Apt. 4                                            Tonawanda                 NY        14150              Litigation        X           Unknown
  Morog, William and Mary                    1111 Garfield Ave.                                                  Niagara Falls             NY        14305              Litigation        X           Unknown
  Morris Fowler, Patricia Ann                3667 Whittier Blvd. Apt 5                                           Los Angeles               CA        90023              Litigation        X           Unknown
  Morris, Barbara                            109 Morris Ln                                                       Winchester                TN        37398              Litigation        X           Unknown
  Morris, Chellie                            10 Smith Jones Road                                                 New Hebron                MS        39140              Litigation        X           Unknown
  Morris, D'Anthony                          1102 W 64TH ST                                                      LOS ANGELES               CA      90044-3608           Litigation        X           Unknown
  Morris, Dennis J.                          3667 Whittier Blvd.- Apt. #5                                        Los Angeles               CA        90023              Litigation        X           Unknown
  Morris, Johnny                             12920 Apartment B Highway 1764                                      Santa Fe                  TX        77510              Litigation        X           Unknown
  Morris, Kyle Duane                         5887 42nd St.                                                       Riverside                 CA        92509              Litigation        X           Unknown
  Morris, Lola                               PO Box 773                                                          Gallpolis                 OH        45631              Litigation        X           Unknown
  Morris, Mary                               6381 NW 120th Drive                                                 Coral Springs             FL        33076              Litigation        X           Unknown
  Morris, Miranda                            4604 King St.                                                       Carlsbad                  NM        88220              Litigation        X           Unknown
  Morris, Paula                              5524 Elmer Ave. Apt. 1                                              North Hollywood           CA        91601              Litigation        X           Unknown
  Morris, Rosa                               1003 E. 80th St., Apt. 305                                          Bloomington               MN        55420              Litigation        X           Unknown
  Morris, Terry                              7 Hillcrest Dr                                                      Stroud                    OK        74079              Litigation        X           Unknown
  Morris, Vonda                              1031 Orchard Ave.                                                   Vallejo                   CA        94591              Litigation        X           Unknown
  Morrison, Keith                            3370 N Hayden Road, #123 PMB 603                                    Scottsdale                AZ        85251              Litigation        X           Unknown
  Morrison, Samuel M.                        11730 Gruen Street                                                  Lakeview Terrace          CA        91342              Litigation        X           Unknown
  Morrow, Lawrence                           RTS - P.O Box 982                                                   Lake Charles              LA        70602              Litigation        X           Unknown
  Morrow, Stan                               14450 Acuna Lane                                                    Houston                   TX        77045              Litigation        X           Unknown
  Morrow, Thomas                             3709 Oklahoma Avenue                                                Tampa                     FL        33611              Litigation        X           Unknown
  Morse, Jr., Wayne                          551 West 1000 North                                                 Tremonton                 UT        84337              Litigation        X           Unknown
  Morse, Nancy                               RTS - 333 E 5th St.                                                 Mercedes                  TX      78570-0138           Litigation        X           Unknown



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  Morton, Ida                                372 Legacy Drive SW Apt. #122                                          Atlanta                  GA        30310                 Litigation        X           Unknown
  Morton, Johnnie                            191 University Blvd Suite 717                                          Denver                   CO        80206                 Litigation        X           Unknown
  Morton, Jr, Jimmy                          314 Clement Street                                                     Marion                   AL        36756                 Litigation        X           Unknown
  Morton, Tammy                              1510 River Road                                                        Morgantown               WV        26501                 Litigation        X           Unknown
  Mory, Christel                             1211 Gardenia St.                                                      Oxnard                   CA        93036                 Litigation        X           Unknown
  Moscatel , Harry                           17707 Alonzo Pl                                                        Encino                   CA        91366                 Litigation        X           Unknown
  Mosebar, Donald                            1713 Walnut Avenue                                                     Manhattan Beach          CA        90266                 Litigation        X           Unknown
  Moseley, Barbara                           1409 E Topeka Drive                                                    Phoenix                  AZ        85024                 Litigation        X           Unknown
  Moser, Eric                                10769 Almond St.                                                       Adelanto                 CA        92301                 Litigation        X           Unknown
  Moses Furches, Ruth                        1500 Clark Ave.                                                        Winston-Salem            NC        21705                 Litigation        X           Unknown
  Moses, Mildred                             27881 White Oak                                                        Trenton                  MI        48183                 Litigation        X           Unknown
  Mosher, Lloyd                              58 Cornen Street                                                       Bradford                 PA        16701                 Litigation        X           Unknown
  Mosher, Sharon                             2661 Jones Road                                                        Geneva                   NY        14456                 Litigation        X           Unknown
  Mosley, Geneva                             527 North Main Street                                                  Kendallville             IN        46755                 Litigation        X           Unknown
  Mosley, Lanette                            11622 Lynhurst Drive                                                   Washington               MI        48094                 Litigation        X           Unknown
  Mosley, Linda                              2988 Charmingdale Drive W.                                             Mobile                   AL        36618                 Litigation        X           Unknown
  Moss, Eivind                               10 Bonny Shores Drive                                                  Lakeland                 FL        33801                 Litigation        X           Unknown
  Moss, Russell                              PO Box 128                                                             Bonsall                  CA        92003                 Litigation        X           Unknown
  Moss, Ted                                  2951 Norton Avenue                                                     Lynwood                  CA        90262                 Litigation        X           Unknown
  Mott, Aaron                                3845 N. Roosevelt St.                                                  Kingman                  AZ        86409                 Litigation        X           Unknown
  Mott, Jr., Donald                          1118 North Oklahoma Ave.                                               Okmulgee                 OK        74447                 Litigation        X           Unknown
  Mouret, Jr., Leon                          7326 Bellows Falls Lane                                                Hudson                   FL        34667                 Litigation        X           Unknown
  Mowrey, Donald C.                          10142 McClemont Ave., # 101                                            Tujunga                  CA        91042                 Litigation        X           Unknown
  Moya, Paul                                 PO Box 2                                                               Caldwell                 WV        24925                 Litigation        X           Unknown
  Moyer, Louis                               723 E. Broadway Street                                                 Kokomo                   IN        46902                 Litigation        X           Unknown
  Mozingo, Marcelene                         453 Washington Pike                                                    Wellsburg                WV        26070                 Litigation        X           Unknown
  Mozingo, Margie                            50 North B Street                                                      San Mateo                CA        94401                 Litigation        X           Unknown
  Muhammad, Amera                            653 East Gates St.                                                     Columbus                 OH        43206                 Litigation        X           Unknown
  Muhammad, Clara Leonette                   9225 Trovita Circle                                                    Riverside                CA        92508                 Litigation        X           Unknown
  Mulea, Michael                             108 Shelby Court                                                       Simpsonville             SC        29681                 Litigation        X           Unknown
  Muli, Geraldine                            37 Edgar Drive                                                         Smithtown                NY      11787-1603              Litigation        X           Unknown
  Mulkey, Anna                               1925 Calvin St.                                                        Indianapolis             IN        46203                 Litigation        X           Unknown
  Mullahoo, Earl                             40 Holden St Unit 101                                                  Coventry                 RI        02816                 Litigation        X           Unknown
  Mullen, Earline                            1366 Miami Trail                                                       Birmingham               AL        35214                 Litigation        X           Unknown
  Mulois, Angela                             4460 Lucerne Lakes Blvd. W Apt. 102                                    Lake Worth               FL        33467                 Litigation        X           Unknown
  Mund, Camella                              2804 S.W. J Avenue # 39                                                Lawton                   OK        73505                 Litigation        X           Unknown
  Muniz, Elicia                              1601 Rugby N W Blvd.                                                   Roanoke                  VA        24017                 Litigation        X           Unknown
  Muniz, Emmanuel                            1331 Timberidge Loop S                                                 Lakeland                 FL        33809                 Litigation        X           Unknown
  Muniz, Kathleen Ann                        1525 W. Main- Space #34                                                Barstow                  CA        92311                 Litigation        X           Unknown
  Muniz, Rafael                              13879 SW 152 Terrace                                                   Miami                    FL        33177                 Litigation        X           Unknown
  Munoz Jr, Ruben                            18854 4th Street                                                       Bloomington              CA        92316                 Litigation        X           Unknown
  Munoz Sr, Ruben                            18854 4th Street                                                       Bloomington              CA        92316                 Litigation        X           Unknown
  Munoz, Elizabeth                           13228 Woodruff Ave. #3                                                 Downey                   CA        90242                 Litigation        X           Unknown
  Munoz, Jonathan                            18854 4th Street                                                       Bloomington              CA        92316                 Litigation        X           Unknown
  Munoz, Juana                               773 Cedar Court                                                        Colton                   CA        92324                 Litigation        X           Unknown
  Munoz, Maria Irene                         18854 4th Street                                                       Bloomington              CA        92316                 Litigation        X           Unknown
  Munoz, Noelle                              RTS - 13228 Woodruff Ave. #3                                           Downey                   CA        90242                 Litigation        X           Unknown
  Munoz, Reynaldo                            13228 Woodruff Ave. #3                                                 Downey                   CA        90242                 Litigation        X           Unknown
  Munoz, Sergio                              750 Garland Ave, #222                                                  Los Angeles              CA        90017                 Litigation        X           Unknown
  Munoz-Garcia, Israel                       18854 4th Street                                                       Bloomington              CA        92316                 Litigation        X           Unknown



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  Murad, Walid                               8253 Graves Ave., Unit 112                                           Santee                   CA      92071              Litigation        X           Unknown
  Murillo, Ramon                             1917 Amelia Avenue                                                   San Pedro                CA      90731              Litigation        X           Unknown
  Murillo, Rudolph T.                        1041 S. Gage Avenue                                                  Los Angeles              CA      90023              Litigation        X           Unknown
  Muro, Maria Sidelina Gama                  PO Box 463                                                           Llano                    CA      93544              Litigation        X           Unknown
  Murphy, Donald                             160 Campbell Drive                                                   Bolingbrook              IL      60440              Litigation        X           Unknown
  Murphy, Norma                              200 S. Dolliver Street #381                                          Pismo Beach              CA      93449              Litigation        X           Unknown
  Murphy, Sr., Franklin                      P.O. Box 871                                                         Callahan                 FL      32011              Litigation        X           Unknown
  Murphy, Stephanie                          23934 Wild Forest Drive                                              New Caney                TX      77357              Litigation        X           Unknown
  Murray, Alan                               270 West Center Street                                               Smithville               UT      84335              Litigation        X           Unknown
  Murray, Charles                            1315 Cecelia Ct                                                      San Luis Obispo          CA      93401              Litigation        X           Unknown
  Murray, Gregory                            70 Hoover Road                                                       Yonkers                  NY      10710              Litigation        X           Unknown
  Murray, James                              844 Cliffside Drive                                                  New Carlisle             OH      45344              Litigation        X           Unknown
  Murray, Kathy                              97 Castro St. #206                                                   Salinas                  CA      93906              Litigation        X           Unknown
  Murray, Michael                            165 Cayuga Street                                                    Clyde                    NY      14433              Litigation        X           Unknown
  Murray, Richard W. Jr.                     12162 Harclare Drive                                                 Moreno Valley            CA      92557              Litigation        X           Unknown
  Murray, Robert                             3946 Cochran St., #53                                                Simi Valley              CA      93063              Litigation        X           Unknown
  Murray, Terrance                           2017 Nugent Dr.                                                      Mansfield                TX      76063              Litigation        X           Unknown
  Murray, Tyranae T.                         2358 Haller Street                                                   San Diego                CA      92104              Litigation        X           Unknown
  Murray, Tyrone C.                          17115 Avenue Del Sol                                                 Fontana                  CA      92337              Litigation        X           Unknown
  Murrey, Loretta                            9 Hillcrest Ave                                                      Fox Lake                 IL      60020              Litigation        X           Unknown
  Musick, Denise                             24421 Panama Avenue                                                  Carson                   CA      90745              Litigation        X           Unknown
  Muzzy, Richard                             3424 Glendower St.                                                   Rosamond                 CA      93560              Litigation        X           Unknown
  MVC Shareholders                           5903 Noble Avenue                                                    Van Nuys                 CA      91411              Litigation        X           Unknown
  Mwamba, Jahi                               1817 Key Court                                                       Fayetteville             NC      28314              Litigation        X           Unknown
  Myers II, Todd                             6810 Spruce Gum Lane                                                 Austin                   TX      78744              Litigation        X           Unknown
  Myers, Bruce                               1501 Genteilly Drive                                                 Shreveport               LA      71105              Litigation        X           Unknown
  Myers, Jr., Frank                          3255 East Avenue R Space 178                                         Palmdale                 CA      93550              Litigation        X           Unknown
  Myers, Mary                                24109 Kingwood Place Dr. Apt 3210                                    Kingwood                 TX      77339              Litigation        X           Unknown
  Myers, Mervin                              80232 Royal Dornoch Road                                             Indio                    CA      92201              Litigation        X           Unknown
  Myers, Phoebe                              1333 US Highway 1 South                                              Alma                     GA      31510              Litigation        X           Unknown
  Myers, Ronald                              RTS: PO BOX 852                                                      Cottonwood               CA      96022              Litigation        X           Unknown
  Myers, Thomas                              6015 Rapid Creek Court                                               Kingwood                 TX      77345              Litigation        X           Unknown
  Myslinski Jr. , Tom                        1347 Marsh Harbor Drive                                              Jacksonville             FL      32225              Litigation        X           Unknown
  Myszkowski, Joseph                         8128 N. Buffalo Dr.                                                  Las Vegas                NV      89131              Litigation        X           Unknown
  Nabayan Jr, Edward                         24513 Fries Avenue                                                   Carson                   CA      90745              Litigation        X           Unknown
  Nabayan, Amanda                            24513 Fries Avenue                                                   Carson                   CA      90745              Litigation        X           Unknown
  Nabayan, Celia                             24513 Fries Avenue                                                   Carson                   CA      90745              Litigation        X           Unknown
  Nabayan, Edward                            24812 Panama Avenue                                                  Carson                   CA      90745              Litigation        X           Unknown
  Nabayan, Leinea                            24812 Panama Avenue                                                  Carson                   CA      90745              Litigation        X           Unknown
  Nabayan, Valentina                         24513 Fries Avenue                                                   Carson                   CA      90745              Litigation        X           Unknown
  Nadeski, Mark                              244 Coral Rose                                                       Irvine                   CA      92603              Litigation        X           Unknown
  Nakasuji, Tadaharu                         24741 Marbella Avenue                                                Carson                   CA      90745              Litigation        X           Unknown
  Nalic, Azijada                             2137 Princeton Pike                                                  Lawrenceville            NJ      08648              Litigation        X           Unknown
  Napier, Paula                              3501 Andy Road, Lot A                                                Casper                   WY      82601              Litigation        X           Unknown
  Napoles, Antonio                           RTS - P.O. Box 29883                                                 Chicago                  IL      60629              Litigation        X           Unknown
  Napolitano                                 1277 Wilcox Ave, #1                                                  Los Angeles              CA      90038              Litigation        X           Unknown
  Napolitano, Donna Kim                      3030 W. Acacia Ave. #A-203                                           Hemet                    CA      92545              Litigation        X           Unknown
  Napper, Rachel                             1611 4th Ave, Apt 305                                                Richmond                 VA      23222              Litigation        X           Unknown
  Naranjo, Angelica Susana                   359 E. Hacienda Dr.                                                  Corona                   CA      92879              Litigation        X           Unknown
  Naranjo, Teresa                            2061 Indiana Dr.                                                     Oxnard                   CA      93036              Litigation        X           Unknown



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  Narewski, Gary                             35 Autumn Rd.                                                   Wrentham                    MA      02093              Litigation        X           Unknown
  Nargizyan, Grigor                          6532 Goodland Avenue                                            North Hollywood             CA      91606              Litigation        X           Unknown
  Narine, Maricela                           19401 Acorn Street                                              Bloomington                 CA      92316              Litigation        X           Unknown
  Narvaez, Thelma                            17609 Catalpa Way                                               Carson                      CA      90746              Litigation        X           Unknown
  Nash, Lawrence Anthony                     5760 28th St.                                                   Riverside                   CA      92509              Litigation        X           Unknown
  Nash, Mandy                                5827 Dagwood Ave                                                Lakewood                    CA      90712              Litigation        X           Unknown
  Nash, Stephen                              169 Kelly Drive                                                 Barboursville               WV      25504              Litigation        X           Unknown
  Nassiff, Gloria                            118 Fairway Pointe Cr.                                          Orlando                     FL      32828              Litigation        X           Unknown
  Natirboff, Lisa                            4429 Constitution Lane                                          Longview                    WA      98632              Litigation        X           Unknown
  Natividad, Corina                          3433 Grand View Dr.                                             San Angelo                  TX      76904              Litigation        X           Unknown
  Nava, Ceasar                               24622 Marbella Avenue                                           Carson                      CA      90745              Litigation        X           Unknown
  Nava, Sandra                               1625 Pacific Ave Suite 166                                      Oxnard                      CA      93033              Litigation        X           Unknown
  Naval, Rosemary                            24709 Panama Avenue                                             Carson                      CA      90745              Litigation        X           Unknown
  Naval, Rudy                                24709 Panama Avenue                                             Carson                      CA      90745              Litigation        X           Unknown
  Navarette, Prisciliano                     1827 N Josey Lane, Apt. E                                       Carrollton                  TX      75006              Litigation        X           Unknown
  Navarrete, Rosalba                         15325 Cranbrook Avenue                                          Lawndale                    CA      90260              Litigation        X           Unknown
  Navarrette, Eduardo                        24827 Carmel Drive                                              Carson                      CA      90745              Litigation        X           Unknown
  Navarrette, Katrina                        24827 Carmel Drive                                              Carson                      CA      90745              Litigation        X           Unknown
  Navarrette, Rosa                           24827 Carmel Drive                                              Carson                      CA      90745              Litigation        X           Unknown
  Navarrette, Sonia                          24827 Carmel Drive                                              Carson                      CA      90745              Litigation        X           Unknown
  Navarro Sr., Rudy                          24741 Marbella Avenue                                           Carson                      CA      90745              Litigation        X           Unknown
  Navarro, Brigette                          351 W. 44th Street                                              San Bernardino              CA      92407              Litigation        X           Unknown
  Navarro, Carlos                            24528 Island Avenue                                             Carson                      CA      90745              Litigation        X           Unknown
  Navarro, David                             210 S. 14th Street                                              Las Vegas                   NV      89101              Litigation        X           Unknown
  Navarro, Deborah                           24741 Marbella Avenue                                           Carson                      CA      90745              Litigation        X           Unknown
  Navarro, Debra                             24741 Marbella Avenue                                           Carson                      CA      90745              Litigation        X           Unknown
  Navarro, Gloria                            321 N. Mexico St.                                               Alton                       TX      78573              Litigation        X           Unknown
  Navarro, Jaquelline                        24744 Carmel Drive                                              Carson                      CA      90745              Litigation        X           Unknown
  Navarro, Liana                             437 W. Cherry St.                                               Compton                     CA      90222              Litigation        X           Unknown
  Navarro, Melissa                           24741 Marbella Avenue                                           Carson                      CA      90745              Litigation        X           Unknown
  Navarro, Rudy                              24741 Marbella Avenue                                           Carson                      CA      90745              Litigation        X           Unknown
  Navin, Vincent                             14355 S. Donovan Rd.                                            Oregon City                 OR      97045              Litigation        X           Unknown
  Naylor, William                            PO Box 22501                                                    Memphis                     TN      38122              Litigation        X           Unknown
  Neal, Jessie                               3127 Cloverwood Drive                                           Nashville                   TN      37214              Litigation        X           Unknown
  Neal, Robert                               2385 E Cold Water Rd                                            Flint                       MI      48505              Litigation        X           Unknown
  Neal, Thomas                               1277 West On The Green Blvd.                                    Cottonwood                  AZ      86326              Litigation        X           Unknown
  Nealy, Linda                               307 1/2 W 1st Street                                            MT Morris                   IL      61054              Litigation        X           Unknown
  Nedeski, Aleksandar                        2647 Edgar Street                                               Toledo                      OH      43613              Litigation        X           Unknown
  Needham, Russell                           256 Faraday Rd.                                                 Tonawanda                   NY      14223              Litigation        X           Unknown
  Negrete, Nicole                            10626 Cottonwood Avenue                                         Hesperia                    CA      92345              Litigation        X           Unknown
  Neisser, Joshua                            3262 Maryland Ave.                                              Green Cove Sgrings          FL      32043              Litigation        X           Unknown
  Neitzer, George                            1729 S. 15th St.                                                Rogers                      AK      72758              Litigation        X           Unknown
  Nelson, Charles                            3380 W. 84th St., Apt. D                                        Inglewood                   CA      90305              Litigation        X           Unknown
  Nelson, Charles                            5161 Cox Drive                                                  Valley Springs              CA      95252              Litigation        X           Unknown
  Nelson, Cynthia                            15133 Rancho Centina Rd.                                        Paramount                   CA      90723              Litigation        X           Unknown
  Nelson, Dennis Anthony                     2104 West 1st Ave                                               Corsicana                   TX      75110              Litigation        X           Unknown
  Nelson, George                             1614 Heather Glen Ct.                                           Richardson                  TX      75081              Litigation        X           Unknown
  Nelson, Kathy Elaine                       5194 Nobles Street                                              Riverside                   CA      92503              Litigation        X           Unknown
  Nelson, Mae                                1146 West 76th Street                                           Los Angeles                 CA      90044              Litigation        X           Unknown
  Nelson, Mike                               15133 Rancho Centina Rd.                                        Paramount                   CA      90723              Litigation        X           Unknown



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  Nelson, Norine Ann                         2104 West 1st Ave                                                   Coursicana               TX      75110              Litigation        X           Unknown
  Nelson, Rhonda Ann                         PO Box 33487                                                        Riverside                CA      92519              Litigation        X           Unknown
  Nelson, Richard                            7733 176th Avenue E                                                 Bonney Lake              WA      98391              Litigation        X           Unknown
  Nelson, Richard A.                         3121 E Fargo Circle                                                 Mesa                     AZ      85213              Litigation        X           Unknown
  Nelson, Ruben                              37 Hubbard Avenue #12                                               Riverhead                NY      11901              Litigation        X           Unknown
  Nelson, Sydney                             15133 Rancho Centina Rd.                                            Paramount                CA      90723              Litigation        X           Unknown
  Nelson, Thelma                             5142 W Fulton St.                                                   Chicago                  IL      60644              Litigation        X           Unknown
  Nelson, Vera                               1845 Eastern SE Ave                                                 Grand Rapids             MI      49507              Litigation        X           Unknown
  Nesbit, Ellen                              26 Krotiak Road                                                     Park Forest              IL      60466              Litigation        X           Unknown
  Nettles, Ronda                             32640 Cary Ln. N Lot 36                                             New Haven                NC      48048              Litigation        X           Unknown
  Neumaier, Daniel                           7960 Knight Hollow Rd                                               Arena                    WI      53503              Litigation        X           Unknown
  Neusius, Tami                              2215 Otis Avenue                                                    Warren                   MI      48091              Litigation        X           Unknown
  Nevarez, Jennifer Frances                  4339 Bramblewood St.                                                Las Vegas                NV      89147              Litigation        X           Unknown
  Nevarez, Manuel Edward                     21193 Valencia Street                                               Apple Valley             CA      92308              Litigation        X           Unknown
  Neves, Jeffery                             PO Box 60                                                           Olivehurst               CA      95961              Litigation        X           Unknown
  Newbauer, Cheri                            16521 Talpa Street                                                  Victorville              CA      92395              Litigation        X           Unknown
  Newcomb, Regina                            1904 Larkin Rd.                                                     Boothwyn                 PA      19061              Litigation        X           Unknown
  Newfeld, Herbert "Bob"                     7814 Bankside Drive                                                 Houston                  TX      77071              Litigation        X           Unknown
  Newman Sr., Randall                        2875 Raymond Road                                                   Shepherdsville           KY      40165              Litigation        X           Unknown
  Newman, Elizabeth                          616 San Pascual Ave #8                                              Los Angeles              CA      90042              Litigation        X           Unknown
  Newsome, Stanley                           1858 Christopher Dr                                                 Conyers                  GA      30094              Litigation        X           Unknown
  Newson, Kendall                            2011 Twin Falls Dr.                                                 Decatur                  GA      30032              Litigation        X           Unknown
  Newton, Cameron                            2734 Still Farms Pl.                                                Lawrenceville            GA      30043              Litigation        X           Unknown
  Newton, Darla                              1501 Oleanda Avenue Apt 2                                           Louisville               KY      40215              Litigation        X           Unknown
  Newton, John                               6250 S. Commerce Apt. 4207                                          Tucson                   AZ      85746              Litigation        X           Unknown
  Newton, Sandra                             1237 Powerline Road, Unit B                                         Bullhead City            AZ      86429              Litigation        X           Unknown
  Newton, Tracey                             55 Killington Avenue Apt B                                          Rutland                  VT      05701              Litigation        X           Unknown
  Ngo, Vincent                               233 N Orange Ave                                                    Azusa                    CA      91702              Litigation        X           Unknown
  Nguyen, Alexander                          4416 Graves                                                         Odessa                   TX      79762              Litigation        X           Unknown
  Nguyen, Marc                               1432 West San Carlos Street #291                                    San Jose                 CA      95126              Litigation        X           Unknown
  Nguyen, Minh Brian                         826 Amapola Avenue                                                  Torrance                 CA      90501              Litigation        X           Unknown
  Nicely, Carolyn                            PO Box 34                                                           Covington                VA      24426              Litigation        X           Unknown
  Nichols, Luther                            75 Uvilla Estate Drive                                              Shenandoah Junction      WV      25442              Litigation        X           Unknown
  Nichols, Raymond                           18693 Hartley Lake Rd.                                              Brainerd                 MN      56401              Litigation        X           Unknown
  Nichols, Ruby                              8267 Lloyd Drive Apt 11A                                            Douglasville             GA      30134              Litigation        X           Unknown
  Nichols, Sandra                            1437 S. Maple Ave.                                                  Bartlesville             OK      74003              Litigation        X           Unknown
  Nichols, Walter                            3723 E 27th Street                                                  Tucson                   AZ      85713              Litigation        X           Unknown
  Nick, Luther                               117 Hines Drive Lot 29                                              Goldsboro                NC      27534              Litigation        X           Unknown
  Nickens, Rhonda                            PO Box 6063                                                         Abilene                  TX      79604              Litigation        X           Unknown
  Nickerson, Kyle                            831 East New York                                                   Altadena                 CA      91001              Litigation        X           Unknown
  Niedzwiecki, Daniel                        2 Crawford Street                                                   Randolph                 MA      02368              Litigation        X           Unknown
  Nieto, Steven                              21826 Ravenna Avenue                                                Carson                   CA      90745              Litigation        X           Unknown
  Nietubicz, Dorothy                         23140 Sunnytrial Place                                              Elkhart                  IN      46514              Litigation        X           Unknown
  Niklas, Henry                              145 Presidents Lane                                                 Quincy                   MA      02169              Litigation        X           Unknown
  Nikoghosyan, Zaruhi                        10019 Sunnybrae Ave.                                                Chatsworth               CA      91311              Litigation        X           Unknown
  Nino, Alysianna                            3825 Crestmore Rd.- #458                                            Riverside                CA      92509              Litigation        X           Unknown
  Nino, Susanna                              3825 Crestmore Road- #458                                           Riverside                CA      92509              Litigation        X           Unknown
  Nino-Castillo, Maria                       634 1/2 Neptune Avenue                                              Wilmington               CA      90744              Litigation        X           Unknown
  Nissanka, K.H. Wimalawathie                1759 Bridle Oaks CT.                                                Thousand Oaks            CA      91362              Litigation        X           Unknown
  Noel, Irma                                 9524 Darien Drive                                                   Little Rock              AR      72209              Litigation        X           Unknown



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  Nolasco, Florence A.                       45047 - 17th Street West                                              Lancaster                   CA      93534              Litigation        X           Unknown
  Nolen, Pauline                             PO BOX 27                                                             Stewardson                  IL      62463              Litigation        X           Unknown
  Nolley, Sr., Clarence                      3705 Prosperity Church Rd. Apt 417                                    Charlotte                   NC      28269              Litigation        X           Unknown
  Nombrado, Elizardo                         505 S. Broadview St.                                                  Anaheim                     CA      92804              Litigation        X           Unknown
  Nombrado, Jobert                           505 S. Broadview St.                                                  Anaheim                     CA      92804              Litigation        X           Unknown
  Nombrado, Mary Jean                        505 S. Broadview St.                                                  Anaheim                     CA      92804              Litigation        X           Unknown
  Nonnette, Brenda Rhonda                    7251 Exeter St., Apt. 12                                              Paramount                   CA      90723              Litigation        X           Unknown
  Norfleet-McEwan, Karen                     628 Mer Rouge Drive                                                   Nolensville                 TN      37135              Litigation        X           Unknown
  Noriega Jr., Ruben                         24532 Neptune Ave.                                                    Carson                      CA      90745              Litigation        X           Unknown
  Noriega, Elizabeth                         24532 Neptune Ave.                                                    Carson                      CA      90745              Litigation        X           Unknown
  Noriega, Jacklyn                           24518 Ravenna Avenue                                                  Carson                      CA      90745              Litigation        X           Unknown
  Noriega, Jaime                             24518 Ravenna Avenue                                                  Carson                      CA      90745              Litigation        X           Unknown
  Noriega, Jaime M.                          24518 Ravenna Avenue                                                  Carson                      CA      90745              Litigation        X           Unknown
  Noriega, Jose                              7901 Adams St.                                                        Paramount                   CA      90723              Litigation        X           Unknown
  Noriega, Kathleen                          24518 Ravenna Avenue                                                  Carson                      CA      90745              Litigation        X           Unknown
  Noriega, Martin                            24532 Neptune Ave.                                                    Carson                      CA      90745              Litigation        X           Unknown
  Noriega, Ruben                             24532 Neptune Ave.                                                    Carson                      CA      90745              Litigation        X           Unknown
  Norling, Dennis                            824 Buckeye Lane West                                                 St. Johns                   FL      32259              Litigation        X           Unknown
  Norman III, Royal                          210 San Antonio Circle, Apt #101,                                     Mountain View               CA      94040              Litigation        X           Unknown
  Norman, Pettis                             1430 Bar Harbor Circle                                                Dallas                      TX      75232              Litigation        X           Unknown
  Normand, Donna                             RTS - 22 Canterbury Lane                                              East Falmouth               MA      02536              Litigation        X           Unknown
  Norris, Fronie                             6102 trent Dr.                                                        Huntsville                  AL      35810              Litigation        X           Unknown
  North, Leota Mae                           231 Bloomington Avenue                                                Rialto                      CA      92376              Litigation        X           Unknown
  North, Wanda                               332 Dunkin Avenue                                                     Front Royal                 VA      22630              Litigation        X           Unknown
  Norton, Keith                              220 Mountain Ave                                                      Oxford                      AL      36203              Litigation        X           Unknown
  Norton, Otis                               3000 Broadway St. #85                                                 American Canyon             CA      94503              Litigation        X           Unknown
  Norton, Valerie                            10151 Piney Ridge Road                                                Huntingdon                  PA      16552              Litigation        X           Unknown
  Norton, Vernell D.                         10612 6th Ave.                                                        Inglewood                   CA      90303              Litigation        X           Unknown
  Norwig, Gladys                             8 Fairbanks Street                                                    Port Jefferson Station      NY      11776              Litigation        X           Unknown
  Norwood, Barbara                           24727 Carmel Drive                                                    Carson                      CA      90745              Litigation        X           Unknown
  Norwood, Cameron                           24727 Carmel Drive                                                    Carson                      CA      90745              Litigation        X           Unknown
  Novak, Herbert                             PO Box 1211                                                           Hermiston                   OR      97838              Litigation        X           Unknown
  Novikov, Alexei Petrovich                  15116 Raymond Ave, #115                                               Gardena                     CA      90247              Litigation        X           Unknown
  Nowlin, Bessie                             1340 Lebanon Ridge Road                                               Frankfort                   KY      40601              Litigation        X           Unknown
  Nugent, Renner                             4250 South 250 E                                                      LaFayette                   IN      47909              Litigation        X           Unknown
  Nunez, Amado                               4176 East Harvey Avenue                                               Fresno                      CA      93702              Litigation        X           Unknown
  Nunez, Bulmaro                             28981 Kimberly Avenue                                                 Moreno Valley               CA      92555              Litigation        X           Unknown
  Nunez, Martin                              26402 Athena Ave.                                                     Harbor City                 CA      90710              Litigation        X           Unknown
  Nunez, Michelle                            26402 Athena Ave.                                                     Harbor City                 CA      90710              Litigation        X           Unknown
  Nunez, Naomi                               3322 Decatur Ave. #6F                                                 Bronx                       NY      10467              Litigation        X           Unknown
  Nunez, Nichelle                            26402 Athena Ave.                                                     Harbor City                 CA      90710              Litigation        X           Unknown
  Nunley, Lewis                              7 Lakeview Road                                                       Fayetteville                TN      37334              Litigation        X           Unknown
  Nurse, George                              211 Rodman Avenue                                                     West Bend                   IA      50597              Litigation        X           Unknown
  Nuttall, Jim                               PO BOX 1080                                                           Santa Cruz                  NM      87567              Litigation        X           Unknown
  Oakes, Thomas                              12508 Parchment Dr.                                                   Hudson                      FL      34667              Litigation        X           Unknown
  Oakley, Mary                               1635 Tremont Dr. Apt. 134                                             Santa Cruz                  CA      95062              Litigation        X           Unknown
  Oatney, Rebecca                            161 Sells Road Apt. #6                                                Lancaster                   OH      43130              Litigation        X           Unknown
  O'Bair, Paula                              1128 17th Street                                                      Greeley                     CO      80631              Litigation        X           Unknown
  Obeji, Cecilia                             9165 Whirlaway Ct.                                                    Alta Loma                   CA      91737              Litigation        X           Unknown
  Ober, Elizabeth                            44 Meadow Street                                                      Litchfield                  CT      06759              Litigation        X           Unknown



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  Oberholtzer, Bruce                         1090 Shetland Dr.                                                  South Lyons              MI        48178                 Litigation        X           Unknown
  Oberlander, Ann                            24712 Panama Avenue                                                Carson                   CA        90745                 Litigation        X           Unknown
  Obien, Ermie                               5038 Blackhorse Road                                               Rancho Palos Verdes      CA      90275-3724              Litigation        X           Unknown
  Obregon, Judy                              3205 Ruidosa Ave.                                                  Dallas                   TX        75228                 Litigation        X           Unknown
  O'Brien- Jr., Jack                         246 Shadwell Street                                                Carson                   CA        90745                 Litigation        X           Unknown
  O'Brien, Cindy                             PO Box 204                                                         Evans Mills              NY        13637                 Litigation        X           Unknown
  O'Brien, Joy                               246 Shadwell Street                                                Carson                   CA        90745                 Litigation        X           Unknown
  O'Brien, Lynn                              509 Claremont Ave.                                                 Tonawanda                NY        14223                 Litigation        X           Unknown
  O'Brien, Robert                            779 Prospect Ave C 9                                               West Hartford            CT        06105                 Litigation        X           Unknown
  O'Bryan, David                             284 Main St., Apt. 102                                             Tonawanda                NY        14150                 Litigation        X           Unknown
  Ocacio, Christina                          313 Kimberly Ann Court                                             La Vergne                TN        37086                 Litigation        X           Unknown
  Ocampo, Maria                              24413 Neptune Avenue                                               Carson                   CA        90745                 Litigation        X           Unknown
  Ochoa Jr., Eduardo                         24712 Neptune Avenue                                               Carson                   CA        90745                 Litigation        X           Unknown
  Ochoa, Daniel                              24712 Neptune Avenue                                               Carson                   CA        90745                 Litigation        X           Unknown
  Ochoa, Eduardo                             24712 Neptune Avenue                                               Carson                   CA        90745                 Litigation        X           Unknown
  Ochoa, Kristy                              24427 Panama Avenue                                                Carson                   CA        90745                 Litigation        X           Unknown
  Ochoa, Luz                                 24427 Panama Avenue                                                Carson                   CA        90745                 Litigation        X           Unknown
  Ochoa, Maria Angelica                      705 Workman Mill Road                                              Whittier                 CA        90601                 Litigation        X           Unknown
  Ochoa, Martha                              24712 Neptune Avenue                                               Carson                   CA        90745                 Litigation        X           Unknown
  Ochoa, Patricia                            1119 W Formosa Boulevard Apt 14                                    San Antonio              TX        78221                 Litigation        X           Unknown
  Ochoa, Rafael                              24427 Panama Avenue                                                Carson                   CA        90745                 Litigation        X           Unknown
  Ochoa, Rafael A.                           24427 Panama Avenue                                                Carson                   CA        90745                 Litigation        X           Unknown
  O'Connell, John                            1405 Shadowview Ct.                                                Raleigh                  NC        27614                 Litigation        X           Unknown
  O'Connell, Paula                           96 River Ave                                                       Patchogue                NY        11772                 Litigation        X           Unknown
  Odell, Thelma                              3653 Taylorsville Highway                                          Statesville              NC        28625                 Litigation        X           Unknown
  Oden, Robert                               5605 Luce Ave.                                                     McClellan                CA        95652                 Litigation        X           Unknown
  Oden, Vicky                                7332 Penland Dr.                                                   Riverdale                GA        30296                 Litigation        X           Unknown
  Oden, Walter                               PO Box 42                                                          Ragland                  AL        35131                 Litigation        X           Unknown
  Oertel, Karl                               31 Desmond Ct.                                                     Tonawanda                NY        14150                 Litigation        X           Unknown
  O'Farrell, Donna                           P.O. Box 26053                                                     Tampa                    FL      33685-0503              Litigation        X           Unknown
  Ogawa, Grace                               24422 Ravenna Avenue                                               Carson                   CA        90745                 Litigation        X           Unknown
  Ogawa, Michael                             11613 Halawa Lane                                                  Cypress                  CA        90630                 Litigation        X           Unknown
  Ogawa, Rikiya                              24422 Ravenna Avenue                                               Carson                   CA        90745                 Litigation        X           Unknown
  Ogden, James                               24612 Neptune Avenue                                               Carson                   CA        90745                 Litigation        X           Unknown
  Ogden, Sharon                              24612 Neptune Avenue                                               Carson                   CA        90745                 Litigation        X           Unknown
  Ogden, William                             24612 Neptune Avenue                                               Carson                   CA        90745                 Litigation        X           Unknown
  O'Geary, Michael                           1801 Capell Drive                                                  Lodi                     CA        95242                 Litigation        X           Unknown
  Ogle, Harold                               104 Williams Road                                                  Boaz                     AL        35957                 Litigation        X           Unknown
  Oglesby, Alice                             123 Ogleby Court                                                   Beaver                   WV        25813                 Litigation        X           Unknown
  Oglesby, Belinda                           24429 Neptune Avenue                                               Carson                   CA        90745                 Litigation        X           Unknown
  Oglesby, Jeffrey                           24429 Neptune Avenue                                               Carson                   CA        90745                 Litigation        X           Unknown
  Oglesby, Ronnie                            24429 Neptune Avenue                                               Carson                   CA        90745                 Litigation        X           Unknown
  Oh, Ki Young                               106 N. Kingsley Dr.                                                Los Angeles              CA        90004                 Litigation        X           Unknown
  O'Hara, Trina Shantel                      3131 Arlington Ave.- Apt. 147                                      Riverside                CA        92506                 Litigation        X           Unknown
  O'Hare, Patrick                            236E East Wood Street                                              New Lenox                IL        60451                 Litigation        X           Unknown
  Ohnesorge, Elaine                          22761 E 400th Avenue                                               Dieterich                IL        62424                 Litigation        X           Unknown
  Okamoto, Keane                             24802 Mill Valley Way                                              Carson                   CA        90745                 Litigation        X           Unknown
  Okamoto, Kerrie                            24802 Mill Valley Way                                              Carson                   CA        90745                 Litigation        X           Unknown
  Olander, Donald                            11620 S. Mohave Street                                             Phoenix                  AZ        85044                 Litigation        X           Unknown
  Olander, Scott                             33511 Binnacle                                                     Dana Point               CA        92629                 Litigation        X           Unknown



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  Oldfield, Sandra Lee                       18171 Main Street                                                 Hesperia                   CA        92345                 Litigation        X           Unknown
  Olds, Willie                               119 Lincolm Pinch Way                                             Cordele                    GA        31015                 Litigation        X           Unknown
  Oleson, Keith                              1312 West Main St.                                                Marshall Town              IA        50158                 Litigation        X           Unknown
  Olga and Robert Baker                      PO Box 688                                                        Woodland Hills             CA        91365                 Litigation        X           Unknown
  Oliva, Francisco                           7717 Tamarind Avenue                                              Fontana                    CA        92336                 Litigation        X           Unknown
  Oliva, Vincenzo                            415 S. Lincoln Street, Apt #38                                    El Cajon                   CA        92020                 Litigation        X           Unknown
  Olivares, Claudia                          24703 Marbella Avenue                                             Carson                     CA        90745                 Litigation        X           Unknown
  Olivares, Jesus                            24703 Marbella Avenue                                             Carson                     CA        90745                 Litigation        X           Unknown
  Olivas- Jr., Manuel                        6070 Barcelona Avenue                                             Riverside                  CA        92509                 Litigation        X           Unknown
  Oliver, Dimitrius                          3136 Meadowbrook Blvd. #1                                         Cleveland Hts              OH        44118                 Litigation        X           Unknown
  Oliver, Lashonna                           3214 Sycamore Road                                                Cleveland Heights          OH        44118                 Litigation        X           Unknown
  Oliver, Leo                                PO Box 574                                                        Ingleside                  TX        78362                 Litigation        X           Unknown
  Oliveros, Gabriela                         38 Villa Valtelena                                                Lake Elsinore              CA        92532                 Litigation        X           Unknown
  Ollenburger, Eugene                        P.O. Box 2672                                                     Bremerton                  WA        98310                 Litigation        X           Unknown
  Ollendorf, Ann                             178 NW Swann Mill Circle                                          Port Saint Lucie           FL        34986                 Litigation        X           Unknown
  Olmos, Danny                               8644 Stewart & Grey Rd                                            Downey                     CA        90241                 Litigation        X           Unknown
  Olsen, Robert                              40514 174th Street East                                           Lancaster                  CA        93535                 Litigation        X           Unknown
  Olson, Brandye                             15353 Manzana Ave.                                                Paramount                  CA        90723                 Litigation        X           Unknown
  Olson, Gary                                1913 Rosewood Lane                                                Huntsville                 TX        77340                 Litigation        X           Unknown
  Olson, Johnathan Bryan                     P.O. Box 51                                                       Oro Grande                 CA        92368                 Litigation        X           Unknown
  Olson, Laura Ann                           P.O. Box 51                                                       Oro Grande                 CA        92368                 Litigation        X           Unknown
  Olson, Lola Cheree                         P.O. Box 51                                                       Oro Grande                 CA        92368                 Litigation        X           Unknown
  Olson, Matthew Travis                      P.O. Box 51                                                       Oro Grande                 CA        92368                 Litigation        X           Unknown
  Olson, Michael Joseph                      P.O. Box 51                                                       Oro Grande                 CA        92368                 Litigation        X           Unknown
  Olvera, Darlene                            120 W Hermosa, Unit A                                             Santa Maria                CA        93458                 Litigation        X           Unknown
  O'Meara, Jenny                             20 Fremont Street Apt 2                                           Plymouth                   MA        02360                 Litigation        X           Unknown
  O'Neill, Ann                               15328 Fairlock Ave.                                               Paramount                  CA        90723                 Litigation        X           Unknown
  O'Neill, Lori Ann                          101 Elmwood Park W.                                               Tonawanda                  NY        14150                 Litigation        X           Unknown
  Ono, Manuel                                1209 Front Street                                                 Winslow                    AZ        86047                 Litigation        X           Unknown
  Onorato, Joseph                            440 Jewell Ave.                                                   Sebastopol                 CA        95472                 Litigation        X           Unknown
  Ontiveros, Maria                           813 E 6th St Apt B                                                Calexico                   CA        92231                 Litigation        X           Unknown
  Onwubere, Armstrong                        24709 Ravenna Avenue                                              Carson                     CA        90745                 Litigation        X           Unknown
  Onwubere, Delores                          24709 Ravenna Avenue                                              Carson                     CA        90745                 Litigation        X           Unknown
  Onwubere, Ebony                            24709 Ravenna Avenue                                              Carson                     CA      90745-6441              Litigation        X           Unknown
  Onwubere, Nina                             20134 Leadwell Street Unit 361                                    Winnetka                   CA        91306                 Litigation        X           Unknown
  Onwubere, Yolanda                          24709 Ravenna Avenue                                              Carson                     GA        90745                 Litigation        X           Unknown
  Orange, Wade                               17711 Exa Court                                                   Carson                     CA        90746                 Litigation        X           Unknown
  Orloski, Brynne                            24519 Panama Avenue                                               Carson                     CA        90745                 Litigation        X           Unknown
  Orloski, Tamara                            24519 Panama Avenue                                               Carson                     CA        90745                 Litigation        X           Unknown
  Ornelas, Rita                              10831 Olive Street                                                Bloomington                CA        92316                 Litigation        X           Unknown
  Ornelas, William & Carol                   PO Box 981                                                        Malibu                     CA        90265                 Litigation        X           Unknown
  Ornelaz, Maria T.                          11455 Amestoy Avenue                                              Granada Hills              CA        91344                 Litigation        X           Unknown
  Orozco Vargas, Gabriel                     608 E Skylark Dr.                                                 Ontario                    CA        91761                 Litigation        X           Unknown
  Orozco, Anselmo                            5630 26th Street                                                  Riverside                  CA        92509                 Litigation        X           Unknown
  Orozco, Juana                              5630 26th Street                                                  Riverside                  CA        92509                 Litigation        X           Unknown
  Orrala, Julio                              14009 Flint Rock Road                                             Rockville                  MD        20853                 Litigation        X           Unknown
  Orren, Roger                               6850 Stiles Rd                                                    Brown City                 MI        48416                 Litigation        X           Unknown
  Ortega- Jr., Pilar                         11732 Martha Ann Drive                                            Los Alamitos               CA        90720                 Litigation        X           Unknown
  Ortega Jr., Ricardo                        2913 Arbor Rd.                                                    Lakewood                   CA        90712                 Litigation        X           Unknown
  Ortega, Christopher                        348 E. 249th Street                                               Carson                     CA        90745                 Litigation        X           Unknown



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  Ortega, Clemencia                          24815 Neptune Avenue                                                 Carson                    CA        90745                 Litigation        X           Unknown
  Ortega, David                              24815 Neptune Avenue                                                 Carson                    CA        90745                 Litigation        X           Unknown
  Ortega, Judith                             6830 NW 166 Terrace                                                  Hialeah                   FL        33014                 Litigation        X           Unknown
  Ortega, Leonard                            6113 Elsa St.                                                        Lakewood                  CA        90713                 Litigation        X           Unknown
  Ortega, Lorraine                           1748 El Rey Rd.                                                      San Pedro                 CA      90732-3310              Litigation        X           Unknown
  Ortega, Lupe                               503 E 246th Street                                                   Carson                    CA        90745                 Litigation        X           Unknown
  Ortega, Monique                            327 E 244th Street                                                   Carson                    CA        90745                 Litigation        X           Unknown
  Ortega, Ricardo                            503 E 246th Street                                                   Carson                    CA        90745                 Litigation        X           Unknown
  Ortega, Richard                            24815 Neptune Avenue                                                 Carson                    CA        90745                 Litigation        X           Unknown
  Ortiz, Anna                                200 N. Cameron Ave.                                                  Casa Grande               AZ        85222                 Litigation        X           Unknown
  Ortiz, Ben                                 P.O. Box 417                                                         Grants                    NM        87020                 Litigation        X           Unknown
  Ortiz, Maria                               16329 Orange Ave.                                                    Paramount                 CA        90723                 Litigation        X           Unknown
  Ortiz, Maria Guadalupe                     251 West M Street                                                    Colton                    CA        92324                 Litigation        X           Unknown
  Orwasher                                   435 N Roxburry Dr                                                    Beverly Hills             CA        90210                 Litigation        X           Unknown
  Ory, Jr., Robert                           2083 Warrenton Rd                                                    Hermanville               MS        39086                 Litigation        X           Unknown
  Osbahr, Patricia                           2015 Woodbury Drive                                                  Cantonment                FL        32533                 Litigation        X           Unknown
  Osborn, James                              209 East Fir Street                                                  Russellville              AR        72802                 Litigation        X           Unknown
  Osborne Jr., Charles                       20750 Ventura Blvd. Suite 440                                        Woodland Hills            CA        91364                 Litigation        X           Unknown
  Osborne, Nancy                             24725 Pennsylvania Ave.- Space C2                                    Lomita                    CA        90717                 Litigation        X           Unknown
  Osborne, Richard                           6304 Aloha Lei Lane                                                  Ruskin                    FL        33570                 Litigation        X           Unknown
  Osgood, Donald                             1030 South 1850 West                                                 Cedar City                UT        84720                 Litigation        X           Unknown
  O'Shea, Robert                             143 Fayette Blvd.                                                    Syracuse                  NY        13224                 Litigation        X           Unknown
  Oskierko, Rita                             43 Krumb Street                                                      Sayreville                NJ        08872                 Litigation        X           Unknown
  Osorio, Maria                              6281 Craigmont Ave.                                                  Las Vegas                 NV        89103                 Litigation        X           Unknown
  Ospina, Maria                              8907 Shandwick Court                                                 Tampa                     FL        33615                 Litigation        X           Unknown
  Osuna, Erick                               4834 W El Segundo Blvd                                               Hawthorne                 CA      90250-4261              Litigation        X           Unknown
  Osuna, Israel                              1141 W 204th Street                                                  Torrance                  CA      90502-1402              Litigation        X           Unknown
  Osuna, Maria                               1141 W 204th Street                                                  Torrance                  CA      90502-1402              Litigation        X           Unknown
  Ott, Ronald                                75 Heston Road                                                       Shirley                   NY        11967                 Litigation        X           Unknown
  Otterson, Jeffrey                          709 Dempsey Rd                                                       Madison                   WI        53714                 Litigation        X           Unknown
  Oupangna, Ounkham                          1631 West Westwind Street                                            Colton                    CA        92324                 Litigation        X           Unknown
  Outlaw, Gerald                             315 W 65th Street #3                                                 Los Angeles               CA        90003                 Litigation        X           Unknown
  Ovakimyan, Julietta                        6323 Denny Ave                                                       North Hollywood           CA        91606                 Litigation        X           Unknown
  Overton, Jerry                             505 Highway 67                                                       Graham                    TX        76450                 Litigation        X           Unknown
  Overton, William                           1223 Wilshire Blvd #141                                              Santa Monica              CA        90403                 Litigation        X           Unknown
  Oviawe, Joseph                             13207 Verbena Lane                                                   Houston                   TX        77083                 Litigation        X           Unknown
  Owen, Dwayne                               849 N. G Street                                                      San Bernardino            CA        92410                 Litigation        X           Unknown
  Owens Jr., James Weldon                    3619 Wilbur St.                                                      Riverside                 CA        92503                 Litigation        X           Unknown
  Owens, Dale Alan                           11870 Ferndown Drive                                                 Marana                    AZ        85653                 Litigation        X           Unknown
  Owens, Frances                             411 North McClure Ave.                                               Peoria                    IL        61604                 Litigation        X           Unknown
  Owens, James W.                            24334 Comfort Ct.                                                    Moreno Valley             CA        92553                 Litigation        X           Unknown
  Owens, Margaret                            202 West Side Drive                                                  Starkville                MS        39759                 Litigation        X           Unknown
  Owens, Marjorie                            1513 Bailey Street                                                   Warton                    TX        77488                 Litigation        X           Unknown
  Owens, Norman                              8081 Holland Drive. Apt. 2D                                          Huntington Beach          CA        92647                 Litigation        X           Unknown
  Owens, William                             20855 Lahser Road                                                    Southfield                MI        48033                 Litigation        X           Unknown
  Ozuna, Bobby                               135 Honea Road                                                       Ingram                    TX        78025                 Litigation        X           Unknown
  Pacaud, Karyn Michelle                     3443 Hewitt Street                                                   Riverside                 CA        92501                 Litigation        X           Unknown
  Pace, Harvey                               2947 Randolph Road NE                                                Atlanta                   GA        30345                 Litigation        X           Unknown
  Pace, Marvin                               14108 Dean Road                                                      Garfield                  AR        72732                 Litigation        X           Unknown
  Pacheco Hawkins, LaTonya                   237 E 64th St.                                                       Los Angeles               CA        90003                 Litigation        X           Unknown



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  Pacheco, Elizabeth                         24420 Panama Avenue                                                 Carson                 CA        90745                   Litigation        X           Unknown
  Pacheco, James                             2109 Broadway, Room 251                                             Eureka                 CA        95501                   Litigation        X           Unknown
  Pacheco, Nancy                             170th Southwest 52 Court                                            Miramar                FL        33027                   Litigation        X           Unknown
  Pacheco, Richard                           27 Noyes St                                                         Bristol                RI        02809                   Litigation        X           Unknown
  Pacheco, Victor                            10 Loretta Lane                                                     Hicksville             NY        11801                   Litigation        X           Unknown
  Pacillo, Richard                           1470 Ridge Road                                                     Lackawanna             NY        14218                   Litigation        X           Unknown
  Pack, Lucille                              285 Christian Ln                                                    Greenup                KY      41144-8926                Litigation        X           Unknown
  Pack, Mildred                              1557 Stateline Road                                                 Pierpoint              OH        44082                   Litigation        X           Unknown
  Paddie, Thelma                             1821 Hoffman Street                                                 Longview               TX        75602                   Litigation        X           Unknown
  Padilla, Javier                            24532 Marbella Avenue                                               Carson                 CA        90745                   Litigation        X           Unknown
  Padilla, Michael                           3192 Blume Dr.                                                      Los Alamitos           CA        90720                   Litigation        X           Unknown
  Padilla, Nicolasa                          24532 Marbella Avenue                                               Carson                 CA        90745                   Litigation        X           Unknown
  Padilla, Shirley                           19 Briggs Ave.                                                      Buffalo                NY        14207                   Litigation        X           Unknown
  Pagan, Jose                                2220 Lee Street                                                     Hollywood              FL        33020                   Litigation        X           Unknown
  Pagan, Maribel                             1229 Intervale Ave Apt 1                                            Bronx                  NY        10459                   Litigation        X           Unknown
  Page, Dondra                               3148 Old Ironside Dr.                                               Charlotte              NC        28213                   Litigation        X           Unknown
  Page, Randal                               12 Stokes Road                                                      Londonderry            NH        03053                   Litigation        X           Unknown
  Page, Richard                              67 Briarwood Road                                                   Lebanon                ME        04027                   Litigation        X           Unknown
  Paguio, Edith                              921 W. Silver Creek Road                                            Gilbert                AZ        85233                   Litigation        X           Unknown
  Paige, Gideon                              9803 Riata Lane                                                     Bakersfield            CA        93306                   Litigation        X           Unknown
  Paison, Kathleen                           32223 Harvard St.                                                   Westland               MI        48186                   Litigation        X           Unknown
  Pajcsics, Joseph                           7908 Avenida Navidad, #157                                          San Diego              CA        92122                   Litigation        X           Unknown
  Palano, Marion                             40 Greenbriar Drive                                                 Lancaster              NY        14086                   Litigation        X           Unknown
  Palefsky, Geri                             10131 North Bell Road                                               Elfrida                AZ        85610                   Litigation        X           Unknown
  Palicte, Darrell                           24717 Marbella Avenue                                               Carson                 CA        90745                   Litigation        X           Unknown
  Palicte, Daryn                             1337 1/2 Marine Avenue                                              Wilmington             CA        90744                   Litigation        X           Unknown
  Palicte, Justina                           24717 Marbella Avenue                                               Carson                 CA        90745                   Litigation        X           Unknown
  Palmer, Karen                              2041 Hollywood Place                                                South Bend             IN      46616-2114                Litigation        X           Unknown
  Palmer, Sabrina                            1748 Patrick Way, Apt. A                                            Bowling Green          KY        42104                   Litigation        X           Unknown
  Paluzzi, Elizabeth                         1180 Spruce Street                                                  Greensburg             PA        15601                   Litigation        X           Unknown
  Pan, Hai Cha                               754-6 Dong Feng Dong Road, #1202                                    Guangzhou                                   China        Litigation        X           Unknown
  Panasuk, John                              51 Cedar St Apt 4413                                                Woburn                 MA        01801                   Litigation        X           Unknown
  Pangborn, Marion                           242 Kings Hwy                                                       Kennebunkport          ME        04096                   Litigation        X           Unknown
  Panico, Andrew                             12340 SW 1st Street                                                 Coral Springs          FL        33071                   Litigation        X           Unknown
  Pannell, Kenneth                           97 Pannel Lane                                                      Franklin               NC        28734                   Litigation        X           Unknown
  Pantalena, Mary                            3 Pinetree Dr.                                                      Branford               CT        06405                   Litigation        X           Unknown
  Pantaleon, Praire                          24405 Marbella Avenue                                               Carson                 CA        90745                   Litigation        X           Unknown
  Pantig, Vivian                             P.O Box 3162                                                        Daly City              CA        94015                   Litigation        X           Unknown
  Pantoja, Alma                              423 S Oxalis Avenue                                                 Orlando                FL        32807                   Litigation        X           Unknown
  Pantoja, Sergio & Sky                      406 S Lowell St                                                     Covina                 CA        91723                   Litigation        X           Unknown
  Panzarella, Jack                           53 Trotting Way                                                     Charlestown            WV        25414                   Litigation        X           Unknown
  Papa, Jr., Mario                           270 Sky Manor Blvd.                                                 Brick                  NJ        08723                   Litigation        X           Unknown
  Paquette, Shane                            6671 Dume Dr                                                        Malibu                 CA        90265                   Litigation        X           Unknown
  Paquette, Shane                            6671 Dume Dr                                                        Mailbu                 CA        92605                   Litigation        X           Unknown
  Parago, Dulce                              24422 Marbella Avenue                                               Carson                 CA        90745                   Litigation        X           Unknown
  Parago, Jade                               24422 Marbella Avenue                                               Carson                 CA        90745                   Litigation        X           Unknown
  Parago, Jill                               24422 Marbella Avenue                                               Carson                 CA        90745                   Litigation        X           Unknown
  Parago, John                               24422 Marbella Avenue                                               Carson                 CA        90745                   Litigation        X           Unknown
  Parayno, Emma                              1640 Magnolia Circle                                                Vista                  CA        92081                   Litigation        X           Unknown
  Parayno, Mark                              1640 Magnolia Circle                                                Vista                  CA        92081                   Litigation        X           Unknown



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  Parent, Edgar                              1440 Houze Road East                                              Fort Valley           GA      31030              Litigation        X           Unknown
  Parente, Joseph                            90359 Lewis Road                                                  Warrenton             OR      97146              Litigation        X           Unknown
  Parente, Joseph                            90359 Lewis Road                                                  Warrenton             OR      97146              Litigation        X           Unknown
  Parian, David                              90 Trumbull Street                                                Meriden               CT      06451              Litigation        X           Unknown
  Paris, Ralph                               4540 Bradpoint Drive                                              Las Vegas             NV      89130              Litigation        X           Unknown
  Park, Harry                                1725 So. Ann Court                                                Independence          MO      64057              Litigation        X           Unknown
  Park, Keith                                2493 Roll Drive #210-81                                           San Diego             CA      92154              Litigation        X           Unknown
  Park, Tammy                                163 Woodward Ave.                                                 Kenmore               NY      14217              Litigation        X           Unknown
  Parker, Ayzel                              RTS - 2 4th Ct North, Apt A                                       Birmingham            AL      35204              Litigation        X           Unknown
  Parker, Irajean                            1411 Adams Cr                                                     Hampton               VA      23663              Litigation        X           Unknown
  Parker, Ronald                             1400 Lockwood Drive                                               Ukiah                 CA      95482              Litigation        X           Unknown
  Parker, Tommy                              2604 Springway Drive                                              Charlotte             NC      28205              Litigation        X           Unknown
  Parker, Vanessa                            1962 W 29th Street                                                Los Angeles           CA      90018              Litigation        X           Unknown
  Parks Jr., Leon                            2235 Alberta St.                                                  Saint Louis           MO      63118              Litigation        X           Unknown
  Parks, Alexzondra                          1504 Hickory View Circle                                          Parrish               FL      34219              Litigation        X           Unknown
  Parks, Daniel P.                           314 S. 12th St.                                                   St. Charles           IL      60174              Litigation        X           Unknown
  Parlette, Diane                            P.O. Box 2381                                                     Helendale             CA      92342              Litigation        X           Unknown
  Parnell, Ronald                            123 Old Anderson Road                                             Lapine                AL      36046              Litigation        X           Unknown
  Parra, Arnold                              8044 Rosecrans Ave.                                               Paramount             CA      90723              Litigation        X           Unknown
  Parra, Edith                               8044 Rosecrans Ave.                                               Paramount             CA      90723              Litigation        X           Unknown
  Parra, Frank M.                            600 O’Melveny Street                                              San Fernando          CA      91340              Litigation        X           Unknown
  Parra, Melissa                             8044 E. Rosecrans Ave.                                            Paramount             CA      90723              Litigation        X           Unknown
  Parra, Richard                             8044 Rosecrans Ave.                                               Paramount             CA      90723              Litigation        X           Unknown
  Parrish, Doyle                             920 Chelsea Lane                                                  Benton                AR      72019              Litigation        X           Unknown
  Parrish, Karen                             6620 Sylvania Road                                                Louisville            KY      40258              Litigation        X           Unknown
  Parson, William                            RTS - 6350 Belle Avenue (rear)                                    Lewistown             PA      17044              Litigation        X           Unknown
  Parsons, William                           15105 S. 4170 RD.                                                 Claremore             OK      74017              Litigation        X           Unknown
  Particelli, Cynthia                        710 Ceramic Ln                                                    Fallbrook             CA      92028              Litigation        X           Unknown
  Partida, Rosaria                           3021 Armstrong Road                                               Riverside             CA      92509              Litigation        X           Unknown
  Partridge, Billy                           1110 N. Columbus Ave                                              Louisville            MI      39339              Litigation        X           Unknown
  Paschall, Susan                            164 Penkins Road                                                  Sublette              IL      61367              Litigation        X           Unknown
  Pasillas Jr, David Anthony                 3257 Pontiac Avenue                                               Riverside             CA      92509              Litigation        X           Unknown
  Pasillas Sr, David                         3233 Pontiac Avenue                                               Riverside             CA      92509              Litigation        X           Unknown
  Pasillas, Desiree Ann                      3257 Pontiac Avenue                                               Riverside             CA      92509              Litigation        X           Unknown
  Pasillas, Henry Leo                        3257 Pontiac Avenue                                               Riverside             CA      92509              Litigation        X           Unknown
  Pasillas, Lisa Marie                       3233 Pontiac Street                                               Riverside             CA      92509              Litigation        X           Unknown
  Pasillas, Theresa                          3233 Pontiac Avenue                                               Riverside             CA      92509              Litigation        X           Unknown
  Passley, Robin                             P.O. Box 1524                                                     Broken Arrow          OK      74013              Litigation        X           Unknown
  Pastore, Frank                             642 Sunny Lane                                                    Ballston Spa          NY      12020              Litigation        X           Unknown
  Patch, Lenora                              PO Box 923                                                        Longview              WA      98632              Litigation        X           Unknown
  Pate, James                                20869 County Rd 24                                                Foley                 AL      36535              Litigation        X           Unknown
  Pate, Rose Marie                           RTS - 3150 East Donald Lane                                       Inverness             FL      34453              Litigation        X           Unknown
  Patino, Rose Marie                         10110 19th Ave. SE K303                                           Everett               WA      98208              Litigation        X           Unknown
  Patman, Sandra                             32 Thompson Road Apt. #5A                                         Manchester            CT      06040              Litigation        X           Unknown
  Patrick, Catherine                         1071 Ardmore Street                                               Riverside             CA      92507              Litigation        X           Unknown
  Patrick, Cecilia                           103 West Bend Street                                              Farmerville           LA      71241              Litigation        X           Unknown
  Patrick, Duane                             21189 Greenbay Rd.                                                Beaverdam             VA      23015              Litigation        X           Unknown
  Patrick, Jr., Matthew                      1104 North Maple                                                  Centralia             IL      62801              Litigation        X           Unknown
  Patrick, Willie                            PO Box 131                                                        Greensboro            AL      36744              Litigation        X           Unknown
  Patry, Charles                             4306 Tuscarora                                                    Pasadena              TX      77504              Litigation        X           Unknown



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  Patt, Jessie                               2108 Kings Drive                                                   Brookston                 TX        75421                 Litigation        X           Unknown
  Patterson- Jr., Johnny                     24622 Marbella Avenue                                              Carson                    CA        90745                 Litigation        X           Unknown
  Patterson, Charles                         10112 Phoebe Lane                                                  Adelphi                   MD        20783                 Litigation        X           Unknown
  Patterson, Gene                            1438 S. Meadow St.                                                 Metairie                  LA        70003                 Litigation        X           Unknown
  Patterson, Jubel                           707 E. Seco Drive                                                  Hobbs                     NM        88240                 Litigation        X           Unknown
  Patterson, Leonard                         5673 Sinclair Road                                                 Columbus                  OH        43229                 Litigation        X           Unknown
  Patterson, Mae Pearl                       1870 Silver Creek Dr.                                              Lithia Springs            GA        30122                 Litigation        X           Unknown
  Patterson, Millie                          PO Box 1                                                           Brownstown                IL        62418                 Litigation        X           Unknown
  Patterson, O.C.                            4231 Wayne Ave.                                                    Kansas City               MO        64110                 Litigation        X           Unknown
  Patterson, Robert                          8002 Lake Valley Court                                             Rowlett                   TX        75089                 Litigation        X           Unknown
  Patton, Marla                              11160 Troutman Rd.                                                 Midland                   NC        28107                 Litigation        X           Unknown
  Paul, Laura                                5554 E. Galbraith                                                  Cincinnati                OH        45236                 Litigation        X           Unknown
  Pauley, Rodney K.                          2165 North Brower Ave.                                             Simi Valley               CA        93065                 Litigation        X           Unknown
  Paulin, Robert                             235 Silver St.                                                     Greenfield                MA      01301-1483              Litigation        X           Unknown
  Paulina, Jacob                             28 Park Rd., P.O. BOX 301                                          Central Village           CT        06332                 Litigation        X           Unknown
  Paulson, Deborah                           1179 Avenue B                                                      Seaside                   OR        97138                 Litigation        X           Unknown
  Pavlik, Carla                              45 5th St                                                          McMechen                  WV        26040                 Litigation        X           Unknown
  Pawlicki, Michael                          P.O. Box 76                                                        Hanover                   IL        61041                 Litigation        X           Unknown
  Paxton, Martha                             856 S. Pine Mills Rd.                                              Warsaw                    IN        46580                 Litigation        X           Unknown
  Payan, Richard                             28548 Eagle Street                                                 Moreno Valley             CA        92555                 Litigation        X           Unknown
  Payao Jr., Richard                         R.R. 3 Box 1095                                                    Pahoa                     HI        96778                 Litigation        X           Unknown
  Payne, Donald                              7325 Berkshire Rd                                                  Baltimore                 MD        21224                 Litigation        X           Unknown
  Payne, Rosemary Gurrola                    1739 West 28th Sreet                                               San Bernardino            CA        92407                 Litigation        X           Unknown
  Payne-Neal, Irene                          820 E. Montclair St., Apt 568                                      Springfield               MO      65807-7515              Litigation        X           Unknown
  Payne-Stewart, Margaret                    P.O. Box 425                                                       Scotts                    NC        28699                 Litigation        X           Unknown
  Paypas, Rosemarie                          5409 Plymount St.                                                  Sterling Heights          MI        48310                 Litigation        X           Unknown
  Paz, Ana                                   6604 Robinson Dr.                                                  Pasco                     WA        99301                 Litigation        X           Unknown
  Pazik, Danell                              52 Shuler Ave.                                                     Tonawanda                 NY        14150                 Litigation        X           Unknown
  Peach, Nora                                1005 S 7th Street                                                  Chikasha                  OK        73018                 Litigation        X           Unknown
  Peacher, Sallie                            17277 Chapel Street                                                Detroit                   MI        48219                 Litigation        X           Unknown
  Peachie, Ingrid Erna                       P.O. Box 12                                                        Oro Grande                CA        92368                 Litigation        X           Unknown
  Peacock, Jasper                            903 Turkey Creek Ct                                                Bridgeport                TX        76426                 Litigation        X           Unknown
  Pearson, David                             5621 Lipton Road                                                   Richmond                  VA        23225                 Litigation        X           Unknown
  Pearson, Freddie                           40 Cottonbend Cove                                                 Rossville                 TN        38066                 Litigation        X           Unknown
  Pearson, Laurelee                          PO Box 547                                                         Woodstock                 CT        06281                 Litigation        X           Unknown
  Pearson, Sharon                            728 Ludlum Avenue                                                  Bastrop                   LA        71220                 Litigation        X           Unknown
  Pease, Edith                               475 Old Mill Rd.                                                   Conneaut                  OH        44030                 Litigation        X           Unknown
  Peck, Rebecca                              1046 Debbie Road                                                   Leon                      WV        25123                 Litigation        X           Unknown
  Peckholdt, Adele                           2526 Dovetail Dr                                                   Ocoee                     FL        34761                 Litigation        X           Unknown
  Pedrick, David                             805 Veterans Lane                                                  Crown Point               IN        46307                 Litigation        X           Unknown
  Pedro, Erlinda                             2501 Nihi Street                                                   Honolulu                  HI        96819                 Litigation        X           Unknown
  Peek, Constance                            237 Franklin St., Apt.# 17K                                        Cambridge                 MA        02139                 Litigation        X           Unknown
  Pegues, Mary                               272 Madison Lane                                                   Cameron                   NC        28326                 Litigation        X           Unknown
  Pelus, Reno                                233 Sunset Court                                                   Bethpage                  NY        11714                 Litigation        X           Unknown
  Pemberton, Kathryn                         6151 Cedar Ave.                                                    Cincinnati                OH        45216                 Litigation        X           Unknown
  Pena Jr., Leroy Clyde                      3120 Wallace Street                                                Rubidoux                  CA        92509                 Litigation        X           Unknown
  Pena, Cynthia Patricia                     6698 Tanzanite Street                                              Jurupa Valley             CA        91752                 Litigation        X           Unknown
  Pena, Deanna                               3150 Wallace Street                                                Riverside                 CA        92509                 Litigation        X           Unknown
  Pena, Dorothy Ann                          3126 Wallace Street                                                Riverside                 CA        92509                 Litigation        X           Unknown
  Pena, Eddie                                3126 Wallace Street                                                Riverside                 CA        92509                 Litigation        X           Unknown



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  Pena, Gary Clyde                           4441 Newby Drive                                                      Riverside               CA        92505                 Litigation        X           Unknown
  Pena, Gloria                               16013 White Mountain Place                                            Victorville             CA        92394                 Litigation        X           Unknown
  Pena, Glory Mary                           3150 Wallace Street                                                   Riverside               CA        92509                 Litigation        X           Unknown
  Pena, Jimmy Michael                        5352 Bell Ave (Temp address for check only)                           Riverside               CA        92509                 Litigation        X           Unknown
  Pena, Josephine                            5786 29th Street                                                      Riverside               CA        92509                 Litigation        X           Unknown
  Pena, Kim                                  1547 Club Drive                                                       Pomona                  CA        91768                 Litigation        X           Unknown
  Pena, Lilia Eunice                         10545 Spruce Avenue                                                   Bloomington             CA        92316                 Litigation        X           Unknown
  Pena, Margaret                             3110 Wallace Street                                                   Riverside               CA        92509                 Litigation        X           Unknown
  Pena, Margarita                            2055 Harrison Ave, #5K                                                Bronx                   NY        10453                 Litigation        X           Unknown
  Pena, Nellie Anita                         5786 29th Street                                                      Riverside               CA        92509                 Litigation        X           Unknown
  Pena, Ronald A.                            5786 29th Street                                                      Riverside               CA        92509                 Litigation        X           Unknown
  Pena, Ronnie Leroy                         3150 Wallace Street                                                   Riverside               CA        92509                 Litigation        X           Unknown
  Pena, Sr., Jose                            139 Grapeland Avenue                                                  San Antonio             TX        78214                 Litigation        X           Unknown
  Penate, Anasilvia                          200 Buck Jones Road #3                                                Raleigh                 NC        37606                 Litigation        X           Unknown
  Pendilla, Conrad                           24818 Panama Avenue                                                   Carson                  CA        90745                 Litigation        X           Unknown
  Pendilla, Dylan                            24818 Panama Avenue                                                   Carson                  CA        90745                 Litigation        X           Unknown
  Pendilla, Justin                           24818 Panama Avenue                                                   Carson                  CA        90745                 Litigation        X           Unknown
  Pendleton, Dawn                            16860 Slover Ave. Spc. 60                                             Fontana                 CA        92337                 Litigation        X           Unknown
  Penland, Joel                              123 Franklin St.                                                      Honea Path              SC        29654                 Litigation        X           Unknown
  Penn, Myrtle                               3180 The Great Rd                                                     Fieldale                VA        24089                 Litigation        X           Unknown
  Penney, Steven                             560 Wauregan Rd. Apt 2                                                Danielson               CT        06239                 Litigation        X           Unknown
  Pennington, Herman                         10013 Powell Lane                                                     Dardanelle              AK        72834                 Litigation        X           Unknown
  Pennington, Joyce                          19161 Blakely Road                                                    Laurinburg              NC        28352                 Litigation        X           Unknown
  Pennington, Raymond                        5562 Evans Road                                                       Export                  PA        15632                 Litigation        X           Unknown
  Pennington, Shirell                        10888 Huntington Estates Drive, Apt 3103                              Houston                 TX        77099                 Litigation        X           Unknown
  Pennybaker, George                         P. O. Box 8039                                                        La Crescenta            CA        91214                 Litigation        X           Unknown
  Pennywell, Darlene                         5572 W. Magil Ave.                                                    Fresno                  CA        93722                 Litigation        X           Unknown
  Penton, Linnie                             2725 Cerritas Via Street                                              Harvey                  LA        70058                 Litigation        X           Unknown
  Perales, Cesar                             6519 Firestone Road                                                   Jacksonville            FL        32244                 Litigation        X           Unknown
  Perales, Joseph                            284 Senior Cir                                                        Lompoc                  CA        93436                 Litigation        X           Unknown
  Peralta, Andrea                            9231 Washburn Rd. Apt 31                                              Downey                  CA        90242                 Litigation        X           Unknown
  Perata, Donna                              916 School Rd.                                                        McKineleyville          CA        95519                 Litigation        X           Unknown
  Perdomo-Cabeza, Julia                      3 Mariner Towers Building 3, Apt 803                                  Buffalo                 NY        14201                 Litigation        X           Unknown
  Peretti, Evelyn                            700 Seascope Lane                                                     Trinidad                CA        95570                 Litigation        X           Unknown
  Pereyra, Jesse                             15717 Verdura Ave.                                                    Paramount               CA        90723                 Litigation        X           Unknown
  Perez Cepeda, Yvonne                       2766 Locust Street                                                    Riverside               CA        92501                 Litigation        X           Unknown
  Perez Pangelinan, Geraldine                20429 Crooked Branch St.                                              Riverside               CA      92507-0100              Litigation        X           Unknown
  Perez, Alejandro                           24913 Island Ave.                                                     Carson                  CA        90745                 Litigation        X           Unknown
  Perez, Annette                             P.O. Box 52047                                                        Riverside               CA        92517                 Litigation        X           Unknown
  Perez, Arcelia                             555 Cascade Rd                                                        San Leandro             CA        94577                 Litigation        X           Unknown
  Perez, Betty                               PO Box 28052                                                          Providence              RI        02908                 Litigation        X           Unknown
  Perez, Daniel                              24533 Neptune Ave.                                                    Carson                  CA        90745                 Litigation        X           Unknown
  Perez, Diana                               24716 Mill Valley Way                                                 Carson                  CA        90745                 Litigation        X           Unknown
  Perez, Diego B.                            2766 Locust Street                                                    Riverside               CA        92501                 Litigation        X           Unknown
  Perez, Dolores Beltran                     2759 Avalon Street                                                    Riverside               CA        92509                 Litigation        X           Unknown
  Perez, Edith                               413 W 16th Street, Apt 2E                                             New York                NY      10011-5808              Litigation        X           Unknown
  Perez, Elena                               15130 Harding Ave.                                                    Midlothian              IL        60445                 Litigation        X           Unknown
  Perez, Guadalupe                           24533 Neptune Ave.                                                    Carson                  CA        90745                 Litigation        X           Unknown
  Perez, Guillermo Delgadillo                2759 Avalon Street                                                    Riverside               CA        92509                 Litigation        X           Unknown
  Perez, Horacio                             24533 Neptune Ave.                                                    Carson                  CA        90745                 Litigation        X           Unknown



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  Perez, Jesus                               394 Schenck St.                                                   N. Tonawanda              NY        14120                 Litigation        X           Unknown
  Perez, Jose                                4465 Pearl St.                                                    Denver                    CO        80216                 Litigation        X           Unknown
  Perez, Jose                                2607 Barrios Street                                               Laredo                    TX        78043                 Litigation        X           Unknown
  Perez, Jose                                24533 Neptune Ave.                                                Carson                    CA        90745                 Litigation        X           Unknown
  Perez, Juan                                11 Crossway Drive                                                 Deer Park                 NY        11729                 Litigation        X           Unknown
  Perez, Luis                                1422 Iris Ave. Apt B                                              Imperial Beach            CA        91932                 Litigation        X           Unknown
  Perez, Lurdes                              10590 Fieldcrust St.                                              El Monte                  CA        91731                 Litigation        X           Unknown
  Perez, Michael                             24533 Neptune Ave.                                                Carson                    CA        90745                 Litigation        X           Unknown
  Perez, Michael A.                          24407 Island Avenue                                               Carson                    CA        90745                 Litigation        X           Unknown
  Perez, Ralph                               24716 Mill Valley Way                                             Carson                    CA        90745                 Litigation        X           Unknown
  Perez, Rebecca                             8427 Ives St.                                                     Paramount                 CA        90723                 Litigation        X           Unknown
  Perez, Reina                               284 Hidden Village Rd.                                            Herndon                   WV        24726                 Litigation        X           Unknown
  Perez, Robert                              PO Box 2062                                                       San Bonito                TX        78586                 Litigation        X           Unknown
  Perez, Rosa                                16120 Whittram Ct.- Apt. 2                                        Fontana                   CA        92335                 Litigation        X           Unknown
  Perez, Stephanie                           941 W Bloomwood Road                                              San Pedro                 CA        90731                 Litigation        X           Unknown
  Perez-Carias, Leonardo                     36507 Navigation Pl                                               Palmdale                  CA        93552                 Litigation        X           Unknown
  Perillo, Teresa Rose                       9 Gren Way Aly, Apt. 2                                            Buffalo                   NY      14222-1519              Litigation        X           Unknown
  Perkins Jr., Richard                       15612 S Manhattan Place Apt 3                                     Gardena                   CA        90249                 Litigation        X           Unknown
  Perkins, Alexandra                         720 W Alondra Blvd.                                               Gardena                   CA        90247                 Litigation        X           Unknown
  Perkins, Alicia                            24719 Ravenna Avenue                                              Carson                    CA        90745                 Litigation        X           Unknown
  Perkins, Alicia E.                         24719 Ravenna Avenue                                              Carson                    CA        90745                 Litigation        X           Unknown
  Perkins, Christopher                       1468 Bell Pepper Ct. #204                                         Fairborn                  OH        45324                 Litigation        X           Unknown
  Perkins, Richard                           15659 Lattimer Rd                                                 Moores Hill               IN        47032                 Litigation        X           Unknown
  Perkins, Richard                           24719 Ravenna Avenue                                              Carson                    CA        90745                 Litigation        X           Unknown
  Perkins, Willie                            3001 Walker St                                                    Fort Worth                TX        76105                 Litigation        X           Unknown
  Perkins-Osborne, Carmen                    12740 30th Ave. NE, #334                                          Seattle                   WA        98125                 Litigation        X           Unknown
  Permenter, Ballard                         36403 Chancey Road                                                Zephyrhills               FL        33541                 Litigation        X           Unknown
  Perrault, Barbara                          54 Town Farm Rd.                                                  Brookfield                MA        01506                 Litigation        X           Unknown
  Perrone, Anthony                           180 Boxmeer Dr.                                                   North Fort Myers          FL        33903                 Litigation        X           Unknown
  Perry, Lou                                 2006 S. Monticello                                                Big Spring                TX        79720                 Litigation        X           Unknown
  Perry, Michael                             P. O. Box 0791                                                    Frazier Park              CA        93225                 Litigation        X           Unknown
  Perry, Netti                               RTS - 1723 Springer Road                                          Sevierville               TN        37862                 Litigation        X           Unknown
  Perry, Robert                              3236 Sioux Dr.                                                    Shasta Lake               CA        96019                 Litigation        X           Unknown
  Perryman, Daisy                            P.O. Box 7015                                                     Chesapeake                VA        23323                 Litigation        X           Unknown
  Perucca, Robert                            4212 Wyandot St.                                                  Denver                    CO        80211                 Litigation        X           Unknown
  Pesa, Edward                               1000 Brecks Ville Road                                            Brecksville               OH        44141                 Litigation        X           Unknown
  Pesce, Phyllis                             1 Morningside Drive                                               Woburn                    MA        01801                 Litigation        X           Unknown
  Peterman, Bradley                          15293 Township Road #496                                          Thornville                OH        43076                 Litigation        X           Unknown
  Peters, Debra                              8810 SW 155th St                                                  Dunnellon                 FL        34432                 Litigation        X           Unknown
  Peters, Theresa                            13660 SW Pacific Hwy #14                                          Tigard                    OR        97223                 Litigation        X           Unknown
  Peters, William Dean                       8810 SW 155th St.                                                 Dunnellon                 FL      34432-7320              Litigation        X           Unknown
  Peters, William Samuel                     11887 Hall Avenue                                                 Bloomington               CA        92316                 Litigation        X           Unknown
  Petersen, Renee                            417 Hunter Drive                                                  Watertown                 MN        55388                 Litigation        X           Unknown
  Peterson, Arthur                           25208 S. Holman Rd.                                               Estacada                  OR        97023                 Litigation        X           Unknown
  Peterson, Bobby                            1492 Harrell Grove Church Road                                    Douglas                   GA        31535                 Litigation        X           Unknown
  Peterson, Brian                            523 True St. NW                                                   New Brighton              MN        55112                 Litigation        X           Unknown
  Peterson, Craig                            1420 Tasker                                                       Hobbs                     NM        88240                 Litigation        X           Unknown
  Peterson, Craig                            3481 E. 2153 Rd.                                                  Ottawa                    IL        61350                 Litigation        X           Unknown
  Peterson, Jeraldine                        2000 Huntington Ave, Apt. 1504                                    Alexandria                VA        22303                 Litigation        X           Unknown
  Peterson, Jim                              3534 Dove Hollow Rd.                                              Encinitas                 CA        92024                 Litigation        X           Unknown



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  Peterson, Jodene                           3481 E. 2153 Rd.                                                       Ottawa                    IL        61350                 Litigation        X           Unknown
  Peterson, Kenneth Jesse                    1324 Stillman Avenue- Apartment 106                                    Redlands                  CA        92374                 Litigation        X           Unknown
  Peterson, Lillian                          4503 108th St                                                          Marysville                WA        98271                 Litigation        X           Unknown
  Peterson, Scott                            501 Cornell St.                                                        Ottawa                    IL        61350                 Litigation        X           Unknown
  Petit, Dennis                              10 May St Rm 218                                                       Biddeford                 ME        04005                 Litigation        X           Unknown
  Petitpas, Hector                           174 Bumila Dr.                                                         Raynham                   MA        02767                 Litigation        X           Unknown
  Petitti, Robert                            7901 Fossil Creek Trail                                                Mckinney                  TX        75071                 Litigation        X           Unknown
  Petran, John                               15 Bridgeview Drive                                                    Kimberling City           MO        65686                 Litigation        X           Unknown
  Petray, Mary                               1610 Poets Corner St.                                                  San Antonio               TX        78232                 Litigation        X           Unknown
  Petri, Livia                               15733 Walbrook Dr                                                      Hacienda Heights          CA        91745                 Litigation        X           Unknown
  Petrich, Robert                            1391 Silverberry Court                                                 El Cajon                  CA        92019                 Litigation        X           Unknown
  Petrie, Margaret                           10 Elm Street                                                          Goreville                 IL        62939                 Litigation        X           Unknown
  Petrouski, Wendy                           9471 Stinson Lane                                                      Westminster               CA        92683                 Litigation        X           Unknown
  Petruzziello, Doreen                       172 Second Avenue                                                      West Haven                CT        06516                 Litigation        X           Unknown
  Pettenger, Ervin                           P.O. Box 1881                                                          Hawthorn                  NV        89415                 Litigation        X           Unknown
  Pettit, Ronald                             4907 Jane Ave.                                                         Charlotte                 NC        28269                 Litigation        X           Unknown
  Pettway, Tranesha                          486 Columbia St Apt 6C                                                 Brooklyn                  NY        11231                 Litigation        X           Unknown
  Petty, Christian                           6607 5th Ave                                                           Rio Linda                 CA        95673                 Litigation        X           Unknown
  Peyton, LaDawn                             465 Truman Rd. #23                                                     Osceola                   MS        64776                 Litigation        X           Unknown
  Pfister, Maria                             8707 Remick Avenue                                                     Sun Valley                CA        91352                 Litigation        X           Unknown
  Phelps, Ada                                203 Sealey Dr. Apt. C22                                                Madison                   TN        37115                 Litigation        X           Unknown
  Phelps, Louis                              21528 N Krupp Lane                                                     Centralia                 IL        62801                 Litigation        X           Unknown
  Phifer, Brenda                             3800 North El Mirage Road Apt. 3917                                    Avondale                  AZ        85392                 Litigation        X           Unknown
  Phifer, Mary R.                            621 Ward Street                                                        Marlin                    TX        76661                 Litigation        X           Unknown
  Phillipone, Renee                          2648 David Dr.                                                         Niagara Falls             NY        14304                 Litigation        X           Unknown
  Phillips II, Bobby                         2406 Palos Verdes Dr. W Apt. 7                                         Palos Verdes Estates      CA      90274-2767              Litigation        X           Unknown
  Phillips, Bessie                           48 Sweetbriar Avenue                                                   Hernando                  MS        38632                 Litigation        X           Unknown
  Phillips, Bobby                            502 E 245th Street                                                     Carson                    CA        90745                 Litigation        X           Unknown
  Phillips, Charles                          1118 Forest Ave.                                                       Pasadena                  CA        91103                 Litigation        X           Unknown
  Phillips, Deborah                          147 Richard Dickerson Rd.                                              Noxapater                 MS        39346                 Litigation        X           Unknown
  Phillips, Irma                             2466 Carmel Street                                                     Houston                   TX        77091                 Litigation        X           Unknown
  Phillips, James                            3401 Royalton Avenue                                                   Modesto                   CA        95350                 Litigation        X           Unknown
  Phillips, Kevin Lee                        PO Box 3313                                                            Big Bear                  CA        92314                 Litigation        X           Unknown
  Phillips, Lorelei                          1302 East Turquoise Drive                                              Corona                    CA        92882                 Litigation        X           Unknown
  Phillips, Marie                            10203 Runninggrove Lane                                                Marlboro                  MD        20772                 Litigation        X           Unknown
  Phillips, Mar-Jana                         502 E 245th Street                                                     Carson                    CA        90745                 Litigation        X           Unknown
  Phillips, Mozelle                          2821 Somerset Drive, Apt. A115                                         Lauderdale Lakes          FL        33311                 Litigation        X           Unknown
  Phillips, Rowena                           502 E 245th Street                                                     Carson                    CA        90745                 Litigation        X           Unknown
  Philpott, Melissa                          2574 Providence Church Rd                                              Henry                     VA        24102                 Litigation        X           Unknown
  Phineas Sr, Anthony Miguel                 1540 North Ravenna Avenue                                              Wilmington                CA        90744                 Litigation        X           Unknown
  Phineas, Julie                             522 E 245th Street                                                     Carson                    CA      90745-6502              Litigation        X           Unknown
  Phineas, Magdalene                         24722 Neptune Avenue                                                   Carson                    CA        90745                 Litigation        X           Unknown
  Phineas, Rachelle                          1540 Ravenna Avenue                                                    Wilmington                CA        90744                 Litigation        X           Unknown
  Phipps, David                              200 Van Stowe Road                                                     Harriman                  TN        37748                 Litigation        X           Unknown
  Phyler, William                            2400 Wedgewood Drive                                                   Wexford                   PA        15090                 Litigation        X           Unknown
  Piazza, Dominic                            24403 Ravenna Avenue                                                   Carson                    CA        90745                 Litigation        X           Unknown
  Piazza, Krystle                            24403 Ravenna Avenue                                                   Carson                    CA        90745                 Litigation        X           Unknown
  Piazza, Lourdes                            24403 Ravenna Avenue                                                   Carson                    CA        90745                 Litigation        X           Unknown
  Piazza, Stephanie                          24403 Ravenna Avenue                                                   Carson                    CA        90745                 Litigation        X           Unknown
  Pickens Jr., Roman                         8913 W 11 Mile Road                                                    Huntington Woods          MI        48070                 Litigation        X           Unknown



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  Pickett, Rose                              5007 Sailfish Ct                                                   Waldorf                   MD      20603-4291               Litigation        X           Unknown
  Picklesimer, Michael                       PO Box 162                                                         Lowell                    NC        28098                  Litigation        X           Unknown
  Picotte, Edmond                            983 Iris drive                                                     North Fort Myers          FL        33903                  Litigation        X           Unknown
  Piecuch, Linda                             68 W Granger St.                                                   Hanover                   PA        17331                  Litigation        X           Unknown
  Pierce, Dorothy                            P.O. Box 361                                                       Bonifay                   FL      32425-0361               Litigation        X           Unknown
  Pierce, Patsy                              1225 Steens Creek                                                  Florence                  MS        39073                  Litigation        X           Unknown
  Pierce, Stephen                            204 Wetzel Street                                                  New Martinsville          WV        26155                  Litigation        X           Unknown
  Pierson, Jodi Dawn                         3496 Center Avenue                                                 Norco                     CA        92860                  Litigation        X           Unknown
  Pierson, Mark S.                           Rt. 4 Box 119 B                                                    Clinchport                VA        24244                  Litigation        X           Unknown
  Pigg, Sr., Ronald                          7474 N Reardon Lane                                                Opdyke                    IL        62872                  Litigation        X           Unknown
  Piha-Timonen, Kirsi                        Laivurinrinne 2A1                                                  Helsinki                            00120    Finland       Litigation        X           Unknown
  Pike, Jeffrey                              211 Briar Cliff Lane                                               Springfield               MI        49037                  Litigation        X           Unknown
  Pike, Paula                                3350 Thomas Street #119                                            Fairbanks                 AK        99709                  Litigation        X           Unknown
  Pilato, Giovan                             24416 Panama Avenue                                                Carson                    CA        90745                  Litigation        X           Unknown
  Pilcher, Lorena                            5991 New Natchitoches Road                                         West Monroe               LA        71292                  Litigation        X           Unknown
  Pineda Hernandez, Anita                    715 E Oak Street                                                   Uvalde                    TX        78801                  Litigation        X           Unknown
  Pingatore, Yvonne                          17262 Chappard Drive                                               Huntington Beach          CA        92649                  Litigation        X           Unknown
  Pinkston, Glenn                            2358 Lockwood Meadows Circle                                       Sarasota                  FL        34234                  Litigation        X           Unknown
  Piry, Peter                                877 Lexington Lane                                                 The Village               FL        32162                  Litigation        X           Unknown
  Pisano, Jerry                              25292 Parthenon                                                    Mission Viejo             CA        92691                  Litigation        X           Unknown
  Piscatella, Paul Arthur                    3837 Ridge Road                                                    Riverside                 CA        92501                  Litigation        X           Unknown
  Pitcher, Deborah                           P.O. Box 45                                                        Munda                     NY        14517                  Litigation        X           Unknown
  Pittman, Josephine                         22730 Lopez Street                                                 Perris                    CA        92570                  Litigation        X           Unknown
  Pittman, Julian                            13066 N. Sunrise Canyon Lane                                       Marana                    AZ        85652                  Litigation        X           Unknown
  Pittman, Marilyn                           1736 S Vicentia Avenue                                             Corona                    CA      92882-4246               Litigation        X           Unknown
  Pittman, Michael                           RTS - 3805 Lupine Lane #P                                          Calabasas                 CA        91302                  Litigation        X           Unknown
  Pitts , Perrie                             4401 Slauson Ave, #19                                              Los Angeles               CA        90043                  Litigation        X           Unknown
  Pitts, Debbie                              P.O. Box 33285                                                     Riverside                 CA        92519                  Litigation        X           Unknown
  Pitts, Lee                                 425 Western Rd. Lot 905                                            Auburn                    AL        36832                  Litigation        X           Unknown
  Pizarro, Carmen                            400 West 43rd Street , Apt. 8M                                     New York                  NY        10036                  Litigation        X           Unknown
  Plamandon, Mark                            1779 N. 2nd Avenue                                                 Upland                    CA        91784                  Litigation        X           Unknown
  Planas, Maria                              626 Coral St. #2312                                                Honolulu                  HI        96813                  Litigation        X           Unknown
  Plante, Alan                               7360 E. Singingwood Drive                                          Anaheim                   CA        92808                  Litigation        X           Unknown
  Platon, Nora                               1446 East Ralston Avenue                                           San Bernardino            CA        92404                  Litigation        X           Unknown
  Platt, Richard                             4408 Silverchrook W. K-201                                         Owings Milk               MD        21117                  Litigation        X           Unknown
  Ploetz, David                              3311 E Blacklidge Dr                                               Tucson                    AZ        85716                  Litigation        X           Unknown
  Ploner, Donald John                        5654 Norwood Avenue                                                Riverside                 CA        92505                  Litigation        X           Unknown
  Plummer, Karen                             206 W. 1st                                                         Lamar                     MO        64759                  Litigation        X           Unknown
  Pogosyan, Vrezh                            1335 E Harvard St. #308                                            Glendale                  CA        91205                  Litigation        X           Unknown
  Pohle, Siegfried                           1520 Jacksonville Rd.                                              Ivyland                   PA        18974                  Litigation        X           Unknown
  Poindexter, Richard                        1106 S. 12th St.                                                   Burlington                IA        52601                  Litigation        X           Unknown
  Pointer, Laverne                           1101 3rd St.                                                       Bay City                  TX      77414-5917               Litigation        X           Unknown
  Pointer, Martha                            308 Lake Front Mobile Home Park                                    Clinton                   TN        37716                  Litigation        X           Unknown
  Poirrier, John                             1012 Raymond Drive                                                 Broussard                 LA        70518                  Litigation        X           Unknown
  Polakoff, Robert J.                        13530 Leadwell St., #9                                             Van Nuys                  CA        91405                  Litigation        X           Unknown
  Poley, Karl                                W 221 N 8302 Plainview Pkwy                                        Sussex                    WI        53089                  Litigation        X           Unknown
  Polito, Joseph                             14 Margaux Drive                                                   Manchester                NJ        08759                  Litigation        X           Unknown
  Polk, Carlos                               15240 Kittridge St., #205                                          Van Nuys                  CA        91405                  Litigation        X           Unknown
  Pollard, Linda R.                          P. O. Box 945                                                      Littlerock                CA        93543                  Litigation        X           Unknown
  Pollard, Rosie                             5811 Elkton Drive                                                  Oak Ridge                 NC        27310                  Litigation        X           Unknown



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  Pollidore, Hilton                          41 Las Casita                                                   Fort Pierce             FL      34951              Litigation        X           Unknown
  Polson, Michael                            121 S. 66th Ave W                                               Duluth                  MN      55807              Litigation        X           Unknown
  Polvent, Clifford                          2381 Mendota Way                                                Roseville               CA      95747              Litigation        X           Unknown
  Pommier, Bernard                           6538 Collins Ave. Suite 243                                     Miami Beach             FL      33141              Litigation        X           Unknown
  Ponce (Navarrete), Kathleen                24523 Neptune Avenue                                            Carson                  CA      90745              Litigation        X           Unknown
  Ponce Sr., Emilio                          2095 Delphinium Drive                                           Perris                  CA      92571              Litigation        X           Unknown
  Ponce, Felisa Ornelas                      10878 Birch Ave.                                                Bloomington             CA      92316              Litigation        X           Unknown
  Ponce, James                               24522 Neptune Avenue                                            Carson                  CA      90745              Litigation        X           Unknown
  Ponce, Lazaro                              7137 Fairfax Drive                                              San Bernardino          CA      92404              Litigation        X           Unknown
  Ponce, Lina                                24722 Marbella Avenue                                           Carson                  CA      90745              Litigation        X           Unknown
  Ponce, Maria                               430 N. Palos Verdes St.                                         San Pedro               CA      90731              Litigation        X           Unknown
  Ponce, Rene                                523 E 245th Street                                              Carson                  CA      90745              Litigation        X           Unknown
  Ponticello, James                          404 E 66th St Apt 9B                                            New York                NY      10065              Litigation        X           Unknown
  Poole, Bruce                               PO Box 551                                                      Intervale               NH      03845              Litigation        X           Unknown
  Poole, Melvin                              11235 Caravel Circle                                            Fort Myers              FL      33908              Litigation        X           Unknown
  Poole, Theodore                            P.O. Box 212                                                    Appalachia              VA      24216              Litigation        X           Unknown
  Poole, William and Dorothy                 36 Murray Terrace                                               Tonawanda               NY      14150              Litigation        X           Unknown
  Poole, Yvonne                              16156 Progress Lane                                             Irwindale               CA      91706              Litigation        X           Unknown
  Poore, Richard                             4939 Lucerne Avenue Apt-303                                     Loveland                CO      80538              Litigation        X           Unknown
  Pope, Jim                                  P.O. Box 119                                                    Willard                 MO      65781              Litigation        X           Unknown
  Pope, Vanessa                              9660 Ethridge Lane                                              Ooltewah                TN      37363              Litigation        X           Unknown
  Poplin, Terry                              9121 Mono Road                                                  Victorville             CA      92392              Litigation        X           Unknown
  Poque, Lloyd                               35103 Hwy 26                                                    Seaside                 OR      97138              Litigation        X           Unknown
  Poquette, Nell                             31153 Wild Berry Court                                          Coarsegold              CA      93614              Litigation        X           Unknown
  Porras, Robert                             8531 Beverly Park Pl                                            pico Rivera             CA      90660              Litigation        X           Unknown
  Porter, James                              22469 Southwalk Street                                          Moreno Valley           CA      92553              Litigation        X           Unknown
  Porter, Robert                             303 East 5th Street                                             Greensberg              IN      47246              Litigation        X           Unknown
  Portillo, Emmanuel                         18524 14th Street                                               Bloomington             CA      92316              Litigation        X           Unknown
  Portillo, Jacinto                          18524 14th Street                                               Bloomington             CA      92316              Litigation        X           Unknown
  Portner, Barry                             P.O. Box 1194                                                   Lamar                   CO      81052              Litigation        X           Unknown
  Posada, Christina                          24527 Island Avenue                                             Carson                  CA      90745              Litigation        X           Unknown
  Posada, Juan                               24527 Island Avenue                                             Carson                  CA      90745              Litigation        X           Unknown
  Posada, Victoria                           24527 Island Avenue                                             Carson                  CA      90745              Litigation        X           Unknown
  Posey, Eddie                               124 Andover Lane                                                Huntsville              AL      35811              Litigation        X           Unknown
  Post, Barbara                              24433 Marbella Avenue                                           Carson                  CA      90745              Litigation        X           Unknown
  Post, Kathy                                24606 Marbella Avenue                                           Carson                  CA      90745              Litigation        X           Unknown
  Potar, Gerald                              35 Pebblemill Rd                                                Springfield             MA      01118              Litigation        X           Unknown
  Potts, Diane                               PO Box 1454                                                     Ruston                  LA      71273              Litigation        X           Unknown
  Poulsen, Michelle                          1216 Waldo St.                                                  Marquette               MI      49855              Litigation        X           Unknown
  Powe, Val                                  208 N. Pine                                                     Centralia               IL      62801              Litigation        X           Unknown
  Powell, Annabelle                          10178 N. Perry Rd. "B"                                          Stigler                 OK      74462              Litigation        X           Unknown
  Powell, Ardina                             102 Santana Court                                               Henderson               NV      89012              Litigation        X           Unknown
  Powell, Charles                            651 North Birchwood Road                                        Orange                  CA      92689              Litigation        X           Unknown
  Powell, Dr. Richard                        2209 W 25th Street, #1                                          San Pedro               CA      90732              Litigation        X           Unknown
  Powell, George                             118 Mahone Avenue                                               Hueytown                AL      35023              Litigation        X           Unknown
  Powell, Gina                               9917 NE Sandpiper Circle                                        Vancouver               WA      98664              Litigation        X           Unknown
  Powelson, Dean                             31201 Avenida Del Reposo                                        Temecula                CA      92591              Litigation        X           Unknown
  Powers, Gwen                               3063 Blue Oak Dr                                                Catheys Valley          CA      95306              Litigation        X           Unknown
  Powers, Jamie                              847 Locust Street                                               Fall River              MA      02720              Litigation        X           Unknown
  Powers, R. Wayne                           132 Mission Lake Way                                            Rancho Mirage           CA      92270              Litigation        X           Unknown



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  Poyaoan, Ma. Cherry                        24430 Panama Avenue                                                Carson                  CA      90745              Litigation        X           Unknown
  Poyaoan, Rolando                           24430 Panama Avenue                                                Carson                  CA      90745              Litigation        X           Unknown
  Pozzi, Kimberly                            4268 Griscom Street                                                Philadelphia            PA      19124              Litigation        X           Unknown
  Prabhupada, Om-Shrees                      52 W. Abo Loop                                                     Veguita                 NM      87062              Litigation        X           Unknown
  Prado, Maria                               2155 Crisman Road                                                  Portage                 IN      46368              Litigation        X           Unknown
  Pratt, John                                990 King Hill Road                                                 Readsboro               VT      05350              Litigation        X           Unknown
  Praytor, Darria                            36 Deaver Park Cir.                                                Asheville               NC      28806              Litigation        X           Unknown
  Prentiss, Lylia                            107 Terry Street                                                   Booneville              MS      38829              Litigation        X           Unknown
  President, Andre                           8740 Hunters Point Way                                             Ft. Worth               TX      76123              Litigation        X           Unknown
  Preston, Sr., John                         2839 Louisville Road                                               Harrodsburg             KY      40330              Litigation        X           Unknown
  Price, Aubrey                              320 Randy Road                                                     Roanoke                 TX      76262              Litigation        X           Unknown
  Price, Donna                               4115 Goleys Ln.                                                    Racine                  WI      53404              Litigation        X           Unknown
  Price, Ernest                              7411 Arbor Drive                                                   New Orleans             LA      70126              Litigation        X           Unknown
  Price, Gary O.                             102 Creek View Lane                                                Rogue River             OR      97537              Litigation        X           Unknown
  Price, Geraldine                           1407 Augusta Ave.                                                  Savannah                GA      31415              Litigation        X           Unknown
  Price, John                                138 Shady Breeze Lane                                              Elkview                 WV      25071              Litigation        X           Unknown
  Price, Linda                               1479 W. Dove Tree Avenue                                           San Tan Valley          AZ      85140              Litigation        X           Unknown
  Price, Noel Desmond                        1513 Camelot Dr.                                                   Corona                  CA      92882              Litigation        X           Unknown
  Price, Norma                               7169 Cisco Rd.                                                     Petroleum               WV      26161              Litigation        X           Unknown
  Price, Shawn                               137 Orchard Street                                                 Aliquippa               PA      15001              Litigation        X           Unknown
  Pridgen, Helen                             1227 East Front Street Apt. 12B                                    Plainfield              NJ      07062              Litigation        X           Unknown
  Priest, Carmen                             24627 Marbella Avenue                                              Carson                  CA      90745              Litigation        X           Unknown
  Priest, Matthew                            24713 Marbella Avenue                                              Carson                  CA      90745              Litigation        X           Unknown
  Priest, Murrey                             1700 Elfen Glen, Apt #72                                           Van Buren               AR      72956              Litigation        X           Unknown
  Priest, Ruben                              4032 Hubbell Ave Apt 272                                           Des Moines              IA      50317              Litigation        X           Unknown
  Priest, William                            24627 Marbella Avenue                                              Carson                  CA      90745              Litigation        X           Unknown
  Prieto, Cecilio                            RTS - 47 Richards St.- Apt. 2                                      Worcester               MA      01603              Litigation        X           Unknown
  Prieto, Lorraine Agnes                     6727 Gillam Street                                                 Riverside               CA      92509              Litigation        X           Unknown
  Prince, Jackie                             20 Private Rd. 3367                                                South Point             OH      45680              Litigation        X           Unknown
  Prinz McMillan, Sheryll                    28226 Kane Crt                                                     Highland                CA      92342              Litigation        X           Unknown
  Pritchard, Joan                            132 Garfield St.                                                   Buffalo                 NY      14207              Litigation        X           Unknown
  Privitt, Robert                            406 E. McCurtain Ave                                               Calera                  OK      74730              Litigation        X           Unknown
  Pronek, Irene                              6280 Harding Street                                                Hollywood               FL      33024              Litigation        X           Unknown
  Prosper, Barbara                           3937 Patterson Road                                                Alquippa                PA      15001              Litigation        X           Unknown
  Prosser, Jr., Arthur                       1828 S Water Street                                                Wichita                 KS      67213              Litigation        X           Unknown
  Pruden, Bonnie Lou                         2169 Eagle Sticks Drive                                            Henderson               NV      89012              Litigation        X           Unknown
  Prue, Mathew                               P.O. Box 1618                                                      Mission                 SD      57555              Litigation        X           Unknown
  Pruett, Jodie                              840 Ashmont Drive                                                  Imperial                MO      63052              Litigation        X           Unknown
  Pruitt Jr., Raymond Walter                 31337 Satin Leaf Run                                               Brooksville             FL      34602              Litigation        X           Unknown
  Pruitt, Dave'on                            PO Box 541                                                         Paramount               CA      90723              Litigation        X           Unknown
  Pruitt, Latesha                            PO Box 541                                                         Paramount               CA      90723              Litigation        X           Unknown
  Pruitt, Rose                               PO Box 1155                                                        Paramount               CA      90723              Litigation        X           Unknown
  Puckett, James                             1624 Byrum Street                                                  Charlotte               NC      28216              Litigation        X           Unknown
  Puckett, Sally                             3749 Old Hwy 100 South Lot 3                                       Tallapoosa              GA      30176              Litigation        X           Unknown
  Puderer, Edward                            1904 Garon Drive                                                   Mandeville              LA      70448              Litigation        X           Unknown
  Pullen, Abigail                            2951 Shady Lane                                                    Maryville               TN      37803              Litigation        X           Unknown
  Pulley, Tonya                              2108 Lake Trout Lane                                               Raleigh                 NC      27610              Litigation        X           Unknown
  Pulliam, John                              4383 Brush Creek Road                                              Argillite               KY      41121              Litigation        X           Unknown
  Pulliam, Michael                           3922 Gilford Circle                                                Lansing                 MI      48911              Litigation        X           Unknown
  Pullings, Harold R.                        1027 W. Nambe                                                      Hobbs                   NM      88240              Litigation        X           Unknown



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  Puopolo, Anthony                           PO Box 235                                                         Silver Lake            NH        03875                 Litigation        X           Unknown
  Purcell, Ronald                            30 Kimick Way                                                      Red Bluff              CA        90680                 Litigation        X           Unknown
  Purdom, Maury                              RTS - 1206 Carmie St                                               Alvin                  TX        77511                 Litigation        X           Unknown
  Purnell, Marie                             200 Nola Street                                                    Winona                 MS      38967-2552              Litigation        X           Unknown
  Pye III, Sidney                            105 Helen St.                                                      Cleveland              TX        77328                 Litigation        X           Unknown
  Pynn, Andrea                               24832 Panama Avenue                                                Carson                 CA        90745                 Litigation        X           Unknown
  Quagliana, Louis                           22 Royal Oak Circle                                                Grand Island           NY        14072                 Litigation        X           Unknown
  Qualle, Rodney                             5546 Vista Grande                                                  Weldon                 CA        93283                 Litigation        X           Unknown
  Quattrochi, Mario                          4 Eisenhower Drive                                                 Malvern                PA        19355                 Litigation        X           Unknown
  Queen, Marie                               RTS - RR2 Box 561                                                  Comanche               OK        73529                 Litigation        X           Unknown
  Quesenberry, Kenneth Sr.                   16651 Zenda St.- Apt# 3                                            Victorville            CA        92395                 Litigation        X           Unknown
  Quiggins, Evelyn                           612 Coventry Circle                                                Moultrie               GA        31768                 Litigation        X           Unknown
  Quigley, George                            2624 Katie Road                                                    Kennewick              WA        99338                 Litigation        X           Unknown
  Quijada, Rachel                            4527 Eastbrook Avenue                                              Lakewood               CA        90713                 Litigation        X           Unknown
  Quimson Jr., Rolando                       12429 Columbia Way Apt A                                           Downey                 CA        90242                 Litigation        X           Unknown
  Quimson, Gloria                            22121 Avalon Blvd. #209                                            Carson                 CA        90745                 Litigation        X           Unknown
  Quimson, Leslie                            4002 Howard Ave.- #6                                               Los Alamitos           CA        90720                 Litigation        X           Unknown
  Quimson, Paul                              4002 Howard Ave.- #6                                               Los Alamitos           CA        90720                 Litigation        X           Unknown
  Quimson, Rolando                           22121 Avalon Blvd. #209                                            Carson                 CA        90745                 Litigation        X           Unknown
  Quinlan, Dennis                            301 Hinds                                                          Tonawanda              NY        14150                 Litigation        X           Unknown
  Quinn, Nicole                              2204 Lancelot Dr.                                                  Niagara Falls          NY        14304                 Litigation        X           Unknown
  Quinn, Terry                               2002 H Street                                                      Rupert                 ID        83350                 Litigation        X           Unknown
  Quinn-Matthews, Celestine                  243 A Park Lane                                                    Saulk Village           IL       60411                 Litigation        X           Unknown
  Quinones, Brandy                           24431 Panama Avenue                                                Carson                 CA        90745                 Litigation        X           Unknown
  Quinones, Rene                             5127 South Lavender Fields Lane                                    Tucson                 AZ        85746                 Litigation        X           Unknown
  Quintana, Aracely                          3242 Missouri Apt-A                                                Las Cruces             NM        88011                 Litigation        X           Unknown
  Quintana, Pierre                           4700 Aurora Dr, #15                                                Ventura                CA        93003                 Litigation        X           Unknown
  Quiroga, Alfonso                           308 1/2 W. Byers Street                                            Hobbs                  NM        88240                 Litigation        X           Unknown
  Qusada, Martin                             3551 Hansen St                                                     Riverdale              CA        93656                 Litigation        X           Unknown
  Raby, Sandra                               P.O. Box 115                                                       Freeburg               MO        65035                 Litigation        X           Unknown
  Racanelli, Laura                           3905 Serendipity Hills Ct.                                         Corinth                TX        76210                 Litigation        X           Unknown
  Rackliff, Daniel                           2871 W 5925 South Road                                             Roy                    UT        84067                 Litigation        X           Unknown
  Rademacher, William                        368 S. Jefferson Street #202                                       Mason                  MI        48854                 Litigation        X           Unknown
  Rader, Betty                               8550 County Road 240                                               Webb City              MO        64870                 Litigation        X           Unknown
  Rader, Steve                               3421 Ullman Street                                                 San Diego              CA        92106                 Litigation        X           Unknown
  Radke, Chris Marie                         1842 Sugar Pine Lane                                               Colton                 CA        92324                 Litigation        X           Unknown
  Radke, Savanna                             1842 Sugar Pine Lane                                               Colton                 CA        92324                 Litigation        X           Unknown
  Ragoschke Jr, Albert Clarence              21341 Oakwood St.                                                  Perris                 CA        92571                 Litigation        X           Unknown
  Ragsdale, George                           363 E Mont Castle Drive Unit A                                     Greensboro             NC        27406                 Litigation        X           Unknown
  Raheem, Umar                               2720 Avalon Street                                                 Riverside              CA        92509                 Litigation        X           Unknown
  Raimar, James                              3190 Edward Place                                                  Saginaw                MI        48603                 Litigation        X           Unknown
  Raine, Joseph                              906 Raintree Circle                                                Gillette               WY        82716                 Litigation        X           Unknown
  Raine, Vance                               34 Tall Hedge                                                      Irvine                 CA        92603                 Litigation        X           Unknown
  Rainer, David                              5505 Fog Hollow Lane, Apt. 101                                     Memphis                TN        38125                 Litigation        X           Unknown
  Rainey, Carolyn                            600 Maple St. Apt. 310                                             Coffeville             KS        67337                 Litigation        X           Unknown
  Rainwater, Bill                            130 N. Firesky Lane                                                Chino Valley           AZ        86323                 Litigation        X           Unknown
  Ramey, Douglas                             154 Riles Branch Rd                                                Lick Creek             KY        41540                 Litigation        X           Unknown
  Ramie, Barbara                             628 White St.                                                      Morehead               KY        40351                 Litigation        X           Unknown
  Ramirez Jr., Glenn                         15730 Orizaba Ave.                                                 Paramount              CA        90723                 Litigation        X           Unknown
  Ramirez, Aldo                              3695 Avalon St.- Space 45                                          Riverside              CA        92509                 Litigation        X           Unknown



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  Ramirez, Alejandro                         PO Box 1003                                                        Lawndale              CA        90260                 Litigation        X           Unknown
  Ramirez, Amalia                            RTS - P.O. Box 88                                                  Oro Grande            CA        92368                 Litigation        X           Unknown
  Ramirez, Brenda                            7047 San Luis St.                                                  Paramount             CA        90723                 Litigation        X           Unknown
  Ramirez, Deserie                           3695 Avalon St.- Space 45                                          Riverside             CA        92509                 Litigation        X           Unknown
  Ramirez, Dolares & Roberto                 1013 S Rosewood Ave                                                Inglewood             CA        90022                 Litigation        X           Unknown
  Ramirez, Enrique                           24423 Marbella Avenue                                              Carson                CA        90745                 Litigation        X           Unknown
  Ramirez, Estella                           6131 South Kildare Ave                                             Chicago               IL        60629                 Litigation        X           Unknown
  Ramirez, Frank                             3342 Bradbury Road- Unit #39                                       Los Alamitos          CA        90720                 Litigation        X           Unknown
  Ramirez, Frederick                         3342 Bradbury Road- Unit #39                                       Los Alamitos          CA      90720-4359              Litigation        X           Unknown
  Ramirez, Glenn                             15730 Orizaba Ave.                                                 Paramount             CA        90723                 Litigation        X           Unknown
  Ramirez, Gloria                            11721 Wasco Rd.                                                    Garden Grove          CA        92841                 Litigation        X           Unknown
  Ramirez, Ilene                             465 County Road # 668                                              Hanceville            AL        35077                 Litigation        X           Unknown
  Ramirez, Imelda                            15730 Orizaba Ave.                                                 Paramount             CA        90723                 Litigation        X           Unknown
  Ramirez, Irene                             200 E. Oak Knoll Circle Apt 631                                    Lewisville            TX        75067                 Litigation        X           Unknown
  Ramirez, Jean                              24522 Marbella Ave.                                                Carson                CA        90745                 Litigation        X           Unknown
  Ramirez, Jennivieve                        24522 Marbella Ave.                                                Carson                CA        90745                 Litigation        X           Unknown
  Ramirez, Jessica                           24423 Marbella Avenue                                              Carson                CA        90745                 Litigation        X           Unknown
  Ramirez, Jose                              595 Stag Court                                                     Anthony               NM        88021                 Litigation        X           Unknown
  Ramirez, Josefina                          7047 San Luis St.                                                  Paramount             CA        90723                 Litigation        X           Unknown
  Ramirez, Joseph                            24904 Neptune Avenue                                               Carson                CA        90745                 Litigation        X           Unknown
  Ramirez, Kimberly                          24522 Marbella Ave.                                                Carson                CA        90745                 Litigation        X           Unknown
  Ramirez, Kristy                            7301 Kirby Way                                                     Stanton               CA        90680                 Litigation        X           Unknown
  Ramirez, Lidia                             10786 Claremont Avenue                                             Bloomington           CA        92316                 Litigation        X           Unknown
  Ramirez, Marie                             24904 Neptune Avenue                                               Carson                CA        90745                 Litigation        X           Unknown
  Ramirez, Martin                            19494 Kiningham Drive                                              Bloomington           CA        92316                 Litigation        X           Unknown
  Ramirez, Megan                             3342 Bradbury Road- Unit #39                                       Los Alamitos          CA        90720                 Litigation        X           Unknown
  Ramirez, Melina                            15730 Orizaba Ave.                                                 Paramount             CA        90723                 Litigation        X           Unknown
  Ramirez, Michael                           22618 Figueroa Street- Apt. 7                                      Carson                CA        90745                 Litigation        X           Unknown
  Ramirez, Mike                              24522 Marbella Ave.                                                Carson                CA        90745                 Litigation        X           Unknown
  Ramirez, Myrna                             3141 B Doorstone Drive                                             Lathan                NY        12110                 Litigation        X           Unknown
  Ramirez, Natalie                           24319 Sawtooth Court                                               Corona                CA        92883                 Litigation        X           Unknown
  Ramirez, Norberto                          18026 Valley Blvd. Apt. 121                                        Bloomington           CA        92316                 Litigation        X           Unknown
  Ramirez, Patricia                          808 S Garnsey St.                                                  Santa Ana             CA        92701                 Litigation        X           Unknown
  Ramirez, Placido                           1412 Tasker                                                        Hobbs                 NM        88240                 Litigation        X           Unknown
  Ramirez, Ricardo                           2406 S Ridgley Dr, #2                                              Los Angeles           CA        90016                 Litigation        X           Unknown
  Ramirez, Roberto                           4222 Stop 42B                                                      Zapata                TX        78076                 Litigation        X           Unknown
  Ramirez, Ronald James                      6346 Halstead Avenue                                               Alta Loma             CA        91737                 Litigation        X           Unknown
  Ramirez, Sergio                            10786 Claremont Avenue                                             Bloomington           CA        92316                 Litigation        X           Unknown
  Ramirez, Teresa                            9348 Locust Avenue                                                 Fontana               CA        92335                 Litigation        X           Unknown
  Ramirez, Theresa                           445 E 247th Street                                                 Carson                CA        90745                 Litigation        X           Unknown
  Ramirez, Yolanda                           955 1/2 Clela St                                                   Los Angeles           CA        90022                 Litigation        X           Unknown
  Ramirez-Herrera, Beatriz                   24118 Ravenna Avenue                                               Carson                CA        90745                 Litigation        X           Unknown
  Ramirez-Leyva, Ricardo                     2754 Avalon Street                                                 Riverside             CA        92509                 Litigation        X           Unknown
  Ramos Jr., Salvador                        24529 Neptune Avenue                                               Carson                CA        90745                 Litigation        X           Unknown
  Ramos, Daisy                               24529 Neptune Avenue                                               Carson                CA        90745                 Litigation        X           Unknown
  Ramos, Faviola                             24529 Neptune Avenue                                               Carson                CA        90745                 Litigation        X           Unknown
  Ramos, Joseph                              18411 Rieman Street- Apt. 2                                        Adelanto              CA        92301                 Litigation        X           Unknown
  Ramos, Maria                               714 Gardenia Ave                                                   Fort Pierce           FL        34982                 Litigation        X           Unknown
  Ramos, Mayra                               24529 Neptune Avenue                                               Carson                CA        90745                 Litigation        X           Unknown
  Ramos, Miguel                              2003 W Julieann Ave                                                Porterville           CA        93257                 Litigation        X           Unknown



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  Ramos, Rosa                                24529 Neptune Avenue                                              Carson                   CA      90745              Litigation        X           Unknown
  Ramos, Salvador                            3605 W El Segundo Blvd                                            Hawthorne                CA      90250              Litigation        X           Unknown
  Ramos, Salvador                            24529 Neptune Avenue                                              Carson                   CA      90745              Litigation        X           Unknown
  Ramos, Shelley Rey                         10701 Cedar Avenue #73                                            Bloomington              CA      92316              Litigation        X           Unknown
  Ramos, Sylvia                              4363 Altadena Ave.                                                San Diego                CA      92115              Litigation        X           Unknown
  Ramsey, David Carl                         P.O. Box 1855                                                     Barstow                  CA      92312              Litigation        X           Unknown
  Randall Jr, James                          16829 Daisy Avenue                                                Fountain Valley          CA      92708              Litigation        X           Unknown
  Randle Jr., John                           24803 S Neptune Avenue                                            Carson                   CA      90745              Litigation        X           Unknown
  Randle, Tionya                             24803 S Neptune Avenue                                            Carson                   CA      90745              Litigation        X           Unknown
  Randle, Tonya                              24803 S Neptune Avenue                                            Carson                   CA      90745              Litigation        X           Unknown
  Randolph, Adam                             814 Ashebrook Drive, Apt. D                                       Greensboro               NC      27409              Litigation        X           Unknown
  Rante, Joe                                 24807 Island Avenue                                               Carson                   CA      90745              Litigation        X           Unknown
  Rapoport, Frederick                        1726 Wellesley Dr.                                                Santa Monica             CA      90405              Litigation        X           Unknown
  Rappl, Michael                             126 Oakridge Ave.                                                 Tonawanda                NY      14217              Litigation        X           Unknown
  Rascoe, Juliette                           235 Jefferson St.                                                 Bridgeport               CT      06607              Litigation        X           Unknown
  Rasheed, April Yvonne                      800 E. Washington St. Apt. 643                                    Colton                   CA      92324              Litigation        X           Unknown
  Rasmussen, Cecille                         806 S. Water St.                                                  Northfield               MN      55057              Litigation        X           Unknown
  Rasmussen, Robert                          4200 Jackson Ave apt 4004                                         Austin                   TX      78731              Litigation        X           Unknown
  Ratafia, Roberta                           6916 NW 30 Avenue                                                 Fort Lauderdale          FL      33309              Litigation        X           Unknown
  Ratevosian, Seta                           20400 Tuba St.                                                    Chatsworth               CA      91311              Litigation        X           Unknown
  Ratliff, Darryl Eugene                     22738 Lukens Lane                                                 Perris                   CA      92570              Litigation        X           Unknown
  Ratliff, Martha                            45924 70th St East Lancaster                                      CA 93535                 CA      93535              Litigation        X           Unknown
  Rattray, Brenda                            6390 Lincoln Rd.                                                  Cedar                    MI      49621              Litigation        X           Unknown
  Raudino, Salvatore                         200 Lincoln Ave                                                   Staten Island            NY      10306              Litigation        X           Unknown
  Ravelo, Maria                              1734 S.W. 21st Terrace                                            Miami                    FL      33145              Litigation        X           Unknown
  Ravenberg, Dennis                          8629 S. Piper Lane                                                Sandy                    UT      84093              Litigation        X           Unknown
  Ravert, Colleen                            696 Summit Ave.                                                   Philadelphia             PA      19128              Litigation        X           Unknown
  Rawls, Annie                               117 Reed Street                                                   Marion                   AL      36756              Litigation        X           Unknown
  Rawls, Sharon                              6618 Woodland Oaks Dr.                                            Magnolia                 TX      77354              Litigation        X           Unknown
  Ray II, Joseph                             19967 State Route 327                                             Ray                      OH      45672              Litigation        X           Unknown
  Ray, Annie                                 PO Box 181                                                        Bunnlevel                NC      28323              Litigation        X           Unknown
  Ray, Mary Farrar                           3303 La Rue Street                                                Riverside                CA      92509              Litigation        X           Unknown
  Ray, Sharon                                91-1020 Puaniu St., Apt. U                                        Ewa Beach                HI      96706              Litigation        X           Unknown
  Raya, Alex                                 24738 Panama Avenue                                               Carson                   CA      90745              Litigation        X           Unknown
  Raya, Jose                                 24738 Panama Avenue                                               Carson                   CA      90745              Litigation        X           Unknown
  Raya, Tomasa                               24738 Panama Avenue                                               Carson                   CA      90745              Litigation        X           Unknown
  Raymond, Eloise                            131 Private Road 1173                                             Fairfield                TX      75840              Litigation        X           Unknown
  Rayna, Rafael                              7486 Sungold Ave                                                  Corona                   CA      92880              Litigation        X           Unknown
  Raynard, Maxine                            804 Georgian Drive                                                Avon                     NY      14414              Litigation        X           Unknown
  Raynes, Michael                            26 B Matilda Ave                                                  Somerset                 NJ      08873              Litigation        X           Unknown
  Reaben, Joanne                             10701 Cedar Avenue- Space 77                                      Bloomington              CA      92316              Litigation        X           Unknown
  Read, Rhonda                               219 Desoto St.                                                    Ottawa                   IL      61350              Litigation        X           Unknown
  Reades, Dorothy Mae                        130 Long Leaf Road                                                Marion                   SC      29571              Litigation        X           Unknown
  Reading, Kathleen                          37 Minnesota Avenue, #2                                           Buffalo                  NY      14214              Litigation        X           Unknown
  Reagan, F., Jr.                            26340 Century Court                                               Hemet                    CA      92544              Litigation        X           Unknown
  Reardon, Cecilia                           218 E Main St                                                     Centreville              MI      49032              Litigation        X           Unknown
  Reasoner, Debbie                           286 Camp Agape Rd.                                                Benton                   TN      37307              Litigation        X           Unknown
  Rebick, Laura                              764 Bryant St.                                                    Rahway                   NJ      07065              Litigation        X           Unknown
  Rechter, Richard                           10 Stewart Place Apt 9GW                                          White Planes             NY      10603              Litigation        X           Unknown
  Record, Sarah                              344 Long Shadow Drive                                             Murchison                TX      75778              Litigation        X           Unknown



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  Redclay, Jeremiah                          26539 Ocean ViewDr                                                    Malibu                   CA        90265                 Litigation        X           Unknown
  Redd, David                                16511 Garfield Ave., Spc. # 41-D                                      Paramount                CA        90723                 Litigation        X           Unknown
  Redd, Penelope                             16511 Garfield Ave., Sp. # 41-D                                       Paramount                CA        90723                 Litigation        X           Unknown
  Redding, Donald                            308 Karen Dr., Apt B                                                  Galien                   MI        49113                 Litigation        X           Unknown
  Redding, Reginald                          400 W 9th St. Unit 304                                                Cincinnati               OH        45203                 Litigation        X           Unknown
  Redix, James                               9129 S. Halldale Ave.                                                 Los Angeles              CA        90047                 Litigation        X           Unknown
  Redman, Damon                              6668 Ralston St                                                       VenturA                  CA        93003                 Litigation        X           Unknown
  Redmond, Henry Will                        5732 Kenwood Place                                                    Riverside                CA        92509                 Litigation        X           Unknown
  Reece, Daniel                              26522 La Alameda Ste. 200                                             Mission Viejo            CA        92691                 Litigation        X           Unknown
  Reece, Severn                              808 E. 153rd Street                                                   Compton                  CA        90220                 Litigation        X           Unknown
  Reed, Barbara                              435 Brooks Ave.                                                       Upper Rochester          NY        14619                 Litigation        X           Unknown
  Reed, Carol                                28128 Pacific Coast Highway, #113                                     Malibu                   CA        90265                 Litigation        X           Unknown
  Reed, Clifford                             PO Box 48                                                             Brady                    NE        69123                 Litigation        X           Unknown
  Reed, Deborah                              PO Box 19                                                             Carthage                 MO        64836                 Litigation        X           Unknown
  Reed, Fletcher                             2405 Hidden Oak Court                                                 Ceres                    CA        95307                 Litigation        X           Unknown
  Reed, Jane                                 3574 Bomont Road                                                      Bomont                   WV        25030                 Litigation        X           Unknown
  Reed, Marion                               3230 Rocky Springs Rd.                                                Piney Flats              TN        37686                 Litigation        X           Unknown
  Reed, Nora                                 6198 Gatewood Road                                                    Fayetteville             WV        25840                 Litigation        X           Unknown
  Reeder, Jr., Charles                       5033 Orchard Dr.                                                      Ellicott City            MD        21043                 Litigation        X           Unknown
  Reedy, Teresa                              1101 Kellum Street, Apt. C207                                         Fairbanks                AK        99701                 Litigation        X           Unknown
  Reese, Alfonso L.                          11125 Prairie Avenue                                                  Inglewood                CA        90303                 Litigation        X           Unknown
  Reese, Josephine                           4273 Dollar Mill Way S.W.                                             Atlanta                  GA        30331                 Litigation        X           Unknown
  Reese, Luther                              165 Fire Tower Road                                                   Cordova                  AL        35550                 Litigation        X           Unknown
  Reeser, Robert                             4205 Eleventh Ave. East                                               Brabenton                FL        34208                 Litigation        X           Unknown
  Reeves, Rena                               1710 Magnolia Blvd. Apt 402                                           Nashville                TN      37212-3763              Litigation        X           Unknown
  Regalado, Romana A.                        5748 29th Street                                                      Riverside                CA        92509                 Litigation        X           Unknown
  Reich, Susan                               4089 S Kings Highway                                                  Chase                    MI        49623                 Litigation        X           Unknown
  Reichert, Maryann                          4205 Auburn Way South, Trailer #69                                    Auburn                   WA        98092                 Litigation        X           Unknown
  Reid, Janice Annette                       10143 Cypress Avenue                                                  Riverside                CA        92503                 Litigation        X           Unknown
  Reid, Kathy                                6012 Leeshire Trce                                                    Tucker                   GA        30084                 Litigation        X           Unknown
  Reid, Ricky Allen                          1113 SW 58th St                                                       Oklahoma City            OK        73109                 Litigation        X           Unknown
  Reilly, Karen                              526 Saylor Ave.                                                       Elmhurst                 IL        60126                 Litigation        X           Unknown
  Reilly, Patricia                           505 E. Laurel Street                                                  Oxnard                   CA        93033                 Litigation        X           Unknown
  Reimel, James                              513 Bergen St.                                                        Gloucester City          NJ        08030                 Litigation        X           Unknown
  Reinhardt, David Sr.                       3825 Crestmore Road Space 416                                         Riverside                CA        92509                 Litigation        X           Unknown
  Reinschmidt, Dennie                        10880 North 2260 Road                                                 Clinton                  OK        73601                 Litigation        X           Unknown
  Reiss, Mark                                817 E Poplar Street                                                   Taylorville              IL        62568                 Litigation        X           Unknown
  Rejouis, Chiniquy                          7 Kearny Ct                                                           Newport News             VA        23608                 Litigation        X           Unknown
  Remaro Johnson, Darline                    5718 College Ave.                                                     Kansas City              MO        64130                 Litigation        X           Unknown
  Rembert, Bettie                            9401 Wilson Blvd., Lot 359                                            Columbia                 SC        29203                 Litigation        X           Unknown
  Rembert, Liz                               24690 Thormdyke St.                                                   Southfield               MI        48033                 Litigation        X           Unknown
  Remley, Bernice                            828 Nelson Drive                                                      Kingston                 TN        37763                 Litigation        X           Unknown
  Remnant, Joshua                            535 Watervliet Ave.                                                   Dayton                   OH        45420                 Litigation        X           Unknown
  Rendon, Maria                              24532 Ravenna Avenue                                                  Carson                   CA        90745                 Litigation        X           Unknown
  Rendon, Robert                             3490 Bella Valencia Court                                             Las Vegas                NV        89141                 Litigation        X           Unknown
  Rendon-Aguilar, Esther                     24619 Island Avenue                                                   Carson                   CA        90745                 Litigation        X           Unknown
  Renes, Irene                               411 Southbridge Blvd. Apt. #204                                       Savannah                 GA        31405                 Litigation        X           Unknown
  Renfroe, Martha                            12905 Piccadilly Circle #1                                            Lenexa                   KS        66215                 Litigation        X           Unknown
  Renfrow, Shanna                            29County Road 620                                                     Corinth                  MS        38834                 Litigation        X           Unknown
  Rennie, Earl                               9341 E Elm Lane                                                       Hollywood                FL        33025                 Litigation        X           Unknown



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  Rentz, Elizabeth                           271 Winewood Street                                                 San Diego                CA        92114                 Litigation        X           Unknown
  Repulski, Jean                             RTS - 415 Sixth Street S.E. #103                                    Little Falls             MN        56301                 Litigation        X           Unknown
  Requa, Nicole Michelle                     1406 Kirkmichael Circle                                             Riverside                CA        92507                 Litigation        X           Unknown
  Resby, Sally                               3789 Well View Court                                                Snellville               GA        30039                 Litigation        X           Unknown
  Reserva Jr., Douglas                       24514 Island Avenue                                                 Carson                   CA        90745                 Litigation        X           Unknown
  Reserva, Douglas                           24514 Island Avenue                                                 Carson                   CA        90745                 Litigation        X           Unknown
  Reserva, Rosemary                          24514 Island Avenue                                                 Carson                   CA        90745                 Litigation        X           Unknown
  Reuter, Phillipa                           1201 Rose Hill Road                                                 Kaukauna                 WI        54130                 Litigation        X           Unknown
  Revoir, Richard                            1904 York Street                                                    Bloomer                  WI        54724                 Litigation        X           Unknown
  Reyes Jr., Alfredo                         10320 Boulder Lane #1318                                            Austin                   TX        78726                 Litigation        X           Unknown
  Reyes Jr., Osvaldo Alvarez                 2720 Hall Avenue                                                    Riverside                CA        92509                 Litigation        X           Unknown
  Reyes, Allan                               2250 West Mill Street- #95                                          Colton                   CA        92324                 Litigation        X           Unknown
  Reyes, Danielle Paulette                   2720 Hall Avenue                                                    Riverside                CA        92509                 Litigation        X           Unknown
  Reyes, Elvira                              6232 Hefley Street- Apt. B                                          Westminster              CA        92683                 Litigation        X           Unknown
  Reyes, Ernesto                             23537 Christy Way                                                   Murrieta                 CA        92562                 Litigation        X           Unknown
  Reyes, Jeremy                              12665 Village Lane- Apt. 4301                                       Playa Vista              CA        90094                 Litigation        X           Unknown
  Reyes, Jonathan                            237 San Marino                                                      Irvine                   CA        92614                 Litigation        X           Unknown
  Reyes, Jonathan E.                         23537 Christy Way                                                   Murrieta                 CA        92562                 Litigation        X           Unknown
  Reyes, Jose                                8121 Muskoka Falls St                                               N. Las Vegas             NV        89085                 Litigation        X           Unknown
  Reyes, Joshua                              6807 E Pinnacle Pointe                                              Orange                   CA        92869                 Litigation        X           Unknown
  Reyes, Marcelina                           10442 Napa Rd.                                                      Adelanto                 CA        92301                 Litigation        X           Unknown
  Reyes, Maria                               175 Overlook Trail                                                  Azle                     TX        76020                 Litigation        X           Unknown
  Reyes, Stanley Anthony                     2023 E Westport Dr. Apt 2                                           Anaheim                  CA        92806                 Litigation        X           Unknown
  Reyes, Susan                               237 San Marino                                                      Irvine                   CA        92614                 Litigation        X           Unknown
  Reyes, Taylor                              23537 Christy Way                                                   Murrieta                 CA        92562                 Litigation        X           Unknown
  Reyes, Vivian                              23537 Christy Way                                                   Murrieta                 CA        92562                 Litigation        X           Unknown
  Reyes, Zerandy                             55 Pasto Rico                                                       Rancho Santa Margarita   CA        92688                 Litigation        X           Unknown
  Reyna, Antonio                             8044 Rosecrans Ave.                                                 Paramount                CA        90723                 Litigation        X           Unknown
  Reynolds, Byron Charles                    17910 Pearmain St. Apt B.                                           Adelanto                 CA        92301                 Litigation        X           Unknown
  Reynolds, Leana                            23215 Ironwood Ave. #40                                             Moreno Valley            CA      92557-8016              Litigation        X           Unknown
  Reynolds, Roger                            9609 Presthope Dr.                                                  Frisco                   TX        75035                 Litigation        X           Unknown
  Reynolds, William                          14900 County Road 13                                                Rush                     CO        80833                 Litigation        X           Unknown
  Reynoso, Yolanda                           444 E 248th Street                                                  Carson                   CA        90745                 Litigation        X           Unknown
  Rhea, Steven                               105 Tutle Lane                                                      Tolusa                   CA        95932                 Litigation        X           Unknown
  Rhodes, II, Joe                            10454 Morang Dr.                                                    Detroit                  MI        48224                 Litigation        X           Unknown
  Ricard, Aline                              580 N 8th Ave                                                       Pensacola                FL        32501                 Litigation        X           Unknown
  Ricard, David                              15 West Prescott Street                                             Westford                 MA        01886                 Litigation        X           Unknown
  Riccio, Deborah                            275 Broad St. Apt 7                                                 Meriden                  CT        06450                 Litigation        X           Unknown
  Rice, Alma                                 75 Ford Drive                                                       Trenton                  GA        30752                 Litigation        X           Unknown
  Rice, Claudia Ann                          P.O. Box 1732                                                       Running Springs          CA        92382                 Litigation        X           Unknown
  Rice, Esther                               PO Box 262                                                          Leesville                TX        78122                 Litigation        X           Unknown
  Rice, Garney                               1303 Motorola Dr.                                                   Pontiac                  IL        61764                 Litigation        X           Unknown
  Rice, Pamela Ann                           12035 Cactus Avenue                                                 Bloomington              CA        92316                 Litigation        X           Unknown
  Rice, Steven                               1523 S. First Street                                                Springfield              IL        62704                 Litigation        X           Unknown
  Rice, Sylvia                               316 West Polk                                                       Colorado Springs         CO        80907                 Litigation        X           Unknown
  Rich, James                                1026 E. Moses Street                                                Cushing                  OK        74023                 Litigation        X           Unknown
  Rich, Mary Ann                             5972 Adobe Rd                                                       Twentynine Palms         CA        92277                 Litigation        X           Unknown
  Richard, Patricia                          4222 Clara Drive                                                    West Memphis             AR        72301                 Litigation        X           Unknown
  Richard, Sr., Earl                         326 19th Avenue                                                     Vero Beach               FL        32962                 Litigation        X           Unknown
  Richards, David                            4209 San Carlos                                                     Dallas                   TX        75205                 Litigation        X           Unknown



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  Richardson, Bobby                          806 Myra Street                                                   Spooner                 WI        54801                 Litigation        X           Unknown
  Richardson, Damien Antwon                  18554 Bellflower St.                                              Adelanto                CA        92301                 Litigation        X           Unknown
  Richardson, Earl Gene                      RTS - P.O. Box 44586                                              Los Angeles             CA      90044-0586              Litigation        X           Unknown
  Richardson, Edelen                         230 Sunrise Drive                                                 Greer                   SC        29651                 Litigation        X           Unknown
  Richardson, James M.                       7921 St. Charles St.                                              N.E. Keizer             OR        97304                 Litigation        X           Unknown
  Richardson, Louise                         36624 Farmbrook Drive Apt. 37                                     Clinton                 MI        48035                 Litigation        X           Unknown
  Richardson, Margaret                       143 Little John Lane                                              Sumpter                 SC        29153                 Litigation        X           Unknown
  Richardson, Mike                           7310 Covewood Drive                                               Garland                 TX        75044                 Litigation        X           Unknown
  Richardson, Parilee                        13029 Paxton                                                      Pacoima                 CA        91331                 Litigation        X           Unknown
  Richardson, Patricia                       146 Utica Ave. #1                                                 Brooklyn                NY        11213                 Litigation        X           Unknown
  Richardson, Robert Lee                     3468 2nd Ave.                                                     Los Angeles             CA        90018                 Litigation        X           Unknown
  Richardson, Sharon                         632 POcket Rd.                                                    Dralington              DC        29532                 Litigation        X           Unknown
  Richardson, Sr., Charles                   900 Marlborough Rd                                                Raleigh                 NC        27610                 Litigation        X           Unknown
  Richardson, Sybil                          PO Box 608                                                        Kirbyville              TX        75956                 Litigation        X           Unknown
  Richman, Emily                             1619 3rd Ave Apt 10GE                                             New York                NY        10128                 Litigation        X           Unknown
  Rick Zeff                                  27465 Latigo Bay View                                             Malibu                  CA        90265                 Litigation        X           Unknown
  Rickert, Sandra                            15200 Hardin Ln.                                                  St. Robert              MO        65584                 Litigation        X           Unknown
  Ricketts Jr., Robert                       7 Curved Creek Way                                                Ormond Beach            FL        32174                 Litigation        X           Unknown
  Rickhoff , Donna                           7950 E. Camelback Rd. Apt. 305                                    Scottsdale              AZ        85251                 Litigation        X           Unknown
  Ricks, Gene                                17506 Northhagan Drive                                            Houston                 TX        77084                 Litigation        X           Unknown
  Rico, Fernando                             1828 Strathmore Pl                                                West Covina             CA        91792                 Litigation        X           Unknown
  Rico, Libertad                             116 Sedona Way                                                    Palm Beach Gardens      FL      33418-1712              Litigation        X           Unknown
  Riddell, Tyler                             23 Quantock Hills Lane                                            Bella Vista             AR        72715                 Litigation        X           Unknown
  Rieder, Harry                              29 Sanders Drive                                                  Florence                KY        41042                 Litigation        X           Unknown
  Riegler, Bonnie                            131 Murano Ave                                                    Monroe                  NJ        08831                 Litigation        X           Unknown
  Riggins, Ranee                             15862 N. Crystal Springs Drive                                    Palm Springs            CA        92262                 Litigation        X           Unknown
  Riggs, Jr., John                           16251 Swan Avenue                                                 Oregon City             OR        97045                 Litigation        X           Unknown
  Riggs, Lemuel                              127 Brantwood Drive.                                              Elizabeth City          NC        27909                 Litigation        X           Unknown
  Riggs, Mylah                               RTS - 7240 Petrol St. # 7                                         Paramount               CA        90723                 Litigation        X           Unknown
  Riggs, Myleiyah                            RTS - 7240 Petrol St. # 7                                         Paramount               CA        90723                 Litigation        X           Unknown
  Riggs, Myloni                              7240 Petrol St. # 7                                               Paramount               CA        90723                 Litigation        X           Unknown
  Rigsby, Tyrone                             1115 Camden Avenue                                                High Point              NC        27260                 Litigation        X           Unknown
  Rigunay Sr., Faustino                      2009 Erwin Road                                                   El Centro               CA        92243                 Litigation        X           Unknown
  Rihani, Odeh                               8501 Cherry Hills Drive NE                                        Albuquerque             NM        87111                 Litigation        X           Unknown
  Rikstad, Eilleen                           2090 Brixton Place                                                Meridian                ID      83642-1855              Litigation        X           Unknown
  Riley, Candace                             2831 Razor Way                                                    Riverside               CA        92509                 Litigation        X           Unknown
  Riley, Franklin                            5322 W. 99th Place, #9                                            Los Angeles             CA        90045                 Litigation        X           Unknown
  Riley, James G.                            164 Sawyer Avenue, C3                                             Tonawanda               NY        14150                 Litigation        X           Unknown
  Riley, Jeffery                             1 Neds Point Rd.                                                  Mattapoisett            MA        02739                 Litigation        X           Unknown
  Riley, Judy                                14325 Edwinola Way, Apt. #103                                     Dade City               FL        33523                 Litigation        X           Unknown
  Riley, Laura                               2990 Frazier Lane                                                 Colorado Springs        CO        80922                 Litigation        X           Unknown
  Riley, Mary J.                             193 Marilyn Dr.                                                   Grand Island            NY        14072                 Litigation        X           Unknown
  Riley, Paul                                15410 Dale Evans Pkwy                                             Apple Valley            CA        92307                 Litigation        X           Unknown
  Rios, Arturo                               24718 Neptune Avenue                                              Carson                  CA        90745                 Litigation        X           Unknown
  Rios, Evelia                               24718 Neptune Avenue                                              Carson                  CA        90745                 Litigation        X           Unknown
  Riotto, Phyllis                            964 ArKansas Drive                                                ElK Grove Village       IL        60007                 Litigation        X           Unknown
  Riplie, James                              2902 Flintridge Way                                               Colorado Springs        CO        80918                 Litigation        X           Unknown
  Risewick, Kenneth                          1323 S. 217th W. Place                                            Sand Springs            OK        74063                 Litigation        X           Unknown
  Rising, Evelyn                             5414 A 34’" Street                                                Lubbock                 TX        79407                 Litigation        X           Unknown
  Ritchie, James                             1863 Calendar Rd NE                                               Brookhaven              MS        39601                 Litigation        X           Unknown



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  Ritter, Teressa                            2133 Sacramento Street                                                Bakersfield             CA      93305              Litigation        X           Unknown
  Rivas, Dora                                18319 Ferncliffe Ave.                                                 Cleveland               OH      44135              Litigation        X           Unknown
  Rivas, Erin                                3530 Josie Ave                                                        Long Beach              CA      90808              Litigation        X           Unknown
  Rivas, Juanita                             348 E 248th Street                                                    Carson                  CA      90745              Litigation        X           Unknown
  Rivas, Maryann D.                          4302 Pacific Avenue                                                   Riverside               CA      92509              Litigation        X           Unknown
  Rivas, Reynaldo                            348 E 248th Street                                                    Carson                  CA      90745              Litigation        X           Unknown
  Rivas, Sara                                3530 Josie Ave                                                        Long Beach              CA      90808              Litigation        X           Unknown
  Rivas, Veronica                            348 E 248th Street                                                    Carson                  CA      90745              Litigation        X           Unknown
  Rivera, Andres                             15142 Orizaba Ave                                                     Paramount               CA      90723              Litigation        X           Unknown
  Rivera, Daisy                              340 Alexander Ave. #18B                                               Bronx                   NY      10454              Litigation        X           Unknown
  Rivera, Deanna                             3029 San Francisco Avenue                                             Long Beach              CA      90806              Litigation        X           Unknown
  Rivera, Elizabeth                          1333 1st Avenue                                                       Watervliet              NY      12189              Litigation        X           Unknown
  Rivera, Ernesto Leroy                      40704 Fieldsprings St.                                                Lancaster               CA      93535              Litigation        X           Unknown
  Rivera, Gilbert                            PO Box 27                                                             Oro Grande              CA      92368              Litigation        X           Unknown
  Rivera, James                              24508 Neptune Avenue                                                  Carson                  CA      90745              Litigation        X           Unknown
  Rivera, Jasmine                            2965 Valentine Ave. Apt. 5B                                           Bronx                   NY      10458              Litigation        X           Unknown
  Rivera, Jose                               65 Northwest Rd                                                       Westfield               MA      01085              Litigation        X           Unknown
  Rivera, Jr., Raymond                       41-682 Hanalulu Place                                                 Waimanalo               HI      96795              Litigation        X           Unknown
  Rivera, Lydia                              24508 Neptune Avenue                                                  Carson                  CA      90745              Litigation        X           Unknown
  Rivera, Otilia Guerra                      PO Box 27                                                             Oro Grande              CA      92368              Litigation        X           Unknown
  Rivera, Patricia                           1014 S. Evans Street, Apt 2                                           San Diego               CA      92113              Litigation        X           Unknown
  Rivera, Pedro                              709 Kershaw Drive                                                     North Augusta           SC      29841              Litigation        X           Unknown
  Rivera, Ramon                              8307 Quinby St.                                                       Paramount               CA      90723              Litigation        X           Unknown
  Rivera, Ruperto C.                         4206 Bellaire Avenue                                                  Studio City             CA      91604              Litigation        X           Unknown
  Rivera, Steven                             24508 Neptune Avenue                                                  Carson                  CA      90745              Litigation        X           Unknown
  Rivera, Vicenta                            3836 Valley Fordge Ave.                                               Las Vegas               NV      89110              Litigation        X           Unknown
  Riveroll, Sandra                           1818 Walworth Street                                                  Greenville              TX      75401              Litigation        X           Unknown
  Rivers Sr., John                           508 Kingston Ave. North                                               Atlantic Beach          NC      25812              Litigation        X           Unknown
  Rivers, Anton                              955 E. Chelten Avenue                                                 Philadelphia            PA      19138              Litigation        X           Unknown
  Rivers, Evelyn                             102 T.F. Rivers Rd.                                                   Chesterfield            SC      29709              Litigation        X           Unknown
  Rivers, Melanie                            1828 Pine Valley Drive                  Unit 112                      Fort Myers              FL      33907              Litigation        X           Unknown
  Rivers, Thomas                             190 Grady W. Lane                                                     Carthage                NC      28327              Litigation        X           Unknown
  Roa, Raymond R.                            1080 N. 2nd Street                                                    Colton                  CA      92324              Litigation        X           Unknown
  Roacho, Yvonne                             19514 Kiningham Drive                                                 Bloomington             CA      92316              Litigation        X           Unknown
  Robb, Randall L.                           25811 Via Cruz                                                        Valencia                CA      91355              Litigation        X           Unknown
  Robbins, Ailean                            416 Goucher Green Bethel Road                                         Gaffney                 SC      29340              Litigation        X           Unknown
  Robbins, Jimmy                             10756 East 1000                                                       Kendallville            FL      46755              Litigation        X           Unknown
  Robbins, Mark                              11892 Lancewood Drive                                                 Moreno Valley           CA      92557              Litigation        X           Unknown
  Robbins, Shirley                           10756 East 1000 North                                                 Kendalville             IN      46755              Litigation        X           Unknown
  Roberson, Johnny                           169 Lance Road                                                        Murphy                  NC      28906              Litigation        X           Unknown
  Roberson, Mary Leona                       1230 Valencia Ave- Apt B                                              Hemet                   CA      92543              Litigation        X           Unknown
  Roberts, Darron                            P.O. Box 3073                                                         Riverside               CA      92519              Litigation        X           Unknown
  Roberts, Dick                              26787 6th St                                                          Highland                CA      92346              Litigation        X           Unknown
  Roberts, Emilie                            6371 Black Deer Court                                                 Sparks                  NV      89436              Litigation        X           Unknown
  Roberts, Grant                             3216 SE 5th Street                                                    Renton                  WA      98058              Litigation        X           Unknown
  Roberts, Jerry                             520 E 8th Street                                                      Cherokee                OK      73728              Litigation        X           Unknown
  Roberts, Lannie                            100 Melinda Dr                                                        Stockbridge             GA      30281              Litigation        X           Unknown
  Roberts, Laqretta                          7246 Petrol # 4                                                       Paramount               CA      90723              Litigation        X           Unknown
  Roberts, Loretta                           12802 N. HWY 3                                                        Louisa                  KY      41230              Litigation        X           Unknown
  Roberts, Madel                             13297 North Aswan Road                                                Opa Locka               FL      33054              Litigation        X           Unknown



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  Roberts, Michael                           4668 Fowler Dr                                                    Morristown               TN      37814              Litigation        X           Unknown
  Roberts, Odessa M.                         122 Allenhurst                                                    Los Angeles              CA      90061              Litigation        X           Unknown
  Roberts, Orville                           2 Candlewood Drive, Apt. 3                                        Springfield              IL      62704              Litigation        X           Unknown
  Roberts, Shelton                           2212 Cherry Leaf Lane                                             Silver Spring            MD      20906              Litigation        X           Unknown
  Roberts, Susan                             11035 "T" Plaza, Apt. 101                                         Omaha                    NE      68137              Litigation        X           Unknown
  Roberts, Willis James                      6591 De Palma                                                     Riverside                CA      92509              Litigation        X           Unknown
  Roberts, Yolanda                           1600 Aster Dr. Apt. 74                                            Antioch                  CA      94509              Litigation        X           Unknown
  Robertson III, George                      PO Box 470347                                                     Los Angeles              CA      90047              Litigation        X           Unknown
  Robertson Sr, James                        391 E. Main                                                       Benton                   WI      53803              Litigation        X           Unknown
  Robertson, Bessie                          7533 Shep Royster Road                                            Oxford                   NC      27565              Litigation        X           Unknown
  Robertson, Gwendolyn                       11853 Menlo Ave                                                   Los Angeles              CA      90044              Litigation        X           Unknown
  Robertson, Isiah                           P.O. Box 1405                                                     Mabank                   TX      75147              Litigation        X           Unknown
  Robertson, Robert                          6637 South 75 E. Avenue                                           Tulsa                    OK      74133              Litigation        X           Unknown
  Robertson, Seymour                         3186 Via Iris                                                     Carlsbad                 CA      92009              Litigation        X           Unknown
  Robertson, Sheila                          255 Davis Lane                                                    Oneonta                  AL      35121              Litigation        X           Unknown
  Robinson, Angela                           583 Delaware Rd.                                                  Buffalo                  NY      14223              Litigation        X           Unknown
  Robinson, Betty                            18547 Binder Street                                               Detroit                  MI      48234              Litigation        X           Unknown
  Robinson, Beverly                          14951 Mia Drive                                                   Carmel                   IN      46033              Litigation        X           Unknown
  Robinson, Dana                             1347 E 21th Ave.                                                  Columbus                 OH      43211              Litigation        X           Unknown
  Robinson, Emily                            1320 N Hayworth Ave, #1                                           W Hollywood              CA      90046              Litigation        X           Unknown
  Robinson, Esther                           110 Missouri Avenue                                               Beckley                  WV      25801              Litigation        X           Unknown
  Robinson, Hattie                           8339 Sussex St.                                                   Detroit                  MI      48228              Litigation        X           Unknown
  Robinson, James                            23922 Broadhorn Dr.                                               Laguna Niguel            CA      92677              Litigation        X           Unknown
  Robinson, Jeannette                        561 Rose Marie Avenue                                             Virginia Beach           VA      23462              Litigation        X           Unknown
  Robinson, June                             1328 Van Buren St. N.W.                                           Washington               DC      20012              Litigation        X           Unknown
  Robinson, Mabelene                         406 Edwards                                                       College Station          TX      77480              Litigation        X           Unknown
  Robinson, Ralph                            P.O. Box 340576                                                   Jamaica                  NY      11434              Litigation        X           Unknown
  Robinson, Raymond                          605 E Smith Ave                                                   Crowley                  TX      76036              Litigation        X           Unknown
  Robishaw, William                          4901 Seminary Rd., Apt 1420                                       Alexandria               VA      22311              Litigation        X           Unknown
  Robles, Aracely                            6627 Piccadilly Street                                            Riverside                CA      92506              Litigation        X           Unknown
  Robles, Crystal                            347 E 244th Street                                                Carson                   CA      90745              Litigation        X           Unknown
  Robles, Lazaro                             6227 Piccadilly Street                                            Riverside                CA      92506              Litigation        X           Unknown
  Robles, Mario                              2453 Daladier Drive                                               Rancho Palos Verdes      CA      90275              Litigation        X           Unknown
  Robles, Ricardo Mr & Mrs                   513 N Lastina Ave                                                 Tu;are                   CA      93274              Litigation        X           Unknown
  Robles, Rita                               451 E 249th Street                                                Carson                   CA      90745              Litigation        X           Unknown
  Robles, Salvador                           3620 Grandview Avenue                                             Riverside                CA      92509              Litigation        X           Unknown
  Robnett, Barbara Faye                      Post Office Box 921632                                            Sylmar                   CA      91392              Litigation        X           Unknown
  Roby, Mary                                 2629 W Roosevelt Dr. # 2                                          Milwaukee                WI      53209              Litigation        X           Unknown
  Rocha, Alfredo                             894 West H Street                                                 Colton                   CA      92324              Litigation        X           Unknown
  Rocha, Antone                              367 Dwelly Street                                                 Fall River               MA      02724              Litigation        X           Unknown
  Rocha, Shirley                             1318 East Mary Street                                             Ottumwa                  IA      52501              Litigation        X           Unknown
  Rocklin, Michelle                          23541 Victory Blvd. #4                                            West Hills               CA      91307              Litigation        X           Unknown
  Rodarte Jr., Rogelio                       8044 Rosecrans Ave.                                               Paramount                CA      90723              Litigation        X           Unknown
  Rodd, Cecilia                              964 Parkway Dr.                                                   Wesst Wendover           NV      89883              Litigation        X           Unknown
  Rodela, Alfred                             21278 Sitting Bull Road Apt A                                     Apple Valley             CA      92308              Litigation        X           Unknown
  Rodenbaugh, Jeanette                       55 Jefferson St. Apt. F                                           North Attleborough       MA      02760              Litigation        X           Unknown
  Rodgers, Jayden                            PO Box 1155                                                       Paramount                CA      90723              Litigation        X           Unknown
  Rodgers, Jr., Alvin                        1362 Lawson Circle                                                Suffolk                  VA      23434              Litigation        X           Unknown
  Rodgers, Larry                             204 Banyan Dr.                                                    Beaufort                 SC      29906              Litigation        X           Unknown
  Rodgers, Richard                           11860 Bell Cross Circle                                           Parker                   CO      80138              Litigation        X           Unknown



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  Rodgres, Rayonnie                           PO Box 1155                                                     Paramount               CA        90723                 Litigation        X           Unknown
  Rodriguez, Adam Ray                         18869 11th Street                                               Bloomington             CA        92316                 Litigation        X           Unknown
  Rodriguez, Anabel                           1036 Bay View Ave.                                              Wilmington              CA        90744                 Litigation        X           Unknown
  Rodriguez, Andrew                           2554 E 218th Street                                             Carson                  CA        90810                 Litigation        X           Unknown
  Rodriguez, Araceli                          360 E 248th Street                                              Carson                  CA        90745                 Litigation        X           Unknown
  Rodriguez, Belkys                           2504 27th St. SW                                                Leehigh Acres           FL        33976                 Litigation        X           Unknown
  Rodriguez, Betty M.                         7593 Pawling Place                                              Columbus                OH        43235                 Litigation        X           Unknown
  Rodriguez, Brigido                          2904 Lebanon                                                    El Paso                 TX        79930                 Litigation        X           Unknown
  Rodriguez, Christina                        1512 Plymouth Ln                                                San Pedro               CA        90732                 Litigation        X           Unknown
  Rodriguez, Christopher Andrew               18869 11th Street                                               Bloomington             CA        92316                 Litigation        X           Unknown
  Rodriguez, Cristela                         120 Jefferson Rd.                                               Waldorf                 MD        20602                 Litigation        X           Unknown
  Rodriguez, Daniel D.                        24716 Marbella Avenue                                           Carson                  CA        90745                 Litigation        X           Unknown
  Rodriguez, David                            7331 I Avenue                                                   Hesperia                CA        92345                 Litigation        X           Unknown
  Rodriguez, David                            204 E Cypress Street                                            Covina                  CA      91723-1119              Litigation        X           Unknown
  Rodriguez, Emily                            7331 I Avenue                                                   Hesperia                CA        92345                 Litigation        X           Unknown
  Rodriguez, Emma                             24623 Marbella Avenue                                           Carson                  CA        90745                 Litigation        X           Unknown
  Rodriguez, Enrique                          24726 Ravenna Avenue                                            Carson                  CA        90745                 Litigation        X           Unknown
  Rodriguez, Estanislada                      18821 3rd Street                                                Bloomington             CA        92316                 Litigation        X           Unknown
  Rodriguez, Esteban                          922 W 8th Street                                                San Pedro               CA        90731                 Litigation        X           Unknown
  Rodriguez, Esther                           24726 Ravenna Avenue                                            Carson                  CA        90745                 Litigation        X           Unknown
  Rodriguez, Fredrick                         2554 E 218th Street                                             Carson                  CA        90810                 Litigation        X           Unknown
  Rodriguez, Guadalupe                        PO Box 94                                                       Canal Point             FL        33438                 Litigation        X           Unknown
  Rodriguez, Guadalupe C.                     P. O. Box 3752                                                  Corpus Christi          TX        78463                 Litigation        X           Unknown
  Rodriguez, Helen                            2554 E 218th Street                                             Carson                  CA        90810                 Litigation        X           Unknown
  Rodriguez, Javier                           360 E 248th Street                                              Carson                  CA        90745                 Litigation        X           Unknown
  Rodriguez, Jenny                            24406 Panama Avenue                                             Carson                  CA        90745                 Litigation        X           Unknown
  Rodriguez, Jose                             24716 Marbella Avenue                                           Carson                  CA        90745                 Litigation        X           Unknown
  Rodriguez, Juan                             5658 28th Street                                                Riverside               CA        92509                 Litigation        X           Unknown
  Rodriguez, Lacy                             1406 Tasker                                                     Hobbs                   NM        88240                 Litigation        X           Unknown
  Rodriguez, Lisa                             1728 Curtis St. Apt. D                                          Berkeley                CA        94702                 Litigation        X           Unknown
  Rodriguez, Lorena                           24726 Ravenna Avenue                                            Carson                  CA        90745                 Litigation        X           Unknown
  Rodriguez, Loretta                          7811 Caenen Lake Road                                           Lenexa                  KS        66216                 Litigation        X           Unknown
  Rodriguez, Maria                            5658 28th Street                                                Riverside               CA        92509                 Litigation        X           Unknown
  Rodriguez, Maria                            922 W 8th Street                                                San Pedro               CA        90731                 Litigation        X           Unknown
  Rodriguez, Maria                            24726 Ravenna Avenue                                            Carson                  CA        90745                 Litigation        X           Unknown
  Rodriguez, Martha                           8505 April Sound Court                                          Tampa                   FL        33634                 Litigation        X           Unknown
  Rodriguez, Matthew Gilbert/ Rios            9235 Balfour St                                                 pico Rivera             CA        90660                 Litigation        X           Unknown
  Rodriguez, Michael                          PO Box 854                                                      Farmersville            TX        75442                 Litigation        X           Unknown
  Rodriguez, Natalia                          3424 Gosling St.                                                Las Vegas               NV        89117                 Litigation        X           Unknown
  Rodriguez, Norma                            PO Box 3661                                                     Lakewood                CA        90711                 Litigation        X           Unknown
  Rodriguez, Pauline                          18869 11th Street                                               Bloomington             CA        92316                 Litigation        X           Unknown
  Rodriguez, Pete                             24406 Panama Avenue                                             San Pedro               CA        90732                 Litigation        X           Unknown
  Rodriguez, Ralph                            28 Forest Lane                                                  Brewster                NY        10509                 Litigation        X           Unknown
  Rodriguez, Rebecca                          24726 Ravenna Avenue                                            Carson                  CA        90745                 Litigation        X           Unknown
  Rodriguez, Ricardo                          7610 Muleshoe Lane                                              San Antonio             TX        78227                 Litigation        X           Unknown
  Rodriguez, Ricardo                          24726 Ravenna Avenue                                            Carson                  CA        90745                 Litigation        X           Unknown
  Rodriguez, Roberto                          11938 Highdale St.                                              Norwalk                 CA        90650                 Litigation        X           Unknown
  Rodriguez, San Juanita                      571 Waugh Way                                                   Bastrop                 TX        78602                 Litigation        X           Unknown
  Rodriguez, Sara                             20 Bethany Street                                               New Brunswick           NJ        08901                 Litigation        X           Unknown
  Rodriguez, Sonia                            24726 Ravenna Avenue                                            Carson                  CA        90745                 Litigation        X           Unknown



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  Rodriguez, Susan                           3440 Wilshire Blvd.- Ste. 810                                       Los Angeles                CA        90010                 Litigation        X           Unknown
  Rodriguez, Virginia                        19340 Jurupa Avenue                                                 Bloomington                CA        92316                 Litigation        X           Unknown
  Rodriguez-Baron, Edgar                     21240 Markham St                                                    Perris                     CA        92570                 Litigation        X           Unknown
  Roeder, Leo                                455 E 249th Street                                                  Carson                     CA        90745                 Litigation        X           Unknown
  Roeder, Nicholas                           455 E 249th Street                                                  Carson                     CA        90745                 Litigation        X           Unknown
  Roeder, Rose                               455 E 249th Street                                                  Carson                     CA        90745                 Litigation        X           Unknown
  Roeder, Sebastian                          455 E 249th Street                                                  Carson                     CA        90745                 Litigation        X           Unknown
  Rogan, Dee Dee                             3447 Daly Ave.                                                      Riverside                  CA        92509                 Litigation        X           Unknown
  Rogers, Betty                              P.O. Box 483                                                        Momence                    IL        60954                 Litigation        X           Unknown
  Rogers, Charles                            450 Gholdston Dr                                                    Dayton                     TN        37321                 Litigation        X           Unknown
  Rogers, Freida                             1216 Sugarwood Circle Apt. G                                        Essex                      MD        21221                 Litigation        X           Unknown
  Rogers, George                             37 Moriarty St. NW                                                  Fort Walton Beach          FL        32548                 Litigation        X           Unknown
  Rogers, Linda                              1898 12 1/2 Avenue Lot 14                                           Cameron                    WI        54822                 Litigation        X           Unknown
  Rogers, Rhonda                             1205 E 117th Street, Apt 2                                          Kansas City                MO        64131                 Litigation        X           Unknown
  Rogers, Rita                               934 E. Riverview Blvd.                                              Inglewood                  CA        90302                 Litigation        X           Unknown
  Rogers, Sandra                             610 North 79th Avenue                                               Pensacola                  FL        32506                 Litigation        X           Unknown
  Rogers, Sharon                             3572 State Highway, P                                               Chaffee                    MO        63740                 Litigation        X           Unknown
  Rogers, Wanda                              RTS - 6218 S. Gold Meadow Drive Apt. A107                           Salt Lake                  UT        84129                 Litigation        X           Unknown
  Rogers-Gates, Karen                        1005 Washington Apt. B                                              Alton                      IL        62002                 Litigation        X           Unknown
  Roggenbusch, Victor                        9021 Fallsmont Drive                                                El Dorado Hills            CA        95762                 Litigation        X           Unknown
  Rohrbach, Takiema                          303 128th St South                                                  Tacoma                     WA        98446                 Litigation        X           Unknown
  Roig, Franklin M.                          5311 34th Street                                                    Riverside                  CA        92509                 Litigation        X           Unknown
  Rojas, JoAnn                               955 Inland Center Drive- Sp #19                                     San Bernardino             CA        92408                 Litigation        X           Unknown
  Rojas, Jose Manuel                         955 Inland Center Drive- space 19                                   San Bernardino             CA        92408                 Litigation        X           Unknown
  Rojas, Maria                               1615 Morton Ave. Apt. 2                                             Los Angeles                CA        90026                 Litigation        X           Unknown
  Rolan, Rebecca                             720 E. Green Acres                                                  Hobbs                      NM        88240                 Litigation        X           Unknown
  Roland, Anita                              641 Shaw St.                                                        Avon Park                  FL        33825                 Litigation        X           Unknown
  Roland, Lana                               3541 North Market                                                   Wichita                    KS        67219                 Litigation        X           Unknown
  Rolfe, Ervin                               PO BOX 292112                                                       Phelan                     CA      92329-2112              Litigation        X           Unknown
  Rollert, John                              1116 Oak Street                                                     Watertown                  WI        53098                 Litigation        X           Unknown
  Rollins, David                             PO Box 1572                                                         Ogden                      UT        84402                 Litigation        X           Unknown
  Rollins, Howard                            30 S 102nd St.                                                      Edwardsville               KS        66111                 Litigation        X           Unknown
  Rollins, Kellie                            1601 Beach Street Apt #101                                          San Francisco              CA        94123                 Litigation        X           Unknown
  Rolston, Thomas                            7300 Stone Court                                                    St. Leonard                MD        20685                 Litigation        X           Unknown
  Romagnoli, Judith Ann                      6960 Wegman Drive                                                   Riverside                  CA        92509                 Litigation        X           Unknown
  Romagnoli, Mauro Luzio                     6960 Wegman Drive                                                   Riverside                  CA        92509                 Litigation        X           Unknown
  Roman, Priscilla Aguirre                   5875 Mission Blvd. Apt. L179                                        Riverside                  CA        92501                 Litigation        X           Unknown
  Rombaoa, Gail                              41-1655 Humupaa Street                                              Waimanalo                  HI        96795                 Litigation        X           Unknown
  Romero, Angel D.                           251 W. M Street                                                     Colton                     CA        92324                 Litigation        X           Unknown
  Romero, Angel Sunday                       251 West M Street                                                   Colton                     CA        92324                 Litigation        X           Unknown
  Romero, Daniel                             1309 Lake Avenue                                                    Pueblo                     CO        81004                 Litigation        X           Unknown
  Romero, Guillermo                          1500 S. Austin Blvd.                                                Cicero                     IL        60804                 Litigation        X           Unknown
  Romero, Iris                               2116 W. Cameron Street                                              Long Beach                 CA        90810                 Litigation        X           Unknown
  Romero, Joshua                             1550 WILLARD AVE APT D1                                             Newington                  CT        06111                 Litigation        X           Unknown
  Romero, Maria                              28500 Highway 190                                                   Porterville                CA        93257                 Litigation        X           Unknown
  Romero, Maria Elena                        636 Harding Ave.                                                    Los Angeles                CA        90022                 Litigation        X           Unknown
  Romero, Mariah                             24602 Marbella Avenue                                               Carson                     CA        90745                 Litigation        X           Unknown
  Romero, Rachel                             19227 Otilla Street                                                 Bloomington                CA        92316                 Litigation        X           Unknown
  Romero, Reynaldo                           2116 W. Cameron Street                                              Long Beach                 CA        90810                 Litigation        X           Unknown
  Romero-Santos, Helen                       301 E 244th Street                                                  Carson                     CA        90745                 Litigation        X           Unknown



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  Romig, Sarah                                404 Meadow Lane                                                      Los Alamos                  MN      87544              Litigation        X           Unknown
  Romo, Janet                                 937 Alamo Ave                                                        Modesto                     CA      95351              Litigation        X           Unknown
  Romo, Jr., Anthony                          1203 E. Livingston Street                                            Streator                    IL      61364              Litigation        X           Unknown
  Ron, Carolina                               455 E 248th Street                                                   Carson                      CA      90745              Litigation        X           Unknown
  Ron, Vanessa                                455 E 248th Street                                                   Carson                      CA      90745              Litigation        X           Unknown
  Rondeau, Stephen                            6605 Cooper Point Road, NW                                           Olympia                     WA      98502              Litigation        X           Unknown
  Rooney-Swain, Judy                          1790 Friendship Road                                                 Brownsville                 TN      38012              Litigation        X           Unknown
  Root, Debra                                 707 Candlewood Dr.                                                   Richmond                    KY      40475              Litigation        X           Unknown
  Root, Jr., Paul                             716 SW F. Highway                                                    Centerview                  MO      64019              Litigation        X           Unknown
  Roque, Jesse                                674 West K Street                                                    Colton                      CA      92324              Litigation        X           Unknown
  Rosado, Marlene                             8020 Aspencrest Ct.                                                  Orlando                     FL      32835              Litigation        X           Unknown
  Rosales, Alexandria                         12635 Eastbrook Ave.                                                 Downey                      CA      90242              Litigation        X           Unknown
  Rosales, Brooklynn                          25434 Adamano Ave.                                                   Lomita                      CA      90717              Litigation        X           Unknown
  Rosales, Christopher                        16207 INDIANA AVE.                                                   PARAMOUNT                   CA      90723              Litigation        X           Unknown
  Rosales, Daniel                             8616 Hazelnut St.                                                    Buena Park                  CA      90620              Litigation        X           Unknown
  Rosales, Gail                               16207 Indiana Ave.                                                   Paramount                   CA      90723              Litigation        X           Unknown
  Rosales, Jacob                              24725 Pennsylvania Ave.- Space C2                                    Lomita                      CA      90717              Litigation        X           Unknown
  Rosales, Joey                               26020 Belle Porte Ave.- Apt. 18                                      Harbor City                 CA      90710              Litigation        X           Unknown
  Rosales, Louie                              9015 Mapleside St.                                                   Bellflower                  CA      90706              Litigation        X           Unknown
  Rosales, Louis C.                           15326 Oliva Ave.                                                     Paramount                   CA      90723              Litigation        X           Unknown
  Rosales, Louis H.                           16207 Indiana Ave.                                                   Paramount                   CA      90723              Litigation        X           Unknown
  Rosales, Ramon                              15326 Oliva Ave.                                                     Paramount                   CA      90723              Litigation        X           Unknown
  Rosales, Raymond                            15326 Oliva Ave.                                                     Paramount                   CA      90723              Litigation        X           Unknown
  Rosales, Reginald                           PO Box 104                                                           Wilmington                  CA      90748              Litigation        X           Unknown
  Rosales, Richard                            24725 Pennsylvania Ave.- Space C2                                    Lomita                      CA      90717              Litigation        X           Unknown
  Rosales, Rita                               24919 Island Avenue                                                  Carson                      CA      90745              Litigation        X           Unknown
  Rosas, Emily                                2689 Millsweet Place                                                 Riverside                   CA      92503              Litigation        X           Unknown
  Rosato, Concetta                            2663 Heath Ave Apt 20 D                                              Bronx                       NY      10463              Litigation        X           Unknown
  Rose, James                                 2526 N. Quincy                                                       Enid                        OK      73701              Litigation        X           Unknown
  Rose, William                               5125 S Hwy 41A                                                       Marion                      SC      29571              Litigation        X           Unknown
  Roseborough, Deborah                        5711 29th Street                                                     Riverside                   CA      92509              Litigation        X           Unknown
  Roseborough, Eric                           66729 El Dorado Place                                                Desert Hot Springs          CA      92240              Litigation        X           Unknown
  Roseborough, Jennifer Marguerite            5711 29th Street                                                     Riverside                   CA      92509              Litigation        X           Unknown
  Rosebud, Melvin                             2904 Roadrunner Ct                                                   Highland                    CA      92346              Litigation        X           Unknown
  Rosendin, Ralph                             12368 Riata Road                                                     Lower Lake                  CA      95457              Litigation        X           Unknown
  Rosenthal, Susan                            25505 Riverbank Dr. Apt. B                                           Yorba Linda                 CA      92887              Litigation        X           Unknown
  Roses, Alan                                 PO Box 476                                                           Chehalis                    WA      98532              Litigation        X           Unknown
  Rosier, William                             7609 Lake Vista Lane                                                 Indianapolis 46217          IN      46217              Litigation        X           Unknown
  Ross, Almoise                               2577 Selman Ave.                                                     Memphis                     TN      38112              Litigation        X           Unknown
  Ross, Amber                                 300 North Akard Street Apt. 2009                                     Dallas                      TX      75201              Litigation        X           Unknown
  Ross, Dwight                                2422 Truxillo Street                                                 Houston                     TX      77004              Litigation        X           Unknown
  Ross, Edgar Eroger                          40260 Mayberry Street- Apt. #6                                       Hemet                       CA      92544              Litigation        X           Unknown
  Ross, Harold Gordon                         15491 Wood Road                                                      Riverside                   CA      92508              Litigation        X           Unknown
  Ross, Karl Wesley                           16754 Choco Road                                                     Apple Valley                CA      92307              Litigation        X           Unknown
  Ross, Linda                                 1542 Mosaic Way, Suite 102                                           Stockton                    CA      95207              Litigation        X           Unknown
  Ross, Mary                                  4007 Gravel Pit Road                                                 New Franken                 WI      54229              Litigation        X           Unknown
  Ross, Maynard                               100 Carlyle St.                                                      Alma                        NE      68920              Litigation        X           Unknown
  Ross, Rahgene Edgar                         5327 El Rio Ave.                                                     Riverside                   CA      92509              Litigation        X           Unknown
  Ross, Ryann Lapre                           16820 Cole Avenue                                                    Riverside                   CA      92508              Litigation        X           Unknown
  Ross, Walter                                9811 Lombardy Avenue                                                 Bloomington                 CA      92316              Litigation        X           Unknown



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  Rossi, John                                402 Llanerch Ave                                                       Havertown                 PA        19083                 Litigation        X           Unknown
  Ross-Taylor, Carisa Ann                    13625 Sandpiper Place                                                  Victorville               CA        92392                 Litigation        X           Unknown
  Rostomyan, Norik                           1217 S. Glendale Ave., Apt 6                                           Glendale                  CA        91205                 Litigation        X           Unknown
  Rotellini Jr., David                       9542 Lombardy Avenue                                                   Fontana                   CA        92335                 Litigation        X           Unknown
  Roth, James                                5120 W 159th Terrace                                                   Overland Park             KS        66085                 Litigation        X           Unknown
  Roth, Joan                                 4689 E. Lake Road                                                      Sheffield Lake            OH        44054                 Litigation        X           Unknown
  Rothberg, Gerald                           10136 National Blvd, #215                                              Los Angeles               CA        90034                 Litigation        X           Unknown
  Rothenberg, Gerran                         3343 Brockton Avenue                                                   Riverside                 CA        92501                 Litigation        X           Unknown
  Rotondo, Aida                              99 Yale Rd                                                             Hartsdale                 NY        10530                 Litigation        X           Unknown
  Rounds, Dennis Lamar                       5731 Kenwood Place                                                     Riverside                 CA        92509                 Litigation        X           Unknown
  Rounsley, Sr., David                       1938 Mosscreek Rd.                                                     Northern Cambria          PA        15714                 Litigation        X           Unknown
  Roush, Paul                                P.O. Box 9048                                                          Charleston                WV        25309                 Litigation        X           Unknown
  Rousseau, Lucille                          143 Ste. Marie Street                                                  Manchester                NH        03102                 Litigation        X           Unknown
  Roux, Steven                               RTS - 750 Sanford Rd., Unit 14                                         Wells                     ME        04090                 Litigation        X           Unknown
  Rowe, Barbara                              PO Box 702                                                             Issaquah                  WA        98027                 Litigation        X           Unknown
  Rowe, Jeannie                              21219 North Madison Road                                               Mead                      WA        99021                 Litigation        X           Unknown
  Rowe, Robert                               347 Foxborough Dr.                                                     Brunswick                 OH        44212                 Litigation        X           Unknown
  Rowley, Robert                             281 W. Alton #D                                                        Santa Ana                 CA        92707                 Litigation        X           Unknown
  Royer, Brady                               183 Monarch Bay                                                        Dana Point                CA        92629                 Litigation        X           Unknown
  Royster, Bonnie                            211 Surrey Lane                                                        Greenville                OH        45331                 Litigation        X           Unknown
  Rubado, Patricia                           114 Beach Street                                                       Massena                   NY        13662                 Litigation        X           Unknown
  Rubido, Monserrat                          9001 SW 11th Street                                                    Miami                     FL        33174                 Litigation        X           Unknown
  Ruble, Ted                                 P.O. Box 911                                                           Ripon                     CA        95366                 Litigation        X           Unknown
  Ruder, Robert                              2910 N. 3800 W                                                         Cedar City                UT        84721                 Litigation        X           Unknown
  Rudisill, Ralph                            5568 Whitener Rd                                                       Hickory                   NC        28602                 Litigation        X           Unknown
  Rudkin, Virginia                           7469 Circle Parkway                                                    Sacramento                CA        95823                 Litigation        X           Unknown
  Ruelas, Robert P.                          42454 Valley Vista Drive                                               Lancaster                 CA        93536                 Litigation        X           Unknown
  Ruesch, Ferriland                          320 West 200N Box 175                                                  Tropic                    UT        84776                 Litigation        X           Unknown
  Ruff, Levurn                               1702 4th Ave NE                                                        Jamestown                 ND        58401                 Litigation        X           Unknown
  Rufino, Evelisa                            1808 Turquoise Ct.                                                     Kissimmee                 FL        34743                 Litigation        X           Unknown
  Ruge, Jean                                 23019 S. Pine Valley Drive                                             Frankfort                 IL        60423                 Litigation        X           Unknown
  Ruggeri, Winifred                          1100 Ponce de Leon Blvd., Apt. 405N                                    Clearwater                FL      33756-3005              Litigation        X           Unknown
  Ruggiero, Michael                          300 Machado Ave.                                                       Bakersfield               CA        93307                 Litigation        X           Unknown
  Ruhl, Nina                                 230 W 3rd Street, Apt 306                                              Davenport                 IA        52801                 Litigation        X           Unknown
  Ruigomez, James & Kathleen                 16030 Ventura Blvd., Ste 470                                           Encino                    CA        91436                 Litigation        X           Unknown
  Ruiter, John Thomas                        1795 Cochran Avenue                                                    Tulare                    CA        93274                 Litigation        X           Unknown
  Ruiter, Joy                                1795 Cochran Avenue                                                    Tulare                    CA        93274                 Litigation        X           Unknown
  Ruiz, Anna Victoria                        5327 1/2 Paloma Road                                                   Riverside                 CA        92509                 Litigation        X           Unknown
  Ruiz, Arthur Padilla                       4860 Suncrest Drive                                                    Riverside                 CA        92509                 Litigation        X           Unknown
  Ruiz, Christopher                          5327 Paloma Road                                                       Riverside                 CA        92509                 Litigation        X           Unknown
  Ruiz, Elsa                                 2831 Avalon Street                                                     Riverside                 CA        92509                 Litigation        X           Unknown
  Ruiz, Jacqueline                           16043 West Moreland Street                                             Goodyear                  AZ        85338                 Litigation        X           Unknown
  Ruiz, Jorge                                P.O. Box 386                                                           Hopewell                  VA      23860-0386              Litigation        X           Unknown
  Ruiz, Jose                                 108 N 4TH St. Apt. F                                                   Alhambra                  CA      91801-3414              Litigation        X           Unknown
  Ruiz, Joseph                               707 Mountainside Drive                                                 Southfields               NY        10975                 Litigation        X           Unknown
  Ruiz, Luz                                  18 Sinclair Rd.                                                        Shrewsbury                MA        01545                 Litigation        X           Unknown
  Ruiz, Maria                                P.O. Box 56320                                                         Riverside                 CA        92517                 Litigation        X           Unknown
  Ruiz, Nicolas                              P.O. Box 837                                                           Helendale                 CA        92342                 Litigation        X           Unknown
  Ruiz, Vicente                              540-5 Naples Street                                                    Chula Vista               CA        91911                 Litigation        X           Unknown
  Ruiz-Gomez, Roberta                        3209 Gibraltar Drive                                                   Riverside                 CA        92506                 Litigation        X           Unknown



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  Ruiz-Howard, Evita                         751 E. Claremont St.                                               Pasadena               CA      91104              Litigation        X           Unknown
  Rumble, Johnny                             7103 Orchutt Avenue                                                Newport News           VA      23605              Litigation        X           Unknown
  Rummell, Christopher                       509 Claremont Ave.                                                 Tonawanda              NY      14223              Litigation        X           Unknown
  Rummell, Thomas                            509 Claremont Ave.                                                 Tonawanda              NY      14223              Litigation        X           Unknown
  Rumrill, Burton                            208 Oliver Avenue Northwest                                        Silver Lake            MN      55381              Litigation        X           Unknown
  Runner, Jr., William                       1409 Central Ave.                                                  Lincoln                AR      72744              Litigation        X           Unknown
  Rusch, Calvin                              34 Goodman St., South, Apt. 301                                    Rochester              NY      14607              Litigation        X           Unknown
  Rush, Herman                               1013 W osewood Ave                                                 Inglewood              CA      90301              Litigation        X           Unknown
  Rush-Nelson, Jill                          18 W. Princeton Circle #23                                         Lynchburg              VA      24503              Litigation        X           Unknown
  Russell, Florence                          210-12th Box 846                                                   Ogden                  KS      66517              Litigation        X           Unknown
  Russell, Gladys                            1618 Virginia Avenue                                               Dos Palos              CA      93620              Litigation        X           Unknown
  Russell, Maria Guadalupe                   1490 North Palm Apt. B                                             Rialto                 CA      92376              Litigation        X           Unknown
  Russell, Melvina                           1111 N 4th Ave.                                                    Kelso                  WA      98626              Litigation        X           Unknown
  Russell, Rosa                              3300 Carlton Ave.                                                  Temple Hills           MD      20748              Litigation        X           Unknown
  Russell, Susan                             630 Minnesota Avenue                                               McComb                 MS      39648              Litigation        X           Unknown
  Russi, Joseph                              278 East Rowland                                                   Covina                 CA      91723              Litigation        X           Unknown
  Russo, Ambrogio                            1120 West 26th Street San Pedro                                    San Pedro              CA      90731              Litigation        X           Unknown
  Russo, Michelle                            1120 West 26th Street San Pedro                                    San Pedro              CA      90731              Litigation        X           Unknown
  Rutherford, Valentine                      680 W. Lomita Avenue                                               Ojai                   CA      93023              Litigation        X           Unknown
  Rutherford, William                        RTS - 1206 Sea Bird Way                                            San Diego              CA      92154              Litigation        X           Unknown
  Ruvalcaba Jr., Jose                        24506 Fries Avenue                                                 Carson                 CA      90745              Litigation        X           Unknown
  Ruvalcaba Sr., Jose                        24506 Fries Avenue                                                 Carson                 CA      90745              Litigation        X           Unknown
  Ruvalcaba, David                           24506 Fries Avenue                                                 Carson                 CA      90745              Litigation        X           Unknown
  Ruvalcaba, Francisco                       24409 Ravenna Avenue                                               Carson                 CA      90745              Litigation        X           Unknown
  Ruvalcaba, Gina                            24506 Fries Avenue                                                 Carson                 CA      90745              Litigation        X           Unknown
  Ruvalcaba, Racquel                         24409 Ravenna Avenue                                               Carson                 CA      90745              Litigation        X           Unknown
  Ruvalcaba, Robert                          24409 Ravenna Avenue                                               Carson                 CA      90745              Litigation        X           Unknown
  Ruvalcaba, Valerie                         24506 Fries Avenue                                                 Carson                 CA      90745              Litigation        X           Unknown
  Ryan, Linda                                6262 142nd Ave. N. # 806                                           Clearwater             FL      33760              Litigation        X           Unknown
  Ryan, Susan                                6405 W Saguaro Dr.                                                 Glandale               AZ      85304              Litigation        X           Unknown
  Ryan, Thomas and Kathy                     123 Kaufman                                                        Tonawanda              NY      14150              Litigation        X           Unknown
  Ryan, Verta                                337 Kempton Lane                                                   Bowling Green          KY      42104              Litigation        X           Unknown
  Ryswyk, Donald                             16867 Kendall Trail                                                Indianola              IA      50125              Litigation        X           Unknown
  Saavedra, Cecily                           24534 Island Avenue                                                Carson                 CA      90745              Litigation        X           Unknown
  Saavedra, Javiera                          11892 Pepper Street                                                Bloomington            CA      92316              Litigation        X           Unknown
  Saavedra, Silvia                           6790 Condor Drive                                                  Riverside              CA      92509              Litigation        X           Unknown
  Sabala, Nancy                              1514 Fawn St.                                                      Ontario                CA      91762              Litigation        X           Unknown
  Sabers, Christina                          60 Stargazer Way Mission Viejo                                     Mission Viejo          CA      92692              Litigation        X           Unknown
  Sabir, Al-Amin                             1525 Townsend Ave Apt-1D                                           Bronx                  NY      10452              Litigation        X           Unknown
  Sabourn                                    401 E Peltason Dr                                                  Irvine                 CA      92697              Litigation        X           Unknown
  Sabroso, Luis                              219 W. Palais Rd., Apt 23                                          Anaheim                CA      92805              Litigation        X           Unknown
  Sacco, Joseph                              2703 Forest Avenue                                                 Niagara Falls          NY      14301              Litigation        X           Unknown
  Sadeghizadeh, Zeynolabadian                1796 Gamble Ln.                                                    Escondido              CA      92029              Litigation        X           Unknown
  Sadowski III, Donald                       1170 Stellar Drive                                                 Mount Joy              PA      17552              Litigation        X           Unknown
  Sadredin, Seyed                            8548 North Jackson Avenue                                          Fresno                 CA      93720              Litigation        X           Unknown
  Saenz, Letecia                             4455 Yellowstone St.                                               Los Angeles            CA      90032              Litigation        X           Unknown
  Saffell, Carrie                            24720 Carmel Drive                                                 Carson                 CA      90745              Litigation        X           Unknown
  Saffell, Luke                              24720 Carmel Drive                                                 Carson                 CA      90745              Litigation        X           Unknown
  Saffell, Raymond                           24720 Carmel Drive                                                 Carson                 CA      90745              Litigation        X           Unknown
  Saffron, Eric                              1211 Bluewater Way                                                 Durham                 NC      27703              Litigation        X           Unknown



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  Sagato, Asenath                               344 E 249th Street                                                Carson                   CA        90745                 Litigation        X           Unknown
  Sage, Stephen                                 PO Box 184                                                        Stone Ridge              NY        12484                 Litigation        X           Unknown
  Sagisi, Consolacion                           1171 Wanaka St.                                                   Honolulu                 HI        96818                 Litigation        X           Unknown
  Sago, Charles                                 401 Verden Street                                                 Cloverport               KY        40111                 Litigation        X           Unknown
  Saito, Earl                                   P.O. Box 177                                                      Paauilo                  HI        96776                 Litigation        X           Unknown
  Sakoda, Joseph                                244 Ambroise                                                      Newport Coast            CA        92657                 Litigation        X           Unknown
  Sakuda, Lloyd                                 4145 ½ 22nd Street West                                           Palmdale                 CA        91331                 Litigation        X           Unknown
  Salais, Eugene                                16131 Lime Street                                                 Hesperia                 CA        92345                 Litigation        X           Unknown
  Salas, Karla                                  3391 Rubidoux Blvd. #34                                           Riverside                CA        92509                 Litigation        X           Unknown
  Salas, Katia                                  5479 34th St.- Space 1                                            Riverside                CA        92509                 Litigation        X           Unknown
  Salas, Kenya                                  18821 3rd Street                                                  Bloomington              CA        92316                 Litigation        X           Unknown
  Salas, Miguel Ramon                           PO Box 128                                                        Bloomington              CA        92316                 Litigation        X           Unknown
  Salazar, Anthony                              PO Box 1846                                                       Paramount                CA        90723                 Litigation        X           Unknown
  Salazar, Joselito                             24722 Marbella Avenue                                             Carson                   CA        90745                 Litigation        X           Unknown
  Salazar, Maria Elena                          1404 Ridgeback Road G                                             Chula Vista              CA        91910                 Litigation        X           Unknown
  Salazar, Marisela                             3463 Pontiac Avenue                                               Riverside                CA        92509                 Litigation        X           Unknown
  Salazar, Mary                                 3700 Olds Road #10                                                Oxnard                   CA        93033                 Litigation        X           Unknown
  Salazar, Rammel                               7121 Woodridge Ave # 419                                          Van Nuys                 CA        91406                 Litigation        X           Unknown
  Salazar, Reynaldo                             3463 Pontiac Avenue                                               Riverside                CA        92509                 Litigation        X           Unknown
  Salazar, Ruth                                 4401 Hughes Lane Space 200                                        Bakersfield              CA        93304                 Litigation        X           Unknown
  Salazar, Samantha                             PO Box 1846                                                       Paramount                CA        90723                 Litigation        X           Unknown
  Salcedo, Virginia                             900 Olympia Ave.                                                  San Juan Bautista        CA        95045                 Litigation        X           Unknown
  Salcida, Penny                                5352 Bell Avenue                                                  Riverside                CA        92509                 Litigation        X           Unknown
  Saldana Erika and Alberto Martinez            1757 Riverside Drive                                              Glendale                 CA        91201                 Litigation        X           Unknown
  Saldana, Erika & Alberto                      580 W Ave 28                                                      Los Angeles              CA        90031                 Litigation        X           Unknown
  Saldana, Jose                                 984 Warbonnet Drive                                               Perris                   CA        92570                 Litigation        X           Unknown
  Salem, Fred                                   1789 Bolton Abbey Dr.                                             Jacksonville             FL        32223                 Litigation        X           Unknown
  Salgado, Roberto                              12141 Rossiter Ave.                                               Sylmar                   CA        91342                 Litigation        X           Unknown
  Salim, Joseph                                 5823 Morrill Avenue                                               Whittier                 CA        90606                 Litigation        X           Unknown
  Salinas, Evelyn                               9516 Lubec Street                                                 Downey                   CA        90240                 Litigation        X           Unknown
  Salinas, Paula                                4355 Del Mar Trails Rd.                                           San Diego                CA        92310                 Litigation        X           Unknown
  Salisbury, Wendall                            865 Pickett Level Rd                                              Elloree                  SC        29047                 Litigation        X           Unknown
  Salter, Kenneth                               4305 Queens Court                                                 Milton                   FL        32571                 Litigation        X           Unknown
  Salud, Edwardo                                24406 Marbella Avenue                                             Carson                   CA        90745                 Litigation        X           Unknown
  Salud, Jonathan                               24406 Marbella Avenue                                             Carson                   CA        90745                 Litigation        X           Unknown
  Salud, Leonida                                24406 Marbella Avenue                                             Carson                   CA        90745                 Litigation        X           Unknown
  Salud, Mary                                   24406 Marbella Avenue                                             Carson                   CA        90745                 Litigation        X           Unknown
  Salud, Mathew                                 24406 Marbella Avenue                                             Carson                   CA        90745                 Litigation        X           Unknown
  Sam, Harold                                   4133 Etta Street                                                  Jacksonville             FL        32209                 Litigation        X           Unknown
  Samadian, Sedegh                              P.O. Box 2319                                                     Pleasant Hill            CA        94523                 Litigation        X           Unknown
  Samake, Pamlar                                5408 West Berks St., 1st Floor                                    Philadelphia             PA        19131                 Litigation        X           Unknown
  Samaniego, Deborah                            1029 Park Ave Apt 109                                             Omaha                    NE        68105                 Litigation        X           Unknown
  Samaniego, Jaime                              6881 Wegman Drive                                                 Riverside                CA        92509                 Litigation        X           Unknown
  Sampson, Ralph                                3286 Highland Dr.                                                 Carlsbad                 CA        92008                 Litigation        X           Unknown
  Sams, Bennie                                  658 Pea Ridge Rd.                                                 Stamping Ground          KY        40379                 Litigation        X           Unknown
  Samson, Aurora                                15223 S Normandie Ave. #2A                                        Gardena                  CA      90247-3364              Litigation        X           Unknown
  Samson, Eleazar                               15223 S Normandie Ave. #2A                                        Gardena                  CA      90247-3364              Litigation        X           Unknown
  Samuels Sr., Willie                           1012 Iowa St., Apt. A                                             Madison                  IL        62060                 Litigation        X           Unknown
  Samuels, Ernestine                            3108 Weller Road                                                  Silver Springs           MD        20906                 Litigation        X           Unknown
  San Antonio, Emma                             6956 Purple Ridge Drive                                           Rancho Palos Verdes      CA        90275                 Litigation        X           Unknown



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  San Luis, Arlene                           6956 Purple Ridge Drive                                           Rancho Palos Verdes      CA      90275              Litigation        X           Unknown
  San Pedro, Daniel                          24707 Marbella Avenue                                             Carson                   CA      90745              Litigation        X           Unknown
  San Pedro, Erika                           24707 Marbella Avenue                                             Carson                   CA      90745              Litigation        X           Unknown
  Sanabria, Denise                           210 Menlo Park Dr.                                                Arlington                TX      76002              Litigation        X           Unknown
  Sanchez Jr., Gilbert                       5345 El Rio Avenue                                                Riverside                CA      92509              Litigation        X           Unknown
  Sanchez- Sr., Gilbert                      5345 El Rio Avenue                                                Riverside                CA      92509              Litigation        X           Unknown
  Sanchez, Alvaro                            317 East Truman St.                                               Newberry                 MI      49868              Litigation        X           Unknown
  Sanchez, Anthony                           114 South “N” Street                                              Madera                   CA      93637              Litigation        X           Unknown
  Sanchez, Antonio                           460 Wier Rd- Apt 13                                               San Bernardino           CA      92408              Litigation        X           Unknown
  Sanchez, Cynthia D.                        5345 El Rio Avenue                                                Riverside                CA      92509              Litigation        X           Unknown
  Sanchez, Daneil Raymond                    18818 2nd Street                                                  Bloomington              CA      92316              Litigation        X           Unknown
  Sanchez, Elizabeth                         6635 Curtis Ave. # C                                              Long Beach               CA      90805              Litigation        X           Unknown
  Sanchez, Joe A.                            27606 Ennismore                                                   Canyon Country           CA      91351              Litigation        X           Unknown
  Sanchez, Manuel                            24744 Carmel Drive                                                Carson                   CA      90745              Litigation        X           Unknown
  Sanchez, Mayra                             2903 S. Cloverdale Ave. # 4                                       Los Angeles              CA      90016              Litigation        X           Unknown
  Sanchez, Rene Trino                        18818 2nd Street                                                  Bloomington              CA      92316              Litigation        X           Unknown
  Sanders, Alpha                             P.O. Box 56137                                                    San Jose                 CA      95156              Litigation        X           Unknown
  Sanders, Beverly                           1705 S 11th St Apt #42                                            Lamar                    CO      81052              Litigation        X           Unknown
  Sanders, Bill                              3843 Penbrook Drive Apt. 143                                      Odessa                   TX      79762              Litigation        X           Unknown
  Sanders, Daniel                            153 7th Street                                                    Ogden                    UT      84404              Litigation        X           Unknown
  Sanders, Glendora                          44755 Savage Road                                                 Coarsegold               CA      93614              Litigation        X           Unknown
  Sanders, Margarette                        2 Valewood Ct.                                                    Jacksonville             AR      72076              Litigation        X           Unknown
  Sanders, Mary                              4241 W McNab Road Apt 11                                          Pompano Beach            FL      33069              Litigation        X           Unknown
  Sanders, Mary                              6119 Gray Oak Ave.                                                Memphis                  TN      38115              Litigation        X           Unknown
  Sanders, Paul                              5094 Birch Drive                                                  Bay St Louis             MS      39520              Litigation        X           Unknown
  Sanders, Steven                            3422 Alvin Kirby Rd                                               Timmonsville             SC      29161              Litigation        X           Unknown
  Sanders, Willie                            3446 West Arthington Street                                       Chicago                  IL      60624              Litigation        X           Unknown
  Sanderson, Joseph Nicholas                 25310 Cole Street                                                 Loma Linda               CA      92354              Litigation        X           Unknown
  Sanderval, Ignacio                         15937 California Ave.                                             Paramount                CA      90723              Litigation        X           Unknown
  Sandifer, Verena                           1131 Heck Ave                                                     Neptune                  NJ      07753              Litigation        X           Unknown
  Sandman, Lou Ann                           980 W 7th Street #2                                               San Pedro                CA      90731              Litigation        X           Unknown
  Sandoval Benavives, Simona                 140 23rd Ave., #10                                                Greeley                  CO      80631              Litigation        X           Unknown
  Sandoval- Sr., Carlos                      1097 W. 24th St.                                                  San Bernardino           CA      92405              Litigation        X           Unknown
  Sandoval, Anthony                          24609 Neptune Avenue                                              Carson                   CA      90745              Litigation        X           Unknown
  Sandoval, Clint                            4 Wedgewood Dr. #R2                                               Platte City              MO      64079              Litigation        X           Unknown
  Sandoval, Edward Peter                     5342 Paloma Road                                                  Riverside                CA      92509              Litigation        X           Unknown
  Sandoval, Francine Lynn                    2720 Hall Avenue                                                  Riverside                CA      92509              Litigation        X           Unknown
  Sandoval, Josephine Guzman                 5528 Molino Way                                                   Rubidoux                 CA      92509              Litigation        X           Unknown
  Sandoval, Margarito Mejia                  5528 Molino Way                                                   Rubidoux                 CA      92509              Litigation        X           Unknown
  Sandoval, Rachel                           24609 Neptune Avenue                                              Carson                   CA      90745              Litigation        X           Unknown
  Sandoval, Romana Alcantar                  2720 Hall Avenue                                                  Riverside                CA      92509              Litigation        X           Unknown
  Sandoval, Rosario                          1097 W. 24th St.                                                  San Bernardino           CA      92405              Litigation        X           Unknown
  Sandoval, Sandra Elaine                    5342 Paloma Road                                                  Riverside                CA      92509              Litigation        X           Unknown
  Sandoval, Thomas Paul                      6130 Camino Real Apartment 107                                    Riverside                CA      92509              Litigation        X           Unknown
  Sandretzky, Lee                            12908 2nd Avenue SW                                               Burien                   WA      98146              Litigation        X           Unknown
  Sanford, Charles                           1243 N. Main St Lot 4                                             Roxboro                  NC      27573              Litigation        X           Unknown
  Sanford, Martha                            1414 Nottingham Drive                                             Union City               TN      38261              Litigation        X           Unknown
  Santamaria, John                           5 Belmont Stations                                                Southampton              PA      18966              Litigation        X           Unknown
  Santana, Alicia Christina                  2663 Laramore Lane                                                Riverside                CA      92509              Litigation        X           Unknown
  Santana, Arturo                            2663 Laramore Lane                                                Riverside                CA      92509              Litigation        X           Unknown



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  Santana, Casara                            12603 Kling Street                                                   Studio City                CA      91604              Litigation        X           Unknown
  Santana, Eric                              2663 Laramore Lane                                                   Riverside                  CA      92509              Litigation        X           Unknown
  Santana, Matthew                           2663 Laramore Lane                                                   Riverside                  CA      92509              Litigation        X           Unknown
  Santeo, Amber                              3926 Shelby Drive                                                    Riverside                  CA      92504              Litigation        X           Unknown
  Santiago, David                            3005 Ellen Court                                                     Marina                     CA      93933              Litigation        X           Unknown
  Santillan, Rebecca                         1411 Brett Place # G-201                                             San Pedro                  CA      90732              Litigation        X           Unknown
  Santos, Anna                               16569 Sugar Lane                                                     Fontana                    CA      92337              Litigation        X           Unknown
  Santos, Bryan                              301 E 244th Street                                                   Carson                     CA      90745              Litigation        X           Unknown
  Santos, Ismael                             16789 Filbert Street                                                 Fontana                    CA      92335              Litigation        X           Unknown
  Santos, Michael                            20 Willow Rd                                                         Seekonk                    MA      02771              Litigation        X           Unknown
  Santos, Monina                             9540 Kummer Rd.                                                      Allison Park               PA      15101              Litigation        X           Unknown
  Santos, Stephanie                          301 E 244th Street                                                   Carson                     CA      90745              Litigation        X           Unknown
  Santos, Winifredo                          301 E 244th Street                                                   Carson                     CA      90745              Litigation        X           Unknown
  Santoyo- Sr., Jose                         2424 Winchester St.- Apt 9                                           Lodi                       CA      95240              Litigation        X           Unknown
  Sapgoian, Maria                            369 W 14th St.                                                       San Pedro                  CA      90731              Litigation        X           Unknown
  Sapien, Salvador Mercado                   15125 Golden Street                                                  Oro Grande                 CA      92368              Litigation        X           Unknown
  Sarabia, Rosa Ema                          14953 Bleeker St.                                                    Sylmar                     CA      91342              Litigation        X           Unknown
  Sarafyan, Gevorg                           7776 Peachtree Ave                                                   Panorama City              CA      91402              Litigation        X           Unknown
  Saribashyan, Ovsanna                       12345 Burbank Blvd., Apt 6                                           Valley Village             CA      91607              Litigation        X           Unknown
  Sarkessian, Aram Mr & Mrs                  12362 Bradford Place                                                 Granada Hills              CA      91344              Litigation        X           Unknown
  Sarkisian, Sarkis                          322 East Broadway                                                    Glendale                   CA      91205              Litigation        X           Unknown
  Sartini, Laura                             5127 Colby Ave Apt 8                                                 Everett                    WA      98203              Litigation        X           Unknown
  Sasamine, Guadalupe                        1770 Dupont Drive                                                    Lemon Grove                CA      91945              Litigation        X           Unknown
  Sassaman, John                             2222 Avenue of the Stars               Ste 2803                      Century City               CA      90067              Litigation        X           Unknown
  Satete, Beauty                             1708 N. Fries Ave                                                    Los Angeles                CA      90744              Litigation        X           Unknown
  Satete, Pearly                             1708 N. Fries Ave                                                    Los Angeles                CA      90744              Litigation        X           Unknown
  Sather, Ronna                              11970 Montana Ave. #306                                              Los Angeles                CA      90049              Litigation        X           Unknown
  Satterfield, Iona                          1100 12th Street Apt 101D                                            Columbus                   GA      31906              Litigation        X           Unknown
  Sauceda, Heather Jeanette                  256 South 10th Street                                                Colton                     CA      92324              Litigation        X           Unknown
  Sauer, Kurt                                117 Ivy Lane                                                         Glen Mills                 PA      19342              Litigation        X           Unknown
  Saul, Brenda                               925 21st Street West                                                 Huntington                 WV      25704              Litigation        X           Unknown
  Saunders, Karen                            325 Kelly Road, Apt M-66                                             Vernon                     CT      06066              Litigation        X           Unknown
  Saunders, Roxanne                          905 Madison Ave NW                                                   Roanoke                    VA      24016              Litigation        X           Unknown
  Sausedo, Frank                             1161 Salt Creek Drive                                                Ponte Vedra Beach          FL      32082              Litigation        X           Unknown
  Sawyer, Freddie                            172 Sawyer Drive                                                     Fitzgerald                 GA      31750              Litigation        X           Unknown
  Sawyer, Peter                              6233 Glennox Lane                                                    Dallas                     TX      75214              Litigation        X           Unknown
  Saxton, Lonia                              1206 Woods Edge Dr.                                                  Niles                      IN      49120              Litigation        X           Unknown
  Sayegh, Michael                            3301 Michelson Dr Unit 1332                                          Irvine                     CA      92603              Litigation        X           Unknown
  Sayles, Bertha                             3210 Agate Street                                                    Montgomery                 AL      36105              Litigation        X           Unknown
  Saylor, Ryan                               209 St John’s Pl Apt 4                                               New London                 WI      54961              Litigation        X           Unknown
  Sayre-Smith, Joyce                         24401 Marbella Avenue                                                Carson                     CA      90745              Litigation        X           Unknown
  Scagliotta , Jacquiline                    10003 Talley Ln.                                                     Houston                    TX      77041              Litigation        X           Unknown
  Scaife, Marshall Travon                    3656 Roselle Place                                                   Riverside                  CA      92509              Litigation        X           Unknown
  Scaife, Norma Josephine                    3656 Roselle Place                                                   Riverside                  CA      92509              Litigation        X           Unknown
  Scampini, Alfred                           1703 E. Palo Alto                                                    Fresno                     CA      93710              Litigation        X           Unknown
  Scarbro, Penny                             24 North Central Avenue                                              Apopka                     FL      32703              Litigation        X           Unknown
  Scarbrough, James                          199 Dean St.                                                         Shepherdsville             KY      40165              Litigation        X           Unknown
  Scardino, John                             47 Coburg Street                                                     Buffalo                    NY      14216              Litigation        X           Unknown
  Scaro, Sylvia                              106 Clinton Avenue                                                   Mastic                     NY      11590              Litigation        X           Unknown
  Schaefer, George                           52318 WCR 118                                                        Grover                     CO      80729              Litigation        X           Unknown



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  Schaeffer, Eleanor                         20 Mary Scano Drive Apt. #319                                         Worchester                MA        01615                 Litigation        X           Unknown
  Schafrath, Dick                            704 Ashland Road                                                      Mansfield                 OH        44905                 Litigation        X           Unknown
  Schatz, Eunice                             1109 Porter Avenue                                                    Binghamton                NY        13901                 Litigation        X           Unknown
  Schatz, Gary                               19715 N. Spring Lake Road                                             Little Rock               AR        72206                 Litigation        X           Unknown
  Schell, Richard                            1310 Meredith Way                                                     Carmichael                CA        95608                 Litigation        X           Unknown
  Scherer, Nanci                             15208 Shoot Out Plaza                                                 Fountain Hills            AZ        85268                 Litigation        X           Unknown
  Schermann Downie, Miriam                   727 Monterey Rd                                                       Salinas                   CA        93908                 Litigation        X           Unknown
  Scheuring, Edward                          225 South Line Street                                                 Lansdale                  PA        19446                 Litigation        X           Unknown
  Schiller, Arlene                           18832 Cool Spring Road                                                Milton                    DE        19968                 Litigation        X           Unknown
  Schiller, Sr., Kenneth                     18832 Coolspring Road                                                 Milton                    DE        19968                 Litigation        X           Unknown
  Schinnerer, Lori                           200 Cuenat Blvd. Apt. 1A                                              Richmond                  IL        60071                 Litigation        X           Unknown
  Schlabitz, Imogene                         13899 Lippazan Ct                                                     Victorville               CA        92394                 Litigation        X           Unknown
  Schlee, Carol A.                           182 Wedgwood Dr.                                                      Williamsville             NY        14221                 Litigation        X           Unknown
  Schlee, James                              35 Ebling                                                             Tonawanda                 NY        14150                 Litigation        X           Unknown
  Schliep-Schneider, Mary                    5277 E Bessinger Rd.                                                  Au Gres                   MI        48703                 Litigation        X           Unknown
  Schmidt, Audrey                            3537 Adie Road                                                        St. Ann                   MO        63074                 Litigation        X           Unknown
  Schmidt, Gary                              1100 Mustang Drive                                                    Bismarck                  ND        58503                 Litigation        X           Unknown
  Schneider, Kenneth                         1442 Isabella Court                                                   Brick                     NJ        08724                 Litigation        X           Unknown
  Schneider, Martin                          33 Pennington Ave                                                     Colonia                   NJ      07067-2800              Litigation        X           Unknown
  Schneider, Robert                          1265 Ardmore Trail                                                    Oshkosh                   WI        54904                 Litigation        X           Unknown
  Schneider, William                         564 Chamberlin Rd.                                                    Myrtle Beach              SC      29588-5431              Litigation        X           Unknown
  Schneyder, Steven & Lyn                    2018 Cascade Crt                                                      Anacortes                 WA        98221                 Litigation        X           Unknown
  Schokowitz, Edward                         110 Dover Court                                                       Galloway                  NJ        08205                 Litigation        X           Unknown
  Scholl, Ronald                             13 Paso Cresta                                                        Carmel Valley             CA        93924                 Litigation        X           Unknown
  Scholtes, Justin                           2201 S. Upland Ave                                                    Pahrump                   NV        89048                 Litigation        X           Unknown
  Schopf, Norman                             8723 S. 81st Avenue                                                   Hickory Hills             IL        60457                 Litigation        X           Unknown
  Schreiber, Nicole                          4202 Pierson Drive                                                    Huntington Beach          CA        92649                 Litigation        X           Unknown
  Schreiber, Nicole                          4202 Pierson Drive                                                    Huntington Beach          CA        92649                 Litigation        X           Unknown
  Schrier, Timmy                             375 W County Road 1075 N                                              Lizton                    IN        46149                 Litigation        X           Unknown
  Schriver, Judy                             242 E. Fern Ave. #204                                                 Redlands                  CA        92373                 Litigation        X           Unknown
  Schroeder, Larry                           PO Box 2394                                                           Roseburg                  OR        97470                 Litigation        X           Unknown
  Schubert, Peter K.                         28965 Pablo Street                                                    Nuevo                     CA        92567                 Litigation        X           Unknown
  Schumann, David                            2060 Marmoor Dr.                                                      Utica                     MI        48317                 Litigation        X           Unknown
  Schutte, Dennis                            PO Box 2146                                                           Sedalia                   MO        65302                 Litigation        X           Unknown
  Schwaller, Misti                           9315 Corregidor Ave.                                                  St. Louis                 MO        63134                 Litigation        X           Unknown
  Schweikle, Robert                          3559 B Forest Branch Dr.                                              Port Orange               FL        32129                 Litigation        X           Unknown
  Schwenn, Craig                             853 S. Park Drive                                                     Altoona                   PA        16602                 Litigation        X           Unknown
  Sciarrotta, Deborah                        1701 Elder Lane                                                       Des Moines                IA        50315                 Litigation        X           Unknown
  Sciolaro, Michael                          711 E. Wagner                                                         Paul Valley               OK        73075                 Litigation        X           Unknown
  Sciortino, Francesca                       362 E 249th Street                                                    Carson                    CA        90745                 Litigation        X           Unknown
  Sciortino, Piero                           362 E 249th Street                                                    Carson                    CA        90745                 Litigation        X           Unknown
  Scoggins, Amy C                            3208 Spring Meadow Ave                                                Thousand Oaks             CA        91360                 Litigation        X           Unknown
  Scoggins, James                            1312 Morales Street                                                   Hobbs                     NM        88242                 Litigation        X           Unknown
  Scoggins, Jerry                            1115 Clay Street                                                      Hartford                  KY        42347                 Litigation        X           Unknown
  Scott, Alice Marie                         4861 Laurel Ridge Drive                                               Riverside                 CA        92509                 Litigation        X           Unknown
  Scott, Earl                                RTS - 1846 Tee Box Way                                                Henderson                 NV        89074                 Litigation        X           Unknown
  Scott, Elizabeth                           11830 Duxbury Drive                                                   Dallas                    TX        75218                 Litigation        X           Unknown
  Scott, Gisela                              2029 Wandering Doe Ln.                                                Las Vegas                 NV      89134-2597              Litigation        X           Unknown
  Scott, Herman I.                           10414 S. Juniper Street                                               Los Angeles               CA        90002                 Litigation        X           Unknown
  Scott, Laura                               4001 E. Dennison-Chattaroy Rd. Trlr 16                                Chattaroy                 WA        99003                 Litigation        X           Unknown



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  Scott, Lois                                PO BOX 54                                                            Glennville             GA        30427                 Litigation        X           Unknown
  Scott, Marvin                              356 Ware's Cross Road                                                La Grange              GA        30240                 Litigation        X           Unknown
  Scott, Phillip                             340 N. Dearborn Ave. Apt. 202                                        Kankakee               IL        60901                 Litigation        X           Unknown
  Scott, Robert                              1929 Cimarron Street                                                 Savannah               GA        31405                 Litigation        X           Unknown
  Scott, Virginia                            1024 East Bullard Avenue                                             Foley                  AL        36535                 Litigation        X           Unknown
  Scotti, Benjamin                           715 N. Beverly Dr.                                                   Beverly Hills          CA        90210                 Litigation        X           Unknown
  Scroggins, Roger                           916 W. Main Street                                                   Mascoutah              IL        62258                 Litigation        X           Unknown
  Scroggs, Jeffrey M.                        815 Main St. #206                                                    El Segundo             CA      90245-2372              Litigation        X           Unknown
  Scudero, Joe                               7151 NW 5th Lane                                                     Ocala                  FL        34482                 Litigation        X           Unknown
  Scully, John                               5223 Bryant Street                                                   Erie                   PA        16509                 Litigation        X           Unknown
  Scurlock, Carolyn                          14909 E. Covington Road                                              Independence           MO        64055                 Litigation        X           Unknown
  Seals, David                               225 Stardust Circle                                                  Toney                  AL        35773                 Litigation        X           Unknown
  Seamon, Danny                              143 County Road 20 W                                                 Marbury                AL        36051                 Litigation        X           Unknown
  Sears, Charles                             13575 Maple St. NE                                                   Palmyra                IN        47164                 Litigation        X           Unknown
  Sears, Jeff                                1924 Washington Avenue                                               Bedford                IN        47421                 Litigation        X           Unknown
  Seats, Brunice                             RTS - 1575 Mary George Ave. NW                                       Atlanta                GA        30318                 Litigation        X           Unknown
  Seay, Larry                                1520 Northeast Euclid                                                Oklahoma City          OK        73117                 Litigation        X           Unknown
  Sebastian, Anthony Everrett                5240 24th Street                                                     Riverside              CA        92509                 Litigation        X           Unknown
  Sechrist, Debra                            590 Dailey Fill Road                                                 McDonough              GA        30253                 Litigation        X           Unknown
  Secord, Jr., Thomas                        23149 Skyview Circle                                                 Brooksville            FL        34602                 Litigation        X           Unknown
  Seddon, Rosemary                           Continental Care Center 400 E. 4th Street                            Seymour                IA        52590                 Litigation        X           Unknown
  Sedillos, Felipe                           2614 Redlands Drive                                                  Costa Mesa             CA      92627-4631              Litigation        X           Unknown
  Sedillos, Manuel                           8656 La Salle St.- Apt 1                                             Cypress                CA        90630                 Litigation        X           Unknown
  Sedillos, Vidal                            949 Junipero Drive                                                   Costa Mesa             CA        92626                 Litigation        X           Unknown
  Seefoo, Maria                              8706 Parthenia Place Apt.3                                           North Hills            CA        91343                 Litigation        X           Unknown
  Seelig, Maria                              396 S Miraleste Drive- Unit 508                                      San Pedro              CA        90732                 Litigation        X           Unknown
  Sega Cantrell, Gina                        7799 Valley View Street, Apt. G215                                   La Palma               CA        90623                 Litigation        X           Unknown
  Sega, Giovanni                             7799 Valley View Street, Apt. G215                                   La Palma               CA        90623                 Litigation        X           Unknown
  Sega, Melanie                              7799 Valley View Street, Apt. G215                                   La Palma               CA        90623                 Litigation        X           Unknown
  Segaud, Therese                            5818 NE 70th St. A306                                                Seattle                WA        98115                 Litigation        X           Unknown
  Segers, Roy                                14922 West Bend Drive                                                Houston                TX        77082                 Litigation        X           Unknown
  Segura, Michelle                           3723 Serene Way                                                      Lynwood                WA        98037                 Litigation        X           Unknown
  Seiler, Ernest                             3116 Chandler Blvd.                                                  Burbank                CA        91505                 Litigation        X           Unknown
  Seiler, John                               RTS - Emeritus at Amber Oaks 4415 Rio D'oro St.                      San Antonio            TX        78233                 Litigation        X           Unknown
  Seisay, Eric                               263 2nd St                                                           Allison                PA        15413                 Litigation        X           Unknown
  Selah, Alan                                5029 Clover Valley Dr.                                               The Colony             TX        75056                 Litigation        X           Unknown
  Selden, Murrell                            1013 S. Lyman Avenue                                                 Oak Park               IL        60304                 Litigation        X           Unknown
  Self, Phyllis                              7222 Hoover Dr.                                                      Sellersburg            IN        47172                 Litigation        X           Unknown
  Sell, Danny                                2160 Bellfountaine Ave                                               Dayton                 OH        45404                 Litigation        X           Unknown
  Sellers, Julia                             68 Cottage Street                                                    Cranston               RI        02910                 Litigation        X           Unknown
  Selover, Ralph                             177 Brookside Terrace West                                           Tonawanda              NY        14150                 Litigation        X           Unknown
  Semien, Louanna                            407 Highway 358                                                      Church Point           LA        70525                 Litigation        X           Unknown
  Sepulveda, Brianna                         24603 Island Avenue                                                  Carson                 CA        90745                 Litigation        X           Unknown
  Sepulveda, Marcelino                       1350 I Street                                                        Brawley                CA        92227                 Litigation        X           Unknown
  Sepulveda, Ramon                           24603 Island Avenue                                                  Carson                 CA        90745                 Litigation        X           Unknown
  Sepulveda, Roxana                          24603 Island Avenue                                                  Carson                 CA        90745                 Litigation        X           Unknown
  Sepulveda, Xochilt                         354 E 248th Street                                                   Carson                 CA        90745                 Litigation        X           Unknown
  Sepulveda, Yudith                          354 E 248th Street                                                   Carson                 CA        90745                 Litigation        X           Unknown
  Serna, Evelyn                              206 S. Echo St.                                                      Anaheim                CA        92804                 Litigation        X           Unknown
  Serna-Yeomans, Sandra                      12345 Lake City Way NE #228                                          Seattle                WA        98125                 Litigation        X           Unknown



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  Serra, Claudia                             10440 Paramount Blvd Apt J1086                                      Downey                     CA        90241                 Litigation        X           Unknown
  Serrano, Maria                             3530 Josie Ave                                                      Long Beach                 CA        90808                 Litigation        X           Unknown
  Sessoms, Ernest                            1121 73rd Street                                                    Newport News               VA        23605                 Litigation        X           Unknown
  Seto, Myrna                                8350 Fair Oaks Blvd.- Apt #1215                                     Carmichael                 CA        95608                 Litigation        X           Unknown
  Settledown, Yvette                         1903 Cedar Fork Drive Apt E                                         Greensboro                 NC        27407                 Litigation        X           Unknown
  Settles, Karyn                             39 Goldenrain                                                       Aliso Viejo                CA        92656                 Litigation        X           Unknown
  Setzekorn, Charles                         13789 East Salem Church Road                                        Mount Vernon               IL        62864                 Litigation        X           Unknown
  Sever, John                                1609 Electric Ave.- Apt. #2                                         Seal Beach                 CA        90740                 Litigation        X           Unknown
  Severe, Willie                             1288 W. 37th Street                                                 Los Angeles                CA        90007                 Litigation        X           Unknown
  Severino, Vincent                          205 Arthur Ave                                                      West Babylon               NY        11704                 Litigation        X           Unknown
  Severns, Bruce                             5116 Laura Ct.                                                      Bakersfield                CA        93308                 Litigation        X           Unknown
  Severson, Jeff                             5310 Marina Pacifica Drive South                                    Long Beach                 CA        90803                 Litigation        X           Unknown
  Sevilla, Alice                             404 Phoenix Circle                                                  Vallejo                    CA        94589                 Litigation        X           Unknown
  Sevougian, Zaven                           22349 Los Tigres Dr.                                                Saugus                     CA        91350                 Litigation        X           Unknown
  Sewell, Anthony                            P.O. Box 33211                                                      Riverside                  CA        92519                 Litigation        X           Unknown
  Sewell, Chanmalin                          2913 Arbor Rd                                                       Lakewood                   CA        90712                 Litigation        X           Unknown
  Sexton, Angela                             2728 Sharon Ln. Apt. 2                                              Greenville                 MS        38701                 Litigation        X           Unknown
  Sexton, Jeffrey                            RTS - 13653 County Road 2                                           Scottown                   OH        45678                 Litigation        X           Unknown
  Sexton, Teresa                             302 Midlake Dr                                                      Knoxville                  TN        37918                 Litigation        X           Unknown
  Shaath, Afaf                               578 Staghound Ave.                                                  Riverside                  CA        92506                 Litigation        X           Unknown
  Shackleton, Don                            E4789 County Road N Apt A                                           Wheeler                    WI        54772                 Litigation        X           Unknown
  Shade, Mary                                PO Box 68                                                           Park Hall                  MD        20667                 Litigation        X           Unknown
  Shadrach, Cranston                         246 Hamilton Ave.                                                   Hasbrouck Heights          NJ        07604                 Litigation        X           Unknown
  Shaeer, Allen                              2342 Restmere Lane                                                  Spring Hill                FL        34609                 Litigation        X           Unknown
  Shafiuddin, Gulab                          2118 Cardinal Drive                                                 Glendale Heights           IL        60139                 Litigation        X           Unknown
  Shalinski, Peter                           6380 Mill Creek Place                                               Douglasville               GA        30135                 Litigation        X           Unknown
  Shall, Debra                               846 N. Julian Street                                                Ebensburg                  PA        15931                 Litigation        X           Unknown
  Shannon, Marvin                            36 South Floridale Dr.                                              St. Louis                  MO        63135                 Litigation        X           Unknown
  Shapiro, Cecile                            RTS - 307 Wedgewood Way                                             Atlanta                    GA        30350                 Litigation        X           Unknown
  Shapiro, Jordan                            200 N Main St., Ste. 8                                              East Long Meadow           MA        01028                 Litigation        X           Unknown
  Shapiro, Mark                              515 Avon Street, 1st floor                                          Philadelphia               PA      19116-3324              Litigation        X           Unknown
  Sharifi, Temor                             1527 Naamans Creek Road                                             Marcus Hook                PA        19060                 Litigation        X           Unknown
  Sharma, Anna                               9206 Azure Court Apt 102                                            Manassas                   VA        20110                 Litigation        X           Unknown
  Sharma, Vikashni                           7537 Muirfield Way                                                  Sacramento                 CA        95822                 Litigation        X           Unknown
  Sharp, Anthony                             6140 Elgywood Lane, Apt. E                                          Charlotte                  NC        28213                 Litigation        X           Unknown
  Sharp, Clara                               3319 Marcus Drive                                                   Pensacola                  FL        32503                 Litigation        X           Unknown
  Sharp, Joseph                              515 Renford Road B626                                               Knoxville                  TN        37919                 Litigation        X           Unknown
  Sharpnack, Robert                          17 Easthill                                                         Coco de Cazar              CA        92679                 Litigation        X           Unknown
  Shaw, Artie L.                             16317 Los Alimos Street                                             Granada Hills              CA        91344                 Litigation        X           Unknown
  Shaw, Eric Ray                             540 Pennsylvania Avenue                                             Colton                     CA        92324                 Litigation        X           Unknown
  Shaw, Jerrilyn Renee                       16317 Los Alimos Street                                             Granada Hills              CA        91344                 Litigation        X           Unknown
  Shaw, Michael                              2100 NE 41st St., Apt B                                             Lighthouse Point           FL        33064                 Litigation        X           Unknown
  Shaw, Raymond                              540 Pennsylvania Avenue                                             Colton                     CA        92324                 Litigation        X           Unknown
  Shaw, Shaunna Rene                         RTS - 540 N. Pennsylvania Ave.                                      Colton                     CA        92324                 Litigation        X           Unknown
  Shaw, Shirley                              407 Meyer Rd.                                                       Wentzille                  MO        63385                 Litigation        X           Unknown
  Shaw, Terry                                RTS - 540 N. Pennsylvania Ave.                                      Colton                     CA        92324                 Litigation        X           Unknown
  Shaw, Vicki                                575 Smith Street                                                    Detroit                    TX        75436                 Litigation        X           Unknown
  Shay, Pamella                              9294 West County Road 950 North                                     Middletown                 IN        47356                 Litigation        X           Unknown
  Shearer II, Herbert                        3758 Parkview Drive                                                 Alexandria                 KY        41001                 Litigation        X           Unknown
  Shedlock, John                             1647 Gable Drive                                                    Coopersburg                PA        18036                 Litigation        X           Unknown



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  Sheehan, Catherine                         2 Factory Road                                                    Wilmington                MA        01887                 Litigation        X           Unknown
  Sheehan, Donna Lee                         4851 Belcher Rd.                                                  Eden                      NY        14057                 Litigation        X           Unknown
  Sheehan, James                             P.O. Box 1025                                                     Miller Place              NY        11764                 Litigation        X           Unknown
  Sheffield, Carol                           1064 County Road 39                                               Evergreen                 AL        36401                 Litigation        X           Unknown
  Sheffield, George                          115 S. Main Street                                                Bruce                     WI        54819                 Litigation        X           Unknown
  Shelby, Lamar                              9410 Gullo Avenue                                                 Arleta                    CA        91331                 Litigation        X           Unknown
  Sheldon, Alfred                            36907 Kanis Road.                                                 Paron                     AR        72122                 Litigation        X           Unknown
  Sheley, Diane                              12211 Lakeshore Rd                                                Two Rivers                WI        54241                 Litigation        X           Unknown
  Shellman, Virginia                         6018 Andalusia Avenue                                             Riverside                 CA        92509                 Litigation        X           Unknown
  Shelton, Greta A.                          478 Diamond Peak                                                  Beaumont                  CA        92223                 Litigation        X           Unknown
  Shelton, Sr., Dennis                       11068 Cherry Laurel Rd,                                           Fort Myers                FL        33912                 Litigation        X           Unknown
  Shenouda, Susan                            8441 Monroe Ave.                                                  Stanton                   CA        90680                 Litigation        X           Unknown
  Shenton, Mary                              2 Nash Cr.                                                        Millsboro                 DE        19966                 Litigation        X           Unknown
  Shepard, Billy                             P.O. Box 117                                                      Roxton                    TX        75477                 Litigation        X           Unknown
  Sheperd, Lewis                             1501 30th Court SW                                                Lanett                    AL        36863                 Litigation        X           Unknown
  Shepherd, Cindy                            628 Crestmont Way                                                 Greenville                SC        29615                 Litigation        X           Unknown
  Shepherd, Jr., John                        7290 Jordan Road                                                  Elm City                  NC        27822                 Litigation        X           Unknown
  Shepherd, Robert                           3120 Wallace Street                                               Riverside                 CA        92509                 Litigation        X           Unknown
  Shepherd, Wiley Richard                    3355 Debbie Lane                                                  Riverside                 CA        92501                 Litigation        X           Unknown
  Sheppard, Bobby                            804 Bloomfield Road                                               Vidalia                   GA        30474                 Litigation        X           Unknown
  Shera, Clark                               411 W. Main Street                                                Westport                  IN        47283                 Litigation        X           Unknown
  Sherbert, Michael                          159 Eastbrook Terrace                                             Roebuck                   SC        29376                 Litigation        X           Unknown
  Sherman, Ethel                             1 Clauss Court Apt 9A                                             Sacramento                CA        95820                 Litigation        X           Unknown
  Sherman, Lawrence                          8291 E. Club Rd.                                                  Boca Raton                FL        33433                 Litigation        X           Unknown
  Sherman, Robert                            201 Lochridge Ct., Apt. 1                                         Azle                      TX        76020                 Litigation        X           Unknown
  Sherrard, Mike                             766 Cady Way                                                      Atlanta                   GA        30312                 Litigation        X           Unknown
  Sherwood, Edna                             1388 N. 300 E.                                                    Pleasant Grove            UT        84062                 Litigation        X           Unknown
  Sherwood, Letitia                          625 N Van Buren, #410                                             Tuscon                    AZ        85711                 Litigation        X           Unknown
  Shields, Elaine                            619 S 4th St.                                                     Ponca City                OK      74601-6336              Litigation        X           Unknown
  Shiling, David                             6401 Warner Ave, #137                                             Huntington Beach          CA        92647                 Litigation        X           Unknown
  Shimkus, Elizabeth                         6721 North 25th Dr Apt 111                                        Phoenix                   AZ        85017                 Litigation        X           Unknown
  Shingleton, William                        202 Woodcroft Road                                                Baden                     PA        15005                 Litigation        X           Unknown
  Shipley, James                             420 E. Baltimore Ave                                              Pine Bluff                NC        28373                 Litigation        X           Unknown
  Shipp, Diane                               324 Jones Kelley Rd                                               Travelers Rest            SC        29690                 Litigation        X           Unknown
  Shirley, Michael                           1010 Filmore Ap-103C                                              Mt. Vernon                MO        65712                 Litigation        X           Unknown
  Shirozian, Kevork                          2957 Arch Road                                                    Norristown                PA        19401                 Litigation        X           Unknown
  Shoecraft, Wallace                         4800 E Charleston Blvd, Apt 32                                    Las Vegas                 NV        89104                 Litigation        X           Unknown
  Shoor, Aman                                7439 La Palma Ave.- Unit # 217                                    Buena Park                CA        90620                 Litigation        X           Unknown
  Shore, Irwin                               2209 Kirsten Lee Drive                                            Westlake Village          CA        91361                 Litigation        X           Unknown
  Short, Kenneth Wade                        1468 North Euclid Avenue                                          Upland                    CA        91786                 Litigation        X           Unknown
  Shotwell, Lisa                             29 Belchre Street                                                 Essex                     MA        01929                 Litigation        X           Unknown
  Shows, James                               129 Park Hills Dr. #2210                                          Waxahachie                TX        75165                 Litigation        X           Unknown
  Shuford, Willie                            2281 George Street                                                Newton                    NC        28658                 Litigation        X           Unknown
  Shults, LaVonda                            422 Coyote Peak Way                                               Sevierville               TN        37862                 Litigation        X           Unknown
  Shupert, Jerry                             260 Lakeview Drive                                                West Union                OH        45693                 Litigation        X           Unknown
  Shytle, Janet                              1205 Northgate Drive                                              Shelby                    NC        28152                 Litigation        X           Unknown
  Sica, Veronica                             551 Cranbury Rd. Apt. 119                                         East Brunswick            NJ        08816                 Litigation        X           Unknown
  Siddiqui, Nabeel                           1248 Crockett Drive                                               Frisco                    TN        75034                 Litigation        X           Unknown
  Sieg, Cindy                                318 Samuel Dr. Apt. 429                                           Madison                   WI        53717                 Litigation        X           Unknown
  Siegle, Travis Keith                       23570 Brook Dr.                                                   Canyon Lake               CA        92587                 Litigation        X           Unknown



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  Sierra, Edith                              6348 Thunder Bay Trail                                                  Riverside                CA      92509              Litigation        X           Unknown
  Sierra, Refugio                            6348 Thunder Bay Trail                                                  Riverside                CA      92509              Litigation        X           Unknown
  Sierra-Ortega, Angel Luis                  18414 E Rayson St                                                       Azusa                    CA      91702              Litigation        X           Unknown
  Sigler, Jane                               300 N. Holly Ave. #129                                                  Sioux Falls              SD      57104              Litigation        X           Unknown
  Sigmund, Patricia                          190 Bridge St. #3303                                                    Salem                    MA      01970              Litigation        X           Unknown
  Sileno, Vivian                             12 Bertoli Dr.                                                          Litchfield               CT      06759              Litigation        X           Unknown
  Siles, Alan                                1 Cotswold Drive                                                        North Salem              NY      10560              Litigation        X           Unknown
  Silva, Antonio                             1 Petrie Ln.                                                            Queensbury               NY      12804              Litigation        X           Unknown
  Silva, Betty                               PO Box 965                                                              Avondale                 AZ      85323              Litigation        X           Unknown
  Silva, Celia                               45561 36th Street East                                                  Lancaster                CA      93535              Litigation        X           Unknown
  Silva, Crystal Brooke                      45561 36th St. East                                                     Lancaster                CA      93535              Litigation        X           Unknown
  Silva, Jasmine                             24726 Carmel Drive                                                      Carson                   CA      90745              Litigation        X           Unknown
  Silva, Jeremy                              24726 Carmel Drive                                                      Carson                   CA      90745              Litigation        X           Unknown
  Silva, Jonathan                            24726 Carmel Drive                                                      Carson                   CA      90745              Litigation        X           Unknown
  Silva, Joshua                              24726 Carmel Drive                                                      Carson                   CA      90745              Litigation        X           Unknown
  Silva, Roberto                             45561 36th St. East                                                     Lancaster                CA      93535              Litigation        X           Unknown
  Silver, Adam                               1342 W George Street                                                    Banning                  CA      92220              Litigation        X           Unknown
  Silver, Amy Marie                          1342 West George St.                                                    Banning                  CA      92220              Litigation        X           Unknown
  Silver, Holli Marie                        1342 W George Street                                                    Banning                  CA      92220              Litigation        X           Unknown
  Silverman, Ralph                           40 Camino Alto, #15102                                                  Mill Valley              CA      94941              Litigation        X           Unknown
  Silvey, Donald                             341 Sea Spray Court                                                     Neptune                  NJ      07753              Litigation        X           Unknown
  Silvia, Sonia                              12308 Dandelion Way                                                     Victorville              CA      92392              Litigation        X           Unknown
  Simmerman, Pamela                          4736 Mayview Terrace                                                    Blue Springs             MO      64015              Litigation        X           Unknown
  Simmons Sr., John                          221 Cedar Ridge                                                         Anderson                 SC      29621              Litigation        X           Unknown
  Simmons, Kathy                             11334 Hooper Ave.                                                       Los Angeles              CA      90059              Litigation        X           Unknown
  Simmons, Latisha Denise                    286 Parkview Extension                                                  Athens                   GA      30605              Litigation        X           Unknown
  Simmons, Mary                              3297 Old Creek Road                                                     Greenville               NC      27834              Litigation        X           Unknown
  Simmons, Terry                             310 Naldrette Street                                                    Durand                   MI      48429              Litigation        X           Unknown
  Simms, Uneda                               1304 Shelton Ct.                                                        Suffolk                  VA      23434              Litigation        X           Unknown
  Simoff, Renee                              651 West Davis St. Apt #4                                               Davis                    IA      50065              Litigation        X           Unknown
  Simons, Brad                               25823 Lucille Avenue                                                    Lomita                   CA      90717              Litigation        X           Unknown
  Simons, Cheyenne                           24838 Panama Avenue                                                     Carson                   CA      90745              Litigation        X           Unknown
  Simons, Christopher                        24838 Panama Avenue                                                     Carson                   CA      90745              Litigation        X           Unknown
  Simons, Constance                          24838 Panama Avenue                                                     Carson                   CA      90745              Litigation        X           Unknown
  Simons, Jonathan                           2300 R Street #115                                                      Bakersfield              CA      93301              Litigation        X           Unknown
  Simons, Mary                               4750 70th St. #70                                                       La Mesa                  CA      91942              Litigation        X           Unknown
  Simons, Robert                             24838 Panama Avenue                                                     Carson                   CA      90745              Litigation        X           Unknown
  Simplicio, Kenneth Michael                 730 Kemp Street                                                         Riverside                CA      92501              Litigation        X           Unknown
  Simpson, Delores                           16601 Westmoreland Rd.                                                  Detroit                  MI      48219              Litigation        X           Unknown
  Simpson, James                             3431 Elport Way, Suite A                                                Fairbanks                AK      99709              Litigation        X           Unknown
  Simpson, Wilma                             707 Nottingham Rd.                                                      La Place                 LA      70068              Litigation        X           Unknown
  Sims, Barbara                              6217 Champion Rd.                                                       Chattanooga              TN      37416              Litigation        X           Unknown
  Sims, Larthell Young                       RTS - 2670 Rubidoux Boulevard                                           Riverside                CA      92509              Litigation        X           Unknown
  Sims, Stephen L.                           2412 Desire Avenue                                                      Rowland Heights          CA      91748              Litigation        X           Unknown
  Sinderbrand, Richard                       148 Galsworthy St                                                       Sherman oaks             CA      91360              Litigation        X           Unknown
  Singer, Frank                              2213 Dalis Drive                                                        Concord                  CA      94520              Litigation        X           Unknown
  Singer, Stanley                            5531 Ocean Blvd.                                                        Long Beach               CA      90803              Litigation        X           Unknown
  Singh, Jaswant                             5472 Festival Circle                                                    La Palma                 CA      90623              Litigation        X           Unknown
  Singh, Michael Jay                         25275 Alessandro Boulevard- Apt. 915                                    Moreno Valley            CA      92553              Litigation        X           Unknown
  Singh, Tara                                4031 6th Street Apartment 1                                             Riverside                CA      92501              Litigation        X           Unknown



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                                                                                                                                                                           Claim       Unliquidated

  Singleton, Jr., Milton                     19950 Burgess St.                                                    Detroit                   MI       48219                Litigation        X           Unknown
  Sinicropi, Mary                            8997 Simpson Road                                                    Ovid                      MI       48866                Litigation        X           Unknown
  Sisneros Sr., Joseph                       7721 Whitney Drive                                                   Riverside                 CA       92509                Litigation        X           Unknown
  Sistos, David                              3126 Wallace Street                                                  Riverside                 CA       92509                Litigation        X           Unknown
  Sistos, Raymond                            9415 Hawthorne Avenue                                                Riverside                 CA       92503                Litigation        X           Unknown
  Sizer, Galen                               105 Geneva St. Apt. #173                                             Bath                      NY       14810                Litigation        X           Unknown
  Skaggs, Henry                              2239 Dupard St.                                                      Mandeville                LA       70448                Litigation        X           Unknown
  Skeens, Phyllis                            RTS - 1006 F Street, Apt B                                           South Charleston          WV       25303                Litigation        X           Unknown
  Skelton, Ray                               1226 Powell Tanks Loop                                               Lisman                    AL       36912                Litigation        X           Unknown
  Skibo, Stanley                             1807 W. Mason St.                                                    Green Bay                 WI       54303                Litigation        X           Unknown
  Skilling, Caroline                         2 Cherokee Rd.                                                       Vernon Hills              IL       60061                Litigation        X           Unknown
  Skinner, Debra                             64 Mayfair Lane                                                      Loxley                    AL       36551                Litigation        X           Unknown
  Skinner, Jannette                          4087 Stampede Dr                                                     Castle Rock               CO       80104                Litigation        X           Unknown
  Skinner, Mykai                             7251 Exeter St., Apt. 12                                             Paramount                 CA       90723                Litigation        X           Unknown
  Skomski, Diane                             PO Box 43                                                            Wedron                    IL       60557                Litigation        X           Unknown
  Skomski, Thomas                            PO Box 43                                                            Wedron                    IL       60557                Litigation        X           Unknown
  Skouby, Valerie                            12241 Hillcrest Pl                                                   Maryland Heights          MO       63043                Litigation        X           Unknown
  Slanec, Cynthia                            29757 Mont Morency Dr.                                               Novi                      MI       48377                Litigation        X           Unknown
  Slatton, Donna                             3419 Via Lido, 38                                                    Newport Beach             CA       92603                Litigation        X           Unknown
  Slawson, Lydia                             548 Vista Rambia                                                     Walnut                    CA       91789                Litigation        X           Unknown
  Slead, Barbara                             2320 24th St.                                                        Great Bend                KS       67530                Litigation        X           Unknown
  Sleger, Richard                            9925 Ulmerton Rd. Lot 236                                            Largo                     FL       33771                Litigation        X           Unknown
  Slem, Sherry                               1107 Shenango Road                                                   Beaver Falls              PA       15010                Litigation        X           Unknown
  Sliwinski, Richard                         101 School St.                                                       Kenmore                   NY       14217                Litigation        X           Unknown
  Sloan, Turney                              831 Lindbergh Ln                                                     Grand Prairie             TX       75051                Litigation        X           Unknown
  Small, Helen                               5512 S. Marble Drive                                                 Gold Canyon               AZ       85118                Litigation        X           Unknown
  Small, Michael                             10711 Sherman Grove Ave. Space 42                                    Sunland                   CA       91040                Litigation        X           Unknown
  Smallwood, Hugh                            2412 Left Fork Little Blaine Rd.                                     Louisa                    KY       41230                Litigation        X           Unknown
  Smart, Delores                             50 Kilhoffer Street                                                  Buffalo                   NY       14211                Litigation        X           Unknown
  Smedley, Eric                              1015 Victory Crescent                                                Regina                    SK      S4N 6X2   CANADA      Litigation        X           Unknown
  Smedley, Sandra Marie Cole                 135 Chestnut Lane Apt. J203                                          Richmond Heights          OH       44143                Litigation        X           Unknown
  Smedley, Thomas Howard                     1701 W. 39th Place                                                   Los Angeles               CA       90062                Litigation        X           Unknown
  Smiley, Keverly                            9150 S. Harvard Blvd.                                                Los Angeles               CA       90047                Litigation        X           Unknown
  Smiley, Marsheille                         1235 W. 83rd St.                                                     Los Angeles               CA       90044                Litigation        X           Unknown
  Smiley, Oscar                              P. O. Box 6325                                                       Burbank                   CA       91510                Litigation        X           Unknown
  Smilinich, Jackie                          240 Grove St.                                                        Tonawanda                 NY       14150                Litigation        X           Unknown
  Smith III, Nathan                          620 Southern Way                                                     Spanish Fort              AL       36527                Litigation        X           Unknown
  Smith III, Sandy                           12325 Brewster Dr.                                                   Moreno Valley             CA       92555                Litigation        X           Unknown
  Smith Jr., Charles Dale                    P.O. Box 224                                                         Oro Grande                CA       92368                Litigation        X           Unknown
  Smith Jr., James                           9907 Finzel Rd.                                                      Carleton                  MI       48117                Litigation        X           Unknown
  Smith Jr., William                         802 Massena Avenue                                                   Rome                      NY       13440                Litigation        X           Unknown
  Smith Sr., Jerry                           PO Box 6412                                                          Jacksonville              AR       72078                Litigation        X           Unknown
  Smith, Amos                                2212 Renault Dr. Apt A                                               St Louis                  MO       63146                Litigation        X           Unknown
  Smith, Barry Jamar                         3018 Casa Loma                                                       San Bernardino            CA       92404                Litigation        X           Unknown
  Smith, Betty                               648 S. Oak                                                           Gardner                   OK       66030                Litigation        X           Unknown
  Smith, Betty                               230 First Rd                                                         Moncure                   NC       27559                Litigation        X           Unknown
  Smith, Betty                               1514 Gracewood Dr.                                                   Greensboro                NC       27408                Litigation        X           Unknown
  Smith, Betty                               16601-A Walker Road                                                  Shawnee                   OK       74801                Litigation        X           Unknown
  Smith, Beverly                             1546 Kanawha Blvd Apt 409                                            Charleston                WV       25311                Litigation        X           Unknown
  Smith, Bobbie                              7005 North West 72 Ter                                               Kansas City               MO       64152                Litigation        X           Unknown



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  Smith, Charles                             33 Cumberland Rd.                                                  Fishkill                  NY        12524                 Litigation        X           Unknown
  Smith, Charles                             RTS - 8746 Georgia Highway 129                                     Dry Branch                GA        31020                 Litigation        X           Unknown
  Smith, Charles                             4572 Old Suwanee Road                                              Buford                    GA        30518                 Litigation        X           Unknown
  Smith, Charles                             602 Dayton Ave., Apt A                                             Newberg                   OR        97132                 Litigation        X           Unknown
  Smith, Charles                             1408 Ridgeback Road Apt. E                                         Chula Vista               CA        91910                 Litigation        X           Unknown
  Smith, Christine                           50733 Township Hwy 198                                             Clarington                OH        43915                 Litigation        X           Unknown
  Smith, Christopher                         2525 15th Street North, Apt. #4                                    Fargo                     ND        58103                 Litigation        X           Unknown
  Smith, David                               RTS - 2100 N. Hampton Rd.                                          DeSoto                    TX        75115                 Litigation        X           Unknown
  Smith, David                               932 Chappell Rd                                                    Charleston                WV        25304                 Litigation        X           Unknown
  Smith, Diana                               626 West 2nd Street                                                Maysville                 KY        11056                 Litigation        X           Unknown
  Smith, Donald                              48 Central Ave                                                     Buffalo                   WV        25033                 Litigation        X           Unknown
  Smith, Donnell                             1550 Via Del Rio                                                   Corona                    CA        92882                 Litigation        X           Unknown
  Smith, Elizabeth                           817 Radbard St.                                                    Carson                    CA        90746                 Litigation        X           Unknown
  Smith, Ellen                               14018 Dagmar Avenue                                                Los Angeles               CA        90061                 Litigation        X           Unknown
  Smith, Essie                               2616 Lucas Dr.                                                     Fort Worth                TX        76119                 Litigation        X           Unknown
  Smith, Freda                               517 Hickory Street Apt 10                                          Hudson                    NC        28638                 Litigation        X           Unknown
  Smith, Freda                               PO Box 14524                                                       Torrance                  CA      90503-8524              Litigation        X           Unknown
  Smith, Frederick                           805 S.W. 8th Street                                                Seminole                  TX        79360                 Litigation        X           Unknown
  Smith, Gerald                              210 Airport Dr                                                     Princeton                 WV        24740                 Litigation        X           Unknown
  Smith, Grover                              435 Gallie Lissimore Rd                                            Adel                      GA        31620                 Litigation        X           Unknown
  Smith, Henry                               401 Jefferson St.                                                  LaGrange                  GA        30240                 Litigation        X           Unknown
  Smith, Jacquelyn                           3807 Patrician Drive                                               Philadelphia              PA        19154                 Litigation        X           Unknown
  Smith, James                               4520 Cerritos Dr.                                                  Long Beach                CA        90807                 Litigation        X           Unknown
  Smith, James                               1450 East Bermuda Dunes                                            Ontario                   CA        91761                 Litigation        X           Unknown
  Smith, Janice                              5014 28th Street, #513                                             Gulfport                  MS        39501                 Litigation        X           Unknown
  Smith, Jessica-Perry                       3100 London Lane                                                   Oxnard                    CA        93036                 Litigation        X           Unknown
  Smith, Joan                                P.O. Box 384                                                       Hayneville                AL        36040                 Litigation        X           Unknown
  Smith, Joann                               221 Monroe St.                                                     Brooklyn                  NY        11216                 Litigation        X           Unknown
  Smith, Joe                                 8350 Gardendale St., Apt. 121                                      Paramount                 CA        90723                 Litigation        X           Unknown
  Smith, Jr., George                         4600 Fort Jackson Blvd 138                                         Columbia                  SC        29209                 Litigation        X           Unknown
  Smith, Judith                              6034 Danford Creek Dr.                                             Kalamazoo                 MI        49009                 Litigation        X           Unknown
  Smith, Kamara                              4449 Le Park Dr.                                                   Long Beach                CA        90723                 Litigation        X           Unknown
  Smith, Kenneth                             11830 Manor Drive, House B                                         Hawthorne                 CA        90250                 Litigation        X           Unknown
  Smith, Larzetta                            160 NW 9th Ave                                                     Florida City              FL      33034-4829              Litigation        X           Unknown
  Smith, Lois                                63 Walter Drive                                                    Bella Vista               AR        72714                 Litigation        X           Unknown
  Smith, Lorraine                            35747 Ballantine Place                                             Fremont                   CA        94536                 Litigation        X           Unknown
  Smith, Maria T.                            12325 Brewster Dr.                                                 Moreno Valley             CA        92555                 Litigation        X           Unknown
  Smith, Marjorie                            2233 N. Dresden                                                    Mesa                      AZ        85203                 Litigation        X           Unknown
  Smith, Marlean                             1280 A Higdon Rd.                                                  Holly Springs             MS        38635                 Litigation        X           Unknown
  Smith, Marvin                              P.O. Box 4232                                                      Rancho Cucamonga          CA        91729                 Litigation        X           Unknown
  Smith, Mary Ardeth                         P.O. Box 224                                                       Oro Grande                CA        92368                 Litigation        X           Unknown
  Smith, Mary Sue                            5666 Newton Street                                                 Riverside                 CA        92509                 Litigation        X           Unknown
  Smith, Mildred                             11810 Earnshaw Ct.                                                 Brandywine                MD        20613                 Litigation        X           Unknown
  Smith, Myrtle                              PO Box 231                                                         Garrison                  TX        75946                 Litigation        X           Unknown
  Smith, Nicole                              8350 Gardendale St., Apt. 121                                      Paramount                 CA        90723                 Litigation        X           Unknown
  Smith, Orinio                              1212 243rd Street                                                  Harbor City               CA        90710                 Litigation        X           Unknown
  Smith, Paul                                117 Upland Road                                                    Marlboro                  MA        01752                 Litigation        X           Unknown
  Smith, Rebecca                             4864 Blanding Avenue                                               Memphis                   TN        38118                 Litigation        X           Unknown
  Smith, Rene D.                             22047 Goshute Avenue                                               Apple Valley              CA        92307                 Litigation        X           Unknown
  Smith, Robert                              228 W. 38th Street                                                 Louisville                KY        40212                 Litigation        X           Unknown



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  Smith, Roger Dale Frank                       20272 Mural Street                                                     Perris                   CA      92570              Litigation        X           Unknown
  Smith, Ronald                                 2445 N. Elm St                                                         River Grove              IL      60171              Litigation        X           Unknown
  Smith, Ronald                                 2011 A Street, Apt 2                                                   Lincoln                  NE      68502              Litigation        X           Unknown
  Smith, Ronnie                                 882 East Casa Blanco Avenue                                            Midvale                  UT      84047              Litigation        X           Unknown
  Smith, Samuel                                 24157 State Highway 154                                                Diana                    TX      75640              Litigation        X           Unknown
  Smith, Sarah                                  14237 US Hwy 43 S.                                                     Linden                   AL      36748              Litigation        X           Unknown
  Smith, Selena                                 P.O. Box 280336                                                        Memphis                  TN      38168              Litigation        X           Unknown
  Smith, Shevin                                 11310 SW 203rd Street                                                  Miami                    FL      33189              Litigation        X           Unknown
  Smith, Shirley                                1365 N. Waterman Ave, Apt 327                                          San Bernardino           CA      92404              Litigation        X           Unknown
  Smith, Shirley                                184 Richard Lane                                                       State Line               MS      39362              Litigation        X           Unknown
  Smith, Taylour                                7246 Petrol # 4                                                        Paramount                CA      90723              Litigation        X           Unknown
  Smith, Teresa                                 7676 Fairlane Rd.                                                      Lucerne Valley           CA      92356              Litigation        X           Unknown
  Smith, Terrelle                               16830 Eagle Peak Rd.                                                   Riverside                CA      92504              Litigation        X           Unknown
  Smith, Terry                                  552 Roxanne Drive                                                      Antioch                  TN      37013              Litigation        X           Unknown
  Smith, Tess                                   4613 Tinker Diagonal St., Apt. A106                                    Del City                 OK      73115              Litigation        X           Unknown
  Smith, Vanessa                                7005 North West 72 Ter                                                 Kansas City              MO      64152              Litigation        X           Unknown
  Smith, Vickie                                 3537 Bellview Road                                                     Waskom                   TX      75692              Litigation        X           Unknown
  Smith, Wade                                   5007 Virginia Ave. S.E.                                                Charleston               WV      25304              Litigation        X           Unknown
  Smith, Wilbert                                217 Mills Ave                                                          Beckley                  WV      25801              Litigation        X           Unknown
  Smutzer and family, Anne A. Adams-            293 Westgate Rd.                                                       Kenmore                  NY      14217              Litigation        X           Unknown
  Smyre, William                                RTS - 2221 Mt Holly St                                                 Baltimore                MD      21216              Litigation        X           Unknown
  Sneed, Arthur                                 2540 Club Manor Dr.                                                    Dallas                   TX      75237              Litigation        X           Unknown
  Snell, Randy                                  39 N. Kearl Street                                                     Grantsville              UT      84029              Litigation        X           Unknown
  Snodgrass, James                              RTS - 2218 Viewtop Lane Apt A                                          Arlington                TX      76012              Litigation        X           Unknown
  Snow, Alexander                               1969 5th Park Ave. # 212                                               Portland                 OR      97201              Litigation        X           Unknown
  Snow, Carolyn                                 13448 Cripple Creek Lane                                               Llian                    AL      36549              Litigation        X           Unknown
  Snow, Tracie                                  7219 Exeter St. # 8                                                    Paramount                CA      90723              Litigation        X           Unknown
  Snyder, Cheryl                                PO BOX 1893                                                            Saint Albans             WV      25177              Litigation        X           Unknown
  Snyder, Thomas                                744 Oak Street                                                         Lima                     OH      45804              Litigation        X           Unknown
  Socha, Tammy                                  3421 E 2062 Rd                                                         Ottawa                   IL      61350              Litigation        X           Unknown
  Soethe, Sr., Andrew                           5 Cardinal Rd.                                                         Baltimore                MD      21221              Litigation        X           Unknown
  Solano- Sr., Jorge                            5310 Canyon Crest Dr.- Apt 19                                          Riverside                CA      92507              Litigation        X           Unknown
  Solano, Adrian                                5310 Canyon Crest Drive- Apt# 19                                       Riverside                CA      92507              Litigation        X           Unknown
  Solano, Celina Margarita                      5310 Canyon Crest Dr.- Apt 19                                          Riverside                CA      92507              Litigation        X           Unknown
  Solano, Vanessa                               2779 Prospect Ave.                                                     Riverside                CA      92507              Litigation        X           Unknown
  Soles, Rebecca                                2001 Summerfield Road                                                  Selma                    AL      36701              Litigation        X           Unknown
  Solis, Cecilia                                154 5 1/2 Avenue                                                       Corcoran                 CA      93212              Litigation        X           Unknown
  Soliz, Maria                                  1319 Stadium Ave.                                                      Big Spring               TX      79720              Litigation        X           Unknown
  Solke, Velva                                  212 Iroquois Ave                                                       Green Bay                WI      54301              Litigation        X           Unknown
  Sollars, Lisa                                 693 N. Spruce #J                                                       Upland                   CA      91786              Litigation        X           Unknown
  Solomon, Jesse                                401 SW Bunker Street                                                   Madison                  FL      32340              Litigation        X           Unknown
  Solomon, Joseph                               45410 Panorama Dr. Unit A                                              Palm Desert              CA      92260              Litigation        X           Unknown
  Solomon, William                              9700 Rt 150                                                            Coal Valley              IL      61240              Litigation        X           Unknown
  Solorio, Aurora                               5235 35th Street                                                       Riverside                CA      92509              Litigation        X           Unknown
  Solorzano Rodriguez, Federico                 9563 Giovane Street                                                    South El Monte           CA      91733              Litigation        X           Unknown
  Solorzano, Alfredo                            375 Feliz Street                                                       Perris                   CA      92571              Litigation        X           Unknown
  Somerlot, Criss                               9891 Gleneagle Place                                                   Powell                   OH      43065              Litigation        X           Unknown
  Somerville, James                             10427 Artesia Blvd., #312                                              Bellflower               CA      90706              Litigation        X           Unknown
  Somphou, Van                                  11759 Dogwood Avenue                                                   Fountain Valley          CA      92708              Litigation        X           Unknown
  Somsen, Wanda                                 526 County Road 233                                                    Durango                  CO      81301              Litigation        X           Unknown



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  Sonessa, Margaret                          69 Wilson Avenue                                                      Bellmawr                 NJ      08031              Litigation        X           Unknown
  Sorrell, Eleanor                           2005 N. Valley Dr.                                                    Muncie                   IN      47304              Litigation        X           Unknown
  Sosa, Anthony                              503 N 83 Street                                                       Edinburg                 TX      78542              Litigation        X           Unknown
  Sosa, Geraldine                            13921 Purdin Ave.                                                     Paramount                CA      90723              Litigation        X           Unknown
  Sosa, Jr., Julian                          13921 Purdin Ave.                                                     Paramount                CA      90723              Litigation        X           Unknown
  Sosa, Sr., Julian                          13921 Purdin Ave.                                                     Paramount                CA      90723              Litigation        X           Unknown
  Soto, Carmen                               339 Watermen Ave.                                                     East Providence          RI      02914              Litigation        X           Unknown
  Soto, Frank                                104 Hiram Ct                                                          Spring Hill              TN      37174              Litigation        X           Unknown
  Soto, Liliana Patricia                     901 E. Washington St. Apt. 328                                        Colton                   CA      92324              Litigation        X           Unknown
  Soto, Maria D.                             3574 Arora Street                                                     Riverside                CA      92509              Litigation        X           Unknown
  Soto, Mary Susan                           2703 Acorn Glen Place                                                 Ontario                  CA      91761              Litigation        X           Unknown
  Soto, Richard                              15524 Brayton Street                                                  Paramount                CA      90723              Litigation        X           Unknown
  Soulam, Issa                               520 Second Avenue Apt #13A                                            New York                 NY      10016              Litigation        X           Unknown
  Soule, Jacqueline                          5748 Tilton Avenue Apartment 112                                      Riverside                CA      92509              Litigation        X           Unknown
  Soupene, Cory Lee                          13332 Kiowa Rd.                                                       Apple Valley             CA      92308              Litigation        X           Unknown
  Soupene, Daniel Alan                       10755 Nambe Rd.                                                       Apple Valley             CA      92308              Litigation        X           Unknown
  Sousani, Victoria                          17322 Martha Street                                                   Encino                   CA      91316              Litigation        X           Unknown
  Southard, Leonard                          1604 Sabal Palm Dr                                                    Edgewater                FL      32132              Litigation        X           Unknown
  Southard, Robert                           170 Union Ave                                                         New Windsor              NY      12553              Litigation        X           Unknown
  Southwick, Shannon                         15504 King Street, Apt 2                                              Monroe                   WA      98272              Litigation        X           Unknown
  Souza, George                              494 SW Eyerly Ave.                                                    Port St. Lucie           FL      34983              Litigation        X           Unknown
  Sowards, Dorothy                           Route 4 BOX 218                                                       Hurricane                WV      25526              Litigation        X           Unknown
  Sowell, James                              23109 NW 227th Dr.                                                    High Springs             FL      32643              Litigation        X           Unknown
  Spaleta, Patricia                          1363 W 26th Street                                                    San Pedro                CA      90732              Litigation        X           Unknown
  Spangler, Jonnie                           411 SW F. Street - Use REP address                                    Bentonville              AR      72712              Litigation        X           Unknown
  Spangler, Kottia                           7659 Prairie Drive                                                    Riverside                CA      92507              Litigation        X           Unknown
  Spankuch, Carolyn                          403 Arch St.                                                          Carlisle                 PA      17013              Litigation        X           Unknown
  Spann, Henry                               PO Box 456                                                            Crawford                 MS      39743              Litigation        X           Unknown
  Sparenberg, Angela                         711 E. Yucca                                                          Hobbs                    NM      88240              Litigation        X           Unknown
  Sparks, Canzator                           7435 Hillstar Circle                                                  Dallas                   TX      75217              Litigation        X           Unknown
  Sparks, Ruby                               678 Nichols Rd.                                                       Springdale               AR      72762              Litigation        X           Unknown
  Sparrow, Nancy                             7517 Pelham Drive                                                     Parma                    OH      44129              Litigation        X           Unknown
  Spaulding, Judith                          1220 Interurban Way                                                   Edmond                   OK      73034              Litigation        X           Unknown
  Spayd, Jack                                120 Hickory Lane                                                      Duncansville             PA      15425              Litigation        X           Unknown
  Spears, James                              8320 Wolcott Ave SO                                                   Seattle                  WA      98118              Litigation        X           Unknown
  Spears, Wynnifred                          1719 Highway 19 N #89                                                 Meridian                 MS      39307              Litigation        X           Unknown
  Speder, Margaret                           1968 Matte Drive                                                      Melbourne                FL      32935              Litigation        X           Unknown
  Speights, Quintilla                        16243 Lahser Rd.                                                      Detroit                  MI      48219              Litigation        X           Unknown
  Spence, Alexzand                           9461 Charleville Blvd., #134                                          Beverly Hills            CA      90212              Litigation        X           Unknown
  Spencer, Kalin                             1704 E. South Ridge Dr.                                               Spokane                  WA      99223              Litigation        X           Unknown
  Spencer, Karen                             806 Lindsey Ave.                                                      Crystal City             MO      63019              Litigation        X           Unknown
  Spencer, Kenneth                           222 S Higbe St.                                                       Reed City                MI      49677              Litigation        X           Unknown
  Spencer, Oliver                            1064 Robb Street East                                                 Summit                   MS      39666              Litigation        X           Unknown
  Spencer, Otis                              202 E. Glenmore Dr Apt. #19                                           Gretna                   NE      68028              Litigation        X           Unknown
  Spencer, Robyn                             34 Sandlewood Drive                                                   Beckley                  WV      25801              Litigation        X           Unknown
  Spencer, Vernon                            P. o. Box 304                                                         Watonga                  OK      73772              Litigation        X           Unknown
  Sperling, Mark                             9530 Lincoln Court                                                    Crown Point              IN      46307              Litigation        X           Unknown
  Spett, Anne et al.                         12643 Williams Ranch Rd                                               Moorpark                 CA      93021              Litigation        X           Unknown
  Spindler, Virginia                         800 S. Beachfield                                                     Baltimore                MD      21229              Litigation        X           Unknown
  Spino, Shirleta                            139 Grove Street                                                      Rutland                  VT      05701              Litigation        X           Unknown



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  Spivey, Rosie                              2213 8th St.                                                            Muskegon Heights           MI        49444                 Litigation        X           Unknown
  Spradlin, Richard                          305 Lancaster Gate Lane, Apt 102                                        Midlothian                 VA        23113                 Litigation        X           Unknown
  Spradlin, Terry                            PO Box 1245                                                             South Shore                KY        41175                 Litigation        X           Unknown
  Spring, John                               43 Lillian Avenue                                                       New Fairfield              CT        06812                 Litigation        X           Unknown
  Spry, James                                2027 3rd Street                                                         East Carondelet            IL        62240                 Litigation        X           Unknown
  Spurlock, Odell                            1700 E. Date St., #2056                                                 San Bernardino             CA        92404                 Litigation        X           Unknown
  Squillace, Joi                             58 Foxcroft Rd.                                                         Denville                   NJ        07834                 Litigation        X           Unknown
  St. Andre, Charles                         5466 N Dixie Highway                                                    Newport                    MI        48166                 Litigation        X           Unknown
  St. Clair, Charles                         1030 Old Omen Rd., Apt. E108                                            Tyler                      TX        75701                 Litigation        X           Unknown
  Stacy, Bruce                               2305 Rankin Dr.                                                         Christiana                 TN        37037                 Litigation        X           Unknown
  Stacy, Lee                                 511 Rora Ave. S.W.                                                      Valdese                    NC        28690                 Litigation        X           Unknown
  Stacye, Jeanette                           PO Box 159                                                              Moulton                    AL        35650                 Litigation        X           Unknown
  Stafford, Gary                             1385 N Primrose Ave.                                                    Rialto                     CA        92376                 Litigation        X           Unknown
  Stafford, Mary                             414 E.13th Street                                                       Texarkana                  AR        71854                 Litigation        X           Unknown
  Stafford, Richard                          5017 Briar Tree Dr.                                                     Dallas                     TX        75248                 Litigation        X           Unknown
  Stagg, Alice                               38 Hunters Lane                                                         Seale                      AL        36875                 Litigation        X           Unknown
  Staggs, Riley, Jr.                         P.O. Box 1161                                                           Merlin                     OR        97532                 Litigation        X           Unknown
  Stahle, Homer                              3234 Kensington Court                                                   Manchester                 MD        21102                 Litigation        X           Unknown
  Stalbaum, Janet                            7515 S. US Highway 421                                                  San Pierre                 IN        46374                 Litigation        X           Unknown
  Stallings, Charles                         9121 McCalls Way                                                        Spotsylvania               VA        22553                 Litigation        X           Unknown
  Stallings, Nicole                          3737 Hartsfield Cr.                                                     Jacksonville               FL        32277                 Litigation        X           Unknown
  Stalls, Dave                               151 Shambhala Way                                                       Red Feather Lakes          CO        80545                 Litigation        X           Unknown
  Stallworth, Deborah Jean                   PO Box 1835                                                             Brewton                    AL        36426                 Litigation        X           Unknown
  Stallworth, James Louis                    206 Mason Street                                                        Brewton                    AL        36426                 Litigation        X           Unknown
  Stamboulian, Bedros                        11232 Califa St. Apt 3                                                  North Hollywood            CA        91601                 Litigation        X           Unknown
  Stamper, James                             2630 Pebble Breeze                                                      San Antonio                TX        78232                 Litigation        X           Unknown
  Standfield, Ardele                         450 SE Lacreole Drive Unit 18                                           Dallas                     OR        97338                 Litigation        X           Unknown
  Standish, Carl                             1000 Jamis Place                                                        Fredericksburg             PA        22401                 Litigation        X           Unknown
  Standley, Robert                           PO BOX 26                                                               Avant                      OK        74001                 Litigation        X           Unknown
  Standridge, Jeffrey                        208 NE 14th Street                                                      Ocala                      FL        34470                 Litigation        X           Unknown
  Stanford, Carol                            9258 Pine Dr.                                                           Thomson                    IL        61285                 Litigation        X           Unknown
  Stanko, Martha                             109 Seminole St.                                                        Seminole                   OK        74868                 Litigation        X           Unknown
  Stanko, Melvin                             900 Main Street West, #221A                                             Cannon Falls               MN        55009                 Litigation        X           Unknown
  Stanley                                    5348 Blackberry                                                         Oceanside                  CA        92057                 Litigation        X           Unknown
  Stanley, Angeline                          141 Avenue L                                                            Apalachicola               FL        32320                 Litigation        X           Unknown
  Stanley, Annie                             532 Cedarmont Dr.                                                       Nashville                  TN        37013                 Litigation        X           Unknown
  Stanley, Dion William                      24668 Fir Avenue                                                        Moreno Valley              CA        92553                 Litigation        X           Unknown
  Stanley, Lillian                           1409 E. Boldon Street                                                   Savannah                   GA        31404                 Litigation        X           Unknown
  Staples, Gene                              239 East Lake Drive SE                                                  Atlanta                    GA        30317                 Litigation        X           Unknown
  Staples, James                             2385 CR 500 E                                                           Lake City                  IL        61937                 Litigation        X           Unknown
  Starkey, Karen                             132 Horn Street                                                         Hyndman                    PA        15545                 Litigation        X           Unknown
  Starkey, Robert                            32105 Cambridge St.                                                     Garden City                MI      48135-1737              Litigation        X           Unknown
  Starks, Bruce                              1255 Glen Devon Place                                                   Powder Springs             GA        30127                 Litigation        X           Unknown
  Starky, Darlene                            166 Crooked Creek Road                                                  Scott Depot                WV      25560-9616              Litigation        X           Unknown
  Starr, Ronald                              1021 Baseline Rd. Space 212                                             Rancho Cucamonga           CA        91701                 Litigation        X           Unknown
  Starrett, Robert                           1054 Hartsville Pike, Apt 37                                            Gallatin                   TN        37066                 Litigation        X           Unknown
  Stassi, Brenda                             1116 Mcpherson Ave.                                                     Alton                      IL        62002                 Litigation        X           Unknown
  Staton, Catherine                          104 Walston Street                                                      Tarboro                    NC        27886                 Litigation        X           Unknown
  Stearns, Wilbur                            6315 Sunrise Trial                                                      Harrison                   MI        48625                 Litigation        X           Unknown
  Steele, Robertina                          1300 N. Lockwood Ridge Rd., Apt. 201                                    Sarasota, FL               NY        34237                 Litigation        X           Unknown



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                                                                                                                                                                       Claim       Unliquidated

  Steen, Desiree                             1454 Via Cortez                                                      Placentia                CA      92870              Litigation        X           Unknown
  Steen, Garth Wade                          141 North Arrowhead Ave.- Suite 3                                    San Bernardino           CA      92408              Litigation        X           Unknown
  Steen, Paul                                9709 Utica Circle                                                    Bloomington              MN      55437              Litigation        X           Unknown
  Steffler, Melanie                          4045 49th Ave SW, Trailer 39                                         Olympia                  WA      98512              Litigation        X           Unknown
  Stein, Josephine                           160 Gordonhurst Ave Apt G32                                          Montclair                NJ      07043              Litigation        X           Unknown
  Steinberg, Barry                           14801 Wood Lodge Lane                                                Delray Beach             FL      33484              Litigation        X           Unknown
  Steingrobe, Karl                           24735 Neptune Avenue                                                 Carson                   CA      90745              Litigation        X           Unknown
  Stennett, Betty                            753 Fletcher St.                                                     Tonawanda                NY      14150              Litigation        X           Unknown
  Stephanopoulos, Kennedy                    24 Lynch St. 11                                                      Elgin                    IL      60123              Litigation        X           Unknown
  Stephens, Barbara                          1200 E. College Ave. #307                                            Normal                   IL      61761              Litigation        X           Unknown
  Stephens, Don                              26 Gardens Lane                                                      Gladewater               TX      75647              Litigation        X           Unknown
  Stephens, Nancy                            1905 Washington Ave.                                                 Altoona                  PA      16601              Litigation        X           Unknown
  Stephens, Shirley                          PO Box 1032                                                          Bonnyman                 KY      41719              Litigation        X           Unknown
  Stephenson, David                          419 W. Foster-Maineville Road                                        Maineville               OH      45039              Litigation        X           Unknown
  Stephenson, Jeffery                        P.O. Box 90558                                                       Los Angeles              CA      90009              Litigation        X           Unknown
  Stepp, Dayle                               5701 Pinecrest Drive, Apt 1                                          Huntington               WV      25705              Litigation        X           Unknown
  Stepputtis, Richard                        P.O. Box 232                                                         Marion                   CT      06444              Litigation        X           Unknown
  Sterling, Debbie                           2016 Bickmore Avenue                                                 Dayton                   OH      45404              Litigation        X           Unknown
  Sternfield, Hester Lee                     5875 Mission Blvd.- Apt. E50                                         Riverside                CA      92509              Litigation        X           Unknown
  Stessel, Elizabeth                         40 Tekoa Terrace                                                     Westfield                MA      01085              Litigation        X           Unknown
  Steve Kaufman                              5506 W 123rd Place                                                   Hawthorne                CA      90250              Litigation        X           Unknown
  Stevens Jr., Rudolph                       5251 Stamper Way                                                     Houston                  TX      77056              Litigation        X           Unknown
  Stevens, Anthony W.                        44015 3rd Street                                                     Lancaster                CA      93535              Litigation        X           Unknown
  Stevens, Casey                             383 Salmon St.                                                       Roseburg                 OR      97471              Litigation        X           Unknown
  Stevens, Estle                             5529 Ohio River Road                                                 Huntington               WV      25702              Litigation        X           Unknown
  Stevens, James                             601 Roberta Circle                                                   Birmingham               AL      35214              Litigation        X           Unknown
  Stevens, Maria                             7220 A 1st Street                                                    Canutillo                TX      79835              Litigation        X           Unknown
  Stevenson, Anita                           12410 Chandler Blvd., Apt. 19                                        North Hollywood          CA      91607              Litigation        X           Unknown
  Steward, Chadra                            24723 Ravenna Avenue                                                 Carson                   CA      90745              Litigation        X           Unknown
  Steward, Erick W.                          24723 Ravenna Avenue                                                 Carson                   CA      90745              Litigation        X           Unknown
  Stewart, Betty                             404 Fisher Road                                                      Many                     LA      71449              Litigation        X           Unknown
  Stewart, Brian                             P. O. Box 445                                                        Koshkonong               MI      65692              Litigation        X           Unknown
  Stewart, Daniel                            21032 Sun Point Way Unit 202                                         Lutz                     FL      33558              Litigation        X           Unknown
  Stewart, Denmon                            479 Martin Luther King Dr.                                           Franklinton              LA      70438              Litigation        X           Unknown
  Stewart, Eddie                             1109 Dunbriar Drive                                                  Shreveport               LA      71107              Litigation        X           Unknown
  Stewart, Elizabeth                         346 Old Willets Path                                                 Smithtown                NY      11787              Litigation        X           Unknown
  Stewart, Erik                              15353 Verdura Ave.                                                   Paramount                CA      90723              Litigation        X           Unknown
  Stewart, Jesse                             286 Bristol Dr.                                                      Hampton                  GA      30228              Litigation        X           Unknown
  Stewart, Kurt                              165 Main St.                                                         Enterprise               WV      26568              Litigation        X           Unknown
  Stewart, Robert                            1280 Near Ocean Dr.                                                  Vero Beach               FL      32963              Litigation        X           Unknown
  Stewart, Vincent William                   2251 Wigwam Parkway- #1826                                           Henderson                NV      89074              Litigation        X           Unknown
  Stewart, Wilbur                            1051 South Bluffview #34                                             Wichita                  KS      67218              Litigation        X           Unknown
  Stewart, Wilbur                            3 Ronald Drive                                                       Burlington               NJ      08016              Litigation        X           Unknown
  Stiffel, Roland                            5732 Stoneridge Court                                                Orlando                  FL      32839              Litigation        X           Unknown
  Stiles, Terri                              3929 Lincoln Avenue                                                  St Louis                 MO      63113              Litigation        X           Unknown
  Stillion, Glenn                            235 Ann Bustin Drive                                                 Ormond Beach             FL      32176              Litigation        X           Unknown
  Stine, William                             10 Cormorant Lane                                                    Key West                 FL      33040              Litigation        X           Unknown
  Stines, William                            925 Lincoln Avenue                                                   West Plains              MO      65775              Litigation        X           Unknown
  Stinson, Dennis                            P.O. Box 273                                                         Richton                  MS      39476              Litigation        X           Unknown
  Stinson, Jr, Buford                        222 2nd Avenue North Suite 315                                       Nashville                TN      37201              Litigation        X           Unknown



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  Stockemer, Ralph                           3401 Seltzer Dr.                                                            Plano                    TX      75023              Litigation        X           Unknown
  Stocks, Sharon                             2821 Coronada Parkway                                                       Fay                      NC      28306              Litigation        X           Unknown
  Stohr, Lorraine                            140 West I Street                                                           Benicia                  CA      94510              Litigation        X           Unknown
  Stoker, Kaolond                            1610 Princess Jeanne                                                        Hobbs                    NM      88240              Litigation        X           Unknown
  Stoker, Willie                             926 W. Taos Drive                                                           Hobbs                    NM      88240              Litigation        X           Unknown
  Stokes, Keith                              2637 Davey Lane                                                             Tracey                   CA      95377              Litigation        X           Unknown
  Stokes, Timothy                            4590 Spring Blvd.                                                           Eugene                   OR      97405              Litigation        X           Unknown
  Stone Sr., David                           1111 N. 2000 West, Unit 207                                                 Farr West                UT      84404              Litigation        X           Unknown
  Stone, Freeda                              26251 S Vermont Avenue, Unit 207                                            Harbor City              CA      90710              Litigation        X           Unknown
  Stone, William                             24 Sunset Drive                                                             Belen                    NM      87002              Litigation        X           Unknown
  Stoner, Valerie A.                         2763 W. Avenue L-214                                                        Lancaster                CA      93536              Litigation        X           Unknown
  Stores, Sandra                             92 Spike Place                                                              Box Springs              GA      31801              Litigation        X           Unknown
  Storey, James                              82221 East Solar Court                                                      Indio                    CA      92201              Litigation        X           Unknown
  Storm, Herbert                             Wildwood Sandman Towers                   3700 New Jersey Avenue Unit 606   New Jersey               NJ      08260              Litigation        X           Unknown
  Story, Beverly                             447 Arbor Acres Rd.                                                         Albertville              AL      35951              Litigation        X           Unknown
  Story, Randy                               2848 E. Myrtle St. #4                                                       Port Angeles             WA      98362              Litigation        X           Unknown
  Stotler, Michelle                          72 Shearwater Pl                                                            Newport Beach            CA      92660              Litigation        X           Unknown
  Stotler, Randall                           72 Shearwater Pl                                                            Newport Beach            CA      92660              Litigation        X           Unknown
  Stoudt, Kimberly                           24419 Ravenna Avenue                                                        Carson                   CA      90745              Litigation        X           Unknown
  Stoudt, Nicholas                           26830 Albion Way                                                            Santa Clarita            CA      91351              Litigation        X           Unknown
  Stoudt, Patrick                            24419 Ravenna Avenue                                                        Carson                   CA      90745              Litigation        X           Unknown
  Stoudt, Thomas                             24419 Ravenna Avenue                                                        Carson                   CA      90745              Litigation        X           Unknown
  Stout, Herbert                             19150 Harnett Street                                                        Northridge               CA      91326              Litigation        X           Unknown
  Stout, Jr., William                        15130 Keal Rd                                                               Laurel                   IN      47024              Litigation        X           Unknown
  Stoutingberg, LeRoy                        1508 Merrimac Trail                                                         Williamsburg             VA      23185              Litigation        X           Unknown
  Stover Jr., Mack                           4406 Post Street                                                            Jacksonville             FL      32205              Litigation        X           Unknown
  Strachan, Ivor                             1351 W- 70th St                                                             Los Angeles              CA      90044              Litigation        X           Unknown
  Stradford, Charles                         1047 First Class Dr                                                         Fort Lawn                SC      29714              Litigation        X           Unknown
  Street, Sheletha                           PO Box 15571                                                                Hattiesburg              MS      39404              Litigation        X           Unknown
  Streetman, Rena                            11250 County Rd. 391 Lot 7                                                  Holts Summit             MO      65043              Litigation        X           Unknown
  Strickland, Theresa                        191 Pace Creek Road                                                         Hendersonville           NC      28792              Litigation        X           Unknown
  Stringer, Kirk                             2510 33rd Ave. SE                                                           Puyallup                 WA      98374              Litigation        X           Unknown
  Stromecki, Anthony                         9534 E. Zayante Rd.                                                         Felton                   CA      95018              Litigation        X           Unknown
  Strong, Edith M.                           312 Cook St.                                                                Warren                   AR      71671              Litigation        X           Unknown
  Strong, Jennifer                           Post Office Box 92761                                                       Pasadena                 CA      91109              Litigation        X           Unknown
  Stroud, Richard                            302 Signal Drive                                                            Rossville                GA      30741              Litigation        X           Unknown
  Stryker, Laurie                            1725 Heatherwood Dr., Apt #202                                              Inkster                  MI      48141              Litigation        X           Unknown
  Stubbolo, Gerald                           245 North West 101 Ave.                                                     Plantation               FL      33324              Litigation        X           Unknown
  Stubbs, Nancy                              936 West 450 North                                                          Orem                     UT      84507              Litigation        X           Unknown
  Studebaker, Nancy                          69 Bevonne Ct. # 110                                                        West Milton              OH      45383              Litigation        X           Unknown
  Studt, Betty                               1737 Eldridge Drive                                                         Troy                     MI      48083              Litigation        X           Unknown
  Stump, William                             302 Victoria Pointe                                                         La Grange                GA      30240              Litigation        X           Unknown
  Stumph, Larry                              20 Hardwicke St.                                                            Kansas City              MO      64161              Litigation        X           Unknown
  Sturdivant, Columbus                       2334 Torrey Hill Dr.                                                        Toledo                   OH      43606              Litigation        X           Unknown
  Sturgill, Janet                            844 Ivy Ave.                                                                Frankfort                KY      40601              Litigation        X           Unknown
  Sturgis, Marie                             4105 Southern Ave. #2G                                                      Capitol Heights          MD      20743              Litigation        X           Unknown
  Sturts, Frederick                          1111 E. Scovill St                                                          Urbana                   IL      61801              Litigation        X           Unknown
  Stutz, Larry Dean                          485 West Orchard Street                                                     Rialto                   CA      92376              Litigation        X           Unknown
  Styn, Nancy J.                             7 Conant Dr.                                                                Tonawanda                NY      14223              Litigation        X           Unknown
  Su, Yesenia                                5535 28th Street                                                            Riverside                CA      92509              Litigation        X           Unknown



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  Suarez Jr., Jesus                          24732 Marbella Avenue                                           Carson                   CA        90745                 Litigation        X           Unknown
  Suarez, Aaron                              2702 San Francisco Ave.                                         Long Beach               CA        90806                 Litigation        X           Unknown
  Suarez, Alfred                             24715 Neptune Avenue                                            Carson                   CA        90745                 Litigation        X           Unknown
  Suarez, Angelica                           24732 Marbella Avenue                                           Carson                   CA        90745                 Litigation        X           Unknown
  Suarez, Jesus                              24732 Marbella Avenue                                           Carson                   CA        90745                 Litigation        X           Unknown
  Suarez, Lugarda                            24732 Marbella Avenue                                           Carson                   CA        90745                 Litigation        X           Unknown
  Suarez, Luis                               17851 Haines Street                                             Perris                   CA        92570                 Litigation        X           Unknown
  Suarez, Maribel                            24732 Marbella Avenue                                           Carson                   CA        90745                 Litigation        X           Unknown
  Suarez, Veronica                           24732 Marbella Avenue                                           Carson                   CA        90745                 Litigation        X           Unknown
  Suarez, Virginia                           24715 Neptune Avenue                                            Carson                   CA        90745                 Litigation        X           Unknown
  Suarez, Yesenia                            24732 Marbella Avenue                                           Carson                   CA        90745                 Litigation        X           Unknown
  Sudjian, Harold                            10694 North Tea Party Lane                                      Fresno                   CA        93730                 Litigation        X           Unknown
  Suggs, Vaneida                             PO Box 159                                                      Moulton                  AL        35650                 Litigation        X           Unknown
  Sullivan, Daniel                           24472 Toledo Lane                                               Lake Forest              CA        92630                 Litigation        X           Unknown
  Sullivan, Glen                             26 Francis St, Apt 2                                            Revere                   MA        02151                 Litigation        X           Unknown
  Sullivan, Jackie                           3305 Valley Hollow                                              Norman                   OK      73071-3685              Litigation        X           Unknown
  Sullivan, Walter                           5101 Westport Dr                                                Milton                   FL        32570                 Litigation        X           Unknown
  Sulu, Sheila                               344 E 249th Street                                              Carson                   CA        90745                 Litigation        X           Unknown
  Summerford, Arthur                         1621 Sundown Dr. NW Apt #903                                    Arab                     AL        35016                 Litigation        X           Unknown
  Sumner, Janet                              19770 Fairbrook Drive                                           Macomb                   MI        48044                 Litigation        X           Unknown
  Sumner, Jeffrey                            P.O. Box 13                                                     Jackson                  NC        27845                 Litigation        X           Unknown
  Sumner, Robert                             4058 Stuarts Draft Hwy.                                         Waynesboro               VA        22980                 Litigation        X           Unknown
  Sumter, David                              109-25 205 Street                                               Hollis                   NY        11412                 Litigation        X           Unknown
  Supinski, James                            6099 Adina Road                                                 Port Saint John          FL        32927                 Litigation        X           Unknown
  Surdi, Shari L.                            980 Stony Point Rd.                                             Grand Island             NY        14072                 Litigation        X           Unknown
  Surrett, Albert                            125 Pine Trace                                                  Campobello               SC        29322                 Litigation        X           Unknown
  Suspenski, Roseann                         68 Mount Vernon Ave. #E2                                        Patchogue                NY        11772                 Litigation        X           Unknown
  Sutherland, Mary                           1604 Marshall Street                                            Baltimore                MD        21230                 Litigation        X           Unknown
  Suttle, Jr., Raymond                       22740 Marjorie Avenue                                           Torrance                 CA        90505                 Litigation        X           Unknown
  Sutton, Jessica                            11576 Porter Harris Loop                                        Andalusia                AL        36421                 Litigation        X           Unknown
  Sutton, Sarah                              3694 Jeri Lane                                                  Shreveport               LA        71129                 Litigation        X           Unknown
  Sutton, Thomas                             2 Pelot Court                                                   Bluffton                 SC        29909                 Litigation        X           Unknown
  Suydam, Daniel                             832 Grape Vine Ave.                                             Henderson                NV        89002                 Litigation        X           Unknown
  Svarc, Ronald                              144 12th St.                                                    Seal Beach               CA        90740                 Litigation        X           Unknown
  Svoboda, Jennifer                          4612 Grandview Dr.                                              Palmdale                 CA        93551                 Litigation        X           Unknown
  Swader, Pamela                             1329 Hillcrest Ave                                              Dyersburg                TN        38024                 Litigation        X           Unknown
  Swafford, Arthur                           3195 Falcon Drive                                               Charleston               WV        25312                 Litigation        X           Unknown
  Swafford-Washington, Katie                 124 Clay Street                                                 Winfield                 LA        71483                 Litigation        X           Unknown
  Swain, Brian                               24912 Fries Avenue                                              Carson                   CA        90745                 Litigation        X           Unknown
  Swain, Joshua                              24912 Fries Avenue                                              Carson                   CA        90745                 Litigation        X           Unknown
  Swain, Sheila                              24912 Fries Avenue                                              Carson                   CA        90745                 Litigation        X           Unknown
  Swain, Terry                               7880 Redick Avenue                                              Omaha                    NE        68122                 Litigation        X           Unknown
  Swan, Royal                                10202 N. 25th Street                                            Tampa                    FL        33612                 Litigation        X           Unknown
  Swanekamp, Kathleen A.                     32 Roswell Ave.                                                 Buffalo                  NY        14207                 Litigation        X           Unknown
  Swearingen, John                           3702 Howard Ave                                                 Columbus                 GA        31904                 Litigation        X           Unknown
  Sweat, Ricky                               2135 Joshua Loop                                                Dyersburg                TN        38024                 Litigation        X           Unknown
  Sweatte, Juel                              1003 Elmwood St.                                                Norman                   OK        73072                 Litigation        X           Unknown
  Sweeney, Rita Yolanda                      5327 El Rio Ave.                                                Riverside                CA        92509                 Litigation        X           Unknown
  Sweeney, Walt                              5571 Tortuga Ct                                                 San Diego                CA      92124-1302              Litigation        X           Unknown
  Sweet, Clara                               415 Reginald Drive                                              Enfield                  NC        27823                 Litigation        X           Unknown



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  Sweet, Donald                              122 Cool Springs Road                                                  Rush Springs             OK        73082                   Litigation        X           Unknown
  Swendsen, Tomoyoshi                        801 S Grand Ave, #1802                                                 Los Angeles              CA        90017                   Litigation        X           Unknown
  Swierstra, Gwendolyn                       8345 Pacer Way                                                         Riverside                CA        92509                   Litigation        X           Unknown
  Swiger, Shelly                             Barnett Rd. Box 433                                                    Salyersville             KY        41465                   Litigation        X           Unknown
  Swims, Gloria A.                           182 E Merrill Avenue                                                   Rialto                   CA        92376                   Litigation        X           Unknown
  Swisher, Roy                               2010 Charleston Road                                                   Spencer                  WV        25276                   Litigation        X           Unknown
  Sy, Kristy                                 24838 Carmel Drive                                                     Carson                   CA        90745                   Litigation        X           Unknown
  Sydlar, Janet                              3526 Rainhill Lane                                                     Morganton                NC        28655                   Litigation        X           Unknown
  Sykes, Sondra                              3560 Dixie Dr. #1123                                                   Houston                  TX        77021                   Litigation        X           Unknown
  Szanyi, George                             4130 Jaydee Drive                                                      Mims                     FL        32754                   Litigation        X           Unknown
  Szelesta, Brian                            3 Carr Lane                                                            Vernon                   NJ        07462                   Litigation        X           Unknown
  Szydlowski, Barbara                        169 Jackson Avenue                                                     North Tonawanda          NY      14120-2605                Litigation        X           Unknown
  T.B. Hernandez, Dora                       708 Mooresville Road                                                   Salis Bury               NC        28144                   Litigation        X           Unknown
  Tabb, Michael                              PO Box 3313                                                            Big Bear City            CA        92314                   Litigation        X           Unknown
  Tabello, Norman                            5753 E. Santa Ana Canyon Rd. Ste. L                                    Anaheim                  CA        92807                   Litigation        X           Unknown
  Taboni, Anna                               PO Box 3313                                                            Big Bear City            CA        92314                   Litigation        X           Unknown
  Tafolla, Katherine                         231 E. 45th St.                                                        San Bernardino           CA        92404                   Litigation        X           Unknown
  Tafoya, Darlene                            3939 W. Cavalier Drive                                                 Phoenix                  AZ        85019                   Litigation        X           Unknown
  Tagvoryan, Zabella                         6755 Rhodes Ave. Apt 174                                               North Hollywood          CA        91606                   Litigation        X           Unknown
  Taite, Ashley                              18655 Clark St, #206                                                   Tarzana                  CA        91356                   Litigation        X           Unknown
  Talamantez, Max Rudy                       61536 Desert Air Road- Apt. A                                          Joshua Tree              CA        92252                   Litigation        X           Unknown
  Talavera, Felipe                           268 Monterey Drive                                                     Carson                   CA        90745                   Litigation        X           Unknown
  Talavera, Sanjuana                         268 Monterey Drive                                                     Carson                   CA        90745                   Litigation        X           Unknown
  Talavera-Zamora, Felipe                    268 Monterey Drive                                                     Carson                   CA        90745                   Litigation        X           Unknown
  Talbot, Cindy                              5040 Millpond Loop                                                     Aurburn                  WA        98092                   Litigation        X           Unknown
  Talley, Michael                            PO Box 492                                                             Tunnel Hill              GA        30755                   Litigation        X           Unknown
  Tamayo- Jr., Joe Luis                      24798 Plumtree Court                                                   Moreno Valley            CA        92557                   Litigation        X           Unknown
  Tan, April                                 16331 Ballinger Street                                                 North Hills              CA        91343                   Litigation        X           Unknown
  Tan, Noel                                  24506 Marbella Avenue                                                  Carson                   CA        90745                   Litigation        X           Unknown
  Tan, Sid                                   24506 Marbella Avenue                                                  Carson                   CA        90745                   Litigation        X           Unknown
  Tan, Teresita                              24506 Marbella Avenue                                                  Carson                   CA        90745                   Litigation        X           Unknown
  Tan, Ying Yang                             11-1 Tianfu Rd #605                                                    Guan                                          China        Litigation        X           Unknown
  Tandoc, Melody                             2233 Avondale Dr.                                                      Fullerton                CA        92833                   Litigation        X           Unknown
  Tandoc, Roy                                2233 Avondale Dr.                                                      Fullerton                CA        92833                   Litigation        X           Unknown
  Tandoc, Yolanda                            2233 Avondale Dr.                                                      Fullerton                CA        92833                   Litigation        X           Unknown
  Tang, Julie                                1767 N Winona Dr                                                       Walnut                   CA        91789                   Litigation        X           Unknown
  Tanner, Vera                               340 M. Street                                                          Patterson                CA        95363                   Litigation        X           Unknown
  Tapia, Anna                                24508 Ravenna Avenue                                                   Carson                   CA        90745                   Litigation        X           Unknown
  Tapia, Eulalia                             757 West Sandy Street                                                  Tucson                   AZ        85714                   Litigation        X           Unknown
  Tapia, Jose                                24508 Ravenna Avenue                                                   Carson                   CA        90745                   Litigation        X           Unknown
  Tardy, Angela                              97 NW Ava Apt-2                                                        Greshum                  OR        97030                   Litigation        X           Unknown
  Targosz, Marian                            971 E. 14 Mile Road                                                    Clawson                  MI        48017                   Litigation        X           Unknown
  Tartamella, Pietro                         2459 State Rt 93 NE                                                    Crooksville              OH        43731                   Litigation        X           Unknown
  Tascher, Robert                            1705 Dave Drive                                                        McCallister              OK        74051                   Litigation        X           Unknown
  Tashakorian, Ali                           P.O. Box 1372                                                          La Jolla                 CA        92308                   Litigation        X           Unknown
  Tashjian, Dian                             10017 Ivyglen Street                                                   Mesa                     AZ        85207                   Litigation        X           Unknown
  Tate, Andrew C.                            410 E. 119th Street                                                    Los Angeles              CA        90061                   Litigation        X           Unknown
  Tate, Betty                                RTS - 4192 Chippewa Road                                               Memphis                  TN        38118                   Litigation        X           Unknown
  Tate, George                               337 Forest Ave., Apt #3                                                Bangor                   ME        04401                   Litigation        X           Unknown
  Tate, Gorra Ann                            330 N. Screenland Dr. #142                                             Burbank                  CA        91505                   Litigation        X           Unknown



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  Tate, Melvin                               1779 E. Gladwick St.                                                  Carson                   CA      90746              Litigation        X           Unknown
  Tatman, Tami                               1711 Bear Street                                                      Madison                  IN      47250              Litigation        X           Unknown
  Tauber, Jacob                              12007 Crest Court                                                     Beverly Hills            CA      90210              Litigation        X           Unknown
  Tavares, Roger                             PO Box 1324                                                           Kurtistown               HI      96760              Litigation        X           Unknown
  Tawfik, Mohamed                            112 Westfield Avenue, Apt. 315                                        Elizabeth                NJ      07208              Litigation        X           Unknown
  Taylor Sr., Samuel                         2355 County Road #289                                                 Lanett                   AL      36863              Litigation        X           Unknown
  Taylor, Annie                              2468 Hinkly Ave.                                                      Richmond                 CA      94804              Litigation        X           Unknown
  Taylor, Charles                            17642 West Crocus Drive                                               Surprise                 AZ      85388              Litigation        X           Unknown
  Taylor, Christine                          3229 Beatrice Drive                                                   Riverside                CA      92509              Litigation        X           Unknown
  Taylor, Danny                              7450 Chesnut Hill Road                                                Georgetown               CA      95634              Litigation        X           Unknown
  Taylor, Danyale Lionel                     18405 Bellflower Street                                               Adelanto                 CA      92301              Litigation        X           Unknown
  Taylor, Desiree                            15000 Downey Ave.                                                     Paramount                CA      90723              Litigation        X           Unknown
  Taylor, III, Everett                       1077 Links Rd                                                         Myrtle Beach             SC      29575              Litigation        X           Unknown
  Taylor, Jace Christopher                   2756 Avalon Street                                                    Riverside                CA      92509              Litigation        X           Unknown
  Taylor, Jeannette                          9 Highland Avenue Apt. A6                                             Pelham                   NH      03076              Litigation        X           Unknown
  Taylor, Jewel                              6036 Saint Moritz Drive                                               Temple Hill              MD      20748              Litigation        X           Unknown
  Taylor, John                               3718 California Ave.                                                  Long Beach               CA      90807              Litigation        X           Unknown
  Taylor, John                               962 N. Cloverleaf Loop                                                Springfield              OR      97477              Litigation        X           Unknown
  Taylor, Lavarro                            20394 Burch Street                                                    Perris                   CA      92570              Litigation        X           Unknown
  Taylor, Lillie                             8528 Folly Brown Rd                                                   Clinton                  LA      70722              Litigation        X           Unknown
  Taylor, Mattie                             14262 Bascom Avenue                                                   Jamaica Queens           NY      11436              Litigation        X           Unknown
  Taylor, Pat                                2510 Campbell Street                                                  Fort Worth               TX      76105              Litigation        X           Unknown
  Taylor, Perline                            540 Little Chicago Avenue                                             Dyersburg                TN      38024              Litigation        X           Unknown
  Taylor, Preston                            1221 Marlborough Dr.                                                  Ft. Worth                TX      76134              Litigation        X           Unknown
  Taylor, Regina                             24520 S Avalon Blvd                                                   Wilmington               CA      90744              Litigation        X           Unknown
  Taylor, Richard                            2410 Valley Street                                                    Baton Rouge              LA      70808              Litigation        X           Unknown
  Taylor, Robert                             527 Rockmont Road                                                     Greenville               SC      29615              Litigation        X           Unknown
  Taylor, Robert Lee                         18554 Bellflower Street                                               Adelanto                 CA      92301              Litigation        X           Unknown
  Taylor, Samuel                             8621 Placid Lake Court                                                Bristow                  VA      20136              Litigation        X           Unknown
  Taylor, Sharla                             2075 Carpenter Lane                                                   Redding                  CA      90622              Litigation        X           Unknown
  Taylor, Susan                              17881 N Tiamia trail. Lot 34                                          N Ft. Meyers             FL      33903              Litigation        X           Unknown
  Taylor, Sylvia                             6901 N. Beach Street Apt. 1723                                        Fort Worth               TX      76137              Litigation        X           Unknown
  Taylor, Teresa Delphine                    2756 Avalon Street                                                    Riverside                CA      92509              Litigation        X           Unknown
  Teachey, Maxine                            3600 Belridge Drive                                                   Fayetteville             NC      28306              Litigation        X           Unknown
  Teasley, Betty                             433 Glenn Street                                                      Vallejo                  CA      94590              Litigation        X           Unknown
  Tejano Jr., Percival                       24808 Mill Valley Way                                                 Carson                   CA      90745              Litigation        X           Unknown
  Tejano, Maria Cecilia                      24808 Mill Valley Way                                                 Carson                   CA      90745              Litigation        X           Unknown
  Telesco, Frank                             46 Hirsch Road                                                        Stamford                 CT      06905              Litigation        X           Unknown
  Teller, Sr., Mark                          1010 South Main St., Apt 4                                            Meadville                PA      16335              Litigation        X           Unknown
  Telles, Ismael                             1312 Tasker                                                           Hobbs                    NM      88240              Litigation        X           Unknown
  Tellez, Roberto                            7157 Villa Hermosa                                                    El Paso                  TX      79912              Litigation        X           Unknown
  Tello, Eva Luz                             18026 Valley Blvd. Apt. 121                                           Bloomington              CA      92316              Litigation        X           Unknown
  Tenke, Howard                              434 6th Street, Unit 105                                              Raymond                  WA      98577              Litigation        X           Unknown
  Teno, Ernest                               112 Wood-Hollow Court                                                 Mount Holly              NC      28120              Litigation        X           Unknown
  Tenorio, Elizabeth                         5775 W Atlantic Place #307                                            Lakewood                 CO      80227              Litigation        X           Unknown
  Tercovich, Jacob                           14 Wake Forest Way                                                    Mauldin                  SC      29662              Litigation        X           Unknown
  Teresi, Mariano                            8811 Crook Hollow Road                                                Panama City              FL      32404              Litigation        X           Unknown
  Teri, Vincent                              RTS - 16311 Stateroad 50, Room 410                                    Clermont                 FL      34711              Litigation        X           Unknown
  Terp, Kathleen                             207 Amesbury Circle                                                   Sun City Center          FL      33573              Litigation        X           Unknown
  Terra, Melvin                              20801 S. Woodward Ave., Space 14                                      Manteca                  CA      95337              Litigation        X           Unknown



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  Terrance, Margaret                                  23 Terrance Rd                                                     Hogansburg              NY         13655                Litigation        X           Unknown
  Terrell, Patrick                                    40 Hidden Lake Dr.                                                 Burr Ridge              IL         60527                Litigation        X           Unknown
  Terrill, James                                      12583 Hwy 62 East                                                  Henderson               AR         72544                Litigation        X           Unknown
  Terry, Enola                                        265 Robin Street                                                   Plainwell               MI         49080                Litigation        X           Unknown
  Terry, Gary                                         833 Joe Lemmonde Road                                              Somerville              AL         35670                Litigation        X           Unknown
  Terry, Peggie                                       260 Wheat Street                                                   Kershaw                 SC         29067                Litigation        X           Unknown
  Terry, Sharon                                       PO Box 563                                                         Helenwood               TN         37755                Litigation        X           Unknown
  Terwilliger, Judy                                   PO Box 2381                                                        Gaylord                 MI         49734                Litigation        X           Unknown
  Terzian, Richard                                    5 Prospect Park SW Apt. C8                                         Brooklyn                NY      11215-5982              Litigation        X           Unknown
  Terzis, Matthew                                     24623 Marbella Avenue                                              Carson                  CA         90745                Litigation        X           Unknown
  Tesoro, George                                      1470 Response Road- Apt. 240                                       Sacramento              CA         95815                Litigation        X           Unknown
  Teynor, George                                      PO Box 401                                                         Worthington             OH         45680                Litigation        X           Unknown
  Thackray Gail                                       1618 Bel Air Dr                                                    Glendale                CA         91201                Litigation        X           Unknown
  Thames, Mattie                                      302 Newton Street                                                  Union                   MS         39365                Litigation        X           Unknown
  Theakston-Armstrong, Elaine                         2701 Cedar Park                                                    Sherman                 TX       5090-2298              Litigation        X           Unknown
  Therrien, Roch                                      14489 Canalview Drive, Unit C                                      Del Rey Beach           FL         33484                Litigation        X           Unknown
  Theus, James E.                                     727 E. 85th Street                                                 Los Angeles             CA         90001                Litigation        X           Unknown
  Theus, Mary L.                                      727 E. 85th Street                                                 Los Angeles             CA         90001                Litigation        X           Unknown
  Thomas and family, Christopher and Kelly            65 Hackett Dr.                                                     Tonawanda               NY         14150                Litigation        X           Unknown
  Thomas, Alan J.                                     17115 Avenue Del Sol                                               Fontana                 CA         92337                Litigation        X           Unknown
  Thomas, Alex                                        913 W Residence Avenue                                             Albany                  GA         31701                Litigation        X           Unknown
  Thomas, Anthony                                     3734 Poplar Spring Drive                                           Missouri City           TX         77459                Litigation        X           Unknown
  Thomas, Ceola                                       7601 N. Hollywood Way, Apt. 304                                    Burbank                 CA         91505                Litigation        X           Unknown
  Thomas, Coleman                                     17115 Avenue Del Sol                                               Fontana                 CA         92337                Litigation        X           Unknown
  Thomas, Dauphine                                    3357 Minnehaha Ave South                                           Minneapolis             MN         55406                Litigation        X           Unknown
  Thomas, Dora                                        813 W. Sabine Street                                               Longview                TX         75601                Litigation        X           Unknown
  Thomas, Jamelia                                     137 Lake Ave.                                                      Buffalo                 NY         14219                Litigation        X           Unknown
  Thomas, Joseph                                      3869 Dugway Road                                                   Erieville               NY         13061                Litigation        X           Unknown
  Thomas, Linda                                       4443 Clifty Hwy                                                    Huntsville              AR         72740                Litigation        X           Unknown
  Thomas, Lynne                                       7215 N. 51st Avenue, Apt. 115                                      Glendale                AZ         85301                Litigation        X           Unknown
  Thomas, Marcus                                      9734 Tapestry Park Circle #244                                     Jacksonville            FL         32246                Litigation        X           Unknown
  Thomas, Mary                                        PO Box 697                                                         Palatka                 FL         32178                Litigation        X           Unknown
  Thomas, Mary                                        6465 CR 62                                                         Selma                   AL         36701                Litigation        X           Unknown
  Thomas, Randy                                       PO Box 511                                                         Grove City              OH         43123                Litigation        X           Unknown
  Thomas, Robert                                      PO Box 9061                                                        Jackson                 WY      83002-9061              Litigation        X           Unknown
  Thomas, Ronnie                                      1417 Red Rock Circle                                               Pleasant Grove          AL         35127                Litigation        X           Unknown
  Thomas, Sharlona                                    5327 El Rio Avenue                                                 Riverside               CA         92509                Litigation        X           Unknown
  Thomas, Venus                                       210 NE Leann Drive                                                 Bluesprings             MO         64014                Litigation        X           Unknown
  Thomas, William                                     1302 Chestnut Street                                               Trainer                 PA         19061                Litigation        X           Unknown
  Thomas-Miles, Christine                             1950 Webberville Road Apt 2127                                     Austin                  TX         78721                Litigation        X           Unknown
  Thomasson, Arvel                                    159 Appalachia Trail NE                                            Cleveland               TN         37323                Litigation        X           Unknown
  Thomasson, Ronnie                                   PO Box 677                                                         Mayfield                KY         42066                Litigation        X           Unknown
  Thomas-Surgers, Alfredene                           10225 Bissonnet Street #1227                                       Houston                 TX         77036                Litigation        X           Unknown
  Thomerson-Campbell, Courtney                        205 A Lakeshore Drive                                              Levanon                 IN         46052                Litigation        X           Unknown
  Thompson, Alfred                                    6261 Antioch Avenue                                                Riverside               CA         92504                Litigation        X           Unknown
  Thompson, Almon                                     5506 Stoneleigh Ct.                                                Stone Mountain          GA         30088                Litigation        X           Unknown
  Thompson, Benjamin                                  3542 E. 2089th Road                                                Serena                  IL         60549                Litigation        X           Unknown
  Thompson, Benny                                     8641 Smokey Hallow Dr                                              Lewis Center            OH         43035                Litigation        X           Unknown
  Thompson, Betty                                     282444 Sunray Drive                                                Comanche                OK         73529                Litigation        X           Unknown
  Thompson, Brian                                     32-560 St. Andrews Drive                                           Thousand Palms          CA         92276                Litigation        X           Unknown



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  Thompson, Charlie                          1442 Talley Ave                                                     Petersburg                VA        23803                 Litigation        X           Unknown
  Thompson, Darnell                          25920 Iris Avenue- Suite 13A-344                                    Moreno Valley             CA        92551                 Litigation        X           Unknown
  Thompson, David                            5434 Perth Ct.                                                      Denver                    CO        80249                 Litigation        X           Unknown
  Thompson, David                            919 Lilly Court                                                     NIpomo                    CA        93444                 Litigation        X           Unknown
  Thompson, Dorothy                          PO Box 598                                                          Mills                     WY        82644                 Litigation        X           Unknown
  Thompson, Elaine                           423 South Blanks Avenue                                             Picayune                  MS        39466                 Litigation        X           Unknown
  Thompson, Elizabeth                        605 W 28th Ave                                                      Pine Bluff                AR        71603                 Litigation        X           Unknown
  Thompson, Erlinda                          313 Silver Oaks Drive                                               Fayetteville              NC        28311                 Litigation        X           Unknown
  Thompson, Eula                             7916 Annella Way                                                    Louisville                KY        40219                 Litigation        X           Unknown
  Thompson, Gary R.                          8531 45th St.                                                       Riverside                 CA        92509                 Litigation        X           Unknown
  Thompson, Gavin Lamar                      6261 Antioch Avenue                                                 Riverside                 CA        92504                 Litigation        X           Unknown
  Thompson, Glen                             P.O. Box 772                                                        Hobbs                     NM        88240                 Litigation        X           Unknown
  Thompson, Herbert                          2745 Vistas Dr.                                                     Manchester                MD        21102                 Litigation        X           Unknown
  Thompson, Jimmy                            1921 Cloverdale Court                                               Lutz                      FL        33549                 Litigation        X           Unknown
  Thompson, Joan                             2509 Pattie                                                         Wichita                   KS        67216                 Litigation        X           Unknown
  Thompson, Johnny                           712 Royal Avenue                                                    Simi Valley               CA        90365                 Litigation        X           Unknown
  Thompson, Kathleen                         3917 Biglow Drive                                                   Olivehurst                CA        95961                 Litigation        X           Unknown
  Thompson, LaVerne                          2444 N 41st Road                                                    Sheridan                  IL        60551                 Litigation        X           Unknown
  Thompson, Leila                            436 Lenox Circle                                                    Douglasville              GA        30135                 Litigation        X           Unknown
  Thompson, Leroy                            8210 Streamside Drive                                               Houston                   TX        77088                 Litigation        X           Unknown
  Thompson, Leslie                           2741 Dale Ave.                                                      Granite City               IL       62040                 Litigation        X           Unknown
  Thompson, Manda                            161 Prairies Creek Drive                                            Kechi                     KS        67067                 Litigation        X           Unknown
  Thompson, Mickey                           201 East Cherry Street                                              Wenonah                   NJ        08090                 Litigation        X           Unknown
  Thompson, Mike                             P.O. Box 139                                                        Crestline                 CA        92325                 Litigation        X           Unknown
  Thompson, Monica                           3897 Highway 790                                                    Bronson                   KY        42518                 Litigation        X           Unknown
  Thompson, Neil                             190 NW 136 Court                                                    Ocala                     FL        34482                 Litigation        X           Unknown
  Thompson, Patricia                         166 Ropango Way                                                     Hemet                     CA        92545                 Litigation        X           Unknown
  Thompson, Paul                             1879 Little Britain Rd                                              Rock Tavern               NY        21575                 Litigation        X           Unknown
  Thompson, Richard Daniel                   848 South Arrowhead Avenue                                          Rialto                    CA        92376                 Litigation        X           Unknown
  Thompson, Shontee                          2561 Knox Court                                                     San Bernardino            CA        92408                 Litigation        X           Unknown
  Thompson, Sophie                           3542 E. 2089th Road                                                 Serena                    IL        60549                 Litigation        X           Unknown
  Thompson, Stephanie                        3542 E. 2089th Road                                                 Serena                    IL        60549                 Litigation        X           Unknown
  Thompson, Tommy                            2538 Country Road 3127                                              Greenville                TX        75402                 Litigation        X           Unknown
  Thompson, Verne                            3542 E. 2089th Road                                                 Serena                    IL        60549                 Litigation        X           Unknown
  Thompson, Yvonne                           PO Box 1201                                                         Camden                    AL        36726                 Litigation        X           Unknown
  Thompson, Zachary                          3542 E. 2089th Road                                                 Serena                    IL        60549                 Litigation        X           Unknown
  Thomson, Jeani                             14 Balzac                                                           Tonawanda                 NY        14150                 Litigation        X           Unknown
  Thomson, Nancy                             100 N. Water St                                                     East Bridgewater          MA      02333-1441              Litigation        X           Unknown
  Thorne, Donna Marie                        510 Winchester Avenue- Apt. 18                                      Glendale                  CA        91201                 Litigation        X           Unknown
  Thornton, Debra                            6123 Tarnow Avenue                                                  Detroit                   MI        48210                 Litigation        X           Unknown
  Threadgill, Eva                            2952 Glen Albyn Dr.                                                 Santa Barbara             CA        93105                 Litigation        X           Unknown
  Threlkeld, Reggie                          1527 Teare Ct                                                       Flossmoor                 IL        60422                 Litigation        X           Unknown
  Thumbtzen, Tatiana                         1778 N Orchid Ave, #106                                             Hollywood                 CA        90028                 Litigation        X           Unknown
  Thunder Hawk, Sr., John                    7908 HWY 1806                                                       Cannon Ball               ND        58528                 Litigation        X           Unknown
  Thurmond, Lydia                            2619 Hwy 88 W                                                       Halls                     TN        38040                 Litigation        X           Unknown
  Thurston, Oretha                           821 Vistabula Street                                                Lakeland                  FL        33801                 Litigation        X           Unknown
  Tialavea, Dennis                           1606 Eudora Avenue                                                  Wilmington                CA      90744-1218              Litigation        X           Unknown
  Tiangco, Isabelita                         424 W 223 Street Apt.6                                              Carson                    CA        90745                 Litigation        X           Unknown
  Tiangco, Maria                             424 W 223 Street Apt.6                                              Carson                    CA        90745                 Litigation        X           Unknown
  Tiangco, Melanie                           424 W 223 Street Apt.6                                              Carson                    CA        90745                 Litigation        X           Unknown



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  Tiangco, Theodore                          424 W 223 Street Apt.6                                               Carson                    CA        90745                  Litigation        X           Unknown
  Tichnell, Jackie Sue                       P.O. Box 73                                                          Oro Grande                CA        92368                  Litigation        X           Unknown
  Tieman, Beverly                            1320 4th Street                                                      Cottage Hills             IL        62018                  Litigation        X           Unknown
  Tiensvold, Melissa                         302 W. General Stewart Way, Apt. 14-C                                Hinesville                GA        31313                  Litigation        X           Unknown
  Tierney, Kevin                             222 Briarwood Dr.                                                    Effort                    PA        18330                  Litigation        X           Unknown
  Tiggs, Gregory                             9228 Braile Street                                                   Detroit                   MI        48228                  Litigation        X           Unknown
  Tiliano Barrientos, Marisol                11942 Hall Avenue                                                    Bloomington               CA        92316                  Litigation        X           Unknown
  Tiliano Contreras, Gerardo                 11942 Hall Avenue                                                    Bloomington               CA        92316                  Litigation        X           Unknown
  Tillard- Jr., Abe                          22421 Barton Rd. #233                                                Grand Terrace             CA        92313                  Litigation        X           Unknown
  Tillard, Abe                               22421 Barton Road #233                                               Grand Terrace             CA        92313                  Litigation        X           Unknown
  Tillard, Cynthia Ann                       2616 Chamberland Lane                                                North Las Vegas           NV        89032                  Litigation        X           Unknown
  Tillard, Mary Elizabeth                    1160 Central Ave.- Apt. 11                                           Riverside                 CA        92507                  Litigation        X           Unknown
  Tillard, Shirlene Annette                  1441 Massachusetts Ave. Apt. 103                                     Riverside                 CA        92507                  Litigation        X           Unknown
  Tillette, William                          5720 Oak Road                                                        Knoxville                 TN        37918                  Litigation        X           Unknown
  Tilley, Hubert                             210 W King St.                                                       Kings Mountain            NC        28086                  Litigation        X           Unknown
  Tilley, Matthew                            2250 Stone Wheel Drive Apt B                                         Reston                    VA        20191                  Litigation        X           Unknown
  Tilley, Ralph                              1466 Old Glasgow Road                                                Scottsville               KY        42164                  Litigation        X           Unknown
  Timmons, Jr., Calvin                       4117 West 22nd Street, Apt D                                         Panama City               FL        32405                  Litigation        X           Unknown
  Timonen, Yrjo                              Niine5/12                                                            Tallinn                             10414    Estonia       Litigation        X           Unknown
  Tindall, Cindy                             2317 Brookhaven Drive                                                Alma                      AR        72921                  Litigation        X           Unknown
  Tinder, Lucille                            P.O. Box 317                                                         Littleton                 NH        03561                  Litigation        X           Unknown
  Tingley, Harry                             3309 Bristlecone Steet                                               Las Vegas                 NV        89146                  Litigation        X           Unknown
  Tinnea, Noble                              2260 N. Schillinger Road, Unit A                                     Semmes                    AL        36575                  Litigation        X           Unknown
  Tinnean, Leroy                             6222 Panorama Drive                                                  Panora                    IA        50216                  Litigation        X           Unknown
  Tinoco, Fernando                           2901 South Riverside Avenue Space L                                  Colton                    CA        92324                  Litigation        X           Unknown
  Tinoco, Myriam Veronica                    2901 South Riverside Avenue Space L                                  Colton                    CA        92324                  Litigation        X           Unknown
  Tippetf, Deborah                           5020 Coakley Circle Apt. #23                                         Mariposa                  CA        95338                  Litigation        X           Unknown
  Tipton, June Ann                           617 2nd Street SW                                                    Albuquerque               NM        87102                  Litigation        X           Unknown
  Tipton, Kenneth Charles                    P.O. Box 103                                                         Fall River Mills          CA        96028                  Litigation        X           Unknown
  Tirado, Yanira                             69 Walker Rd.                                                        New Britain               CT        06053                  Litigation        X           Unknown
  Tirk, Lucy                                 1900 E 10th Street Apt 209                                           Kansas City               MO        64127                  Litigation        X           Unknown
  Tisdale, Martin                            4655 Oakvista Avenue                                                 Clarkston                 MI        48346                  Litigation        X           Unknown
  Titchenell, Jason                          1145 Heron Lane, Lot No. 4                                           Rockport                  TX        78382                  Litigation        X           Unknown
  Tittle, Peter                              11885 Davis Street                                                   Moreno Valley             CA        92557                  Litigation        X           Unknown
  Tizio, Doris                               30 Railroad Street #411                                              Andover                   MA        01810                  Litigation        X           Unknown
  Todd, Dorothy Marie                        125 Westchester                                                      Anaheim                   CA        92804                  Litigation        X           Unknown
  Todd, Edward                               RTS - P.O. Box 3594                                                  Wichita                   KS        67201                  Litigation        X           Unknown
  Todd, Kimberly                             4449 Le Park Dr.                                                     Long Beach                CA        90723                  Litigation        X           Unknown
  Todd-Copeland, Kellie                      4449 Le Park Dr.                                                     Long Beach                CA        90807                  Litigation        X           Unknown
  Tolbert II, David Lee                      5665 29th Street                                                     Riverside                 CA        92509                  Litigation        X           Unknown
  Tolbert, Zilphine                          1712 Comer Street                                                    Savannah                  GA        31415                  Litigation        X           Unknown
  Toles, Cathy                               700 George Road                                                      Memphis                   TN        38109                  Litigation        X           Unknown
  Tolmachoff, Mitch                          1026 Shady Court                                                     San Jacinto               CA        92582                  Litigation        X           Unknown
  Tom, Shawn                                 8832 Tamar Drive                                                     Columbia                  MD      21045-2812               Litigation        X           Unknown
  Tomlin, Permiller                          6710 Myron Ave                                                       St. Louis                 MO        63121                  Litigation        X           Unknown
  Tomlison, Gene                             1040 Straight Creek Road                                             Waverly                   OH        45690                  Litigation        X           Unknown
  Tooke, Lyle C.                             30 Karen Dr.                                                         Tonawanda                 NY        14150                  Litigation        X           Unknown
  Toole, Johnnie                             PO BOX 11                                                            Toomsuba                  MS        39364                  Litigation        X           Unknown
  Torino, Emily                              4929 Fidler Avenue                                                   Lakewood                  CA        90712                  Litigation        X           Unknown
  Torino, Ervin                              4929 Fidler Avenue                                                   Lakewood                  CA        90712                  Litigation        X           Unknown



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  Torino, Estrella                           24436 Panama Avenue                                                   Carson                    CA      90745              Litigation        X           Unknown
  Torino, Faustino                           24436 Panama Avenue                                                   Carson                    CA      90745              Litigation        X           Unknown
  Toro, Jr., Charles                         309 Washington Ave                                                    Bennington                VT      05201              Litigation        X           Unknown
  Torrance, Cynthia                          713 S Mobile St.                                                      Fairhope                  AL      36532              Litigation        X           Unknown
  Torrance, Tony                             6037 East Country Club Vista Drive                                    Tucson                    AZ      85750              Litigation        X           Unknown
  Torre and family, Susan                    54 Tussing Lane                                                       Tonawanda                 NY      14150              Litigation        X           Unknown
  Torreblanca, Rosario                       1421 Marybay Lane                                                     Santa Ana                 CA      92706              Litigation        X           Unknown
  Torres- Jr., David                         24628 Neptune Avenue                                                  Carson                    CA      90745              Litigation        X           Unknown
  Torres Melendrez, Manuel                   21976 Lane Street                                                     Perris                    CA      92570              Litigation        X           Unknown
  Torres- Sr., David                         24628 Neptune Avenue                                                  Carson                    CA      90745              Litigation        X           Unknown
  Torres, Adolf                              2076 Glenhill Rd                                                      Colorado Springs          CO      80906              Litigation        X           Unknown
  Torres, Andres                             24509 Neptune Avenue                                                  Carson                    CA      90745              Litigation        X           Unknown
  Torres, Anthony                            24628 Neptune Avenue                                                  Carson                    CA      90745              Litigation        X           Unknown
  Torres, Candelaria                         8416 Fultana Ave                                                      Fontana                   CA      92335              Litigation        X           Unknown
  Torres, David M.                           3308 Twincreek Avenue                                                 Palmdale                  CA      93550              Litigation        X           Unknown
  Torres, Delia                              1310 Palm Beach Lake Blvd.                                            West Palm Bch             FL      33401              Litigation        X           Unknown
  Torres, Donna                              3106 Roosevelt St.                                                    Placerville               CA      95667              Litigation        X           Unknown
  Torres, Freddie                            939 Florence Avenue                                                   Colton                    CA      92324              Litigation        X           Unknown
  Torres, Gloria                             15427 Chaparral Street                                                Victorville               CA      92394              Litigation        X           Unknown
  Torres, Jesse                              21575 E North Court                                                   Queen Creek               AZ      85242              Litigation        X           Unknown
  Torres, Jesse A.                           11507 E. Reuben Ave.                                                  Mesa                      AZ      85212              Litigation        X           Unknown
  Torres, Jorge                              8416 Fultana Ave                                                      Fontana                   CA      92335              Litigation        X           Unknown
  Torres, Jorge                              2744 Wabash Avenue                                                    Los Angeles               CA      90033              Litigation        X           Unknown
  Torres, Jose                               2170 E. 65th Street, Side entrance                                    Brooklyn                  NY      11234              Litigation        X           Unknown
  Torres, Jose                               12154 Blue Quail Ave                                                  El Paso                   TX      79936              Litigation        X           Unknown
  Torres, Lorraine                           24628 Neptune Avenue                                                  Carson                    CA      90745              Litigation        X           Unknown
  Torres, Maria                              24509 Neptune Avenue                                                  Carson                    CA      90745              Litigation        X           Unknown
  Torres, Noel                               3546 West Beach Ave                                                   Chicago                   IL      60657              Litigation        X           Unknown
  Torres, Renee                              24709 Panama Avenue                                                   Carson                    CA      90745              Litigation        X           Unknown
  Torres, Robert                             4245 E. Erie St.                                                      Queen Creek               AZ      85295              Litigation        X           Unknown
  Torres, Ruby                               13051 Chaplet Pl                                                      Tustin                    CA      92780              Litigation        X           Unknown
  Torres-Glaza, Sandra                       22102 East Via Del Palo                                               Queen Creek               AZ      85142              Litigation        X           Unknown
  Torres-Lugo, Adelino                       PO Box 234                                                            Cabo Rojo                 PR      00623              Litigation        X           Unknown
  Torrez, Armando                            24503 Panama Avenue                                                   Carson                    CA      90745              Litigation        X           Unknown
  Torrez, Christopher                        24503 Panama Avenue                                                   Carson                    CA      90745              Litigation        X           Unknown
  Torrez, Gerald                             37155 Palo Verde Drive #202                                           Cathedral City            CA      92234              Litigation        X           Unknown
  Torrez, Jake                               24503 Panama Avenue                                                   Carson                    CA      90745              Litigation        X           Unknown
  Torrez, Regina                             24503 Panama Avenue                                                   Carson                    CA      90745              Litigation        X           Unknown
  Torri, Susan                               1611 Jefferson Ave.                                                   Woodlyn                   PA      19094              Litigation        X           Unknown
  Toth, Maureen                              2699 Whitehaven Rd.                                                   Grand Island              NY      14072              Litigation        X           Unknown
  Toth, Timothy                              42 Riverview Ave.                                                     Tonawanda                 NY      14150              Litigation        X           Unknown
  Totten, Christian                          102 East Hall                                                         Calhoun                   IL      62419              Litigation        X           Unknown
  Toussaint, Nina                            PO Box 166044                                                         Little Rock               AR      72216              Litigation        X           Unknown
  Tovar, Adelina                             7911 128th St. E                                                      Puyallup                  WA      98373              Litigation        X           Unknown
  Tovar, Marie                               2091 Corsica Way South West                                           Marietta                  GA      30008              Litigation        X           Unknown
  Tovar, Raul                                5907 Sugarplum Court                                                  Atwater                   CA      95301              Litigation        X           Unknown
  Townes, Verna                              3 Harp Drive                                                          Mount Dora                FL      32757              Litigation        X           Unknown
  Townsell, Stanley                          25 W 158th Place Apt. 2W                                              Calumet City              IL      60409              Litigation        X           Unknown
  Townsend, Cathy                            21 Central Avenue                                                     Gastonia                  NC      28054              Litigation        X           Unknown
  Townsend, Timothy                          2605 E. 19th Streeet                                                  Roswell                   NM      88201              Litigation        X           Unknown



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  Townsley, James                                      1781 Ridgestone Ln.                                                 Kernersville                            NC        27284                 Litigation        X           Unknown
  Tracy, Joe                                           922 Cedar Wood Ln                                                   Petaluma                                CA        94954                 Litigation        X           Unknown
  Tran, Minh                                           24618 Panama Avenue                                                 Carson                                  CA        90745                 Litigation        X           Unknown
  Tran, Tracey                                         24618 Panama Avenue                                                 Carson                                  CA        90745                 Litigation        X           Unknown
  Trantham, Aggie                                      376 Tubbs Road                                                      Batesville                              MS        38606                 Litigation        X           Unknown
  Trapp, Derek                                         2197 Knollwood Drive                                                Canton                                  MI        48188                 Litigation        X           Unknown
  Travis, James                                        1100 Curlew Rd.#208                                                 Dunedin                                 FL        34698                 Litigation        X           Unknown
  Trayanum, Oddiemeeze                                 3499 Norwalk Place                                                  Fairfield                               CA        94534                 Litigation        X           Unknown
  Traylor, Barry                                       16421 Eastwind Street                                               Romulus                                 MI        48174                 Litigation        X           Unknown
  Treadway, Lura Mae                                   2476 Bayview Avenue                                                 Virginia Beach                          VA        23455                 Litigation        X           Unknown
  Treder, Danuta                                       PO Box 160                                                          Baldwin Place                           NY        10505                 Litigation        X           Unknown
  Trejo Fuentes, Isabel                                Calle Arco- Mansana 7- Lote 38                                      Fraccionamiento Los Laureles- Morelos   MO        55090                 Litigation        X           Unknown
  Trejo, Ralph                                         PO Box 520                                                          Huron                                   CA        93234                 Litigation        X           Unknown
  Tresler, Donald                                      703 Eberhart Drive                                                  Shelbyville                             IN        46176                 Litigation        X           Unknown
  Trethewey, Linda                                     11007 Sandstone Street                                              Houston                                 TX        77072                 Litigation        X           Unknown
  Trevino, Elizabeth                                   15415 Sheila St. Apt. D                                             Moreno Valley                           CA        92551                 Litigation        X           Unknown
  Trevino, Graciela                                    P.O. Box 11                                                         Los Indios                              TX        78567                 Litigation        X           Unknown
  Trevino, Leonard                                     1601 Cobb                                                           Hobbs                                   NM        88240                 Litigation        X           Unknown
  Trevino, Michael                                     651 Newton Street                                                   San Fernando                            CA        91340                 Litigation        X           Unknown
  Trevino, Michael Brian                               15415 Shelia Street Apartment 10                                    Moreno Valley                           CA        92551                 Litigation        X           Unknown
  Trevino, Tommy                                       1513 Tasker                                                         Hobbs                                   NM        88240                 Litigation        X           Unknown
  Tribble, Ronald                                      7930 Cochran Mill Road                                              Palmetto                                GA        30268                 Litigation        X           Unknown
  Trice, Beverly                                       504 Shady Drive                                                     Thomaston                               GA        30286                 Litigation        X           Unknown
  Trifkovic and family, Bratislav and Tanja            226 Parkedge Ave.                                                   Tonawanda                               NY        14150                 Litigation        X           Unknown
  Trimble, Juanita Gildon                              1729 Clear Creek Lane                                               Colton                                  CA        92324                 Litigation        X           Unknown
  Trimboli, Steve                                      19091 Wiltshire Blvd.                                               Lathrup Village                         MI        48076                 Litigation        X           Unknown
  Trinidad, Natividad                                  2227 Phonecia Court                                                 Orlando                                 FL        32837                 Litigation        X           Unknown
  Tripp, Stephen                                       153 Chestnut Street, Apt. A2                                        Foxboro                                 MA        02035                 Litigation        X           Unknown
  Tripp, Theresa                                       153 Chestnut Street, Apt. A2                                        Foxboro                                 MA        02035                 Litigation        X           Unknown
  Trivedi, Harry                                       2145 East Vista Canyon Road                                         Orange                                  CA        92867                 Litigation        X           Unknown
  Tropea, Salvatore                                    20 Cushman Road                                                     Patterson                               NY        12563                 Litigation        X           Unknown
  Trotter, Richard                                     1508 Woodlawn Street                                                Hutchinson                              KS        67501                 Litigation        X           Unknown
  Troupe, John                                         210 Harvest Ridge Dr.                                               Harvest                                 AL        35749                 Litigation        X           Unknown
  Trovato, Salvatore                                   30 Stonehill Dr                                                     Manhasset                               NY        11030                 Litigation        X           Unknown
  Trujillo, Amanda                                     1356 Lomita Blvd Apt 10                                             Harbor City                             CA      90710-2145              Litigation        X           Unknown
  Trujillo, Antonio Alcantar                           16624 Slover Ave.                                                   Fontana                                 CA        92337                 Litigation        X           Unknown
  Trujillo, Debbie                                     24426 Neptune Avenue                                                Carson                                  CA        90745                 Litigation        X           Unknown
  Trujillo, Diana                                      30951 Hanover Ln- Apt. 2504                                         Menifee                                 CA        92584                 Litigation        X           Unknown
  Trujillo, Edward                                     24426 Neptune Avenue                                                Carson                                  CA        90745                 Litigation        X           Unknown
  Trujillo, Erica                                      21835 Olive Avenue                                                  Perris                                  CA        92570                 Litigation        X           Unknown
  Trujillo, Jacqueline                                 1056 W 8th St.                                                      San Pedro                               CA        90731                 Litigation        X           Unknown
  Trujillo, Jennifer                                   24719 Panama Avenue                                                 Carson                                  CA        90745                 Litigation        X           Unknown
  Trujillo, Joshua                                     704 W. 39th St.- Apt. #4                                            San Pedro                               CA        90733                 Litigation        X           Unknown
  Trujillo, Julie                                      1056 W 8th St.                                                      San Pedro                               CA        90731                 Litigation        X           Unknown
  Trujillo, Lorraine                                   21835 Olive Avenue                                                  Perris                                  CA        92570                 Litigation        X           Unknown
  Trujillo, Michelle                                   13921 Purdin Ave.                                                   Paramount                               CA        90723                 Litigation        X           Unknown
  Trujillo, Neva                                       1216 E 8th Street                                                   Pueblo                                  CO        81001                 Litigation        X           Unknown
  Trujillo, Ramona                                     309 West Lea                                                        Hobbs                                   NM        88240                 Litigation        X           Unknown
  Trujillo, Richard                                    24719 Panama Avenue                                                 Carson                                  CA        90745                 Litigation        X           Unknown
  Trujillo, Rosalene                                   3125 Nebulous Circle                                                North Las Vegas                         NV        89032                 Litigation        X           Unknown



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  Trujillo, Ruben Gene                       983 W. La Cabena Dr.- space 4                                        Riverside                CA        92501                 Litigation        X           Unknown
  Trujillo, Ruth Rose                        983 W. La Cadena Drive- Space #4                                     Riverside                CA        92501                 Litigation        X           Unknown
  Trujillo, Teresa                           24719 Panama Avenue                                                  Carson                   CA        90745                 Litigation        X           Unknown
  Trumble, Ernest                            401 E Jefferson Street, Apt 215                                      Springfield              IL        62701                 Litigation        X           Unknown
  Truss, Alma                                1620 N. 18th Ave.                                                    Melrose Park             IL        60160                 Litigation        X           Unknown
  Trussell, Dr. Gerald                       4729 W. Piedmont                                                     Laveen                   AZ        85339                 Litigation        X           Unknown
  Truvillo, Raquel                           3803 Aspen Avenue NE Apt. #1                                         Alburquerque             NM        87110                 Litigation        X           Unknown
  Trybalski, Jerry                           515 Gibson St.                                                       Tonawanda                NY        14150                 Litigation        X           Unknown
  Tuberville, Sara                           1909 West Main Street                                                Atlanta                  TX        75551                 Litigation        X           Unknown
  Tucker Jr., Rex Allen                      18635 Hermosa Street                                                 Riverside                CA        92508                 Litigation        X           Unknown
  Tucker Sr., Rex Allen                      18833 4th Street                                                     Bloomington              CA        92316                 Litigation        X           Unknown
  Tucker, Harvey                             2736 Lamplighter Drive                                               Kannapolis               NC        28081                 Litigation        X           Unknown
  Tucker, Mildred                            1949 McGraw Avenue Apt. 1A                                           Bronx                    NY        10432                 Litigation        X           Unknown
  Tulsa, John                                401 South 18th Street                                                Henryetta                OK        74437                 Litigation        X           Unknown
  Tunny, John                                4214 E.Sequoia Trail                                                 Phoenix                  AZ        85044                 Litigation        X           Unknown
  Turchiaro, Lori                            PO Box 112 /19201 Martinsburg Rd.                                    Poolesville              MD        30837                 Litigation        X           Unknown
  Turcios Lainez, Henry                      1225 Dewey Ave                                                       Los Angeles              CA        90006                 Litigation        X           Unknown
  Turnage, John                              11 Knowlton #3                                                       Lackawana                NY        14218                 Litigation        X           Unknown
  Turner, Bonnie                             1337 Lang-Slocum Rd                                                  Wheelersburg             OH        45694                 Litigation        X           Unknown
  Turner, Jay                                PO BOX 821455                                                        Fort Worth               TX      76182-1455              Litigation        X           Unknown
  Turner, Jerry                              206 Duncan Circle                                                    Indianola                MS        38751                 Litigation        X           Unknown
  Turner, John                               1706 East 22nd Street                                                Oakland                  CA        94606                 Litigation        X           Unknown
  Turner, Jr., Oscar                         906 W. Huisache Ave., Apt 408                                        San Antonio              TX        78201                 Litigation        X           Unknown
  Turner, Jr., Paul                          206 Petunia Drive                                                    Seneca                   SC        29672                 Litigation        X           Unknown
  Turner, Kathleen                           2352 Stanton Court                                                   Mobile                   AL        36617                 Litigation        X           Unknown
  Turner, Kim                                210 Rainbow Drive Lot 14                                             Chesterton               IN        46304                 Litigation        X           Unknown
  Turner, Linda                              50 Northwood Drive                                                   Kimberling City          MO        65686                 Litigation        X           Unknown
  Turner, Mary                               PO Box 713                                                           Fort Gaines              GA        39851                 Litigation        X           Unknown
  Turner, Monty                              PO Box 40                                                            Lincoln                  AL        35096                 Litigation        X           Unknown
  Turner, Rodney                             445 Bruce Street, Apt 9F                                             Clearfield               UT        84015                 Litigation        X           Unknown
  Turner, Thomas                             221 E. 122nd Street                                                  Los Angeles              CA        90061                 Litigation        X           Unknown
  Tuttle, Derrick                            36874 Cherry St, #N242                                               Newark                   CA        94560                 Litigation        X           Unknown
  Tuvalu, Solina                             472 W. 12th Street                                                   San Pedro                CA        90731                 Litigation        X           Unknown
  Tverberg, Steve                            PO Box 552                                                           Hampstead                NC        28443                 Litigation        X           Unknown
  Twyman-Blackshear, Karla                   RTS - 6024 Lantana Ave. Apt. 10                                      Cincinnati               OH        45224                 Litigation        X           Unknown
  Tyce, Maretha Sherea                       5711 29th Street                                                     Riverside                CA        92509                 Litigation        X           Unknown
  Tyler-Callahan, Valerie                    PO Box 171                                                           Goochland                VA        23063                 Litigation        X           Unknown
  Tyner, Mae                                 840 Railroad Street, Lot 16                                          Americus                 GA        31709                 Litigation        X           Unknown
  Tynes, Deborah                             8247 Chesebro Ave                                                    North Port               FL        34287                 Litigation        X           Unknown
  Uczen, Antoinette                          9908 W. Oakstone Drive                                               Sun City                 AZ        85351                 Litigation        X           Unknown
  Uffen-Wands, Deborah                       1822 Mills Ave., Apt. 1                                              Norwood                  OH        45212                 Litigation        X           Unknown
  Ullah, John                                109 Bement Avenue                                                    Staten Island            NY        10310                 Litigation        X           Unknown
  Ulloa, Guillermo                           2977 N. Garey Ave. Apt. #1                                           Pomona                   CA        91767                 Litigation        X           Unknown
  Ulm, Jr., Harvey                           18807 NE Hooper Wollam Road                                          Amboy                    WA        98601                 Litigation        X           Unknown
  Umali, Amado                               24409 Neptune Avenue                                                 Carson                   CA        90745                 Litigation        X           Unknown
  Umali, Andrea                              24409 Neptune Avenue                                                 Carson                   CA        90745                 Litigation        X           Unknown
  Umali, Christopher                         24409 Neptune Avenue                                                 Carson                   CA        90745                 Litigation        X           Unknown
  Umali, Randy                               24409 Neptune Avenue                                                 Carson                   CA        90745                 Litigation        X           Unknown
  Umana, Cristina                            18524 14th Street                                                    Bloomington              CA        92316                 Litigation        X           Unknown
  Umfleet, Penny                             821 Ross Rd                                                          Bellville                OH        44813                 Litigation        X           Unknown



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  Umphlett-Patton, Christina                 1472 E. Los Altos Avenue                                                  Fresno                    CA        93710                 Litigation        X           Unknown
  Underhill, Melinda                         1520 Lake Pointe Way # 8                                                  Centerville               OH        45459                 Litigation        X           Unknown
  Underwood, Jr., Welton                     90 Kennon Drive                                                           Cataula                   GA      31804-3200              Litigation        X           Unknown
  Underwood, Yvonne                          23371 Kelly Rd. Apt. 7                                                    East Point                MI        48021                 Litigation        X           Unknown
  Upshaw, Caryn                              3580 Kinsrow Ave., Apt 104                                                Eugene                    OR        97401                 Litigation        X           Unknown
  Upshur, Carolyn                            5601 Edenfield Rd. Apt. 602                                               Jacksonville              FL        32277                 Litigation        X           Unknown
  Urbine, Grace                              1015 N Main Street 65                                                     Clyde                     OH        43410                 Litigation        X           Unknown
  Urbino, Carol                              1 Pleasant W Apt 212                                                      Lancaster                 NY        14086                 Litigation        X           Unknown
  Urias, Catalina                            19572 El Rivino Road                                                      Riverside                 CA        92509                 Litigation        X           Unknown
  Urias, Joel                                1108 Toulon Dr.                                                           Modesto                   CA        95351                 Litigation        X           Unknown
  Uribe, Fred                                4175 Renee Avenue                                                         Riverside                 CA        92509                 Litigation        X           Unknown
  Urrutia, Anna Mae                          3695 Avalon St.- Space 47                                                 Riverside                 CA        92509                 Litigation        X           Unknown
  Urso, Wesley                               3401 South Baker Street                                                   Santa Ana                 CA        92707                 Litigation        X           Unknown
  Usener, Gerald                             11161 Bonham Ranch Road                                                   Dripping Springs          TX        78620                 Litigation        X           Unknown
  Uslan, Tyler                               6805 Louise Avenue, #307                                                  Lake Balboa               CA        91406                 Litigation        X           Unknown
  Ussery, Linda Ann                          18831 5th Street                                                          Bloomington               CA        92316                 Litigation        X           Unknown
  Ussery, Loren Gene                         18831 5th Street                                                          Bloomington               CA        92316                 Litigation        X           Unknown
  Ussery-McCarty, Stephanie                  1263 Second St. E                                                         West Fargo                ND        58078                 Litigation        X           Unknown
  Utley, Crystal                             3622 Ojai Road                                                            Santa Paula               CA        93060                 Litigation        X           Unknown
  Vaca, Alma                                 2767 W. 1st Street- Space 71                                              Santa Ana                 CA        92703                 Litigation        X           Unknown
  Vaca, Louie                                1032 E. Nugent Street                                                     Lancaster                 CA        93535                 Litigation        X           Unknown
  Vacca, Andrew                              PO Box 449                                                                Howland                   ME        04448                 Litigation        X           Unknown
  Valdes, Adolfo                             3712 South Meyler Street                                                  San Pedro                 CA        90731                 Litigation        X           Unknown
  Valdes, Crystal                            3712 South Meyler Street                                                  San Pedro                 CA        90731                 Litigation        X           Unknown
  Valdez Castro, Margarita                   P O Box 21521                                                             Long Beach                CA        90801                 Litigation        X           Unknown
  Valdez, Connie                             6973 W. Bello Ave                                                         West Valley               UT        84128                 Litigation        X           Unknown
  Valdez, Donna                              9100 E Florida Ave. Bldng. 10 Apt. 105                                    Denver                    CO        80247                 Litigation        X           Unknown
  Valdez, Erika                              1061 Koleeta Drive                                                        Harbor City               CA      90710-1819              Litigation        X           Unknown
  Valdez, Gabriel                            1514 Tasker                                                               Hobbs                     NM        88240                 Litigation        X           Unknown
  Valdez, Gilbert                            1061 Koleeta Drive                                                        Harbor City               CA      90710-1819              Litigation        X           Unknown
  Valdez, Irma                               1061 Koleeta Drive                                                        Harbor City               CA      90710-1819              Litigation        X           Unknown
  Valdez, Jennifer Marie                     6836 36th Street                                                          Riverside                 CA        92509                 Litigation        X           Unknown
  Valdez, Jose Ramon                         847 West H Street                                                         Colton                    CA        92324                 Litigation        X           Unknown
  Valdez, Josie                              5692 Molino Way                                                           Riverside                 CA        92509                 Litigation        X           Unknown
  Valdez, Melissa                            1061 Koleeta Drive                                                        Harbor City               CA      90710-1819              Litigation        X           Unknown
  Valdez, Michelle                           1061 Koleeta Drive                                                        Harbor City               CA      90710-1819              Litigation        X           Unknown
  Valdez, Rita Veronica                      6836 36th Street                                                          Riverside                 CA        92509                 Litigation        X           Unknown
  Valdez, Sharleena                          1722 N. Avalon Blvd. Apt. 14                                              Wilmington                CA        90744                 Litigation        X           Unknown
  Valdivia, Alfredo                          24503 Marbella Avenue                                                     Carson                    CA        90745                 Litigation        X           Unknown
  Valdivia-Chairez, Rose Marie               24503 Marbella Avenue                                                     Carson                    CA        90745                 Litigation        X           Unknown
  Valencia, Karla                            167 S. Vallejo Way                                                        Upland                    CA        91786                 Litigation        X           Unknown
  Valenza, Jr., Samuel                       15 West Main Street                                                       Marlton                   NJ        08053                 Litigation        X           Unknown
  Valenzuela, Gloria                         28600 S Cerro Pelon Pl                                                    Amado                     AZ        85645                 Litigation        X           Unknown
  Valenzuela, Jaqueline                      18872 10th Street                                                         Bloomington               CA        92316                 Litigation        X           Unknown
  Valenzuela, Manuel D                       P.O. Box 290561                                                           Phelan                    CA        92329                 Litigation        X           Unknown
  Valenzuela, Ricardo                        5460 Streefkerk Drive                                                     Warren                    MI        48092                 Litigation        X           Unknown
  Vallecillo, Johnny                         P.O. Box 3326                                                             Riverside                 CA        92519                 Litigation        X           Unknown
  Van Brunt, Jason                           12971 Ninebark Street                                                     Moreno Valley             CA        92553                 Litigation        X           Unknown
  Van Buren, Gayle                           15106 Colony Ct.                                                          Paramount                 CA        90723                 Litigation        X           Unknown
  Van Buren, Jordan                          15106 Colony Ct.                                                          Paramount                 CA        90723                 Litigation        X           Unknown



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  Van Buren, Taylor                          15106 Colony Court                                                            Paramount               CA        90723                 Litigation        X           Unknown
  Van Buren, Zachyre                         48741 S I-94 Service Dr. # 42-103                                             Belleville              MI        48111                 Litigation        X           Unknown
  Van Curen, Mark                            167 Longview Rd.                                                              Statesville             NC        28625                 Litigation        X           Unknown
  Van Der Linden, Robert Nicholes            6691 30th Street                                                              Riverside               CA        92509                 Litigation        X           Unknown
  Van Hese, Joan                             108 Brad N Cris Drive                                                         Houghton Lake           MI        48629                 Litigation        X           Unknown
  Van Sickle, Mickey                         1127 Mackinaw Ave.                                                            Cheboygan               MI        49721                 Litigation        X           Unknown
  Van Tassel, Calvin                         929 West 24th Street                                                          Ada                     OK        74820                 Litigation        X           Unknown
  Van Vacter, Elizabeth                      2301 Glenallan Avenue                       Apartment 114                     Silver Springs          MD        20906                 Litigation        X           Unknown
  Vance, Helen                               1350 Sir Charles Dr.                                                          Woodville               TX        75979                 Litigation        X           Unknown
  Vanden Bos, Michael                        2575 Orchard View                                                             Grand Rapids            MI        49505                 Litigation        X           Unknown
  Vanderdoes, David                          10701 Cedar Avenue- Space 169                                                 Bloomington             CA        92316                 Litigation        X           Unknown
  Vanderdoes, Michelle                       10701 Cedar Ave. Spc#169                                                      Bloomington             CA        92316                 Litigation        X           Unknown
  Vanderstaay, Juanita                       34024 167th Street                                                            Leavenworth             KS      66048-9473              Litigation        X           Unknown
  Vandervelde, Alex                          955 Howard Avenue Space 74                                                    Escondido               CA        92029                 Litigation        X           Unknown
  Vanderwerken, Joseph                       320 Shadow Lake Drive                                                         Chesapeake              VA        23320                 Litigation        X           Unknown
  Vanderyacht, Lee                           1101 Red Valley Court                                                         Maple Falls             WA        98266                 Litigation        X           Unknown
  Vandeventer, Larry                         7443 Hollow Moore                                                             West Jordan             UT      84084-4143              Litigation        X           Unknown
  VandeWal and family, Dawn                  87 Werkley Rd.                                                                Tonawanda               NY        14150                 Litigation        X           Unknown
  Vanlier, Josephine                         10495 Frontage Rd, Apt 6                                                      Delhi                   CA        95315                 Litigation        X           Unknown
  VanOrden, Phillipa                         9374 Florida St.                                                              Livonia                 MI        48150                 Litigation        X           Unknown
  Vanovac, Djordjo                           338 Parkedge                                                                  Tonawanda               NY        14150                 Litigation        X           Unknown
  Vanovac, Miljan                            338 Parkedge                                                                  Tonawanda               NY        14150                 Litigation        X           Unknown
  Vanover, Tamarick                          8428 Monte Lane                                                               Tallahassee             FL        32304                 Litigation        X           Unknown
  Vanzie, Jermaine                           359 E. Hacienda Dr.                                                           Corona                  CA        92879                 Litigation        X           Unknown
  Vardanyan, Antuan                          1523 E. Windsor Rd., #103C                                                    Glendale                CA        91205                 Litigation        X           Unknown
  Varela, Juanita                            24832 Carmel Drive                                                            Carson                  CA        90745                 Litigation        X           Unknown
  Varela, Lanette                            8953 West Indianola Avenue                                                    Phoenix                 AZ        85037                 Litigation        X           Unknown
  Varela, Paul                               24832 Carmel Drive                                                            Carson                  CA        90745                 Litigation        X           Unknown
  Vargas Sr., Jesse                          3695 Avalon St. Space 45                                                      Riverside               CA        92509                 Litigation        X           Unknown
  Vargas, Araseli                            24517 Marbella Avenue                                                         Carson                  CA        90745                 Litigation        X           Unknown
  Vargas, Carmen D.                          3695 Avalon Street Space 45                                                   Riverside               CA        92509                 Litigation        X           Unknown
  Vargas, James D.                           3695 Avalon- Space 45                                                         Riverside               CA        92509                 Litigation        X           Unknown
  Vargas, Lorena                             3695 Avalon- Space 45                                                         Riverside               CA        92509                 Litigation        X           Unknown
  Vargas, Mike                               24517 Marbella Avenue                                                         Carson                  CA        90745                 Litigation        X           Unknown
  Vargas, Priscilla                          1137 W Walnut St, #B                                                          Santa Ana               CA        92703                 Litigation        X           Unknown
  Vargus, Viola                              P O Box 983                                                                   Mammoth                 AZ        85618                 Litigation        X           Unknown
  Varley, Judy                               PO Box 981                                                                    Malibu                  CA        90265                 Litigation        X           Unknown
  Vasquez Estrada, Rosa                      2011 Market Avenue                                                            Fort Worth              TX        76164                 Litigation        X           Unknown
  Vasquez, Ernest R.                         10419 Helendale Avenue                                                        Tujunga                 CA        91042                 Litigation        X           Unknown
  Vasquez, Gilberto                          24913 Island Ave                                                              Carson                  CA        90745                 Litigation        X           Unknown
  Vasquez, Lorraine Marlene                  19740 Barton Street                                                           Perris                  CA        92570                 Litigation        X           Unknown
  Vasquez, Maria                             9093 NW 23rd Pl                                                               Coral Springs           FL        33065                 Litigation        X           Unknown
  Vasquez, Vanessa                           1020 Kloke Rd.- Apt. 28                                                       Calexico                CA        92231                 Litigation        X           Unknown
  Vassell, Joan                              18 Arch St.                                                                   Waterbury               CT        06710                 Litigation        X           Unknown
  Vasser, Sharon                             5441 Maple Canyon Ave.                                                        Columbus                OH        43229                 Litigation        X           Unknown
  Vatican, Cindy                             10244 Dennehy Drive                                                           Forney                  TX        75126                 Litigation        X           Unknown
  Vaughan, Robert                            120 Francis Street                                                            Portsmouth              VA        23702                 Litigation        X           Unknown
  Vaughn, Angela                             1109 Courtland Avenue                                                         Sheffield               AL        35661                 Litigation        X           Unknown
  Vaughn, Christine                          1855 Oakland Park Dr                                                          Lake Wales              FL        33898                 Litigation        X           Unknown
  Vaughn, Mary                               1111 Kirkview Lane Apt. #201                                                  Charlotte               NC        28213                 Litigation        X           Unknown



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                                                                                                                                                                      Claim       Unliquidated

  Vaughn, Sherry                             RTS - 4034 N Torch Road                                            Coolville                 OH      45723              Litigation        X           Unknown
  Vaught, Daniel                             142-18 116th Road                                                  Jamaica                   NY      11436              Litigation        X           Unknown
  Vazquez Becerra, Elizabeth                 847 West H Street                                                  Colton                    CA      92324              Litigation        X           Unknown
  Vazquez Hernandez, Yvette                  189 Orchard Hills Drive Apt 109                                    Doyles Mills              PA      17058              Litigation        X           Unknown
  Vazquez, Felipe                            9256 Jo Jo Way                                                     Riverside                 CA      92503              Litigation        X           Unknown
  Vazquez, Ivan                              9256 Jo Jo Way                                                     Riverside                 CA      92503              Litigation        X           Unknown
  Vega Perez, Lillian                        1777 18th St. Apt. 106                                             Sarasota                  FL      34234              Litigation        X           Unknown
  Vega, Daniel                               12940 Valley Spring                                                Moreno Valley             CA      92553              Litigation        X           Unknown
  Vega, Guadalupe                            2503 Tara Drive                                                    Killeen                   TX      76549              Litigation        X           Unknown
  Vega, Isabel                               P.O. Box 2013                                                      Brackettville             TX      78832              Litigation        X           Unknown
  Vega, Patricia Bravo                       12940 Valley Spring                                                Moreno Valley             CA      92553              Litigation        X           Unknown
  Vega, Susana                               5382 Greenbrier Dr.                                                Riverside                 CA      92504              Litigation        X           Unknown
  Vela, Henry                                715 W. Avenue B                                                    Lovington                 NM      88260              Litigation        X           Unknown
  Velarde-Nava, Yvette                       24622 Marbella Avenue                                              Carson                    CA      90745              Litigation        X           Unknown
  Velasco, Maria                             2143 Sandstone Court                                               Palmdale                  CA      93551              Litigation        X           Unknown
  Velasquez (Lopez), Josephine C.            392 West L Street                                                  Colton                    CA      92324              Litigation        X           Unknown
  Velasquez, Carla A.                        12026 Pepper Street                                                Bloomington               CA      92316              Litigation        X           Unknown
  Velasquez, Christine                       1448 W Castro Drive                                                Kuna                      ID      83634              Litigation        X           Unknown
  Velasquez, Georgina                        1541 W 5th Street                                                  San Pedro                 CA      90732              Litigation        X           Unknown
  Velasquez, Nicolas                         14730 Wiemer Ave.                                                  Paramount                 CA      90723              Litigation        X           Unknown
  Velasquez, Patricia Louise                 392 West L Street                                                  Colton                    CA      92324              Litigation        X           Unknown
  Velazco, Adolfo                            1306 W. Lowen St.                                                  Wilmington                CA      90744              Litigation        X           Unknown
  Velazco, Bertha                            24723 Marbella Avenue                                              Carson                    CA      90745              Litigation        X           Unknown
  Velazco, Carina                            1107 Hyatt Avenue                                                  Wilmington                CA      90744              Litigation        X           Unknown
  Velazco, Emmanuel                          9537 Flower Street- Apt. 1                                         Bellflower                CA      90706              Litigation        X           Unknown
  Velazco, Fernando                          1306 W. Lowen St.                                                  Wilmington                CA      90744              Litigation        X           Unknown
  Velazco, Manuel                            24723 Marbella Avenue                                              Carson                    CA      90745              Litigation        X           Unknown
  Velazco, Victor                            24723 Marbella Avenue                                              Carson                    CA      90745              Litigation        X           Unknown
  Velazquez Vazquez, Benjamin                2202 Lucaya Bend M-3                                               Coconut Creek             FL      33066              Litigation        X           Unknown
  Velazquez, Araceli                         24407 Island Avenue                                                Carson                    CA      90745              Litigation        X           Unknown
  Velazquez, Crystal                         24519 Neptune Avenue                                               Carson                    CA      90745              Litigation        X           Unknown
  Velazquez, Elizabeth                       24519 Neptune Avenue                                               Carson                    CA      90745              Litigation        X           Unknown
  Velazquez, Estela                          854 Olive Street                                                   Upland                    CA      91786              Litigation        X           Unknown
  Velazquez, Jeffrey                         24519 Neptune Avenue                                               Carson                    CA      90745              Litigation        X           Unknown
  Velazquez, Trinidad                        24519 Neptune Avenue                                               Carson                    CA      90745              Litigation        X           Unknown
  Velazquez, Wyatt                           24407 Island Avenue                                                Carson                    CA      90745              Litigation        X           Unknown
  Velez, Olga                                637 sw 8th Ave                                                     Del Ray Beach             FL      33444              Litigation        X           Unknown
  Vellucci, Michael                          108-12 Otis Ave                                                    Corona                    NY      11368              Litigation        X           Unknown
  Velmont, Esther                            9516 French Dr.                                                    Harvard                   IL      60033              Litigation        X           Unknown
  Veloz, Anne Zamores                        1556 Nelson Street                                                 Redlands                  CA      92374              Litigation        X           Unknown
  Venable, Patricia                          27951 Tracy Road                                                   Walbridge                 OH      43465              Litigation        X           Unknown
  Vera, Daniel                               8125 Braemore Drive                                                Sacramento                CA      95828              Litigation        X           Unknown
  Verdinez, Ramona                           107 E North Street                                                 Marshalltown              IA      50158              Litigation        X           Unknown
  Verdugo, Joseph                            9001 East Calle Playa                                              Tucson                    AZ      85715              Litigation        X           Unknown
  Vernon, Gary                               108 Tabernacle Church Road                                         Candor                    NC      27229              Litigation        X           Unknown
  Veron, Joseph                              16 W Foster Avenue                                                 Coaldale                  PA      18218              Litigation        X           Unknown
  Vert, Robert                               3816 West 3240 South                                               West Valley City          UT      84120              Litigation        X           Unknown
  Vesh, Michael                              2311 Madaca Lane, Apt. 110                                         Land O Lakes              FL      34639              Litigation        X           Unknown
  Vettese, Anthony                           62A Anderson Ave                                                   Bellmawr                  NJ      08031              Litigation        X           Unknown
  Vicknair Jr., Sidney                       655 Euclid Street                                                  Beaumont                  TX      77705              Litigation        X           Unknown



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  Vidales, Mary                              3509 Pontiac Street                                                Riverside                CA        92509                 Litigation        X           Unknown
  Vidrine, Justine                           155 Tall Timber Lane                                               Ball                     LA        71405                 Litigation        X           Unknown
  Viernes, Amy                               P.O. Box 294665                                                    Phelan                   CA        92329                 Litigation        X           Unknown
  Viernes, Anthony Martin                    1311 Griffith Avenue                                               Las Vegas                NV        89104                 Litigation        X           Unknown
  Viernes, George John                       PO Box 1485                                                        Eagle                    ID        83616                 Litigation        X           Unknown
  Viernes, Vicente R.                        672 W. 16 St.                                                      San Pedro                CA        90731                 Litigation        X           Unknown
  Vietti, Sharon                             2781 Lorraine Street                                               Carson City              NV        89706                 Litigation        X           Unknown
  Viglienzoni, Theresa                       38924 163rd St. East                                               Palmdale                 CA        93591                 Litigation        X           Unknown
  Villa, Maria                               18561 8th Street                                                   Bloomington              CA        92316                 Litigation        X           Unknown
  Villalba, Evelyn                           17106 La Vesu Road                                                 Fontana                  CA        92337                 Litigation        X           Unknown
  Villanueva, Eugenio                        8515 E. 171st                                                      Bixby                    OK        74008                 Litigation        X           Unknown
  Villanueva, Joseph                         38665 11th Street East, Unit 12                                    Palmdale                 CA        93550                 Litigation        X           Unknown
  Villareal, Nora                            2903 Timber View Dr.                                               San Antonio              TX      78251-2326              Litigation        X           Unknown
  Villarico, Ernie                           1441 Toscanini Drive                                               Rancho Palos Verdes      CA        90275                 Litigation        X           Unknown
  Villarin, Rodrigo                          5200 Atlantic Avenue                                               Ventnor City             NJ        08406                 Litigation        X           Unknown
  Villavicencio, Cesar                       20565 E Exbury Place                                               Covina                   CA        91724                 Litigation        X           Unknown
  Villavicencio, Ivan                        34 Newhall Street Apt. 206                                         Lowell                   MA        01852                 Litigation        X           Unknown
  Villegas, Arianne                          4 Quail Row Lane                                                   Carson                   CA        90745                 Litigation        X           Unknown
  Villegas, Christina                        1736 N Fries Avenue                                                Wilmington               CA        90744                 Litigation        X           Unknown
  Villegas, Gilbert B.                       8414 Langdon, #36                                                  North Hills              CA        91343                 Litigation        X           Unknown
  Villegas, Marty                            24726 Marbella Ave.                                                Carson                   CA        90745                 Litigation        X           Unknown
  Villegas, Robert                           752 Lincoln Street                                                 Carson                   CA        90745                 Litigation        X           Unknown
  Villegas, Serene                           1736 N Fries Avenue                                                Wilmington               CA        90744                 Litigation        X           Unknown
  Vincent, Sandra                            106 East Hoffecker St.                                             Middletow n              DE        19709                 Litigation        X           Unknown
  Vines, Ellen                               703 Oak Avenue                                                     Lexington                NC        27292                 Litigation        X           Unknown
  Vines, Katina                              936 Galt St. Apt. 2                                                Norfolk                  VA        23504                 Litigation        X           Unknown
  Vineyard, Cecil                            2744 County Road 3126                                              Snyder                   TX        79549                 Litigation        X           Unknown
  Vinluan III, Lorenzo                       24421 Panama Avenue                                                Carson                   CA        90745                 Litigation        X           Unknown
  Vinluan IV, Lorenzo                        24421 Panama Avenue                                                Carson                   CA        90745                 Litigation        X           Unknown
  Vinluan, Felisa                            24421 Panama Avenue                                                Carson                   CA        90745                 Litigation        X           Unknown
  Vinson, James                              26809 Dartmouth Street                                             Inkster                  MI        48141                 Litigation        X           Unknown
  Vinson, Ronald                             217A Peachtree Street                                              Murphy                   NC        28906                 Litigation        X           Unknown
  Viola, Elizabeth                           201 Laurel Grove Dr.                                               Monroe                   LA        71203                 Litigation        X           Unknown
  Violanti, Joseph                           2023 Derby Road                                                    Eden                     NY        14057                 Litigation        X           Unknown
  Violette, Jason                            24 Jameswell Road                                                  Wethersfield             CT        06109                 Litigation        X           Unknown
  Vipond, Paul                               3205 Brunswick Drive                                               Florissant               MO        63033                 Litigation        X           Unknown
  Vires, Danny                               3 Earls Way                                                        McLoud                   OK        74851                 Litigation        X           Unknown
  Virges, Sr., Louis                         11333 Sugarpine Drive Apt 603                                      Florissant               MO        63033                 Litigation        X           Unknown
  Virgilio, Pablo                            11345 Parkridge Drive                                              Fontana                  CA        92337                 Litigation        X           Unknown
  Vislosky, Michael                          2764 Ceres Ave                                                     Chico                    CA        95973                 Litigation        X           Unknown
  Vitacco, James                             261 W Foothills Dr                                                 Drums                    PA        18222                 Litigation        X           Unknown
  Viveros, David                             841 Bradley Street                                                 Riverside                CA        92506                 Litigation        X           Unknown
  Viviano, Jr., Paul                         11003 Fawnhaven Dr.                                                St. Louis                MO        63126                 Litigation        X           Unknown
  Vizcarrondo, Lucy                          2353 Foster Ave Apt 4 C                                            Brooklyn                 NY        11210                 Litigation        X           Unknown
  Vogel, Bernard                             702 Farley Drive                                                   Indianapolis             IN        46214                 Litigation        X           Unknown
  Volkoff, Alex & Kurnoff, Linda             5418 Rockne Ave                                                    Whittier                 CA        90611                 Litigation        X           Unknown
  Vollmer, John                              1610 Clover Creek Lane                                             Goshen                   IN        46526                 Litigation        X           Unknown
  Volz, Frank                                4770 Rusina Road, Apt. 408                                         Colorado Springs         CO        80907                 Litigation        X           Unknown
  Volz, Melody                               P.O Box 2652                                                       Hobbs                    NM        88240                 Litigation        X           Unknown
  Von Carroll, Walter                        3459 HWY 582                                                       Oak Grove                LA        71263                 Litigation        X           Unknown



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  Von Dem Bussche, Glenn            0            12831 W. Mine Trail                                               0 Peoria                  AZ        85383                 Litigation        X           Unknown
  Vonella, Leonardo                              12907 Park Ridge                                                    Shelby                  MI        48315                 Litigation        X           Unknown
  Vorce, Robert Carl                             16521 Talpa Street                                                  Victorville             CA        92395                 Litigation        X           Unknown
  Voros, Alice                                   8035 S Lakewood Ave.                                                Tulsa                   OK        74136                 Litigation        X           Unknown
  Vosburgh, Patricia                             3325 North Gove Street                                              Tacoma                  WA        98407                 Litigation        X           Unknown
  Voss, Stephen                                  105 N. 3rd Street                                                   Hennepin                IL        61327                 Litigation        X           Unknown
  Vreeland, Mildred                              9568 Park Lake Drive                                                Pinellas Park           FL        33782                 Litigation        X           Unknown
  Vryhoef, Van Den                               40503 La Quinta Ct., #H203                                          Palmdale                CA        93551                 Litigation        X           Unknown
  Vryhoef, Van Den                               40503 La Quinta Ct., #H203                                          Palmdale                CA        93551                 Litigation        X           Unknown
  Wabschall, Travis                              1251 Island Avenue                                                  Wilmington              CA        90744                 Litigation        X           Unknown
  Wade, Anita                                    305 Bryan Street                                                    Monroe                  LA        71203                 Litigation        X           Unknown
  Wade, Booker T.                                2625 Budlong St., #2                                                Los Angeles             CA        90007                 Litigation        X           Unknown
  Wade, Carl                                     1223 Hwy 52 West                                                    Beattyville             KY        41311                 Litigation        X           Unknown
  Wagers, Clifford                               430 Napier Hollow Road                                              Manchester              KY        40962                 Litigation        X           Unknown
  Wagner, Joan                                   PO BOX 6                                                            Marvin                  SD        57251                 Litigation        X           Unknown
  Wagner, Ronald                                 4148 Peach Road                                                     Amsterdam               OH        43903                 Litigation        X           Unknown
  Wagner, Sharon                                 28887 Driftwood Drive                                               Elkhart                 IN        46516                 Litigation        X           Unknown
  Wagner, Tiffany                                496 Daventry Square                                                 Palm Harbor             FL        34683                 Litigation        X           Unknown
  Wagner, William                                RTS - 802 S. Nolan Road, #2-A                                       Independence            MO        64050                 Litigation        X           Unknown
  Wagoner, Norma                                 PO BOX 147                                                          Augusta                 WV        26704                 Litigation        X           Unknown
  Wahlers, George                                9306 Towerstone Dr.                                                 Spring                  TX        77379                 Litigation        X           Unknown
  Wahyudi, Iwan                                  20316 Satcoy St, #208                                               Winnetka                CA        91306                 Litigation        X           Unknown
  Waibel, Shirley                                7465 Reece Wade Dr.                                                 Winton                  CA        95388                 Litigation        X           Unknown
  Waible, Barbara                                30 Colleen Drive                                                    Brockton                MA        02301                 Litigation        X           Unknown
  Waight-Smith, Raquel                           1212 243rd Street                                                   Harbor City             CA        90710                 Litigation        X           Unknown
  Wakasugi, Dale                                 3443 Cherry Lane, Unit G                                            Woodbury                MN        55129                 Litigation        X           Unknown
  Walch, Gary                                    2817 Hawken St. Apt 4                                               Bismarck                ND        58503                 Litigation        X           Unknown
  Walczak, Shawna                                8210 199th Avenue                                                   Bristol                 WI        53104                 Litigation        X           Unknown
  Walin, John                                    4612 108th Street NE                                                Marysville              WA      98271-8357              Litigation        X           Unknown
  Walker III, James F.                           6041 Tarragona Drive                                                Riverside               CA        92509                 Litigation        X           Unknown
  Walker, Billie                                 3419 Via Lido                                                       Newport Beach           CA        92660                 Litigation        X           Unknown
  Walker, Donna                                  8676 Dawson Road                                                    Morganza                LA        70759                 Litigation        X           Unknown
  Walker, Freddie                                327 Mt. Pleasant                                                    Clyo                    GA        31303                 Litigation        X           Unknown
  Walker, Jeffrey                                709 S. 8th Street                                                   Hobbs                   NM        88240                 Litigation        X           Unknown
  Walker, Jewell                                 17282 Bentler Street                                                Detroit                 MI        48219                 Litigation        X           Unknown
  Walker, Joellen                                8109 N Alaska St., Apt. B                                           Tampa                   FL        33604                 Litigation        X           Unknown
  Walker, John                                   2053 Bernice Ave                                                    Flint                   MI        48532                 Litigation        X           Unknown
  Walker, Laura                                  119 Lynn St.                                                        Washington               IL       61571                 Litigation        X           Unknown
  Walker, Lea Ann                                3752 Notre Dame Ave                                                 San Diego               CA        92122                 Litigation        X           Unknown
  Walker, Leon                                   2010 Crabapple Park Way                                             Roswell                 GA        30076                 Litigation        X           Unknown
  Walker, Linda                                  128 N. Cedar Ave.                                                   Niles                   OH        44446                 Litigation        X           Unknown
  Walker, Linda                                  1507 E. Marshall Avenue                                             Longview                TX        75601                 Litigation        X           Unknown
  Walker, Mattie                                 12003 Belhaven St.                                                  Los Angeles             CA        90059                 Litigation        X           Unknown
  Walker, Otis                                   7901 Sherrills Ford Road                                            Sherrills Ford          NC        28673                 Litigation        X           Unknown
  Walker, Sr., Rayford                           P.O. Box 6846                                                       Texarkana               TX        75503                 Litigation        X           Unknown
  Wall, Deloris                                  6711 E Camelback Road, Unit 59                                      Scottsdale              AZ        85251                 Litigation        X           Unknown
  Wall, Richard                                  103 Culbreth Street, Apt 110                                        Chapel Hill             NC        27516                 Litigation        X           Unknown
  Wallace Jr., Ronald                            522 NE 7th Terrace                                                  Ocala                   FL        34470                 Litigation        X           Unknown
  Wallace, Brenda                                1869 Heron Johnson Dr.                                              Birmingham              AL        35211                 Litigation        X           Unknown
  Wallace, Karon                                 8506 Elburg, Unit D                                                 Paramount               CA        90723                 Litigation        X           Unknown



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  Wallace, Kiara                             8506 Elburg, Unit D                                                Paramount                  CA        90723                 Litigation        X           Unknown
  Wallace, Kyle                              P.O. Box 446                                                       Harrison                   AR        72602                 Litigation        X           Unknown
  Wallace, Leanna                            710 Shannon Street                                                 Greenville                 MS        38701                 Litigation        X           Unknown
  Wallace, Sr., Barron                       235 Pharr Road # 3306                                              Atlanta                    GA        30305                 Litigation        X           Unknown
  Wallace-Even, Deborah                      1308 E Washington Street                                           Boise                      ID        83712                 Litigation        X           Unknown
  Wallen, Shirley                            1840-A 17th Ave                                                    Santa Cruz                 CA        95062                 Litigation        X           Unknown
  Waller, Bobby                              826 East 21st Street                                               Hopkinsville               KY        42240                 Litigation        X           Unknown
  Waller, Patricia                           10110 Form Park Drive, Unit 190                                    Houston                    TX        77036                 Litigation        X           Unknown
  Waller, Victoria                           2128 Brunt Street                                                  Baltimore                  MD        21217                 Litigation        X           Unknown
  Wallis, William                            7542 Short Street                                                  Pittsburgh                 PA        15218                 Litigation        X           Unknown
  Wallner, Norman                            1902 Post Rd. Apt. 20                                              Stevens Point              WI        54481                 Litigation        X           Unknown
  Walls, Belinda                             114 Kenneth Avenue                                                 Cahokia                    IL        62206                 Litigation        X           Unknown
  Walls, Claudine                            423 Pecos River Dr                                                 Carlsbad                   NM        88220                 Litigation        X           Unknown
  Walsh, Arthur                              609 Symphony Way                                                   Centreville                MD        21617                 Litigation        X           Unknown
  Walsh, David                               587 Washington St.                                                 East Walpole               MA      02032-1338              Litigation        X           Unknown
  Walsh, Sylvia                              1123 Rock St.                                                      Scranton                   PA        18504                 Litigation        X           Unknown
  Walters, Lewis                             400 S. 300 E                                                       Pleasant Grove             UT        84062                 Litigation        X           Unknown
  Walters, Linda                             3364 Curtis Drive Apt. T3                                          Hillcrest Heights          MD        20746                 Litigation        X           Unknown
  Walton, Daymond                            11 Walton Herndon Dr                                               Meherrin                   VA        23954                 Litigation        X           Unknown
  Walton, Terry & Travis                     1260 E Gladstone St                                                Glendora                   CA        91740                 Litigation        X           Unknown
  Walworth, Thomas                           2726 Roy Avenue                                                    Crescent City              CA        95531                 Litigation        X           Unknown
  Wanderman, Philip                          836 Clayborne Lane                                                 Midlothian                 VA        23114                 Litigation        X           Unknown
  Wang, Peter                                11169 McGirk Avenue                                                El Monte                   CA        91731                 Litigation        X           Unknown
  Wank, Michael                              824 S Woodster St, #206                                            Los Angeles                CA        90035                 Litigation        X           Unknown
  Ward Sr., Charles                          1101 Cyrus Drive                                                   St. Martinville            LA        70582                 Litigation        X           Unknown
  Ward, Annie                                433 Green Cove Lane                                                Atlanta                    GA        30316                 Litigation        X           Unknown
  Ward, Cynthia                              168 Winthrop Ave. #2                                               Revere                     MA        02151                 Litigation        X           Unknown
  Ward, Dale                                 P.O. Box 125                                                       Arlington                  IN        46104                 Litigation        X           Unknown
  Ward, David                                660 SW Craven Midde School Rd.                                     New Bern                   NC        28562                 Litigation        X           Unknown
  Ward, Jeffrey                              701 Bates Street                                                   Rockwood                   TN        37854                 Litigation        X           Unknown
  Ward, Kathy                                1002 Sherwood Drive Apt F                                          Durnham                    NC        27705                 Litigation        X           Unknown
  Ward, Mark C.                              15582 10th Street                                                  Victorville                CA        92395                 Litigation        X           Unknown
  Ward, Marlene                              188 S 2nd Street Apt 3B                                            Brooklyn                   NY        11211                 Litigation        X           Unknown
  Ward, Myrna                                24712 Panama Avenue                                                Carson                     CA        90745                 Litigation        X           Unknown
  Ward, William                              9346 Charbar Circle                                                Chattanooga                TN        37421                 Litigation        X           Unknown
  Warfield, Emma                             5104 Rural Way                                                     Louisville                 KY        40218                 Litigation        X           Unknown
  Warner, Ricky                              725 Lobelia Dr                                                     Davenport                  FL        33837                 Litigation        X           Unknown
  Warren, Alex                               633 S. Broad St. Apt 1                                             Elizabeth                  NJ        07202                 Litigation        X           Unknown
  Warren, Fredrick                           20990 W Mayhew Dr                                                  Lincoln                    DE        19960                 Litigation        X           Unknown
  Warren, Gino                               124 Lane A                                                         DeSoto                     KS        66018                 Litigation        X           Unknown
  Warren, Lanette                            443 East 192nd Street Apt-1W                                       Glenwood                   IL        60443                 Litigation        X           Unknown
  Warren, Leatrice                           3 Deer Hill Drive                                                  Montville                  NJ        07045                 Litigation        X           Unknown
  Warren, Tina                               1750 HWY 1046                                                      Amite                      LA        70422                 Litigation        X           Unknown
  Warriner, Lloyd                            510 Old Stage Road                                                 Ashfield                   MA        01330                 Litigation        X           Unknown
  Warriner, Sharon                           1625 Long Pond Road                                                Long Pond                  PA        18334                 Litigation        X           Unknown
  Washensky, Joseph A.                       63 Kaufman                                                         Tonawanda                  NY        14150                 Litigation        X           Unknown
  Washensky, Joseph A. and Sue               1030 Sheree Dr.                                                    Grand Island               NY        14072                 Litigation        X           Unknown
  Washington, Carol B.                       2814 W. Milling Street                                             Lancaster                  CA        93536                 Litigation        X           Unknown
  Washington, Emanuel                        2045 Revis Bluff                                                   Conyers                    GA        30012                 Litigation        X           Unknown
  Washington, Georgia                        2635 Stanfield Dr.                                                 Stockton                   CA      95209-4003              Litigation        X           Unknown



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  Washington, James                          5062 Pioneer Blvd.                                               Whittier               CA      90601              Litigation        X           Unknown
  Washington, Marilyn                        725 SW Derby Dr.                                                 Lees Summit            MO      64081              Litigation        X           Unknown
  Washington, Mary                           1417 Koth Street                                                 Walterboro             SC      29488              Litigation        X           Unknown
  Washington, Mary Sue                       2125 N. 28th St.                                                 Milwaukee              WI      53208              Litigation        X           Unknown
  Washington, Tabitha                        1564 W Orleander                                                 Fresno                 CA      93706              Litigation        X           Unknown
  Washington, Terrell                        9057 Indiana Ave- Apartment B                                    Riverside              CA      92503              Litigation        X           Unknown
  Washington-Stokes, Essie                   86 Lauralee                                                      Cahokia                IL      62206              Litigation        X           Unknown
  Wasson, Paul                               1945 Highway 384                                                 Bell City              LA      70630              Litigation        X           Unknown
  Watanabe, Edward                           24629 Neptune Avenue                                             Carson                 CA      90745              Litigation        X           Unknown
  Watanabe, Henry                            25236 Cinnamon Road                                              Lake Forest            CA      92630              Litigation        X           Unknown
  Watanabe, Katsuko                          24629 Neptune Avenue                                             Carson                 CA      90745              Litigation        X           Unknown
  Waters, Geraldine                          11978 Pepper Street                                              Bloomington            CA      92316              Litigation        X           Unknown
  Wathington, Ksana                          651 Hancock Street- Apt. #2F                                     Brooklyn               NY      11233              Litigation        X           Unknown
  Watkins, Benita                            324 Killough Circle                                              Birmingham             AL      35215              Litigation        X           Unknown
  Watkins, Bobby                             110 Northbrook Drive                                             Waxahachie             TX      75165              Litigation        X           Unknown
  Watkins, Diane                             P.O. Box 245                                                     York                   AL      36925              Litigation        X           Unknown
  Watkins, Gary                              1256 24500 Road                                                  Parsons                KS      67357              Litigation        X           Unknown
  Watkins, Jerry                             527 Red Robin Drive                                              New Braunfels          TX      78130              Litigation        X           Unknown
  Watkins, Johnny                            1704 N. Crawford                                                 Norman                 OK      73069              Litigation        X           Unknown
  Watkins, LaTonya                           RTS - 2273 Grandview Apt 1                                       Cleveland Hts          OH      44106              Litigation        X           Unknown
  Watkins, Linda                             PO Box 292                                                       Sulphur                OK      73086              Litigation        X           Unknown
  Watkins, Lola                              20067 Lakewood                                                   Lynwood                IL      60411              Litigation        X           Unknown
  Watson, Chester                            3536 Pine Rd                                                     Portsmouth             VA      23703              Litigation        X           Unknown
  Watson, Donald                             606 E. Will Rodgers Blvd                                         Claremore              OK      74017              Litigation        X           Unknown
  Watson, Gwendolyn                          120 Benchley Place Apt 28B                                       Bronx                  NY      10475              Litigation        X           Unknown
  Watson, Jerry                              519 SE 1000 Avenue                                               Wilburton              OK      74758              Litigation        X           Unknown
  Watson, Leonard                            365 Whitebirch Road                                              Northville             NY      12134              Litigation        X           Unknown
  Watson, Linda                              RTS - 2488 Henry Gallman Road                                    Resaca                 CO      30735              Litigation        X           Unknown
  Watson, Marla                              513 Maine St. Apt. B                                             Vallejo                CA      94590              Litigation        X           Unknown
  Watson, Mary                               608 Tuckahoe Rd                                                  Kodak                  TN      37764              Litigation        X           Unknown
  Watson, Michael                            PO Box 592                                                       Hobe Sound             FL      33475              Litigation        X           Unknown
  Watson, Nancy                              26 County Road 2312                                              Texarkana              TX      75503              Litigation        X           Unknown
  Watson, Steven                             PO Box 111                                                       Cambridge              MN      55008              Litigation        X           Unknown
  Watt, Jacqueline                           385 Eddy St. Apt. 502                                            San Francisco          CA      94102              Litigation        X           Unknown
  Watts, Adalyn                              PO Box 72                                                        Wedron                 IL      60557              Litigation        X           Unknown
  Watts, Alexander                           PO Box 72                                                        Wedron                 IL      60557              Litigation        X           Unknown
  Watts, Austin                              PO Box 72                                                        Wedron                 IL      60557              Litigation        X           Unknown
  Watts, Christina                           24814 Carmel Drive                                               Carson                 CA      90745              Litigation        X           Unknown
  Watts, Delmas                              24814 Carmel Drive                                               Carson                 CA      90745              Litigation        X           Unknown
  Watts, Jaclyn                              PO Box 72                                                        Wedron                 IL      60557              Litigation        X           Unknown
  Watts, Jeffrey                             PO Box 32                                                        Wedron                 IL      60557              Litigation        X           Unknown
  Watts, Karen                               3405 Waldo Ave                                                   Midland                MI      48642              Litigation        X           Unknown
  Watts, Kyristel                            P O Box 575                                                      Tunica                 MS      38676              Litigation        X           Unknown
  Weatherspoon, Cephus                       210 E Chapman Ave. #28                                           Placentia              CA      92870              Litigation        X           Unknown
  Weatherspoon, Susie                        1135 Hannah Court                                                Benton Harbor          MI      49022              Litigation        X           Unknown
  Weatherup, Ray                             633 W 5th St, #4000                                              Los Angeles            CA      90071              Litigation        X           Unknown
  Weaver, Alice                              3791 Luverne Highway                                             Greenville             AL      36037              Litigation        X           Unknown
  Weaver, Frances                            25464 Daphne Way                                                 Willits                CA      95490              Litigation        X           Unknown
  Weaver, Norman                             498 County Road, #6050                                           Dayton                 TX      77535              Litigation        X           Unknown
  Webb, Charles                              322 Wind Mill Drive                                              Rincon                 GA      31326              Litigation        X           Unknown



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  Webb, Joseph                               4208 Rubye Point Drive SE                                             Decatur                     AL        35603                 Litigation        X           Unknown
  Webb, Kathy                                965 Coleman Rd.                                                       Greeleyville                SC        29056                 Litigation        X           Unknown
  Webb, Parker                               RTS - 6665 Little Creek Drive                                         Quinlan                     TX        75474                 Litigation        X           Unknown
  Webber-Nelson, Joyce                       1555 Mary Drive                                                       Memphis                     TN        38111                 Litigation        X           Unknown
  Weber, Deborah                             P.O. Box 2                                                            Elbert                      CO        80106                 Litigation        X           Unknown
  Weber, Earl                                4217 Robert Koch Hospital Rd.                                         St. Louis                   MO        63129                 Litigation        X           Unknown
  Weber, Gregg                               P.O. Box 976                                                          Grantsville                 UT        84029                 Litigation        X           Unknown
  Webster, Vicky                             PO BOX 41628                                                          Bakersfield                 CA      933384-162              Litigation        X           Unknown
  Weeks, Alice                               514 Shelbyville Street                                                Center                      TX        75935                 Litigation        X           Unknown
  Weems, Peggy                               134-39 166th Place Building 18 Section A                              Jamaica                     NY        11434                 Litigation        X           Unknown
  Weigold, Jennifer                          23 Sandrock Rd.                                                       Buffalo                     NY        14207                 Litigation        X           Unknown
  Weimer, Wanda                              1212 Cranbrook Avenue                                                 Torrance                    CA        90503                 Litigation        X           Unknown
  Weiner, Allison                            16511 Garfield Ave., Sp. # 41-D                                       Paramount                   CA        90723                 Litigation        X           Unknown
  Weiner, Monroe                             20621 Yorksboro Lane                                                  Woodland Hills              CA        91364                 Litigation        X           Unknown
  Weiner, Susan                              16511 Garfield Ave. #41-D                                             Paramount                   CA        90723                 Litigation        X           Unknown
  Weinerman, Karen                           6655 Zelzah Avenue                                                    Reseda                      CA        91335                 Litigation        X           Unknown
  Weinman, Marciana                          1710 Homemaker Hills Drive                                            Arlington                   TX        76010                 Litigation        X           Unknown
  Weinstein, Sharon                          6 Sapphire Place                                                      Huntington Station          NY        11746                 Litigation        X           Unknown
  Weintooth, Judy                            PO Box 1362                                                           Huntsville                  TX        77342                 Litigation        X           Unknown
  Weintraub, Charles                         1756 Clyde Morris Blvd, #1102                                         Daytona Beach               FL        32119                 Litigation        X           Unknown
  Weir, Amy                                  102 Coshway Pl.                                                       Tonawanda                   NY        14150                 Litigation        X           Unknown
  Welch, Bobby                               430 Valley Street                                                     Stanley                     NC        28164                 Litigation        X           Unknown
  Welch, Claxton                             9721 SE Ankeny St.                                                    Portland                    OR      97216-2311              Litigation        X           Unknown
  Welch, Valerie                             4325 East 29th St., Lot 24                                            Desmines                    IA        50317                 Litigation        X           Unknown
  Weldon, Dolpha                             6105 Hartman Avenue                                                   Bakersfield                 CA      93309-1927              Litigation        X           Unknown
  Wellmaker, Sandrina                        1939 S. Quebec Way #F627                                              Denver                      CO        80231                 Litigation        X           Unknown
  Wells, Darlene                             666 Quincy Avenue                                                     Long Beach                  CA        90814                 Litigation        X           Unknown
  Wells, Douglas                             666 Quincy Avenue                                                     Long Beach                  CA        90814                 Litigation        X           Unknown
  Wells, James                               11735 North 152nd East Avenue                                         Collinsville                OK        74021                 Litigation        X           Unknown
  Wells, Mary                                1713-A Stoney Creek Arch                                              Chesapeake                  VA        23320                 Litigation        X           Unknown
  Wells, Sr., Jason                          278 Hickory Ln                                                        Moundville                  AL        35474                 Litigation        X           Unknown
  Welsh, John                                21421 Applewood Drive                                                 California City             CA        93505                 Litigation        X           Unknown
  Welsh, Susan                               113 Lake Forrest Drive                                                La Vergne                   TN        37086                 Litigation        X           Unknown
  Welty, Sandra                              32-781 Westchester Dr.                                                Thousand Palms              CA        92276                 Litigation        X           Unknown
  Wendell, Troy                              2011 Victor Avenue                                                    Lansing                     MI        48910                 Litigation        X           Unknown
  Went, Jr., Delmar                          P.O. Box 384                                                          Elkhart                     IN        46515                 Litigation        X           Unknown
  Wenzel, Ralph                              921 Creek Drive                                                       Annapolis                   MD        21403                 Litigation        X           Unknown
  Wessel, Donald                             25339 N. Northbridge                                                  Hawthorn Woods              IL        60047                 Litigation        X           Unknown
  Wesselius, Laura                           6135 36th Street SE                                                   Auburn                      WA        98092                 Litigation        X           Unknown
  West, Arthur                               296 Kane Place                                                        Jupiter                     FL        33458                 Litigation        X           Unknown
  West, Jerry                                P.O. Box 721                                                          Chapanville                 WV        25508                 Litigation        X           Unknown
  West, Joan                                 1754 NE Mesford Rd. Unit #46                                          Poulsbo                     WA        98370                 Litigation        X           Unknown
  West, John                                 155 Sheldon Ave.                                                      Staten Island               NY        10312                 Litigation        X           Unknown
  West, Johnnie                              5050 Philip Street                                                    Detroit                     MI        48224                 Litigation        X           Unknown
  West, Patricia                             50033 Nancy Dr.                                                       Amory                       MS        38821                 Litigation        X           Unknown
  West, Shelly                               5425 Clearview Drive                                                  Bartlesville                OK        74006                 Litigation        X           Unknown
  West, William                              4543 Brickland Court                                                  North Las Vegas             NV        89081                 Litigation        X           Unknown
  Westmoreland Jr., Arlo                     1920 E Pontiac Way Apt-35                                             Fresno                      CA        93726                 Litigation        X           Unknown
  Westmoreland, Richard                      5086 Sea Reef Place                                                   San Diego                   CA        92154                 Litigation        X           Unknown
  Weston, Theresa                            3 Tern Court                                                          Whiting                     NJ        08759                 Litigation        X           Unknown



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  Wethington, Robert                             9144 Rathbone Street                                               Detroit                   MI      48209              Litigation        X           Unknown
  Wetrich, Robert                                3420 Dolonita Ave.                                                 Hacienda Heights          CA      91745              Litigation        X           Unknown
  Whaley, Charles                                RTS - 6740 Lower Twin Road                                         South Salem               OH      45681              Litigation        X           Unknown
  Wharton, Walter                                215 Amberbrook Cir                                                 Grayson                   GA      30017              Litigation        X           Unknown
  Wheat, Kathleen                                348 Humphrey Rd.                                                   Poplarville               MS      39470              Litigation        X           Unknown
  Wheat, Minnie                                  263 Pictorial St.                                                  Palmdale                  CA      93550              Litigation        X           Unknown
  Wheeler, Christopher                           82 Coppersmith Dr                                                  Eubank                    KY      42567              Litigation        X           Unknown
  Whelchel, Patrick                              7568 Lemon St.                                                     Fontana                   CA      92336              Litigation        X           Unknown
  Whipkey, Donald                                86056 Black Road                                                   Jewett                    OH      43986              Litigation        X           Unknown
  Whipple, Mary                                  1620 Valdosta Drive                                                Cincinnati                OH      45246              Litigation        X           Unknown
  Whisnant, David Lee                            15427 Chaparral Street                                             Victorville               CA      92394              Litigation        X           Unknown
  White, Alton                                   2087 Bigham Court                                                  Eureka                    CA      95503              Litigation        X           Unknown
  White, Charles                                 18 Smith Garrison Rd.                                              Newmarket                 NH      03857              Litigation        X           Unknown
  White, Clarence                                260 South Geronimo St.                                             Miramar Beach             FL      32550              Litigation        X           Unknown
  White, Darlene                                 123 Seneca Street                                                  Staten Island             NY      10310              Litigation        X           Unknown
  White, Dianne                                  34 Winans Street                                                   East Orange               NJ      07017              Litigation        X           Unknown
  White, Donald                                  106 Billingsgate Ln                                                Gaithersburg              MD      20877              Litigation        X           Unknown
  White, Gray                                    242 Chappell Mill Road                                             Milner                    GA      30257              Litigation        X           Unknown
  White, Harold                                  4401 144th St. Ct. NW                                              Gig Harbor                WA      98332              Litigation        X           Unknown
  White, Lillie                                  9658 Panther Creek Road                                            Iola                      TX      77861              Litigation        X           Unknown
  White, Lisa                                    1013 Maple Street                                                  Clovis                    NM      88101              Litigation        X           Unknown
  White, Margaret                                7223 Bayou Oaks Drive                                              Houston                   TX      77088              Litigation        X           Unknown
  White, Nina                                    2649 Fair Oaks Drive                                               Deltona                   FL      32738              Litigation        X           Unknown
  White, Stephanie                               2800 S. Eastern Ave.- #708                                         Las Vegas                 NV      89169              Litigation        X           Unknown
  White, Thomas                                  1261 Kingsway Drive                                                Chesapeake                VA      23320              Litigation        X           Unknown
  White, Zula                                    764 County Road 132                                                Okolona                   MS      38860              Litigation        X           Unknown
  Whitelaw, David & Rita                         1828 Ivory Ave                                                     Palmdale                  CA      93550              Litigation        X           Unknown
  Whiteman, Steve                                3920 Lebrook Drive                                                 Benton                    LA      71006              Litigation        X           Unknown
  Whitener, Sabra                                628 Locust Drive                                                   Cascade                   VA      24069              Litigation        X           Unknown
  Whitescarver, Lewis                            320 Cheverly Road                                                  Christiansburg            VA      24073              Litigation        X           Unknown
  Whitfield, Jr., A.D.                           807 Tangleway Ct.                                                  Cedar Hill                TX      75104              Litigation        X           Unknown
  Whitham, John                                  240 S. 1st Street                                                  Lewiston                  NY      14092              Litigation        X           Unknown
  Whitley, Richard                               5309 Paloma Road                                                   Riverside                 CA      92509              Litigation        X           Unknown
  Whitley, Tina Louise                           5309 Paloma Road                                                   Riverside                 CA      92509              Litigation        X           Unknown
  Whitlow, Ella                                  5754 Robert Drive                                                  Brook Park                OH      44142              Litigation        X           Unknown
  Whitman, Stanley                               6 Greenview Street Apt-207                                         Framingham                MA      01701              Litigation        X           Unknown
  Whitmarsh, Kathleen                            111 Dutton Rd.                                                     Canton                    NY      13617              Litigation        X           Unknown
  Whitmyer, Nathaniel                            13428 Maxella Ave. #206                                            Marina Del Rey            CA      90292              Litigation        X           Unknown
  Whitney, Wallace                               2106 W. 21st Ave.                                                  Kennewick                 WA      99337              Litigation        X           Unknown
  Whitson, Donna                                 3424 Northside Blvd.                                               South Bend                IN      46615              Litigation        X           Unknown
  Whitt, Edwin                                   4 Curandero Way                                                    Hot Springs               AR      71909              Litigation        X           Unknown
  Whittingham, Traci                             3350 S. Cushman Ave.                                               Tacoma                    WA      98418              Litigation        X           Unknown
  Wickens, Frances                  0            PO Box 1509                                                      0 Visalia                   CA      93292              Litigation        X           Unknown
  Wicker, Patricia Ann                           3335 West Lincoln Ave., #309                                       Anaheim                   CA      92801              Litigation        X           Unknown
  Wickman, Jr., Allen                            618 Burns Road.                                                    Milford                   MI      48381              Litigation        X           Unknown
  Widdowson, Mary                                8871 Meadow brook Way                                              Buena Park                CA      90621              Litigation        X           Unknown
  Widney, Roy                                    4548 Pinto Street                                                  Riverside                 CA      92509              Litigation        X           Unknown
  Wiederer, George                               555 S Newport Street                                               Chandler                  AZ      85225              Litigation        X           Unknown
  Wiggins, Diana                                 5144 North 8th Street                                              Philadelphia              PA      19120              Litigation        X           Unknown
  Wiggins, Kenya                                 1410 Cumberland Drive                                              Pine Bluff                AR      71601              Litigation        X           Unknown



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  Wiggins, Nan                               806 Wallace Ave                                                  Pittsburgh               PA        15221                 Litigation        X           Unknown
  Wiggins, Timothy                           5650 Ogontz Avenue                                               Philadelphia             PA        19141                 Litigation        X           Unknown
  Wignall, Cleo                              659 N 200 E                                                      Spanish Fork             UT        84660                 Litigation        X           Unknown
  Wilbanks, Robin                            107 N. Walnut St.                                                Kennett                  MO        63857                 Litigation        X           Unknown
  Wilburn, Paralee                           3693 Tutwiler Ave                                                Memphis                  TN        38122                 Litigation        X           Unknown
  Wilcott, Pamela                            1747 N Folk                                                      Decatur                  IL        62526                 Litigation        X           Unknown
  Wilcox, Roger                              609 5th Key Drive                                                Fort Lauderdale          FL        33304                 Litigation        X           Unknown
  Wilcox, Tyron                              18 S. 38th St.                                                   Louisville               KY        40211                 Litigation        X           Unknown
  Wilder, Barry                              346 Pleasantdale Rd.                                             Rutland                  MA        01543                 Litigation        X           Unknown
  Wilder, Jerry                              1906 Pebble Brook Dr                                             O'Fallon                 MO        63366                 Litigation        X           Unknown
  Wiley, Beulah                              695 S. Norton Avenue, #103                                       Los Angeles              CA        90005                 Litigation        X           Unknown
  Wiley, Peggy                               PO Box 29807                                                     New Orleans              LA        70189                 Litigation        X           Unknown
  Wiley, Steven                              1502 9th Street SW                                               mason                    IA        50401                 Litigation        X           Unknown
  Wilhite, Winona                            1661 Glensboro Road                                              Lawrenceburg             KY        40342                 Litigation        X           Unknown
  Wilkerson, Anastasia Suzanne               3892 Ridge Road                                                  Riverside                CA        92501                 Litigation        X           Unknown
  Wilkerson, Dona                            8704 Pettysville Road                                            Pinckney                 MI        48169                 Litigation        X           Unknown
  Wilkerson, Nishea                          3021 W Page St.                                                  Philadelphia             PA        19121                 Litigation        X           Unknown
  Wilkerson, Willie                          11516 College Street                                             Detroit                  MI        48205                 Litigation        X           Unknown
  Wilkerson-Caver, Pamela Annette            3892 Ridge Road                                                  Riverside                CA        92501                 Litigation        X           Unknown
  Wilkes, Robert J.                          519 Willow Street                                                Pottstown                PA        19464                 Litigation        X           Unknown
  Wilkins, Joe C.                            1545 Mt. Hood                                                    Las Vegas                NV        89110                 Litigation        X           Unknown
  Wilkins, Scott Alan                        4291 Langston Pl.                                                Riverside                CA        92507                 Litigation        X           Unknown
  Wilkins, Travia                            13501 Hillrod Lane                                               Upper Marlboro           MD        20774                 Litigation        X           Unknown
  Wilkinson, Dena                            16 Pine Drive                                                    Savannah                 GA        31405                 Litigation        X           Unknown
  Wilkinson, Dianne                          6154 Mission Blvd.- Space 37                                     Riverside                CA        92509                 Litigation        X           Unknown
  Wilkinson, Robert                          669 Elaine Drive                                                 West Jefferson           OH        43162                 Litigation        X           Unknown
  Wilkinson, Tonda                           1024 Bayside Dr. #167                                            Newport Beach            CA        92660                 Litigation        X           Unknown
  Wilks, Alvin                               1327 San Andres                                                  Hobbs                    NM        88240                 Litigation        X           Unknown
  Wilks, James                               1439 Acorn Court                                                 Missouri City            TX        77489                 Litigation        X           Unknown
  Wilks, Jimmy                               4314 Leaflock Ln.                                                Houston                  TX        77450                 Litigation        X           Unknown
  Willard, Friederike                        2214 Versailles Ct                                               Henderson                NV        89074                 Litigation        X           Unknown
  Willard, Susan                             1378 Vanderbeck Ln                                               Woodburn                 OR        97071                 Litigation        X           Unknown
  Willard, Velia                             7832 Hillrose St                                                 Sunland                  CA        91040                 Litigation        X           Unknown
  Willems, John T.                           PO Box 298                                                       Yermo                    CA        92398                 Litigation        X           Unknown
  Williams Davis, Mia                        P.O. Box 23982                                                   Savanna                  GA        31403                 Litigation        X           Unknown
  Williams Jr., McKinley                     2818 Anzio Drive                                                 Dallas                   TX        75224                 Litigation        X           Unknown
  Williams, Alberta                          456 W. Techenor St                                               Compton                  CA        90220                 Litigation        X           Unknown
  Williams, Antonia                          3301 Creekwood Drive Apt D-25                                    Nashville                TN        37201                 Litigation        X           Unknown
  Williams, Bernadette                       7800 Windward Ct.                                                New Orleans              LA        70128                 Litigation        X           Unknown
  Williams, Billy                            4005 Western Heights Ave.                                        Oklahoma City            OK        73179                 Litigation        X           Unknown
  Williams, Carol                            3286 Caley Mill Ct                                               Powder Springs           GA        30127                 Litigation        X           Unknown
  Williams, Ceolia                           2831 Iris Valley Way                                             Houston                  TX        77038                 Litigation        X           Unknown
  Williams, Cheryl                           19185 Lenore Street, Apt. 308                                    Detroit                  MI        48219                 Litigation        X           Unknown
  Williams, Deanna                           146 Main St., Apt. 3                                             Tonawanda                NY        14150                 Litigation        X           Unknown
  Williams, Di Anne                          3204 Birdseye Cr.                                                Gulf Breeze              FL        32563                 Litigation        X           Unknown
  Williams, Donesha                          RTS - PO Box 150120                                              Tulsa                    OK        74115                 Litigation        X           Unknown
  Williams, Donna                            1310 Putnam St                                                   Hattiesburg              MS        39401                 Litigation        X           Unknown
  Williams, Dudley                           408 N Fielder Rd Apt 120                                         Arlington                TX      76012-3841              Litigation        X           Unknown
  Williams, Elnora                           14807 Eastwood Ave.                                              Lawndale                 CA        90260                 Litigation        X           Unknown
  Williams, Eric                             RTS - 2466 Calle Aquamarina                                      San Clemente             CA        92673                 Litigation        X           Unknown



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  Williams, Eric                             4529 Dakota Trail                                                    St. Charles               MO        63304                 Litigation        X           Unknown
  Williams, Eugene, Jr                       4614 Woodbury Dr.                                                    Colorado Springs          CO        80915                 Litigation        X           Unknown
  Williams, Felmer                           520 Perry Street                                                     Helena                    AR        72342                 Litigation        X           Unknown
  Williams, Gregory                          24802 Petaluma Lane                                                  Carson                    CA        90745                 Litigation        X           Unknown
  Williams, Jacquelene                       7370 Drew Cr. # 4                                                    Westland                  MI        48185                 Litigation        X           Unknown
  Williams, Jacqueline                       2425 N. 31st Street                                                  Philadelphia              PA        19132                 Litigation        X           Unknown
  Williams, James                            5372 Doris Way                                                       Torrance                  CA        90505                 Litigation        X           Unknown
  Williams, Janice                           7016 Antler Lane                                                     Harrison                  TN        37341                 Litigation        X           Unknown
  Williams, Jerry                            1838 Walnut St.                                                      Arkadelphia               AR      71923-6606              Litigation        X           Unknown
  Williams, Johnie                           9036 Combs Road                                                      North Bloomfield          OH        44450                 Litigation        X           Unknown
  Williams, Johnny                           515 North Hill Street                                                Greeneville               TN        37745                 Litigation        X           Unknown
  Williams, Katherine                        1116 Hwy 42                                                          Petal                     MS        39465                 Litigation        X           Unknown
  Williams, Keysha R.                        640 16th St. Apt. 1104                                               San Diego                 CA        92101                 Litigation        X           Unknown
  Williams, Kyle                             7425 Villanova Street                                                Dallas                    TX        75225                 Litigation        X           Unknown
  Williams, Linsten                          8836 Goldfields Dr.                                                  Charlotte                 NC        28227                 Litigation        X           Unknown
  Williams, Lorraine                         8501 I 101 Service Rd. Apt. 17- I                                    New Orlean                OK        70126                 Litigation        X           Unknown
  Williams, Mark                             423 E. Mendocino Street                                              Altadena                  CA        91001                 Litigation        X           Unknown
  Williams, Mary                             16045 Coghill Drive                                                  Northville                MI        48168                 Litigation        X           Unknown
  Williams, Mikell                           612 W. 30th Ave.                                                     Covington                 LA        70434                 Litigation        X           Unknown
  Williams, Nicole                           401 Elm Street, Apt. 9                                               Quincy                    IL        62301                 Litigation        X           Unknown
  Williams, Odessa                           3889 Birchmeadow Cove                                                Memphis                   TN        38115                 Litigation        X           Unknown
  Williams, Pamela                           1517 N Cobb Drive                                                    Hobbs                     NM        88240                 Litigation        X           Unknown
  Williams, Phyllis                          219 Foster Drive                                                     Oswego                    IL        60543                 Litigation        X           Unknown
  Williams, Robert                           4505 Kaniksu Court                                                   Missoula                  MT        59803                 Litigation        X           Unknown
  Williams, Robert                           10 Davidson Ave                                                      Savannah                  GA        31419                 Litigation        X           Unknown
  Williams, Roy                              206 South 22nd Ave.                                                  Paragould                 AR        72450                 Litigation        X           Unknown
  Williams, Roydell                          918 Marina Street                                                    Nashville                 TN        37206                 Litigation        X           Unknown
  Williams, Sandra                           24802 Petaluma Lane                                                  Carson                    CA        90745                 Litigation        X           Unknown
  Williams, Sandra                           3611 E 3920 North                                                    Kimberly                  ID        83341                 Litigation        X           Unknown
  Williams, Sharmel L.                       10276 Sycamore Canyon Road                                           Moreno Valley             CA        92557                 Litigation        X           Unknown
  Williams, Sheila                           12015 S. Figueroa, Apt. 110                                          Los Angeles               CA        90061                 Litigation        X           Unknown
  Williams, Stevenson                        8317 Sinkler Ct.                                                     N. Charleston             SC        29418                 Litigation        X           Unknown
  Williams, Suneel                           461 Mayfield Ln.                                                     Aurora                    IL        60504                 Litigation        X           Unknown
  Williams, Susan                            455 Maplecliff Drive                                                 Stone Mountain            GA        30088                 Litigation        X           Unknown
  Williams, Thomas                           429 Moore Place                                                      Dover                     DE        19901                 Litigation        X           Unknown
  Williams, Timothy                          RTS - 376 Skyline View Drive                                         Collinsville              IL        62234                 Litigation        X           Unknown
  Williams, Troy                             1609 Orchid St.                                                      Lake Charles              LA        70601                 Litigation        X           Unknown
  Williams, Walter                           1225 Eagle Place                                                     Cedar Hill                TX        75104                 Litigation        X           Unknown
  Williamson, Estell                         17573 S. Keene                                                       Carson                    CA        90746                 Litigation        X           Unknown
  Williamson, James A.                       17513 S. Keene                                                       Carson                    CA        90746                 Litigation        X           Unknown
  Williamson, Nellie                         2025 Hobbton Highway                                                 Clinton                   NC        28328                 Litigation        X           Unknown
  Willingham, Erma                           13901 Tommy Smith Rd.                                                Conroe                    TX        77306                 Litigation        X           Unknown
  Willingham, Tammy                          394 Bethlehem Church Road                                            Shelbyville               TN        37160                 Litigation        X           Unknown
  Willis, Amber                              3432 70th Glen East                                                  Palmetto                  FL        34221                 Litigation        X           Unknown
  Willis, Erica                              5007 Streator Drive                                                  Columbus                  GA        31907                 Litigation        X           Unknown
  Willis, Teresa                             3220 Merlot Drive                                                    Lakeland                  FL        33811                 Litigation        X           Unknown
  Willmond, Martha                           19942 E. 766 Rd.                                                     Tahlequah                 OK        74464                 Litigation        X           Unknown
  Willoughby, Neal                           PO BOX 1052                                                          San Mateo                 FL        32187                 Litigation        X           Unknown
  Wills, Roy J.                              502 East Moorehaven Dr.                                              Carson                    CA        90746                 Litigation        X           Unknown
  Wills, William                             514 Forrest Circle Drive                                             Douglas                   GA        31533                 Litigation        X           Unknown



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  Wilson Jr., Norman                         260 Highland Way                                                  Carson                   CA        90745                 Litigation        X           Unknown
  Wilson, Arwen                              2112 Easthaven Dr. Apt 223                                        Pasadena                 TX        77506                 Litigation        X           Unknown
  Wilson, Barbara J.                         4119 Muirfield Rd., #B                                            Los Angeles              CA        90008                 Litigation        X           Unknown
  Wilson, Bobbie                             260 Highland Way                                                  Carson                   CA        90745                 Litigation        X           Unknown
  Wilson, Cathy                              PO Box 155                                                        Briceville               TN        37710                 Litigation        X           Unknown
  Wilson, Cave and Jeanette                  172 Green St.                                                     East Aurora              NY        14052                 Litigation        X           Unknown
  Wilson, Clifford                           1136 Sierra Drive                                                 Pampa                    TX        79065                 Litigation        X           Unknown
  Wilson, Dan                                531 Chippewa Court                                                Kechi                    KS        67067                 Litigation        X           Unknown
  Wilson, Dave                               220 N. Cottonwood Drive                                           Gilbert                  AZ        85234                 Litigation        X           Unknown
  Wilson, Donald                             29 Bermuda Avenue                                                 Lake Havasu City         AZ        86403                 Litigation        X           Unknown
  Wilson, Douglass                           385 Knox McRae Dr.                                                Titusville               FL        32780                 Litigation        X           Unknown
  Wilson, Florence                           1005 Luther Street SE                                             Atlanta                  GA        30315                 Litigation        X           Unknown
  Wilson, Henry Lawrence                     1255 Salmon River Road                                            Riverside                CA        92501                 Litigation        X           Unknown
  Wilson, Jimmy                              4753 Sierra Drive                                                 Maiden                   NC        28650                 Litigation        X           Unknown
  Wilson, Karen                              507 South Mebane Street                                           Burlington               NC        27215                 Litigation        X           Unknown
  Wilson, Kendra                             817 N. Bentalou St.                                               Baltimore                MD        21216                 Litigation        X           Unknown
  Wilson, Kevin                              14 Puritan Lane                                                   Center Ossipee           NH        03814                 Litigation        X           Unknown
  Wilson, Mark                               5356 Tewkesbury Trace                                             Tallahassee              FL        32309                 Litigation        X           Unknown
  Wilson, Melvin                             108 McDonald Blvd.                                                Belleville               IL        62226                 Litigation        X           Unknown
  Wilson, Nancy                              1012 Aston Ave.                                                   Santa Rosa               CA        95404                 Litigation        X           Unknown
  Wilson, Prince                             221 East Coolidge Avenue Apt 1                                    Modesto                  CA        95350                 Litigation        X           Unknown
  Wilson, Ronald                             348 Wendling Blvd.                                                Gallatin                 TN      37066-6718              Litigation        X           Unknown
  Wilson, Ruby                               100 Jackson St                                                    Late City                SC        29560                 Litigation        X           Unknown
  Wilson, Ruth E.                            74257 Zircon Circle West                                          Palm Desert              CA      92260-2245              Litigation        X           Unknown
  Wilson, Sandra Joyce                       4476 Vermont Street                                               San Bernadino            CA        92407                 Litigation        X           Unknown
  Wilson-Dey, Deborah                        1301 Lake Land Ave Apt. I42                                       Bristol                  PA        19007                 Litigation        X           Unknown
  Wiltz, Debra                               1129 Steven Wiltz Rd.                                             St. Martinville          LA        70582                 Litigation        X           Unknown
  Wiltz, Terje                               5278 Bridge Street Highway                                        Saint Martinville        LA        70582                 Litigation        X           Unknown
  Wimmer, Frank                              94 Cross Wind Drive                                               Shrewsbury               PA        17361                 Litigation        X           Unknown
  Windhausen, Frank R.                       815 E. Kettering Street                                           Lancaster                CA        93535                 Litigation        X           Unknown
  Winfield, Francis                          14853 S. Broadway St.                                             Glenpool                 OK        74033                 Litigation        X           Unknown
  Winfield, Shiela                           420 Vailview Dr.                                                  Nashville                TN        37207                 Litigation        X           Unknown
  Wingate, George                            3016 Manatee Road                                                 Tavares                  FL        32778                 Litigation        X           Unknown
  Wingert, Kathleen                          1836 Avenida Feliciano                                            Rancho Palos Verdes      CA        90275                 Litigation        X           Unknown
  Wingert, Kathleen H.                       1836 Avenida Feliciano                                            Rancho Palos Verdes      CA        90275                 Litigation        X           Unknown
  Wingert, Roger                             454 E 248th Street                                                Carson                   CA        90745                 Litigation        X           Unknown
  Wingert, Thomas                            454 E 248th Street                                                Carson                   CA        90745                 Litigation        X           Unknown
  Wingo, Stephen                             2312 Bledsoe Lane Apt 210                                         Las Vegas                NV        89156                 Litigation        X           Unknown
  Wingrove, Lydia                            15138 Orizaba Ave.                                                Paramount                CA        90723                 Litigation        X           Unknown
  Winhoven, Susan                            3860 NE 60th Ct.                                                  Silver Springs           FL        34488                 Litigation        X           Unknown
  Winstead, Robert                           2020 Ashby Rd., #77                                               Merced                   CA        95348                 Litigation        X           Unknown
  Winston, Brenda                            3211 Oswego Drive                                                 Chattanooga              TN        37406                 Litigation        X           Unknown
  Winter, James                              PO Box 73                                                         Wendell                  MN        56590                 Litigation        X           Unknown
  Winters, Euwell                            4036 Laurie Jo Drive SW                                           Marrietta                GA        30008                 Litigation        X           Unknown
  Winters, George Shannon                    29170 Heathercliff Rd, #1                                         Malibu                   CA        92605                 Litigation        X           Unknown
  Winters, Richard                           21 Acacia Street                                                  Clearwater Beach         FL        33767                 Litigation        X           Unknown
  Wirth, John                                6974 West Rose Lane                                               Glendale                 AZ        85303                 Litigation        X           Unknown
  Wischmann, Barbara                         309 N 23rd St                                                     Ashland                  NE        68003                 Litigation        X           Unknown
  Wise, Nancy                                204 Liberty Square Dr. Apt. 8                                     Troy                     IL        62294                 Litigation        X           Unknown
  Wissink, Ronald                            PO BOX 335                                                        Walsenburg               CO        81089                 Litigation        X           Unknown



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  Withers, Nora                              7423 Nyland                                                      Fredericksburg          VA        22408                 Litigation        X           Unknown
  Witherspoon, Victor Lemon                  18140 10th Street                                                Bloomington             CA        92316                 Litigation        X           Unknown
  Witkowski, Jen                             712 Fletcher St.                                                 Tonawanda               NY        14150                 Litigation        X           Unknown
  Witsell, Erica                             16 Smoke Tree Road                                               Candler                 NC        28715                 Litigation        X           Unknown
  Witte, Wilbert                             1337 Neans Drive                                                 Austin                  TX        78758                 Litigation        X           Unknown
  Wittels, David                             6 Fairway Oval                                                   Spring Valley           NY        10977                 Litigation        X           Unknown
  Woehr, Robert                              7173 Orange Drive, Apt. 105-B                                    Davie                   FL        33314                 Litigation        X           Unknown
  Wofford, Terrisia                          1402 Stephenson St.                                              Fortworth               TX        76102                 Litigation        X           Unknown
  Wohlers, Thelma                            613 Wohlers Lane                                                 Franklin                IL        62638                 Litigation        X           Unknown
  Wolcott, Paul and Donna                    144 Moore Ave.                                                   Kenmore                 NY        14223                 Litigation        X           Unknown
  Woldanski, Gregory L.                      28638 Lupine St.                                                 Castaic                 CA        91384                 Litigation        X           Unknown
  Wolfe, Michael                             104 Stinson Road                                                 Dermott                 AR        71638                 Litigation        X           Unknown
  Womack, Bonnie                             1709 Whisperwood Street                                          Albany                  GA        31721                 Litigation        X           Unknown
  Womack, Janice                             5786 59th Ct SE                                                  Salem                   OR        97317                 Litigation        X           Unknown
  Womack, Joyce                              P.O. Box 186                                                     McAndrews               KY        41543                 Litigation        X           Unknown
  Womble, Nancy                              214 Chinquapi Ln                                                 Mt. Ulla                NC        28125                 Litigation        X           Unknown
  Wond, Herman                               6643 106th Street                                                Ewa Beach               HI        96706                 Litigation        X           Unknown
  Wong, William                              15200 Bent Creek Road                                            Amelia Ct Hse           VA        23002                 Litigation        X           Unknown
  Woo, Judy                                  1621 Tasker                                                      Hobbs                   NM        88240                 Litigation        X           Unknown
  Wood, Billie                               152 Hazelwood Drive                                              Forest City             NC        28043                 Litigation        X           Unknown
  Wood, Cecilia                              34 Commodore Ave.                                                Tonawanda               NY        14150                 Litigation        X           Unknown
  Wood, Debra                                1019 Madison Ave                                                 Cheyenne                WY        82001                 Litigation        X           Unknown
  Wood, Gail                                 9225 82nd Avenue N Villa #422                                    Seminole                FL        33777                 Litigation        X           Unknown
  Wood, Larry                                324 West Coal                                                    Hobbs                   NM        88240                 Litigation        X           Unknown
  Wood, Lenora                               505 North Main Street                                            Rockford                IL        61103                 Litigation        X           Unknown
  Wood, Mary                                 2625 Ozark Dr.                                                   Lebanon                 MO        65536                 Litigation        X           Unknown
  Wood, William G,                           916 E. Green Acres                                               Hobbs                   NM        88240                 Litigation        X           Unknown
  Woodard, Ricky                             8511 Engleman Lane                                               Spotsylvania            VA        22551                 Litigation        X           Unknown
  Woodberry, Arthur Ray                      5741 Kenwood Place                                               Riverside               CA        92509                 Litigation        X           Unknown
  Woodberry, Carol Yvonne                    5741 Kenwood Place                                               Riverside               CA        92509                 Litigation        X           Unknown
  Woodcock, Helen                            229 Chicago Ave.                                                 Valparaiso              FL        32580                 Litigation        X           Unknown
  Woodcock, Kevin                            1201 Rosedale Street                                             Alma                    MI      48801-2826              Litigation        X           Unknown
  Woodman, James                             1221 T Street                                                    Eureka                  CA        95501                 Litigation        X           Unknown
  Woods Richard, Evelyn                      249 Tunis Road                                                   Oakland                 CA        94603                 Litigation        X           Unknown
  Woods, Fred                                176 South Kidder Lane                                            Winchester              IN        47394                 Litigation        X           Unknown
  Woods, Larry                               8930 County Road 76                                              Rogersville             AL        35652                 Litigation        X           Unknown
  Woods, Orvie                               PO Box 467                                                       Orangevale              CA        95662                 Litigation        X           Unknown
  Woods, Parnell                             828 W. 73rd Street                                               Los Angeles             CA        90044                 Litigation        X           Unknown
  Woods, Rowland F.                          38301 11th St. East, Apt. 1                                      Palmdale                CA        93550                 Litigation        X           Unknown
  Woods, Tony                                3114 Moorewood Drive                                             Nashville               TN        37207                 Litigation        X           Unknown
  Woodward, Stephen                          137 Washboard Rd.                                                Aiken                   SC        29801                 Litigation        X           Unknown
  Wooldridge, Louis                          24726 Carmel Drive                                               Carson                  CA        90745                 Litigation        X           Unknown
  Wootan, Delia                              108 Back 9 Terrace                                               Rio Rico                AZ        85648                 Litigation        X           Unknown
  Worden, Lois                               251 W. Warlow Dr., Apt B7                                        Gillette                WY        82716                 Litigation        X           Unknown
  Workiewycz, Albina "Elizabeth"             801 S. Calle Escondido                                           Tucson                  AZ        85748                 Litigation        X           Unknown
  Workman, Jackie                            4446 Midway Rd.                                                  Yawkey                  WV        25573                 Litigation        X           Unknown
  Worles, Lonell                             23227 Mapleridge Drive                                           Southfield              MI        48075                 Litigation        X           Unknown
  Worsham, Jack                              1808 Worshom Place                                               Greensboro              NC        27408                 Litigation        X           Unknown
  Worthington, Jr., Edward                   310 Calzada de Bougainvillea                                     Marathon                FL        33050                 Litigation        X           Unknown
  Worthy, Lishastas                          P.O. Box 492                                                     Cordele                 GA        31010                 Litigation        X           Unknown



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  Wren, Michelle                             707 Live Oak Street                                                  Gatesville              TX        76528                   Litigation        X           Unknown
  Wright, Angela                             150 E. Delaware Ave.- Apt. #F                                        Redlands                CA        92374                   Litigation        X           Unknown
  Wright, Jacqueline                         305 Canady Street                                                    Fayetteville            NC        28306                   Litigation        X           Unknown
  Wright, James                              606 W. Park Ave., Apt. H2                                            Savannah                MO        64485                   Litigation        X           Unknown
  Wright, Johnnie                            2057 E. 41st St.                                                     Savannah                GA        31404                   Litigation        X           Unknown
  Wright, Joyce                              2435 Saguaro Ln.                                                     Kannapolis              NC        28083                   Litigation        X           Unknown
  Wright, Retha M.                           3057 Marbella Lane                                                   Palmdale                CA        93550                   Litigation        X           Unknown
  Wright, S., Jr.                            37934 E. 17th St.                                                    Palmdale                CA        93550                   Litigation        X           Unknown
  Wright, Sam                                P O Box 18                                                           De Kalb                 TX        75559                   Litigation        X           Unknown
  Wright, Stephanie                          3003 Hunters Way                                                     Memphis                 TN        38115                   Litigation        X           Unknown
  Wright, Stephen                            115 Meadow Ln.                                                       Greensburg              KY        42743                   Litigation        X           Unknown
  Wright, Valerie                            159 West Hoke Road                                                   Raeford                 NC        28376                   Litigation        X           Unknown
  Wright, William                            PO Box 325                                                           Ganado                  TX        77962                   Litigation        X           Unknown
  Wright, Willis                             201 Hollywood St.                                                    Valdosta                GA      31601-5040                Litigation        X           Unknown
  Wright-Mays, Judy                          601 Hwy 61 South                                                     Wapello                 IA        52653                   Litigation        X           Unknown
  Wrobleski, Beverly                         8201 45th Ave. N. #509                                               New Hope                MN        55428                   Litigation        X           Unknown
  Wu, Guong Rong                             11-1 Tianfu Rd #605                                                  Guan                                         China        Litigation        X           Unknown
  Wu, Han Jie                                754-6 Dong Feng Dong Road, #1202                                     Guangzhou                                    China        Litigation        X           Unknown
  Wudrick, Kenneth                           9782 Eastwood Circle                                                 Villa Park              CA       92861                    Litigation        X           Unknown
  Wullbrandt, Edwin                          26 Fairfax Village                                                   Harrisburg              PA       17112                    Litigation        X           Unknown
  Wuornos, Ronald                            PO Box 1226                                                          Coats                   NC        27521                   Litigation        X           Unknown
  Wyatt, Andrea                              102 Utopia Dr.                                                       Port Gibson             MS       39150                    Litigation        X           Unknown
  Wyatt, Carolyn                             2426 W. Illinois Street                                              Evansville              IN        47712                   Litigation        X           Unknown
  Wyatt, Cora                                P.O. Box 33                                                          Benton                  MS       39039                    Litigation        X           Unknown
  Wyatt, Juanita                             1270 Corbova, #6                                                     Pasadena                CA        91106                   Litigation        X           Unknown
  Wyatt, Phillip                             1921 3rd Ave, Apt. 402                                               Seattle                 WA       98101                    Litigation        X           Unknown
  Wyatt, Phillip                             RTS - 87 N. Gould Road                                               Columbus                OH        43209                   Litigation        X           Unknown
  Wycinsky, Craig                            24881 S. Seas Blvd.                                                  Bonita Springs          FL        34134                   Litigation        X           Unknown
  Wyer, George                               75 South Main Street                                                 Roseville               OH       43777                    Litigation        X           Unknown
  Wyer, Priscilla                            PO Box 15                                                            Glasgow                 WV        25086                   Litigation        X           Unknown
  Wynant, Mark                               3370 Dean Lake NE                                                    Gran Rapids             MI        49525                   Litigation        X           Unknown
  Wynn, Annie Jemison                        3901 Briggs St.- Apt. 119                                            Jurupa Valley           CA        92509                   Litigation        X           Unknown
  Wyse, Catherine                            P.O. Box 96                                                          Wedron                  IL       60557                    Litigation        X           Unknown
  Wyse, Ken                                  3514 East 2075 Road                                                  Wedron                  IL       60557                    Litigation        X           Unknown
  Wyse, Norman                               3066 E. 1929th Road                                                  Ottawa                  IL        61350                   Litigation        X           Unknown
  Xia, Jie                                   LiYingju #C1302 Da Dao South                                         Guangzhou                        510300      China        Litigation        X           Unknown
  Xie, Hong Hua                              54 Hailian Rd #767                                                   Guangzhou                                    China        Litigation        X           Unknown
  Xu, Xian Zhen                              399 Lingjiang Da Dao #9590                                           Guangzhou                                    China        Litigation        X           Unknown
  Yacullo, Audrey                            10805 S Twenty Mile Road Unit 106                                    Parker                  CO        80134                   Litigation        X           Unknown
  Yandel, Johnnie                            130 E. Spruce Street                                                 Washington              PA        15301                   Litigation        X           Unknown
  Yanez, Armando                             18841 3rd Street                                                     Bloomington             CA        92316                   Litigation        X           Unknown
  Yanez, Regina                              928 Justeford Lane                                                   Pflugerville            TX        78660                   Litigation        X           Unknown
  Yankowski, Judy                            2402 Poplar St.                                                      Hanover                 PA        17331                   Litigation        X           Unknown
  Yanzanes, Emilia                           1010 Rosemary Blvd. Apt. 406                                         Akron                   OH        44306                   Litigation        X           Unknown
  Yap, Richard                               24738 Carmel Drive                                                   Carson                  CA        90745                   Litigation        X           Unknown
  Yardley, Edward                            RTS - 926 E. 8th Avenue, #18                                         Spokane                 WA        99202                   Litigation        X           Unknown
  Ybarra- III, Jesse                         15078 Joshua Tree Court                                              Fontana                 CA        92335                   Litigation        X           Unknown
  Ybarra Jr., Jesse                          649 S. K Street                                                      San Bernardino          CA        92410                   Litigation        X           Unknown
  Ybarra, Brenda Ruth                        649 S. K Street                                                      San Bernardino          CA        92410                   Litigation        X           Unknown
  Ybarra, Claudio                            460 E 247th Street                                                   Carson                  CA        90745                   Litigation        X           Unknown



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  Ybarra, Patsy                              460 E 247th Street                                                 Carson                   CA       90745                   Litigation        X           Unknown
  Ybarra, Phillip Steven                     329 North Clifford Ave.- Apt. 2                                    Rialto                   CA       92376                   Litigation        X           Unknown
  Ybarra, Tanya LeeAnn                       4375 Ridgewood Drive                                               Riverside                CA       92509                   Litigation        X           Unknown
  Ybarra, Timothy Matthew                    4375 Ridgewood Drive                                               Riverside                CA       92509                   Litigation        X           Unknown
  Ybarra-Tialavea, Jessica                   1606 Eudora Avenue                                                 Wilmington               CA     90744-1218                Litigation        X           Unknown
  Ye, Jai Wei                                161-4 Tianfu Rd #2002                                              Guangzhou                                    China        Litigation        X           Unknown
  YE, Sheng Feng                             10 Miaoqian Zhi Jie #903                                           Guangshou                        510080      China        Litigation        X           Unknown
  Ye, Wen Sun                                161-4 Tianfu Rd #2002                                              Guangzhou                                    China        Litigation        X           Unknown
  Yearby, Linda                              25351 N. Gold Ridge Dr.                                            Castro Valley            CA       94552                   Litigation        X           Unknown
  Yeates, Kathleen                           297 Newfield St.                                                   Buffalo                  NY       14207                   Litigation        X           Unknown
  Yi, Alden                                  536 Calle Mayor                                                    Redondo Beach            CA       90277                   Litigation        X           Unknown
  Yi, Edwin                                  536 Calle Mayor                                                    Redondo Beach            CA       90277                   Litigation        X           Unknown
  Yi, Kyung                                  536 Calle Mayor                                                    Redondo Beach            CA       90277                   Litigation        X           Unknown
  Yi, Sang                                   536 Calle Mayor                                                    Redondo Beach            CA       90277                   Litigation        X           Unknown
  Yi, Wan                                    8000 Pineville Circle                                              Castro Valley            CA       94552                   Litigation        X           Unknown
  Yniguez, Gilbert                           4025 W. 184th St.                                                  Torrance                 CA       90504                   Litigation        X           Unknown
  Yniguez, Raymond                           2000 San Gabriel Ave.- Apt #302                                    Long Beach               CA       90810                   Litigation        X           Unknown
  Yochum, Theodore                           79 Peter Street                                                    Buffalo                  NY       14207                   Litigation        X           Unknown
  Yoder, Barbara                             22 Robert R. Kasin Way                                             Beacon                   NY       12508                   Litigation        X           Unknown
  Yohannes, Carolyn                          510 Main Street Apt 1034                                           New York                 NY       10044                   Litigation        X           Unknown
  York, Conner                               7219 Exeter St. # 8                                                Paramount                CA       90723                   Litigation        X           Unknown
  York, Hunter                               7219 Exeter St. # 8                                                Paramount                CA       90723                   Litigation        X           Unknown
  York, Yolanda                              4717 County Avenue Apt. #1114                                      Texarkana                AK       71854                   Litigation        X           Unknown
  Yound, Sandra                              1695 Dakin Ave                                                     Simi Valley              CA       93065                   Litigation        X           Unknown
  Young                                      1712 N Niagra St                                                   Burbank                  CA       91505                   Litigation        X           Unknown
  Young Jr, David                            191 West 2nd Street- Apt. 601                                      San Bernardino           CA       92408                   Litigation        X           Unknown
  Young, Bruce                               8 Steeplechase Drive                                               Doylestown               PA       18901                   Litigation        X           Unknown
  Young, David C.                            1709 Roosevelt- #4                                                 Los Angeles              CA       90006                   Litigation        X           Unknown
  Young, Deborah                             10505 Cloverdale Avenue                                            Ferndale                 MI       48220                   Litigation        X           Unknown
  Young, Derry                               8146 Misty Lane                                                    Murfreesboro             TN       37129                   Litigation        X           Unknown
  Young, Elizabeth                           PSC 78 # 3093                                                      APO AP                          96326-0030                Litigation        X           Unknown
  Young, Gary                                3937 School Section #6 Condo                                       Cincinnati              OH        45211                   Litigation        X           Unknown
  Young, James                               303 Avenue D                                                       Converse                TX        78109                   Litigation        X           Unknown
  Young, James                               2375 Brickyard Road                                                Beaumont                TX        77703                   Litigation        X           Unknown
  Young, Kacie                               PO Box 1155                                                        Paramount               CA        90723                   Litigation        X           Unknown
  Young, Nicole                              191 West 2nd Street- Apt. 601                                      San Bernardino          CA        92408                   Litigation        X           Unknown
  Young, Norma Jean                          191 West 2nd St. #601                                              San Bernardino          CA        92408                   Litigation        X           Unknown
  Young, Raymond                             PO Box 1155                                                        Paramount               CA        90723                   Litigation        X           Unknown
  Young, Rayniesha                           PO Box 1155                                                        Paramount               CA        90723                   Litigation        X           Unknown
  Young, Robert                              1920 Roan Rd                                                       Henderson               NV        89002                   Litigation        X           Unknown
  Young, Stacey                              173 Bowen Mill Hwy., Apt. 101                                      Fitzgerald              GA        31750                   Litigation        X           Unknown
  Young, Tameka Shannel                      1196 Bridgeport Road                                               Pinola                  MS        39149                   Litigation        X           Unknown
  Young, William                             220 E Water Street                                                 Flemingsburg            KY        41041                   Litigation        X           Unknown
  Young, William                             148 Bill Rd.                                                       Piney Flats             TN        37686                   Litigation        X           Unknown
  Youse, Edward                              1801 Surrey Rd                                                     Oreland                 PA        19075                   Litigation        X           Unknown
  Yracheta, Anita                            445 E 249th Street                                                 Carson                  CA        90745                   Litigation        X           Unknown
  Yracheta, Daniel                           445 E 249th Street                                                 Carson                  CA        90745                   Litigation        X           Unknown
  Yracheta, Danielle                         445 E 249th Street                                                 Carson                  CA        90745                   Litigation        X           Unknown
  Yracheta, Matthew                          445 E 249th Street                                                 Carson                  CA        90745                   Litigation        X           Unknown
  Yrigoyen, Robert                           830 10th St                                                        Hermosa Beach           CA        90254                   Litigation        X           Unknown



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  Yuri, Hendrix                                       3418 Sunnyside Drive                                              Riverside                 CA        92506                 Litigation        X           Unknown
  Zacarias III, Pedro                                 24741 Marbella Avenue                                             Carson                    CA        90745                 Litigation        X           Unknown
  Zachowicz and family, Charles and Doreen            294 Wadsworth Ave.                                                Tonawanda                 NY        14150                 Litigation        X           Unknown
  Zaman, Faisal                                       39-11 62nd Street Apt 3                                           Woodside                  NY        11377                 Litigation        X           Unknown
  Zambetti, Thomas                                    4488 Alderport Drive                                              Huntington Beach          CA        92649                 Litigation        X           Unknown
  Zamora Jr., Ernest                                  4388 Mapleton Circle                                              Jurupa Valley             CA        92509                 Litigation        X           Unknown
  Zamora Jr., Jonathan Adrian                         30452 Warmlodge Ct.                                               Menifee                   CA        92584                 Litigation        X           Unknown
  Zamora, Benjamin                                    1219 W. R Street                                                  Wilmington                CA        90744                 Litigation        X           Unknown
  Zamora, Blanca                                      1219 W. R Street                                                  Wilmington                CA        90744                 Litigation        X           Unknown
  Zamora, Bonnie A.                                   P.O. Box 338                                                      Weldon                    CA        93283                 Litigation        X           Unknown
  Zamora, Cheryl                                      3126 Wallace Street                                               Riverside                 CA        92509                 Litigation        X           Unknown
  Zamora, Ernest                                      26604 Ward St #3                                                  Highland                  CA        92346                 Litigation        X           Unknown
  Zamora, Jacqueline                                  30452 Warmlodge Ct                                                Menifee                   CA        92584                 Litigation        X           Unknown
  Zamora, Leopoldo                                    1219 W. R Street                                                  Wilmington                CA        90744                 Litigation        X           Unknown
  Zamora, Lydia                                       24602 Marbella Avenue                                             Carson                    CA        90745                 Litigation        X           Unknown
  Zamora, Mona                                        24602 Marbella Avenue                                             Carson                    CA        90745                 Litigation        X           Unknown
  Zamora, Raul                                        367 West 1825 North                                               North Ogden               UT        84414                 Litigation        X           Unknown
  Zamora, Ruben                                       9265 63rd Street                                                  Riverside                 CA        92509                 Litigation        X           Unknown
  Zamora, Salvador A.                                 24602 Marbella Avenue                                             Carson                    CA        90745                 Litigation        X           Unknown
  Zamora, Salvador H.                                 24602 Marbella Avenue                                             Carson                    CA        90745                 Litigation        X           Unknown
  Zamora, Samuel                                      1219 W. R Street                                                  Wilmington                CA        90744                 Litigation        X           Unknown
  Zamora, Vironica Irene                              30452 Warm Lodge Court                                            Menifee                   CA        92584                 Litigation        X           Unknown
  Zangara, Jerome                                     8501 Snakedance Ct NE                                             Albuquerque               NM        87111                 Litigation        X           Unknown
  Zapor, Brian                                        40 Oak Terrace                                                    Mapleville                RI        02839                 Litigation        X           Unknown
  Zaragoza, Juan Oliveras                             6364 Tournament Drive                                             Riverside                 CA        92509                 Litigation        X           Unknown
  Zaragoza, Tina                                      700 Memorial Way Apt 6                                            Hayward                   CA        94541                 Litigation        X           Unknown
  Zatarain-Madrid, Joseph                             24726 Marbella Ave.                                               Carson                    CA        90745                 Litigation        X           Unknown
  Zatyko, Judith A.                                   78 Dunlop                                                         Tonawanda                 NY        14150                 Litigation        X           Unknown
  Zatyko, Mary J.                                     78 Dunlop                                                         Tonawanda                 NY        14150                 Litigation        X           Unknown
  Zaveckas, Mary                                      50 N Lecato Avenue                                                Audubon                   NJ        08106                 Litigation        X           Unknown
  Zayas, Andres De Armas                              2384 Paulding Avenue- Apt. #6B                                    Bronx                     NY        10469                 Litigation        X           Unknown
  Zech, Karl                                          17 Twisted Oak Trail                                              Shalamar                  FL        32579                 Litigation        X           Unknown
  Zeff, Rick                                          27465 Bay View Dr                                                 Malibu                    CA        90265                 Litigation        X           Unknown
  Zeisz, Barbara                                      284 Main St., Apt. 134                                            Tonawanda                 NY        14150                 Litigation        X           Unknown
  Zelenak Sr, August                                  6560 Nova Rd.                                                     Saint Cloud               FL        34771                 Litigation        X           Unknown
  Zendejas, Michael                                   5820 Marmion Way # 226                                            Los Angeles               CA        90042                 Litigation        X           Unknown
  Zendejas, Zackary                                   1119 N. Vail Ave.                                                 Montebello                CA        90640                 Litigation        X           Unknown
  Zerance, John                                       408 South Enola Drive                                             Enola                     PA        17025                 Litigation        X           Unknown
  Zhang, Wan Hua                                      17 Qiangui Da Jie #901                                            Guangzhou                                    China        Litigation        X           Unknown
  Zhang, Ze Peng                                      LiYingju #C1302 Da Dao South                                      Guangzhou                           510300   China        Litigation        X           Unknown
  Zhao, Daina by Zuo Ling Li                          5646 Sultana                                                      Temple City               CA         91780                Litigation        X           Unknown
  Zhao, Qi                                            905 Winchester Blvd, #26                                          San jose                  CA         95128                Litigation        X           Unknown
  Ziberoff, Randy                                     16291 Santa Anita Lane                                            Huntington Beach          CA         92649                Litigation        X           Unknown
  Ziegler, Richard                                    329 Washington St                                                 Spring City               PA         19475                Litigation        X           Unknown
  Zimmerman, John                                     1800 River Road                                                   Pittston                  PA         18640                Litigation        X           Unknown
  Zink, Anna                                          111 E. 5th Street                                                 Walsenburg                CO      81089-2009              Litigation        X           Unknown
  Zinstein, Hobart                                    7161 Silver Lake Blvd. Apt 303                                    Alexandria                VA         22315                Litigation        X           Unknown
  Zintzun, Victor Adrian                              3873 Stoddard Avenue                                              Riverside                 CA         92501                Litigation        X           Unknown
  Ziulkowski, John                                    2725 Hamstrom Rd                                                  Portage                   IN         46368                Litigation        X           Unknown
  Zolkowski, Sarah                                    12470 N 57th Avenue                                               Glendale                  AZ         85304                Litigation        X           Unknown



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  Zollman, Lynda                             8347 First Avenue                                                 Babbit                 MN        55706                 Litigation        X           Unknown
  Zufelt, Roland                             345 Ryndon, Unit 3                                                Elko                   NV        89801                 Litigation        X           Unknown
  Zulli, Sylvia                              5 Fleet Ct.                                                       NorthPort              NY      11768-1526              Litigation        X           Unknown
  Zumaya, Braulio                            28638 Maltby Avenue                                               Moreno Valley          CA        92555                 Litigation        X           Unknown
  Zumaya, Diana Lee                          28638 Maltby Avenue                                               Moreno Valley          CA        92555                 Litigation        X           Unknown
  Zweifel, Shirley                           3633 Ice Age Drive                                                Madison                WI        53719                 Litigation        X           Unknown




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 A. A.                      Valentin Mangasarian                                           1640 Scott Road                                                                       Burbank                    CA       91504                  Litigation          X           Unknown
 A. B.                      Ida Bowman                                                     RTS - 1716 Julie St.                                                                  Marrero                    LA       70072                  Litigation          X           Unknown
 A. G.                      Racheal Davis                                                  45871 Pine Hollow Road                                                                Rogers                     OH       44455                  Litigation          X           Unknown
 A. M.                      c/o Patti Federman                                             1508 E. Mahoney Ave.                                                                  Mesa                       AZ       85204                  Litigation          X           Unknown
 A. M.                      Socorro Flores                                                 800 South Redlands Avenue                                                             Perris                     CA       92570                  Litigation          X           Unknown
 A. R.                      Margaret Collaso                                               807 Dallas Street                                                                     Wichita Falls              TX       76301                  Litigation          X           Unknown
 A. S.                      Brenda Scurlock                                                289 Clarington Ct.                                                                    Lumber Bridge              NC       28357                  Litigation          X           Unknown
 A. T.                      Derek Alan Townsend                                            8410 Redheart St.                                                                     Arlington                  TX       76002                  Litigation          X           Unknown
 A. W.                      Keith Wilson                                                   15 Old Greenwood Lane                                                                 Fort Smith                 AR       72903                  Litigation          X           Unknown
 A.A.                       Esther Luviano, as parent and guardian                         7017 Barcelona Ave.                                                                   Riverside                  CA       92509                  Litigation          X           Unknown
 A.A.                       C/O Janice Allen                                               3708 Parkview St.                                                                     Vicksburg                  MS       39180                  Litigation          X           Unknown
 A.B.                       AMY JENEEN CLARK, AS PARENT AND GUARDIAN AD LITEM              2868 Locust Street                                                                    Riverside                  CA       92501                  Litigation          X           Unknown
 A.B.                       BEATRIZ BANUELOS, AS PARENT AND GUARDIAN AD LITEM              19322 El Rivino Road Apartment 10                                                     Riverside                  CA       92509                  Litigation          X           Unknown
 A.B.                       Bobbie Butts-Dunn                                              73 Deerborn Drive                                                                     Aliso Viejo                CA       92656                  Litigation          X           Unknown
 A.B.                       DIAMANTINA BELMONTE, AS PARENT AND GUARDIAN AD LITEM           P.O. Box 310626                                                                       Fontana                    CA       92331                  Litigation          X           Unknown
 A.B.                       MIRNA GAXIOLA, AS PARENT AND GUARDIAN AD LITEM                 5790 Newton Street                                                                    Riverside                  CA       92509                  Litigation          X           Unknown
 A.B.                       Sylvia Ballardo                                                15000 Multiview Drive                                                                 Lake Mathews               CA       92570                  Litigation          X           Unknown
 A.C.                       ALICIA CASAS, AS PARENT AND GUARDIAN AD LITEM                  18475 Gregory Street                                                                  Bloomington                CA       92316                  Litigation          X           Unknown
 A.C.                       Alicia Casas, as parent and guardian                           18475 Gregory Street                                                                  Bloomington                CA       92316                  Litigation          X           Unknown
 A.C.                       ARTURO CASAS                                                   18475 Gergory Street                                                                  Bloomington                CA       92316                  Litigation          X           Unknown
 A.C.                       DARLENE CUMMINGS, AS PARENT AND GUARDIAN AD LITEM              19322 El Rivino Road Apartment 10                                                     Riverside                  CA       92509                  Litigation          X           Unknown
 A.C.                       EVELIA CONSTANTINO, AS PARENT AND GUARDIAN AD LITEM            324 West Nevada Street                                                                Ontario                    CA       91762                  Litigation          X           Unknown
 A.C.                       GABRIELA CHAPA, AS PARENT AND GUARDIAN AD LITEM                24708 Fay Avenue                                                                      Moreno Valley              CA       92551                  Litigation          X           Unknown
 A.C.                       GABRIELA CHAPA, AS PARENT AND GUARDIAN AD LITEM                24708 Fay Avenue                                                                      Moreno Valley              CA       92551                  Litigation          X           Unknown
 A.C.                       Heather Armendarez                                             2851 South La Cadena Drive Space 209                                                  Colton                     CA       92324                  Litigation          X           Unknown
 A.C.                       Iris Violeta Carlos                                            27655 Summerfield Lane                                                                San Juan Capistrano        CA       92675                  Litigation          X           Unknown
 A.C.                       Leola Gipson                                                   487 W. Chase Ave                                                                      El Cajon                   CA       92020                  Litigation          X           Unknown
 A.C.                       Maria Leonor Dominguez                                         4294 Stanley Court                                                                    Riverside                  CA       92501                  Litigation          X           Unknown
 A.C.                       TAMMY MEININGER, AS PARENT AND GUARDIAN AD LITEM               540 Kirk Street                                                                       Colton                     CA       92324                  Litigation          X           Unknown
 A.C.                       Yvonne Caballero                                               2896 Avalon Street                                                                    Riverside                  CA       92509                  Litigation          X           Unknown
 A.C.                       Yvonne Caballero                                               2896 Avalon Street                                                                    Riverside                  CA       92509                  Litigation          X           Unknown
 A.D.                       Edward De Leon                                                 1074 Ardmore Street                                                                   Riverside                  CA       92507                  Litigation          X           Unknown
 A.D.                       RONALD J. BUTLER , AS PARENT AND GUARDIAN AD LITEM             875 West 2nd Street                                                                   Rialto                     CA       92376                  Litigation          X           Unknown
 A.D.                       Roseana Duron                                                  1251 Massachusetts Ave.- Apt. 5                                                       Riverside                  CA       92507                  Litigation          X           Unknown
 A.D.                       Tammie Potter                                                  4855 W. Colfax Ave. (Not a permanent address)                                         Denver                     CO       80204                  Litigation          X           Unknown
 A.E.                       Lucille Escobedo                                               7060 Skyview Road                                                                     Riverside                  CA       92509                  Litigation          X           Unknown
 A.F.                       Christina Sanchez                                              6251 Jared Circle                                                                     Riverside                  CA       92509                  Litigation          X           Unknown
 A.F.                       MARIA FONSECA, AS PARENT AND GUARDIAN AD LITEM                 2669 Hall Avenue                                                                      Riverside                  CA       92509                  Litigation          X           Unknown
 A.F.                       Maria Fonseca, as parent and guardian                          2669 Hall Avenue                                                                      Riverside                  CA       92509                  Litigation          X           Unknown
 A.F.                       Suzanne Fletcher                                               6519 Lassitter Road                                                                   Riverside                  CA       92509                  Litigation          X           Unknown
 A.F.                       Valerie Franco                                                 3263 Cannes Avenue                                                                    Riverside                  CA       92501                  Litigation          X           Unknown
 A.G.                       AMANDA WRIGHT, AS PARENT AND GUARDIAN AD LITEM                 19322 El Rivino Road Apartment 10                                                     Riverside                  CA       92509                  Litigation          X           Unknown
 A.G.                       ANTHONY EMILIO GOMEZ                                           16560 Lemon Street                                                                    Hesperia                   CA       92345                  Litigation          X           Unknown
 A.G.                       Catherine Garibaldi                                            2136 Vicente Street                                                                   San Francisco              CA       94116                  Litigation          X           Unknown
 A.G.                       Eira Castillejos                                               P.O. Box 1126                                                                         Bloomington                CA       92316                  Litigation          X           Unknown
 A.G.                       ELIDA GAMINO, AS PARENT AND GUARDIAN AD LITEM                  18521 14th Street                                                                     Bloomington                CA       92316                  Litigation          X           Unknown
 A.G.                       Jeremiah Gilbert                                               11371 Boone Way                                                                       Loma Linda                 CA       92354                  Litigation          X           Unknown
 A.G.                       Navora Gomez                                                   16560 Lemon Street                                                                    Hesperia                   CA       92345                  Litigation          X           Unknown
 A.G.                       ROMANA REGALADO, AS PARENT AND GUARDIAN AD LITEM               5748 29th Street                                                                      Riverside                  CA       92509                  Litigation          X           Unknown
 A.G.                       Rose Holley, as parent and guardian                            6442 Rathke Drive                                                                     Riverside                  CA       92509                  Litigation          X           Unknown
 A.G.                       Vivian Reyes                                                   23537 Christy Way                                                                     Murrieta                   CA       92562                  Litigation          X           Unknown
 A.G.                       Team G Capital LLC                                             3835 E Thousand Oaks Blvd Ste. R                                                      Westlake Village           CA       91362                  Litigation          X           Unknown
 A.H.                       Andres Herrera                                                 15526 Fourth Street Apartment A                                                       Victorville                CA       92395                  Litigation          X           Unknown
 A.H.                       Anetrise Evans Hughey                                          27005 Winter Park Place                                                               Moreno Valley              CA       92555                  Litigation          X           Unknown
 A.H.                       Lucy Huerta                                                    24426 Island Avenue                                                                   Carson                     CA       90745                  Litigation          X           Unknown
 A.H.                       Monica Cecilia Hernandez                                       3076 Avalon Street                                                                    Riverside                  CA       92509                  Litigation          X           Unknown
 A.H.                       Pricella Hughes, as parent and guardian                        1211 North Orange Street                                                              Riverside                  CA       92501                  Litigation          X           Unknown
 A.H.                       RYISHEA GILMORE, AS PARENT AND GUARDIAN AD LITEM               5679 Newton Street                                                                    Riverside                  CA       92509                  Litigation          X           Unknown
 A.H.                       Shawntay Mayo Porter, as parent and guardian                   2836 Demeter Place                                                                    Riverside                  CA       92509                  Litigation          X           Unknown
 A.H.                       Shawntay Mayo Porter, as parent and guardian                   2836 Demeter Place                                                                    Riverside                  CA       92509                  Litigation          X           Unknown
 A.I.                       Patrice Iniguez                                                3300 West Camelback Rd.                                                               Phoenix                    CA       85017                  Litigation          X           Unknown
 A.I.                       Puji Lestari                                                   Kota Bekasi                                                                           Bekasi dan Jawa Barat               17158   Indonesia      Litigation          X           Unknown




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 A.J.                       Angelica Mayo, as parent and guardian                               2836 Demeter Place                                                                     Riverside                CA      92509               Litigation          X           Unknown
 A.J.                       Laura Jepson                                                        3720 Pacific Avenue                                                                    Riverside                CA      92509               Litigation          X           Unknown
 A.J.                       NATASHIA HUNTER, AS PARENT AND GUARDIAN AD LITEM                    5720 Kenwood Place                                                                     Riverside                CA      92509               Litigation          X           Unknown
 A.J.                       SHERYL DAVIS, AS PARENT AND GUARDIAN AD LITEM                       P.O. Box 7832                                                                          Oklahmoma City           OK      73153               Litigation          X           Unknown
 A.J.                                                                                           100 Windy Pass #94                                                                     Barstow                  CA      92311               Litigation          X           Unknown
 A.K.                       John C. Kistner                                                     35760 Fremont Court                                                                    Yucaipa                  CA      92399               Litigation          X           Unknown
 A.K.                       C/O Lianna Kanakaryan,                                              1836 N. Gramercy Pl., Apt 27                                                           Hollywood                CA      90028               Litigation          X           Unknown
 A.L.                       Antoinette Lancaste                                                 3011 Green Branch Drive                                                                Memphis                  TN      38118               Litigation          X           Unknown
 A.L.                       JoAnne Lafferty                                                     5660 34th Street                                                                       Riverside                CA      92509               Litigation          X           Unknown
 A.L.                       Marcella Lopez-Lavalle                                              24613 Panama Avenue                                                                    Carson                   CA      90745               Litigation          X           Unknown
 A.L.                       Maria Llievanos, as parent and guardian                             6223 Tarragona Drive                                                                   Riverside                CA      92509               Litigation          X           Unknown
 A.L.                       Maria Llievanos, as parent and guardian                             3055 East Las Cadena Drive                                                             Riverside                CA      92507               Litigation          X           Unknown
 A.L.                       Maria Llievanos, as parent and guardian                             6223 Tarragona Drive                                                                   Riverside                CA      92509               Litigation          X           Unknown
 A.L.                       Mariko Garcia                                                       24822 Panama Ave.                                                                      Carson                   CA      90745               Litigation          X           Unknown
 A.L.                       Rosa Leyva                                                          2754 Avalon Street                                                                     Riverside                CA      92509               Litigation          X           Unknown
 A.L.                       VIRGINIA RODRIGUEZ, AS PARENT AND GUARDIAN AD LITEM                 19340 Jurupa Avenue                                                                    Bloomington              CA      92316               Litigation          X           Unknown
 A.L.                       Virginia Rodriguez, as parent and guardian                          19340 Jurupa Avenue                                                                    Bloomington              CA      92316               Litigation          X           Unknown
 A.M.                       ALBERT MEDINILLA JR., AS PARENT AND GUARDIAN AD LITEM               10648 Dumond Avenue                                                                    Bloomington              CA      92316               Litigation          X           Unknown
 A.M.                       Alfredo Mendez                                                      12011 Pepper Street                                                                    Bloomington              CA      92316               Litigation          X           Unknown
 A.M.                       ANDREA MEDINA, AS PARENT AND GUARDIAN AD LITEM                      5342 Paloma Road                                                                       Riverside                CA      92509               Litigation          X           Unknown
 A.M.                       Christina Gayle Montague                                            5528 Molino Way                                                                        Rubidoux                 CA      92509               Litigation          X           Unknown
 A.M.                       CHRISTINA GAYLE MONTAGUE, AS PARENT AND GUARDIAN AD LITEM           5528 Molino Way                                                                        Rubidoux                 CA      92509               Litigation          X           Unknown
 A.M.                       David McEwan                                                        628 Mer Rouge Drive                                                                    Nolensville              TN      37135               Litigation          X           Unknown
 A.M.                       Douglas Matheson                                                    345 N. Maple Dr.- #194                                                                 Beverly Hills            CA      90210               Litigation          X           Unknown
 A.M.                       Griselle Mitzieth Medinilla, as parent and guardian                 10648 Dumond Avenue                                                                    Bloomington              CA      92316               Litigation          X           Unknown
 A.M.                       Henry Morales                                                       1836 Ash Tree Lane                                                                     Colton                   CA      92324               Litigation          X           Unknown
 A.M.                       Maria Loza, as parent and guardian                                  4233 Aero Lane                                                                         Riverside                CA      92509               Litigation          X           Unknown
 A.M.                       Ronnie Calderon                                                     1474 North 10th Street                                                                 Colton                   CA      92324               Litigation          X           Unknown
 A.M.                       C/O Anna Madrid                                                     24726 Marbella Avenue                                                                  Carson                   CA      90745               Litigation          X           Unknown
 A.N.                       Norman August Neiman                                                17522 La Junta St.                                                                     Hesperia                 CA      92345               Litigation          X           Unknown
 A.O.                       REYNA ACOSTA, AS PARENT AND GUARDIAN AD LITEM                       5236 El Rivino Road                                                                    Riverside                CA      92509               Litigation          X           Unknown
 A.O.                       Ronald Wirgart                                                      892 Meadow Gate Rd.                                                                    Meadow Vista             CA      95722               Litigation          X           Unknown
 A.P.                       Henry Leo Pasillas                                                  3233 Pontiac Avenue                                                                    Riverside                CA      92509               Litigation          X           Unknown
 A.P.                       Margaret Pena                                                       3110 Wallace Street                                                                    Riverside                CA      92509               Litigation          X           Unknown
 A.P.                       MARIA HERNANDEZ, AS PARENT AND GUARDIAN AD LITEM                    1327 West Etiwanda Avenue                                                              Rialto                   CA      92376               Litigation          X           Unknown
 A.P.                       Maria Hernandez, as parent and guardian                             1327 West Etiwanda Avenue                                                              Rialto                   CA      92376               Litigation          X           Unknown
 A.P.                       Paul Piscatella                                                     3837 Ridge Road                                                                        Riverside                CA      92501               Litigation          X           Unknown
 A.P.                       Penny Salcida, as parent and guardian                               5352 Bell Avenue                                                                       Riverside                CA      92509               Litigation          X           Unknown
 A.P.                       Rachelle Phineas                                                    1540 Ravenna Avenue                                                                    Wilmington               CA      90744               Litigation          X           Unknown
 A.P.                       RONNIE PENA , AS PARENT AND GUARDIAN AD LITEM                       3150 Wallace Street                                                                    Riverside                CA      92509               Litigation          X           Unknown
 A.P.                       Suzanne M. Perez                                                    18358 7th St.                                                                          Bloomington              CA      92316               Litigation          X           Unknown
 A.Q.                       c/o Antonio Padilla                                                 1205 Benedict Ave, #26                                                                 Downey                   CA      90242               Litigation          X           Unknown
 A.R.                       Angela Dolores Fierro, as parent and guardian                       10143 Cypress Avenue                                                                   Riverside                CA      92503               Litigation          X           Unknown
 A.R.                       BRENDA COFFLIN , AS PARENT AND GUARDIAN AD LITEM                    2166 N San Gorgonio Ave                                                                Banning                  CA      92220               Litigation          X           Unknown
 A.R.                       BRENDA COFFLIN, AS PARENT AND GUARDIAN AD LITEM                     2166 N San Gorgonio Ave                                                                Banning                  CA      92220               Litigation          X           Unknown
 A.R.                       David Carl Ramsey                                                   P.O. Box 1855                                                                          Barstow                  CA      92312               Litigation          X           Unknown
 A.R.                       Desiree Pasillas                                                    3257 Pontiac Avenue                                                                    Rubidoux                 CA      92509               Litigation          X           Unknown
 A.R.                       Greta Ross Shelton                                                  478 Diamond Peak                                                                       Beaumont                 CA      92223               Litigation          X           Unknown
 A.R.                       Jacqueline Dean                                                     16994 Lavida Court                                                                     Fontana                  CA      92337               Litigation          X           Unknown
 A.R.                       MARIA MARLEN GARCIA, AS PARENT AND GUARDIAN AD LITEM                3055 East Las Cadena Drive                                                             Riverside                CA      92507               Litigation          X           Unknown
 A.R.                       MONICA CECILIA HERNANDEZ, AS PARENT AND GUARDIAN AD LITEM           3076 Avalon Street                                                                     Riverside                CA      92509               Litigation          X           Unknown
 A.R.                       Pete Rodriguez                                                      P.O. Box 906                                                                           Bloomington              CA      92316               Litigation          X           Unknown
 A.R.                       Sara Rivas                                                          3530 Josie Ave                                                                         Long Beach               CA      90808               Litigation          X           Unknown
 A.R.                       c/o Jonathan Richardson                                             51 Kilmayne Dr. Ste. 303                                                               Cary                     NC      27511               Litigation          X           Unknown
 A.S.                       ERICA TRUJILLO, AS PARENT AND GUARDIAN AD LITEM                     21835 Olive Avenue                                                                     Perris                   CA      92570               Litigation          X           Unknown
 A.S.                       HENRY SOLORIO, AS PARENT AND GUARDIAN AD LITEM                      1711 Sycamore Street                                                                   Perris                   CA      92570               Litigation          X           Unknown
 A.S.                       Holli Silver                                                        1342 West George Street                                                                Banning                  CA      92220               Litigation          X           Unknown
 A.S.                       Jessica Holley, as parent and guardian                              2984 Taos Drive                                                                        Riverside                CA      92509               Litigation          X           Unknown
 A.S.                       Jose Martinez                                                       814 Jackson Street                                                                     Colton                   CA      92324               Litigation          X           Unknown
 A.S.                       JULIETA CASTILLO, AS PARENT AND GUARDIAN AD LITEM                   19322 El Rivino Road Apartment 10                                                      Riverside                CA      92509               Litigation          X           Unknown
 A.S.                       JULIETA CASTILLO, AS PARENT AND GUARDIAN AD LITEM                   1165 Huff Street                                                                       San Bernardino           CA      92410               Litigation          X           Unknown
 A.S.                       JULIETA CASTILLO, AS PARENT AND GUARDIAN AD LITEM                   1165 Huff Street                                                                       San Bernardino           CA      92410               Litigation          X           Unknown




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 A.S.                       LAURA CARRILLO, GUARDIAN AD LITEM                                19322 El Rivino Road Apartment 10                                                        Riverside                    CA        92509                  Litigation          X           Unknown
 A.S.                       LAURA CARRILLO, GUARDIAN AD LITEM                                19322 El Rivino Road Apartment 10                                                        Riverside                    CA        92509                  Litigation          X           Unknown
 A.S.                       Lilliana Patricia Soto                                           901 East Washington St.- # 328                                                           Colton                       CA        92324                  Litigation          X           Unknown
 A.S.                       Robinson Sirkegian                                               16019 Rimrock Road                                                                       Apple Valley                 CA        92307                  Litigation          X           Unknown
 A.S.                       Yaneth Barrientos, as parent and guardian                        1375 Malaga Drive                                                                        Riverside                    CA        92509                  Litigation          X           Unknown
 A.T.                       CARISA ROSS-TAYLOR, AS PARENT AND GUARDIAN AD LITEM              16754 Choco Rd.                                                                          Apple Valley                 CA        92307                  Litigation          X           Unknown
 A.V.                       Elizabeth Velasco, as parent and guardian                        847 West H Street                                                                        Colton                       CA        92324                  Litigation          X           Unknown
 A.V.                       Maria Villa, as parent and guardian                              18561 8th Street                                                                         Bloomington                  CA        92316                  Litigation          X           Unknown
 A.V.                       VERONICA ALVAREZ, AS PARENT AND GUARDIAN AD LITEM                3667 Crestmore Road                                                                      Riverside                    CA        92509                  Litigation          X           Unknown
 A.V.                       Victoria Valadez                                                 18869 9th Street                                                                         Bloomington                  CA        92316                  Litigation          X           Unknown
 A.W.                       Beatrix Wilson                                                   4738 Suncrest Drive                                                                      Riverside                    CA        92509                  Litigation          X           Unknown
 A.W.                       Carol Banks                                                      45039 Denmore Ave.                                                                       Lancaster                    CA        93535                  Litigation          X           Unknown
 A.W.                       Jason Walker                                                     610 Lake Edge Drive                                                                      Moneta                       VA        24121                  Litigation          X           Unknown
 A.W.                       LISA PASILLA, AS PARENT AND GUARDIAN AD LITEM                    3233 Pontiac Street                                                                      Riverside                    CA        92509                  Litigation          X           Unknown
 A.W.                       MARGARET CABALLERO, AS PARENT AND GUARDIAN AD LITEM              2896 Avalon Street                                                                       Riverside                    CA        92509                  Litigation          X           Unknown
 A.W.                       RARCHELLE MAYO, AS PARENT AND GUARDIAN AD LITEM                  2836 Danieter                                                                            Riverside                    CA        92509                  Litigation          X           Unknown
 A.W.                       thomas L. Whittington                                            4476 Vermont Street                                                                      San Bernadino                CA        92407                  Litigation          X           Unknown
 A.Y.                       ANGELA GRILLO, AS PARENT AND GUARDIAN AD LITEM                   18337 9th Street                                                                         Bloomington                  CA        92316                  Litigation          X           Unknown
 A.Y.                       Wendy K. Petrouski                                               9471 Stinson Lane                                                                        Westminster                  CA        92683                  Litigation          X           Unknown
 A.Z.                       DIANA LEE ZUMAYA, AS PARENT AND GUARDIAN AD LITEM                6852 Kern Drive                                                                          Riverside                    CA        92509                  Litigation          X           Unknown
 A.Z.                       Elizabeth Zamora                                                 3000 South 9th St.- Apt. 28                                                              Chickasha                    OK        73018                  Litigation          X           Unknown
 A.Z.                       Jennifer Traylor                                                 6401 Tournament Drive                                                                    Riverside                    CA        92509                  Litigation          X           Unknown
 A.Z.                       JONATHON ZAMORA, JR, AS PARENT AND GUARDIAN AD LITEM             4056 Mescale Road                                                                        Riverside                    CA        92504                  Litigation          X           Unknown
 B. A.                      Monique Armstead-Wilson                                          65 Watkins Avenue                                                                        Woodbury                     NJ        08096                  Litigation          X           Unknown
 B. C.                      Peter Clarke/Carol Clarke                                        7827 Alto Caro Drive                                                                     Dallas                       TX        75248                  Litigation          X           Unknown
 B. D.                      Ardell Dudley                                                    54 Barnister St.                                                                         Hartford                     CT        06106                  Litigation          X           Unknown
 B. I.                      Crystal Irving                                                   409 Jerlee Street                                                                        Bakersfield                  CA        93314                  Litigation          X           Unknown
 B. K.                      Diana Kemritz                                                    10062 Minx Rd.                                                                           Temperance                   MI        48182                  Litigation          X           Unknown
 B. M.                      Glenda Thompson                                                  4621 Quinton Ln.                                                                         Charlotte                    NC        78269                  Litigation          X           Unknown
 B. S.                      Madonna Kelly                                                    4638 Woodland Village Drive                                                              Orlando                      FL        32835                  Litigation          X           Unknown
 B.B.                       Cheryle Cabriales                                                16233 Menahka Rd.                                                                        Apple Valley                 CA        92307                  Litigation          X           Unknown
 B.B.                       James Ray Briggs                                                 210 Overleaf Drive                                                                       Keller                       TX        76248                  Litigation          X           Unknown
 B.C.                       Leonor Coronel                                                   3659 Scenic Drive                                                                        Riverside                    CA        92509                  Litigation          X           Unknown
 B.C.                       Russell Campbell                                                 24502 Panama Avenue                                                                      Carson                       CA        90745                  Litigation          X           Unknown
 B.D.                       Cynthia Addison & Lorraine Goodland                              8288 Lakeside Dr.                                                                        Jurupa Valley                CA        92509                  Litigation          X           Unknown
 B.E.                       Victoria Ecklor                                                  228 East Mojave Blvd.                                                                    Big Bear                     CA        92314                  Litigation          X           Unknown
 B.F.                       Lauri M. Furry                                                   595 Cypress Avenue                                                                       Colton                       CA        92324                  Litigation          X           Unknown
 B.G.                       ESTHER GUTIERREZ, AS PARENT AND GUARDIAN AD LITEM                19454 El Rivino Road                                                                     Riverside                    CA        92509                  Litigation          X           Unknown
 B.G.                       Loretta Heredia                                                  9434 Vallecito Pass                                                                      San Antonio                  TX        78250                  Litigation          X           Unknown
 B.H.                       AMETRICE EVANS HUGHEY, AS PARENT AND GUARDIAN AD LITEM           P.O. Box 3123                                                                            Riverside                    CA        92509                  Litigation          X           Unknown
 B.H.                       Robin Shea                                                       P.O. Box 971                                                                             Sun City                     CA        92586                  Litigation          X           Unknown
 B.H.                       C/O Jeremy Hall,                                                 P.O. Box 281116                                                                          Memphis                      TN      38168-1116               Litigation          X           Unknown
 B.J.                       IRIS VIOLETA CARLOS, AS PARENT AND GUARDIAN AD LITEM             27655 Summerfield Lane                                                                   San Juan Capistrano          CA        92675                  Litigation          X           Unknown
 B.L.                       Virginia Rodriguez                                               19340 Jurupa Avenue                                                                      Bloomington                  CA        92316                  Litigation          X           Unknown
 B.M.                       Gil S. Magno                                                     24422 Neptune Avenue                                                                     Carson                       CA        90745                  Litigation          X           Unknown
 B.M.                       Vicki M. Hill and Tamara Humphreys                               15252 Seneca Road Space 43                                                               Victorville                  CA        92392                  Litigation          X           Unknown
 B.N.                       Christopher Neiman                                               1922 68th Ave.- Unit F                                                                   Greeley                      CO        80634                  Litigation          X           Unknown
 B.N.                       Joneika Mason                                                    P.O. Box 56808                                                                           Riverside                    CA        92517                  Litigation          X           Unknown
 B.N.                       KIM PENA, AS PARENT AND GUARDIAN AD LITEM                        1547 Club Drive                                                                          Pomona                       CA        91768                  Litigation          X           Unknown
 B.P.                       APRIL PETERS, AS PARENT AND GUARDIAN AD LITEM                    11711 Collett Avenue Apartment 1638                                                      Riverside                    CA        92505                  Litigation          X           Unknown
 B.P.                       PENNY SALCIDA, AS PARENT AND GUARDIAN AD LITEM                   5352 Bell Avenue                                                                         Riverside                    CA        92509                  Litigation          X           Unknown
 B.R.                       Luis Reyes                                                       14524 SW 96th Terrace                                                                    Miami                        FL        33186                  Litigation          X           Unknown
 B.S.                       Belen Vargas                                                     2712 Hall Avenue                                                                         Riverside                    CA        92509                  Litigation          X           Unknown
 B.S.                       Frederick Bryant                                                 13734 Rundell Drive                                                                      Moreno Valley                CA        92553                  Litigation          X           Unknown
 B.S.                       James Seybels                                                    2020 Lowell St.                                                                          Rialto                       CA        92377                  Litigation          X           Unknown
 B.S.                       Peter K. Schubert                                                28965 Pablo St.                                                                          Nuevo                        CA        92567                  Litigation          X           Unknown
 B.S.                       Rose Scott                                                       5684 Peggy Lane                                                                          Riverside                    CA        92505                  Litigation          X           Unknown
 B.T.                       Rosalind Taylor Griffin                                          27255 Via Debra Place                                                                    Menifee                      CA        92586                  Litigation          X           Unknown
 B.V.                       Michelle Vanderdoes                                              10701 Cedar Ave. Spc#169                                                                 Bloomington                  CA        92316                  Litigation          X           Unknown
 B.W.                       Brendie Bischoff                                                 27707 Van Buren Street                                                                   Romoland                     CA        92585                  Litigation          X           Unknown
 B.W.                       TINA WHITLEY, AS PARENT AND GUARDIAN AD LITEM                    5309 Paloma Road                                                                         Riverside                    CA        92509                  Litigation          X           Unknown
 B.Y.                       Tamara Marbury                                                   535 Wier Rd. Apt. 201                                                                    San Bernardino               CA        92408                  Litigation          X           Unknown




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                                                                                                                                                                                                                                                            Contingent,
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                                                                                                                                                                                                                                                            Unliquidated

 C. C.                      Theresa Chadwick Beaird                                           8223 Clint Drive                                                                     Shreveport               LA        71108                  Litigation          X           Unknown
 C. C.                      Jennefer Chandler                                                 37 W. Patton Ave.                                                                    Montgomery               AL        36105                  Litigation          X           Unknown
 C. F.                      Amy Farrar                                                        15007 East Trent, #5                                                                 Spokane Valley           WA        99216                  Litigation          X           Unknown
 C. P.                      Amanda Phillips                                                   PO Box 235                                                                           Belle Fourche            SD        57717                  Litigation          X           Unknown
 C. T.                      Gisele Thompson-Fry                                               12040 Driftstone Dr                                                                  Fishers                  IN        46037                  Litigation          X           Unknown
 C. W.                      Sherry Elaine Grimes                                              P.O. Box 300796                                                                      Houston                  TX        77230                  Litigation          X           Unknown
 C. W.                      Debra Warren                                                      2192 Ridgeway Rd.                                                                    Memphis                  TN        38119                  Litigation          X           Unknown
 C.A.                       Bertha Alcantar                                                   18324 9th Street                                                                     Bloomington              CA        92316                  Litigation          X           Unknown
 C.A.                       HEATHER ARMENDAREZ, AS PARENT AND GUARDIAN AD LITEM               2851 South La Cadena Drive- Space 209                                                Colton                   CA        92324                  Litigation          X           Unknown
 C.A.                       Jackie Carey-Wilson                                               385 N. Arrowhead Ave. 4th Floor                                                      San Bernardino           CA        92415                  Litigation          X           Unknown
 C.A.                       Lilia Alejandre, as parent and guardian                           18815 11th Street                                                                    Bloomington              CA        92316                  Litigation          X           Unknown
 C.A.                       Patricia Aceves / David Aceves                                    25142 Sweetgrass Drive                                                               Moreno Valley            CA        92553                  Litigation          X           Unknown
 C.A.                       American Guitar Museum                                            1810 New Hyde Park Road                                                              New Hyde Park            NY        11040                  Litigation          X           Unknown
 C.B.                       Aja Woods                                                         45039 Denmore Ave.                                                                   Lancaster                CA        93535                  Litigation          X           Unknown
 C.B.                       Carol Banks                                                       45039 Denmore Ave.                                                                   Lancaster                CA        93535                  Litigation          X           Unknown
 C.B.                       David Banuelos                                                    16013 White Mountain Place                                                           Victorville              CA        92394                  Litigation          X           Unknown
 C.B.                       Ralph A. Bravo Sr and Irene Gutierrez                             240 Versailles Place                                                                 Riverside                CA        92501                  Litigation          X           Unknown
 C.B.                       Rosa Sanchez, as parent and guardian                              6308 Rustic Lane                                                                     Riverside                CA        92509                  Litigation          X           Unknown
 C.B.                       On behalf of Timothy Clavier                                      6119 Leopold Circle                                                                  Richmond                 VA        23234                  Litigation          X           Unknown
 C.C.                       Andre Cubit                                                       2730 W. Tregallas Rd. #2633                                                          Antioch                  CA        94531                  Litigation          X           Unknown
 C.C.                       Bridgette Ivory                                                   710 Multnomah Court                                                                  San Jacinto              CA        92582                  Litigation          X           Unknown
 C.C.                       Diana Maria Chavez Ortega                                         28454 168th Ave. SE Unit 12                                                          Kent                     WA        98042                  Litigation          X           Unknown
 C.C.                       Jacari Caldwell                                                   800 E. Washington St.- Apt. 794                                                      Colton                   CA        92324                  Litigation          X           Unknown
 C.C.                       PETER CLAUDE II, AS PARENT AND GUARDIAN AD LITEM                  1230 North Rancho Avenue                                                             Colton                   CA        92324                  Litigation          X           Unknown
 C.C.                       Rosalba Casas                                                     11175 Seabreeze Court                                                                Bloomington              CA        92316                  Litigation          X           Unknown
 C.C.                       TERESA CONTRERAS, AS PARENT AND GUARDIAN AD LITEM                 8613 Panorama Lane                                                                   Hesperia                 CA        92344                  Litigation          X           Unknown
 C.E.                       Carla McCague                                                     6403 Nottoway Court                                                                  Frisco                   TX        75035                  Litigation          X           Unknown
 C.F.                       Monica Fernandez                                                  509 E 245th Street                                                                   Carson                   CA        90745                  Litigation          X           Unknown
 C.G.                       Marie Garcia                                                      2790 Hall Avenue                                                                     Riverside                CA        92509                  Litigation          X           Unknown
 C.G.                       Natara Banks, as parent and guardian                              3078 Mary Ellen Drive                                                                Riverside                CA        92509                  Litigation          X           Unknown
 C.G.                       PRINCESA GINER, AS PARENT AND GUARDIAN AD LITEM                   3446 Skylane Drive                                                                   Riverside                CA        92509                  Litigation          X           Unknown
 C.G.                       Norma Allison                                                     245 N. 86th                                                                          Oklahoma City            OK        73114                  Litigation          X           Unknown
 C.H.                       Gerard Deleeuw                                                    2938 Via Mazatlan                                                                    Corona                   CA        92882                  Litigation          X           Unknown
 C.L.                       Lacey Luke                                                        4166 Strong Street                                                                   Riverside                CA        92501                  Litigation          X           Unknown
 C.L.                       Mariko Garcia                                                     24822 Panama Ave.                                                                    Carson                   CA        90745                  Litigation          X           Unknown
 C.L.                       Ronald Le Fevre                                                   15887 W. Madison St.                                                                 Goodyear                 AZ        85338                  Litigation          X           Unknown
 C.L.                       c/o Fang Yang                                                     50 Alicia St                                                                         Alhambra                 CA        91006                  Litigation          X           Unknown
 C.M.                       Chervelvia Miller, as parent and guardian ad Litem                1871 12th Street- Apartment 4                                                        Riverside                CA        92507                  Litigation          X           Unknown
 C.M.                       DENNIS NATHANIEL MOORE, AS PARENT AND GUARDIAN AD LITEM           5758 29th Street                                                                     Riverside                CA        92509                  Litigation          X           Unknown
 C.M.                       DENNIS NATHANIEL MOORE, AS PARENT AND GUARDIAN AD LITEM           5758 29th Street                                                                     Riverside                CA        92509                  Litigation          X           Unknown
 C.M.                       DENNIS NATHANIEL MOORE, AS PARENT AND GUARDIAN AD LITEM           5758 29th Street                                                                     Riverside                CA        92509                  Litigation          X           Unknown
 C.M.                       Dennis Nathaniel Moore, as parent and guardian                    5758 29th Street                                                                     Riverside                CA        92509                  Litigation          X           Unknown
 C.M.                       Diane Marotta                                                     32206 1/2 Lakeview Terrace                                                           Lake Elsinore            CA        92530                  Litigation          X           Unknown
 C.M.                       Lourdes Valenzuela                                                2493 11th St                                                                         Riverside                CA        92507                  Litigation          X           Unknown
 C.M.                       Matias Mora                                                       18787 14th Street                                                                    Bloomington              CA        92316                  Litigation          X           Unknown
 C.M.                       Regina R. Taylor                                                  24520 S Avalon Blvd                                                                  Wilmington               CA        90744                  Litigation          X           Unknown
 C.M.                       Ronnie Calderon                                                   1474 North 10th Street                                                               Colton                   CA        92324                  Litigation          X           Unknown
 C.M.                       Sherrie Miller-Burbank                                            1561 Heidi Court                                                                     Redlands                 CA        92374                  Litigation          X           Unknown
 C.O.                       Jeannie Wallace Orinday                                           136 East Vodden Street                                                               Rialto                   CA        92376                  Litigation          X           Unknown
 C.O.                       Maria Carmen Ogden                                                10078 La Quinta Circle                                                               Fountain Valley          CA        92708                  Litigation          X           Unknown
 C.O.                       RITA ORNELAS, AS PARENT AND GUARDIAN AD LITEM                     10831 Olive Street                                                                   Bloomington              CA        92316                  Litigation          X           Unknown
 C.P.                       David A Pasillas Jr.                                              3257 Pontiac Avenue                                                                  Riverside                CA        92509                  Litigation          X           Unknown
 C.P.                       Edeltraut Pfeiffer                                                1221 Amberwood Dr.                                                                   Hemet                    CA      92543-5768               Litigation          X           Unknown
 C.P.                       C/O Jim Husen                                                     PO Box 935                                                                           Riverside                CA        92502                  Litigation          X           Unknown
 C.R.                       Allan Reyes                                                       858 West C Street                                                                    Colton                   CA        92324                  Litigation          X           Unknown
 C.R.                       Curtis Rashaan Reynolds                                           375 Central Avenue- Unit 4                                                           Riverside                CA        92507                  Litigation          X           Unknown
 C.R.                       Lisa Reynaldo                                                     1531 Malaga Way                                                                      Fallbrook                CA        92028                  Litigation          X           Unknown
 C.R.                       Maria P. Calvert                                                  5339 Paloma Road                                                                     Riverside                CA        92509                  Litigation          X           Unknown
 C.R.                       Paula Morris                                                      5524 Elmer Avenue Apartment 1                                                        North Hollywood          CA        91601                  Litigation          X           Unknown
 C.R.                       c/o Maricruz Hernandez Alveraz                                    845 E 9th St                                                                         Long Beach               CA        90813                  Litigation          X           Unknown
 C.R.                       other plaintiff Michael DeLeon                                    861 Alamitos Ave                                                                     Long Beach               CA        90813                  Litigation          X           Unknown
 C.R.                       c/o Atherton Home                                                 600 Irving St., Apt 101                                                              Alhambra                 CA      91801-3260               Litigation          X           Unknown




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                Name1                                      Name2                  Name3                        Address1                                             Address2                   City   State     Zip       Country   Basis of Claim                  Claim Amount
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 C.S.                       Celina Solano                                                 5310 Canyon Crest Dr.- Apt 19                                                        Riverside              CA       92507                  Litigation          X           Unknown
 C.S.                       H. Stanley Severance                                          4583 Langston Rd.                                                                    Timmonsville           SC       29161                  Litigation          X           Unknown
 C.S.                       HENRY SOLORIO, AS PARENT AND GUARDIAN AD LITEM                1711 Sycamore Street                                                                 Perris                 CA       92570                  Litigation          X           Unknown
 C.S.                       Holli Marie Silver                                            1342 W. George Street                                                                Banning                CA       92220                  Litigation          X           Unknown
 C.S.                       J Scott Salmond (incarcerated)                                RTS - 1150 Wall Street- #251878                                                      Lewiston               ID       83501                  Litigation          X           Unknown
 C.S.                       Kottia Spangler                                               7659 Prairie Drive                                                                   Riverside              CA       92507                  Litigation          X           Unknown
 C.S.                       Mary Smith                                                    P.O. Box 224                                                                         Oro Grande             CA       92368                  Litigation          X           Unknown
 C.S.                       Peter K. Schubert                                             28965 Pablo St.                                                                      Nuevo                  CA       92567                  Litigation          X           Unknown
 C.T.                       Candelaria Torres                                             8416 Fultana Ave                                                                     Fontana                CA       92335                  Litigation          X           Unknown
 C.T.                       Constance Tate                                                449 E 248th Street                                                                   Carson                 CA       90745                  Litigation          X           Unknown
 C.V.                       CYNTHIA CASTILLO, AS PARENT AND GUARDIAN AD LITEM             3120 Wallace Street                                                                  Riverside              CA       92509                  Litigation          X           Unknown
 C.V.                       Rita Valdez                                                   9910 Union Street                                                                    Riverside              CA       92509                  Litigation          X           Unknown
 C.W.                       Lynette Walton                                                9824 County Farm Road- Apt #1103                                                     Riverside              CA       92503                  Litigation          X           Unknown
 C.Z.                       AMANDA WRIGHT, AS PARENT AND GUARDIAN AD LITEM                6880 36th Street                                                                     Riverside              CA       92509                  Litigation          X           Unknown
 D. A.                      Betty Avinger                                                 5305 Laurendine Rd.                                                                  Theodore               AL       36582                  Litigation          X           Unknown
 D. C.                      (Lillian) Danielle Wood                                       PO Box 327 G                                                                         Growder                OK       74430                  Litigation          X           Unknown
 D. H.                      Sandra Hefner                                                 1902 Hickory Blvd Apt. E2                                                            Lenoir                 NC       28645                  Litigation          X           Unknown
 D. H.                      Robin Harding/Doug Harding                                    3007 Brillante                                                                       San Clemente           CA       92673                  Litigation          X           Unknown
 D. H.                      Christi Fetters                                               6341 Ortega St                                                                       Chino                  CA       91710                  Litigation          X           Unknown
 D. M.                      Laura McMullen                                                1817 Donna Court                                                                     Lawrenceville          GA       30044                  Litigation          X           Unknown
 D. S.                      Rebecca Ivy                                                   512 Braginton St., Lot 2                                                             Clearwater             FL       33756                  Litigation          X           Unknown
 D.A.                       Denise Elaine Bird                                            504 Sonoma Aisle                                                                     Irvine                 CA       92618                  Litigation          X           Unknown
 D.A.                       c/o Michael Reiter Esq.                                       1447 Ford St. Ste. 201                                                               Redlands               CA       92374                  Litigation          X           Unknown
 D.B.                       Bonnie A. Zamora                                              P.O. Box 338                                                                         Weldon                 CA       93283                  Litigation          X           Unknown
 D.B.                       Charles Odean Bailey                                          22322 Bryman Road                                                                    Oro Grande             CA       92368                  Litigation          X           Unknown
 D.B.                       Darlene Butts                                                 1724 Mesquite Drive- Apt. 12                                                         Gallup                 NM       87301                  Litigation          X           Unknown
 D.B.                       Darnell Butts                                                 5315 El Rio Avenue                                                                   Riverside              CA       92509                  Litigation          X           Unknown
 D.B.                       Glenda Bauer                                                  PO Box 821                                                                           Niland                 CA       92257                  Litigation          X           Unknown
 D.B.                       Janell Kay Berg                                               1609 Electric Ave.- Apt. #2                                                          Seal Beach             CA       90740                  Litigation          X           Unknown
 D.B.                       LETISHA BARRIENTOS, AS PARENT AND GUARDIAN AD LITEM           5350 Paloma Road                                                                     Riverside              CA       92509                  Litigation          X           Unknown
 D.B.                       Susan Elizabeth Birozy                                        RTS - 1530 W. Ave. K8- Apt. 74                                                       Lancaster              CA       93534                  Litigation          X           Unknown
 D.B.                       Veronica Alvarez, as parent and guardian                      3667 Crestmore Road                                                                  Riverside              CA       92509                  Litigation          X           Unknown
 D.C.                       Yesenia Su, as parent and guardian                            5535 28th Street                                                                     Riverside              CA       92509                  Litigation          X           Unknown
 D.C.                       Yesenia Su, as parent and guardian                            5535 28th Street                                                                     Riverside              CA       92509                  Litigation          X           Unknown
 D.C.                       Peter R. Claude II                                            1230 North Rancho Avenue                                                             Colton                 CA       92324                  Litigation          X           Unknown
 D.C.                       C/O Dominic Lombardo                                          115 E. Pomona Blvd., Suite A                                                         Montery Park           CA       91755                  Litigation          X           Unknown
 D.D.                       Angi Collier                                                  2965 Aztec Dr.                                                                       Riverside              CA       92509                  Litigation          X           Unknown
 D.D.                       Cindy DeCastro Romo                                           11621 Sueno Court                                                                    Fontana                CA       92337                  Litigation          X           Unknown
 D.D.                       Deborah Deming                                                358 E 249th Street                                                                   Carson                 CA       90745                  Litigation          X           Unknown
 D.D.                       Linda Hudson Rowe                                             58 Gray Avenue                                                                       Medford                NY       11763                  Litigation          X           Unknown
 D.D.                       Maria Martin Del Campo, as parent and guardian                2851 South La Cadena Drive Space 227                                                 Colton                 CA       92324                  Litigation          X           Unknown
 D.F.                       Lauri M. Furry                                                595 Cypress Avenue                                                                   Colton                 CA       92324                  Litigation          X           Unknown
 D.F.                       Maretha Sherea Tyce                                           5711 29th Street                                                                     Riverside              CA       92509                  Litigation          X           Unknown
 D.G.                       JOSEFINA M. LUNA, AS PARENT AND GUARDIAN AD LITEM             12042 Hall Avenue                                                                    Bloomington            CA       92316                  Litigation          X           Unknown
 D.G.                       Leola Gipson                                                  487 W. Chase Avenue                                                                  El Cajon               CA       92020                  Litigation          X           Unknown
 D.G.                       Rose Holley, as parent and guardian                           6442 Rathke Drive                                                                    Riverside              CA       92509                  Litigation          X           Unknown
 D.H.                       Isabel Hernandez, as parent and guardian                      1327 West Etiwanda Avenue                                                            Rialto                 CA       92376                  Litigation          X           Unknown
 D.H.                       Jose Isabel Hernandez                                         10701 Cedar Avenue- Space #35                                                        Wilmington             CA       92316                  Litigation          X           Unknown
 D.H.                       Leonard Joe Harris                                            11265 Maple Avenue                                                                   Bloomington            CA       92316                  Litigation          X           Unknown
 D.H.                       Liyanah                                                       Address Unknown                                                                      West Java                       16168   Indonesia      Litigation          X           Unknown
 D.J.                       ERICA TRUJILLO, AS PARENT AND GUARDIAN AD LITEM               21835 Olive Avenue                                                                   Perris                  CA      92570                  Litigation          X           Unknown
 D.J.                       Laquette Andrews                                              5335 El Rio Avenue- Unit B                                                           Rubidoux                CA      92509                  Litigation          X           Unknown
 D.J.                       Laura Jepson                                                  3720 Pacific Avenue                                                                  Riverside               CA      92509                  Litigation          X           Unknown
 D.K.                       Georgianna Kane                                               436 N. Hanford Avenue                                                                San Pedro               CA      90732                  Litigation          X           Unknown
 D.K.                       Irene F. Karr                                                 24416 Island Ave.                                                                    Carson                  CA      90745                  Litigation          X           Unknown
 D.L.                       Rosa Leyva                                                    2754 Avalon Street                                                                   Riverside               CA      92509                  Litigation          X           Unknown
 D.M.                       CLARISSA MONTOYA, AS PARENT AND GUARDIAN AD LITEM             5327 Paloma Road                                                                     Riverside               CA      92509                  Litigation          X           Unknown
 D.M.                       Davetta Rayford IV                                            5978 Sky Meadow Street                                                               Riverside               CA      92509                  Litigation          X           Unknown
 D.M.                       NOEL MONTES, SR., AS PARENT AND GUARDIAN AD LITEM             4701 Charles Place Apt. 1432                                                         Plano                   TX      75093                  Litigation          X           Unknown
 D.M.                       Keven C. Harris                                               5981 Rodeo Drive                                                                     Riverside               CA      92509                  Litigation          X           Unknown
 D.M.                       Latasha Conkrite                                              PO Box 531                                                                           Beaumont                CA      92223                  Litigation          X           Unknown
 D.M.                       c/o Sheila Cook,                                              160 Broadway Ave.                                                                    Talladega               AL      35160                  Litigation          X           Unknown




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                                                                                                                                                                                                                                                                         Contingent,
                Name1                                         Name2                            Name3                        Address1                                             Address2                         City   State      Zip       Country   Basis of Claim                  Claim Amount
                                                                                                                                                                                                                                                                         Unliquidated

 D.N.                       Richard Nelson                                                             3121 E Fargo Circle                                                                  Mesa                         AZ        85213                  Litigation          X           Unknown
 D.N.                       Norine Ann Nelson                                                          2104 West 1st Ave                                                                    Corsicana                    TX        75110                  Litigation          X           Unknown
 D.N.                       Wendy Petrouski                                                            9471 Stinson Lane                                                                    Westminster                  CA      92683-6014               Litigation          X           Unknown
 D.O.                       c/o Tri Sun Care Center Lakeside                                           8707 Lakeside Parkway                                                                San Antonio                  TX        78245                  Litigation          X           Unknown
 D.P.                       CHERYL ZAMORA, AS PARENT AND GUARDIAN AD LITEM                             3126 Wallace Street                                                                  Riverside                    CA        92509                  Litigation          X           Unknown
 D.P.                       DESIREE PASILLAS, AS PARENT AND GUARDIAN AD LITEM                          3257 Pontiac Avenue                                                                  Rubidoux                     CA        92508                  Litigation          X           Unknown
 D.P.                       Elizabeth Herrera                                                          11797 Maywood St.                                                                    Adelanto                     CA        92301                  Litigation          X           Unknown
 D.P.                       Margaret Helen Petrie                                                      10 Elm Street                                                                        Goreville                    IL        62939                  Litigation          X           Unknown
 D.P.                       Susanne Callahan                                                           12514 Santa Fe Trail                                                                 Victorville                  CA        92392                  Litigation          X           Unknown
 D.P.                       Terry L. Poplin                                                            9121 Mono Road                                                                       Victorville                  CA        92392                  Litigation          X           Unknown
 D.Q.                       MARGARET CABALLERO, AS PARENT AND GUARDIAN AD LITEM                        2896 Avalon Street                                                                   Riverside                    CA        92509                  Litigation          X           Unknown
 D.R.                       Angela Dolores Fierro                                                      10143 Cypress Ave                                                                    Riverside                    CA        92503                  Litigation          X           Unknown
 D.R.                       ANGELA DOLORES FIERRO, AS PARENT AND GUARDIAN AD LITEM                     10143 Cypress Avenue                                                                 Riverside                    CA        92503                  Litigation          X           Unknown
 D.R.                       Bethany Lutzenberg                                                         1446 S. Jellick Ave.- Apt D.                                                         Rowland Heights              CA        91748                  Litigation          X           Unknown
 D.R.                       BRENDA COFFLIN, AS PARENT AND GUARDIAN AD LITEM                            2166 N San Gorgonio Ave                                                              Banning                      CA        92220                  Litigation          X           Unknown
 D.R.                       Chaniqua Ross                                                              1974 Talshire Lane                                                                   Corona                       CA        92881                  Litigation          X           Unknown
 D.R.                       HEATHER LAFFERTY, AS PARENT AND GUARDIAN AD LITEM                          5660 34th Street                                                                     Riverside                    CA        92509                  Litigation          X           Unknown
 D.R.                       IRENE DE ANDA, AS PARENT AND GUARDIAN AD LITEM                             2851 South La Cadena Drive Space 227                                                 Colton                       CA        92324                  Litigation          X           Unknown
 D.R.                       James F. Randall                                                           16829 Daisy Avenue                                                                   Fountain Valley              CA        92708                  Litigation          X           Unknown
 D.R.                       Natalia Rodriguez                                                          3424 Gosling St.                                                                     Las Vegas                    NV        89117                  Litigation          X           Unknown
 D.S.                       DAMIEN RICHARDSON, AS PARENT AND GUARDIAN AD LITEM                         16232 Vallejo Street                                                                 Victorville                  CA        92395                  Litigation          X           Unknown
 D.S.                       Lou Ann Sandman                                                            980 W 7th Street #2                                                                  San Pedro                    CA      90731-3061               Litigation          X           Unknown
 D.S.                       Marshall Scaife, as parent and guardian                                    5771 Lotus Street                                                                    Riverside                    CA        92509                  Litigation          X           Unknown
 D.S.                       Peter K. Schubert                                                          28965 Pablo St.                                                                      Nuevo                        CA        92567                  Litigation          X           Unknown
 D.S.                       Scott Michael Linares                                                      4639 Jurupa Ave.                                                                     Riverside                    CA        92506                  Litigation          X           Unknown
 D.T.                       Ariana Gurrola                                                             5184 E. Vernon Street                                                                Long Beach                   CA        90815                  Litigation          X           Unknown
 D.T.                       c/o Marla Thompson                                                         2572 Rancho Drive                                                                    Riverside                    CA        92507                  Litigation          X           Unknown
 D.V.                       Victoria Valadez                                                           18869 9th Street                                                                     Bloomington                  CA        92316                  Litigation          X           Unknown
 D.V.                       Yldefonso Valdes                                                           1463 Drummer Cir                                                                     San Jacinto                  CA      92583-5134               Litigation          X           Unknown
 D.W.                       Darlene Lover                                                              5750 Kenwood Place                                                                   Riverside                    CA        92509                  Litigation          X           Unknown
 D.W.                       Delma Rose Lee                                                             11575 Kayal Avenue                                                                   Moreno Valley                CA        92557                  Litigation          X           Unknown
 D.W.                       RACHELLE MAYO, AS PARENT AND GUARDIAN AD LITEM                             2836 Demeter Place                                                                   Riverside                    CA        92509                  Litigation          X           Unknown
 D.W.                       RARCHELLE MAYO, AS PARENT AND GUARDIAN AD LITEM                            2836 Demeter Place                                                                   Riverside                    CA        92509                  Litigation          X           Unknown
 D.W.                       Shirlene Tillard, as parent and guardian                                   1441 Massachusetts Avenue- 103                                                       Riverside                    CA        92507                  Litigation          X           Unknown
 E. B.                      Catherine Dorothea Slavin                                                  3428 Bloomingdale Rd.                                                                Kingsport                    TN        37660                  Litigation          X           Unknown
 E. B.                      Brenda Briggs                                                              3 Ladd Rd.                                                                           Sturbridge                   MA        01566                  Litigation          X           Unknown
 E. C.                      Isabel Clouser                                                             1505 La Fonda Dr. # 1414                                                             Las Cruses                   NM        88001                  Litigation          X           Unknown
 E. M.                      Michelle G. Martin                                                         805 Lapsley St.                                                                      Selma                        AL        36701                  Litigation          X           Unknown
 E.A.                       Ramon Amaya                                                                27290 Vista Avenue                                                                   Perris                       CA        92570                  Litigation          X           Unknown
 E.B.                       Barbara Jean Butts                                                         5745 Favela Drive                                                                    Riverside                    CA        92509                  Litigation          X           Unknown
 E.B.                       Darnell Butts                                                              5315 El Rio Avenue                                                                   Riverside                    CA        92509                  Litigation          X           Unknown
 E.B.                       MIRNA GAXIOLA, AS PARENT AND GUARDIAN AD LITEM                             5790 Newton Street                                                                   Riverside                    CA        92509                  Litigation          X           Unknown
 E.C.                       BERTHA CORONA, AS PARENT AND GUARDIAN AD LITEM                             899 West G Street                                                                    Colton                       CA        92324                  Litigation          X           Unknown
 E.C.                       IRIS VIOLETA CARLOS, AS PARENT AND GUARDIAN AD LITEM                       27655 Summerfield Lane                                                               San Juan Capistrano          CA        92675                  Litigation          X           Unknown
 E.C.                       Iris Violeta Carlos, as parent and guardian                                27655 Summerfield Lane                                                               San Juan Capistrano          CA        92675                  Litigation          X           Unknown
 E.C.                       Trisha Christensen, as parent and guardian                                 5673 Bella Drive                                                                     Riverside                    CA        92509                  Litigation          X           Unknown
 E.C.                       c/o Mary Ewing                                                             412 N. Kimball                                                                       Danville                     IL        61832                  Litigation          X           Unknown
 E.D.                       Jill Ann Dye                                                               12753 13th St.                                                                       Yucaipa                      CA        92399                  Litigation          X           Unknown
 E.D.                       Rosita Domenden                                                            24524 Island Avenue                                                                  Carson                       CA        90745                  Litigation          X           Unknown
 E.D.                       c/o Daniel Dutch                                                           7811 6th St.                                                                         Downey                       CA        90241                  Litigation          X           Unknown
 E.G.                       Angela Garcia                                                              22033 Rocky Hills Road                                                               Perris                       CA        92570                  Litigation          X           Unknown
 E.G.                       Blanca Gonzalez                                                            11756 Cricket Drive                                                                  Bloomington                  CA        92316                  Litigation          X           Unknown
 E.G.                       Eric Griffin                                                               9567 51st Street                                                                     Riverside                    CA        92509                  Litigation          X           Unknown
 E.G.                       Kathe G. Jones                                                             223 Glenn Rd.                                                                        West Columbia                SC        29172                  Litigation          X           Unknown
 E.G.                       Kathe G. Jones                                                             223 Glenn Rd.                                                                        West Columbia                SC        29172                  Litigation          X           Unknown
 E.G.                       Marcell Glickman                                                           1481 S. Shenandoah St. #204                                                          Los Angeles                  CA        90035                  Litigation          X           Unknown
 E.H.                       FRANCISCO HERNANDEZ, AS PARENT AND GUARDIAN AD LITEM                       18674 11th Street                                                                    Bloomington                  CA        92316                  Litigation          X           Unknown
 E.H.                       Gladys Hernandez                                                           24432 Marbella Avenue                                                                Carson                       CA        90745                  Litigation          X           Unknown
 E.H.                       Mickiey Hatley                                                             66729 El Dorado Place                                                                Desert Hot Springs           CA        92240                  Litigation          X           Unknown
 E.H.                       MONICA CECILIA HERNANDEZ, AS PARENT AND GUARDIAN AD LITEM                  3076 Avalon Street                                                                   Riverside                    CA        92509                  Litigation          X           Unknown
 E.J.                       IRIS VIOLETA CARLOS, AS PARENT AND GUARDIAN AD LITEM                       27655 Summerfield Lane                                                               San Juan Capistrano          CA        92675                  Litigation          X           Unknown
 E.J.                       James Edwin Johnson (spouse) and Raymond Johnson - POA for James           1105 East 78th Place                                                                 Denver                       CO        80229                  Litigation          X           Unknown




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                                                                                                                                                                                                                                                          Contingent,
                Name1                                     Name2                    Name3                        Address1                                             Address2                      City   State      Zip       Country   Basis of Claim                  Claim Amount
                                                                                                                                                                                                                                                          Unliquidated

 E.L.                       Jesse Burl Lowrey                                              24502 Neptune Avenue                                                                 Carson                     CA       90745                  Litigation          X           Unknown
 E.L.                       Raul Gil Lopez                                                 11932 Pepper Street                                                                  Bloomington                CA       92316                  Litigation          X           Unknown
 E.M.                       Maria Loza, as parent and guardian                             4233 Aero Lane                                                                       Riverside                  CA       92509                  Litigation          X           Unknown
 E.M.                       RUBEN MUNOZ SR., AS PARENT AND GUARDIAN AD LITEM               18854 4th Street                                                                     Bloomington                CA       92316                  Litigation          X           Unknown
 E.N.                       JOHN PRINGLE                                                   P.O. Box 3875                                                                        Riverside                  CA       92509                  Litigation          X           Unknown
 E.P.                       Eden Clausen                                                   4510 Laurette Street                                                                 Torrance                   CA       90503                  Litigation          X           Unknown
 E.P.                       Ronnie Pena                                                    3150 Wallace Street                                                                  Riverside                  CA       92509                  Litigation          X           Unknown
 E.R.                       April Rivera                                                   512 E 244th Street                                                                   Carson                     CA       90745                  Litigation          X           Unknown
 E.R.                       ELENA GONZALEZ, AS PARENT AND GUARDIAN AD LITEM                4888 Rutile Street                                                                   Riverside                  CA       92509                  Litigation          X           Unknown
 E.R.                       ELENA GONZALEZ, AS PARENT AND GUARDIAN AD LITEM                4888 Rutile Street                                                                   Riverside                  CA       92509                  Litigation          X           Unknown
 E.R.                       ELENA GONZALEZ, AS PARENT AND GUARDIAN AD LITEM                4888 Rutile Street                                                                   Riverside                  CA       92509                  Litigation          X           Unknown
 E.R.                       Ernest R. Roybal                                               600 Rimrock Road- Space 28                                                           Barstow                    CA       92311                  Litigation          X           Unknown
 E.R.                       Guillermina Del Alva                                           19362 Jurupa Avenue                                                                  Bloomington                CA       92316                  Litigation          X           Unknown
 E.R.                       Reyna Acosta                                                   5618 Tilton Avenue- Apt. 158                                                         Riverside                  CA       92509                  Litigation          X           Unknown
 E.R.                       Norma Rivera                                                   11424 Pepper Street                                                                  Bloomington                CA       92316                  Litigation          X           Unknown
 E.S.                       Celina Solano                                                  5310 Canyon Crest Dr.- Apt 19                                                        Riverside                  CA       92507                  Litigation          X           Unknown
 E.S.                       Jessica Holley, as parent and guardian                         2984 Taos Drive                                                                      Riverside                  CA       92509                  Litigation          X           Unknown
 E.S.                       Leonida Salud                                                  24406 Marbella Avenue                                                                Carson                     CA       90745                  Litigation          X           Unknown
 E.S.                       REYNALDO SALAZAR, AS PARENT AND GUARDIAN AD LITEM              3463 Pontiac Avenue                                                                  Riverside                  CA       92509                  Litigation          X           Unknown
 E.S.                       Anice Kasim                                                    Address Unknown                                                                                                                                 Litigation          X           Unknown
 E.T.                       Cecilia Apostol                                                1912 Eleanor Pl.                                                                     Lomita                     CA       90717                  Litigation          X           Unknown
 E.T.                       David Lee Tolbert II                                           5665 29th Street                                                                     Riverside                  CA       92509                  Litigation          X           Unknown
 E.T.                       Tamatha Hunter                                                 5414 Borden Avenue                                                                   Galveston                  TX       77551                  Litigation          X           Unknown
 E.T.                       c/o Jason Tamvakis                                             101 South Old Coachman Rd., Apt 108                                                  Clearwater                 FL       33765                  Litigation          X           Unknown
 E.T.                       c/o Walter & Aarum Troya                                       13420 Roselle Ave #E                                                                 Hawthorne                  CA       90250                  Litigation          X           Unknown
 E.V.                       Johnny Vallecillo                                              P.O. Box 3326                                                                        Riverside                  CA       92509                  Litigation          X           Unknown
 E.V.                       MANUEL VALENZUELA, AS PARENT AND GUARDIAN AD LITEM             5236 El Rivino Road                                                                  Riverside                  CA       92509                  Litigation          X           Unknown
 E.W.                       c/o Lawrence I Young                                           600 W. Main St. Ste. 100                                                             Louisville                 KY       40202                  Litigation          X           Unknown
 F.A.                       Wilhelmina R. Acosta                                           24426 Panama Avenue                                                                  Carson                     CA       90745                  Litigation          X           Unknown
 F.B.                       Mary Beyer                                                     374 E. 248th St.                                                                     Carson                     CA       90745                  Litigation          X           Unknown
 F.B.                       MIRNA GAXIOLA, AS PARENT AND GUARDIAN AD LITEM                 5790 Newton Street                                                                   Riverside                  CA       92509                  Litigation          X           Unknown
 F.C.                       ALICIA CASAS, AS PARENT AND GUARDIAN AD LITEM                  18475 Gregory Street                                                                 Bloomington                CA       92316                  Litigation          X           Unknown
 F.C.                       Alicia Casas, as parent and guardian                           18475 Gregory Street                                                                 Bloomington                CA       92316                  Litigation          X           Unknown
 F.C.                       AMELIA CARRILLO, AS PARENT AND GUARDIAN AD LITEM               18783 13th Street                                                                    Bloomington                CA       92316                  Litigation          X           Unknown
 F.C.                       Martha Casas                                                   18380 Manila St.                                                                     Bloomington                CA       92316                  Litigation          X           Unknown
 F.C.                       Yvonne R. Hernandez                                            3956 Driving Range Road                                                              Riverside                  CA       92509                  Litigation          X           Unknown
 F.D.                       Thelma Delfin                                                  24632 Neptune Avenue                                                                 Carson                     CA       90745                  Litigation          X           Unknown
 F.F.                       Melanie Atuatasi                                               23318 Sesame St.- Unit A                                                             Torrance                   CA       90502                  Litigation          X           Unknown
 F.F.                       Melanie Atuatasi                                               23318 Sesame St.- Unit A                                                             Torrance                   CA       90502                  Litigation          X           Unknown
 F.G.                       MARIA CERVANTEZ, AS PARENT AND GUARDIAN AD LITEM               17333 E. Valley Blvd.- Space 118                                                     Fontana                    CA       92335                  Litigation          X           Unknown
 F.G.                       c/o Sin P Yang                                                 110 W Las Tunas Dr, #F                                                               San Bagriel                CA       91776                  Litigation          X           Unknown
 F.H.                       Irene Huerto                                                   24513 Neptune Avenue                                                                 Carson                     CA       90745                  Litigation          X           Unknown
 F.L.                       Jody Lynn Louis                                                5335 El Rio Avenue Apartment C                                                       Riverside                  CA       92509                  Litigation          X           Unknown
 F.L.                       ROSA LEYVA, AS PARENT AND GUARDIAN AD LITEM                    2754 Avalon Street                                                                   Riverside                  CA       92509                  Litigation          X           Unknown
 F.L.                       ROSA LEYVA, AS PARENT AND GUARDIAN AD LITEM                    2754 Avalon Street                                                                   Riverside                  CA       92509                  Litigation          X           Unknown
 F.M.                       Alba Hermosillo                                                17647 Otilla Street                                                                  Bloomington                CA       92316                  Litigation          X           Unknown
 F.M.                       Magdalena Raskopf                                              42274 Woodstone Lane                                                                 Lancaster                  CA       93536                  Litigation          X           Unknown
 F.P.                       Al Savin                                                       5066 Riverview Dr.                                                                   Riverside                  CA       92509                  Litigation          X           Unknown
 F.P.                       Debbie Pitts                                                   P.O. Box 33285                                                                       Riverside                  CA       92519                  Litigation          X           Unknown
 F.P.                       Marla Pendleton                                                2170 Loveland Drive                                                                  Riverside                  CA       92509                  Litigation          X           Unknown
 F.S.                       JULIETA CASTILLO, AS PARENT AND GUARDIAN AD LITEM              1165 Huff Street                                                                     San Bernardino             CA       92410                  Litigation          X           Unknown
 F.T.                       Cecilia Apostol                                                1912 Eleanor Pl.                                                                     Lomita                     CA       90717                  Litigation          X           Unknown
 F.T.                       Sheila Sulu                                                    344 E 249th Street                                                                   Carson                     CA       90745                  Litigation          X           Unknown
 F.W.                       Christina Bird                                                 557 E. 223rd St.                                                                     Carson                     CA     90745-2725               Litigation          X           Unknown
 G. P.                      Monique Mendez                                                 197 Old Johnsonville Rd                                                              New Johnsonville           TN       37134                  Litigation          X           Unknown
 G. S.                      Traci Snyder                                                   500 Vine St                                                                          Pen Argyl                  PA       18072                  Litigation          X           Unknown
 G.A.                       Kathleen Ponce                                                 24523 Neptune Avenue                                                                 Carson                     CA       90745                  Litigation          X           Unknown
 G.A.                       Reyna Acosta                                                   5618 Tilton Avenue- #158                                                             Riverside                  CA       92509                  Litigation          X           Unknown
 G.A.                       Yolanda Jelenic                                                1378 W 26th Place                                                                    San Pedro                  CA       90732                  Litigation          X           Unknown
 G.A.                       C/O Dennis Oulela                                              15301 N. Oracle Rd. #90                                                              Tucson                     AZ       85739                  Litigation          X           Unknown
 G.B.                       DIAMANTINA BELMONTE, AS PARENT AND GUARDIAN AD LITEM           P.O. Box 310626                                                                      Fontana                    CA       92331                  Litigation          X           Unknown
 G.B.                       Minerva Jean Butler                                            2836 Demeter Place                                                                   Riverside                  CA       92509                  Litigation          X           Unknown




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                                                                                                                                                                                                                                                                  Contingent,
                Name1                                          Name2                        Name3                         Address1                                             Address2                     City   State     Zip       Country   Basis of Claim                  Claim Amount
                                                                                                                                                                                                                                                                  Unliquidated

 G.B.                       Ralph A. Bravo Sr and Irene Gutierrez                                   5380 24th Street                                                                      Rubidoux                 CA       92509                  Litigation          X           Unknown
 G.B.                       Virginia Eara Butts                                                     5627 Fleming Avenue                                                                   Oakland                  CA       94605                  Litigation          X           Unknown
 G.C.                       Yesenia Su                                                              5535 28th Street                                                                      Riverside                CA       92509                  Litigation          X           Unknown
 G.C.                       ROSALBA CASAS, AS PARENT AND GUARDIAN AD LITEM                          11175 Seabreeze Court                                                                 Bloomington              CA       92316                  Litigation          X           Unknown
 G.C.                       Rosalba Casas, as parent and guardian                                   11175 Seabreeze Court                                                                 Bloomington              CA       92316                  Litigation          X           Unknown
 G.C.                       TAMMY MEININGER, AS PARENT AND GUARDIAN AD LITEM                        540 Kirk Street                                                                       Colton                   CA       92324                  Litigation          X           Unknown
 G.F.                       Howard Davis                                                            7959 Primrose Ln                                                                      Highland                 CA       92346                  Litigation          X           Unknown
 G.F.                       Maria Fonseca                                                           2669 Hall Avenue                                                                      Riverside                CA       92509                  Litigation          X           Unknown
 G.G.                       Esther Gutierrez                                                        19454 El Rivino Road                                                                  Riverside                CA       92509                  Litigation          X           Unknown
 G.G.                       Esther Gutierrez, as parent and guardian                                19454 El Rivino Road                                                                  Riverside                CA       92509                  Litigation          X           Unknown
 G.G.                       Eun Sun Greer                                                           2 Soaring Hawk                                                                        Irvine                   CA       92614                  Litigation          X           Unknown
 G.G.                       Marina Cervantez                                                        17333 E. Valley Blvd.- Space 118                                                      Fontana                  CA       92335                  Litigation          X           Unknown
 G.G.                       NICOLE CEBALLOS, AS PARENT AND GUARDIAN AD LITEM                        2020 N. Guthrie St. # C-16                                                            San Bernardino           CA       92404                  Litigation          X           Unknown
 G.I.                       MARIA MORALES, AS PARENT AND GUARDIAN AD LITEM                          18516 8th Street                                                                      Bloomington              CA       92316                  Litigation          X           Unknown
 G.K.                       Barbara D. Keelin                                                       753 Cypress Avenue                                                                    Colton                   CA       92324                  Litigation          X           Unknown
 G.L.                       Ana Cortez                                                              24710 Marbella Avenue                                                                 Carson                   CA       90745                  Litigation          X           Unknown
 G.M.                       Danyell McGee Croom                                                     5356 O'Dell Street                                                                    Riverside                CA       92509                  Litigation          X           Unknown
 G.M.                       MARICELA MORENO, AS PARENT AND GUARDIAN AD LITEM                        10624 Robury Avenue                                                                   Bloomington              CA       92316                  Litigation          X           Unknown
 G.M.                       Quette Joyce Luke                                                       286 Parkview Ext.                                                                     Athens                   GA       30605                  Litigation          X           Unknown
 G.M.                       Veronica Maldonado                                                      4121 Wallace Street                                                                   Riverside                CA       92509                  Litigation          X           Unknown
 G.O.                       Linda Gallegos                                                          1574 Eudora Ave.                                                                      Wilmington               CA       90744                  Litigation          X           Unknown
 G.O.                       Linda Gallegos                                                          1110 Collins Avenue                                                                   Carvethersville          MO       63830                  Litigation          X           Unknown
 G.P.                       Marla Pendleton                                                         2170 Loveland Drive                                                                   Riverside                CA       92509                  Litigation          X           Unknown
 G.R.                       Angelica Ramirez                                                        11025 Spruce Avenue                                                                   Bloomington              CA       92316                  Litigation          X           Unknown
 G.R.                       ARACELY ROBLES, AS PARENT AND GUARDIAN AD LITEM                         6627 Piccadilly Street                                                                Riverside                CA       92506                  Litigation          X           Unknown
 G.R.                       DANIELLE REYES, AS PARENT AND GUARDIAN AD LITEM                         2720 Hall Avenue                                                                      Riverside                CA       92509                  Litigation          X           Unknown
 G.R.                       Eva Tello, as parent and guardian                                       18815 11th Street                                                                     Bloomington              CA       92316                  Litigation          X           Unknown
 G.R.                       JENNIFER ROTELLINI, AS PARENT AND GUARDIAN AD LITEM                     1533 E Ocean                                                                          Newport Beach            CA       92661                  Litigation          X           Unknown
 G.R.                       Maria P. Calvert                                                        5339 Paloma Road                                                                      Riverside                CA       92509                  Litigation          X           Unknown
 G.S.                       Blanche M. Banuelos                                                     4420 Fairbanks Avenue                                                                 Riverside                CA       92509                  Litigation          X           Unknown
 G.S.                       Joyce Sayre-Smith                                                       24401 Marbella Avenue                                                                 Carson                   CA       90745                  Litigation          X           Unknown
 G.S.                       Regina Packard                                                          16405 Paulina Street                                                                  Markham                  IL       60428                  Litigation          X           Unknown
 G.S.                       Sally Melendrez                                                         402 E 249th Street                                                                    Carson                   CA       90745                  Litigation          X           Unknown
 G.T.                       Ariana Gurrola                                                          5184 E. Vernon Street                                                                 Long Beach               CA       90815                  Litigation          X           Unknown
 G.T.                       Gerardo Tiliano Contreras                                               11942 Hall Avenue                                                                     Bloomington              CA       92316                  Litigation          X           Unknown
 G.V.                       LORENA VARGAS, AS PARENT AND GUARDIAN AD LITEM                          4042 Dell Avenue                                                                      Riverside                CA       92509                  Litigation          X           Unknown
 G.V.                       Mary Vidales                                                            3509 Pontiac St.                                                                      Riverside                CA       92509                  Litigation          X           Unknown
 H                          Eka Sulistiowati                                                        Kota Bogor                                                                            Jawa Barat                0       16152   Indonesia      Litigation          X           Unknown
 H. G.                      Allison Gable                                                           16 Tremont St.                                                                        Milford                  CT       06460                  Litigation          X           Unknown
 H.C.                       ANGEL CHAGOLLA, AS PARENT AND GUARDIAN AD LITEM                         1071 W Cheshire Street                                                                Rialto                   CA       92316                  Litigation          X           Unknown
 H.C.                       Cynthia Crosby                                                          17073 La Vesu Road                                                                    Fontana                  CA       92337                  Litigation          X           Unknown
 H.E.                       OSCAR ESCOBEDO, AS PARENT AND GUARDIAN AD LITEM                         Post Office Box 1541                                                                  Montebello               CA       90640                  Litigation          X           Unknown
 H.F.                       GLENN RICHARD FRANCO, AS PARENT AND GUARDIAN AD LITEM                   548 Tolouse Avenue                                                                    Riverside                CA       92501                  Litigation          X           Unknown
 H.J.                       Beatriz Jasso                                                           2600 Redwood Lane- Apt. 34                                                            Anderson                 CA       96007                  Litigation          X           Unknown
 H.L.                       JoAnne Lafferty                                                         5660 34th St.                                                                         Riverside                CA       92509                  Litigation          X           Unknown
 H.M.                       c/o Ashley Kester                                                       1836 Ash Tree Lane                                                                    Colton                   CA       92324                  Litigation          X           Unknown
 H.N.                       Rias Ramadhan A.S. Bin Misyadi; Hana Kamila Chariunisa Binti;           Address Unknown                                                                                                                                Litigation          X           Unknown
 H.P.                       Gary Pena                                                               4441 Newby Drive                                                                      Riverside                 CA      92505                  Litigation          X           Unknown
 H.P.                       Justina P Palicte                                                       24717 Marbella Avenue                                                                 Carson                    CA      90745                  Litigation          X           Unknown
 H.P.                       Larry Edward Poteet                                                     101 Santa Lucia Drive                                                                 Hemet                     CA      92543                  Litigation          X           Unknown
 H.P.                       Leroy Clyde Pena Jr.                                                    3120 Wallace Street                                                                   Rubidoux                  CA      92509                  Litigation          X           Unknown
 H.P.                       Ronnie Leroy Pena                                                       3150 Wallace Street                                                                   Riverside                 CA      92509                  Litigation          X           Unknown
 H.S.                       Joyce Sayre-Smith                                                       24401 Marbella Avenue                                                                 Carson                    CA      90745                  Litigation          X           Unknown
 H.S.                       Latisha Simmons                                                         286 Parkview Extension                                                                Athens                    GA      30605                  Litigation          X           Unknown
 H.S.                       Pheneda Smith                                                           545 S. Hewitt St.                                                                     San Jacinto               CA      92583                  Litigation          X           Unknown
 H.S.                       Tina Sharp                                                              7673 N Hanna Ave.                                                                     Fresno                    CA      93722                  Litigation          X           Unknown
 H.S.                       Velma Jane Guinn                                                        3655 Arora Street                                                                     Riverside                 CA      92509                  Litigation          X           Unknown
 H.S.                       Johan Harry Saroinsong & Zila Venita                                    Address Unknown                                                                       Jakarta                           10430   indonesia      Litigation          X           Unknown
 H.W.                       Henry Watanabe                                                          24629 Neptune Avenue                                                                  Carson                   CA       90745                  Litigation          X           Unknown
 I. Q.                      Martha Quang                                                            1185 Fair Oaks Ave Apt. # A                                                           Arroyo Grande            CA       93420                  Litigation          X           Unknown
 I. T.                      Yolanda Torres                                                          1925 East 32nd Street                                                                 Lorain                   OH       44055                  Litigation          X           Unknown
 I.A.                       Sandra Anghileri                                                        15325 Cranbrook Avenue                                                                Lawndale                 CA       90260                  Litigation          X           Unknown




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                                                                                                                                                                                                                                                            Contingent,
                Name1                                     Name2                         Name3                        Address1                                             Address2                       City   State     Zip    Country   Basis of Claim                  Claim Amount
                                                                                                                                                                                                                                                            Unliquidated

 I.B.                       Jose Jaime Barba                                                    1403 W Beacon Ave.                                                                   Anaheim                    CA       92802               Litigation          X           Unknown
 I.C.                       Angel Guerra-Chagolla                                               1071 W Cheshire Street                                                               Rialto                     CA       92377               Litigation          X           Unknown
 I.C.                       Rosa Isela Cabrales                                                 18884 14th Street                                                                    Bloomington                CA       92316               Litigation          X           Unknown
 I.C.                       Trisha Christensen, as parent and guardian                          5673 Bella Drive                                                                     Riverside                  CA       92509               Litigation          X           Unknown
 I.E.                       ARACELI ESPARZA, AS PARENT AND GUARDIAN AD LITEM                    4490 Columbia Ave.                                                                   Riverside                  CA       92501               Litigation          X           Unknown
 I.E.                       Araceli Esparza, as parent and guardian                             4490 Columbia Ave.                                                                   Riverside                  CA       92501               Litigation          X           Unknown
 I.F.                       Christian J. Figueroa                                               24402 Neptune Avenue                                                                 Carson                     CA       90745               Litigation          X           Unknown
 I.G.                       Josefina M. Luna, as parent and guardian                            12042 Hall Avenue                                                                    Bloomington                CA       92316               Litigation          X           Unknown
 I.G.                       MARIA MARLEN GARCIA, AS PARENT AND GUARDIAN AD LITEM                3055 East Las Cadena Drive                                                           Riverside                  CA       92507               Litigation          X           Unknown
 I.G.                       ROSE HOLLEY, AS PARENT AND GUARDIAN AD LITEM                        6442 Rathke Drive                                                                    Riverside                  CA       92509               Litigation          X           Unknown
 I.H.                       IRENE VALDEZ, AS PARENT AND GUARDIAN AD LITEM                       6836 36th Street                                                                     Riverside                  CA       92509               Litigation          X           Unknown
 I.J.                       Maria Llievanos, as parent and guardian                             6223 Tarragona Drive                                                                 Riverside                  CA       92509               Litigation          X           Unknown
 I.J.                       Terri Jones                                                         1324 Stillman Ave.- Apt. 106                                                         Redlands                   CA       92374               Litigation          X           Unknown
 I.L.                       MARTINA JUAREZ, AS PARENT AND GUARDIAN AD LITEM                     2812 Heller Drive                                                                    Riverside                  CA       92509               Litigation          X           Unknown
 I.M.                       CHRISTINA GAYLE MONTAGUE, AS PARENT AND GUARDIAN AD LITEM           5528 Molino Way                                                                      Rubidoux                   CA       92509               Litigation          X           Unknown
 I.M.                       CRYSTAL MEDINILLA, AS PARENT AND GUARDIAN AD LITEM                  10648 Dumond Avenue                                                                  Bloomington                CA       92316               Litigation          X           Unknown
 I.M.                       James E. Moore                                                      11253 Bridle Lane                                                                    Victorville                CA       92392               Litigation          X           Unknown
 I.M.                       SHANNON CHERI BROWN, AS PARENT AND GUARDIAN AD LITEM                2720 Avalon Street                                                                   Riverside                  CA       92509               Litigation          X           Unknown
 I.P.                       Phillip Pantaleon                                                   14448 Bloomfield Avenue                                                              Chino Hills                CA       91710               Litigation          X           Unknown
 I.R.                       Guadalupe Lopez                                                     2139 E. 4th Street- Space 19                                                         Ontario                    CA       91764               Litigation          X           Unknown
 I.T.                       TILOMAI FUKA, AS PARENT AND GUARDIAN AD LITEM                       720 Berry Street                                                                     Colton                     CA       92324               Litigation          X           Unknown
 I.V.                       CHANEL DANIELS, AS PARENT AND GUARDIAN AD LITEM                     6836 36th Street                                                                     Riverside                  CA       92509               Litigation          X           Unknown
 I.V.                       RITA VALDEZ, AS PARENT AND GUARDIAN AD LITEM                        6836 36th Street                                                                     Riverside                  CA       92509               Litigation          X           Unknown
 J. B.                      Lynn Keltz                                                          286 Pleasant Street                                                                  Laconia                    NH       03246               Litigation          X           Unknown
 J. B.                      Bobbi Sue Burns                                                     1101 Hearth Lane SW                                                                  Concord                    NC       28025               Litigation          X           Unknown
 J. C.                      Xenia Cotarelo                                                      6841 SW 4th Street                                                                   Miami                      FL       33144               Litigation          X           Unknown
 J. C.                      Tritina Moorer                                                      2224 Wind Trace Circle Apt. A                                                        Huntsville                 AL       35805               Litigation          X           Unknown
 J. C.                      Roy Chandler                                                        7509 Irongate Dr                                                                     Hixson                     TN       37343               Litigation          X           Unknown
 J. C.                      Lozel Tarver                                                        6242 Elam Rd.                                                                        Garfield                   GA       30425               Litigation          X           Unknown
 J. D.                      Jane Dampf                                                          56 S Linwood Ave. Apt. C6                                                            Indianapolis               IN       46201               Litigation          X           Unknown
 J. H.                      Roylene Abernathy                                                   2506 NE 52nd St.                                                                     Kansas City                MO       64118               Litigation          X           Unknown
 J. L.                      Nichole Timothy                                                     6375 S Dry Wind Dr.                                                                  Taylorsville               UT       84123               Litigation          X           Unknown
 J. M.                      Cynthia Barela                                                      2621 N Jefferson St.                                                                 Hobbs                      NM       88240               Litigation          X           Unknown
 J. P.                      Donna Preuit                                                        314 Knotty Walls Road                                                                Owens Cross Roads          AL       35763               Litigation          X           Unknown
 J. S.                      Linda Smith                                                         209 S. Grand Ave #14                                                                 Mabank                     TX       75147               Litigation          X           Unknown
 J. S.                      Linda Shambee                                                       721 Karey Drive                                                                      Temple                     TX       76502               Litigation          X           Unknown
 J. S.                      Barbara Shanks                                                      1200 Josephine Cross St.                                                             Kentwood                   LA       70444               Litigation          X           Unknown
 J. S.                      J.S. BF 6211                                                         5150 O'Byrnes Ferry Road, Dorm 64 Bunk 12 Low                                       Jamestown                  CA       95327               Litigation          X           Unknown
 J. T.                      Marijo Schlottke                                                    W179S6562 Hardtke Drive                                                              Muskego                    WI       53150               Litigation          X           Unknown
 J. W.                      Tylerea Washington                                                  4910 Bell Ave.                                                                       Blue Ash                   OH       45242               Litigation          X           Unknown
 J.A.                       Arthur Aguayo                                                       3539 Ash Street                                                                      Lake Elsinore              CA       92530               Litigation          X           Unknown
 J.A.                       Maria Luisa Arroyo                                                  3246 Pontiac Avenue                                                                  Riverside                  CA       92509               Litigation          X           Unknown
 J.A.                       Melanie Atuatasi                                                    23318 Sesame St.- Unit A                                                             Torrance                   CA       90502               Litigation          X           Unknown
 J.A.                       Myrtha Alfaro                                                       3191 Rubidoux Boulevard                                                              Riverside                  CA       92509               Litigation          X           Unknown
 J.B.                       ALISHA MARIE BENAVIDEZ, AS PARENT AND GUARDIAN AD LITEM             21855 Sheri Lane                                                                     Wildomar                   CA       92595               Litigation          X           Unknown
 J.B.                       ALISHA MARIE BENAVIDEZ, AS PARENT AND GUARDIAN AD LITEM             21855 Sheri Lane                                                                     Wildomar                   CA       92595               Litigation          X           Unknown
 J.B.                       Kathleen Muniz                                                      1525 W. Main St. Spc 34                                                              Barstow                    CA       92311               Litigation          X           Unknown
 J.B.                       Kathleen Muniz                                                      1525 W. Main- Space #34                                                              Barstow                    CA       92311               Litigation          X           Unknown
 J.B.                       Kathleen Ponce                                                      24523 Neptune Avenue                                                                 Carson                     CA       90745               Litigation          X           Unknown
 J.B.                       Lorrie Bryant Hernandez                                             5235 W. Wathen Ave.                                                                  Fresno                     CA       93722               Litigation          X           Unknown
 J.B.                       Rosa Sanchez and Julian Bautista                                    6308 Rustic Lane                                                                     Riverside                  CA       92509               Litigation          X           Unknown
 J.B.                       S. GREGORY HAYS                                                     1950 Barrett Lakes Blvd NW- Apt 1627                                                 Kennesaw                   GA       30144               Litigation          X           Unknown
 J.B.                       Sharmal Williams                                                    10276 Sycamore Canyon Rd.                                                            Moreno Valley              CA       92557               Litigation          X           Unknown
 J.B.                       Vicente Bondoc                                                      19482 Hansen Ln                                                                      Huntington Beach           CA       92646               Litigation          X           Unknown
 J.C.                       Bessie Irene Carrera                                                24411 Marbella Avenue                                                                Carson                     CA       90745               Litigation          X           Unknown
 J.C.                       Evelia Constantino                                                  16124 Orange Citrus Avenue                                                           Fontana                    CA       92335               Litigation          X           Unknown
 J.C.                       GABRIELA CHAPA, AS PARENT AND GUARDIAN AD LITEM                     24708 Fay Avenue                                                                     Moreno Valley              CA       92551               Litigation          X           Unknown
 J.C.                       GABRIELA CHAPA, AS PARENT AND GUARDIAN AD LITEM                     24708 Fay Avenue                                                                     Moreno Valley              CA       92551               Litigation          X           Unknown
 J.C.                       Harrison Cole                                                       13228 Eyola Drive                                                                    Moreno Valley              CA       92555               Litigation          X           Unknown
 J.C.                       JAMES GREGORY CHAVEZ, AS PARENT AND GUARDIAN AD LITEM               15230 Olive Street                                                                   Hesperia                   CA       92345               Litigation          X           Unknown
 J.C.                       Maria Sidelina Gama Muro                                            PO Box 463                                                                           Llano                      CA       93544               Litigation          X           Unknown
 J.C.                       SHANNA HOLLEY-COBBS, AS PARENT AND GUARDIAN AD LITEM                19324 De Marco Road                                                                  Riverside                  CA       92508               Litigation          X           Unknown




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                Name1                                     Name2                         Name3                        Address1                                             Address2                        City   State      Zip         Country   Basis of Claim                  Claim Amount
                                                                                                                                                                                                                                                                   Unliquidated

 J.C.                       Yolanda Carrillo                                                    10775 William Avenue                                                                    Bloomington              CA        92316                    Litigation          X           Unknown
 J.D.                       Jerline Bedford                                                     14849 Rembrandt Drive                                                                   Moreno Valley            CA        92553                    Litigation          X           Unknown
 J.D.                       William E. Dobberpuhl                                               3167-B Wallace Street                                                                   Riverside                CA        92509                    Litigation          X           Unknown
 J.E.                       c/o Tamara Marbury                                                  5910 Mission Blvd.                                                                      Riverside                CA        92509                    Litigation          X           Unknown
 J.E.                       c/o Erik Ahlgren                                                    220 W. Washington Ave Ste. 105                                                          Fergus Falls             MN        56537                    Litigation          X           Unknown
 J.F.                       Ruth Feldt                                                          24703 Neptune Avenue                                                                    Carson                   CA        90745                    Litigation          X           Unknown
 J.F.                       Veronica A. Frando                                                  17817 Valley Blvd                                                                       Bloomington              CA        92316                    Litigation          X           Unknown
 J.G.                       Analberta Gomez, as parent and guardian                             847 West H Street                                                                       Colton                   CA        92324                    Litigation          X           Unknown
 J.G.                       Christopher Gonzalez                                                4604 N. Lakewood Dr.                                                                    San Bernardino           CA        92407                    Litigation          X           Unknown
 J.G.                       Doreen Carr                                                         36019 Elaine Way                                                                        Yucaipa                  CA        92399                    Litigation          X           Unknown
 J.G.                       Eira Castillejos                                                    P.O. Box 1126                                                                           Bloomington              CA        92316                    Litigation          X           Unknown
 J.G.                       Kimberly McGee                                                      10701 Larch Avenue                                                                      Bloomington              CA        92316                    Litigation          X           Unknown
 J.G.                       MARIA DELOURDES SOTO, AS PARENT AND GUARDIAN AD LITEM               3574 Arora Street                                                                       Riverside                CA        92509                    Litigation          X           Unknown
 J.G.                       MARIA DELOURDES SOTO, AS PARENT AND GUARDIAN AD LITEM               3574 Arora Street                                                                       Riverside                CA        92509                    Litigation          X           Unknown
 J.G.                       MARIA DELOURDES SOTO, AS PARENT AND GUARDIAN AD LITEM               3574 Arora Street                                                                       Riverside                CA        92509                    Litigation          X           Unknown
 J.G.                       Rachel Galvin                                                       PO Box 151                                                                              Oro Grande               CA        92368                    Litigation          X           Unknown
 J.G.                       Shirley Gatlin                                                      340 The Village- Apt. 317                                                               Redondo Beach            CA      90277-2631                 Litigation          X           Unknown
 J.H.                       Ametrice Evans Hughey, as parent and guardian ad Litem              P.O. Box 3123                                                                           Riverside                CA        92509                    Litigation          X           Unknown
 J.H.                       James Daniel Harden                                                 4137 Campbell Street                                                                    Riverside                CA        92509                    Litigation          X           Unknown
 J.H.                       Jaye Northcote                                                      18206 9th Street                                                                        Bloomington              CA        92316                    Litigation          X           Unknown
 J.H.                       Joseph LaSalle Hughey                                               27005 Winter Park Place                                                                 Moreno Valley            CA        92555                    Litigation          X           Unknown
 J.H.                       Shirley Hamilton                                                    24522 Panama Avenue                                                                     Carson                   CA        90745                    Litigation          X           Unknown
 J.H.                       Thelma Holley                                                       5672 Bella Dr.                                                                          Riverside                CA        92509                    Litigation          X           Unknown
 J.H.                       c/o James Holl                                                      26622 Saddleback Dr                                                                     Mission Viej             CA        92691                    Litigation          X           Unknown
 J.I.                       Danielle Isby                                                       223 E. 5th St. Apt. 4                                                                   Perris                   CA        92570                    Litigation          X           Unknown
 J.J.                       Jack R. Johnson- Jr.                                                2851 South La Cadena Drive- 251                                                         Colton                   CA        92324                    Litigation          X           Unknown
 J.J.                       KIMBERLY ROCHELLE BUTLER, AS PARENT AND GUARDIAN AD LITEM           24095 Sun Valley Road                                                                   Moreno Valley            CA        92553                    Litigation          X           Unknown
 J.J.                       Larry Justice                                                       1409 Rivera Street                                                                      Riverside                CA        92501                    Litigation          X           Unknown
 J.J.                       Raymond Johnson                                                     1105 East 78th Place                                                                    Denver                   CO        80229                    Litigation          X           Unknown
 J.J.                       Terri Jones                                                         1324 Stillman Ave.- Apt. 106                                                            Redlands                 CA        92374                    Litigation          X           Unknown
 J.J.                       C/o Angie Jarvis                                                    5628 Magnolia Run Circle #202                                                           Virginia Beach           VA        23464                    Litigation          X           Unknown
 J.K.                       Carol Ann King                                                      1736 Church Street                                                                      Barstow                  CA        92311                    Litigation          X           Unknown
 J.L.                       Ana Cortez                                                          24710 Marbella Avenue                                                                   Carson                   CA        90745                    Litigation          X           Unknown
 J.L.                       Carol Marquez                                                       1474 North 10th Street                                                                  Colton                   CA        92324                    Litigation          X           Unknown
 J.L.                       Danielle Lopez                                                      1904 Guinn Drive                                                                        Henderson                NV        89074                    Litigation          X           Unknown
 J.L.                       Jefferey Luckey Sr.                                                 4378 Santee Place                                                                       Riverside                CA        92504                    Litigation          X           Unknown
 J.L.                       Liliana Patricia Soto                                               901 E. Washington St. #328                                                              Colton                   CA        92342                    Litigation          X           Unknown
 J.L.                       PATRICIA LONGORIA, AS PARENT AND GUARDIAN AD LITEM                  PO Box 2204                                                                             Helendale                CA        92342                    Litigation          X           Unknown
 J.L.                       c/o Fay Owsley                                                      3287 Hwy 19                                                                             Owensville               MO        65066                    Litigation          X           Unknown
 J.M.                       AJA WOODS, GUARDIAN AD LITEM                                        43140 Sugar Street                                                                      Lancaster                CA        93539                    Litigation          X           Unknown
 J.M.                       CHRISTINA GAYLE MONTAGUE, AS PARENT AND GUARDIAN AD LITEM           5528 Molino Way                                                                         Rubidoux                 CA        92509                    Litigation          X           Unknown
 J.M.                       NOEL MONTES, SR., AS PARENT AND GUARDIAN AD LITEM                   4701 Charles Place- #1432                                                               Plano                    TX        75093                    Litigation          X           Unknown
 J.M.                       Golda Morris                                                        1523 Indian Trail Avenue                                                                San Bernadino            CA        92407                    Litigation          X           Unknown
 J.M.                       JASON MARIN                                                         5528 Molino Way                                                                         Rubidoux                 CA        92509                    Litigation          X           Unknown
 J.M.                       Jonathan Munoz, as parent and guardian                              18854 4th Street                                                                        Bloomington              CA        92316                    Litigation          X           Unknown
 J.M.                       Joneika Mason                                                       P.O. Box 56808                                                                          Riverside                CA        92517                    Litigation          X           Unknown
 J.M.                       Sara Crouson                                                        PO Box 6076                                                                             Auburn                   CA        95604                    Litigation          X           Unknown
 J.M.                       c/o Coconimo County;                                                951 E Sawmill Rd                                                                        Flagstaff                AZ        86001                    Litigation          X           Unknown
 J.N.                       BARBARA D. KEELIN, AS PARENT AND GUARDIAN AD LITEM                  753 Cypress Avenue                                                                      Colton                   CA        92324                    Litigation          X           Unknown
 J.N.                       Barbara D. Keelin, as parent and guardian                           753 Cypress Avenue                                                                      Colton                   CA        92324                    Litigation          X           Unknown
 J.N.                       Jacob Norman                                                        753 Cypress Avenue                                                                      Colton                   CA        92324                    Litigation          X           Unknown
 J.N.                       Silvia De La Torre                                                  24502 Marbella Avenue                                                                   Carson                   CA        90745                    Litigation          X           Unknown
 J.O.                       Juana Orozco, as parent and guardian                                5630 26th Street                                                                        Riverside                CA        92509                    Litigation          X           Unknown
 J.O.                       Juana Orozco, as parent and guardian                                5630 26th Street                                                                        Riverside                CA        92509                    Litigation          X           Unknown
 J.O.                       Juana Orozco, as parent and guardian                                5630 26th Street                                                                        Riverside                CA        92509                    Litigation          X           Unknown
 J.O.                       Juana Orozco, as parent and guardian                                5630 26th Street                                                                        Riverside                CA        92509                    Litigation          X           Unknown
 J.O.                       Juana Orozco, as parent and guardian                                5630 26th Street                                                                        Riverside                CA        92509                    Litigation          X           Unknown
 J.O.                       Maria Carmen Ogden                                                  10078 La Quinta Circle                                                                  Fountain Valley          CA        92708                    Litigation          X           Unknown
 J.P.                       BARBARA D. KEELIN, AS PARENT AND GUARDIAN AD LITEM                  753 Cypress Avenue                                                                      Colton                   CA        92324                    Litigation          X           Unknown
 J.P.                       Ernestine Peters                                                    3879 Finly Court                                                                        Riverside                CA        92501                    Litigation          X           Unknown
 J.P.                       Rosaria (Rosie) V Partida                                           3021 Armstrong Road                                                                     Riverside                CA        92509                    Litigation          X           Unknown
 J.P.                       Rosemarie Paguio                                                    131 Gemini Street                                     Pag-Ibig Homes Catalunan Grande   Davao City                          8000    Philippines     Litigation          X           Unknown




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                                                                                                                                                                                                                                                             Unliquidated

 J.R.                       ARACELY ROBLES, AS PARENT AND GUARDIAN AD LITEM                     6627 Piccadilly Street                                                               Riverside               CA        92506                  Litigation          X           Unknown
 J.R.                       Candace Riley                                                       2831 Razor Way                                                                       Riverside               CA        92509                  Litigation          X           Unknown
 J.R.                       Diana Garcia, as parent and guardian                                4036 Twining Street                                                                  Riverside               CA        92509                  Litigation          X           Unknown
 J.R.                       GUILLERMINA DEL ALVA, AS PARENT AND GUARDIAN AD LITEM               19362 Jurupa Avenue                                                                  Bloomington             CA        92316                  Litigation          X           Unknown
 J.R.                       LIDIA RAMIREZ , AS PARENT AND GUARDIAN AD LITEM                     10786 Claremont Avenue                                                               Bloomington             CA        92316                  Litigation          X           Unknown
 J.R.                       Lisa Marie Pasillas                                                 3233 Pontiac Avenue                                                                  Riverside               CA        92509                  Litigation          X           Unknown
 J.R.                       LISA MARIE PASILLAS, AS PARENT AND GUARDIAN AD LITEM                3233 Pontiac Street                                                                  Riverside               CA        92509                  Litigation          X           Unknown
 J.R.                       MARGARITA VILLA, AS PARENT AND GUARDIAN AD LITEM                    11016 Maple Avenue                                                                   Bloomington             CA        92316                  Litigation          X           Unknown
 J.R.                       MONIQUE BETANCOURT, AS PARENT AND GUARDIAN AD LITEM                 3360 Emma Street Apt. #C                                                             Mira Loma               CA        91752                  Litigation          X           Unknown
 J.R.                       Theresa Ramirez                                                     445 E 247th Street                                                                   Carson                  CA        90745                  Litigation          X           Unknown
 J.R.                       Tonya Randle                                                        24803 S Neptune Avenue                                                               Carson                  CA        90745                  Litigation          X           Unknown
 J.R.                       VIRONICA ZAMORA, AS PARENT AND GUARDIAN AD LITEM                    1101 Alturas Road Apartment 4L                                                       Fallbrook               CA        92028                  Litigation          X           Unknown
 J.R.                       c/o Sandra Thomas                                                   403 W. C Street Apt A3                                                               Butner                  NC        27509                  Litigation          X           Unknown
 J.S.                       Celina Solano                                                       5310 Canyon Crest Dr.- Apt.19                                                        Riverside               CA        92507                  Litigation          X           Unknown
 J.S.                       Jaime Samaniego                                                     6881 Wegman Drive                                                                    Riverside               CA        92509                  Litigation          X           Unknown
 J.S.                       Margaretta Cooper and Amanda Kennedy                                500 Winter Court                                                                     Jacksonville            NC        28540                  Litigation          X           Unknown
 J.S.                       Reynaldo Salazar                                                    3463 Pontiac Avenue                                                                  Riverside               CA        92509                  Litigation          X           Unknown
 J.S.                       c/o Joseph P. Lussier                                               484 Main St. Ste. 420                                                                Worcester               MA        01610                  Litigation          X           Unknown
 J.S.                       c/o Heather Bodnar                                                  4601 Coronado Drive Apt. A                                                           Charlotte               NC        28212                  Litigation          X           Unknown
 J.T.                       Douglas Tolleson                                                    1241 North Chestnut Ave.                                                             Rialto                  CA        92376                  Litigation          X           Unknown
 J.T.                       LATISHA SIMMONS, AS PARENT AND GUARDIAN AD LITEM                    286 Parkview Extension                                                               Athens                  GA        30605                  Litigation          X           Unknown
 J.T.                       LATISHA SIMMONS, AS PARENT AND GUARDIAN AD LITEM                    286 Parkview Extension                                                               Athens                  GA        30605                  Litigation          X           Unknown
 J.T.                       C/O David Taylor                                                    2801 Crystal Drive                                                                   Balch Springs           TX        75180                  Litigation          X           Unknown
 J.V.                       LORENA VARGAS, AS PARENT AND GUARDIAN AD LITEM                      4042 Dell Avenue                                                                     Riverside               CA        92509                  Litigation          X           Unknown
 J.V.                       Stephanie De La Rosa                                                24528 Island Avenue                                                                  Carson                  CA        90745                  Litigation          X           Unknown
 J.W.                       JAMES WALKER, AS PARENT AND GUARDIAN AD LITEM                       6041 Tarragona Drive                                                                 Riverside               CA        92509                  Litigation          X           Unknown
 J.W.                       JAMES WALKER, AS PARENT AND GUARDIAN AD LITEM                       6041 Tarragona Drive                                                                 Riverside               CA        92509                  Litigation          X           Unknown
 J.W.                       Joyce E. Warhop                                                     7528 Red Mountain Dr.                                                                Riverside               CA        92509                  Litigation          X           Unknown
 J.W.                       Rebecca Williams                                                    10771 Larch Avenue                                                                   Bloomington             CA        92316                  Litigation          X           Unknown
 J.Y.                       Armando Yanez, as parent and guardian                               18841 3rd Street                                                                     Bloomington             CA        92316                  Litigation          X           Unknown
 J.Y.                       Tanika Imai Young                                                   1196 Bridgeport Road                                                                 Pinola                  MS        39149                  Litigation          X           Unknown
 J.Z.                       Jonathan Zamora Jr., as parent and guardian                         4056 Mescale Road                                                                    Riverside               CA        92504                  Litigation          X           Unknown
 K. C.                      Lozel Tarver                                                        6242 Elam Rd. Elam Rd.                                                               Garfield                GA        30425                  Litigation          X           Unknown
 K. M.                      Brenda Miller                                                       2689 Augusta St.                                                                     Kenner                  LA        70062                  Litigation          X           Unknown
 K. S.                      Lashonda Warren                                                     110 Cambridge Oak Cr., Apt. 101                                                      Kings Mountain          NC        28086                  Litigation          X           Unknown
 K.B.                       For Chuck Osborne; a plaintiff                                      27445 Fairport Ave                                                                   Canyon Country          CA        93151                  Litigation          X           Unknown
 K.B.                       Kevin Brophy                                                        1350 Malaga Drive                                                                    Riverside               CA        95209                  Litigation          X           Unknown
 K.B.                       KISHA CONYERS, AS PARENT AND GUARDIAN AD LITEM                      16224 Valley Vale Drive                                                              Fontana                 CA        92337                  Litigation          X           Unknown
 K.B.                       Shannon Cheri Brown                                                 2720 Avalon Street                                                                   Riverside               CA        92509                  Litigation          X           Unknown
 K.B.                       c/o Gary W White,                                                   1675 Cessna Lane                                                                     Conover                 NC        28613                  Litigation          X           Unknown
 K.C.                       Brenda Cofflin                                                      2166 N. San Gorgonio Ave.                                                            Banning                 CA        92220                  Litigation          X           Unknown
 K.D.                       Cindy Decastro Romo                                                 11621 Sueno Court                                                                    Fontana                 CA        92337                  Litigation          X           Unknown
 K.D.                       Karla Salas                                                         3391 Rubidoux Boulevard Apartment 34                                                 Riverside               CA        92509                  Litigation          X           Unknown
 K.D.                       KARLA SALAS, AS PARENT AND GUARDIAN AD LITEM                        3391 Rubidoux Boulevard Apartment 34                                                 Riverside               CA        92509                  Litigation          X           Unknown
 K.D.                       KARLA SALAS, AS PARENT AND GUARDIAN AD LITEM                        3391 Rubidoux Boulevard Apartment 34                                                 Riverside               CA        92509                  Litigation          X           Unknown
 K.F.                       Suzanne Fletcher                                                    6519 Lassitter Road                                                                  Riverside               CA        92509                  Litigation          X           Unknown
 K.G.                       Manuel Nevarez                                                      21193 Valencia Street                                                                Apple Valley            CA        92308                  Litigation          X           Unknown
 K.H.                       MONICA CECILIA HERNANDEZ, AS PARENT AND GUARDIAN AD LITEM           3076 Avalon Street                                                                   Riverside               CA        92509                  Litigation          X           Unknown
 K.H.                       Estate of Elizabeth C. Harris Kenneth W.                            6721 Jewett-Holmwood Road                                                            Orchard Park            NY        14127                  Litigation          X           Unknown
 K.H.                       C/O Eric K Fogderude                                                5412 N. Palm Avenue, Suite 101                                                       Fresno                  CA        93704                  Litigation          X           Unknown
 K.J.                       KISHA CONYERS, AS PARENT AND GUARDIAN AD LITEM                      16224 Valley Vale Dr                                                                 Fontana                 CA        92337                  Litigation          X           Unknown
 K.L.                       Mariko Garcia                                                       24822 Panama Ave.                                                                    Carson                  CA        90745                  Litigation          X           Unknown
 K.L.                       Mary Belinda Lowe                                                   1738 N. San Gorgonio Ave.                                                            Banning                 CA        92220                  Litigation          X           Unknown
 K.M.                       Gloria Trujillo, as parent and guardian                             11685 Maple Avenue                                                                   Bloomington             CA        92316                  Litigation          X           Unknown
 K.M.                       KATIA SALAS, AS PARENT AND GUARDIAN AD LITEM                        14445 Clenson Court                                                                  Adelanto                CA        92301                  Litigation          X           Unknown
 K.M.                       KATIA SALAS, AS PARENT AND GUARDIAN AD LITEM                        14445 Clenson Court                                                                  Adelanto                CA        92301                  Litigation          X           Unknown
 K.M.                       Woodmere Rehabilitation                                             121 Franklin Place                                                                   Woodmere                NY      11598-1218               Litigation          X           Unknown
 K.N.                       Warren Scott Nobles                                                 17530 El Cajon Drive                                                                 Hesperia                CA        92345                  Litigation          X           Unknown
 K.S.                       LATISHA SIMMONS, AS PARENT AND GUARDIAN AD LITEM                    286 Parkview Extension                                                               Athens                  GA        30605                  Litigation          X           Unknown
 K.S.                       LAURA CARRILLO, GUARDIAN AD LITEM                                   19322 El Rivino Rd. #10                                                              Riverside               CA        92509                  Litigation          X           Unknown
 K.S.                       LAURA CARRILLO, GUARDIAN AD LITEM                                   19322 El Rivino Rd. #10                                                              Riverside               CA        92509                  Litigation          X           Unknown
 K.S.                       RICARDO BULLOCK, AS PARENT AND GUARDIAN AD LITEM                    6650 East Refuge Road                                                                Florence                AZ        85132                  Litigation          X           Unknown




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                                                                                                                                                                                                                                                      Contingent,
                Name1                                      Name2                Name3                        Address1                                              Address2                    City   State      Zip       Country   Basis of Claim                  Claim Amount
                                                                                                                                                                                                                                                      Unliquidated

 K.T.                       Gloria Trujillo, as parent and guardian                     15116 Portland Avenue P.O. 74                                                         Oro Grande              CA        92368                   Litigation         X           Unknown
 K.T.                       c/o Richard J Donovan St Prison                             C-14; cell-145 ; 480 Alta Rd                                                          San Diego               CA        92179                   Litigation         X           Unknown
 K.V.                       Nellie Pena, as parent and guardian                         5786 29th Street                                                                      Riverside               CA        92509                   Litigation         X           Unknown
 K.W.                       Darlene Lover                                               5750 Kenwood Place                                                                    Riverside               CA        92509                   Litigation         X           Unknown
 K.W.                       Kisha Conyers                                               13685 Braidwood Court                                                                 Victorville             CA        92392                   Litigation         X           Unknown
 K.W.                       KOURTNEI WEBB                                               16224 Valleyvale Drive                                                                Fontana                 CA        92337                   Litigation         X           Unknown
 K.W.                       RARCHELLE MAYO, AS PARENT AND GUARDIAN AD LITEM             2836 Danieter Place                                                                   Riverside               CA        92509                   Litigation         X           Unknown
 L.A.                       Cynthia G. Alaniz                                           22627 Grand Terrace Rd.- Apt. 105                                                     Grand Terrace           CA        92313                   Litigation         X           Unknown
 L.A.                       Luisa P. Anaya                                              3770 Ridge Line Dr.                                                                   San Bernardino          CA        92407                   Litigation         X           Unknown
 L.B.                       Beatriz Banuelos                                            10891 Olive Street                                                                    Bloomington             CA        92316                   Litigation         X           Unknown
 L.B.                       Dewayne Butler                                              5365 26th Street                                                                      Riverside               CA        92509                   Litigation         X           Unknown
 L.B.                       Jerry Bates                                                 3361 Paiute Road                                                                      Pahrump                 NV        89061                   Litigation         X           Unknown
 L.B.                       Rosa Sanchez, as parent and guardian                        5658 Bella Drive                                                                      Riverside               CA        92509                   Litigation         X           Unknown
 L.B.                       Veola Harris                                                4500 E. Lake Mead Blvd. #F23                                                          Las Vegas               NV        89115                   Litigation         X           Unknown
 L.B.                       US Capital LLC,                                             6549 Mission Gorge Rd, #248                                                           San Diego               CA        92120                   Litigation         X           Unknown
 L.C.                       Mary Ann Banuelos                                           1036 Chandler Street                                                                  Wilmington              CA        90744                   Litigation         X           Unknown
 L.C.                       Richard Castillo                                            15205 Lassalette Street                                                               La Puente               CA        91744                   Litigation         X           Unknown
 L.C.                       c/o Phillip Prescott,                                       2790 Adams Pointe Dr.                                                                 Snellville              GA        30078                   Litigation         X           Unknown
 L.D.                       Selena Daniels                                              1155 Ripley Street- Apt. 1802                                                         Silver Spring           NM        20910                   Litigation         X           Unknown
 L.D.                       Theia Johnson/Ronald Davis                                  1025 N. Urbana Avenue                                                                 Tulsa                   OK        74115                   Litigation         X           Unknown
 L.D.                       Valerie K. Finstad                                          8915 Sixth Avenue                                                                     Hesperia                CA        92345                   Litigation         X           Unknown
 L.E.                       Alfred Arthur Sandoval III                                  22460 Standing Rock                                                                   AppleValley             CA        92307                   Litigation         X           Unknown
 L.F.                       Cheryl Fish                                                 10952 Hirschfeld Way                                                                  Ranch Cordova           CA        95670                   Litigation         X           Unknown
 L.G.                       Valerie Franklin                                            PO Box 18093                                                                          Los Angeles             CA      90018-0093                Litigation         X           Unknown
 L.G.                       Valerie Franklin                                            PO Box 18093                                                                          Los Angeles             CA      90018-0093                Litigation         X           Unknown
 L.G.                       c/o Alex Carrington                                         7757 Etiwanda Ave.                                                                    Reseda                  CA        91335                   Litigation         X           Unknown
 L.H.                       Anna Luisa Hernandez                                        10250 Spencer St Apt. 1120                                                            Las Vegas               NV        89183                   Litigation         X           Unknown
 L.J.                       Ruth Cross                                                  2522 Oak Park Blvd.                                                                   Lake Charles            LA        70601                   Litigation         X           Unknown
 L.L.                       Sharon Ewing                                                2405 E. 55th Pl.- Apt. 19                                                             Tulsa                   OK        74105                   Litigation         X           Unknown
 L.L.                       Sharon Ewing                                                Lee Warren Lover #255665-4-5-511-low--Northeast Oklaho                                Vinita                  OK        74301                   Litigation         X           Unknown
 L.L.                       c/o Renee Lazaro                                            722 S St. Andrews Pl.- Apt 19                                                         Los Angeles             CA        90005                   Litigation         X           Unknown
 L.M.                       Anna V. Madrid                                              24726 Marbella Ave.                                                                   Carson                  CA        90745                   Litigation         X           Unknown
 L.M.                       Maria B. Collantes                                          812 Shasta Drive                                                                      Colton                  CA        92324                   Litigation         X           Unknown
 L.M.                       Maricela Moreno, as parent and guardian                     10624 Roxbury Avenue                                                                  Bloomington             CA        92316                   Litigation         X           Unknown
 L.M.                       Shawntay Mayo                                               2836 Demeter Place                                                                    Riverside               CA        92509                   Litigation         X           Unknown
 L.M.                       Shawntay Mayo                                               20194 Otoe Rd.- Apt. 3                                                                Apple Valley            CA        92307                   Litigation         X           Unknown
 L.M.                       Sheryl Davis                                                3222 Kity Court                                                                       Oklahoma City           OK        73121                   Litigation         X           Unknown
 L.M.                       Shirley McEwen                                              1634 Ledean Dr.                                                                       Morristown              TN        37814                   Litigation         X           Unknown
 L.M.                       c/o Donna Peterson                                          2573 Brandywine Dr.                                                                   Farmers Branch          TX        75234                   Litigation         X           Unknown
 L.P.                       Leroy Clyde Pena Jr.                                        3120 Wallace Street                                                                   Riverside               CA        92509                   Litigation         X           Unknown
 L.P.                       Liza J. Flores                                              2726 Hall Avenue                                                                      Riverside               CA        92509                   Litigation         X           Unknown
 L.R.                       David Nettles                                               16700 Marygold Avenue- Apt. 57                                                        Fontana                 CA        92335                   Litigation         X           Unknown
 L.R.                       Mary F. Ray                                                 3303 La Rue Street                                                                    Riverside               CA        92509                   Litigation         X           Unknown
 L.S.                       Jaime Samaniego                                             6881 Wegman Drive                                                                     Riverside               CA        92509                   Litigation         X           Unknown
 L.S.                       Judy Cool                                                   3911 Emmaus Lane                                                                      Howell                  MI        48855                   Litigation         X           Unknown
 L.S.                       Robert Saxton                                               5974 King Ranch Road                                                                  Riverside               CA        92505                   Litigation         X           Unknown
 L.S.                       C/O Tresa McCattry                                          126 Lois St.                                                                          Winnsboro               LA        71295                   Litigation         X           Unknown
 L.T.                       TAMARA GREEN, AS PARENT AND GUARDIAN AD LITEM               5325 Bell Avenue                                                                      Riverside               CA        92509                   Litigation         X           Unknown
 L.V.                       CYNTHIA CASTILLO, AS PARENT AND GUARDIAN AD LITEM           3120 Wallace Street                                                                   Riverside               CA        92509                   Litigation         X           Unknown
 L.V.                       Rose Scott                                                  5684 Peggy Lane                                                                       Riverside               CA        92505                   Litigation         X           Unknown
 L.V.                       Sharleena Valdez                                            1722 N. Avalon Blvd. Apt. 14                                                          Wilmington              CA        90744                   Litigation         X           Unknown
 L.W.                       Ronald Wirgart                                              892 Meadow Gate Rd.                                                                   Meadow Vista            CA        95722                   Litigation         X           Unknown
 L.Z.                       DIANA LEE ZUMAYA, AS PARENT AND GUARDIAN AD LITEM           6852 Kern Drive                                                                       Riverside               CA        92509                   Litigation         X           Unknown
 M. B.                      Michael Bailey I                                            7600 Pineridge Street                                                                 New Orleans             LA        70128                   Litigation         X           Unknown
 M. C.                      Mark WM Clancy                                              1640 W 8th St Lot 38                                                                  Yuma                    AZ        85364                   Litigation         X           Unknown
 M. H.                      Danelle LaMaide                                             1362 West Lobo Ave                                                                    Mesa                    AZ        85201                   Litigation         X           Unknown
 M. J.                      Holly Jones                                                 317 E. 4th Street                                                                     Lyndon                  KS        66451                   Litigation         X           Unknown
 M. K.                      Carol Kennedy                                               103 Thompson Loop                                                                     Lafayette               LA        70506                   Litigation         X           Unknown
 M. M.                      Altia Steven                                                8422 Rosewood Ave                                                                     Cleveland               OH        44105                   Litigation         X           Unknown
 M. R.                      Kelly Rohrer                                                512 Outrigger Ln                                                                      Manahawkin              NJ        08050                   Litigation         X           Unknown
 M. S.                      Marvin Simmons                                              7788 Sunrise Creek Ct                                                                 Citrus Heights          CA        95610                   Litigation         X           Unknown
 M.A.                       Melchor Amezcua                                             455 E 247th Street                                                                    Carson                  CA        90745                   Litigation         X           Unknown




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                                                                                                                                                                                                                                                       Contingent,
                Name1                                      Name2                      Name3                           Address1                                           Address2                   City   State     Zip    Country   Basis of Claim                  Claim Amount
                                                                                                                                                                                                                                                       Unliquidated

 M.A.                       Melchor Amezcua                                                   455 E 247th Street                                                                    Carson                  CA      90745               Litigation          X           Unknown
 M.A.                       Sheila Alvarez                                                    2031 Gail Drive                                                                       Riverside               CA      92509               Litigation          X           Unknown
 M.A.                       c/o Angelo's Bakery                                               135 E. Lomita Blvd.                                                                   Carson                  CA      90745               Litigation          X           Unknown
 M.B.                       Alfredo Beltran                                                   3460 Glasgow Circle                                                                   Riverside               CA      92503               Litigation          X           Unknown
 M.B.                       ALISHA MARIE BENAVIDEZ, AS PARENT AND GUARDIAN AD LITEM           21855 Sheri Lane                                                                      Wildomar                CA      92595               Litigation          X           Unknown
 M.B.                       GABRIELA BANUELOS, AS PARENT AND GUARDIAN AD LITEM                16013 White Mountain Place                                                            Victorville             CA      92394               Litigation          X           Unknown
 M.B.                       GABRIELA BANUELOS, AS PARENT AND GUARDIAN AD LITEM                16013 White Mountain Place                                                            Victorville             CA      92394               Litigation          X           Unknown
 M.B.                       Glenn Byers                                                       9391 California Ave- Spc. 79                                                          Riverside               CA      92503               Litigation          X           Unknown
 M.B.                       Jacqueline Williams                                               3010 Avalon Street                                                                    Riverside               CA      92509               Litigation          X           Unknown
 M.B.                       James R. Briggs                                                   210 Overleaf Drive                                                                    Keller                  TX      76248               Litigation          X           Unknown
 M.B.                       MARKELL BUTTS                                                     5315 El Rio Avenue                                                                    Riverside               CA      92509               Litigation          X           Unknown
 M.B.                       MELANIE BONILLA                                                   P.O. Box 33129                                                                        Riverside               CA      92519               Litigation          X           Unknown
 M.B.                       Ricardo Bullock                                                   6664 E. Refuge Road                                                                   Florence                AZ      85132               Litigation          X           Unknown
 M.B.                       Rita Y. Sweeney                                                   5327 El Rio Avenue                                                                    Riverside               CA      92509               Litigation          X           Unknown
 M.B.                       SHANNON BROWN, AS PARENT AND GUARDIAN AD LITEM                    2720 Avalon Street                                                                    Riverside               CA      92509               Litigation          X           Unknown
 M.B.                       SHANNON CHERI BROWN, AS PARENT AND GUARDIAN AD LITEM              2720 Avalon Street                                                                    Riverside               CA      92509               Litigation          X           Unknown
 M.B.                       WILLIAM L. BUSSEAR II, AS PARENT AND GUARDIAN AD LITEM            19164 River Walk Drive                                                                Porter                  TX      77365               Litigation          X           Unknown
 M.B.                       Dian Daniaty Binti udin Zaenundin                                 Address Unknown                                                                                                                           Litigation          X           Unknown
 M.C.                       AMELIA CARRILLO, AS PARENT AND GUARDIAN AD LITEM                  18783 13th Street                                                                     Bloomington             CA      92316               Litigation          X           Unknown
 M.C.                       Angela Fierro                                                     1129 North 10th Street                                                                Colton                  CA      92324               Litigation          X           Unknown
 M.C.                       Gerardo Tiliano                                                   11942 Hall Avenue                                                                     Bloomington             CA      92316               Litigation          X           Unknown
 M.C.                       Glenn Complin                                                     1434 Bishop Place                                                                     Riverside               CA      92506               Litigation          X           Unknown
 M.C.                       John J. Calderone                                                 22241 Nisqually Rd. Space 49                                                          Apple Valley            CA      92308               Litigation          X           Unknown
 M.C.                       Maria Guadalupe Ortiz, as parent and guardian                     251 West M Street                                                                     Colton                  CA      92324               Litigation          X           Unknown
 M.C.                       MARTHA CASAS, AS PARENT AND GUARDIAN AD LITEM                     18380 Manila St.                                                                      Bloomington             CA      92316               Litigation          X           Unknown
 M.C.                       Martha Casas, as parent and guardian                              18380 Manila St.                                                                      Bloomington             CA      92316               Litigation          X           Unknown
 M.C.                       Rosalind Holloway                                                 3204 Winston Terrace- Apt. 212                                                        Arlington               TX      76014               Litigation          X           Unknown
 M.C.                       Serafina Chimienti                                                19633 Powhatan Road                                                                   Apple Valley            CA      92308               Litigation          X           Unknown
 M.C.                       Steven Chavez                                                     61 Olive St.                                                                          Upland                  CA      91786               Litigation          X           Unknown
 M.C.                       of Donna Grunzweig Melanie                                        75 Lynbrook Ave.                                                                      Tonawanda               NY      14207               Litigation          X           Unknown
 M.D.                       Carol Aguilar                                                     680 East E Street                                                                     Colton                  CA      92324               Litigation          X           Unknown
 M.D.                       Donald Cole                                                       1520 Pioche                                                                           Pahrump                 NV      89048               Litigation          X           Unknown
 M.D.                       Frances DeCastro                                                  4102 Sandpiper Drive                                                                  Riverside               CA      92509               Litigation          X           Unknown
 M.D.                       Jerline Bedford                                                   25319 Maxy Dr.                                                                        Moreno Valley           CA      92551               Litigation          X           Unknown
 M.D.                       Victoria Delgado                                                  1655 Rancho Avenue                                                                    Colton                  CA      92324               Litigation          X           Unknown
 M.D.                       c/o Angela Bailey                                                 1132 Charlotte Hwy.                                                                   Troutman                NC      28166               Litigation          X           Unknown
 M.D.                       C/O Patrick Dorsy, Esq.,                                          8500 SW 8th Street, Suite 228                                                         Miami                   FL      33144               Litigation          X           Unknown
 M.E.                       Miguel Echevarria                                                 24802 Panama Avenue                                                                   Carson                  CA      90745               Litigation          X           Unknown
 M.E.                       c/o Craig Lewis;                                                  2905 Sackett St.                                                                      Houston                 TX      77098               Litigation          X           Unknown
 M.F.                       Christina Sanchez                                                 2001 N. Rancho Ave.- Apt. 40D                                                         Colton                  CA      92324               Litigation          X           Unknown
 M.F.                       c/o Susan Lomotos                                                 2109 Reynolds Dr, #D                                                                  Torrance                CA      90503               Litigation          X           Unknown
 M.F.                       C/O Barry Frances                                                 4979 Peppermill Lane                                                                  Liverpool               NY      13088               Litigation          X           Unknown

 M.F.                       Septiana Damayanti                                                Address Unknown                                                                                                                           Litigation          X           Unknown
 M.G.                       AMBER GALLAGHER, AS PARENT AND GUARDIAN AD LITEM                  18746 4th Street                                                                      Bloomington            CA       92316               Litigation          X           Unknown
 M.G.                       Brenda Garcia                                                     19010 Manila Street                                                                   Bloomington            CA       92316               Litigation          X           Unknown
 M.G.                       Brenda Sue Garcia                                                 19010 Manila Street                                                                   Bloomington            CA       92316               Litigation          X           Unknown
 M.G.                       Cynthia Green                                                     5730 Lotus Street                                                                     Riverside              CA       92509               Litigation          X           Unknown
 M.G.                       Gloria Martinez, as parent and guardian                           18772 5th Street                                                                      Bloomington            CA       92316               Litigation          X           Unknown
 M.G.                       Josefina M. Luna, as parent and guardian                          12042 Hall Avenue                                                                     Bloomington            CA       92316               Litigation          X           Unknown
 M.G.                       Loretta Gulbranson                                                511 Minnesota Ave. W.                                                                 Gilbert                MN       55741               Litigation          X           Unknown
 M.G.                       Lucky Godwin / Angela Godwin                                      635 Hermosa Avenue                                                                    Colton                 CA       92324               Litigation          X           Unknown
 M.G.                       Mary Fobian                                                       1520 Pioche                                                                           Pahrump                NV       89048               Litigation          X           Unknown
 M.G.                       Tawana Gomes (POA)                                                321 E 244th Street                                                                    Carson                 CA       90745               Litigation          X           Unknown
 M.G.                       Victoria M. Posada                                                24527 Island Avenue                                                                   Carson                 CA       90745               Litigation          X           Unknown
 M.G.                       Yvonne Hernandez                                                  4126 Witt Avenue                                                                      Riverside              CA       92501               Litigation          X           Unknown
 M.H.                       Carisa Ann Ross                                                   13625 Sandpiper Place                                                                 Victorville            CA       92392               Litigation          X           Unknown
 M.H.                       Janice Davis                                                      25328 Runsey Court                                                                    Moreno Valley          CA       92551               Litigation          X           Unknown
 M.H.                       Jessica Holley                                                    2984 Taos Drive                                                                       Riverside              CA       92509               Litigation          X           Unknown
 M.H.                       RYISHEA GILMORE, AS PARENT AND GUARDIAN AD LITEM                  5679 Newton Street                                                                    Riverside              CA       92509               Litigation          X           Unknown
 M.I.                       Alfredo Izmajtovich                                               337 E 244th Street                                                                    Carson                 CA       90745               Litigation          X           Unknown
 M.J.                       Angelica Mayo, as parent and guardian                             2836 Demeter Place                                                                    Riverside              CA       92509               Litigation          X           Unknown




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                                                                                                                                                                                                                                                           Contingent,
                Name1                                     Name2                    Name3                        Address1                                                Address2                    City   State      Zip       Country   Basis of Claim                  Claim Amount
                                                                                                                                                                                                                                                           Unliquidated

 M.J.                       Irene Jones                                                    17998 Caraway Court                                                                     San Bernardino          CA        92407                  Litigation          X           Unknown
 M.J.                       Jack R. Johnson Jr.                                            2851 South La Cadena Drive- 251                                                         Colton                  CA        92324                  Litigation          X           Unknown
 M.J.                       Martina Juarez                                                 2812 Heller Drive                                                                       Riverside               CA        92509                  Litigation          X           Unknown
 M.J.                       C/O Jennifer Hall                                              546 S. 2500 West                                                                        Vernal                  UT        84078                  Litigation          X           Unknown
 M.K.                       Glennie Hope                                                   1420 N. Franklin St- Apt. 9H                                                            Wilmington              DE        19806                  Litigation          X           Unknown
 M.L.                       Janice Lymon                                                   25328 Runsey Court                                                                      Moreno Valley           CA        92551                  Litigation          X           Unknown
 M.L.                       Lora Gliddon Vascik                                            1188 Fleming Bridge                                                                     Milton                  FL        32570                  Litigation          X           Unknown
 M.M.                       NOEL MONTES, SR., AS PARENT AND GUARDIAN AD LITEM              4701 Charles Place- Apartment 1432                                                      Plano                   TX        75093                  Litigation          X           Unknown
 M.M.                       Gloria Torres                                                  15427 Chaparral Street                                                                  Victorville             CA        92394                  Litigation          X           Unknown
 M.M.                       HEATHER SAUCEDA, AS PARENT AND GUARDIAN AD LITEM               256 South 10th Street                                                                   Colton                  CA        92324                  Litigation          X           Unknown
 M.M.                       Mervin Myers                                                   80232 Royal Dornoch Road                                                                Indio                   CA        92201                  Litigation          X           Unknown
 M.M.                       Shawntay Mayo                                                  2836 Demeter Place                                                                      Riverside               CA        92509                  Litigation          X           Unknown
 M.M.                       Stephanie Sue Meech                                            19069 Van Buren Blvd.- #114-417                                                         Riverside               CA        92508                  Litigation          X           Unknown
 M.M.                       STEPHANIE SUE MEECH, AS PARENT AND GUARDIAN AD LITEM           19069 Van Buren Blvd.- #114-417                                                         Riverside               CA        92508                  Litigation          X           Unknown
 M.M.                       Victoria Marquez                                               18853 5th Street                                                                        Bloomington             CA        92316                  Litigation          X           Unknown
 M.M.                       C/O Michael McNary,                                            5581 Clover Rise Ln.                                                                    Norcross                GA        30093                  Litigation          X           Unknown
 M.O.                       Linda Gallegos                                                 1574 Eudora Ave.                                                                        Wilmington              CA        90744                  Litigation          X           Unknown
 M.O.                       RITA ORNELAS, AS PARENT AND GUARDIAN AD LITEM                  10831 Olive Street                                                                      Bloomington             CA        92316                  Litigation          X           Unknown
 M.P.                       Catherine Patrick                                              1071 Ardmore Street                                                                     Riverside               CA        92507                  Litigation          X           Unknown
 M.P.                       Kim Lynn Pena, as parent and guardian                          1547 Club Drive                                                                         Pomona                  CA        91768                  Litigation          X           Unknown
 M.P.                       Rachel Pena                                                    8161 South Poplar Way- Apt 202                                                          Centennial              CO        80112                  Litigation          X           Unknown
 M.R.                       Elena Gonzalez                                                 4888 Rutile Street                                                                      Riverside               CA        92509                  Litigation          X           Unknown
 M.R.                       Jodi Dawn Rasmussen, as parent and guardian                    6500 45th St.                                                                           Riverside               CA        92509                  Litigation          X           Unknown
 M.R.                       Lidia Ramirez                                                  10786 Claremont Avenue                                                                  Bloomington             CA        92316                  Litigation          X           Unknown
 M.R.                       MARK ROBBINS, AS PARENT AND GUARDIAN AD LITEM                  18886 5th Street                                                                        Bloomington             CA        92316                  Litigation          X           Unknown
 M.R.                       Rita Robles                                                    451 E 249th Street                                                                      Carson                  CA        90745                  Litigation          X           Unknown
 M.R.                       Rosalinda Ruiz                                                 11204 Cactus Avenue                                                                     Bloomington             CA        92316                  Litigation          X           Unknown
 M.R.                       Rosalva Rivera                                                 6220 Rouner Drive                                                                       Riverside               CA        92509                  Litigation          X           Unknown
 M.R.                       Sandra Chapa                                                   3000 South 9th St- Apt. 28                                                              Chickasha               OK        73018                  Litigation          X           Unknown
 M.R.                       VIRONICA ZAMORA, AS PARENT AND GUARDIAN AD LITEM               1101 Alturas Road Apartment 4L                                                          Fallbrook               CA        92028                  Litigation          X           Unknown
 M.R.                       c/o Susan Rodriguez Esq.                                       3440 Wilshire Blvd.- Ste. 810                                                           Los Angeles             CA        90010                  Litigation          X           Unknown
 M.S.                       Celina Solano                                                  5310 Canyon Crest Dr.- Apt 19                                                           Riverside               CA        92507                  Litigation          X           Unknown
 M.S.                       Greta Shelton                                                  478 Diamond Peak                                                                        Beaumont                CA        92223                  Litigation          X           Unknown
 M.S.                       LIZA FLORES, AS PARENT AND GUARDIAN AD LITEM                   2726 Hall Avenue                                                                        Riverside               CA        92509                  Litigation          X           Unknown
 M.S.                       c/o Jim Espinosa                                               23038 Huber Avenue                                                                      Torrance                CA        90501                  Litigation          X           Unknown
 M.T.                       DAMIEN RICHARDSON, AS PARENT AND GUARDIAN AD LITEM             16232 Vallejo Street                                                                    Victorville             CA        92395                  Litigation          X           Unknown
 M.U.                       KIMBERLY UPCHURCH, AS PARENT AND GUARDIAN AD LITEM             11970 Walnut Street                                                                     Bloomington             CA        92316                  Litigation          X           Unknown
 M.U.                       LACEY LUKE, AS PARENT AND GUARDIAN AD LITEM                    4166 Strong Street                                                                      Riverside               CA        92501                  Litigation          X           Unknown
 M.V.                       Gisela Gonzalez, as parent and guardian                        18841 3rd Street                                                                        Bloomington             CA        92316                  Litigation          X           Unknown
 M.V.                       LORENA VARGAS, AS PARENT AND GUARDIAN AD LITEM                 4042 Dell Avenue                                                                        Riverside               CA        92509                  Litigation          X           Unknown
 M.W.                       Barbara Hyman-Weed                                             4394 Riverbend Lane                                                                     Riverside               CA        92509                  Litigation          X           Unknown
 M.W.                       Jesse L. Woods Sr.                                             2626 Countrywood Lane                                                                   Riverside               CA        92506                  Litigation          X           Unknown
 M.W.                       MARSHALL SCAIFE, AS PARENT AND GUARDIAN AD LITEM               5771 Lotus Street                                                                       Riverside               CA        92509                  Litigation          X           Unknown
 M.W.                       Marshall Scaife, as parent and guardian                        5771 Lotus Street                                                                       Riverside               CA        92509                  Litigation          X           Unknown
 M.W.                       c/o Camille Whitecraft Nelson                                  2000 N. Rio De Flag Dr.                                                                 Flagstaff               AZ      86004-7501               Litigation          X           Unknown
 N. B.                      Tammy Breeding                                                 2028 Walters Boone St                                                                   Ryan Hill               KY        40162                  Litigation          X           Unknown
 N. W.                      Mary Daniel Wilson                                             1011 Broadway Road                                                                      Sanford                 NC        27332                  Litigation          X           Unknown
 N.B.                       MIRNA GAXIOLA, AS PARENT AND GUARDIAN AD LITEM                 5790 Newton Street                                                                      Riverside               CA        92509                  Litigation          X           Unknown
 N.B.                       Stephanie Edwards                                              4787 Golden Shimmer Avenue                                                              Las Vegas               NV        89139                  Litigation          X           Unknown
 N.B.                       Willena Banks                                                  3078 Mary Ellen Drive                                                                   Riverside               CA        92509                  Litigation          X           Unknown
 N.C.                       Jeff Frick                                                     24512 Fries Avenue                                                                      Carson                  CA        90745                  Litigation          X           Unknown
 N.C.                       Linda Cranor                                                   3288 Blue Ridge Circle                                                                  Stockton                CA        95219                  Litigation          X           Unknown
 N.C.                       Mary Ann Banuelos                                              1036 Chandler Street                                                                    Wilmington              CA        90744                  Litigation          X           Unknown
 N.D.                       Juana Donis                                                    2622 Northwest Coolidge Way                                                             Corvallis               OR        97330                  Litigation          X           Unknown
 N.E.                       Tamara Marbury                                                 5910 Mission Blvd.                                                                      Riverside               CA        92509                  Litigation          X           Unknown
 N.F.                       Loretta Joyce Fowler                                           6328 Claridge Drive                                                                     Riverside               CA        92506                  Litigation          X           Unknown
 N.G.                       Gisela Gonzalez                                                18841 3rd Street                                                                        Bloomington             CA        92316                  Litigation          X           Unknown
 N.H.                       STEPHANIE LAFFERTY, AS PARENT AND GUARDIAN AD LITEM            5660 34th Street                                                                        Riverside               CA        92509                  Litigation          X           Unknown
 N.L.                       CHRISTY ANN WHITE, AS PARENT AND GUARDIAN AD LITEM             10773 Locust Avenue                                                                     Bloomington             CA        92316                  Litigation          X           Unknown
 N.L.                       Kerri Frahm                                                    17381 Dauby Court                                                                       Riverside               CA        92508                  Litigation          X           Unknown
 N.M.                       CRYSTAL MEDINILLA, AS PARENT AND GUARDIAN AD LITEM             10648 Dumond Avenue                                                                     Bloomington             CA        92316                  Litigation          X           Unknown
 N.M.                       MARIBEL MONTES, AS PARENT AND GUARDIAN AD LITEM                28387 Ashford Court                                                                     Highland                CA        92346                  Litigation          X           Unknown




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                                                                                                                                                                                                                                                                 Contingent,
                Name1                                      Name2                          Name3                         Address1                                              Address2                    City   State      Zip       Country   Basis of Claim                  Claim Amount
                                                                                                                                                                                                                                                                 Unliquidated

 N.M.                       Maribel Montes, as parent and guardian                                28387 Ashford Court                                                                    Highland                CA        92346                  Litigation          X           Unknown
 N.M.                       Norma Young and Paula Morris                                          191 West 2nd St.- #601                                                                 San Bernardino          CA        92408                  Litigation          X           Unknown
 N.M.                       Thomas F. Mercurio, Nancy                                             7186 Parkside Drive                                                                    Hamburg                 NY        14075                  Litigation          X           Unknown
 N.P.                       Dulce Parago                                                          24422 Marbella Avenue                                                                  Carson                  CA        90745                  Litigation          X           Unknown
 N.R.                       Umar Raheem                                                           2720 Avalon Street                                                                     Riverside               CA        92509                  Litigation          X           Unknown
 N.V.                       Michelle Vanderdoes                                                   10701 Cedar Ave.- Space 169                                                            Bloomington             CA        92316                  Litigation          X           Unknown
 N.W.                       RARCHELLE MAYO, AS PARENT AND GUARDIAN AD LITEM                       2836 Demeter Place                                                                     Riverside               CA        92509                  Litigation          X           Unknown
 N.W.                       RARCHELLE MAYO, AS PARENT AND GUARDIAN AD LITEM                       2836 Demeter Place                                                                     Riverside               CA        92509                  Litigation          X           Unknown
 O. M.                      Gloria Michael                                                        22 Juanita Drive                                                                       Tuscaloosa              AL        35404                  Litigation          X           Unknown
 O.A.                       Wilhelmina R. Acosta                                                  24426 Panama Avenue                                                                    Carson                  CA        90745                  Litigation          X           Unknown
 O.C.                       Amelia Carrillo, as parent and guardian                               18783 13th Street                                                                      Bloomington             CA        92316                  Litigation          X           Unknown
 O.G.                       ELIDA GAMINO, AS PARENT AND GUARDIAN AD LITEM                         18521 14th Street                                                                      Bloomington             CA        92316                  Litigation          X           Unknown
 O.G.                       Elida Gamino, as parent and guardian                                  18521 14th Street                                                                      Bloomington             CA        92316                  Litigation          X           Unknown
 O.H.                       Gladys Hernandez                                                      24432 Marbella Avenue                                                                  Carson                  CA        90745                  Litigation          X           Unknown
 O.J.                       Angelica Mayo, as parent and guardian                                 2836 Demeter Place                                                                     Riverside               CA        92509                  Litigation          X           Unknown
 O.J.                       Angelica Mayo, as parent and guardian                                 2836 Demeter Place                                                                     Riverside               CA        92509                  Litigation          X           Unknown
 O.J.                       Terri Jones                                                           1324 Stillman Ave.- Apt. 106                                                           Redlands                CA        92374                  Litigation          X           Unknown
 O.N.                       Cheri Newbauer                                                        510 Park Way East                                                                      Las Vegas               NV        89106                  Litigation          X           Unknown
 O.S.                       Betty Schlangen                                                       22627 Grand Terrace Rd.- Apt. 146                                                      Grand Terrace           CA      92313-4922               Litigation          X           Unknown
 O.S.                       OSVALDO ALVAREZ REYES, JR., AS PARENT AND GUARDIAN AD LITEM           2720 Hall Avenue                                                                       Riverside               CA        92509                  Litigation          X           Unknown
 O.T.                       Gloria Torres                                                         15427 Chaparral Street                                                                 Victorville             CA        92394                  Litigation          X           Unknown
 O.T.                       Rex Allen Tucker Sr.                                                  18833 4th Street                                                                       Bloomington             CA        92316                  Litigation          X           Unknown
 P. A.                      Janice Claxton                                                        3218 Dunlap Lane Apt. E                                                                Mechanicsburg           PA        17055                  Litigation          X           Unknown
 P. M.                      John McGuinnes                                                        2814 Falcon Ave.                                                                       Medford                 NY        11763                  Litigation          X           Unknown
 P. P.                      Terri Brooke Phillips                                                 P.O. Box 539                                                                           Lepanto                 AR        72354                  Litigation          X           Unknown
 P. P.                      Louwonder Reese                                                       1221 Huntington Place Cir                                                              Lithonia                GA        30058                  Litigation          X           Unknown
 P.A.                       Randall Archer                                                        38327 Mulligan Drive                                                                   Beaumont                CA        92223                  Litigation          X           Unknown
 P.A.                       Rene Avila Sr.                                                        2065 Hidden Cove Court                                                                 Colton                  CA        92324                  Litigation          X           Unknown
 P.B.                       Diamantina Belmonte                                                   P.O. Box 310626                                                                        Fontana                 CA        92331                  Litigation          X           Unknown
 P.E.                       Doris Echevarria                                                      5989 Azurite Street                                                                    Riverside               CA        92509                  Litigation          X           Unknown
 P.G.                       MELISSA ESTRADA, AS PARENT AND GUARDIAN AD LITEM                      3385 2nd Street                                                                        Riverside               CA        92501                  Litigation          X           Unknown
 P.H.                       c/o Martin Kotowski                                                   14843 Houston Street                                                                   Sherman Oaks            CA        91403                  Litigation          X           Unknown
 P.J.                       Judith Jaurigue                                                       1526 West 20th Street                                                                  San Bernardino          CA        92411                  Litigation          X           Unknown
 P.J.                       Pedro E. Jimenez                                                      639 Doyle Ave.                                                                         Redlands                CA        92374                  Litigation          X           Unknown
 P.K.                       Connie Martinez                                                       1511 Sandy Hill Drive                                                                  Calimesa                CA        92320                  Litigation          X           Unknown
 P.L.                       JoAnne Lafferty                                                       5660 34th Street                                                                       Riverside               CA        92409                  Litigation          X           Unknown
 P.M.                       Rhonda Davenport                                                      1101 Latigo Lane                                                                       Springfield             IL        62712                  Litigation          X           Unknown
 P.M.                       Sylvia Martinez                                                       469 Pear Street                                                                        San Bernardino          CA        92410                  Litigation          X           Unknown
 P.M.                       Teresita Tan                                                          24506 Marbella Avenue                                                                  Carson                  CA        90745                  Litigation          X           Unknown
 P.M.                       Terry Maggay                                                          306 Avenue E                                                                           Redondo Beach           CA        90277                  Litigation          X           Unknown
 P.P.                       Catherine Patrick                                                     1071 Ardmore Street                                                                    Riverside               CA        92507                  Litigation          X           Unknown
 P.P.                       Estefana Ruiz-Cortez                                                  14855 Ebony Pl.                                                                        Fontana                 CA        92335                  Litigation          X           Unknown
 P.P.                       Phillip Pantaleon                                                     14448 Bloomfield Avenue                                                                Chino Hills             CA        91710                  Litigation          X           Unknown
 P.R.                       Kevin Brophy                                                          1350 Malaga Dr. #89                                                                    Riverside               CA        92509                  Litigation          X           Unknown
 P.S.                       Angelica Sanchez                                                      10582 Tumbleweed Drive                                                                 Bloomington             CA        92316                  Litigation          X           Unknown
 P.S.                       Margaretta Cooper and Amanda Kennedy                                  500 Winter Court                                                                       Jacksonville            NC        28540                  Litigation          X           Unknown
 P.T.                       Candeleria Torres                                                     8416 Fultana Ave                                                                       Fontana                 CA        92335                  Litigation          X           Unknown
 P.V.                       LORENA VARGAS, AS PARENT AND GUARDIAN AD LITEM                        4042 Dell Avenue                                                                       Riverside               CA        92509                  Litigation          X           Unknown
 P.W.                       Annie Jemison-Wynn                                                    3901 Briggs St.- Apt. 119                                                              Jurupa Valley           CA        92509                  Litigation          X           Unknown
 P.W.                       Brenda Gunder                                                         5221 36th Street                                                                       Riverside               CA        92509                  Litigation          X           Unknown
 P.W.                       Debbie Dawson                                                         610 Lake Edge Drive                                                                    Moneta                  VA        24121                  Litigation          X           Unknown
 P.W.                       Margarita Wilson                                                      11650 Cherry Avenue- Apt. 12K                                                          Fontana                 CA        92337                  Litigation          X           Unknown
 P.W.                       Thomas L. Whittington                                                 9542 Candlelight Street                                                                Apple Valley            CA        92308                  Litigation          X           Unknown
 P.Z.                       Andres Zayas                                                          2384 Paulding Ave.- Apt. 6B                                                            Bronx                   NY        10469                  Litigation          X           Unknown
 Q                          c/o Antonia Padilla                                                   12405 Benedict Ave, #26                                                                Downey                  CA        90242                  Litigation          X           Unknown
 Q. F.                      Jacqueline McCluskey                                                  4477 Ruby Rd.                                                                          Fayetteville            NC        28311                  Litigation          X           Unknown
 R. B.                      Angelina Carrasco                                                     110 Seaman Avenue Apt 2A                                                               New York                NY        10034                  Litigation          X           Unknown
 R. D.                      Lolita                                                                1300 S. Church Street #N10                                                             Jonesboro               AR        72401                  Litigation          X           Unknown
 R. D.                      Lolita                                                                1740 N Meade                                                                           Chicago                 IL        60639                  Litigation          X           Unknown
 R. D.                      Lolita                                                                6846 Hwy. 51                                                                           Fisk                    MO        63940                  Litigation          X           Unknown
 R. O.                      Sholandia Owens                                                       190 Lynnwood Cir                                                                       Clarksville             TN        37043                  Litigation          X           Unknown
 R. S.                      Paula Byers-Laden                                                     4577 Hwy 29 N                                                                          Hope                    AR        71801                  Litigation          X           Unknown




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                                                                                                                                                                                                                                                                Contingent,
                Name1                                     Name2                        Name3                        Address1                                             Address2                      City   State      Zip         Country   Basis of Claim                  Claim Amount
                                                                                                                                                                                                                                                                Unliquidated

 R.A.                       Lilia Alejandre, as parent and guardian                            18815 11th Street                                                                    Bloomington               CA        92316                    Litigation          X           Unknown
 R.A.                       Rosalind Holloway                                                  3204 Winston Terrace- Apt. 212                                                       Arlington                 TX        76014                    Litigation          X           Unknown
 R.A.                       Shamika White Sykes                                                7647 Mission Boulevard                                                               Riverside                 CA        92509                    Litigation          X           Unknown
 R.A.                       c/o Ehizetee Ruiz                                                  5618 Tilton Avenue- Apt. 158                                                         Riverside                 CA        92509                    Litigation          X           Unknown
 R.A.                       C/O Jackie Alarcon                                                 2000 San Gabriel Ave.- Apt. 302                                                      Long Beach                CA        90810                    Litigation          X           Unknown
 R.A.                       c/o Ms. Judith Zarate                                              5776 Omaha Street                                                                    Los Angeles               CA        90042                    Litigation          X           Unknown
 R.A.                       Epi Samsul Komar; Dian Andriani                                    Lubuklinggau                                                                         Sumatra Selatan            0        31612    Indonesia       Litigation          X           Unknown
 R.B.                       Estella Baker                                                      15940 Stoddard Wells Road- Space 49                                                  Victorville               CA        92395                    Litigation          X           Unknown
 R.B.                       ESTHER GUTIERREZ , AS PARENT AND GUARDIAN AD LITEM                 19454 El Rivino Road                                                                 Riverside                 CA        92509                    Litigation          X           Unknown
 R.B.                       LETISHA BARRIENTOS, AS PARENT AND GUARDIAN AD LITEM                5350 Paloma Road                                                                     Riverside                 CA        92509                    Litigation          X           Unknown
 R.B.                       Mona C. Busick                                                     19232 Maywood Street                                                                 Bloomington               CA        92316                    Litigation          X           Unknown
 R.B.                       Rowdy Barrow                                                       255 Iowa Avenue                                                                      Highgrove                 CA        92507                    Litigation          X           Unknown
 R.B.                       Teresa Lynn Sinderson                                              405 Wedgewood Drive                                                                  Eagle Point               OR        97524                    Litigation          X           Unknown
 R.B.                       c/o Tera Roby                                                      255 Iowa Avenue                                                                      Highgrove                 CA        92507                    Litigation          X           Unknown
 R.C.                       Gabriela Chapa                                                     5666 28th St.                                                                        Riverside                 CA        92509                    Litigation          X           Unknown
 R.C.                       MARIA G. RUSSELL, AS PARENT AND GUARDIAN AD LITEM                  773 Cedar Court                                                                      Colton                    CA        92324                    Litigation          X           Unknown
 R.C.                       Maria G. Russell, as parent and guardian                           773 Cedar Court                                                                      Colton                    CA        92324                    Litigation          X           Unknown
 R.C.                       Roseanne Granillo                                                  18485 9th Street                                                                     Bloomington               CA        92316                    Litigation          X           Unknown
 R.C.                       RUSSELL CORCORAN SR., AS PARENT AND GUARDIAN AD LITEM              10701 Cedar Ave.- Space #124                                                         Bloomington               CA        92316                    Litigation          X           Unknown
 R.C.                       c/o Sandra Smedley                                                 135 Chestnut Lane Apt. J203                                                          Richmond Heights          OH        44143                    Litigation          X           Unknown
 R.D.                       Ronald L. Davis                                                    1025 N. Urbana Avenue                                                                Tulsa                     OK        74115                    Litigation          X           Unknown
 R.D.                       C/O Debra Davis,                                                   9167 Westcross Dr. Bldg. 6 Unit 103                                                  Littleton                 CO        80123                    Litigation          X           Unknown
 R.D.                       c/o Van Dyke Manor                                                 42 Northmountain Ave.                                                                Montclair                 NJ        07042                    Litigation          X           Unknown
 R.D.                       c/o Van Dyke Manor                                                 42 Northmountain Ave.                                                                Montclair                 NJ        07042                    Litigation          X           Unknown
 R.E.                       Carla McCague                                                      6403 Nottoway Court                                                                  Frisco                    TX        75035                    Litigation          X           Unknown
 R.F.                       Bernard Fernandez                                                  26439 Ovid Avenue                                                                    Lomita                    CA        90717                    Litigation          X           Unknown
 R.F.                       Richard Allen Fair                                                 24613 Neptune Avenue                                                                 Carson                    CA        90745                    Litigation          X           Unknown
 R.F.                       C/o Alice Finkelstein                                              16211 Downey Ave.- Unit 72                                                           Paramount                 CA        90723                    Litigation          X           Unknown
 R.F.                       C/O Pauline Fister                                                 8407 234 Avenue East                                                                 Buckley                   WA        98321                    Litigation          X           Unknown
 R.G.                       Anna B. Graham                                                     22738 Lukens Lane                                                                    Perris                    CA        92570                    Litigation          X           Unknown
 R.G.                       Bertha Corona                                                      899 West G Street                                                                    Colton                    CA        92324                    Litigation          X           Unknown
 R.G.                       Cory Lee Soupene                                                   PO Box 103                                                                           Oro Grande                CA        92368                    Litigation          X           Unknown
 R.G.                       Estella Gamez                                                      15155 State Street                                                                   Oro Grande                CA        92368                    Litigation          X           Unknown
 R.G.                       GINA HOWARD, AS PARENT AND GUARDIAN AD LITEM                       9964 Cedar Ave.                                                                      Bloomington               CA        92316                    Litigation          X           Unknown
 R.G.                       GINA HOWARD, AS PARENT AND GUARDIAN AD LITEM                       218 Dogwood Street                                                                   Jacksonville              TX        75766                    Litigation          X           Unknown
 R.G.                       ROBERTO GUTIERREZ, AS PARENT AND GUARDIAN AD LITEM                 429 West O Street                                                                    Colton                    CA        92324                    Litigation          X           Unknown
 R.G.                       Ruben Chapa Sr.                                                    3230 Ruthann Drive                                                                   Riverside                 CA        92509                    Litigation          X           Unknown
 R.G.                       Stephanie Perez                                                    941 W Bloomwood Road                                                                 San Pedro                 CA        90731                    Litigation          X           Unknown
 R.H.                       Anna Luisa Hernandez                                               10250 Spencer St.- Apt 1120                                                          Las Vegas                 NV        89183                    Litigation          X           Unknown
 R.H.                       Jimar De LaRiviere                                                 4491 Strong Street                                                                   Riverside                 CA        92501                    Litigation          X           Unknown
 R.J.                       Evelyn Jaurigue                                                    256 South 10th Street                                                                Colton                    CA        92324                    Litigation          X           Unknown
 R.J.                       Mildred Jackson                                                    PO Box 14524                                                                         Torrance                  CA      90503-8524                 Litigation          X           Unknown
 R.K.                       TRENA BROWN, AS PARENT AND GUARDIAN AD LITEM                       2791 Avalon Street                                                                   Riverside                 CA        92509                    Litigation          X           Unknown
 R.L.                       Jamie Loera                                                        PO Box 58                                                                            Oro Grande                CA        92368                    Litigation          X           Unknown
 R.L.                       Jimar De LaRiviere                                                 4491 Strong Street                                                                   Riverside                 CA        92501                    Litigation          X           Unknown
 R.L.                       JOMICA FAYE LYMON WHITE, AS PARENT AND GUARDIAN AD LITEM           25106 Granville St.                                                                  Moreno Valley             CA        92551                    Litigation          X           Unknown
 R.L.                       KATHRYN LARIVIERE, AS PARENT AND GUARDIAN AD LITEM                 4491 Strong Street                                                                   Riverside                 CA        92501                    Litigation          X           Unknown
 R.L.                       Maria Lievanos                                                     6223 Tarragona Drive                                                                 Riverside                 CA        92509                    Litigation          X           Unknown
 R.L.                       Rosa Leyva                                                         2754 Avalon Street                                                                   Riverside                 CA        92509                    Litigation          X           Unknown
 R.M.                       Bachi Madrid                                                       16420 Brighton Avenue                                                                Gardena                   CA        90247                    Litigation          X           Unknown
 R.M.                       NOEL MONTES, SR., AS PARENT AND GUARDIAN AD LITEM                  4701 Charles Place- #1432                                                            Plano                     TX        75093                    Litigation          X           Unknown
 R.M.                       NOEL MONTES, SR., AS PARENT AND GUARDIAN AD LITEM                  4701 Charles Place- #1432                                                            Plano                     TX        75093                    Litigation          X           Unknown
 R.M.                       Gloria Martinez                                                    24533 Island Avenue                                                                  Carson                    CA        90745                    Litigation          X           Unknown
 R.M.                       Jerry Jelenic                                                      1378 W 26th Place                                                                    San Pedro                 CA        90732                    Litigation          X           Unknown
 R.M.                       Kimmi Brown                                                        335 53rd Ave. Court                                                                  Greeley                   CO        80634                    Litigation          X           Unknown
 R.M.                       Lisa G. Martinez                                                   9461 Heiner Street                                                                   Bellflower                CA        90706                    Litigation          X           Unknown
 R.M.                       Raynisha R. McGee                                                  17115 Avenue Del Sol                                                                 Fontana                   CA        92337                    Litigation          X           Unknown
 R.M.                       Rebecca Montez                                                     19440 Katydid Avenue                                                                 Bloomington               CA        92316                    Litigation          X           Unknown
 R.M.                       ROBERT JAMES MILLER, AS PARENT AND GUARDIAN AD LITEM               2917 Pumpkin Harvest Avenue                                                          North Las Vegas           NV        89031                    Litigation          X           Unknown
 R.M.                       Saralyn Pennington                                                 5215 Stone Mountain Place NW                                                         Albuquerque               NM        87114                    Litigation          X           Unknown
 R.M.                       Sylvia Martinez, as parent and guardian                            2784 Oak Street                                                                      Rialto                    CA        92376                    Litigation          X           Unknown
 R.M.                       Tabitha S. McGee                                                   17115 Avenue Del Sol                                                                 Fontana                   CA        92337                    Litigation          X           Unknown




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                Name1                                     Name2                 Name3                       Address1                                               Address2                            City   State      Zip          Country   Basis of Claim                  Claim Amount
                                                                                                                                                                                                                                                                 Unliquidated

 R.M.                       Elza Warto                                                  Kamang Magek District                                  Adam Regency, West Sumtra Province                                                  indonesia       Litigation         X           Unknown
 R.N.                       Delma Rose Lee                                              11575 Kayal Avenue                                                                          Moreno Valley             CA        92557                      Litigation         X           Unknown
 R.N.                       Leota Mae North                                             231 Bloomington Avenue                                                                      Rialto                    CA        92376                      Litigation         X           Unknown
 R.N.                       Rebecca Nava                                                2851 South La Cadena Drive- 251                                                             Colton                    CA        92324                      Litigation         X           Unknown
 R.N.                       c/o Leticia Bassett                                         3574 Orange Ave.                                                                            Long Beach                CA        90807                      Litigation         X           Unknown
 R.O.                       Leticia Roberts                                             1030 West G Street                                                                          Colton                    CA        92324                      Litigation         X           Unknown
 R.O.                       Raul Duarte Olivas                                          1336 W. 2nd St.                                                                             San Bernardino            CA        92410                      Litigation         X           Unknown
 R.P.                       Annette Perez                                               P.O. Box 52047                                                                              Riverside                 CA        92517                      Litigation         X           Unknown
 R.P.                       Doreen Peters                                               19 Camey Street                                                                             Belen                     NM        87002                      Litigation         X           Unknown
 R.P.                       Elizabeth Corrine Pacheco                                   24420 Panama Avenue                                                                         Carson                    CA        90745                      Litigation         X           Unknown
 R.P.                       Ingrid Peachie                                              P.O. Box 12                                                                                 Oro Grande                CA        92368                      Litigation         X           Unknown
 R.P.                       Margaret Pena                                               3110 Wallace St.                                                                            Riverside                 CA        92509                      Litigation         X           Unknown
 R.P.                       Marylou Duran                                               7865 Margaux Pl                                                                             Rancho Cucamonga          CA        91739                      Litigation         X           Unknown
 R.P.                       Paul Piscatella                                             3837 Ridge Road                                                                             Riverside                 CA        92501                      Litigation         X           Unknown
 R.R.                       DeAnna McNelly                                              15505 County Farm Road                                                                      Greenville                MI        48838                      Litigation         X           Unknown
 R.R.                       Diana Garcia                                                2388 Vermont Ave.                                                                           Riverside                 CA      92507-5160                   Litigation         X           Unknown
 R.R.                       Diana Garcia, as parent and guardian                        4036 Twining Street                                                                         Riverside                 CA        92509                      Litigation         X           Unknown
 R.R.                       Diana Garcia, as parent and guardian                        2683 Hall Avenue                                                                            Riverside                 CA        92509                      Litigation         X           Unknown
 R.R.                       LOUISE RAMIREZ, AS PARENT AND GUARDIAN AD LITEM             10701 Cedar Avenue Apartment 186                                                            Bloomington               CA        92316                      Litigation         X           Unknown
 R.R.                       MARIA CALVERT                                               5339 Paloma Road                                                                            Riverside                 CA        92509                      Litigation         X           Unknown
 R.R.                       Maria Ruiz                                                  1997 Missouri Street                                                                        Riverside                 CA        92507                      Litigation         X           Unknown
 R.R.                       Reyes Rangel Sr.                                            1239 W. Massachusetts Ave                                                                   San Bernardino            CA        92411                      Litigation         X           Unknown
 R.R.                       Ricardo Rodriguez                                           2406 Salamanca                                                                              La Verne                  CA        91750                      Litigation         X           Unknown
 R.R.                       Romana Regalado                                             5748 29th Street                                                                            Riverside                 CA        92509                      Litigation         X           Unknown
 R.R.                       Susanna Nino                                                3825 Crestmore Road- #458                                                                   Riverside                 CA        92509                      Litigation         X           Unknown
 R.R.                       c/o Susan Rodriguez Esq.                                    3440 Wilshire Blvd.- Ste. 810                                                               Los Angeles               CA        90010                      Litigation         X           Unknown
 R.S.                       Celia Silva                                                 45561 36th Street East                                                                      Lancaster                 CA        93535                      Litigation         X           Unknown
 R.S.                       Francesca Sciortino                                         362 E 249th Street                                                                          Carson                    CA        90745                      Litigation         X           Unknown
 R.S.                       Mae Pearl Bullock                                           1980 Cedar Ave.- Apt. 8                                                                     Long Beach                CA        90806                      Litigation         X           Unknown
 R.S.                       Regina Packard                                              16405 Paulina Street                                                                        Markham                   IL        60428                      Litigation         X           Unknown
 R.S.                       Reynaldo Salazar                                            3463 Pontiac Avenue                                                                         Riverside                 CA        92509                      Litigation         X           Unknown
 R.S.                       Rita Y. Sweeney                                             5327 El Rio Avenue                                                                          Riverside                 CA        92509                      Litigation         X           Unknown
 R.S.                       Victoria Valadez                                            18880 9th Street                                                                            Bloomington               CA        92316                      Litigation         X           Unknown
 R.S.                       C/O Sajeev Sugunan,                                         15119 Millers Run Lane                                                                      Sugarland                 TX        77498                      Litigation         X           Unknown
 R.T.                       Ruth Trujillo                                               983 W. Lacadena Dr.- Space 4                                                                Riverside                 CA        92501                      Litigation         X           Unknown
 R.U.                       LACEY LUKE, AS PARENT AND GUARDIAN AD LITEM                 4166 Strong Street                                                                          Riverside                 CA        92501                      Litigation         X           Unknown
 R.V.                       VERONICA ALVAREZ, AS PARENT AND GUARDIAN AD LITEM           2683 Hall Avenue                                                                            Riverside                 CA        92509                      Litigation         X           Unknown
 R.W.                       Catherine J. Hollis                                         P.O. Box 401625                                                                             Hesperia                  CA        92340                      Litigation         X           Unknown
 S. E.                      Sheila Hickson                                              PO Box 184                                                                                  Lake City                 SC        29560                      Litigation         X           Unknown
 S. R.                      Scott Ryan                                                  535 Yucca Rd.                                                                               Fallbrook                 CA        92028                      Litigation         X           Unknown
 S. S.                      Dawn Schaefer                                               34531 Yale Drive                                                                            Yucaipa                   CA        92399                      Litigation         X           Unknown
 S. W.                      Marcia Wilson                                               4133 First Ave South                                                                        St. Petersburg            FL        33711                      Litigation         X           Unknown
 S.A.                       BRENDA BAILEY , AS PARENT AND GUARDIAN AD LITEM             5325 Bell Avenue                                                                            Riverside                 CA        92509                      Litigation         X           Unknown
 S.A.                       Caritina Avila                                              22111 Newport Ave. #147                                                                     Grand Terrace             CA      92313-4313                   Litigation         X           Unknown
 S.A.                       David Alfonso                                               19090 Dartmouth Ave.                                                                        Riverside                 CA        92507                      Litigation         X           Unknown
 S.A.                       Elisa Arreola                                               12026 Pepper Street                                                                         Bloomington               CA        92316                      Litigation         X           Unknown
 S.A.                       UMAR RAHEEM, AS PARENT AND GUARDIAN AD LITEM                2720 Avalon Street                                                                          Riverside                 CA        92509                      Litigation         X           Unknown
 S.A.                       Umar Raheem, as parent and guardian                         2720 Avalon Street                                                                          Riverside                 CA        92509                      Litigation         X           Unknown
 S.B.                       Barbara Alarcon                                             344 Mars Court                                                                              Nipomo                    CA        93444                      Litigation         X           Unknown
 S.B.                       Beatriz Banuelos                                            10891 Olive Street                                                                          Bloomington               CA        92316                      Litigation         X           Unknown
 S.B.                       Dewayne Butler                                              5365 26th Street                                                                            Riverside                 CA        92509                      Litigation         X           Unknown
 S.B.                       Kenneth Brown                                               5307 El Rio Avenida                                                                         Riverside                 CA        92509                      Litigation         X           Unknown
 S.C.                       Michelle Crain                                              1399 Withorn Court                                                                          Riverside                 CA        92507                      Litigation         X           Unknown
 S.C.                       Amelia Carrillo                                             177 N. Pampas Ave.                                                                          Rialto                    CA        92376                      Litigation         X           Unknown
 S.C.                       Amelia Carrillo, as parent and guardian                     18783 13th Street                                                                           Bloomington               CA        92316                      Litigation         X           Unknown
 S.C.                       AMY CLARK, AS PARENT AND GUARDIAN AD LITEM                  2868 Locust Street                                                                          Riverside                 CA        92501                      Litigation         X           Unknown
 S.C.                       Yesenia Su, as parent and guardian                          5535 28th Street                                                                            Riverside                 CA        92509                      Litigation         X           Unknown
 S.C.                       Yesenia Su, as parent and guardian                          5535 28th Street                                                                            Riverside                 CA        92509                      Litigation         X           Unknown
 S.C.                       Manfrit Clemons                                             6150 Canyon Estates Court                                                                   Riverside                 CA        92506                      Litigation         X           Unknown
 S.C.                       Matthew L. Casioce                                          2220 W. Dora St.- Apt. 127                                                                  Mesa                      AZ        85201                      Litigation         X           Unknown
 S.D.                       Michelle Connell                                            14585 Stallion Trail                                                                        Victorville               CA        92392                      Litigation         X           Unknown
 S.E.                       Lucila Egbalic                                              6807 E Pinnacle Pointe                                                                      Orange                    CA        92869                      Litigation         X           Unknown




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                                                                                                                                                                                                                                                          Contingent,
                Name1                                     Name2                     Name3                         Address1                                             Address2                    City   State      Zip       Country   Basis of Claim                  Claim Amount
                                                                                                                                                                                                                                                          Unliquidated

 S.G.                       Chester V. Gilbert                                              5430 Via San Jacinto                                                                  Riverside                CA       92506                  Litigation          X           Unknown
 S.G.                       GRACIELA BAYNORI, AS PARENT AND GUARDIAN AD LITEM               4770 Sphinz Way- Apt. #1139                                                           Las Vegas                NV       89115                  Litigation          X           Unknown
 S.G.                       Maria Marquez, as parent and guardian                           18853 5th Street                                                                      Bloomington              CA       92316                  Litigation          X           Unknown
 S.G.                       Marina Cervantez                                                17333 E. Valley Blvd.- Spc. 118                                                       Fontana                  CA       92335                  Litigation          X           Unknown
 S.G.                       Terence Godwin                                                  102 East Street                                                                       Norco                    CA       92860                  Litigation          X           Unknown
 S.H.                       Janet R. Herrera                                                4500 Truxel Rd. #523                                                                  Sacramento               CA       95834                  Litigation          X           Unknown
 S.H.                       Romana Regalado                                                 5748 29th Street                                                                      Riverside                CA       92509                  Litigation          X           Unknown
 S.H.                       Veola Harris                                                    8989 Mission Blvd.- #113                                                              Riverside                CA       92509                  Litigation          X           Unknown
 S.J.                       STEVEN WHITE, AS PARENT AND GUARDIAN AD LITEM                   25106 Granville St.                                                                   Moreno Valley            CA       92551                  Litigation          X           Unknown
 S.K.                       Glennie Hope                                                    1420 N. Franklin St- Apt. 9H                                                          Wilmington               DE       19806                  Litigation          X           Unknown
 S.L.                       Darlene Schill                                                  4639 Jurupa Ave.                                                                      Riverside                CA       92506                  Litigation          X           Unknown
 S.L.                       Irma Monaco                                                     PO Box 67                                                                             Riverside                CA       92502                  Litigation          X           Unknown
 S.L.                       LETICIA PENA, AS PARENT AND GUARDIAN AD LITEM                   5339 Paloma Road                                                                      Riverside                CA       92509                  Litigation          X           Unknown
 S.L.                       LETICIA PENA, AS PARENT AND GUARDIAN AD LITEM                   5339 Paloma Road                                                                      Riverside                CA       92509                  Litigation          X           Unknown
 S.L.                       c/o Amanda Uhle,                                                1402 Coler                                                                            Ann Arbor                MI       48104                  Litigation          X           Unknown
 S.M.                       Damien A. Richardson                                            18554 Bellflower St.                                                                  Adelanto                 CA       92301                  Litigation          X           Unknown
 S.M.                       MARIA MORALES, AS PARENT AND GUARDIAN AD LITEM                  18516 8th Street                                                                      Bloomington              CA       92316                  Litigation          X           Unknown
 S.M.                       Maribel Montes                                                  28387 Ashford Court                                                                   Highland                 CA       92346                  Litigation          X           Unknown
 S.M.                       Michael Maguire                                                 570 Navajo Dr.                                                                        Banning                  CA       92220                  Litigation          X           Unknown
 S.M.                       Sharon McGee                                                    3254 Laurel Drive                                                                     Riverside                CA       92509                  Litigation          X           Unknown
 S.M.                       Sylvia Martinez, as parent and guardian                         2784 Oak Street                                                                       Rialto                   CA       92376                  Litigation          X           Unknown
 S.M.                       C/O Law Offices of Mark Conway                                  502 S. Blakely Street                                                                 Dunmore                  PA       18512                  Litigation          X           Unknown
 S.N.                       Ariana Calvert, as parent and guardian                          5339 Paloma Road                                                                      Riverside                CA       92509                  Litigation          X           Unknown
 S.N.                       DIANA AND LORRAINE TRUJILLO, AS GUARDIAN AD LITEMS              21835 Olive Avenue                                                                    Perris                   CA       92570                  Litigation          X           Unknown
 S.O.                       Lori Cornejo                                                    527 West Duarte Road- Unit E                                                          Monrovia                 CA       91016                  Litigation          X           Unknown
 S.P.                       Barbara Post                                                    24433 Marbella Avenue                                                                 Carson                   CA       90745                  Litigation          X           Unknown
 S.P.                       Jacinto Portillo                                                18524 14th Street                                                                     Bloomington              CA       92316                  Litigation          X           Unknown
 S.P.                       Ronnie Pena                                                     3150 Wallace Street                                                                   Riverside                CA       92509                  Litigation          X           Unknown
 S.Q.                       Karen Quinonez                                                  1637 Macy Ave.                                                                        Colton                   CA       92324                  Litigation          X           Unknown
 S.R.                       Cindy DeCastro Romo, as parent and guardian                     11621 Sueno Court                                                                     Fontana                  CA       92337                  Litigation          X           Unknown
 S.R.                       Kathleen Robles                                                 8250 La Sierra Ave.                                                                   Whittier                 CA       90605                  Litigation          X           Unknown
 S.R.                       Manuel Ruiz                                                     2831 Avalon St.                                                                       Riverside                CA       92509                  Litigation          X           Unknown
 S.R.                       Minerva Jean Butler                                             2836 Demeter Place                                                                    Riverside                CA       92509                  Litigation          X           Unknown
 S.R.                       Sherry Notarangelo                                              140 North 4th St. Apt 340                                                             Louisville               KY       40202                  Litigation          X           Unknown
 S.S.                       Angelica Naranjo                                                1780 West Lincoln Ave.- Apt. 331                                                      Anaheim                  CA       92801                  Litigation          X           Unknown
 S.S.                       Jaime Samaniego                                                 6881 Wegman Drive                                                                     Riverside                CA       92509                  Litigation          X           Unknown
 S.S.                       Jessica Holley                                                  2984 Taos Drive                                                                       Riverside                CA       92509                  Litigation          X           Unknown
 S.S.                       Maleta Atuatasi                                                 2736 E. Jackson Street                                                                Carson                   CA       90810                  Litigation          X           Unknown
 S.S.                       Lottie M. Szopinski Stephen                                     7698 River Road                                                                       Mount Morris             NY       14510                  Litigation          X           Unknown
 S.T.                       Debra Towne                                                     11564 Pepper Street                                                                   Bloomington              CA       92316                  Litigation          X           Unknown
 S.T.                       Ronnel Taylor                                                   114 Racquet Club Drive, #608                                                          Greensburg               PA       15601                  Litigation          X           Unknown
 S.T.                       TAMARA GREEN, AS PARENT AND GUARDIAN AD LITEM                   5325 Bell Avenue                                                                      Riverside                CA       92509                  Litigation          X           Unknown
 S.T.                       Tilomai Fuka                                                    954 S. Washington Ave.                                                                San Bernardino           CA     92408-2240               Litigation          X           Unknown
 S.V.                       JOHNNY VALLECILLO, AS PARENT AND GUARDIAN AD LITEM              P.O. Box 3326                                                                         Riverside                CA       92519                  Litigation          X           Unknown
 S.W.                       STEVEN WHITE, AS PARENT AND GUARDIAN AD LITEM                   25106 Granville St.                                                                   Moreno Valley            CA       92551                  Litigation          X           Unknown
 T. M.                      Tracee Mohr                                                     2630 Colorado St.                                                                     Sarasota                 FL       34237                  Litigation          X           Unknown
 T. S.                      Marvin Harvey                                                   1700 Fritwell Ct                                                                      Ocoee                    FL       34761                  Litigation          X           Unknown
 T. W.                      April White                                                     555 S Old Butte Hwy Apt# 403                                                          Idaho Falls              ID       83402                  Litigation          X           Unknown
 T.A.                       Diana Marotta                                                   32206 1/2 Lakeview Terrace                                                            Lake Elsinore            CA       92530                  Litigation          X           Unknown
 T.A.                       Sabrina Alfonso                                                 5965 Meadowbrook Lane                                                                 Riverside                CA       92504                  Litigation          X           Unknown
 T.B.                       BRENDA BAILEY , AS PARENT AND GUARDIAN AD LITEM                 300 West Mt. View Street                                                              Barstow                  CA       92311                  Litigation          X           Unknown
 T.B.                       Teresa Barker                                                   3025 David St.                                                                        Riverside                CA       92506                  Litigation          X           Unknown
 T.C.                       SHAWNTAY MAYO, AS PARENT AND GUARDIAN AD LITEM                  2836 Demeter Place                                                                    Riverside                CA       92509                  Litigation          X           Unknown
 T.C.                       TIMOTHY COCHRAN                                                 540 Kirk Street                                                                       Colton                   CA       92324                  Litigation          X           Unknown
 T.C.                       TUREKA BAKER-JENKINS, AS PARENT AND GUARDIAN AD LITEM           16131 Bear Valley Rd. #2                                                              Hesperia                 CA       92345                  Litigation          X           Unknown
 T.D.                       Alice Scott                                                     16405 Paulina Street                                                                  Markham                  IL       60428                  Litigation          X           Unknown
 T.D.                       Roseana Duron                                                   1251 Massachusetts Ave.- Apt. 5                                                       Riverside                CA       92507                  Litigation          X           Unknown
 T.F.                       Tomas Fobian                                                    5156 North Stewart Ranch Road                                                         Douglas                  AZ       85607                  Litigation          X           Unknown
 T.G.                       Adrian Gentry                                                   P.O. Box 56548                                                                        Riverside                CA       92517                  Litigation          X           Unknown
 T.G.                       ADRIAN GENTRY, AS PARENT AND GUARDIAN AD LITEM                  P.O. Box 56548                                                                        Riverside                CA       92517                  Litigation          X           Unknown
 T.G.                       RACHEL GALVIN, AS PARENT AND GUARDIAN AD LITEM                  PO Box 151                                                                            Oro Grande               CA       92368                  Litigation          X           Unknown
 T.G.                       Thomas Graham                                                   5750 Kenwood Place                                                                    Riverside                CA       92509                  Litigation          X           Unknown




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                                                                                                                                                                                                                                                     Contingent,
                Name1                                      Name2                  Name3                          Address1                                            Address2                     City   State     Zip    Country   Basis of Claim                  Claim Amount
                                                                                                                                                                                                                                                     Unliquidated

 T.H.                       Rhonda Cook                                                   640 Olive St. #B                                                                      Rialto                    CA      91768               Litigation          X           Unknown
 T.J.                       Wilena Banks                                                  3078 1/2 Mary Ellen Drive                                                             Riverside                 CA      92509               Litigation          X           Unknown
 T.L.                       Kimberly Lobato                                               2756 College Drive                                                                    Rialto                    CA      92376               Litigation          X           Unknown
 T.M.                       Darron Marshall                                               P.O. Box 2194                                                                         Riverside                 CA      92516               Litigation          X           Unknown
 T.M.                       Erica J. McComb                                               5198 Arlington Ave.- #709                                                             Riverside                 CA      92504               Litigation          X           Unknown
 T.M.                       KATIE JANE MINNEAR, AS PARENT AND GUARDIAN AD LITEM           28536 Mission Drive                                                                   Menifee                   CA      92584               Litigation          X           Unknown
 T.M.                       ST. Brides Correctional Center                                701 Sanderson Road                                                                    Chesapeake                VA      23328               Litigation          X           Unknown
 T.M.                                                                                     4712 HASTI JOY CT                                                                     BAKERSFIELD               CA      93309               Litigation          X           Unknown
 T.P.                       c/o Sonia                                                     P.O. Box 23                                                                           Oro Grande                CA      92368               Litigation          X           Unknown
 T.R.                       Kevin Brophy                                                  509 E. Avenue A                                                                       Jerome                    ID      83338               Litigation          X           Unknown
 T.R.                       MARGARITA VILLA, AS PARENT AND GUARDIAN AD LITEM              11016 Maple Avenue                                                                    Bloomington               CA      92316               Litigation          X           Unknown
 T.R.                       Marilyn Lafferty                                              26303 Old Anvil Lane                                                                  Moreno Valley             CA      92555               Litigation          X           Unknown
 T.R.                       Ricky Reid                                                    1113 SW 58th St.                                                                      Oklahoma City             OK      73109               Litigation          X           Unknown
 T.S.                       (GK # 2017202)                                                801 South Grand Ave. #1802                                                            Los Angeles               CA      90017               Litigation          X           Unknown
 T.T.                       Isabelita Tiangco                                             424 W 223 Street Apt.6                                                                Carson                    CA      90745               Litigation          X           Unknown
 T.T.                       Maria M. Tupua                                                1683 Sand Lane                                                                        Manteca                   CA      95337               Litigation          X           Unknown
 T.V.                       David Viveros                                                 841 Bradley Street                                                                    Riverside                 CA      92506               Litigation          X           Unknown
 T.W.                       Kathryn Thomas                                                3721 Carolina Beach Rd.                                                               Wilmington                NC      28412               Litigation          X           Unknown
 T.W.                       Sarah Byars                                                   5720 LaVista Drive                                                                    Alexandria                VA      22310               Litigation          X           Unknown
 T.Y.                       TIMOTHY YBARRA, AS PARENT AND GUARDIAN AD LITEM               4375 Ridgewood Drive                                                                  Riverside                 CA      92509               Litigation          X           Unknown
 T.Z.                       Cheryl Zimmerman                                              7005 Karen Lane                                                                       Riverside                 CA      92509               Litigation          X           Unknown
 U.M.                       Ulysses Moore Jr. CDC# AV 1681 B4 C 120                       P.O. Box 2610                                                                         California City           CA      93505               Litigation          X           Unknown
 U.S.                       Edith Sierra                                                  6348 Thunder Bay Trail                                                                Riverside                 CA      92509               Litigation          X           Unknown
 U.U.                       Rukeni Binti Sudadi                                           Address Unknown                                                                                                                             Litigation          X           Unknown
 V. Q.                      Aidee Quinones                                                7785 Juniper Dr.                                                                      Apple Valley             CA       92308               Litigation          X           Unknown
 V.B.                       Teresa Lynn Sinderson                                         405 Wedgewood Drive                                                                   Eagle Point              OR       97524               Litigation          X           Unknown
 V.C.                       BERTHA CORONA, AS PARENT AND GUARDIAN AD LITEM                899 West G Street                                                                     Colton                   CA       92324               Litigation          X           Unknown
 V.C.                       ELIZABETH HERRERA, AS PARENT AND GUARDIAN AD LITEM            11797 Maywood Street                                                                  Adelanto                 CA       92301               Litigation          X           Unknown
 V.D.                       Maria Silva                                                   11392 Trotter Lane                                                                    Fontana                  CA       92337               Litigation          X           Unknown
 V.F.                       Antoinette Franco                                             3263 Cannes Avenue                                                                    Riverside                CA       92501               Litigation          X           Unknown
 V.G.                       Tamara Green                                                  118 Cuyahoga Court                                                                    Perris                   CA       92570               Litigation          X           Unknown
 V.H.                       Nakisha Hoxie                                                 P.O. Box 51365                                                                        Riverside                CA       92517               Litigation          X           Unknown
 V.J.                       Chalisa LaChelle Foster                                       15450 Nisqualli Rd.- Apt A101                                                         Victorville              CA       92395               Litigation          X           Unknown
 V.J.                       Raymond Johnson                                               110 5E 78th Place                                                                     Denver                   CO       80229               Litigation          X           Unknown
 V.L.                       Irma Monaco                                                   PO BOx 67                                                                             Riverside                CA       92502               Litigation          X           Unknown
 V.L.                       c/o Ebby S Bakhtiar                                           3435 Wilshire Bl, #1669                                                               Los Angeles              CA       90010               Litigation          X           Unknown
 V.M.                       MARIA VASQUEZ, AS PARENT AND GUARDIAN AD LITEM                5284 35th Street                                                                      Riverside                CA       92509               Litigation          X           Unknown
 V.M.                                                                                     14648 Sylvan, #301                                                                    Van Nuys                 CA       91411               Litigation          X           Unknown
 V.P.                       DANA BEITLICH, AS PARENT AND GUARDIAN AD LITEM                14886 Mill Street                                                                     Oro Grande               CA       92368               Litigation          X           Unknown
 V.P.                       c/o Mellazon Carter,                                          16312 Saratoga St., Apt. D                                                            San Leandro              CA       94578               Litigation          X           Unknown
 V.R.                       Allan Reyes                                                   2250 West Mill Street- Apt. 95                                                        Colton                   CA       92324               Litigation          X           Unknown
 V.R.                       Greta A. Shelton                                              478 Diamond Peak                                                                      Beaumont                 CA       92223               Litigation          X           Unknown
 V.R.                       Norma Rivera, as parent and guardian                          18626 9th Street                                                                      Bloomington              CA       92316               Litigation          X           Unknown
 V.T.                       Cynthia Tillard                                               2616 Chamberland Lane                                                                 North Las Vegas          NV       89032               Litigation          X           Unknown
 V.V.                       Araceli Velazquez                                             24407 Island Avenue                                                                   Carson                   CA       90745               Litigation          X           Unknown
 V.Z.                       Anne Zamores Veloz                                            1556 Nelson Street                                                                    Redlands                 CA       92374               Litigation          X           Unknown
 W. L.                      Deborah H. Lynch                                              353 Weldon Lake Road                                                                  Milner                   GA       30257               Litigation          X           Unknown
 W.A.                       Kimberly Gaunce                                               2532 Fir Avenue Apt. A                                                                Bremerton                WA       98310               Litigation          X           Unknown
 W.B.                       Bobbie Butts-Dunn                                             73 Deerborn Drive                                                                     Aliso Viejo              CA       92656               Litigation          X           Unknown
 W.B.                       Diana Maria Chavez Ortega                                     28454 168th Ave. SE Unit 12                                                           Kent                     WA       98042               Litigation          X           Unknown
 W.B.                       Frances Johnson                                               3487 Columbia Avenue                                                                  Riverside                CA       92501               Litigation          X           Unknown
 W.B.                       Marilyn Kelly Brown                                           3758 Jefferson Street- Apt. #303                                                      Riverside                CA       92504               Litigation          X           Unknown
 W.B.                       Shannon Brown                                                 2720 Avalon Street                                                                    Riversisde               CA       92509               Litigation          X           Unknown
 W.E.                       Marie Steward                                                 2561 Bryn Mawr Lane                                                                   Riverside                CA       92507               Litigation          X           Unknown
 W.F.                       Beatrice Joan Foster                                          24502 Ravenna Avenue                                                                  Carson                   CA       90745               Litigation          X           Unknown
 W.G.                       Joseph Glover                                                 12820 Ross Street                                                                     Moreno Valley            CA       92553               Litigation          X           Unknown
 W.G.                       Joseph Glover                                                 12820 Ross Street                                                                     Moreno Valley            CA       92553               Litigation          X           Unknown
 W.J.                       Terrie Langdo                                                 9473 Sonora Road                                                                      Phelan                   CA       92371               Litigation          X           Unknown
 W.M.                       Vicki M. Hill and Tamara Humphreys                            PO Box 986                                                                            Apple Valley             CA       92307               Litigation          X           Unknown
 W.M.                       c/o Jackelyn Quieg                                            7749 Reseda Bl, #6                                                                    Reseda                   CA       91335               Litigation          X           Unknown
 W.P.                       Margaret Pena                                                 3110 Wallace Street                                                                   Riverside                CA       92509               Litigation          X           Unknown
 W.P.                       Rachelle Phineas                                              1540 Ravenna Avenue                                                                   Wilmington               CA       90744               Litigation          X           Unknown




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                Name1                                     Name2                 Name3                         Address1                                           Address2                   City   State      Zip         Country   Basis of Claim                  Claim Amount
                                                                                                                                                                                                                                                     Unliquidated

 W.R.                       Ricky Reid                                                  1113 SW 58th St.                                                                    Oklahoma City           OK     73109-4713                  Litigation         X           Unknown
 W.T.                       Sheila Sulu                                                 344 E 249th Street                                                                  Carson                  CA       90745                     Litigation         X           Unknown
 W.W.                       Carol Woodberry                                             5741 Kenwood Place                                                                  Riverside               CA       92509                     Litigation         X           Unknown
 X. R.                      Rhonda Robinson                                             21849 Hwy 9                                                                         Gibsland                LA       71028                     Litigation         X           Unknown
 X.S.                       Xavier Soule Sr                                             9768 Ben Nevis Blvd.                                                                Jurupa Valley           CA       92509                     Litigation         X           Unknown
 Y.A.                       Fabiola Alvarez, as parent and guardian                     5444 35th Street                                                                    Riverside               CA       92509                     Litigation         X           Unknown
 Y.B.                       Glenn Byers                                                 9391 California Avenue- #79                                                         Riverside               CA       92503                     Litigation         X           Unknown
 Y.C.                       JACLYN CABALLERO, AS PARENT AND GUARDIAN AD LITEM           2896 Avalon Street                                                                  Riverside               CA       92509                     Litigation         X           Unknown
 Y.D.                       JACLYN CABALLERO, AS PARENT AND GUARDIAN AD LITEM           2896 Avalon Street                                                                  Riverside               CA       92509                     Litigation         X           Unknown
 Y.D.                       JACLYN CABALLERO, AS PARENT AND GUARDIAN AD LITEM           2896 Avalon Street                                                                  Riverside               CA       92509                     Litigation         X           Unknown
 Y.H.                       Michael Hernandez                                           2990 Avalon Street                                                                  Riverside               CA       92509                     Litigation         X           Unknown
 Y.J.                       Silvia F. Jimenez                                           6077 Morey Way                                                                      Riverside               CA       92509                     Litigation         X           Unknown
 Y.M.                       Maricela Moreno, as parent and guardian                     10624 Roxbury Avenue                                                                Bloomington             CA       92316                     Litigation         X           Unknown
 Y.O.                       RITA ORNELAS, AS PARENT AND GUARDIAN AD LITEM               10831 Olive Street                                                                  Bloomington             CA       92316                     Litigation         X           Unknown
 Y.R.                       Norma Rivera                                                11424 Pepper St.                                                                    Bloomington             CA       92316                     Litigation         X           Unknown
 Z.A.                       SHEILA ALVAREZ, AS PARENT AND GUARDIAN AD LITEM             2031 Gail Drive                                                                     Riverside               CA       92509                     Litigation         X           Unknown
 Z.G.                       DARLENE LOVER, AS PARENT AND GUARDIAN AD LITEM              5750 Kenwood Place                                                                  Riverside               CA       92509                     Litigation         X           Unknown
 Z.G.                       REBECCA GARUS, AS PARENT AND GUARDIAN AD LITEM              1005 Alexander Stewart Drive                                                        Hillsborough            NC       27278                     Litigation         X           Unknown
 Z.J.                       Pedro E. Jimenez                                            639 Doyle Ave.                                                                      Redlands                CA       92374                     Litigation         X           Unknown
 Z.N.                       Dani Andrian                                                Jakarta Timur                                                                       DKI Jakarta                      13120    Indonesia        Litigation         X           Unknown




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